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                                                                            REDACTED
                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY
                                      CAMDEN VICINAGE

     EAGLE VIEW TECHNOLOGIES, INC., and
                                                          Civil Action No. 1: l 5-cv-07025
     PICTOMETRY INTERNATIONAL CORP.,
                                                          Hon. Robert B. Kugler, U.S.D.J.
                         Plaintiffs,
                                                          Hon. Joel Schneider, U.S.M.J.
              v.
                                                          Final Pretrial Conference:
                                                          April 1, 2019 at 10:00 AM (D.E. 559)
     XACTW ARE SOLUTIONS, INC., and
     VERISK ANALYTICS, INC.,
                                                          Jury Selection and Trial:
                                                          June 10, 2019 at 9:00 AM (D.E. 565)
                         Defendants.


                           PROPOSED JOINT FINAL PRETRIAL ORDER



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            The following shall constitute the Final Pretrial Order pursuant to Rule 16, Federal Rules
    of Civil Procedure. This Final Pretrial Order shall govern the conduct of the trial of this case.
    Amendments to this Joint Final Pretrial Order will be allowed only in exceptional circumstances
    to prevent manifest injustice, or under any other circumstances permitted by the Court. See Fed.
    R. Civ. P. 16(e ). Counsel are urged to move to amend in a timely fashion any portion of the Joint
    Final Pretrial Order that must be changed or modified between the filing of the Joint final Pretrial
    Order and the trial date.

    APPEARANCES:
     Plaintifrs Counsel                                Defendants' Counsel

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     Hector D. Ruiz                                    Matthew A. Sklar
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    PARTI.            JURISDICTION AND BRIEF SUMMARY OF THE CASE

    1.      This action arises under the patent laws of the United States, 35 U.S.C. §§ 100 et seq. This

            Court has jurisdiction over the subject matter of this action under 28 U.S.C. §§ 1331 and

             1338(a). Subject matter jurisdiction is not disputed. Venue is proper in this judicial district

            under 28 U.S.C. §§ 1391 and 1400(b). For purposes of this action only, no party has

            contested personal jurisdiction or venue.

    2.      EagleView alleges infringement of U.S. Patent Nos. 8,078,436 (the "'436 patent"),

             8,170,840 (the '"840 patent"), 9,129,376 (the "'3 76 patent"), 8,825,454 (the"' 454 patent"),

             8,818,770 (the "'770 patent"), and 9,135,737 (the '"737 patent").

    3.      The asserted claims ("Asserted Claims") are:

                                 Asserted Patents           Asserted Claims
                                    '436 patent          Claims 2, 21, and 36
                                    '840 patent          Claims 10 and 18
                                    '376 patent          Claims 17, 20, and 23
                                    '454 patent          Claim 26
                                    '770 patent          Claim 12
                                    '737 patent          Claim 25

    4.      Eagle View contends that Defendants' infringement is willful and that EagleView is entitled

            to damages, including lost profits, sufficient to compensate it for Defendants' infringement.

            Defendants contend that they do not infringe and are not liable for infringement of any of

            the Asserted Claims, that there is no basis for assertion of willful infringement, and that all

             of the Asserted Claims are invalid.

    5.       Eagle View seeks:

             1.       a judgment declaring that the Asserted Claims are not invalid;

             11.      a judgment declaring that the Asserted Claims are infringed under§§ 271(a), (f),
                      and (g);

             m.       a judgment declaring that Defendants have induced and continue to induce the
                      infringement of the Asserted Patents;
                                                        2

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             1v.       a judgment permanently enjoining Defendants from engaging in the commercial
                       manufacture, use, sale, offer to sell and/or importation of the Accused Products and
                       anything that is not more than colorably different than the Accused Products until
                       the expiration of the Asserted Patents, or alternatively, for ongoing royalties for
                       Defendants' ongoing infringement;

             v.        a judgment declaring that Defendants' infringement of the Asserted Patents 1s
                       willful and that Eagle View is entitled to enhanced damages;

             v1.       a judgment declaring that EagleView is entitled to damages including lost profits
                       to compensate EagleView for Defendants' infringement, including price erosion
                       damages;

             v11.      a judgment declaring that EagleView is entitled to damages of at least a reasonable
                       royalty to compensate EagleView for Defendants' infringement;

             vn1.      a judgment declaring that EagleView is entitled to an accounting 1 and pre- and post-
                       judgment interest;

             1x.       a judgment declaring that this is an exceptional case and awarding EagleView its
                       attorneys' fees and costs; and

             x.        a judgment declaring that Defendants have failed to establish each of the
                       affirmative defenses listed in their Second Amended Answer, Affirmative
                       Defenses, Counterclaims, and Jury Demand (Dkt. No. 238) 2 •

    6.       Defendants seek:

             1.        a judgment declaring that the Asserted Claims are invalid;

             11.       a judgment declaring that they do not infringe, have not infringed, and are not liable
                       for infringement of any of the Asserted Claims and that there is no basis for
                       assertion of willful infringement;

         Defendants dispute that EagleView is entitled to an accounting because Plaintiff failed to
         request relief in the form of an accounting. Plaintiff disagrees with Defendants' position. For
         example, Plaintiffs first amended complaint requested "damages arising from Xactware's and
         Verisk' s infringement" and further sought "other and further relief as the Court may deem just
         and proper." Dkt. No. 30. Plaintiff is thus properly seeking an accounting. See Power
         Integrations, Inc. v. Fairchild Semiconductor Int'/, Inc., 711 F.3d 1348 (Fed. Cir. 2013); see
         also Finjan, Inc. v. Secure Computing Corp., 626 F.3d 1197 (Fed. Cir. 2010).
    2
         On March 28, 2018, the Court granted EagleView's motion to dismiss the inequitable conduct
         counterclaim (Count XIX) in Defendants' Second Amended Answer, and to strike from the
         Answer Defendants' Twelfth Affirmative Defense of inequitable conduct. See Dkt. Nos. 408
         and 409. As such, Defendants' inequitable-conduct defense and counterclaim are no longer at
         issue in this case.

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             m.        a judgment declaring that EagleView is not entitled to any damages-whether as
                       lost profits, price erosion, reasonable royalty, or otherwise;

             1v.       a judgment declaring that EagleView is not entitled to pre- or post-judgment
                       interest;

             v.        a judgment rejecting Eagle View's request for attorneys' fees and costs;

             v1.       a judgment declaring that Eagle View has failed to establish each of the claims in
                       its amended complaint dated November 30, 2015 along with a dismissal of its
                       amended complaint with prejudice (Dkt. No. 30);

             Vil.      a judgment declaring that Defendants have prevailed on their Counterclaims
                       asserted against Eagle View;

             Vilt.     a permanent injunction prohibiting EagleView, its officers, its agents, its servants,
                       its employees, its attorneys, and those in active concert or participation with them
                       directly or indirectly from asserting or threatening to assert infringement of any of
                       the Asserted Claims against Defendants or any of their agents, employees,
                       representatives, strategic business partners, distributors, contractors, customers,
                       advisors, and investors; and

             1x.       a judgment declaring that this is an exceptional case under 35 U.S.C. § 285 in favor
                       of Defendants and awarding Defendants their attorneys' fees, costs, and expenses.

    PART II.           STIPULATED FACTS

             The parties have stipulated to the facts attached at Tab 2.

    PART III.          PLAINTIFF'S CONTESTED FACTS

             Plaintiffs statement of the facts it intends to prove at trial is attached at Tab 3.

    PART IV.           DEFENDANTS' CONTESTED FACTS:

             Defendants' statement of the facts they intend to prove at trial is attached at Tab 4.

    PART V.            WITNESSES AND SUMMARY OF TESTIMONY:
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                             extramdinary sho .. iR~ d @.QQS eaHs~, only the witnesses whose names and

    addresses are listed herein will be permitted to testify at the time of trial. The listing of a witness

    on a party's witness list does not require that party to call that witness to testify, either in person



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    or by deposition. In the event a party seeks to call a substitute witness, the parties agree they will

    make an application to the Court to amend the Joint Final Pretrial Order.

             A.        Plaintifrs Witnesses and Summary of Their Testimony

             Information concerning Plaintiff's witnesses is attached at Tab SA.




             B.        Defendants' Witnesses and Summary of Their Testimony

             Information concerning Defendants' witnesses is attached at Tab SB.

    PART VI.           EXPERT WITNESSES:

             Any expert not listed in this portion of the Joint Final Pretrial Order shall not be pennitted

    to testify at the time of trial. Additionally, the curriculum vitae of every expert expected to testify

    at the time of trial shall be attached to this Joint Final Pretrial Order.

    1.       Plaintifrs expert witnesses are:

             a) Robert L. Stevenson, Ph.D. (curriculum vitae attached at Tab 6A)

             b) Jonathan I. Arnold, Ph.D. (curriculum vitae attached at Tab 6B)



    2.       Defendants' expert witnesses are:

             •    Geoff Cohen, Ph.D. (curriculum vitae attached at Tab 6C)

             •    Joseph Mundy, Ph.D. (curriculum vitae attached at Tab 6D)

             •    Philip Green (curriculum vitae attached at Tab 6E)




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    PART VII.         EXHIBITS3

             The parties are not required to list exhibits that will be used, if at all, only for impeachment.4

               A.     Plaintifrs Exhibits and Defendants' Objections

             A list of Plaintiffs exhibits that it may offer into evidence is attached at Tab 7A.

    Defendants' objections are also contained in the list.

               B.     Defendants' Exhibits and Plaintifrs Objections

             A list of Defendants' exhibits that it may offer into evidence is attached at Tab 7B.

    Plaintiff's objections are also contained in the list.

    PART VIII. LAW

             A.       Plaintifrs Statement of the Legal Issues in this Case

             Plaintiff's statement of the legal issues in this case is attached at Tab SA.

             B.       Defendants' Statement of the Legal Issues in this Case

             Defendants' statement of the legal issues in this case is attached at Tab SB.




    3
        To the extent the Court's ruling on the parties' motions in limine impacts the admissibility of
        any exhibits on the parties' exhibit list, the parties may serve redacted exhibits in accordance
        with the Court's ruling.
    4
        On April 15, 2019, the Parties supplemented the following documents underlying the parties'
        respective damages calculations with additional data through March 2019: EV01427937;
        EV01552476; EV01553685; EV01553466; EV01553683; XW00942354; XW00942356. By
        May 3, 2019, the Parties may provide updated damages calculations based solely on this
        additional data; the Parties may not otherwise provide new, revised, or updated expert opinions
        regarding damages.

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    PART IX.           MISCELLANEOUS

               A.      Motions in Limine5

                       1.    Plaintiff intends to file the following Motions in limine:

                       1.    Exclude any argument, evidence, testimony, or reference to irrelevant,
                             potentially inflammatory remarks, concerning, for example, race, politics,
                             or sex.

                       2.    Exclude any argument, evidence, testimony, or suggestion that any of
                             Defendants' technology is invalidating prior art to the Asserted Patents,
                             including Aerial Sketch v .1.

                       3.    Exclude any argument, evidence, or testimony regarding Defendants'
                             patents, including any suggestion that the existence of Defendants' patents
                             is a reason they do not infringe the Asserted Patents.

                       4.    Exclude any argument, evidence, or testimony regarding Defendants'
                             stricken and dismissed inequitable conduct defense and/or counterclaim,
                             and regarding the parties dropping patents and claims from this action.

                       5.    Exclude any argument, evidence, testimony, or reference to any of
                             Defendants' invalidity theories estopped by inter partes review decisions.

                       6.    Exclude any argument, evidence, or testimony that Xactware does not and
                             did not willfully infringe the asserted patents.

                       7.    Exclude any argument, evidence, or testimony that is inconsistent with the
                             Court's claim constructions or the parties' stipulated constructions.

                       8.    Exclude any argument, evidence, or testimony relating to any prior legal
                             disputes or litigation between the parties, specifically Eagle View
                             Technologies, Inc. v. Xactware Solutions, Inc., No. 2:12-cv-01913 (W.D.
                             Wash. Oct. 29, 2012).

                       9.    Exclude any argument, evidence, or testimony related to any equitable
                             issues to be decided by the Court, including references to Vista and the Vista
                             and Verisk Merger Agreements.

                       11.   Defendants intend to file the following motions in limine:

                       1.    Exclude references to inter partes review proceedings concerning the
                             Asserted Patents or any other patent previously asserted in this case, and

    5
        See Footnote 3.

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                            any subsequent appeals of these inter partes review proceedings to the
                            Court of Appeals for the Federal Circuit (collectively, the "IPR
                            Proceedings"), as well as transcripts or recordings of hearings and oral
                            argument in the IPR Proceedings, briefs and other documents from the IPR
                            Proceedings containing attorney argument, expert testimony from the IPR
                            Proceedings, and the results of and any documents containing rulings and
                            decisions in the IPR Proceedings.

                       2.   Exclude any argument, evidence, testimony, or suggestion that Eagle View
                            is entitled to any pre-issuance damages under a provisional rights theory
                            pursuant to 35 U.S.C. §154(d). 6

                       3.   Exclude any argument, evidence, or testimony regarding the statements
                            made by Scott Stephenson in connection with the January 15, 2014 investor
                            call.

                       4.   Preclude Plaintiff from presenting, proffering, or relying on any argument,
                            evidence, or testimony regarding the Doctrine of Equivalents. 7

                       5.   Exclude any argument, evidence, or testimony regarding, and preclude
                            Plaintiff from relying whatsoever on the following, per previous Order of
                            this Court (Dkt. 330):

                                   a.          The Doctrine of Equivalents, including the following
                                               arguments or theories, which were stricken by the Court:

                                          1.          that a "roof estimation module" may be logically or
                                                      physically split or separated between different
                                                      software threads, processes, tools, widgets,
                                                      components, processors, cores, computers, network
                                                      devices, or applications, or be implemented by
                                                      means of parallel and distributed computing, such
                                                      as splitting a program between multiple distinct
                                                      hardware components or across networked devices


    6   During the Parties' conference, Plaintiff indicated it would be willing to stipulate on this issue.
        At Plaintiff's request, Defendants have proposed the following stipulation: "Plaintiff will not
        present any argument, evidence, testimony, or suggestion that EagleView is entitled to any
        pre-issuance damages or pre-reexamination certificate issuance damages." Defendants await
        Plaintiff's response.

    7
        At Plaintiff's request, Defendants have proposed the following stipulation: "Plaintiff will not
        present, proffer, or rely on any argument, evidence, or testimony regarding any theory of
        infringement under the Doctrine of Equivalents." Defendants await Plaintiff's response.


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                                                       and still meet the limitations of the asserted claims;
                                                       and

                                          11.          that a "memory" on separate hardware boxes, such
                                                       as hard drives, flash drives, RAM, processor caches,
                                                       network storage, servers storing information over a
                                                       network or the Internet still meets the limitations of
                                                       the asserted claims.

                                     b.         Source code Bates-numbered higher than XWSC648;

                                     c.         Plaintiff's amended L. Pat. R. 3.2(b) disclosures listed in
                                                their July 12 and 19, 2017 supplemental answers to
                                                interrogatory 7, regarding documents and source code
                                                evidencing conception and reduction to practice; and

                                     d.         Plaintiff's new conception and reduction to practice dates
                                                in their July 12 and 19, 2017 answers to Interrogatory 7, to
                                                the extent the new dates are based on Plaintiff's stricken
                                                documents and source code. 8


         During the Parties' conference, Plaintiff indicated that it would be willing to stipulate on this
         issue. At Plaintiff's request, Defendants have proposed the following stipulation: "Plaintiff
         will not, per previous Order of this Court (Dkt. 330), present any argument, evidence, or
         testimony regarding:

              1.   theories raised under the Doctrine of Equivalents, including the theories, previously
                   stricken by the Court, that: ( 1) a "roof estimation module" may be logically or
                   physically split or separated between different software threads, processes, tools,
                   widgets, components, processors, cores, computers, network devices, or applications,
                   or be implemented by means of parallel and distributed computing, such as splitting a
                   program between multiple distinct hardware components or across networked devices
                   and still meet the limitations of the asserted claims; and (2) a "memory" on separate
                   hardware boxes, such as hard drives, flash drives, RAM, processor caches, network
                   storage, servers storing information over a network or the Internet still meets the
                   limitations of the asserted claims;

              11. theories based on source code with Bates numbers higher than XWSC648;

              iii. theories presented in Plaintiff's amended L. Pat. R. 3.2(b) disclosures listed in their
                   July 12 and 19, 2017 supplemental answers to interrogatory 7, regarding documents
                   and source code evidencing conception and reduction to practice; and

              1v. Plaintiff's new conception and reduction to practice dates in their July 12 and 19, 2017
                  answers to Interrogatory 7, to the extent the new dates are based on Plaintiff's stricken
                  documents and source code.

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                       6.    Exclude any argument, evidence, or testimony regarding or referring in any
                             way to House Report, including that House Report practices or embodies
                             any element of any Asserted Claim.

                       7.    Exclude any argument, purported evidence, testimony, or suggestion of
                             direct infringement by Verisk, infringement by Verisk pursuant to 3 5 U.S. C.
                             § 27l(g), infringement of the '737 patent by Xactware pursuant to 35 U.S.C.
                             § 27l(f)(l) or (2), or any other theory of infringement not disclosed in
                             EagleView's Second Amended Disclosure of Asserted Claims and
                             Infringement Contentions Pursuant to L. Pat. R. 3 .1.

                       8.    Exclude any argument, evidence, testimony, or suggestion that Eagle View
                             is entitled to an accounting or any other relief not requested in the First
                             Amended Complaint. 9

                       9.    Preclude Plaintiff from presenting, proffering, introducing or relying upon
                             (a) any argument or testimony that the firm of Mc Carter & English, LLP,
                             counsel for Defendants, represented Verisk in any attempted acquisition of
                             Eagle View; and (b) any documentary evidence that is not redacted to
                             remove portions that have been identified to Plaintiff as privileged or
                             otherwise reference the firm of McCarter & English, LLP or the names of
                             any of its attorneys, including exhibits PTX-916 and PTX-929.


                B.     Order of Presentation

                  Subject to the Court's approval, the parties have agreed as follows:

                       1.    Plaintiff will present its opening statement first followed by Defendants'
                             opening statement.

                       2.    Plaintiff has the burden of proof on patent infringement. As such, Plaintiff
                             will present its case-in-chief first, followed by Defendants' case-in-chief in
                             response to Plaintiff.




         Defendants await Plaintiffs response.
     9
         At Plaintiffs request, Defendants have proposed the following stipulation: "If Plaintiff
         prevails, Plaintiff may be entitled to an accounting limited to the post-verdict infringing sales,
         if any, that are substantially related to the direct infringement by Defendants that the Court
         finds supported by the existing record. See Power Integrations, Inc. v. Fairchild
         Semiconductor Int'!, Inc., 71 l F.3d 1348, 1380 (Fed. Cir. 2013)." Defendants await Plaintiffs
         response.

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                       3.    Defendants have the burden of proof on patent invalidity.             As such,
                             invalidity will be part of Defendants' case-in-chief.

                       4.    Plaintiff will then present its case in response to Defendants' invalidity case.


              C.       Time Allotted to Each Party

                       1.    Subject to the Court's approval, the parties will provide opening statements
                             of up to 60 minutes for Plaintiff and up to 60 minutes for Defendants.

                       2.    Subject to the Court's approval, the parties will have equal time to present
                             their cases.

              D.       Witnesses

                       1.    The parties agree that any fact witnesses, except for a party representative
                             attending trial, appearing in person shall be sequestered until he/she
                             testifies, and any trial testimony preceding the testimony of the fact witness
                             cannot be disclosed to that witness directly or indirectly.

                       2.    Regarding the order of witnesses, Plaintiff proposes: Each fact witness
                             presenting live testimony may testify only once during each segment of the
                             trial (e.g., once in Plaintiffs case-in-chief, once in Defendants' case-in-
                             chief, and once in Plaintiffs rebuttal). The parties may call witnesses on
                             either party's "Will Call for Live Testimony" list or "May Call for Live
                             Testimony or by Deposition" list.

                       3.    Regarding the order of witnesses, Defendants propose: Neither party will
                             call any witness listed in the opposing party's "Will Call for Live
                             Testimony" list during presentation of that party's case-in-chief, unless such
                             witness has previously been called to testify. Each fact witness presenting
                             live testimony at trial will testify once, and as such, the scope of cross
                             examination may exceed the scope of the direct examination.
                             Notwithstanding the foregoing, the parties may call their own witnesses in
                             rebuttal even if they previously testified at trial. Defendants oppose any
                             attempt by Plaintiff to call Defendants' witnesses to testify during Plaintiff's
                             case-in-chief.

                       4.    Pursuant to the Court's April 8, 2019 order (Dkt. 573), and by agreement of
                             the Parties, Defendants took the deposition of Hugh West on April 23, 2019.


              E.       Additional Stipulations

                       1.     Witnesses. By 7:00 p.m. Eastern Time two calendar days before the
                              expected trial day on which a witness will be called to testify, each party

                                                        11

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                            will identify by email to the opposing party the witnesses it intends to call
                            on that trial day, the order in which those witnesses will be called, and
                            whether those witnesses will be called live or by deposition (if deposition
                            designations are to be played in court). For example, for witnesses expected
                            to be called on Monday, June 10, 2019, notice shall be given by 7:00 p.m.
                            Eastern Time on Saturday, June 8, 2019.

                       2.   Playing of Deposition Designations. To the extent that the Court requests
                            that the parties play a witness's designations at trial, all portions of the
                            testimony designated by any party will be played at the same time, including
                            the parties' affirmative designations and counter-designations.          All
                            designated testimony will be introduced in the sequence in which the
                            testimony was originally given.

                       3.   Documents. Legible photostatic or other copies of documents (or portions
                            thereof) may be marked for identification, and offered and received in
                            evidence at the trial, with the same force and effect as the originals, subject
                            to correction should error appear and subject to any and all objections as
                            could be made to the original thereof. The originals of such copies shall be
                            available for inspection at the trial upon reasonable notice.

                       4.   Exhibits.

                            a.     Any exhibit listed by a party may be offered as an exhibit by that
                                   party or by another party, subject to any evidentiary objections by
                                   the opposing party.

                            b.     Any exhibit, once admitted at trial, may be used equally by any
                                   party, subject to the Federal Rules of Evidence.

                            c.     The parties agree that the listing of an exhibit by a party does not
                                   waive any objections that such party may have by the use of the
                                   same exhibit by another party.

                            d.     The parties agree that any description of a document or other
                                   material on an exhibit list is provided for convenience only and shall
                                   not be used as an admission or otherwise as evidence regarding the
                                   document or material.

                            e.     With the exception of documents subject to the parties motions in
                                   limine, the parties agree that they will not dispute the authenticity of
                                   any document that was produced during discovery, which on its face
                                   appears to have been authored by an employee or officer of the
                                   producing party, or by a third-party engaged by the producing party
                                   in the ordinary course of business, and that such documents shall be
                                   deemed prima facie authentic, subject to the right of the party
                                   against whom such a document is offered to adduce evidence to the
                                                      12

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                                   contrary and subject to any contrary determination or ruling by the
                                   Court.

                            f.    Plaintiff's demonstratives will be identified with PDX numbers.

                            g.    Defendants' demonstratives will be identified with DDX numbers.

                            h.    The parties agree that if any party removes or otherwise withdraws
                                  an exhibit from its Exhibit List, another party may amend its Exhibit
                                  List to include that same exhibit. The parties also agree that the
                                  parties may make objections to such exhibit, other than an objection
                                  based on untimely listing.

                       5.   Objections to Deposition Designations Played in Court. If the Court
                            elects to hear deposition testimony played during trial, the following
                            procedures will apply:

                            a.     The introducing party will identify the particular designated
                                   deposition testimony (by page and line) from its previous
                                   designations that is actually intended to be played or read at trial, or
                                   a disclosure that all pages and lines previously designated will be
                                   played, by 7:00 p.m. Eastern Time two calendar days before
                                   introducing the deposition testimony. For avoidance of doubt, if the
                                   introducing party intends to play or read designated testimony on
                                   Monday, June 10, 2019, notice shall be given by 7:00 p.m. Eastern
                                   Time on Saturday, June 8, 2019. The advanced notification
                                   provision for designations does not apply to designations to be used
                                   during cross-examination.

                            b.     By 8:30 p.m. Eastern Time the same day, the other party will
                                   identify any specific pages and lines from its counter-designations
                                   that it wishes to be introduced, pursuant to Fed. R. Civ. P. 32(a)(6),
                                   and any testimony to which it continues to object.

                            c.     By 9:30 p.m. Eastern Time the same day, the introducing party will
                                   identify any counter-designated testimony to which it continues to
                                   object.

                            d.     By 10:30 p.m. Eastern Time the same day, the parties shall meet and
                                   confer to resolve any objections to designated deposition testimony.

                            e.     If objections to disputed testimony are not resolved by this process,
                                   the parties shall present such objections to the Court on the next trial
                                   day (the day before the intended deposition use).

                            f.     If a party opts to introduce deposition testimony, any counter-
                                   designation of that same witnesses' testimony must be submitted in
                                   the same medium. Any objections or attorney colloquy included in
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                                   the designated testimony should be removed unless required to
                                   clarify the record (i.e. discussion of scope of 30(b )(6) testimony).

                            g.     The party electing to introduce deposition testimony shall be
                                   responsible for putting together the video file of the deposition
                                   designations and any counter designations not objected to by the
                                   parties, and the video files must be exchanged in the same manner
                                   as demonstrative exhibits used for direct examination, as governed
                                   by Paragraph 9(c), i.e. by 7:00 p.m. Eastern Time the day before the
                                   deposition testimony will be introduced.

                       6.   Exhibits Introduced Through Deposition Designations. If designated
                            testimony to be played in open court includes the use of an exhibit to which
                            a party has asserted an objection, such objections will be handled in the
                            same manner as the procedures set forth for the resolution of objections to
                            exhibits to be used on direct examination pursuant to Paragraph 8 below.

                       7.   Exchange of Exhibits for Direct Examinations or Opening Statements.

                            a.     For exhibits to be used in connection with direct examination of fact
                                   witnesses, each party will provide by e-mail to the opposing party a
                                   list of all exhibits to be used, other than demonstratives, whose
                                   exchange shall be governed by Paragraph 9 below, by 7:00 p.m.
                                   Eastern Time one calendar day before they will be used at trial. For
                                   example, for exhibits to be used in a direct examination of a fact
                                   witness who is disclosed as testifying on Monday, June 10, 2019,
                                   the witness' exhibits shall be disclosed by 7:00 p.m. Eastern Time
                                   on Sunday, June 9, 2019. The party receiving identification of
                                   exhibits intended for use in direct examination will inform the
                                   identifying party of any objections by 9:00 p.m. Eastern Time that
                                   same day. The parties will meet and confer as soon as possible
                                   thereafter to resolve such objections, but in any event by 10:00 p.m.
                                   Eastern Time that same day.

                            b.     For exhibits to be used in connection with direct examination of
                                   expert witnesses, each party will provide by e-mail to the opposing
                                   party a list of all exhibits to be used, other than demonstratives,
                                   whose exchange shall be governed by Paragraph 9 below, by 7:00
                                   p.m. Eastern Time two calendar days before they will be used at
                                   trial. For example, for exhibits to be used in a direct examination of
                                   an expert witness who is disclosed as testifying on Monday, June
                                   10, 2019, the expert witness' exhibits shall be disclosed by 7:00 p.m.
                                   Eastern Time on Saturday, June 8, 2019. The party receiving
                                   identification of exhibits intended for use in direct examination will
                                   inform the identifying party of any objections by 6:00 p.m. EST the
                                   following day. The parties will meet and confer as soon as possible

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                                    thereafter to resolve such objections, but in any event by 9:00 p.m.
                                    Eastern Time the following day.

                             c.     For exhibits to be used in connection with opening statements, each
                                    party will provide by e-mail to the opposing party a list of all
                                    exhibits to be used, other than demonstratives, whose exchange shall
                                    be governed by Paragraph 9 below, by noon Eastern Time the day
                                    before opening statements. The party receiving identification of
                                    exhibits for opening statements will inform the party identifying the
                                    exhibits of any objections by 3:00 p.m. Eastern Time that same day,
                                    and the parties will meet and confer as soon as possible thereafter to
                                    resolve such objections, but in any event by 6:00 p.m. Eastern Time
                                    that same day. If good faith efforts to resolve the objections fail, the
                                    party objecting to the demonstratives may bring its objections to the
                                    Court's attention prior to the opening statement.

                             d.     The advanced notification provision for exhibits does not apply to
                                    exhibits to be used during cross-examination, whether for
                                    impeachment or to be offered into evidence.

                             e.     Any party may use an exhibit that is listed on the other party's
                                    exhibit list, subject to the other party's opportunity to object to its
                                    introduction and subject to all applicable evidentiary objections.
                                    Any exhibit, once admitted at trial, may be used equally by any
                                    party, subject to the Federal Rules of Evidence.

                        8.   Objections to Exhibits to be used on Direct Examination. If good faith
                             efforts to resolve the objections fail, the party objecting to the exhibits may
                             bring its objections to the Court's attention when the exhibit is offered into
                             evidence.

                        9.   Exchange of Demonstrative Exhibits.

                             a.     The party seeking to use a demonstrative exhibit will provide a color
                                    representation of the demonstrative to the other side in PDF,
                                    PowerPoint, or some other commonly viewable format according to
                                    the schedule below. However, for video or animations, the party
                                    seeking to use the demonstrative will provide it to the other side via
                                    FTP or on a DVD, CD, or USB drive. For irregularly sized physical
                                    demonstrative exhibits, the party seeking to use the demonstrative
                                    will provide a color representation as a PDF of 8.5 x 11 inch copies
                                    of the exhibits and make the original available for inspection by the
                                    opposing party.

                             b.     For demonstrative exhibits to be used in connection with opening
                                    statements, each party will exchange by e-mail or FTP PDFs, or by
                                    courier a DVD, CD or USB drive, of such demonstrative exhibits by
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                             noon Eastern Time the day before opening statements. The party
                             receiving identification of demonstrative exhibits for opening
                             statements will inform the party identifying the exhibits of any
                             objections by 3:00 p.m. Eastern Time that same day, and the parties
                             will meet and confer as soon as possible thereafter to resolve such
                             objections, but in any event by 6:00 p.m. Eastern Time that same
                             day. If good faith efforts to resolve the objections fail, the party
                             objecting to the demonstratives may bring its objections to the
                             Court's attention prior to the opening statement.

                        c.   For demonstrative exhibits to be used in connection with direct
                             examination of fact witnesses, each party will exchange by e-mail
                             or FTP PDFs, or by courier a DVD, CD or USB drive, of such
                             demonstrative exhibits by 7:00 p.m. Eastern Time the day before
                             they will be used at trial. To clarify, if a party plans to use
                             demonstrative exhibits in the morning of a Monday, the party will
                             need to exchange the demonstrative exhibits by Sunday 7:00 p.m.
                             Eastern Time. The party receiving identification of demonstrative
                             exhibits will inform the party identifying the exhibits of any
                             objections by 9:00 p.m. Eastern Time, and the parties will meet and
                             confer as soon as possible thereafter to resolve such objections, but
                             in any event by 10:00 p.m. Eastern Time that same day. If good
                             faith efforts to resolve the objections fail, the party objecting to the
                             demonstratives may bring its objections to the Court's attention prior
                             to the witness for whom the demonstratives were created being
                             called to the stand.

                        d.   For demonstrative exhibits to be used in connection with direct
                             examination of expert witnesses, each party will exchange by e-mail
                             or FTP PDFs, or by courier a DVD, CD or USB drive, of such
                             demonstrative exhibits by 7:00 p.m. Eastern Time two calendar days
                             before they will be used at trial. To clarify, if a party plans to use
                             demonstrative exhibits in the morning of a Monday, the party will
                             need to exchange the demonstrative exhibits by Saturday 7:00 p.m.
                             Eastern Time. The party receiving identification of demonstrative
                             exhibits will inform the party identifying the exhibits of any
                             objections by 6:00 p.m. Eastern Time the following day, and the
                             parties will meet and confer as soon as possible thereafter to resolve
                             such objections, but in any event by 9:00 p.m. Eastern Time that
                             same day. If good faith efforts to resolve the objections fail, the
                             party objecting to the demonstratives may bring its objections to the
                             Court's attention prior to the witness for whom the demonstratives
                             were created being called to the stand.




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                                 e.      There is no obligation to disclose demonstratives that will be created
                                         during live testimony or that will be used or created during cross
                                         examination.

                       10.       Protective Order. The Court has entered a Discovery Confidentiality Order
                                 to safeguard the confidentiality of certain of the parties business and
                                 technical information, as well as that of third parties.

     PARTX.            JURY TRIAL

              1.       Trial is scheduled to commence on June 10, 2019 (D.E. 565).

             2.        The Parties believe the trial commencing on June 10, 2019 can be completed in 10
                       business days.                                                                             /rJ.
             3.        Deadlines:        L<;:v\)e..c::*--\-,,~~ S                                                 CJ't
                              ,. Motions in Limine:                                               f'1   ~~               ·
                                      a) Opening Submissions: May 2, 2019

                                      b) Opposition Submissions: May 16, 2019

                                      c) Reply Submissions: May 23, 2019

                             11. Trial Brief: June 3, 2019

                         m. Jury Instructions: June 3, 2019

                             1v. Voir Dire Questions: June 3, 2019

                             v. Jury Questionnaire 10 : June 3, 2019


                                         CONCLUDING CERTIFICATION

              We hereby certify by the affixing of our signatures to this Joint Final Pretrial Order that it

     reflects the efforts of all counsel and that we have carefully and completely reviewed all parts of

     this Order prior to its submission to the Court. Further, it is acknowledged that amendments to this




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          Subject to the Court's approval, and to the extent the parties agree upon a jury questionnaire
          to be provided to the jury, the parties will submit an agreed-upon questionnaire.

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     Joint Final Pretrial Order will not be permitted except where the Court determines that manifest

     injustice would result if the amendment is not allowed.

     Dated: April 30, 2019

      s/Liza M Walsh                                   s/Scott S. Christie

      Liza M. Walsh                                    Scott S. Christie
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            Entry of the foregoing Joint Final Pretrial Order is hereby APPROVED this CO~y of

    April, 2019.



                                   untl
                                   H     JOEL SCHNEIDER
                                          States Magistrate Judge
                                   United States District Court for the District of New Jersey




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     PART II.       STIPULATED FACTS:

           The parties stipulate to the following facts, which require no proof at trial:

     I.    The Parties

     1.    Plaintiff Eagle View is a corporation organized and existing under the laws of the State of

           Washington, having a principal place of business at 3700 Monte Villa Parkway, Suite 200,

           Bothell, WA 98021.

     2.    Defendant Xactware is a corporation organized and existing under the laws of the State of

           Delaware, having a principal place of business at 1100 West Traverse Parkway, Lehi, UT

           84043.

     3.    Defendant Verisk is a corporation organized and existing under the laws of the State of

           Delaware, having a principal place of business at 545 Washington Boulevard, Jersey City,

           NJ 07310.

     4.    Xactware is a wholly-owned indirect subsidiary ofVerisk.

     5.    Xactware was reorganized to form Geomni, Inc. ("Geomni,") a wholly-owned division of

           Insurance Services Office, Inc., which is in tum a wholly-owned division of Verisk. The

           parties entered into a Stipulation with Respect to Geomni, which was entered by the Court

           on March 13, 2018. Dkt. No. 406.

     6.    Xactware and Geomni have directly competed with EagleView, including in the

           construction and insurance markets, by offering for sale reports generated by Aerial Sketch

           v .2, Roof InSight, and Property InSight.

     7.    Verisk attempted to acquire Eagle View in 2012 and submitted an offer for l 00% of

           EagleView's capital stock. The bid amounted t o - up front, with an earn-out

           payment of up to an additional -                  to be made based on 2013 revenue and

           EBITDA targets.
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     8.    Verisk Analytics, Inc. ("Verisk") offered to acquire EagleView Technology Corporation

           in January 2014 for approximately $650 million.

     9.    EagleView Technology Corporation agreed to be acquired by Verisk in January 2014 for

           approximately $650 million.

     10.   Verisk and EagleView Technology Corporation signed a detailed agreement (the "Verisk

           Agreement") dated January 14, 2014 pursuant to which Verisk would acquire Eagle View

           Technology Corporation for approximately $650 million.

     11.   Eagle View does not publicly disclose or otherwise make publicly available its operational

           software or its source code for any of its Render House, Twister, or other roof estimation

           software programs.

     II.   The Asserted Patents

     12.   The Asserted Patents are owned by Eagle View.

     13.   Each Asserted Patent issued on a different date:

           a) The '436 patent's reexamined claims issued on August 27, 2014;
           b) The '840 patent issued on May 1, 2012;
           c) The '770 patent issued on August 26, 2014;
           d) The '454 patent issued on September 2, 2014;
           e) The '376 patent issued on September 8, 2015; and
           f) The '737 patent issued on September 15, 2015.


              A. U.S. Patent No. 8,078,436

     14.   The application for the '436 patent, which is entitled "Aerial Roof Estimation Systems and

           Methods," was filed on October 16, 2008, the reexamined claims of the '436 patent issued

           on August 27, 2014, and a Certificate of Correction issued on July 10, 2018.

     15.   Chris Pershing and David P. Carlson are the named inventors of the '436 patent.



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     16.   Claim I of the '436 patent states: "A computing system for generating a roof estimate

           report, the computing system comprising: a memory; a roof estimation module that is

           stored on the memory and that is configured, when executed, to: receive a first and a second

           aerial image of a building having a roof, each of the aerial images providing a different

           view of the roof of the building, wherein the first aerial image provides a top plan view of

           the roof and the second aerial image provides an oblique perspective view of the roof, and

           are not a stereoscopic pair; correlate the first aerial image with the second aerial image;

           generate, based at least in part on the correlation between the first and second aerial images,

           a three-dimensional model of the roof that includes a plurality of planar roof sections that

           each have a corresponding slope, area, and edges; and generate and transmit a roof estimate

           report that includes one or more top plan views of the three-dimensional model annotated

           with numerical values that indicate the corresponding slope, area, and length of edges of at

           least some of the plurality of planar roof sections using at least two different indicia for

           different types of roof properties."

     17.   Claim 2 of the '436 patent states: "The computing system of claim I wherein the roof

           estimation module is further configured to correlate the first and second aerial images by

           receiving an indication of one or more corresponding points on the building shown in each

           of the first and second aerial images."

    18.    Claim 18 of the '436 patent states: "A computer-implemented method for generating a roof

           estimate, the method comprising: receiving a first and a second aerial image of a building

           having a roof, each of the aerial images providing a different view of the roof of the

           building wherein the first aerial image provides a top plan view of the roof and the second

           aerial image provides a view of the roof that is other than a top plan view and neither of



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           the two images are part of a stereoscopic pair; correlating the first aerial image with the

           second aerial image; generating, based at least in part on the correlation between the first

           and second aerial images, a three-dimensional model of the roof that includes a plurality

           of planar roof sections that each have a corresponding slope, area, and edges; and

           transmitting a roof estimate report that includes one or more top plan views of the three-

           dimensional model annotated with numerical indications of at least one of the slope, area,

           and lengths of the edges of the plurality of planar roof sections, wherein the roof estimate

           report includes at least two different indicia for different types of roof properties."

     19.   Claim 20 of the '436 patent states: "The method of claim 18 wherein correlating the first

           and second aerial images includes receiving an indication of one or more corresponding

           points shown in each of the first and second aerial images."

     20.   Claim 21 of the '436 patent states: "The method of claim 20 wherein receiving the

           indication of the corresponding point includes receiving the indication from a user."

     21.   Claim 36 of the '436 patent states: "A non-transitory computer-readable storage medium

           whose contents, which are computer executable instructions stored on the non-transitory

           computer-readable storage medium, when executed by a computer processor of a

           computing system, enable the computing system to generate a roof estimate report for a

           building having a roof, by causing, when executed by the computer processor of the

           computing system, the computing system to perform a method comprising: receiving two

           or more images of the building, wherein at least one of the two or more images provides

           an oblique perspective view of the roof and one of the images provides a top plan view of

           the roof; receiving an indication of pairs of points on the two or more images, each pair of

           points corresponding to substantially the same point on the roof depicted in each of the two



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           or more images; generating, based on the two or more images of the building, a three-

           dimensional model of the roof that includes a plurality of planar roof sections that each

           have a corresponding area and edges, wherein the generating, based on the two or more

           images of the building, the model of the roof includes generating the model of the roof

           based on the receiving the indication of the pairs of points on the two or more images of

           the building; and transmitting a roof estimate report that includes one or more views of the

           model, the report being annotated with numerical indications of the area and lengths of the

           edges of at least some of the plurality of planar roof sections, wherein the roof estimate

           report includes at least two different indicia for different types of roof properties."

               B. U.S. Patent No. 8,170,840

     22.   The '840 patent, entitled "Pitch Determination Systems and Methods for Aerial Roof

           Estimation," was issued by the US PTO on May 1, 2012.

     23.   The application for the '840 patent was filed on May 15, 2009.

     24.   Chris Pershing is the named inventor of the '840 patent.

     25.   Claim 10 of the '840 patent states: "A computing system for generating a roof estimate

           report, the computing system comprising: a memory; a roof estimation module that is

           stored on the memory and that is configured, when executed, to: display an aerial image of

           a building having a roof comprising a plurality of planar roof sections that each have a

           corresponding pitch; display a pitch determination marker operable to indicate pitch of a

           planar roof section, wherein the pitch determination marker is overlaid on the aerial image

           of the building having the roof; receive, based on the displayed pitch determination marker,

           an indication of the pitch of one of the plurality of planar roof sections of the roof of the

           building; modify a model of the roof based on the received indication of the pitch of the

           one planar roof section; and provide roof measurement information based on the model of

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           the roof, the roof measurement information including a measure of the pitch of the one

           planar roof section."

     26.   Claim 16 of the '840 patent states: "A non-transitory computer-readable storage medium

           whose contents enable a computing system to generate a roof estimate report for a building

           having a roof, by performing a method comprising: displaying an aerial image of a building

           having a roof comprising a planar roof section that has a corresponding pitch; displaying a

           pitch determination marker operable to indicate pitch of the planar roof section, wherein

           the pitch determination marker is overlaid on the aerial image of the building having the

           roof; receiving, based on the displayed pitch determination marker, an indication of the

           pitch of the planar roof section; and modifying a model of the roof based on the received

           indication of the pitch of the planar roof section."

     27.   Claim 18 of the '840 patent states: "The non-transitory computer-readable storage medium

           of claim 16 wherein the method further comprises: generating a roof estimate report based

           on the modified model of the roof; and transmitting the generated roof estimate report."

              C. U.S. Patent No. 8,818,770

     28.   The '770 patent, entitled "Pitch Determination Systems and Methods for Aerial Roof

           Estimation," was issued by the USPTO on August 26, 2014.

     29.   The application for the '770 patent was filed on April 3, 2012.

     30.   Chris Pershing is the named inventor of the '770 patent.

     31.   Claim 1 of the '770 patent states: "A computer-implemented process in a roof estimation

           system comprising: displaying, by the roof estimation system, a graphical user interface

           including a first aerial image of a roof structure of a building and also at least one first

           visual marker that is moveable by a user in a same display window as the first aerial image

           while said first aerial image is displayed within the graphical user interface; moving the

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           first visual marker with respect to the first aerial image of the roof structure to a first

           location in response to input from the user; storing data in a memory of the computer of

           the first location to which the first visual marker was moved; displaying a second aerial

           image of the roof structure of the building, the second aerial image providing a different

           view of the roof than the first aerial image; and displaying a location of a second visual

           marker on the roof structure of the building in the second aerial image of the roof structure

           based on an indication received from the stored data in the memory of the first location on

           the displayed first aerial image to which the user had moved the first visual marker; and

           generating and outputting a roof estimate report using a report generation engine, wherein

           the roof estimate report includes one or more top plan views of a model of the roof

           annotated with numerical values for corresponding slope, area, or lengths of the edges of

           at least some of the plurality of planar roof sections of the model of the roof."

     32.   Claim 12 of the '770 patent states: "The process of claim 1 further comprising: performing,

           by the roof estimation system, digital wire frame model construction of the roof structure

           based on the at least one location over the roof structure in the displayed aerial imagery to

           which the user moved the least one first visual marker."

              D. U.S. Patent No. 8,825,454

    33.    The '454 patent, entitled "Concurrent Display Systems and Methods for Aerial Roof

           Estimation," was issued by the USPTO on September 2, 2014.

    34.    The application for the '454 patent was filed on May I 7, 2012.

    35.    Chris Pershing is the named inventor of the '454 patent.

    36.    Claim 26 of the '454 patent states: "A computer-implemented method in a roof estimate

           report system including a computer system and a memory coupled to the computer system,

           the method comprising: displaying, by the computer system of the roof estimate report

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          system, a first aerial image of a roof on a single display; displaying, by the computer system

          of the roof estimate report system, a second aerial image of the same roof on the same

          single display, the second aerial image providing a different view than the first aerial

          image, taken from a different angle of the same roof; displaying, by the computer system

          of the roof estimate report system, a first line drawing representing features of the roof

          overlaid on the first aerial image of the roof; displaying, by the computer system of the

          roof estimate report system, a second line drawing representing features of the roof overlaid

          on the second aerial image of the roof, the second line drawings having features in common

          with and that correspond to features in the first line drawing; in response to user input,

          changing, a line in the first line drawing representing a feature of the roof that overlies the

          first aerial image of the roof; changing, by the computer system of the roof estimate report

          system, a line in the second line drawing that corresponds to the same feature in the first

          line drawing that was changed by the user, the change in the second line drawing being

          made by the computer system in response to the change that was made by the user in the

          first line drawing; and generating and outputting a roof estimate report using a report

          generation engine, wherein the roof estimate report includes one or more top plan views of

          a model of the roof annotated with numerical values for corresponding slope, area, or

          lengths of the edges of at least some of the plurality of planar roof sections of the model of

          the roof."

              E. U.S. Patent No. 9,129,376

    37.   The '376 patent, entitled "Pitch Determination Systems and Methods for Aerial Roof

          Estimation," was issued by the USPTO on September 8, 2015.

    38.   The application for the '376 patent was filed on July 31, 2014.

    39.   Chris Pershing is the named inventor of the '376 patent.

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     40.   Claim 17 of the '376 patent states: "A computer-implemented method in a roof estimation

           system, the method comprising: displaying, by the roof estimation system, a graphical user

           interface including an aerial image of a roof structure of a building and a pitch

           determination marker that is an interactive user interface control that can be manipulated

           by the operator in order to specify pitch of the roof structure of the building; moving the

           pitch determination marker with respect to the aerial image of the roof structure to a first

           location in the graphical user interface overlaying the aerial image in response to input

           from the user; adjusting the pitch determination marker so that the pitch determination

           marker appears to lie substantially atop at least one of two adjacent planar roof sections of

           the aerial image of the roof structure; determining, by the roof estimation system, a pitch

           of the at least one of the two adjacent planar roof sections based on a configuration of the

           pitch determination marker; and generating and outputting, by the roof estimation system,

           a roof estimate report using a report generation engine, wherein the roof estimate report

           includes one or more top plan views of a model of the roof structure annotated with

           numerical values for corresponding slope, area, or lengths of edges of at least some of a

           plurality of planar roof sections of the roof structure, wherein the generated roof estimate

           report is provided for repair and/or constructing the roof structure of the building."

    41.    Claim 20 of the '376 patent states: "A roof estimation system comprising: at least one

           computer processor; and at least one memory coupled to the at least one computer

           processor having computer executable instructions stored thereon that, when executed,

           cause the at least one computer processor to: adjust a pitch determination marker overlaid

           on a photographic aerial image in response to manipulation of the pitch determination

           marker by a user so that at least a portion of the pitch determination marker substantially



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           aligns with at least a portion of a planar roof section of the roof in the aerial image; calculate

           a pitch of the planar roof section roof based on the adjustment of the pitch determination

           marker; store the calculated pitch in the memory; and generate and output a roof estimate

           report, wherein the roof estimate report includes one or more top plan views of a model of

           the roof annotated with numerical values for corresponding slope, area, or lengths of edges

           of at least some of a plurality of planar roof sections of the roof, wherein the generated roof

           estimate report is provided for repair and/or constructing the roof structure of the building."

     42.   Claim 22 of the '3 76 patent states: "The system of claim 20 wherein the pitch determination

           marker is an envelope tool and wherein the computer executable instructions stored on the

           memory, when executed, cause the at least one computer processor to: change a position

           of a spine of the envelope tool to a position in which the spine substantially aligns with a

           ridge line of the roof."

    43.    Claim 23 of the '376 patent states: "The system of claim 22 wherein the computer

           executable instructions stored on the memory, when executed, cause the at least one

           computer processor to: adjust an angle of a first surface of the envelope tool and a second

           surface of the envelope tool so that the first surface lies substantially atop a first section of

           the roof and the second surface lies substantially atop a second section of the roof that is

           adjacent to the first section at the ridge line."

               F. U.S. Patent No. 9,135,737

    44.    The '737 patent, entitled "Concurrent Display Systems and Methods for Aerial Roof

           Estimation," was issued by the USPTO on September 15, 2015.

    45.    The application for the '737 patent was filed on August 1, 2014.

    46.    Chris Pershing is the named inventor of the '737 patent.



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     47.    Claim 16 of the '737 patent states: "A non-transitory computer-readable storage medium,

            having computer executable instrnctions stored thereon that, when executed by at least one

            computer processor, cause the at least one processor to enable a computing system to

            generate a roof estimate repo11 for a building having a roof, by perfonning a method

            comprising: overlaying a line drawing on corresponding locations of a roof feature of the

            roof on first and second ae1ial images of the roof. wherein the first aerial image provides a

            first view of the roof of the building and the second aerial image provides a second view

            of the roof of the building; in response to changes in the line drawing overlaid on the first

            aerial image, displaying corresponding changes to the line drawing overlaid on the second

            aerial image: and generate and output a roof estimate repo11 using a repo11 generation

            engine, wherein the roof estimate rep011 includes numerical values for corresponding slope,

            area, or lengths of edges of at least some of a plurality of planar roof sections of the roof.

            wherein the generated roof estimate report is provided for repair and/or constrncting the

            roof strncture of the building."

    48.     Claim 25 of the '737 patent states: "The non-transitory computer-readable storage medium

            of claim 16 wherein the method further comprises: modifying a three dimensional model

            of the roof based at least on the modification of the line drawing overlaid on the first aerial

            image."

    III.    Claim Construction

    49.     The pa11ies have agreed to constrnctions for several temis as set forth in the table below.

            See Dli. No. 178.

           CLAIM TERM                 ASSERTED CLAIMS                  AGREED UPON CONSTRUCTION

     "top plan view"               '436 patent clailllS 2, 21, 36    "an ae1ial view of an object that is taken
                                                                     from a position ve11ically or nearly
                                                                     ve11icallv above the object"

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           CLAIM TERM                  ASSERTED CLAIMS                AGREED UPON CONSTRUCTION

      ''oblique perspective         '436 patent. Claims 2. 36        "an aerial view of an object that is taken
      view"/ "oblique view"/                                         from a position that is neither ve11ically
      ''perspective view"                                            nor nearly ve11ically above the object"
      ''not a stereoscopic pair"    '436 patent, Claim 2             "a pair of images of the same object taken
                                                                     from different view directions"
      ''a roof estimation           '436 patent. Claim 2             "a module that is stored on the memory.
      module that is stored on      '840 patent, Claim 10            and which perfonns image acquisition.
      the memory"                                                    roof modeling. and repo11 generation
                                                                     fi.mctions ''
      "aerial image"                '840 patent. Claim 10            "an image taken from the air"
                                    '770 patent. Claim 12
                                    '376 patent. Claims 17. 20. 23

     50.    The Court's Afark111011 Order states. "the plain and ordina1y meaning of each disputed claim

            te1m is clear to one of skill in the art and needs no claim constmction; and therefore. no

            claim constmction has been set forth herein." See Dk.1. No. 332.

     IV.    The Accused Products

     51.    Prior to Januruy 1. 2016. Xactware was the entity making sales of the Accused Products.

            Between January 1. 2016 and March 15. 2017. the Geospatial Solutions business unit (also

            known as the Geomni business unit) ofVerisk was the entity making sales of the Accused

            Products. From March 15. 2017 to the present. Geomni has been the entity making sales

            of the Accused Products.

    52.     Xactware provided (and Geomni provides) customer support for those who use its products

            as necessruy. has customers located in the United States, and has employees based in the

            United States who provide customer suppo11.

    53.     Tue Mass Production Tool includes graphical user inte1face components that can be

            manipulated by users.

    54.     Versions of the Mass Production Tool require computer memo1y in order to be executed.

    55.     Tue Xactware product called Property InSight has been renamed Geomni Prope1fy.


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     56.   The Xactware product called Roof InSight has been renamed Geomni Roof.

     57.   Xactware provided instructions to customers on how to order RooflnSight data packages.

     V.    Invalidity

     58.   "Hsieh" refers to a document by Hsieh, entitled "Design and Evaluation of a Semi-

           Automated Site Modeling System," Carnegie Mellon, November 1995.

     59.   "McKeown" refers to a document entitled "Chapter 9, Feature Extraction and Object

           Recognition, Automatic Cartographic Feature Extraction Using Photogrammetric

           Principles," by D. McKeown, Jr., et al. in Digital Photogrammetry: An Addendum to the

           Manual of Photogrammetry; by American Society for Photogrammetry and Remote

           Sensing (1996).

     60.   "Sungevity" refers to U.S. Patent No. 8,417,061 entitled "Methods and Systems for

           Provisioning Energy Systems."

     61.   Sungevity issued on April 9, 2013.

     62.   "Avrahami," refers to a document by Avrahami et al., entitled "Extraction of 3D Spatial

           Polygons Based on the Overlapping Criterion for Roof Extraction from Aerial Images,"

           International Archives of Photogrammetry, Remote Sensing and Spatial Information

           Sciences, August 29-30, 2005

    63.    "Applicad," refers to a document by Applicad, entitled "Product Bulletin - November

           2002: Key features of our Roofing Software," November 2002.

    64.    "Labe," refers to a document entitled "Robust Techniques for Estimating Parameters of 3D

           Building Primitives" by Thomas Labe and Eberhard GUich, International Society for

           Photogrammetry and Remote Sensing, Volume XXXII, Part 2, Commission II,

           Proceedings of the Commission II Symposium, Data Integration: Systems and Techniques,

           July 13-17, 1998 (1998).

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    65.   "Aerowest" refers to European Patent No. 1 010 966 to Aerowest GmbH, entitled

          "Verfahren zur Erzeungungeiner drei-dimensionalen Objektbeschreibunf'' [Method for

          generating a three-dimensional object description].

    66.   Aerowest issued on October 23, 2002.

    67.   "Verma" refers to U.S. Patent Application Publication No. 2006/0061566 to Verma,

          entitled "Method and Apparatus for Performing Three-Dimensional Computer Modeling."

    68.   Verma was published on March 23, 2006.




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    PART III.        PLAINTIFF'S CONTESTED FACTS:

    I.     Plaintiff intends to prove the following contested facts with regard to liability:

                A. Direct Infringement

     1.    Xactware has directly infringed and continues to directly infringe Claims 2, 21, and 36 of

           the '436 patent, Claims 10 and 18 of the '840 patent, Claim 12 of the '770 patent, Claim

           26 of the '454 patent, Claims 17, 20, and 23 of the '376 patent, and Claim 25 of the '737

           patent.

    2.     Xactware has, without authority, made, used, offered for sale, sold and/or imported in the

           United States the Accused Products I thereby infringing the Asserted Claims of the

           Asserted Patents.

    3.     Pursuant to the Stipulation with Respect to Geomni, which was entered by the Court on

           March 13, 20 I 8 (Dkt. No. 406), any and all references to "Xactware" include "Geomni,"

           any and all references to "RooflnSight" include "Geomni Roof," and any and all references

           to "Property InSight" include "Geomni Property."

    4.     Prior to 2013, Eagle View and Pictometry International Corp. ("Pictometry") were separate

           legal entities. In 2013, Eagle View merged with Pictometry.

    5.     Defendants' Property InSight; RooflnSight; and the Mass Production Tool in combination

           with Xactimate, Property In Sight, and Roof InSight are alleged to infringe the '436 patent.

    6.     Defendants' Xactimate in combination with Aerial Sketch version 2; Property lnSight;

           Roof InSight; and the Mass Production Tool in combination with Xactimate, Property




           The Accused Products are defined as Defendants' Xactimate in combination with Aerial
    Sketch version 2; Property InSight; Roof InSight; and the Mass Production Tool in combination
    with Xactimate, Property TnSight, and RooflnSight.
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          InSight, and Roof InSight are alleged to infringe the '840, '376, '454, '770, and '737

          patents.

    7.    The Accused Products are used to generate roof estimate reports and data packages,

          including Roof Insight, Property Insight and Aerial Sketch reports and data packages.

    8.    Xactware's Aerial Sketch version 2 was released in February 2012; its Roof InSight

          product was first sold in April 2012; and its Property InSight product was first sold in

          January 2015.

    9.    In the Mass Production Tool, changes to certain parameters or measurements of a roof,

          such as length, can impact roof pitch. The Mass Production Tool can display an aerial

          image of a building having a roof, and can also display two aerial images of a building with

          a roof at the same time.

    10.   In the Mass Production Tool, the

          files are each compiled, and the resulting code is included in the application; discrete

          portions of such code may, under certain circumstances, be executed depending on what

          functions the user selects or uses, among other variables and factors.

    11.   Users of the Mass Production Tool can upload a model of a property in a Sketch format to

          Defendants' data centers in the United States.

    12.   Mass Production Tool version 3 .14.0 has many features and functionality in common with

          other versions of the Mass Production Tool.

    13.   Finalized Property InSight data packages and Roof In Sight data packages are delivered to

          customers or other end-users and enable such customers or end-users to create a PDF report.

    14.   Aerial Sketch can display an aerial image of a building having a roof, includes graphical

          user interface components that can be manipulated by the user, and includes a Set Slope



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          Tool mode of operation. The Set Slope Tool functionality gives the user the ability to

          estimate the slope of a roof from an oblique (non-overhead) image. And a user can click

          and drag a ridge point to set the slope of a roof ridge line's adjacent faces. Three-

          dimensional models of roofs in a Sketch format are a part of what is used in the creation of

          Property InSight data packages.

    15.   Third parties, such as end users, of Aerial Sketch can cause Aerial Sketch to display, one

          after the other, separately, different images of a building with a roof.

    16.   In Aerial Sketch, the

                                 are each compiled, and the resulting code is included in the

          application; discrete portions of such code may, under certain circumstances, be executed

          depending on what functions the user selects or uses, among other variables and factors.

    17.   Xactware has used the Mass Production Tool and Aerial Sketch in the United States at least

          once.

    18.   Xactware has generated a Property InSight data package and a Roof InSight data package

          in the United States at least once.

    19.   Xactware, without authority, supplies or causes to be supplied from the United States the

          Mass Production Tool and aerial images which are each a substantial portion of the

          components of the Accused Products claimed by the '436, '840, '376, and '737 patents,

          where such components are uncombined in whole or in part, in such a manner as to actively

          induce the combination of such components outside of the United States in a manner that

          would infringe the patent if such combination occurred within the United States. The Mass

          Production Tool is supplied by Defendants' servers in the United States, and is a software

          component that is executed on computer systems and constitutes a substantial component



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          of a roof estimation system that is combined outside of the United States in a way that

          would infringe the asserted patents if the combination had occurred within the United

          States. Aerial images used with the Mass Production Tool are components that are supplied

          by Defendants' servers in the United States, are substantial components of a roof estimation

          system, and are combined with the Mass Production Tool outside of the United States in a

          way that would infringe the asserted patents if the combination had occurred within the

          United States.

    20.   Xactware, without authority, supplies or causes to be supplied, the Mass Production Tool

          and aerial images in or from the United States, which are each a component of the patented

          inventions that is especially made or especially adapted for use in the claimed inventions

          in the '436, '840, '376, and '737 patents, and is not a staple article or commodity of

          commerce suitable for substantial non-infringing use, uncombined in whole or in part,

          knowing that the Mass Production Tool and aerial images are so made or adapted and

          intending that the Mass Production Tool and aerial images will be combined outside of the

          United States in a manner that would infringe the patent if such combination occurred

          within the United States.   The Mass Production Tool and the aerial images used in the

          Mass Production Tool are supplied by Defendants' servers in the United States, were

          especially made and especially adapted for use in a roof estimation system, and are not a

          staple article or commodity of commerce suitable for substantial non-infringing use.

    21.   Geomni has entered into an agreement with

                                                           . Employees of this company have used

          the Mass Production Tool and aerial images outside the United States.




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    22.   Xactware has entered into agreements with

                                                                               . Employees of these

          companies have used the Mass Production Tool and aerial images outside the United States.

    23.   Xactware, Geomni, and their customers, without authority, imports into the United States

          or offers to sell, sells, or uses within the United States the Accused Products, which are

          made by the processes and methods of the Asserted Claims of the Asserted Patents. The

          Accused Products are tangible products sold to customers that are not materially changed

          by subsequent processes or trivial and nonessential components of another product.

          Defendants' Property InSight and Roof InSight roof reports are products made by

          processes patented in the United States, and no material change occurs to the product after

          it is made. By directing employees of companies Xactware and Geomni have entered into

          agreements with on how and when to use the Mass Production Tool, Xactware and Geomni

          induce them to perform each step of the methods or processes of the patented inventions in

          generating the roof reports.

             B. Indirect Infringement

    24.   Xactware has knowingly induced and continues to knowingly induce its customers' direct

          infringement of Claims 2, 21, and 36 of the '436 patent, Claims 10 and 18 of the '840

          patent, Claim 12 of the '770 patent, Claim 26 of the '454 patent, Claims 17, 20, and 23 of

          the '376 patent, and Claim 25 of the '737 patent, including through Xactware's customers'

          unauthorized use of Aerial Sketch, Roof Insight, and Property Insight, including by, inter

          alia, being involved in and maintaining control over the development, support, marketing,

          sale, and distribution of the Accused Products.

    25.   Xactware has had knowledge of the Asserted Patents and has intended to encourage its

          customers to use the Accused Products to infringe the Asserted Patents.

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    26.   Xactware induced its customers to infringe the Asserted Patents by intentionally

          encouraging and continuing to encourage its customers to use Aerial Sketch-by, among

          other things, providing customers with user guides, manuals, instructional videos, and

          webcasts that include instructions on how to use Aerial Sketch in a way that infringes at

          least the Asserted Claims of the '840, '376, '454, '770, and '737 patents-and knew that

          encouraging customers to use Aerial Sketch, in combination with the Xactimate platform,

          would induce its customers to infringe the Asserted Patents.

    27.   Xactware specifically intended for its users to infringe the Asserted Patents because it knew

          that its encouragement and instructions provided to customers would cause those customers

          to use Aerial Sketch in a manner that infringes the Asserted Patents.

    28.   Xactware's customers follow Xactware's instructions to use Aerial Sketch to create roof

          reports in a manner that infringes the Asserted Patents.

    29.   By using Aerial Sketch in combination with the Xactimate platform, Xactware's customers

          directly infringe the Asserted Patents.

    30.   Xactware induced its customers to infringe the Asserted Patents by intentionally

          encouraging and continuing to encourage its customers to use its RooflnSight and Property

          InSight products-by, among other things, providing customers with webcasts, literature,

          and certifications that include instructions on how to order and use Roof InSight and

          Property InSight products in a way that infringes the Asserted Claims of the Asserted

          Patents-and knew that encouraging customers to use its Roof InSight and Property

          InSight products would induce its customers to infringe the Asserted Patents.

    31.   Xactware specifically intended for its users to infringe the Asserted Patents because it knew

          that its encouragement and instructions provided to customers would cause those customers



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          to use the Roof Insight and Property InSight products in a manner that infringes the

          Asserted Patents.

    32.   Xactware's customers follow Xactware's instructions to use the RooflnSight and Property

          InSight products in a manner that infringes the Asserted Patents.

    33.   By using the RooflnSight and Property InSight products, Xactware's customers directly

          infringe the Asserted Patents.

    34.   Verisk has knowingly induced and continues to knowingly induce Xactware's direct

          infringement of Claims 2, 21, and 36 of the '436 patent, Claims 10 and 18 of the '840

          patent, Claim 12 of the '770 patent, Claim 26 of the '454 patent, Claims 17, 20, and 23 of

          the '376 patent, and Claim 25 of the '737 patent, including through Xactware's

          manufacture, use, sale, offer for sale or importation of such products in a manner that

          infringes the Asserted Patents, including by, inter alia, being involved in and maintaining

          control over the development, support, marketing, sale, use, and distribution of the Accused

          Products.

    35.   Verisk has had knowledge of the Asserted Patents and knew that its intentional

          involvement in and control over the development, use, support, marketing, sale, and

          distribution of the Accused Products would encourage Xactware and Xactware's customers

          to infringe the Asserted Claims of the Asserted Patents and has intended that result to occur.

    36.   Verisk induced Xactware to infringe the Asserted Patents by, inter alia, intentionally

          encouraging and aiding Xactware's development, use, marketing and selling of the

          Accused Products. Verisk actively marketed and promoted the Accused Products through

          its own website, procured aerial images to be used in the Accused Products, took actions




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           to broaden Xactware's customer base, and actively encouraged Xactware's development

           and use of the Accused Products in a manner that infringed the Asserted Patents.

    37.    Verisk specifically intended for Xactware to infringe the Asserted Patents because it knew

           that its encouragement and aid provided to Xactware, including through at least its

           involvement in and control over the development, support, sale, and distribution of the

           Accused Products, would cause Xactware to make and use the Accused Products in a

           manner that infringes the Asserted Claims of each Asserted Patent.

    38.    Verisk, Xactware, and Geomni provide customer support for those who use their products

           as necessary, including customers located in the United States.

    39.    By making, using, offering for sale, selling, and importing the Accused Products, Xactware

           directly infringes the Asserted Patents.

               C. Willful Infringement

    40.    Xactware's infringement of the Asserted Patents has been and continues to be willful.

           Xactware has acted with knowledge of the Asserted Patents and without a reasonable basis

           for a good faith belief that it would not be liable for infringement of the Asserted Patents.

    41 .   Defendants were aware of the scope and coverage of Eagle View's Asserted Patents while

           Defendants developed the infringing Accused Products.

    42.    Eagle View repeatedly notified Defendants of their infringement of, among other things,

           the Asserted Patents, and Defendants acknowledged the risk of infringement, but chose to

           proceed with their infringing activities.

    43.    Xactware made no attempts and no plans to design around or otherwise avoid infringement

           of the Asserted Patents.

    44.    Verisk made no attempts and no plans to design around or otherwise avoid infringement

           of the Asserted Patents.

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     45.   All of the Asserted Claims have been or are being infringed by Defendants-and

           Defendants are liable for the infringement of any of the Asserted Claims-at least in view

           of the reasons set forth in the report of Plaintiff's expert that were presented during this

           case and in view of the deposition testimony of Plaintiff's expert from this case.

               D. EagleView's Technology

    46.    EagleView has two software tools, Render House and Twister, both of which

           independently embody the inventions of the Asserted Patents.

    4 7.   Render House and Twister, including the House Report functionality, are used to generate

           Eagle View's roof estimate reports.

    48.    Chris Pershing conceived of the inventions of the '436, '840, and '376 patents at least as

           early as December 2, 2006 and reduced them to practice at least as early as January 2008.

    49.    Chris Pershing conceived of the inventions of the '454, '770, and '737 patents at least as

           early as March 12, 2007 and reduced them to practice at least as early as January 2008.

    50.    At least as early as January 5, 2008, Chris Pershing and EagleView finished developing

           the Render House software which embodies the inventions of the Asserted Patents.

    51.    At least as early as October 15, 2008, Chris Pershing and Eagle View finished developing

           the Twister software which incorporated all of the functionality of Render House and added

           features providing additional information for its roof models, which also embodies the

           inventions of the Asserted Patents.

    52.    Before this lawsuit, Defendants publicly lauded EagleView's technologies.            When

           Xactware discovered EagleView, it praised EagleView's the inventions in the Asserted

           Patents.   Subsequently, Defendants consistently lauded the patented inventions of

           Eagle View's   Asserted Patents in various        settings,   including   in their internal

           communications, in press releases, and on investor conference calls.

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     53.   EagleView's claimed inventions set forth new and radically different computerized

           approaches to specific aspects of roof estimation than were previously thought to be

           possible, increasing accuracy, reducing risk, and saving resources, among other benefits.

     54.   A person of ordinary skill in the art pertinent to the Asserted Patents is "someone with a

           bachelor's degree or higher in computer science, computer engineering, computer vision

           or visualization, physics, or an equivalent educational background, or someone having at

           least 5 years of industry experience in software development."

    55.    All of the Asserted Claims are valid at least in view of the reasons set forth in the report of

           Plaintiffs expert presented during this case and in view of the deposition testimony of

           Plaintiffs expert from this case.

               E. The '436 Patent

    56.    The '436 patent is valid and enforceable.

    57.    The '436 patent was issued by the United States Patent and trademark Office ("USPTO"

           or "PTO") on December 13, 2011.

    58.    Defendants had notice of the '436 patent at least as early as May 22, 2012.

    59.    The asserted claims of the '436 patent are supported by the disclosures of the '436 patent's

           parent applications, Application No. 12/148,439, filed on April 17, 2008, and Provisional

           Application No. 60,925,072, filed on April 17, 2007, and are entitled to their earlier priority

           dates.

    60.    No combinations of any references previously disclosed by Defendants anticipate or render

           the asserted claims of the '436 patent obvious.

    61.    The asse11ed claims of the '436 patent are directed to an improved computer system for

           generating a roof estimate report with specific content based on correlating non-

           stereoscopic aerial images by receiving an indication of pairs of corresponding features.

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          All asserted claims of the '436 patent require correlating the two or more unique images.

          This claims a specific approach tailored to roof modeling.

    62.   The '436 patent improves the prior art computer systems by adding specific techniques

          never before used to solve the weaknesses in the prior art recognized by the inventors.

    63.   The asserted claims of the '436 patent are not obvious over publication by Hsieh, entitled

          "Design and Evaluation of a Semi-Automated Site Modeling System," Carnegie Mellon,

          November 1995 ("Hsieh").

    64.   The asserted claims of the '436 patent are not obvious over Hsieh in combination with

          publication by Applicad, entitled "Product Bulletin - November 2002: Key features of our

          Roofing Software," November 2002 ("Applicad").

    65.   The asserted claims of the '436 patent are not obvious over Hsieh in combination with

          European Patent No. l Ol O 966 to Aerowest GmbH, entitled "Verfahren zur Erzeungung

          einer drei-dimensionalen Objektbeschreibunf' [Method for generating a three-dimensional

          object description], issued Oct. 23, 2002 ("Aerowest").

    66.   The asserted claims of the '436 patent are not obvious over publication entitled "Chapter

          9, Feature Extraction and Object Recognition, Automatic Cartographic Feature Extraction

          Using Photogrammetric Principles,"        by D. McKeown,         Jr.,   et al.   in   Digital

          Photogrammetry: An Addendum to the Manual of Photogrammetry; Published by

          American Society for Photogrammetry and Remote Sensing (1996) ("McKeown").

    67.   The asserted claims of the '436 patent are not obvious over McKeown in combination with

          AppliCad.

    68.   The asserted claims of the '436 patent are not obvious over McKeown in combination with

          Aerowest.



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    69.   The asserted claims of the '436 patent are not obvious over publication by Avrahami et al.,

          entitled "Extraction of 3D Spatial Polygons Based on the Overlapping Criterion for Roof

          Extraction from Aerial Images," International Archives of Photogrammetry, Remote

          Sensing and Spatial Information Sciences, August 29-30, 2005 ("Avrahami").

    70.   The asserted claims of the '436 patent are not obvious over Avrahami in combination with

          AppliCad.

    71.   The asserted claims of the '436 patent are not obvious over Avrahami in combination with

          Aerowest.

    72.   The asserted claims of the '436 patent are not obvious over U.S. Patent No. 8,417,061

          entitled "Methods and Systems for Provisioning Energy Systems," which issued on April

          9, 2013 ("S ungev ity").

    73.   The asserted claims of the '436 patent are not obvious over Sungevity in combination with

          AppliCad.

    74.   The asserted claims of the '436 patent are not obvious over Sungevity in combination with

          Aerowest.

    75.   The asserted claims of the '436 patent are not obvious over publication entitled "Robust

          Techniques for Estimating Parameters of 3D Building Primitives" by Thomas Uibe and

          Eberhard Gi.ilch, International Society for Photogrammetry and Remote Sensing, Volume

          XXXII, Part 2, Commission II, Proceedings of the Commission II Symposium, Data

          Integration: Systems and Techniques, July 13-17, 1998 (1998) ("Labe").

    76.   The asserted claims of the '436 patent are not obvious over Labe in combination with

          AppliCad.




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    77.   The asserted claims of the '436 patent are not obvious over Labe in combination with

          Aerowest.

              F. The '840 Patent

    78.   The '840 patent is valid and enforceable.

    79.   Defendants had notice of the '840 patent at least as early as May 22, 2012.

    80.   The asserted claims of the '840 patent are supported by the disclosures of the '840 patent's

          parent application, Provisional Application No. 61/197 ,904, filed on October 31, 2008, and

          are entitled to its earlier priority date.

    81.   No combinations of any references previously disclosed by Defendants anticipate or render

          the asserted claims of the '840 patent obvious.

    82.   The asserted claims of the '840 patent are directed to an improved computer system for

          generating a roof estimate report through user manipulation of an interactive graphical

          interface tool that is overlaid on aerial roof images or shown in the same graphical user

          interface as the images.       The pitch determination marker ("PDM") requirements are

          specific and concrete. The PDM is an important advancement that improves computer-

          based roof modeling systems by using the PDM user interface tool.

    83.   The '840 patent improves the prior art computer systems by adding specific techniques

          never before used to solve the weaknesses in the prior art recognized by the inventor. One

          way in which the '840 patent improves prior art technologies, among others, is by

          employing a "pitch determination marker" that is "overlaid on the aerial image of the

          building having the roof." Employing a pitch determination marker improves upon the

          limitations of prior solutions at least by allowing a user to determine the elements and

          measurements of a roof by using one or more aerial images of a roof, without the need to

          climb on a physical roof.

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    84.   The asserted claims of the '840 patent are neither anticipated by, nor obvious over,

          Sungevity.

    85.   The asserted claims of the '840 patent are neither anticipated by, nor obvious over, U.S.

          Patent Application Publication No. 2006/0061566 to Verma, entitled "Method and

          Apparatus for Performing Three-Dimensional Computer Modeling," published Mar. 23,

          2006 ("Verma").

    86.   The asserted claims of the '840 patent are not obvious over Hsieh either alone or in view

          of Verma.

    87.   The asserted claims of the '840 patent are not obvious over Labe either alone or in view of

          Verma.

    88.   The asserted claims of the '840 patent are not obvious over Aerowest either alone or in

          view of Verma.

    89.   The asserted claims of the '840 patent are not obvious over Hsieh in view of Verma, and

          in further view of AppliCad.

    90.   The asserted claims of the '840 patent are not obvious over Hsieh in view of Verma, and

          in further view of Aerowest.

    91.   The asserted claims of the '840 patent are not obvious over Labe in view of Verma, and in

          further view of AppliCad.

    92.   The asserted claims of the '840 patent are not obvious over Labe in view of Verma, and in

          further view of Aerowest.

    93.   The asserted claims of the '840 patent are not obvious over Verma in view of AppliCad.

    94.   Claim 18 of the '840 patent is not obvious over Sungevity in view of AppliCad.

    95.   Claim 18 of the '840 patent is not obvious over Sungevity in view of Aerowest.



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                G. The '376 Patent

    96.     The '376 patent is valid and enforceable.

    97.     The asserted claims of the '376 patent are supported by the disclosures of the '376 patent's

            parent application, Provisional Application No. 61 /197 ,904, filed on October 31, 2008, and

            are entitled to its earlier priority date.

    98.     No combinations of any references previously disclosed by Defendants anticipate or render

            the asserted claims of the '376 patent obvious.

    99.     The asserted claims of the '376 patent are directed to an improved computer system for

            generating a roof estimate report through user manipulation of an interactive graphical

            interface tool that is overlaid on aerial roof images or shown in the same graphical user

            interface as the images.       The pitch determination marker ("PDM") requirements are

            specific and concrete. The PDM is an important advancement that improves computer-

            based roof modeling systems by using the PDM user interface tool.

    100.    The '376 patent improves the prior art computer systems by adding specific techniques

            never before used to solve the weaknesses in the prior art recognized by the inventor. One

            way in which the '376 patent improves prior art technologies, among others, is by

            employing a "pitch determination marker" that is "overlaid on the aerial image of the

            building having the roof." Employing a pitch determination marker improves upon the

            limitations of prior solutions at least by allowing a user to determine the elements and

            measurements of a roof using one or more aerial images of a roof, without the need to

            climb on a physical roof.

    10 I.   The asserted claims of the '3 76 patent are not obvious over Aerowest in view of Verma.

    102.    The asserted claims of the '376 patent are not obvious over Hsieh in view of Verma, and

            further in view of AppliCad.

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     103.    The asserted claims of the '3 76 patent are not obvious over Hsieh in view of Verma, and

             further in view of Aerowest.

     104.    The asserted claims of the '376 patent are not obvious over Labe in view of Verma, and

             further in view of AppliCad.

    105.     The asserted claims of the '376 patent are not obvious over Labe in view of Verma, and

             further in view of Aerowest.

     I 06.   Claim 17 of the '3 76 patent is not obvious over Verma in view of AppliCad.

     I 07.   Claims 17 and 20 of the '376 patent are not anticipated by Sungevity.

     I 08.   The asserted claims of the '376 patent are not obvious over Sungevity in view of AppliCad

             and/or Aerowest.

    109.     Claim 23 of the '376 patent is not obvious over Sungevity in view of Verma.

    110.     Claim 23 of the '376 patent is not obvious over Sungevity in view of Verma, and in further

             view of AppliCad.

    111.     Claim 23 of the '376 patent is not obvious over Sungevity in view of Verma, and in further

             view of Aerowest.

                H. The '454 Patent

    112.     The '454 patent is valid and enforceable.

    113.     Defendants had notice of the '454 patent at least as early as December 2014.

    114.     No combinations of any references previously disclosed by Defendants anticipate or render

             the asserted claims of the '454 patent obvious.

    115.     The asserted claims of the '454 patent are directed to an improved computer system for

             generating a roof estimate report with specific content by employing improved user

             feedback when the user manipulates an interactive graphical interface tool overlaid on

             aerial roof images.

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    116.   Embodiments of the '454 patent describe a system and method that improve upon the

           limitations of prior solutions at least by allowing a user to determine the elements and

           measurements of a roof without the need to climb on a physical roof using two or more

           aerial images of a roof. In particular, one embodiment teaches that features of a roof can

           be determined by displaying corresponding changes to line drawings over two aerial

           images concurrently on one display.

    117.   The '454 patent improves the prior art computer systems by adding specific techniques

           never before used to solve the weaknesses in the prior art recognized by the inventors.

    118.   The asserted claims of the '454 patent are not obvious over Labe, either alone, or in view

           of AppliCad or Aerowest.

    119.   The asserted claims of the '454 patent are not obvious over Avrahami, either alone, or in

           view of AppliCad or Aerowest.

    120.   The asserted claims of the '454 patent are not obvious over Hsieh, either alone, or in view

           of AppliCad or Aerowest.

    121.   The asserted claims of the '454 patent are not obvious over McKeown, either alone, or in

           view of AppliCad or Aerowest.

              I. The '770 Patent

    122.   The '770 patent is valid and enforceable.

    123.   Defendants had notice of the '770 patent at least as early as December 2014.

    124.   No combinations of any references previously disclosed by Defendants anticipate or render

           the asserted claims of the '770 patent obvious.

    125.   The asserted claims of the '770 patent are directed to an improved computer system for

           generating a roof estimate report with specific content by employing improved user



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           feedback while the user manipulates an interactive graphical interface tool in the same

           display window as aerial roof images.

    126.   Embodiments of the '770 patent describe a system and method that improve upon the

           limitations of prior solutions at least by allowing a user to determine the elements and

           measurements of a roof without the need to climb on a physical roof using two or more

           aerial images of a roof. In particular, one embodiment teaches that features of a roof can

           be determined by displaying corresponding changes to visual markers over two aerial

           images concurrently.

    127.   The '770 patent improves the prior art computer systems by adding specific techniques

           never before used to solve the weaknesses in the prior art recognized by the inventors.

    128.   The asserted claims of the '770 patent are not obvious over Hsieh, either alone, or in view

           of AppliCad.

    129.   The asserted claims of the '770 patent are not obvious over Avrahami, either alone, or in

           view of AppliCad.

    130.   The asserted claims of the '770 patent are not obvious over McKeown, either alone, or in

           view of AppliCad.

              J. The '737 Patent

    131.   The '73 7 patent is valid and enforceable.

    132.   No combinations of any references previously disclosed by Defendants anticipate or render

           the asserted claims of the '73 7 patent obvious.

    133.   The asserted claims of the '737 patent are directed to an improved computer system for

           generating a roof estimate report with specific content by employing improved user

           feedback while the user manipulates an interactive graphical interface tool overlaid on

           aerial roof images.

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     134.   Embodiments of the '73 7 patent describe a system and method that improve upon the

            limitations of prior solutions at least by allowing a user to determine the elements and

            measurements of a roof without the need to climb on a physical roof using two or more

            aerial images of a roof. In particular, one embodiment teaches that features of a roof can

            be determined by displaying corresponding changes to line drawings over two aerial

            images concurrently.

    135.    The '737 patent improves the prior art computer systems by adding specific techniques

            never before used to solve the weaknesses in the prior art recognized by the inventors.

    136.    The asserted claims of the '737 patent are not obvious over Labe, either alone or in view

            of AppliCad or Aerowest.

    13 7.   The asserted claims of the '73 7 patent are not obvious over Hsieh, either alone or in view

            of AppliCad or Aerowest.

    138.    The asserted claims of the '737 patent are not obvious over Avrahami, either alone or in

            view of AppliCad or Aerowest.

    13 9.   The asserted claims of the '73 7 patent are not obvious over McKeown, either alone or in

            view of AppliCad or Aerowest.

               K. The Sungevity Patent

    140.    In addition to failing to disclose the claim elements of the asserted claims of the '436, '840,

            and '376 patents against which Defendants have asserted the Sungevity patent, the

            Sungevity patent is not prior art to the '436, '840, and '376 patents.

    141.    The Sungevity patent claims priority to Provisional Application No. 61/047,086 ("'086

            provisional"), filed on April 22, 2008, and Provisional Application No. 61/025,431 ('" 431

            provisional"), filed on February 1, 2008; however, the Sungevity patent's allegedly

            invalidating claims and disclosures are not supported by the disclosures in either of its

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           provisional applications, and it 1s not entitled to the earlier priority dates of those

           applications.

    142.   The '436 patent has a priority date at least as early as October 16, 2008.

    143.   The Sungevity patent is not prior art to the '436 patent because the application for the

           Sungevity patent was filed on February 2, 2009, later than the '436 patent's October 16,

           2008 filing date.

    144.   The '840 and '376 patents are entitled to the priority date of Provisional Application No.

           61/197 ,904, filed on October 31, 2008.

    145.   The Sungevity patent is not prior art to the '840 and '376 patents because the application

           for the Sungevity patent was filed on February 2, 2009, later than the '840 and '3 76 patents'

           October 31, 2008 priority date.

              L. OBJECTIVE INDICIA OF NON-OBVIOUSNESS

    146.   Xactware and Verisk copied Eagle View's technology when developing Aerial Sketch and

           the Mass Production Tool. Defendants developed an extensive working knowledge of

           EagleView's patented technology of the Asserted Patents through the course of its

           partnership with, and due diligence of, Eagle View. A number of Defendants' engineers

           and managers conducting diligence of and interacting with Eagle View's technology-

           including the Eagle View products that embody the Asserted Claims-also worked on and

           developed the Accused Products.       Despite their exposure to EagleView's technology

           embodying the Asserted Patents, Defendants made no effort to ensure that these same

           engineers were separated from Defendants' own development of an image-based roof

           measurement product (e.g., establishing "clean rooms" during the course of development).

           Defendants used its extensive knowledge of EagleView's patented technology of the

           Asserted Patents to develop the Accused Products.

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    147.   Xactware engineers and representatives visited Eagle View's facilities in early 2009 to tour

           the production floor and meet with EagleView's executives.           These engineers and

           representatives included at least Jeffrey Taylor, Jeffrey Lewis, and Brad Childs. The

           agenda for this visit included time allotted for a presentation of Eagle View's operations

           and technical workflow, image sample review, technical questions, and a tour of Eagle

           View's operations. Also, during this visit, Defendants' executive



                                                                    , which EagleView considered

           confidential and which relate to the claimed limitations of the Asserted Patents.

    148.   Jeffrey Lewis and Jeffrey Taylor were involved in the development of the Mass Production

           Tool and the development of the Aerial Sketch program.

    149.   Due to the inventions of the Asserted Patents, EagleView's products have been

           commercially successful, garnered widespread industry praise, and became the industry

           standard for aerial roof estimation.

    150.   Eagle View's patented technology was initially met with industry skepticism, but as

           customers confirmed the accuracy of Eagle View reports, the technology began to

           experience widespread industry praise.

    151.   Eagle View's patented roof estimation method solved a long felt industry need by enabling

           roof measurements to be taken remotely with aerial images.

    II.    Plaintiff intends to prove the following contested facts with regard to damages:

    152.   EagleView is entitled to damages beginning on the date of first infringement under 35

           U.S.C. §§ 286 and 287.

              A. LOST PROFITS



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     153.   EagleView lost profits due to Defendants' infringement on sales to the insurance industry

            (excluding price erosion) of at least                 and to contractors (excluding price

            erosion) ofat   leastll- from the time of Defendants' first infringement in February
            2012 through January 2018.

     154.   Xactware's infringing sales also caused prices to erode substantially between 2012 and the

            present, causing Eagle View to lose an additional -      -           on sales to the insurance

            industry, and an additional               on sales to contractors.

     155.   Total profits lost by Eagle View due to Defendants' infringement on sales to the insurance

            industry o f · - and to contractors of                         , for total lost profits due to

            Defendants' infringement o f · - ·

    156.    Demand for Eagle View's products that embody the Asserted Patents consistently rose, as

            evidenced by rising sales of both Eagle View's and Defendants' products. EagleView and

            Defendants compete with one another in the same geographic area (i.e., the United States

            and Canada). Aerial rooftop measurement products constitute their own market. Xactware

            was unable to compete in the aerial rooftop measurement products market until it began

            using Eagle View's patented technology.

    157.    Before Defendants' infringement, Eagle View was the only company capable of generating

            commercially acceptable roof models and reports based solely on aerial imagery.

    158.    EagleView has lost both sales and insurance and contractor customers to Xactware,

            including



    159.    Xactware entered into contracts with many of Eagle View's former and current customers,

            including



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                                           , for the use of the Accused Products

    160.   EagleView also employed other tactics to turn customers away from EagleView and

           towards the Accused Products.

    161.   Xactware has had no non-infringing substitute on the market during the infringing period,

           and no non-infringing alternatives have existed during the relevant damages period.

    162.   Eagle View has always been able to supply roofreport orders and has steadily increased in

           production capacity in response to actual and anticipated increases in order flow.

    163.   Other than price, customers do not appear to recognize a difference between Defendants'

           Accused Products and Eagle View's products embodying the Asserted Patents. Several

           former EagleView customers admitted that Xactware's offering of lower prices for the

           Accused Products, among other price-focused sales tactics, were the reason the customers

           switched from Eagle View to Xactware.

              B. REASONABLE ROYALTY

    164.   To the extent that EagleView is not entitled to lost profits, a reasonable royalty would be

           between                                  , and in no event below -                   through

           January 2018.

              C. QUANTIFIABLE BENEFITS



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    165.   Prior to Eagle View's innovations, generating roof measurement reports required on-sight

           assessments. Such in-person assessments often involved either climbing on rooftops to

           take measurements, or making estimates from the ground, both of which were costly and

           error-prone. Eagle View's patented technology enables more accurate roof measurement

           information than previously possible.

    166.   The patented inventions permit the production of roof reports (i) with greater accuracy, (ii)

           with more efficiency, and (iii) without the risk of physical harm associated with the

           traditional preparation of roof reports. One study estimated that the cost-savings from

           using Eagle View's patented technology was approximately $549/report.

    167.   The Accused Products are integral to Defendants' businesses and have been central to

           Defendants' growth.     And sales of the Accused Products increased overall sales at

           Xactware.

    168.   Defendants' Accused Products do not include any significant features or improvements, or

           an economically meaningful non-patented element or manufacturing process.

    169.   Eagle View's rooftop reports are highly profitable-between 2013 and February 2018, its

           marginal profit ranged from                        of revenue.   Between 2013 and 2017,

           Eagle View expanded its annual sales of roof reports from- -              to--·

    170.   Eagle View does not license (and has never licensed) the Asserted Patents.

    171.   Using the Price-Differential model, royalty for Aerial Sketch is calculated to be . , by

           subtracting the price of non-accused Aerial Sketch v. l ( . ) from the price of accused

           Aerial Sketch v .2 ( . ) .

    172.   Using the Cost-Savings model, EagleView's patented technology saved an average of

           $549/report to determine the quantifiable benefits of Eagle View's patented technology.



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           The study also found that EagleView's patented technology saved 28 minutes (Aerial

           Sketch v.2) to 36 minutes (EagleView's Premium Report, RooflnSight, Property InSight)

           over manual measurement, which amounted to savings of $14.88 and $19.13, respectively

           and reduced to $14.13 to account for Defendants' incremental costs in time-savings per

           roof.

    173.   Using the Incremental-Profits model, three royalties are calculated based on one aspect of

           the Asserted Claims: the roof report generated and transmitted using Eagle View's patented

           technology.   These royalties through January 2018 are (i) - ' based on

           Eagle View's lost roof-report profits to insurers and contractors; ( i i ) - , based on

           Defendants' 2013-2014 Roof In Sight per-report pricing of      II Jess incremental costs
           - ) and t h e . royalty for Aerial Sketch - ) ; and ( i i i ) - ,

           based on Defendants' discounted RooflnSight price o ~ - ) and t h e .

           royalty for Aerial Sketch - ) .

              D. INJUNCTIVE RELIEF

    174.   Eagle View has suffered an irreparable injury, and remedies available at law are inadequate

           to compensate for Eagle View's injury.

    175.   Defendants' infringing sales of the Accused Products have resulted in irreparable harm to

           Eagle View, and monetary damages alone would be inadequate.

    176.   Xactware's infringing sales have eroded EagleView's prices, caused EagleView to Jose

           customers, and caused EagleView to lose market share.

    177.   All of the major customers are aware ofXactware's presence in the market and have sought

           (or are expected to seek) price reductions based on Xactware's market presence.

    178.   EagleView and the Defendants are the only competitors in the market.



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    179.   Continued sales by Xactware serve to prolong and/or exacerbate pnce erosion of

           Eagle View's products and cause EagleView to lose more customers and market share for

           an unknown and unknowable period of time into the future.

    180.   The balance of hardships favors entry of an injunction when considering, among other

           things, the products and revenue sources. The patented technology of the Asserted Patents

           is central to Eagle View's business, and EagleView's market share, revenue, and business

           strategy depend on its ability to exclude others from using its patents. EagleView directly

           competes with Defendants, and Defendants' infringement has caused EagleView to lose

           market share. And Defendants' continued infringement will cause Eagle View to lose more

           market share in the future. Eagle View should not need to compete against its own patented

           invention, and Defendants will not be harmed by stopping their unlawful infringement.

    181.   The public interest favors entry of a permanent injunction because a permanent injunction

           would protect Eagle View's patent rights, and Eagle View has the capacity to fulfill all sales

           of the Accused Products and satisfy the relevant markets if Defendants are permanently

           enjoined from future development, manufacture and sale of the Accused Products.




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       PART IV.          DEFENDANTS' CONTESTED FACTS:

       Procedural history:

       1.        Plaintiffs EagleView Technologies, Inc. and Pictometry International Corp. filed a
                 complaint on September 23, 2015, alleging that:

                         •   U.S. Patent No. 8,078,436 (the "'436 patent") is infringed by Xactimate in
                             combination with Roof Insight and/or Property Insight;
                         •   U.S. Patent Nos. 8,170,840 (the '"840 patent"), 8,209,152 (the '"152 patent"),
                             8,825,454 (the '"454 patent"), 8,818,770 (the '"770 patent"), and 8,823,732
                             (the "'732 patent") are infringed by Xactimate in combination with Aerial
                             Sketch; and
                         •   U.S. Patent No. 8,532,880 ("'880 patent") is infringed by Xactimate in
                             combination with Roof Insight and/or Aerial Sketch.
       Dkt. 1.

       2.        Defendants answered Plaintiffs' complaint on November 12, 2015, denying infringement
                 of any of the '436, '840, '152, '880, '770, '732 and '454 patents and alleging that these
                 patents are invalid. Dkt. No. 15. Defendants asserted counterclaims seeking declaratory
                 judgments of non-infringement and invalidity with respect to all seven of these asserted
                 patents. Id.

       3.        Plaintiffs filed an amended complaint on November 30, 2015, adding allegations of
                 infringement of U.S. Patent Nos. 9,129,376 (the '"376 patent") and 9,135,737 (the '"737
                 patent") by Xactimate in combination with Aerial Sketch. Dkt. No. 30. Plaintiffs
                 contended that Defendants infringed a total of 153 claims spanning these nine asserted
                 patents.

       4.        Defendants answered Plaintiffs' amended complaint on May 18, 2017, denying that the
                 Accused Products have infringed any of the '436, '840, '152, '880, '770, '732, '454, '376
                 and '737 patents and alleging that these patents are invalid. Dkt. No. 238. Defendants
                 asserted counterclaims seeking declaratory judgments of non-infringement and invalidity
                 with respect to all nine of these asserted patents. Id

       5.        On May 18, 2017, Eagle View narrowed its infringement allegations to 24 claims
                 spanning the '436, '840, '152, '770, '454, '376 and '737 patents. Dkt. 239. In doing so,
                 EagleView confirmed that the '880 patent and the '732 patent no longer would be
                 asserted in this case. Id.

       6.        On May 18, 2008, following the exchange of opening expert reports - including the
                 exchange of EagleView's expert report concerning damages - but before the conclusion
                 of expert discovery, EagleView further narrowed its infringement contentions by
                 removing six additional patent claims from the case.

       7.        On August 1, 2018, in response to this Court's order (Dkt. No. 449), EagleView further
                 narrowed its infringement contentions by removing seven additional patent claims from


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                the case. In doing so, EagleView confirmed that the '152 patent no longer would be
                asserted in this case.

       Defendants intend to prove the following contested facts with regard to liability:

       8.       It is impossible to infringe a patent that has not yet issued.

       9.       None of the Asserted Patents in this case, in their current form, had issued in or before
                April 2012.

       10.      The earliest date of issuance of any patent asserted in this case, in its current form, was
                May 1, 2012.

       11.      Xactware Solutions, Inc. ("Xactware") has not and currently does not directly infringe
                any Asserted Claim of any Asserted Patent.

       12.      Xactware and Verisk Analytics, Inc. ("Verisk") (collectively, the "Defendants") have not
                and currently do not directly or indirectly infringe any Asserted Claim of any Asserted
                Patent.

       13.      The Defendants have not and currently do not induce infringement, knowingly or
                otherwise, of any Asserted Claim of any Asserted Patent.

       14.      Xactware has not and currently does not infringe any Asserted Claim of the '436 patent,
                the '840 patent or the '376 patent under 35 U.S.C. § 271(f)(l) or (2).

       15.      Xactware has not and currently does not infringe, knowingly or otherwise, any Asserted
                Claim of any Asserted Patent under 35 U.S.C. § 27l(g).

       16.      Performance of any Asserted Claim, including method claims, by third parties, such as an
                end user, does not constitute direct or indirect infringement by either of the Defendants.

       17.      None of Aerial Sketch, Roof lnSight, Property InSight, the Mass Production Tool, or
                Xactimate individually, nor any combination of them ("Accused Products"), infringes,
                directly or indirectly, any Asserted Claim of any Asserted Patent.

       18.      The accused Xactimate platform was commercially available prior to the earliest priority
                date of any Asserted Patent. Xactimate, by itself, does not infringe any Asserted Claim
                of any Asserted Patent.

       19.      RooflnSight, Property InSight, the Mass Production Tool, and Aerial Sketch do not
                individually infringe any Asserted Claim.

       20.      RooflnSight, Property InSight, the Mass Production Tool, and Aerial Sketch are not
                alleged to infringe any Asserted Claim except in combination with Xactimate.

       21.      Any alleged notification by Eagle View of supposed patent infringement by Defendants
                that occurred prior to May 1, 2012 does not constitute notice of alleged infringement of


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                any currently Asserted Claim of any Asserted Patent, because no currently Asserted
                Claim existed prior to May 1, 2012.

       22.      By using the Accused Products, end-users do not infringe any Asserted Claim of any
                Asserted Patent.

       23.      Aerial Sketch is primarily used by third-party end users who are not under the direction
                or control of either of the Defendants.

       24.      Neither Defendant, nor any Accused Product, employs, builds, sells, or otherwise uses a
                distributed-memory computer system or architecture.

       25.      The Accused Products employ a fundamentally different approach to generating roof
                models and reports than what is disclosed or claimed in any of the Asserted Patents.

       26.      The Accused Products do not correlate aerial images as claimed in the Asserted Claims.

       27.      The Accused Products do not constitute, contain, or comprise computer executable
                instructions stored on memory for performing correlation of aerial images or generation
                of three dimensional models based on any such correlation, as claimed in the Asserted
                Claims.

       28.      The Roof Insight/Property Insight system, including the Mass Production Tool, is a
                distributed system with components that are stored in and executed at multiple locations
                throughout the world.

       29.      The Accused Products are multi-component software, and cannot infringe, directly or
                indirectly, any claim directed to a "roof estimation module."

       30.      The Accused Products lack a "roof estimation module" as recited by the Asserted Claims.

       31.      The Accused Products do not generate a three-dimensional model as required by the
                Asserted Claims of the '436 patent.

       32.      The Accused Products do not contain a "memory" as recited by the Asserted System
                Claims.

       33.      The Accused Products do not generate a three-dimensional model based on a correlation,
                as required by the Asserted Claims of the '436 patent.

       34.      The Accused Products do not generate three-dimensional models by mapping ground
                points.

       35.      The Accused Products do not generate three-dimensional models by aerotriangulation.

       36.      The Accused Products do not generate three-dimensional models by identifying
                corresponding features from displayed roof elements.



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       37.      The Accused Products do not receive, based on a displayed pitch determination marker,
                an indication of the pitch of one or more planar roof sections, as required by the Asserted
                Claims of the '840 patent.

       38.      The Accused Products do not modify a model of the roof based on the received indication
                of the pitch of the one planar roof section, as required by the Asserted Claims of the '840
                patent.

       39.      The Accused Products do not use any "pitch determination marker," as required by the
                Asserted Claims of the '840 and '376 patents.

       40.      The Accused Products do not transmit any roof estimate report, as required by the
                Asserted Claims of the '840 and '436 patents.

       41.      There are no embodiments of the '840 or '376 patents, nor any asserted claims of these
                patents, where the claimed pitch determination marker and the claimed wire frame model
                are the same item, element, or limitation.

       42.      The Accused Products do not perform digital wire frame model construction of the roof
                structure based on at least one location over the roof structure in the displayed aerial
                imagery to which the user moved the least one [sic] first visual marker, as required by the
                Asserted Claims of the '770 patent.

       43.      Aerial Sketch does not display a first and second aerial image "at the same time," as
                required by the Asserted Claims of the '73 7 patent.

       44.      EagleView has presented no evidence that the Accused Products provide reports "for
                repair and/or construction," as required by the Asserted Claims of the '376 patent.

       45.     None of Xactimate, Roof Insight, Property Insight, the Mass Production Tool, or Aerial
               Sketch are "memory" as claimed in the Asserted Patents.

       46.      Any computer-implemented method for generating a roof estimate report by Defendants,
                to the extent any such method is performed at all, is practiced entirely or primarily
                outside of the United States.

       47.      Defendants' computing system for generating a roof estimate report, to the extent any
                such system exists at all, is neither made nor used, entirely or primarily, as claimed
                within the United States, nor is it offered for sale in the United States.

       48.      Defendants' non-transitory computer readable storage medium which performs a method
                of generating a roof estimate report for a building having a roof, to the extent any such
                medium exists at all, is neither made nor used as claimed, entirely or primarily within the
                United States, nor is it offered for sale in the United States.

       49.      Roof models, data packages, or files, such as Sketch files, generated by Defendants'
                overseas Business Process Outsourcing ("BPO") partners using the Mass Production Tool
                are materially changed by subsequent processes.

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       50.      A roof model, data package, or file, such as a Sketch or ".skt" file, generated using the
                Mass Production Tool does not contain pitch or slope information.

       51.      A roof model, data package, or file, such as a Sketch or ".skt" file, generated by
                Defendants' overseas BPO partners using the Mass Production Tool becomes a trivial
                and nonessential component of another product.

       52.      The Mass Production Tool does not constitute a component especially made, adapted,
                used, offered for sale, sold, and/or imported for use in any product covered by the claims
                of any of the Asserted Patents, and is a staple article or commodity of commerce suitable
                for substantial non-infringing use.

       53.      The Accused Products are not products made, used, offered for sale, sold, and/or
                imported in accordance with Eagle View's patented process.

       54.      Xactware does not supply from the United States all or a substantial portion of the
                components of Defendants' rooftop aerial measurement products, including Xactimate,
                Property InSight/Roof InSight, or the Mass Production Tool.

       55.      The Mass Production Tool does not constitute a component that is combined outside of
                the United States in a way that would infringe the Asserted Patents if the combination
                had occurred within the United States.

       56.      Aerial images used with the Mass Production Tool are not combined with the Mass
                Production Tool outside of the United States in a way that would infringe the Asserted
                Patents if the combination had occurred within the United States.

       57.     Neither the export from or import into the United States, nor the general possession or
               use, foreign or domestic, of aerial images infringes, infringes or is within the scope of,
               any Asserted Claim of any Asserted Patent.

       58.     Xactware does not import into the United States, offer to sell, sell, and/or use within the
               United States roofreport products made by Defendants' rooftop aerial measurement
               products, including Xactimate, Property InSight/RooflnSight, and the Mass Production
               Tool.

       59.     Defendants' Property lnSight and Roof InSight roof reports are not products made by
               patented processes of the Asserted Patents.

       60.      Defendants do not induce overseas BPOs to perform, and such BPOs themselves do not
                perform, each step of the methods or processes of any Asserted Claim of any Asserted
                Patent in generating roof models or roof reports.

       61.     Roofreports sold by Defendants are not products offered for sale or sold in the United
               States that are made by a method or process of any Asserted Claim of any Asserted
               Patent.




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       62.      Verisk did not, could not, and does not possess any relevant knowledge or intent required
                for a claim of indirect infringement, particularly because Xactware's actions do not
                infringe, directly or otherwise, the claims of the Asserted Patents.

       63.      Xactware has not and does not encourage its customers or anyone else to use Aerial
                Sketch or any other Accused Product in a way that infringes any Asserted Claim of any
                Asserted Patent.

       64.      Xactware did not, could not, and does not possess any relevant knowledge or intent
                required for a claim of induced infringement, nor did it or does it encourage any
                infringement of any Asserted Claim of any Asserted Patent by customers or anyone else.

       65.      The use of Aerial Sketch in combination with the Xactimate platform does not infringe,
                directly or otherwise, any Asserted Claim of any Asserted Patent, whether used by
                customers or anyone else.

       66.      Defendants' customers' use of the Accused Products, including Aerial Sketch, is not done
                at the instruction of, nor under the direction and control of, either Defendant, nor would
                any such use of the Accused Products infringe any Asserted Claim of any Asserted Patent.

       67.      Xactware did not and does not intend, specifically or otherwise, for its customers or other
                users to infringe the Asserted Patents, including because such users do not, in fact,
                infringe any Asserted Claim of any Asserted Patent.

       68.      Xactware did not and does not possess any relevant knowledge or intent required for a
                claim of indirect infringement under any theory, nor did it or does it encourage or provide
                instructions for any infringement of any Asserted Claim of any Asserted Patent by
                customers or anyone else.

       69.      The provision of literature instructing users how to order a Roof InSight or Property
                InSight roof report or data package does not infringe, directly or otherwise, any Asserted
                Claim of any Asserted Patent.

       70.      The act of ordering a roof report, as well as the act of providing literature regarding how
                to order a roof report, is not within the scope of, recited or claimed in, or otherwise
                encompassed by any Asserted Claim of any Asserted Patent.

       71.      The act of ordering a roof report is not, by itself, claimed in any Asserted Claim of any
                Asserted Patent.

       72.      The act of purchasing a roof report is not, by itself, claimed in any Asserted Claim of any
                Asserted Patent.

       73.      The act of requesting a roof report is not, by itself, claimed in any Asserted Claim of any
                Asserted Patent.

       74.      The act ofreceiving a roof report is not, by itself, claimed in any Asserted Claim of any
                Asserted Patent.


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       75.      Defendants do not make, sell, or offer to sell computers or computer memory

       76.      Defendants have not and do not willfully infringe, either directly or indirectly, any
                Asserted Claim of any Asserted Patent. Defendants have acted with a reasonable basis
                and have a good faith belief that Defendants would not be liable for infringement of the
                Asserted Patents.

       77.      Verisk and EagleView Technology Corporation signed a detailed agreement (the "Verisk
                Agreement") dated January 14, 2014 pursuant to which Verisk would acquire EagleView
                Technology Corporation for approximately $650 million.

       78.      In the Verisk Agreement, Eagle View warranted and represented that Verisk and
                Xactware did not infringe any Eagle View patents. The Verisk Agreement remained in
                effect from January 14, 2014 until December 16, 2014, when it was terminated because
                the Federal Trade Commission prohibited the proposed acquisition.

       79.      Vista Equity Partners ("Vista") and EVTC signed a detailed agreement (the "Vista



       80.     -Agreement") dated June 15, 2015 pursuant to which Vista would acquire E V T C -


                In the Vista Agreement, EVTC warranted and represented that Verisk and Xactware did
                not infringe any Eagle View patents.

       81.      Defendants relied upon Eagle View's representation that Verisk and Xactware did not
                infringe any Eagle View patents.

       82.      Defendants were, are, and will be prejudiced by Eagle View's infringement allegations
                and Eagle View's efforts to proceed with this litigation.

       83.      Defendants' development and creation of the Accused Products relied exclusively on
                Defendants' own ingenuity, knowledge, technology, research, experience, and efforts,
                and did not involve any reliance on, emulation of, or reference to any of the Asserted
                Patents.

       84.     No proprietary source code or operational versions for any of EagleView's Render House,
               Twister, or other roof estimation software programs were shared with Xactware or Verisk
               during the process of integrating Eagle View's roof report data packages onto the
               Xactimate platform.

       85.      The data provided by Eagle View to the Xactimate platform as part of EagleView's
                integration and selling of reports on the Xactimate platform does not reveal any source
                code or proprietary information regarding any of Eagle View's Render House, Twister, or
                other roof estimation software programs.

       86.      The required format of the data provided by Eagle View to the Xactimate platform as part
                of EagleView's integration and selling of reports on the Xactimate platform was dictated
                by Xactware.



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       87.      Customers do not purchase, license, or use either Render House or Twister.

       88.      Customers have no direct access to either Render House or Twister.

       89.      Customers do not see the operation of and have no knowledge of the implementation
                details of the Render House or Twister software.

       90.      Simply being in the proximity of someone using EagleView's Twister or Render House
                software tools would not enable another to reverse engineer such software.

       91.      Eagle View's own employees confirm that if an individual observed the operation of
                Render House or Twister by looking over the shoulder of an individual running either of
                these software programs, he or she would not be able to reverse engineer such programs.

       92.      EagleView's own employees believe that simply walking by a computer screen on which
                the Twister or Render House software program is operating would not enable them to
                understand the software.

       93.      EagleView's own employees believe that even if an individual was provided with a
                computer running the Twister software application, that individual would not know how
                to use this application to analyze images.

       94.      Only in or about 2017 did Eagle View even begin research and development into the use
                of roof primitives for the purpose of generating roof models or reports.

       95.      Never during any visits to any EagleView offices did any employee from any Defendant
                see a prototype of Eagle View's technology or learn how Eagle View created roof reports.

       96.      None of the Asserted Claims have been or are being infringed, directly or indirectly, by
                Defendants-and Defendants are not liable for infringement, whether direct or indirect,
                of any of the Asserted Claims-at least in view of the reasons set forth in the reports of
                Defendants' experts that were presented during this case and in view of the deposition
                testimony of those experts from this case.

       Defendants intend to prove the following contested facts with regard to invalidity:

       97.      All of the Asserted Claims are invalid.

       98.      All of the Asserted Claims are unpatentable and invalid under 35 U.S.C. § 101.

       99.      All of the Asserted Claims are directed to patent-ineligible concepts.

       100.    For each Asserted Claim, when the elements of the claim are considered individually and
               as an ordered combination, there is no transformation of the nature of the claim into
               patent-eligible subject matter.

       101.     Prior to the issuance of any Asserted Patent and prior to the earliest priority date of any
                Asserted Patent, Xactware developed and offered commercially the ability to create


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                models of roofs, called Sketches, including the ability to underlay aerial images of the
                buildings having roofs that were the subject of such roof models.

       l 02.    Chris Pershing did not invent the math for performing the image analysis covered by the
                Asserted Claims of the '436 patent solely from the image data files.

       103.     Written computer code in the form ofphotogrammetric algorithms existed as generally
                known in the art prior to any conception of any supposed invention of Chris Pershing
                captured in the '436 patent.

       l 04.    Part of the supposed invention of the '436 patent is the use of existing, well-known
                mathematical principles from textbooks and journal articles.

       105.     As part of the supposed invention of the '436 patent, Chris Pershing did not invent any
                new programming language and, instead, used existing programing languages.

       106.     All entries in Chris Pershing's inventor notebooks after December 4, 2006 are entirely
                unverified and unauthenticated and do not sufficiently or properly evidence any
                conception or reduction to practice of any aspect of any supposed invention of any
                Asserted Claim of any Asserted Patent.

       107.     Chris Pershing did not fully conceive of the supposed inventions of the '436, '840,
                or '376 Patents by December 2, 2006, and did not reduce them to practice by January
                2008.

       108.     David Carlson did not fully conceive of the supposed inventions of the '436 Patent by
                December 2, 2006, and did not reduce them to practice by January 2008.

       109.     Chris Pershing did not fully conceive of the supposed inventions of the '454, '770,
                and '737 patents by March 12, 2007, and did not reduce them to practice by January 2008.

       110.     Chris Pershing and Eagle View did not finish developing any Render House software that
                embodied any supposed invention of any Asserted Patent by January 5, 2008.

       111.    No version of the Render House software embodies any supposed invention of any
               Asserted Claim of any Asserted Patent.

       112.     Chris Pershing and Eagle View did not finish developing any Twister software that
                embodied any supposed invention of any Asserted Patent by October 15, 2008.

       113.    No version of the Twister software embodies any supposed invention of any Asserted
               Claim of any Asserted Patent.

       114.    The purported invention of each Asserted Claim is not an improvement to technology or
               computer functionality.

       115.    None of the Asserted Claims require the use of a specialized computer, computer system,
               memory, or machine.


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       116.    Each of the Asserted Claims concern the application of a generic computer to implement
               an abstract idea.

       117.    The Asserted Claims of the '436 patent are not directed to an improved computer system
               for generating a roof estimate report with specific content based on correlating non-
               stereoscopic aerial images by receiving an indication of pairs of corresponding features.

       118.    The '436 patent disclosure does not improve prior art computer systems.

      119.     The Asserted Claims of the '436 patent are not supported by the disclosures of the '436
               patent's parent applications, Application No. 12/148,439, filed on April 17, 2008, or
               Provisional Application No. 60/925,072, filed on April 17, 2007, and are not entitled to
               their earlier priority dates.

      120.     The Asserted Claims of the '840 patent are not directed to an improved computer system
               for generating a roof estimate report through user manipulation of an interactive graphical
               interface tool that is overlaid on aerial roof images or shown in the same graphical user
               interface as the images.

      121.     The '840 patent disclosure does not improve prior art computer systems.

      122.     The pitch determination marker is not illustrated at all in Fig. 6B of the '840 patent,
               which instead depicts a drawing tool that can be directly manipulated by the operator in
               order to specify roof features, such as edges, ridges, valleys, comers, etc.

      123.     Fig. 6B of the '840 patent includes a wire frame model.

      124.     Column 14, lines 9-13 of the '840 patent does not discuss the use of a drawing tool to
               determine pitch and do not recite a pitch determination marker.

      125.     The Asserted Claims of the '376 patent are not directed to an improved computer system
               for generating a roof estimate report through user manipulation of an interactive graphical
               interface tool that is overlaid on aerial roof images or shown in the same graphical user
               interface as the images.

      126.     The '376 patent disclosure does not improve prior art computer systems.

      127.    Neither the envelope tool nor any other embodiment of the pitch determination marker is
              illustrated at all in Fig. 6B of the '376 patent.

      128.     Fig. 6B of the '376 patent includes a wire frame model.

      129.     The Asserted Claims of the '454 patent are not directed to an improved computer system
               for generating a roof estimate report with specific content by employing improved user
               feedback when the user manipulates an interactive graphical interface tool overlaid on
               aerial roof images.

      130.     The '454 patent disclosure does not improve prior art computer systems.


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      131.    The Asserted Claims of the '770 patent are not directed to an improved computer system
              for generating a roof estimate report with specific content by employing improved user
              feedback while the user manipulates an interactive graphical interface tool in the same
              display window as aerial roof images.

      132.    The '770 patent disclosure does not improve prior art computer systems.

      133.    The Asserted Claims of the '737 patent are not directed to an improved computer system
              for generating a roof estimate report with specific content by employing improved user
              feedback while the user manipulates an interactive graphical interface tool overlaid on
              aerial roof images.

      134.    The '737 patent disclosure does not improve prior art computer systems.

     135.     The Asserted Claims contain subject matter that would be well understood, routine and
              conventional to a person of skill in the art prior to the filing of the applications that led to
              the Asserted Claims.

     136.     All of the Asserted Claims are invalid under 35 U.S.C. § 102 and/or 35 U.S.C. § 103.

     13 7.    The Twister and Render House products do not embody or practice any of the Asserted
              Claims.

     138.     There are no secondary considerations that weigh against a finding of invalidity with
              regard to any of the Asserted Claims.

     139.     There is no nexus between the secondary considerations identified by EagleView and any
              of the Asserted Claims.

     140.     Defendants have not copied Plaintiff's patented technology.

     141.    No employee, past or present, of either Xactware or Verisk has ever copied, stolen,
             inspected, or even viewed Eagle View's source code for any of its Render House, Twister,
             or other roof estimation software programs.

     142.    Eagle View has no evidence that anyone from Xactware or Verisk has ever stolen, copied,
             or otherwise obtained any Eagle View source code source code for any of its Render
             House, Twister, or other roof estimation software programs.

     143.    No employee, past or present, ofXactware or Verisk has ever operated or otherwise used
             any of EagleView's Render House, Twister, or other roof estimation software programs.

     144.    Supposed praise and skepticism of EagleView's products and technology does not weigh
             against a finding of invalidity with regard to any of the Asserted Claims.

     145.    Plaintiff's supposed solution to a long felt industry need does not weigh against a finding
             of invalidity with regard to any of the Asserted Claims.



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      146.    None of the Asserted Claims are entitled to claim priority to any parent application.

      14 7.   The following references are prior art to the Asserted Claims and the Asserted Patents:

              o        "Hsieh," which refers to a publication by Hsieh, entitled "Design and Evaluation
                       of a Semi-Automated Site Modeling System," Carnegie Mellon, November 1995

              o        "McKeown," which refers to a publication entitled "Chapter 9, Feature Extraction
                       and Object Recognition, Automatic Cartographic Feature Extraction Using
                       Photogrammetric Principles," by D. McKeown, Jr., et al. in Digital
                       Photogrammetry: An Addendum to the Manual of Photogrammetry; Published by
                       American Society for Photogrammetry and Remote Sensing (1996)

              o        "Sungevity," which refers to U.S. Patent No. 8,417,061 entitled "Methods and
                       Systems for Provisioning Energy Systems," which issued on April 9, 2013

              o        "Avrahami," which refers to a publication by A vrahami et al., entitled "Extraction
                       of 3D Spatial Polygons Based on the Overlapping Criterion for Roof Extraction
                       from Aerial Images," International Archives of Photogrammetry, Remote Sensing
                       and Spatial Information Sciences, August 29-30, 2005

              o        "Applicad," which refers to a publication by Applicad, entitled "Product Bulletin
                       - November 2002: Key features of our Roofing Software," November 2002

              o        "Labe," which refers to a publication entitled "Robust Techniques for Estimating
                       Parameters of 3D Building Primitives" by Thomas Labe and Eberhard Giilch,
                       International Society for Photogrammetry and Remote Sensing, Volume XXXII,
                       Part 2, Commission II, Proceedings of the Commission II Symposium, Data
                       Integration: Systems and Techniques, July 13-17, 1998 (1998)

              o        "Aerowest," which refers to European Patent No. I O10 966 to Aerowest GmbH,
                       entitled "Verfahren zur Erzeungungeiner drei-dimensionalen Objektbeschreibunf'
                       [Method for generating a three-dimensional object description], issued Oct. 23,
                       2002 and

              o        "Verma," which refers to U.S. Patent Application Publication No. 2006/0061566
                       to Verma, entitled "Method and Apparatus for Performing Three-Dimensional
                       Computer Modeling," published Mar. 23, 2006.

     148.     Sungevity is prior art to the '436 patent, the '840 patent, and the '376 patent.

     149.     The Sungevity patent claims priority to Provisional Application No. 61/04 7,086 ("'086
              provisional"), filed on April 22, 2008, and Provisional Application No. 61/025,431
              ("' 431 provisional"), filed on February 1, 2008, such claims and corresponding
              disclosures are fully supported by the disclosures in those provisional applications, and
              the claims are entitled to the earlier priority dates of those provisional applications.




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      150.    Sungevity's priority date precedes the earliest priority date for both the '840 patent and
              the '376 patent.

      151.    The Patent Office's conclusion that Sungevity is prior art to the '436 patent is correct.

      152.    The Asserted Claims of the '436 patent are obvious in view of:

              o        Hsieh
              o        Hsieh in combination with Applicad;
              o        Hsieh in combination with Aerowest;
              o        McKeown;
              o        McKeown in combination with Applicad;
              o        McKeown in combination with Aerowest;
              o        Avrahami;
              o        Avrahami in combination with Applicad;
              o        Avrahami in combination with Aerowest;
              o        Sungevity;
              o        Sungevity in combination with Applicad;
              o        Sungevity in combination with Aerowest;
              o        Labe;
              o        Labe in combination with Applicad; and
              o        Labe in combination with Aerowest.

     153.     The Asserted Claims of the '840 patent are anticipated by Sungevity.

     154.     The Asserted Claims of the '840 patent are anticipated by Verma.

     155.     The Asserted Claims of the '840 patent are obvious in view of:

              o        Sungevity;
              o        Verma;
              o        Hsieh;
              o        Hsieh in combination with Verma;
              o        Labe;
              o        Labe in combination with Verma;
              o        Aerowest;
              o        Hsieh in combination with Verma and Applicad;
              o        Hsieh in combination with Verma and Aerowest;
              o        Labe in combination with Verma and Applicad;
              o        Labe in combination with Verma and Aerowest;
              o        Verma in combination with Aerowest; and
              o        Verma in combination with Applicad.

     156.     Claim 18 of the '840 patent is obvious over Sungevity in view of Applicad.

     157.     Claim 18 of the '840 patent is obvious over Sungevity in view of Aerowest.

     158.     Claim 17 of the '376 patent is anticipated by Sungevity.

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      159.    Claim 17 of the '376 patent is obvious in view of:

              o        Sungevity in combination with Applicad;
              o        Sungevity in combination with Aerowest;
              o        Verma in combination with Applicad;
              o        Verma in combination with Aerowest;
              o        Hsieh in combination Verma and Applicad;
              o        Hsieh in combination Verma and Aerowest;
              o        Labe in combination Verma and Applicad; and
              o        Labe in combination Verma and Aerowest.

      160.    Claim 20 of the '376 patent is anticipated by Sungevity.

      161.    Claim 20 of the '376 patent is obvious in view of:

              o        Sungevity in combination with Applicad;
              o        Sungevity in combination with Aerowest;
              o        Sungevity in combination with Applicad and Aerowest
              o        Verma in combination with Aerowest;
              o        Hsieh in combination with Verma and Applicad;
              o        Hsieh in combination with Verma and Aerowest;
              o        Labe in combination with Verma and Applicad; and
              o        Labe in combination with Verma and Aerowest.

     162.     Claim 23 of the '376 patent is obvious in view of:

              o        Sungevity in combination with Verma;
              o        Sungevity in combination with Verma and Applicad;
              o        Sungevity in combination with Verma and Aerowest;
              o        Sungevity in combination with Applicad;
              o        Sungevity in combination with Aerowest;
              o        Sungevity in combination with Applicad and Aerowest
              o        Verma in combination with Aerowest;
              o        Hsieh in combination with Verma and Applicad;
              o        Hsieh in combination with Verma and Aerowest;
              o        Labe in combination with Verma and Applicad; and
              o        Labe in combination with Verma and Aerowest.

     163.     The Asserted Claims of the '454 patent are obvious in view of:

              o        Labe;
              o        Labe in combination with Applicad;
              o        Labe in combination with Aerowest;
              o        Avrahami;
              o        A vrahami in combination with Applicad;
              o        A vrahami in combination with Aerowest;
              o        McKeown;


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              o        McKeown in combination with Applicad;
              o        McKeown in combination with Aerowest;
              o        Hsieh;
              o        Hsieh in combination with Applicad; and.
              o        Hsieh in combination with Aerowest.

      164.    The Asserted Claims of the '770 patent are obvious in view of:

              o        Hsieh;
              o        Hsieh in combination with Applicad;
              o        Avrahami;
              o        A vrahami in combination with Applicad; and
              o        Mc Keown;
              o        McKeown in combination with Applicad.

      165.    The Asserted Claims of the '737 patent are obvious in view of:

              o        Labe;
              o        Labe in combination with Applicad;
              o        Labe in combination with Aerowest;
              o        Avrahami;
              o        A vrahami in combination with Applicad;
              o        A vrahami in combination with Aero west;
              o        McKeown;
              o        McKeown in combination with Applicad;
              o        McKeown in combination with Aerowest;
              o        Hsieh;
              o        Hsieh in combination with Applicad; and
              o        Hsieh in combination with Aerowest.

      166.    At the priority date of each Asserted Patent, there was sufficient motivation for a person
              of ordinary skill in the art to combine the teachings and disclosures of the references that
              render each Asserted Claim obvious.

      167.    Hsieh is reflective of the knowledge and use by those other than the named inventors;
              public use; availability to the public; and/or sale of the purported inventions of the claims
              of the Asserted Patents, in this country and elsewhere, prior to the earliest possible
              application filing date for - and prior to the date of invention of the purported inventions
              of the claims of - each of the Asserted Patents.

      168.    Hsieh is reflective of the knowledge and use by those other than the named inventors;
              public use; availability to the public; and/or sale of the purported inventions of the claims
              of the Asserted Patents, in this country and elsewhere, more than one year prior to the
              earliest possible application filing date of each of the Asserted Patents.

      169.    Hsieh was publicly accessible at least as early as November 1995.



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      170.    McKeown is reflective of the knowledge and use by those other than the named
              inventors; public use; availability to the public; and/or sale of the purported inventions of
              the claims of the Asserted Patents, in this country and elsewhere, prior to the earliest
              possible application filing date for - and prior to the date of invention of the purported
              inventions of the claims of- each of the Asserted Patents.

      171.    McKeown is reflective of the knowledge and use by those other than the named
              inventors; public use; availability to the public; and/or sale of the purported inventions of
              the claims of the Asserted Patents, in this country and elsewhere, more than one year
              prior to the earliest possible application filing date of each of the Asserted Patents.

      172.    McKeown references and builds upon Hsieh, and was published in 1996.

      173.   Sungevity is reflective of the knowledge and use by those other than the named inventors;
             public use; availability to the public; and/or sale of the purported inventions of the claims
             of the Asserted Patents, in this country and elsewhere, prior to the earliest possible
             application filing date for - and prior to the date of invention of the purported inventions
             of the claims of - each of the Asserted Patents.

      174.    Sungevity is reflective of the knowledge and use by those other than the named inventors;
              public use; availability to the public; and/or sale of the purported inventions of the claims
              of the Asserted Patents, in this country and elsewhere, more than one year prior to the
              earliest possible application filing date of each of the Asserted Patents.

      175.   Avrahami is reflective of the knowledge and use by those other than the named inventors;
             public use; availability to the public; and/or sale of the purported inventions of the claims
             of the Asserted Patents, in this country and elsewhere, prior to the earliest possible
             application filing date for - and prior to the date of invention of the purported inventions
             of the claims of- each of the Asserted Patents.

      176.   A vrahami is reflective of the knowledge and use by those other than the named inventors;
             public use; availability to the public; and/or sale of the purported inventions of the claims
             of the Asserted Patents, in this country and elsewhere, more than one year prior to the
             earliest possible application filing date of each of the Asserted Patents.

      177.   Avrahami was published in August 2005.

      178.   Applicad is reflective of the knowledge and use by those other than the named inventors;
             public use; availability to the public; and/or sale of the purported inventions of the claims
             of the Asserted Patents, in this country and elsewhere, prior to the earliest possible
             application filing date for - and prior to the date of invention of the purported inventions
             of the claims of - each of the Asserted Patents.

      179.   Applicad is reflective of the knowledge and use by those other than the named inventors;
             public use; availability to the public; and/or sale of the purported inventions of the claims
             of the Asserted Patents, in this country and elsewhere, more than one year prior to the
             earliest possible application filing date of each of the Asserted Patents.


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      180.    Applicad was published in November 2002.

      181.    Labe is reflective of the knowledge and use by those other than the named inventors;
              public use; availability to the public; and/or sale of the purported inventions of the claims
              of the Asserted Patents, in this country and elsewhere, prior to the earliest possible
              application filing date for - and prior to the date of invention of the purported inventions
              of the claims of- each of the Asserted Patents.

      182.    Labe is reflective of the knowledge and use by those other than the named inventors;
              public use; availability to the public; and/or sale of the purported inventions of the claims
              of the Asserted Patents, in this country and elsewhere, more than one year prior to the
              earliest possible application filing date of each of the Asserted Patents.

      183.    Labe was published in July 1998.

      184.    Aerowest is reflective of the knowledge and use by those other than the named inventors;
              public use; availability to the public; and/or sale of the purported inventions of the claims
              of the Asserted Patents, in this country and elsewhere, prior to the earliest possible
              application filing date for - and prior to the date of invention of the purported inventions
              of the claims of - each of the Asserted Patents.

      185.    Aerowest is reflective of the knowledge and use by those other than the named inventors;
              public use; availability to the public; and/or sale of the purported inventions of the claims
              of the Asserted Patents, in this country and elsewhere, more than one year prior to the
              earliest possible application filing date of each of the Asserted Patents.

      186.    Verma is reflective of the knowledge and use by those other than the named inventors;
              public use; availability to the public; and/or sale of the purported inventions of the claims
              of the Asserted Patents, in this country and elsewhere, prior to the earliest possible
              application filing date for - and prior to the date of invention of the purported inventions
              of the claims of - each of the Asserted Patents.

      187.    Verma is reflective of the knowledge and use by those other than the named inventors;
              public use; availability to the public; and/or sale of the purported inventions of the claims
              of the Asserted Patents, in this country and elsewhere, more than one year prior to the
              earliest possible application filing date of each of the Asserted Patents.

      188.   David P. Carlson was a named inventor on Provisional Application No. 61/197,904, filed
             on October 31, 2008, to which all the Asserted Patents except the '436 patent claim
             priority. However, David P. Carlson is not listed as an inventor on any of the Asserted
             Patents except the '436 patent.

      189.   David P. Carlson was involved m the development of Eagle View's aerial roof
             measurement technology and system.

      190.   David P. Carlson made inventive contributions encompassed in at least one Asserted
             Claim of each Asserted Patent.


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      191.     David P. Carlson was aware of a foreign company using aerial images to measure roofs
               prior to the earlier priority date of any Asserted Patent and prior to the earliest alleged
               conception of any Asserted Claim of any Asserted Patent.

      192.     Neither David P. Carlson, Chris Pershing, nor anyone acting on their behalf disclosed to
               the U.S. Patent and Trademark Office Mr. Carlson's knowledge of a foreign company
               using aerial images to measure roofs prior to the earlier priority date of any Asserted
               Patent and prior to the earliest alleged conception of any Asserted Claim of any Asserted
               Patent.

      193.     All of the Asserted Claims are invalid at least in view of the reasons set forth in the
               reports of Dr. Joseph Mundy that were presented during this case and in view of Dr.
               Mundy' s deposition testimony from this case.

      194.    All of the Asserted Claims are invalid at least in view of the reasons set forth in the
              reports of Defendants' experts that were presented during this case and in view of the
              deposition testimony of those experts from this case.

      195.    A person of ordinary skill in the art with respect to the Asserted Patents is someone with
              a bachelor's degree in photogrammetry, computer vision, surveying, or civil engineering
              or an equivalent educational background, or having several years' worth of pertinent
              experience equivalent thereto, such as experience that is recognized by the American
              Society of Photogrammetry and Remote Sensing.

      196.     Sungevity claims priority to U.S. Provisional Application No. 61/047,086 (the "'086
               provisional"), which was filed on April 22, 2008, and U.S. Provisional Application No.
               61/025,431 (the"' 431 provisional"), which was filed on February 1, 2008.

      197.    The '436 Patent is a continuation-in-part of U.S. Non-Provisional Application No.
              12/148,439 (the '"439 non-provisional"), which was filed on April 17, 2008. The U.S.
              Patent and Trademark Office concluded, during prosecution of Sungevity, that the '436
              Patent is not entitled to claim the priority of its U.S. provisional application filed April 17,
              2007.

      198.    During the prosecution of the application that issued as Sungevity, the pending claims
              were rejected by the patent examiner over the '436 Patent in an Office Action dated
              March 2, 2012.

      199.    In a September 4, 2012 amendment that was made "[i]n response to the official [office]
              action dated March 2, 2012," the applicant for the application that issued as Sungevity
              ("the Sungevity Applicant") cancelled the pending claims and presented new claims for
              examination. Two of those new claims were "copied in substantial portion from [the '436
              Patent]."

      200.    In connection with its September 4, 2012 amendment, the Sungevity Applicant argued to
              the Patent Office that the '436 Patent's issued claims were not supported by the U.S.
              provisional application to which they claim priority.


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      201.     In connection with its September 4, 2012 amendment, the Sungevity Applicant argued to
               the Patent Office that the '436 Patent's issued claims were not entitled to a priority date
               earlier than April 17, 2008.

      202.     Sungevity claims priority to U.S. Provisional Patent Application 61/025,431 (the "'431
               provisional"), which was filed on February 1, 2008. I

      203.     In connection with its September 4, 2012 amendment, the Sungevity Applicant argued to
               the Patent Office that its amended claims were entitled to claim priority to the '431
               provisional, that the '431 provisional "fully supports" the amended claims, and that the
               amended claims therefore were entitled to a filing date of February 1, 2008.

      204.     On October 18, 2012, the Sungevity Applicant modified the format of its claims for
               examination in response to a September 18, 2012 notice from the patent examiner. The
               Sungevity Applicant did not modify the arguments for allowance that it presented to the
               patent examiner on September 4, 2012.

      205.     In a December 12, 2012 notice, the patent examiner acknowledged the
               "amendment/persuasive arguments filed on l 0/18/12" by the applicant for the application
               that issued as Sungevity and deemed the pending claims to be allowable.

      206.     The issue date of and the filing dates for the applications that led to Sungevity - and to
               which the patent claims priority- are listed on the face of Sungevity.

      207.     For each Asserted Patent, its issue date and the filing dates for the applications that led to
               the patent are listed on the face of the patent.

      208.     In her declaration executed on August 24, 2016, Lynn Berard states that she is "a
               Principal Librarian at Carnegie Mellon University Libraries" and that she has been "a
               professional librarian for approximately 31 years" and "employed as a professional
               librarian at Carnegie Mellon University since August 14, 1985." XW00389607.

      209.     In her declaration executed on August 24, 2016, Lynn Berard states that the Engineering
               & Science Library at Carnegie Mellon University Libraries "is open to the general public
               throughout the year, with hours changing depending on the time of year." XW00389607.
               In that declaration, she explained:

                        During the Fall and Spring Semesters, the Engineering & Science Library
                        is generally open from 8:00 a.m.-11:00 p.m. Monday through Thursday,
                        8:00 a.m.-9:00 p.m. on Friday, 10:00 a.m.-9:00 p.m. on Saturday, and
                        12:00 p.m.-11 :00 p.m. Sunday. During the summer, the Engineering &
                        Science Library is generally open from 8:00 a.m.-11 :00 p.m. Monday
                        through Thursday, 8:00 a.m.-6:00 p.m. on Friday, 12:00 p.m.-5:00 p.m. on
                        Saturday, and 12:00 pm.-5:00 p.m. on Sunday. The Engineering &
                        Science Library is closed on some weekends throughout the year.

                        XW00389607.


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      210.     In her declaration executed on August 24, 2016, Lynn Berard explains:

                        I am familiar with the [Carnegie Melon University] Libraries' cataloguing
                        practices and procedures and the Sorrells Engineering & Science Library
                        practices and procedures, including the Libraries' catalogue and policies
                        and procedures regarding the receipt, indexing and availability of technical
                        reports from the Carnegie Mellon University School of Computer Science
                        ("Technical Reports"). These practices and procedures have remained
                        consistent throughout my tenure at the Libraries, and I am aware that they
                        have remained consistent since at least 1990 ....

                        The universal practice for Technical Reports found at the Engineering &
                        Science Library is to catalog the Technical Reports at Hunt Library, which
                        is also a library within the Libraries system. According to the Libraries'
                        policies and procedures, Technical Reports are indexed in the Libraries'
                        catalogue and are made freely available to the faculty and student body of
                        Carnegie Mellon University as well as to the general public. The
                        Libraries' catalogue is searchable by subject, author, and keyword. These
                        policies and procedures have been in effect and present in the catalogue
                        searchable by subject, author, and keyword since the late l 980's ....

                        The Libraries' procedures for processing Technical Reports found at the
                        Sorrells Engineering & Science Library are as follows:           All print
                        Technical Reports are catalogued at Hunt Library and entered into an
                        electronic library catalog. A bound copy of the Technical Report is
                        shelved in the appropriate library. The general timeline for cataloguing a
                        Technical Report for access to the public is approximately six months
                        after the Technical Report is received by the Hunt Library. During the
                        cataloguing process, a physical barcode and a date stamp are affixed to the
                        bound copy of the Technical Report. Once cataloguing is completed, the
                        Technical Report is sent to the Sorrells Engineering & Science Library for
                        shelving. The shelving process typically takes one week following
                        completion of cataloguing. After shelving, the Technical Report is
                        publicly available.

                        XW00389607-XW00389608.

      211.    In her declaration executed on August 24, 2016, Lynn Berard explains that based on its
              stamped cataloguing date of 05/30/1996, Hsieh, which is labeled with CMU-CS-95-195
              "would have been accessible to the public at the Engineering & Science Library by June
              6, 1996." XW00389608-XW00389609.




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      Defendants intend to prove the following contested facts with regard to damages:

      212.     In November 2008, Xactware and Eagle View entered into an agreement allowing
               Eagle View to sell its roof reports through the Xactimate platform for a certain fee per
               report.

      213.     Verisk and EagleView Technology Corporation signed a detailed agreement (the "Verisk
               Agreement") dated January 14, 2014 pursuant to which Verisk would acquire EagleView
               Technology Corporation for approximately $650 million. In the Verisk Agreement,
               Eagle View warranted and represented that Verisk and Xactware did not infringe any
               EagleView patents. The Verisk Agreement remained in effect from January 14, 2014
               until December 16, 2014, when it was terminated because the Federal Trade Commission
               prohibited the proposed acquisition.

      214.     Vista Equity Partners ("Vista") and EVTC signed a detailed agreement (the "Vista
              Agreement") dated June 15, 2015 pursuant to which Vista would acquire EVTC forlllllll
              -        In the Vista Agreement, EVTC warranted and represented that Verisk and
               Xactware did not infringe any Eagle View patents.

      215.     Eagle View has not presented evidence supporting it entitlement to damages in the form
               of lost profits.

      216.     Eagle View improperly concluded that the market for roof reports contains only two
               suppliers, Eagle View and Xactware.

      217.     Eagle View improperly disregarded companies offering competing products during the
               relevant period that constituted non-infringing alternatives to the Accused Products.

      218.     Prior to EagleView acquiring the company, Geo Estimator was a competitor of
               Eagle View offering similar aerial-image-based roof measurement and report services and
               products.

      219.     Prior to Eagle View acquiring the company, Pictometry was a competitor of Eagle View
               offering similar aerial-image-based roof measurement and report services and products.

      220.     The contractor market for roof reports is distinct from the insurance market for roof
               reports.

      221.     There are significant differences between the insurance market for roof reports and the
               contractor marker for roof reports.

      222.     Eagle View failed to properly analyze the contractor market for roofreports and
               distinguish it from the insurance market for roof reports.

      223.    EagleView has not lost customers as a result of any alleged infringement by Defendants.

      224.     Eagle View has not lost contractor customers as a result of any alleged infringement by
               Defendants.


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      225.     There is no evidence of demand for the inventions recited in the Asserted Claims.

      226.     Eagle View's marketing materials do not evidence demand for the inventions recited in
               the Asserted Claims.

      227.     Neither Render House nor Twister practice the inventions recited in the Asserted Claims.

      228.     Neither Render House nor Twister generate roof estimate reports.

      229.     EagleView roofreport customers rely on Xactware's cost estimation products.

      230.     Verisk's attempt to purchase Eagle View does not evidence any demand for Eagle View's
               software or roof reports.

      231.     The Accused Products contain features not recited in any of the Asserted Claims.

      232.     The Accused Products contain features not offered by Eagle View's roofreports; there is
               no evidence that any consumer would have chosen Eagle View's roof reports lacking
               these features but for the alleged infringement by Defendants.

      233.     Access to the Xactimate platform increases demand for Eagle View's roofreports.

      234.     In November 2008, Xactware and Eagle View entered into an agreement allowing
               Eagle View to sell its roof reports through the Xactimate platform for a certain fee per
               report.

      235.     Xactware has developed a library of aerial imagery used to create roof reports that is at
               least as accurate as Eagle View's collection of aerial imagery used to create its roof
               reports.

      236.     The relevant damages period, if any, began on the date the '840 patent issued, which is
               May 1, 2012.

      237.     Xactware's Accused Products contain features that are not covered by any of the claims
               of the Asserted Patents.

      238.     Eagle View's roofreports contain features that are not covered by any of the claims of the
               Asserted Patents.

      239.     Eagle View has provided roofreports integrated with the Xactimate platform since at least
               as early as 2009.

      240.    A portion of EagleView's insurance business relies on existing integration agreements
              with Xactware.

      241.     Eagle View negotiates contracts for roof report products with various insurance providers,
               and also provides those providers with access to roof reports via the Xactimate platform.



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       242.    Contractors benefit from access to updated material pricing data and labor rates from the
               Xactimate platform.

       243.    Consumers' decisions in purchasing roof reports are influenced by price.

       244.    Dr. Arnold did not conduct empirical studies or surveys of customers to support any of
               his opinions.

       245.    Dr. Arnold's damages opinion relies, at least in part, on patent claims that are no longer
               asserted in this case.

      246.     EagleView states on its website that multiple patents not asserted against Defendants in
               this action cover Eagle View's roof reports.

      247.     From 2012 to the present, Eagle View has not experienced erosion in the price of its roof
               reports that is attributable to Defendants.

      248.     There is no evidence that "but for" the alleged infringement, Eagle View would have
               been able to charge higher prices for its roof reports.

      249.     To the extent Eagle View lowered its prices for roof reports, it was not due to any act or
               omission of Defendants.

      250.     The price of Eagle View's roofreports declined for the three years before the alleged
               infringement began.

      251.     Defendants were not the "only significant source of downward pricing pressure" on
               Eagle View's roof reports.

      252.     The Accused Products and Eagle View's products are not perfect substitutes for one
               another.

      253.     EagleView's contractual relationships with its customers and the bargaining power of its
               customers impact the prices it charges for its roof reports.

      254.     Price elasticity impacts the prices Eagle View can charge for its roof reports.

      255.     The market for roof reports is not inelastic.

      256.    Non-infringing alternatives impacted the prices Eagle View can charge for its roofreports.



      257.     A royalty equal to the entirety of Xactware's incremental profit from sales of roof reports
               would not be reasonable.

      258.     Xactware would not have agreed to pay all of its profits from sales ofroof reports to
               Eagle View as a royalty.


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       259.    Eagle View's assumed price o f . for purposes of a reasonable royalty does not reflect
               Xactware's accused sales.

       260.    Eagle View's assumed cost of. for purposes of a reasonable royalty does not reflect all
               relevant incremental costs.

       261.    Access to the Xactimate platform drives sales of EagleView's roof reports.

       262.    A hypothetical negotiation between Eagle View and Defendants at the appropriate time
               would have resulted in a maximum royalty rate of less than- per report for all of the
               Asserted Patents.

       263.    There is no evidence that any alleged decrease in the price of Eagle View's roofreports is
               the result of Defendants' alleged infringement.

       264.    There is no evidence that any alleged loss of Eagle View customers and market share is
               the result of Defendants' alleged infringement.

       265.    There is no evidence of irreparable harm to Eagle View from any alleged infringement by
               Defendants.

       266.    An injunction against Defendants would have a negative impact on the public interest.

       267.    Any purported harm to Eagle View would be compensated by a reasonable royalty on
               further sales, so that Eagle View is unable to show irreparable harm in the absence of an
               injunction.

      268.     Xactware would be irreparably harmed by an injunction which would destroy its roof
               estimation business; thus the balance of harms weighs against an injunction.

      269.     The Federal Trade Commission has stated, "Since receiving its first patent in 2011,
               Eagle View has aggressively asserted its patent rights against most actual or potential
               competitors, suing two competitors and sending cease-and-desist letter to at least
               [redacted] others. Within the past three years, EagleView has eliminated almost all of
               these competitors, either by threatening and/or bringing intellectual property challenges
               or by acquisition.

      270.     The Federal Trade Commission has stated, "Though Eagle View has yet to establish that
               any of its competitors infringe on its patents, any competitor or new entrant must be
               prepared to defend its products from Eagle View's patent infringement claims, have
               access to a national library of high-resolution images and data, and be able to access
               insurance carriers through Claims Estimation Software.

      271.    The Federal Trade Commission has found that eliminating competition between
              EagleView and Xactware would harm the public, and prevented the acquisition of
              Eagle View by Verisk because it would substantially lessen competition in violation of the
              Clayton Act and would constitute an unfair method of competition in violation of the
              FTC Act.

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      272.     Granting the injunction sought by Eagle View would result in the very outcome the
               Federal Trade Commission found harmful and in violation of multiple federal statutes,
               and thus would have a substantially negative impact on the public interest.

      273.     An injunction is against the public interest because it would delay and hinder insurers,
               contractors, and other customers from obtaining information from Defendants needed to
               rapidly respond to insureds' claims and would hinder the ability to rebuild insureds'
               properties after fire, natural disaster, or other loss.

      274.     Aerial Sketch is an acceptable, non-infringing alternative to the Asserted Claims of the
               '436 patent.

      275.     Neither Render House nor Twister practices or embodies any Asserted Claim of any
               Asserted Patent.

      276.     Eagle View's roof reports do not practice or embody any Asserted Claim of any Asserted
               Patent.

      277.     Rooftop aerial measurement products are not coextensive with the alleged inventions
               claimed in Asserted Claims.

      278.     "Roof reports" are not coextensive with the alleged inventions claimed in the Asserted
               Claims.

      279.     Any success of Eagle View's business is due to Eagle View's business model or other
               factors unrelated to the Asserted Patents.

      280.     The value of Pictometry's aerial imagery library, acquisition techniques, image
               processing techniques, and other technology exceeds the value of Eagle View's roof
               measurement software or techniques.

      281.     Most of the value of Eagle View as a company lies in its current ownership of Pictometry
               and Pictometry's aerial imagery library, rather than in any of Eagle View's roof
               measurement software or techniques.

      282.    Any success of products allegedly embodying any of the Asserted Claims is due to
              technical and market factors other than the claimed technology, including: the weather,
              macroeconomic conditions and construction industry growth, the Pictometry imagery
              library, access to the Xactimate Platform, access to compatible cost estimation databases,
              other licensed-in technologies, distribution networks and speed of delivery, business-
              process outsourcing activities, production volume capacity, report layout, and
              Eagle View's policy of threatening and/or filing patent infringement suits against potential
              competitors.

      283.    Any commercial success of Eagle View's reports is attributable to unpatented features.

      284.    Any commercial success of Eagle View's reports is attributable to features of the
              EagleView reports covered by patents not asserted against Defendants.

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      285.     Prior art methods exist for generating roof reports.

      286.     Prior art methods for generating roof reports produce similar results to products allegedly
               embodying the Asserted Claims.

      287.     Third parties have not licensed the Asserted Patents, except under threat oflawsuit.

      288.     EagleView enjoyed significant revenue from its rooftop aerial measurement products
               prior to the filing of several of the Asserted Patents.

      289.     Verisk's attempt to purchase Eagle View does not evidence any commercial success of
               EagleView's Asserted Patents, software or roofreports.

      290.     Defendants did not publicly laud or praise any supposed invention of any Asserted Claim
               of any Asserted Patent.

      291.     Defendants' public statements and documents, to the extent they mention EagleView, do
               not refer specifically to any of the Asserted Patents.

      292.     There is no nexus between any evidence of commercial success of Twister and Render
               House and the any Asserted Claim of any Asserted Patent.

      293.     Each Asserted Claim of each Asserted Patent is not coextensive in scope with Twister
               and Render House. As such, there is no presumption of nexus between any evidence of
               commercial success of Twister and Render House and an Asserted Claim of any Asserted
               Patent.




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      PARTY.          PLAINTIFF'S WITNESSES AND SUMMARY OF THEIR TESTIMONY

              Plaintiff intends to call the following witnesses with regard to liability and damages and

      anticipates they will testify as follows:

                 A. Will Call for Live Testimony



     Chris Pershing                        Mr. Pershing founded Eagle View and served as its Chief
                                           Technology Officer until 2016. Mr. Pershing is an
     c/o WALSH PIZZI O'REILLY               inventor of the Asserted Patents. He will testify regarding
     FALANGA LLP                           the success of the patented technologies and praise for the
     One Riverfront Plaza                  patented technologies, including by Defendants. He will
     1037 Raymond Blvd., Suite 600         also testify regarding the subject matter of the Rule
     Newark, New Jersey 07102              30(b)(6) topics on which he was designated to testify,
                                           including the following: the conception and reduction to
                                           practice of certain of the claimed inventions; the
                                           prosecution of certain of the Asserted Patents;
                                           Eagle View's ownership of the Asserted Patents; technical
                                           aspects regarding Plaintiff's products that practice
                                           inventions claimed in certain of the Asserted Patents and
                                           sales thereof; Eagle View's knowledge and review of the
                                           Accused Products; infringement of the Accused Products;
                                           Defendants' willful infringement; non-infringing
                                           alternatives for the claimed inventions of the Asserted
                                           Patents; products that embody or practice the claimed
                                           inventions of the Asserted Patents; secondary
                                           considerations supporting that the patented claims are not
                                           obvious; validity of the Asserted Claims of the Asserted
                                           Patents; the priority dates of the Asserted Claims of the
                                           Asserted Patents; prior art Xactware has asserted against
                                           the Asserted Claims of the Asserted Patents; Defendants'
                                           willful infringement. He will also testify regarding other
                                           subject matter about which he testified at his deposition.

     Rishi Daga                            Mr. Daga joined Eagle View in 2008 and is currently
                                           Eagle View's Chief Executive Officer. He will testify
     c/o WALSH PIZZI O'REILLY              regarding the success of the patented technologies and
     FALANGA LLP                           praise for the patented technologies, including by
     One Riverfront Plaza                  Defendants. He will also testify regarding the subject
     1037 Raymond Blvd., Suite 600         matter of the Rule 30(b)(6) topics on which he was
     Newark, New Jersey 07102              designated to testify, including the following: Eagle View's
                                           corporate structure and ownership; communications among
                                           Eagle View, Pictometry, and EagleView Technology
                                           Cor oration; Ea leView's ownershi of the Asserted
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                                     Patents; Verisk's intended acquisition of Eagle View
                                     Technology Corporation; circumstances of creation of
                                    Eagle View Technology Corporation; factual basis for
                                    EagleView's claim for damages in this case; products that
                                    embody or practice the claimed inventions of the Asserted
                                    Patents; demand for Eagle View's patented technology and
                                    products; non-infringing alternatives for the claimed
                                    inventions of the Asserted Patents; EagleView's business;
                                    financial data relating to EagleView's products that
                                    practice the claimed inventions of the Asserted Patents;
                                    Eagle View's competitors and market share; valuation of
                                    Eagle View's patents; licenses or other agreements
                                    concerning EagleView's patents; Eagle View's knowledge
                                    and understanding of the suppliers of rooftop aerial
                                    measurement products in the market; secondary
                                    considerations supporting that the patented claims are not
                                    obvious; facts and circumstances relating to the price
                                    decline of Eagle View's products over the years;
                                    Eagle View's loss of certain customer accounts; Xactware's
                                    impact on EagleView's pricing and sales; EagleView's
                                    capacity to meet customer orders of Eagle View's products;
                                    impact of price pressure from Xactware on Eagle View roof
                                    report revenue; Eagle View's products, marketing,
                                    customers, market share, and competitors; EagleView's
                                    prior and current practices for marking products with each
                                    of the Asserted Patents; Eagle View's irreparable harm
                                    from Defendants' infringement; Defendants' willful
                                    infringement; Eagle View's marking practices; damages
                                    resulting from Defendants' willful infringement; Verisk's
                                    intended acquisition of Eagle View. He will also testify
                                    regarding other subject matter about which he testified at
                                    his deposition.

    Hugh West                       Mr. West is the Vice President oflnsurance Sales at
                                    Eagle View. He will testify regarding, among other things,
    c/o WALSH PIZZI O'REILLY        the following: the success of the patented technologies and
    FALANGA LLP                     praise for the patented technologies, including by
    One Riverfront Plaza            Defendants; facts and circumstances relating to the price
    1037 Raymond Blvd., Suite 600   decline of Eagle View's products over the years; demand
    Newark, New Jersey 07102        for Eagle View's patented technology and products;
                                    EagleView's competitors and market share; valuation of
                                    Eagle View's patents; Eagle View's knowledge and
                                    understanding of the suppliers of rooftop aerial
                                    measurement products in the market; demand for Eagle
                                    View's atented technolo and roducts; Ea leView's
                                                2
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                                     loss of certain customer accounts; Xactware's impact on
                                     EagleView's pricing and sales; EagleView's capacity to
                                     meet customer orders of EagleView's products; impact of
                                     price pressure from Xactware on Eagle View roof report
                                     revenue; EagleView's products, marketing, customers,
                                     market share, and competitors; Eagle View's irreparable
                                     harm from Defendants' infringement; Defendants' willful
                                     infringement; damages resulting from Defendants' willful
                                     infringement of the Asserted Patents. He will also testify
                                     regarding other subject matter which he may testify about
                                     at his deposition.


              B. May Call for Live Testimony or by Deposition



     Chris Barrow                    Mr. Barrow is the former Chief Executive Officer of
                                     Eagle View. He may testify regarding the success of the
    c/o WALSH PIZZI O'REILLY         patented technologies and praise for the patented
    FALANGALLP                       technologies, including by Defendants. He may also
    One Riverfront Plaza             testify regarding, among other things, competition by
    l 037 Raymond Blvd., Suite 600   Eagle View competitors, Verisk' s intended acquisition of
    Newark, New Jersey 07102         Eagle View, Eagle View marketing practices, EagleView
                                     customers, Eagle View finance, Defendants' willful
                                     infringement, and damages resulting from Defendants'
                                     willful infringement of the Asserted Patents. He will also
                                     testify regarding other subject matter about which he
                                     testified at his deposition.

    Matt Quilter                     Mr. Quilter is the Chief Financial Officer of Eagle View.
                                     He may testify regarding the success of the patented
    c/o WALSH PIZZI O'REILLY         technologies and praise for the patented technologies,
    FALANGALLP                       including by Defendants. He may also testify regarding
    One Riverfront Plaza             the subject matter of the Rule 30(b)(6) topics on which he
    1037 Raymond Blvd., Suite 600    was designated to testify, including the following:
    Newark, New Jersey 07102         Eagle View's corporate structure and ownership;
                                     EagleView's ownership of the Asserted Patents; sales data
                                     regarding Eagle View's products that practice the claimed
                                     inventions of the Asserted Patents; pricing of Eagle View's
                                     products that practice the claimed inventions of the
                                     Asserted Patents; profits and loss relating to the marketing
                                     and sale of Eagle View's products that practice the claimed
                                     inventions of the Asserted Patents. He will also testify
                                     re ardin other sub· ect matter about which he testified at

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                                  his deposition.

     Jeffery Lewis (Xactware)     Mr. Lewis is the Senior Vice President of Engineering at
                                  Geomni Inc. He may testify regarding praise for the
     c/o McCarter & English LLP   patented inventions, including by Defendants. He may
     Four Gateway Center          also testify regarding the subject matter of the Rule
     100 Mulberry Street          30(b)(6) topics on which he was designated to testify,
     Newark, New Jersey 07102     including the following: the Accused Products;
                                  Defendants' designations for Accused Products and any
                                  components of the Accused Products; design,
                                  development, functionality, architecture, implementation,
                                  operation, and features of the Accused Products and any
                                  components of the Accused Products; differences in design
                                  or operation of different versions of generations of the
                                  Accused Products and any components of the Accused
                                  Products; organization of source code related to the
                                  Accused Products and any components of the Accused
                                  Products; use of the Accused Products and any components
                                  of the Accused Products; research, design, use,
                                  development, manufacturing, marketing, servicing, sales or
                                  other product administration or support for the Accused
                                  Products and any components of the Accused Products;
                                  testing, quality control, and debugging of the Accused
                                  Products and any components of the Accused Products;
                                  similarities or differences between Eagle View's aerial
                                  rooftop measurement products or software and those of
                                  Defendants; any efforts, attempts, or plans by Defendants
                                  to design, redesign, commercialize, or modify any Accused
                                  Products and any components of the Accused Products;
                                  relative importance and valuation of the individual features
                                  of the Accused Products and any components of the
                                  Accused Products; Defendants' facts, theories, and
                                  arguments underlying any contention by Defendants that
                                  any Accused Product does not infringe the Asserted
                                  Patents; source code and documentation related to the
                                  Accused Products and any components of the Accused
                                  Products; communications regarding the scope of the
                                  claims of the Asserted Patents, infringement of the claims
                                  of the asserted Patents by Defendants or any other party,
                                  and/or the enforceability of the Asserted Patents;
                                  Defendants' positions on the validity, enforceability, or
                                  infringement by Defendants of any Asserted Patents;
                                  Defendants' contentions, affirmative defenses, or
                                  counterclaims related to infringement by Defendants of the
                                  Asserted Patents. He ma also testif re ardin other
                                              4
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                                        <,,:;    })""     Jo',


                                 subject matter about which he testified at his deposition.

    Jeffery Taylor (Xactware)    Mr. Taylor is the President at Geomni Inc. and a former
                                 Vice President of Property InSight Group at Xactware. He
    c/o Mccarter & English LLP   may testify regarding praise for the patented inventions,
    Four Gateway Center          including by Defendants. He may also testify regarding
    I 00 Mulberry Street         the subject matter of the Rule 30(b)(6) topics on which he
    Newark, New Jersey 07102     was designated to testify, including the following: the
                                 Accused Products, the Asserted Patents and how the
                                 Accused Products practice the same; marketing regarding
                                 the Accused Products; intended and/or target customers
                                 and end users of Accused Products; the impetus for
                                 designing, developing, and selling the Accused Products;
                                 third party involvement in design, development,
                                 programming, creation, marketing, sale, or resale of the
                                 Accused Products; Defendants' strategy and methodology
                                 to generate new products, potential new products, and
                                 product development ideas; communications with any
                                 users, purchasers, customers, or licensees regarding the
                                 Accused Products; activities of Geomni related to the
                                 Accused Products; Interaction between Geomni and
                                 Verisk; market research, market analyses, business plans,
                                 forecasts, marketing plans and/or user evaluations directed
                                 to the Accused Products; commercial success and
                                 profitability of the Accused Products; value of the Accused
                                 Products and any products that compete with the Accused
                                 Products; financial information related to the Accused
                                 Products; Eagle View's products and technology;
                                 Defendants' interactions and exchange of information with
                                 Eagle View; Defendants' knowledge of the Asserted
                                 Patents; communications with Defendants' customers;
                                 activities of Geomni; Defendants' policies and procedures
                                 for assessing and responding to patent infringement risks;
                                 and damages resulting from Defendants' infringement of
                                 the Asserted Patents, and relating to the reduction to
                                 practice of certain of the claimed inventions. He may also
                                 testify regarding other subject matter about which he
                                 testified at his deposition.

    Mike Fulton (Xactware)       Mr. Fulton is the President of Xactware. He may testify
                                 regarding praise for the patented inventions, including by
    c/o Mccarter & English LLP   Defendants. He may also testify regarding the subject
    Four Gateway Center          matter of the Rule 30(b)(6) topics on which he was
    I 00 Mulberry Street         designated to testify, including the following: Xactware's
    Newark, New Jerse 07102      customers' use of the Accused Products; trainin , manuals,
                                                           5
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                                  and other documentations provided to Xactware's
                                  customers or users/purchasers of the Accused Products
                                  relating to the Accused Products; Xactware's effort to
                                  emulate or replicate any of EagleView's technologies or
                                  products; Xactware's organizational structure relating to
                                  the Accused Products; interactions among Insurance
                                  Services Office, Xactware, and Verisk; products that
                                  compete with the Accused products; marketing and
                                  promotion of the Accused Products; the relevant markets in
                                  which the Accused Products compete, Xactware's share in
                                  those markets, and the product characteristics or features
                                  necessary to be part of those markets; Xactware's products
                                  intended to be used in conjunction with the Accused
                                  Products. He may also testify regarding other subject
                                  matter about which he testified at his deposition.

     Edmund Webecke (Xactware)    Mr. Webecke is a Vice President at Xactware. He may
                                  testify regarding praise for the patented inventions,
     c/o McCarter & English LLP   including by Defendants. He may also testify regarding
     Four Gateway Center          the subject matter of the Rule 30(b)(6) topics on which he
     100 Mulberry Street          was designated to testify, including the following: the
     Newark, New Jersey 07102     Accused Products, the Asserted Patents and how the
                                  Accused Products practice the same, and sales information
                                  related to the Accused Products. He may also testify
                                  regarding other subject matter about which he testified at
                                  his deposition.

     James Loveland (Xactware)    Mr. Loveland was formerly the President and Chief
                                  Executive Officer of Xactware, and was formerly the
     c/o McCarter & English LLP   President of Verisk. He may testify regarding, among
     Four Gateway Center          other things, praise for the patented inventions, including
     100 Mulberry Street          by Defendants, dates and circumstances relating to when
     Newark, New Jersey 07102     and how Defendants first learned of the Asserted Patents,
                                  EagleView, and Eagle View's products; Defendants' efforts
                                  to market, advertise, or promote itself as similar to
                                  Eagle View, or to promote the Accused Products and any
                                  components of the Accused Products; Defendants''
                                  assessment, consideration, or review of Eagle View's
                                  products or patents; Eagle View's source code, products,
                                  software, documents, or technical documentation in the
                                  possession or control of Defendants, and the circumstances
                                  by which Defendants acquired them; commercial
                                  relationship between Eagle View and Defendants;
                                  Defendants' corporate structure, including all of
                                  Defendants' redecessors-in-interest, subsidiaries, arents,
                                              6
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                                   holding companies, related corporations and affiliates;
                                   Defendants' practice and procedure for assessing patent
                                   infringement risks, and how those practices and procedures
                                   have been applied regarding the Accused Products; any
                                   alleged non-infringing alternatives to the Accused
                                   Products; Defendants' belief regarding its willful
                                   infringement of the Asserted Patents; documents, opinions,
                                   or communications related to the validity of the Accused
                                   Patents or the Accused Products in view of the Asserted
                                   Patents; Defendants' license agreements related to the
                                   Accused Products or that are comparable to a license that
                                   Defendants would have taken in a hypothetical negotiation
                                   in this case; Defendants' policies and/or business plans
                                   concerning the licensing of the Accused Products or
                                   intellectual property covering the Accused Products;
                                   Defendants' contentions regarding the level of ordinary
                                   skill in the art for the Asserted Patents; Defendants'
                                   contentions that the Asserted Patents are unenforceable.
                                   He may also testify regarding other subject matter about
                                   which he testified at his deposition.

     Peter Magnus Olson            Mr. Olson is the Senior Vice President of Data &
     (Xactware)                    Production at Geomni, and was formerly the Assistant
                                   Vice President of Geospatial Data Services and the
     c/o McCarter & English LLP    Director of Imagery Services at Xactware. He may testify,
     Four Gateway Center           among other things, praise for the patented inventions,
     100 Mulberry Street           including by Defendants, the Accused Products,
     Newark, New Jersey 07102      Defendants' policies and procedures for assessing and
                                   responding to patent infringement risks, the Asserted
                                   Patents and how the Accused Products practice the same.
                                   He may also testify regarding other subject matter about
                                   which he testified at his deposition.

     Jason Merrill (Xactware)      Mr. Merrill is the Assistant Vice President of Finance at
                                   Xactware. He may testify regarding, among other things,
     c/o Mccarter & English LLP    praise for the patented inventions, including by
     Four Gateway Center           Defendants, Xactware's finances and financial statements
     100 Mulberry Street           (e.g., sales and cost data, invoice statement), as well as
     Newark, New Jersey 07102      contracts Xactware has entered into. He may also testify
                                   regarding other subject matter about which he testified at
                                   his deposition.

     Matthew Levin (Metropolitan   Mr. Levin is a claim technical administrator at MetLife.
     Property and Casualty         He may testify regarding, among other things, praise for
     Insurance Com an              the atented inventions, includin b Defendants,
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     ("MetLife"))                     EagleView's products, the Accused Products, damages in
                                      this case, and MetLife's decisions regarding whether to
     c/o Robinson & Cole LLP          buy or use EagleView's products and/or Xactware's
     One Financial Plaza              products. He may also testify regarding other subject
     Suite 1430                       matter about which he testified at his deposition.
     Providence, RI 02903
     Jason Pawlik (Hartford           Mr. Pawlik is a Director of Claims Strategy at The
     Financial Services Group, Inc.   Hartford. He may testify regarding, among other things,
     ("The Hartford"))                praise for the patented inventions, including by
                                      Defendants, EagleView's products, the Accused Products,
     c/o The Hartford                 damages in this case, and The Hartford's decisions
     Law Department                   regarding whether to buy or use Eagle View's products
     One Hartford Plaza               and/or Xactware's products. He may also testify regarding
     H0-1-10                          other subject matter about which he testified at his
     Hartford, CT 06155               deposition.

     Michael Allen (United Services   Mr. Allen is a claims service manager at USAA. He may
     Automobile Association           testify regarding, among other things, praise for the
     ("USAA"))                        patented inventions, including by Defendants, Eagle View's
                                      products, the Accused Products, damages in this case,
     c/o Ford Murray                  USAA's decisions regarding whether to buy or use
     10001 Reunion Place, Suite 640   EagleView's products and/or Xactware's products. He
     San Antonio, TX 78216            will also testify regarding other subject matter about which
                                      he testified at his deposition.




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                                                   Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                        Plaintiff's Affirmative Designations

                                                           Michael Allen (March 29, 2018)

         Plaintiff's           Defendants'         Defendants' Counter-        Plaintiff's Objections to         Plaintiff's       Defendants'
        Designations           Objections              Designations             Defendants' Counter-         Counter-Counter       Objections to
                                                                                    Designations               Designations     Plaintiff's Counter-
Line Start    Line End                             Line Start   Line End                                     Line      Line    Counter Designations
                                                                                                             Start     End
4:22           4:24
6:5            7:1
7:24           8:5
10:21          11 :3       V, SP, ID               11 :9        11 :20       F,   Spec, V
14:13          15:17       ID, Cmpd, SP, PK, V,    41 :6        41 :24       F,   Spec, V,   H, Cmpd, Char   17:14    17:19    SP,PK
                           F                       42:19        43:14        F,   Spec, H,   Char, P         17:14    17:19    SP,PK
17: 1          17:3        ID, SP                  41 :6        41:24        F,   Spec, V,   H, Cmpd, Char   17:14    17:19    SP,PK
                                                   42:19        44:5         F,   Spec, H,   Char, P         17:14    17:19    SP,PK
23:22          24:5
24:9           24:25       ID, PK, SP, V           26:16        26:21        F, Spec, V
                                                   41:6         41 :24       F, Spec, V, H, Cmpd, Char       17:14    17:19    SP,PK
                                                   42:19        44:5         F, Spec, H, Char, P             17:14    17:19    SP,PK
25:1           25:2        ID, F, NE               26:16        26:21        F,   Spec, V
                                                   41 :6        41 :24       F,   Spec, V,   H, Cmpd, Char   17:14    17:19    SP, PK
                                                   42:19        43:14        F,   Spec, H,   Char, P         17:14    17:19    SP,PK
25:4           25:24       ID, M, V, PK, SP        26:16        26:21        F,   Spec, V
                                                   41 :6        41:24        F,   Spec, V,   H, Cmpd, Char   17:14    17:19    SP, PK
                                                   42:19        44:5         F,   Spec, H,   Char, P         17:14    17:19    SP,PK
27:19          27:25       PK,A, SP, H
28:1           28:11       R, ID, PK, A, SP, H     28:24        29:3         F, V, Spec                      20:9    20:12
28:12          28:17       JD, PK, A, SP, H        27:19        27:22        F, V
                                                   28:24        29:3         F, V, Spec                      20:9    20:12
31 :10         31 :12      NR, V, SP, PK, A, H
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                                        Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                   Case No. l 5-cv-07025 (RBK/JS) (Dist. N.J.)

                                                        Plaintiff's Affirmative Designations

                                                            Michael Allen (March 29, 2018)

        Plaintiffs              Defendants'        Defendants' Counter-         Plaintiffs Objections to         Plaintiffs        Defendants'
       Designations             Objections            Designations               Defendants' Counter-        Counter-Counter       Objections to
                                                                                     Designations              Designations     Plaintiffs Counter-
Line Start    Line End                             Line Start   Line End                                     Line      Line    Counter Designations
                                                                                                             Start     End
31 :15        31: 17       LD,V,
32:7          32:12        MD, V, LO, A, H, PK,
                           SP,BSS
34:10         34:21        H
40:20         40:23        ID, LO, F, V, SP, PK    40:7         40:11          F,   V, Spec
                                                   40:13        40:16          F,   Spec
                                                   40:18        40:19          F,   Spec
42:4          42:9         ID                      41:6         42:3           F,   Spec, V, H, Cmpd, Char   17:14   17:19     SP, PK

42:10         42:13        JD                      41:6         42:3           F, Spec, V, H, Cmpd, Char     17:14    17:19    SP, PK
                                                   42:19        44:5           F, Spec, H, Char, P           17:14    17:19    SP, PK
44:11         44:14
49:24         49:25        V, SP, PK, NE

50:2          50:3         V, SP, PK
53:10         53:12        ID, LD, V, NE           52: 17       52:18          F, V,   Spec
                                                   53:1         53:9           F, V,   Spec
53:18         53:20        SP, PK, ID, LD, V,      52:17        52:18          F, V,   Spec
                           NE                      53:1         53:9           F, V,   Spec
53:22         53:22        ID                      52:17        52:18          F, V,   Spec
                                                   53:1         53:9           F, V,   Spec
56:] 7        57:1         ID, SP, PK, VD, A, F    57:6         57:10          F, V,   Spec
                                                   57:24        58:2           F, V,   Spec                  12:17    12:18    R, V,IC



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                                       Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                  Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                       Plaintifrs Affirmative Designations

                                                          Michael Allen (March 29, 2018)

        Plaintiff's           Defendants'         Defendants' Counter-         Plaintiff's Objections to       Plaintiff's        Defendants'
       Designations           Objections              Designations              Defendants' Counter-       Counter-Counter       Objections to
                                                                                    Designations             Designations     Plaintiff's Counter-
Line Start   Line End                             Line Start   Line End                                    Line      Line    Counter Designations
                                                                                                           Start     End
57:5          57:5        ID, SP, PK, VD, A,      57:6         57:10          F, V, Spec                                     R, V, IC
                          SP,F                    57:24        58:2           F, V, Spec                   12:17    12:18
57:11         57:19       ID, PK, D, A, SP, V,    57:6         57:10          F, V, Spec                                     R, V,IC
                          LD,H, SP                57:24        58:2           F, V, Spec                   12:17    12:18
57:20         57:23       ID, PK, D, A, SP, V,    57:6         57:10          F, V, Spec                                     R, V,IC
                          LD,H                    57:24        58:2           F, V, Spec                   12:17    12:18
58:4          58:9        ID, D, A, SP, PK, V,    57:6         57:10          F, V, Spec                                     R, V,IC
                          LD                      57:24        58:2           F, V, Spec                   12:17    12:18
58:14         58:16       ID, PK, D, A, SP, V,    57:6         57:10          F, V, Spec                                     R, V,IC
                          LD,H                    57:24        58:2           F, V, Spec                   12:17    12:18
58:20         59:9        ID, PK, D, A, SP, V,    57:6         57:10          F, V, Spec                                     R, V, IC
                          LD                      57:24        58:2           F, V, Spec                   12:17    12:18
59:12         59:17       ID, D, A, SP, V, LD,    57:6         57:10          F, V, Spec                                     R, V,IC
                          H,PK                    57:24        58:2           F, V, Spec                   12:17    12:18
59:19         59:20       ID, D, A, SP, V, LD,    57:6         57:10          F, V, Spec                                     R, V,IC
                          H,PK                    57:24        58:2           F, V, Spec                   12:17    12:18
59:21         59:23       ID, D, A, SP, V, LD,    57:6         57:10          F, V, Spec                                     R, V,IC
                          H, PK, 1002             57:24        58:2           F, V, Spec                   12:17    12:18
60:1          60:1        ID, PK, D, A, SP, V,    57:6         57:10          F, V, Spec                                     R V,IC
                          LD                      57:24        58:2           F, V, Spec                   12:17    12:18
60:2          60:4        ID, PK, D, A, SP, V,    57:6         57:10          F, V, Spec                                     R, V, IC
                          LD,MD                   57:24        58:2           F, V, Spec                   12:17    12:18
60:8          60:9        ID, PK, A, SP, V, LD,   57:6         57:10          F, V, Spec                                     R, V, IC



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                                                          Plaintifrs Affirmative Designations

                                                             Michael Allen (March 29, 2018)

        Plaintiff's             Defendants'          Defendants' Counter-         Plaintiff's Objections to       Plaintiff's        Defendants'
       Designations             Objections               Designations              Defendants' Counter-       Counter-Counter        Objections to
                                                                                       Designations             Designations      Plaintiff's Counter-
Line Start    Line End                               Line Start   Line End                                    Line      Line     Counter Designations
                                                                                                              Start     End
                           D,MD                      57:24        58:2           F,   V,   Spec               12:17      12:18
60:12         61 :7        TD, PK, D, A, SP,   V,    57:6         57:10          F,   V,   Spec                                  R, V, IC
                           LD,MD                     57:24        58:2           F,   V,   Spec               12:17    12:18
61: 11        61:14        ID, PK, D, A, SP,   V,    57:6         57:10          F,   V,   Spec                                  R, V, IC
                           LD,MD                     57:24        58:2           F,   V,   Spec               12:17    12:18
61:20         61:20        ID, PK, D, A, SP,   V,    57:6         57:10          F,   V,   Spec                                  R, V,IC
                           LD,MD                     57:24        58:2           F,   V,   Spec               12:17    12:18
61:23         61:25        ID, PK, D, A, SP,   V,    57:6         57:10          F,   V,   Spec                                  R, V,IC
                           LD,MD                     57:24        58:2           F,   V,   Spec               12:17    12:18
62:3          62:6         ID, PK, D, A, SP,   V,    57:6         57:10          F,   V,   Spec                                  R, V, IC
                           LD, MD, Cmpd              57:24        58:2           F,   V,   Spec               12:17    12:18
62:9          62:9         ID, PK, D, A, SP,   V,    57:6         57:10          F,   V,   Spec                                  R, V, IC
                           LD, MD, Cmpd              57:24        58:2           F,   V,   Spec               12:17    12:18
62:10         62:20        ID, PK, A, SP, V,   LD,   57:6         57:10          F,   V,   Spec                                  R, V,IC
                           D,MD                      57:24        58:2           F,   V,   Spec               12:17    12:18
63:7          63:10        PK, V,LD,M                57:6         57:10          F, V, Spec                                      R, V,IC
                                                     57:24        58:2           F, V, Spec                   12:17    12:18




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                                                          Plaintiff's Affirmative Designations

                                                            Mike Fulton (October 4, 2017)

        Plaintiffs             Defendants'         Defendants' Counter-      Plaintiffs Objections     Plaintiffs Counter-        Defendants'
       Designations            Objections             Designations              to Defendants'        Counter Designations        Objections to
                                                                             Counter-Designations                              Plaintiffs Counter-
Line Start    Line End                             Line Start    Line End                             Line Start   Line End   Counter Designations
8:22          8:24
9:6           9:11
14:3          14:7
22:12         23:7        LC, SP, BST, V
23:8          23:16
23:17         23:25
24:1          24:5
24:10         24:16                                24:17         24:22
24:23         25:17       M,NE,F,V
37:14         37:17       LC, IO, F, NE, V, P,
                          PK, SP, R, Arg, BST,
                          M
37:20         37:22       LC, IO, F, NE, V, P,
                          PK, SP, R, Arg, BST,
                           M
37:23         38:1         LC, IO, F, NE, V, P,
                           PK, SP, R, Arg, BST,
                           M
38:3          38:3         LC, IO, F, NE, V, P,    38:4          38:11       P,R                      38:12        38:15      IC
                           PK, SP, R, Arg, BST,
                           M
39:22         39:23        ID, LC, IO, F, NE, V,   39:16         39:17       C,P,R,U
                           P, PK, SP, R, Arg,      39:21         39:21
                           BST, M, C, Badgering
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                                                        Plaintiff's Affirmative Designations

                                                           Mike Fulton (October 4, 2017)

        Plaintiffs             Defendants'         Defendants' Counter-        Plaintiffs Objections     Plaintiffs Counter-       Defendants'
       Designations            Objections             Designations                to Defendants'        Counter Designations       Objections to
                                                                               Counter-Designations                             Plaintiffs Counter-
Line Start    Line End                             Line Start   Line End                               Line Start   Line End   Counter Designations
40:1          40:1         LC, IO, F, NE, V, P,    39:16        39:17          C,P,R, U
                           PK, SP, R, Arg, BST,    39:21        39:21
                           M, C, Badgering
46:12         46:14        ID, LC, IO, F, NE, V,   46:15        46:15
                           P, PK, SP, R, Arg,
                           BST, M, C, Badgering
46:20         46:20        JD, LC, IO, F, NE, V,
                           P, PK, SP, R, Arg,
                           BST, M, C, Badgering
50:6          50:8         LC, JO, F, NE, V, P,
                           PK, SP, R, Arg, BST,
                           M, C, Badgering
50:12         50:13        LC, IO, F, NE, V, P,
                           PK, SP, R, Arg, BST,
                           M, C, Badgering
53:10         53:12        LC, IO, F, NE, V, P,
                           PK, SP, R, Arg, BST,
                           M, C, Badgering
53:15         53:17        LC, IO, F, NE, V, P,
                           PK, SP, R, Arg, BST,
                           M, C, Badgering
54:22         54:24        V, P, PK, SP, R, Arg,
                           BST,C
55:2          55:5         V, P, PK, SP, R, Arg,
                           BST,C


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                                                          Plaintiff's Affirmative Designations

                                                            Mike Fulton (October 4, 2017)

        Plaintiff's            Defendants'         Defendants' Counter-         Plaintiff's Objections    Plaintiff's Counter-        Defendants'
       Designations            Objections             Designations                 to Defendants'        Counter Designations        Objections to
                                                                                Counter-Designations                              Plaintiff's Counter-
Line Start    Line End                             Line Start    Line End                                Line Start   Line End   Counter Designations
57:7          57:12        LC, 10, F, NE, V, P,    56:24         56:25          C,P,R,U
                           PK, SP, R, Arg, BST,    57:2          57:6
                           C, Badgering
64:1          64:6         LC, 10, F, NE, V, P,
                           PK, SP, Arg, BST, C,
                           Badgering
64:11         64:11        LC, IO, F, NE, V, P,
                           PK, SP, Arg, BST, C,
                           Badgering
65:15         65:20        R,C,P
66:10         66:11        R, C, P, SP, PK
66:14         66:19        R, C, P, SP, PK
66:20         67:4         R, C, P, SP, PK
72:17         72:20        R, C, P, SP, PK
74:10         74:13        R, C, P, SP, PK
80:2          80:3         NT
80:18         81 :2        A,NE,F                  80:7          80:13          NT (80:9)                80:14        80:17
83:5          84:12        A, NE, F, 1002, SP,     80:7          80:13          NT (80:9)                80:14        80:17
                           PK
84:14         84:15        A, NE, F, 1002, SP,     80:7          80:13          NT (80:9)                80:14        80:17
                           PK
92:4          92:23        A, NE, F, 1002, SP,
                           PK
99:5          99:9         NE, F, V, R, BST        99:10         99:21



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                                                          Plaintiff's Affirmative Designations

                                                             Mike Fulton (October 4, 2017)

      Plaintiffs               Defendants'         Defendants' Counter-         Plaintiffs Objections    Plaintiffs Counter-         Defendants'
     Designations              Objections             Designations                 to Defendants'       Counter Designations         Objections to
                                                                                Counter-Designations                              Plaintiffs Counter-
Line Start   Line End                              Line Start    Line End                               Line Start   Line End    Counter Designations
99:22        100:12       NE, F, V, M, R, BST      100: 13       100:17         C, P, R; IC (100:20-    100: 18      100:19     IC
                                                   100:20        102:l          23); AT (101:13-16)
104:4        104:14       A, NE, F, 1002, SP,      80:7          80:13          NT (80:9)               80:14        80:17
                          PK
104:15       105:9        A, NE, F, 1002, SP,      80:7          80:13          NT (80:9)               80:14        80:17
                          PK
l 05: 18     105:23       A, NE, F, 1002, SP,      80:7          80:13          NT (80:9)               80:14        80:17
                          PK                       105:24        106:14
106:15       106:24       A, NE, F, 1002, SP,      80:7          80:13          NT (80:9)               80:14        80:17
                          PK
120:18       120:25       A, NE, F, 1002, SP,      80:7          80:13          NT (80:9)               80:14        80:17
                          PK, M,BST
121:15       122:3        A, NE, F, 1002, SP,      80:7          80:13          NT (80:9)               80:14        80:17
                          PK,C
125: 13      125:23       A, NE, F, l 002, SP,     80:7          80:13          NT (80:9)               80:14        80:17
                          PK,R
125:24       126:2        R                        126:8         126:16                                 126:27;      127:9;     IC; F; V (for all)
                                                   127:10        127:20                                 127:21;      128:l;
                                                                                                        128:4        128:6
128:23       128:24       R, 1002, SP, PK
128:23       128:25       R, 1002, SP, PK
129:2        129:5        R, 1002, SP, PK          129:6         129:8                                  129:13       129:15     M; F; NE; PK; SP
                                                   129: 11       129:12
129:19       130:2        F, NE, M, MD, H, SP,     129:6         129:8                                  129:13       129:15     M; F; NE; PK; SP



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                                                       Plaintiff's Affirmative Designations

                                                            Mike Fulton (October 4, 2017)

     Plaintiffs                Defendants'        Defendants' Counter-         Plaintiffs Objections    Plaintiffs Counter-        Defendants'
    Designations               Objections             Designations                to Defendants'       Counter Designations        Objections to
                                                                               Counter-Designations                             Plaintiffs Counter-
Line Start   Line End                             Line Start    Line End                               Line Start   Line End   Counter Designations
                          PK                      129:11        129:12
                                                  130:3         130:4
                                                  130:7         130:20
130:21       130:24       M, P, R, NE, F, Arg     129:6         129:8                                  129:13       129:15     M; F; NE; PK; SP
                                                  129:11        129:12
                                                  130:3         130:4
                                                  130:7         130:20
131: 1       131: 1       M, P, R,NE, F           129:6         129:8                                  129:13       129:15     M; F; NE; PK; SP
                                                  129: 11       129:12
                                                  130:3         130:4
                                                  130:7         130:20
131:17       131 :20      M, P, R, NE, F, Arg     129:6         129:8                                  129:13       129:15     M; F; NE; PK; SP
                                                  129:11        129:12
                                                  130:3         130:4
                                                  130:7         130:20
131:22       132:5        M, P, R, NE, F, Arg     129:6         129:8                                  129:13       129:15     M; F; NE; PK; SP
                                                  129:11        129:12
                                                  130:3         130:4
                                                  130:7         130:20
132:7        132:7        M,P,R, NE, F            129:6         129:8                                  129:13       129:15     M; F; NE; PK; SP
                                                  129: 11       129:12
                                                  130:3         130:4
                                                  130:7         130:20
132:25       133:4
133:6        133:6


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                                                         Plaintifrs Affirmative Designations

                                                             Mike Fulton (October 4, 2017)

     Plaintiff's                 Defendants'        Defendants' Counter-        Plaintiff's Objections    Plaintiff's Counter-       Defendants'
    Designations                 Objections             Designations               to Defendants'        Counter Designations        Objections to
                                                                                Counter-Designations                              Plaintiff's Counter-
Line Start   Line End                               Line Start   Line End                                Line Start   Line End   Counter Desiimations
133:9        133:19
134:4        134:18       1002, H, F
135:8        135:13       1002, H, F
135:16       135:16       1002, H, F
136:5        136:20       R, 1002, H, F, NE, SP,
                          PK
136:22       136:22       R, 1002, H, F, NE, SP,
                          PK
137:1        137:17       ID                        137:18       138:1          IC
137:18       138:1        ID                        137:12       137:17         IC
138:2        138:7        M, F                      138:23       139:3
                                                    139:5        139:11
138:9        138:22       M, F                      138:23       139:3
                                                    139:5        139: 11
146:5        146:5        A, R, 1002, H, F, NE,     145:22       145:25         IC, NT
                          SP, PK, ID, P, V
146:20       146:21       A, R, 1002, F, NE, SP,    145:22       145:25         IC,NT
                          PK, ID, P, V
148:12       148:16       A, R, 1002, LC, F,
                          NE, SP, PK, ID, P, V
148:17       148:20       A, R 1002, F, NE, SP,
                          PK, ID, IO, P, V, NR
149: 18      149:22       A, R, 1002, H, F, NE,
                          SP, PK, ID, P, V



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                                                       Plaintiff's Affirmative Designations

                                                          Mike Fulton (October 4, 2017)

     Plaintiff's               Defendants'        Defendants' Counter-        Plaintiff's Objections    Plaintiff's Counter-       Defendants'
    Designations               Objections            Designations                to Defendants'        Counter Designations        Objections to
                                                                              Counter-Designations                              Plaintiff's Counter-
Line Start   Line End                             Line Start   Line End                                Line Start   Line End   Counter Designations
152:12       152:21       A, R, 1002, H, F, NE,
                          SP, PK, ID, P, AT, V
152:23       152:24       A, R, 1002, H, F, NE,
                          SP, PK, ID, P, V
152:25       153:2        A, R, 1002, H, F, NE,
                          SP, PK, ID, P, V
154:4        154:11       A, R, 1002, H, F, NE,
                          SP, PK, ID, P, AT, V,
                          BST
154:13       154:16       ID, R, F, NE, SP, PK,
                          P,V,BST
154:17       154:20       ID, R, F, NE, SP, PK,
                          P,V,BST
154:21       154:24       ID, R, F, NE, SP, PK,
                          P,V,BST
155:1        155:9        ID, R, F, NE, SP, PK,
                          P,V,AT
155:11       155:23       ID, R, F, NE, SP, PK,
                          P,V,BST
155:24       156:5        ID, R, F, NE, SP, PK,
                          P,V
156:7        156:11       ID, R, F, NE, SP, PK,
                          P, V
157:17       158:15       ID, R, F, NE, SP, PK,



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                                                       Plaintiff's Affirmative Designations

                                                          Mike Fulton (October 4, 2017)

      Plaintiffs               Defendants'        Defendants' Counter-        Plaintiffs Objections     Plaintiffs Counter-       Defendants'
     Designations              Objections            Designations                to Defendants'        Counter Designations       Objections to
                                                                              Counter-Designations                             Plaintiffs Counter-
Line Start   Line End                             Line Start   Line End                               Line Start   Line End   Counter Designations
                          P, V
158:16       158:20       ID, R, F, NE, SP, PK,
                          P,V
159:8        159:21       ID, R, F, NE, SP, PK,
                          P, V,AT
159:22       160: 12      ID, R, F, NE, SP, PK,
                          P,V,AT
160:13       160:22       ID, R, F, NE, SP, PK,
                          P, V
160:24       160:25       ID, R, F, NE, SP, PK,
                          P,V
161 :5       162:8        ID, R, F, NE, SP, PK,
                          P, V,AT,MD
162:9        162:12       ID, R, F, NE, SP, PK,
                          P, V
162:14       162:22       ID, R, F, NE, SP, PK,
                          P,V
162:23       163: 12      ID, R, F, NE, SP, PK,
                          P, V
163:22       164:15       ID, R, F, NE, SP, PK,
                          P, V
165:20       165:21       ID, R, F, NE, SP, PK,
                          P, V
165:25       166:2        ID, R, F, NE, SP, PK,



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                                                       Plaintiff's Affirmative Designations

                                                          Mike Fulton (October 4, 2017)

      Plaintiffs               Defendants'        Defendants' Counter-        Plaintiffs Objections    Plaintiffs Counter-        Defendants'
     Designations              Objections             Designations               to Defendants'       Counter Designations        Objections to
                                                                              Counter-Designations                             Plaintiffs Counter-
Line Start   Line End                             Line Start   Line End                               Line Start   Line End   Counter Designations
                          P, V
166:8        166:12       ID, R, F, NE, SP, PK,
                          P,V
166:13       166:15       ID, R, F, NE, SP, PK,
                          P, V
168:15       169:4        ID, R, F, NE, SP, PK,
                          P, V, AT, Arg
169:5        169:13       ID, R, F, NE, SP, PK,
                          P, V
171 :3       171:13       ID, R, F, NE, SP, PK,
                          P,V
173:2        173:3        ID, R, F, NE, SP, PK,
                          P, V, BST
173:7        173: 10      ID, R, F, NE, SP, PK,
                          P,V,BST
173: 12      173:24       ID, R, F, NE, SP, PK,
                          P, V, BST
186:10       187:2        ID, R, F, NE, SP, PK,
                          P,V,AT,BST
187:4        187:21       ID, R, F, NE, SP, PK,
                          P,V,BST
187:22       187:24       ID, R, F, NE, SP, PK,
                          P,V,BST
188: 1       188:6        ID, R, F, NE, SP, PK,



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                                                       Plaintiff's Affirmative Designations

                                                          Mike Fulton (October 4, 2017)

      Plaintiff's              Defendants'        Defendants' Counter-         Plaintiff's Objections    Plaintiff's Counter-       Defendants'
     Designations              Objections            Designations                 to Defendants'        Counter Designations        Objections to
                                                                               Counter-Designations                              Plaintiff's Counter-
Line Start   Line End                             Line Start   Line End                                 Line Start   Line End   Counter Designations
                          P,V,AT
189:7        189: 10      ID, R, F, NE, SP, PK,
                          P, V,AT
189: 11      189: 14      ID, R, F, NE, SP, PK,
                          P,V
189:16       189:21       ID, R, F, NE, SP, PK,
                          P, V,AT
190:24       191 :5       ID, R, F, NE, SP, PK,
                          P, V, Arg
191 :20      191 :21      ID, R, F, NE, SP, PK,
                          P, V, Arg
191 :23      192:7        ID, R, F, NE, SP, PK,
                          P, V, Arg, AT
192:9        192:9        ID, R, F, NE, SP, PK,
                          P, V
196:7        196:8        ID, R, F, NE, SP, PK,
                          P, V
196: 11      196: 15      ID, R, F, NE, SP, PK,
                          P, V
196: 17      196:17       ID, R, F, NE, SP, PK,
                          P, V
201:3        201 :13      ID, R, F, NE, SP, PK,
                          P,V,BST
201: 15      202:3        ID, R, F, NE, SP, PK,



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                                       Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                  Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                       Plaintiff's Affirmative Designations

                                                          Mike Fulton (October 4, 2017)

     Plaintiff's               Defendants'        Defendants' Counter-         Plaintiff's Objections    Plaintiff's Counter-        Defendants'
    Designations               Objections             Designations                to Defendants'        Counter Designations        Objections to
                                                                               Counter-Designations                              Plaintiff's Counter-
Line Start   Line End                             Line Start   Line End                                 Line Start   Line End   Counter Designations
                          P, V,AT,BST
202:5        202:23       ID, R, F, NE, SP, PK,
                          P,V,BST
205:21       205:23       ID, R, F, NE, SP, PK,
                          P, V
206:3        206:5        JD, R, F, NE, SP, PK,
                          P, V, AT, Arg, BST,
                          Badgering
207:3        207:5        ID, R, F, NE, SP, PK,
                          P, V
207:8        207:10       ID, R, F, NE, SP, PK,
                          P, V,NT
207:12       207:12       ID, R, F, NE, SP, PK,
                          P,V,NT
208:9        208:10       ID, R, F, NE, SP, PK,
                          P, V
208:13       208:13       ID, R, F, NE, SP, PK,
                          P, V
209:5        209:16       ID, R, F, NE, SP, PK,
                          P,V
210:4        210:14       ID, R, F, NE, SP, PK,
                          P, V,NT
210:19       211 :4       ID, R, F, NE, SP, PK,
                          P, V



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                                       Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                  Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                       Plaintiff's Affirmative Designations

                                                          Mike Fulton (October 4, 2017)

      Plaintiffs               Defendants'        Defendants' Counter-         Plaintiffs Objections    Plaintiffs Counter-        Defendants'
     Designations              Objections             Designations                to Defendants'       Counter Designations        Objections to
                                                                               Counter-Designations                             Plaintiffs Counter-
Line Start   Line End                             Line Start   Line End                                Line Start   Line End   Counter Designations
211 :5       211 :8       ID, R, F, NE, SP, PK,
                          P, V
211:17       211 :22      ID, R, F, NE, SP, PK,
                          P, V
212:18       212:22       ID, R, F, NE, SP, PK,
                          P, V, 1002
213:6        213:16       ID, R, F, NE, SP, PK,
                          P, V, AT, 1002
213:17       213 :21      ID, R, F, NE, SP, PK,
                          P, V, 1002
213:25       214:16       ID, R, F, NE, SP, PK,
                          P, V, AT, BST
214:18       214:18       ID, R, F, NE, SP, PK,
                          P,V
214:19       215:5        ID, R, F, NE, SP, PK,
                          P, V, NT,A
215:25       216:1        ID, R, F, NE, SP, PK,
                          P, V, 1002, A, BST
216:4        216:10       ID, R, F, NE, SP, PK,
                          P, V, 1002, A, BST
216:14       216:15       ID, R, F, NE, SP, PK,
                          P, V, I 002, A, BST
216:17       216:19       ID, R, F, NE, SP, PK,
                          P, V, Arg, A, 1002



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                                       Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                  Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                       Plaintifrs Affirmative Designations

                                                          Mike Fulton (October 4, 2017)

      Plaintiffs               Defendants'        Defendants' Counter-         Plaintiffs Objections    Plaintiffs Counter-        Defendants'
     Designations              Objections             Designations                to Defendants'       Counter Designations        Objections to
                                                                               Counter-Designations                             Plaintiffs Counter-
Line Start   Line End                             Line Start   Line End                                Line Start   Line End   Counter Designations
216:20       218:11       ID, R, F, NE, SP, PK,
                          P, V, 1002,A
218:25       219:7        ID, R, F, NE, SP, PK,
                          P, V, A, 1002
219:11       220:7        ID, R, F, NE, SP, PK,
                          P, V, AT, LC, Arg
220:15       220:18       ID, R, F, NE, SP, PK,
                          P, V, A, 1002
220:20       220:20       ID, R, F, NE, SP, PK,
                          P, V, A, 1002
221 :2       222:9        ID, R, F, NE, SP, PK,
                          P, V, A, 1002, Arg,
                          LC, IO, AT
222:11       222:16       ID, R, F, NE, SP, PK,
                          P, V, A, 1002, Arg
224:2        224:4        ID, R, F, NE, SP, PK,
                          P, V, A, 1002
224:7        224:12       ID, R, F, NE, SP, PK,
                          P, V, A, 1002
224:15       224:17       ID, R, F, NE, SP, PK,
                          P, V, A, 1002
224:20       225:15       ID, R, F, NE, SP, PK,
                          P, V, A, 1002, Cmpd
225:17       225:18       ID, R, F, NE, SP, PK,



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                                       Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                  Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                       Plaintiff's Affirmative Designations

                                                           Mike Fulton (October 4, 2017)

     Plaintiffs                Defendants'        Defendants' Counter-         Plaintiffs Objections    Plaintiffs Counter-        Defendants'
    Designations               Objections             Designations                to Defendants'       Counter Designations        Objections to
                                                                               Counter-Designations                             Plaintiffs Counter-
Line Start   Line End                             Line Start   Line End                                Line Start   Line End   Counter Designations
                          P, V, A, 1002, NT
225:21       226:7        ID, R, F, NE, SP, PK,   225:19       225:21       IC,NT
                          P, V, A, 1002
226:24       227:4        ID, R, F, NE, SP, PK,
                          P, V, A, 1002, BST
229:8        229:14       ID, R, F, NE, SP, PK,
                          P, V, A, 1002, AT
229:15       229:17       ID, R, F, NE, SP, PK,
                          P, V, A, 1002
233:22       234:11       ID, R, F, NE, SP, PK,
                          P, V
235:19       235:19       NT, AT, R
235:21       235:22       NT,R
239:11       239:15       ID, R, F, NE, SP, PK,
                          P,V,BST
239:24       239:25       ID, R, F, NE, SP, PK,
                          P, V, A, 1002, BST
240:3        240:11       ID, R, F, NE, SP, PK,
                          P, V, A, 1002
240:24       241 :15      ID, R, F, NE, SP, PK,
                          P, V, A, 1002
241 :17      241:18       ID, R, F, NE, SP, PK,
                          P, V, A, 1002, AT
241 :22      241 :24      ID, R, F, NE, SP, PK,



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                                       Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                  Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                       Plaintiff's Affirmative Designations

                                                          Mike Fulton (October 4, 2017)

      Plaintiffs               Defendants'        Defendants' Counter-         Plaintiffs Objections    Plaintiffs Counter-        Defendants'
     Designations              Objections             Designations                to Defendants'       Counter Designations        Objections to
                                                                               Counter-Designations                             Plaintiffs Counter-
Line Start   Line End                             Line Start   Line End                                Line Start   Line End   Counter Designations
                          P, V, A, 1002, AT
242:1        242:18       ID, R, F, NE, SP, PK,
                          P, V, A, 1002, AT,
                          NT, BST
242:20       242:25       ID, R, F, NE, SP, PK,
                          P,V,NT
243:2        243:6        ID, R, F, NE, SP, PK,
                          P, V, NR, BST
243:8        243:8        ID, R, F, NE, SP, PK,
                          P, V, NR, BST
248:23       248:23       ID, R, F, NE, SP, PK,
                          P, V, A, 1002
249:4        249:14       ID, R, F, NE, SP, PK,
                          P, V, A, 1002, BST
249: 16      249:19       ID, R, F, NE, SP, PK,
                          P, V, A, 1002, NT,
                          BST
250: 17      251:4        ID, R, F, NE, SP, PK,
                          P,V,H
251 :5       251: 17      ID, R, F, NE, SP, PK,
                          P,V,H
255:4        255:9        ID, R, F, NE, SP, PK,
                          P, V, NT, A, 1002
258:11       259:4        ID, R, F, NE, SP, PK,



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                                       Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                  Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                       Plaintifrs Affirmative Designations

                                                          Mike Fulton (October 4, 2017)

     Plaintiff's               Defendants'        Defendants' Counter-         Plaintiff's Objections    Plaintiff's Counter-        Defendants'
    Designations               Objections             Designations                to Defendants'        Counter Designations        Objections to
                                                                               Counter-Designations                              Plaintiff's Counter-
Line Start   Line End                             Line Start   Line End                                 Line Start   Line End   Counter Designations
                          P, V, A, 1002, Arg,
                          LC
259:6        259:10       ID, R, F, NE, SP, PK,
                          P, V, A, 1002, LC
259:23       260:2        NT,R
264:14       265:3        ID, R, F, NE, SP, PK,
                          P, V, NT, Arg




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                                      Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                 Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                      Plaintifrs Affirmative Designations

                                                      Matthew Levin (January 22, 2018)

     Plaintiffs               Defendants'        Defendants' Counter-      Plaintiffs Objections       Plaintiffs Counter-       Defendants'
    Designations              Objections             Designations             to Defendants'          Counter Designations       Objections to
                                                                           Counter-Designations                               Plaintiffs Counter-
Line Start   Line End                            Line Start   Line End                               Line Start   Line End   Counter Designations
7:18         7:20
10:18        11 :20
14:10        14:11
14:16        14:22                               79:13        79:18        F, IC                     77:23        78:20      V, SP, PK
                                                 79:22        79:25                                  82:19        82:25
                                                 80: 1        81 :12
                                                 81:23        81:25
                                                 82:5         82:17
15: 1        15:2        NT
15:4         15:18       ID; F; LD
15:20        15:20       ID; F; LD
15:22        15:24       ID; F; LD
16:5         16:5        ID; F; LD
24:11        24:23       F;V;PK
25:15        25:17        ID; V; F               26:2         26:4         IC,R                      77:23        78:20      V, SP, PK
                                                 26:8         26:14                                  82:19        82:25
                                                 79:13        79:18
                                                 79:22        79:25
                                                 80:1         81 :12
                                                 81 :23       81:25
                                                 82:5         82:17
25:24        25:24        ID; V; F               26:2         26:4         IC,R                      77:23        78:20      V, SP, PK
                                                 26:8         26:14
                                                 79:13        79:18
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                                         Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                    Case No. l 5-cv-07025 (RBK/JS) (Dist. N.J.)

                                                         Plaintiff's Affirmative Designations

                                                         Matthew Levin (January 22, 2018)

     Plaintiffs               Defendants'           Defendants' Counter-        Plaintiffs Objections     Plaintiffs Counter-       Defendants'
    Designations              Objections               Designations                to Defendants'        Counter Designations       Objections to
                                                                                Counter-Designations                             Plaintiffs Counter-
Line Start   Line End                               Line Start   Line End                               Line Start   Line End   Counter Designations
                                                    79:22        79:25
                                                    80:1         81 :12
                                                    81 :23       81:25
                                                    82:5         82:17
27:15        28:15       ID; F; V, SP, PK           126:3        126:10         IC,R                    126:11       126:18     IC,R
30:21        31 :4       ID; PK; F; SP              31 :5        31:7           IC,R                    31:8         31: 11     IC,R
                                                    79: 13       79:18                                  77:23        78:20      V, SP, PK
                                                    79:22        79:25
                                                    80:1         81 :12
                                                    81 :23       81:25
31:23        31:25       ID;F;NR
32:6         32:7        ID; PK; F; SP
32:19        33:6        ID;V                       33:7         33:8           Spec, PK, F
                                                    33:15        33:16
                                                    33:18        33:18
                                                    33:22        34:21
                                                    34:6         34:11
34:12        34:14        ID
34:17        34:24        ID
35:2         35:5         ID; PK; V; F
39:17        39:20        ID                        39:21        40:25                                  41 :3        41:5       IC,R
42:21        43:5         NR; V; PK; Cmpd;
                          SP; NE; F; R; P
44:12        44:18        ID; V; PK; Cmpd; SP;



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                                                    Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                         Plaintiff's Affirmative Designations

                                                         Matthew Levin (January 22, 2018)

         Plaintiffs             Defendants'         Defendants' Counter-        Plaintiffs Objections     Plaintiffs Counter-       Defendants'
        Designations            Objections             Designations                to Defendants'        Counter Designations       Objections to
                                                                                Counter-Designations                             Plaintiffs Counter-
Line Start     Line End                             Line Start   Line End                               Line Start   Line End   Counter Designations
                           NE; F; R; P
44:25          44:25       ID; V; PK; Cmpd; SP;
                           NE;F; R;P
45:2           45:10       V;R;F
47:2           47:10       1002
47:19          48:23       1002; H; PK              48:24        49:1
56:2           56:5        ID; V; Arg; LC; F;       54:12        54:16                                  54:23        55:1       V, SP, PK, IC
                           SP; NE; P                54:19        54:21                                  55:8         55:15      V, SP, PK, IC
                                                                                                        31 :23       31:25      IC, SP, PK
                                                                                                        32:6         32:7       IC, SP, PK
56:9           56:9        ID; V; Arg; LC; F;       54:12        54:16          IC, IN, R, P            54:23        55:1       V, SP, PK, IC
                           SP; NE; P                54:19        54:21                                  55:8         55:15      V, SP, PK, IC
                                                                                                        31:23        31:25      IC, SP, PK
                                                                                                        32:6         32:7       IC, SP, PK
67:10          67:12        1002
67:14          68:6         1002; ID
68:18          69:14        M; F; NE; PK; SP        69:15        69:20
69:21          70:5         V
70:19          70:24        ID; SP; V               71:14        71 :15
                                                    71 :17       71 :18
71 :2          71:2         ID; SP; V               71: 14       71: 15
                                                    71: 17       71 :18
71 :4          71 :6        ID; F; V; SP; PK        71 :14       71 :15
                                                    71 :17       71 :18



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                                           Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                      Case No. l 5-cv-07025 (RBK/JS) (Dist. N.J.)

                                                           Plaintiff's Affirmative Designations

                                                           Matthew Levin (January 22, 2018)

        Plaintiffs             Defendants'            Defendants' Counter-        Plaintiffs Objections     Plaintiffs Counter-       Defendants'
       Designations            Objections                 Designations               to Defendants'        Counter Designations       Objections to
                                                                                  Counter-Designations                             Plaintiffs Counter-
Line Start    Line End                                Line Start   Line End                               Line Start   Line End   Counter Designations
71 :12        71 :12       ID; F; V; SP; PK           71 :14       71 :15
                                                      71 :17       71 :18
71:20         71:22        ID; SP; V                  71 :14       71 :15
                                                      71: 17       71 :18
72:2          72:2         ID; SP; V                  71 :14       71 :15
                                                      71 :17       71 :18
85:9          85: 11       ID; F; V; NE; SP; PK       86:20        86:21          R,C
                                                      86:24        86:24
                                                      87:2         87:5
85:14         85:17        ID; F; V; NE; SP; PK       86:20        86:21          R,C
                                                      86:24        86:24
                                                      87:2         87:5
85:19         85:21                                   86:20        86:21          R,C
                                                      86:24        86:24
                                                      87:2         87:5
87:8          87:17        F; V; ID; SP
88:1          88:18        F; V; R; SP
89:25         89:25
90:2          90:2
90:3          90:15        1002; H
90:24         91 :2        ID
91:4          91:7         F;A
91 :8         91 :13       F; A; 1002; H
96:22         97:14        ID; F; V; SP



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                                      Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
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                                                      Plaintiff's Affirmative Designations

                                                      Matthew Levin (January 22, 2018)

     Plaintiffs               Defendants'        Defendants' Counter-        Plaintiffs Objections     Plaintiffs Counter-       Defendants'
    Designations              Objections             Designations               to Defendants'        Counter Designations       Objections to
                                                                             Counter-Designations                             Plaintiffs Counter-
Line Start   Line End                            Line Start   Line End                               Line Start   Line End   Counter Designations
97:16        97:16        ID; F; V; SP
97:18        98:21        ID; PK; SP; LD         54:12        54:16          IC, IN, NR, R, P        54:23        55:1       V, SP, PK, IC
                                                 54:19        54:21                                  55:8         55:15      V, SP, PK, IC
                                                 98:22        99:2                                   99:4         99:8       IC, P
99:4         99:8         ID; V; SP
101:11       101 :22      1002; H
102:6        103: 12      ID; PK; F; M; LD; SP
103: 15      103:15       ID; PK; F; M; LD; SP
104:5        105:5        1002; H; SP; PK; LD;
                          NT
105:10       105:12       F; ID; PK; SP          105:13       105:14
105:22       105:24       ID; Cmpd; V; SP        106:3        106:20
106:1        106:1        ID; Cmpd; V; SP        106:3        106:20
109:9        109: 18      ID; PK; SP; V; R
130:13       131 :3       NT
131 :8       131:10       NT
131:15       131:17       NT
131 :22      131 :23      NT
132:4        132:5        NT
132:10       132:11       NT
132:16       132:17       NT




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                                                 Case No. l 5-cv-07025 (RBK/JS) (Dist. N.J.)

                                                        Plaintiff's Affirmative Designations

                                                         Jeffery Lewis (October 24, 2017)

     Plaintiff's              Defendants'        Defendants' Counter-      Plaintiff's Objections      Plaintiff's Counter-       Defendants'
    Designations              Objections             Designations             to Defendants'          Counter Designations        Objections to
                                                                           Counter-Designations                                Plaintiff's Counter-
Line Start   Line End                            Line Start    Line End                              Line Start   Line End    Counter Designations
7:13         8:6         TDe
11 :2        12:5        IDe                     12:6          12:15       R,C
12:16        13:10       IDe
13:17        14:7        IDe
14:20        14:23       IDe
15:2         15:7        IDe
15:25        16:5        TDe
16:8         16:17       IDe                     16:18         16:23       R,C
16:24        17:20       IDe
17:21        17:25       IDe
18:18        19:6        TDe
22:20        22:22       V, TDe                  23:5          23:13
23:1         23:4        IDe
25:20        26:6        IDe
26:14        26:18       V, TDe
26:22        26:22       V,IDe
27:6         27:9        IDe
27:10        27:18       IDe
28:1         28:5        IDe
28:13        28:16       IDe
28:17        28:19       IDe
28:20        29:4        IDe
29:6         30:3        IDe
30:4         30:20       TDe
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                                     Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
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                                                     Plaintiff's Affirmative Designations

                                                        Jeffery Lewis (October 24, 2017)

      Plaintiffs             Defendants'        Defendants' Counter-         Plaintiffs Objections    Plaintiffs Counter-        Defendants'
     Designations            Objections             Designations                to Defendants'       Counter Designations        Objections to
                                                                             Counter-Designations                             Plaintiffs Counter-
Line Start   Line End                           Line Start    Line End                               Line Start   Line End   Counter Designations
30:21        31 :12      IDe
31 :13       31 :21      IDe
31:24        32:4        IDe
32:11        32:13       V, M, IDe
32:19        33:1        V, M,IDe
33:2         34:4        IDe
34:5         34:11       IDe
34:12        34:13       F, SP, IDe
34:17        34:21       IDe
36:8         36:12       F, SP, IDe
36:15        36:23       F, SP, IDe
37:25        38:4        IDe
38:5         38:20       IDe                    38:21        39:6            C
39:8         39:16       IDe                    38:21        39:6            C
39:17        39:20       IDe
40:13        40:16       M, Cmpd, V, IDe
40:19        41:4        M, Cmpd, V, IDe
41:18        41 :19      V, SP, IDe
41:22        41 :25      V, SP, IDe
42:3         42:22       IDe
42:23        43:7        IDe
43:8         43:11       V, SP, IDe
43:16        43:22       V, SP, IDe
43:24        44:2        V, SP, M, IDe


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                                       Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                  Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                       Plaintiff's Affirmative Designations

                                                         Jeffery Lewis (October 24, 2017)

     Plaintiffs                Defendants'        Defendants' Counter-        Plaintiffs Objections     Plaintiffs Counter-       Defendants'
    Designations               Objections            Designations                to Defendants'        Counter Designations       Objections to
                                                                              Counter-Designations                             Plaintiffs Counter-
Line Start   Line End                             Line Start   Line End                               Line Start   Line End   Counter Designations
44:9         44:14        V, SP, M IDe
47:19        48:1         IDe
49:8         49:12        IDe
49:13        49:18        IDe
55:11        55:16        V, F, IDe
55:17        55:20        V, F, M, IDe
55:24        56:1         JDe
56:17        56:19        M,IDe
56:23        57:1         M,IDe
57:23        57:24        V)De
58:3         58:10        JDe
60:15        60:17        V, SP, F, L, IDe
60:21        60:24        V, SP, F, L, IDe
61 :16       61:24        IDe
62:15        62:20        IDe
62:23        63:2         IDe
64:11        64:17        IDe
68:13        68:17        IDe
68:18        68:24        IDe
69:16        69:21        M, IDe
69:25        70:5         M,IDe
70:7         70:12        IDe
70:22        71:2         M,IDe
71:6         71 :13       M,IDe


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                                      Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                 Case No. l 5-cv-07025 (RBK/JS) (Dist. N .J.)

                                                      Plaintiff's Affirmative Designations

                                                       Jeffery Lewis (October 24, 2017)

     Plaintiff's              Defendants'        Defendants' Counter-        Plaintiff's Objections    Plaintiff's Counter-       Defendants'
    Designations              Objections            Designations                to Defendants'        Counter Designations        Objections to
                                                                             Counter-Designations                              Plaintiff's Counter-
Line Start   Line End                            Line Start   Line End                                Line Start   Line End   Counter Designations
72:8         72:19        TDe
72:21        72:23        Cmpd, IDe
73:l         73:4         Cmpd, IDe
75:23        75:25        F, SP, IDe
76:3         76:13        F, SP, IDe
78:7         78:10        SP, IDe
78:14        78:14        SP IDe
79:2         79:7         IDe
84:4         84:6         SP, PK, F, IDe
84:9         84:11        SP, PK, F, IDe
84:12        84:17        IDe
84:22        84:23        SP, PK, F, V, IDe
85:3         85:6         IDe
85:19        86:5         V, !De
86:6         86:15        V, IDe
86:19        86:24        V, IO, 701, !De
88:12        88:16        Cmpd, V, IDe
88:19        88:22        Cmpd, V, IDe
88:23        89:1         IDe
89:2         89:7         M,IDe
89:11        89:14        M,IDe
90:23        91:2         IDe
92:2         92:9         TD, SP, PK, R, IDe
92:15        92:18        Cmpd, SP, PK, R, IDe


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                                    Eagle View Technologies. Inc. et al. v. Xactware Solutions, Inc. et. al.
                                               Case No. 15-cv-07025 (RBK/JS) (Dist. NJ.)

                                                    Plaintiff's Affirmative Designations

                                                      Jeffery Lewis (October 24, 2017)

     Plaintiff's            Defendants'        Defendants' Counter-        Plaintiff's Objections    Plaintiff's Counter-       Defendants'
    Designations            Objections             Designations               to Defendants'        Counter Designations        Objections to
                                                                           Counter-Designations                              Plaintiff's Counter-
Line Start   Line End                          Line Start   Line End                                Line Start   Line End   Counter Designations
92:22        92:24      Cmpd, SP, PK, R, IDe
93:11        93:14      V, SP, PK, R, IDe
93:19        93:19      V, SP, PK, R, IDe
94:7         94:16      V, SP, PK, R, IDe
94:21        94:22      V, SP, PK, R, IDe
94:25        95:7       V, R, IDe
95:20        95:24      V, SP, PK, R, IDe
96:2         96:2       IDe
96:3         96:3       F, SP, IDe
96:8         96:12      F, SP, IDe
96:13        96:17      IDe
96:18        96:20      V, F, SP, IDe
97:1         97:2       IDe
97:14        97:17      Cmpd, V, IDe
97:20        98:12      Cmpd, V, IDe
98:17        98:21      IDe
98:22        99:9       IDe
99:10        99:15      IDe
99:18        99:20      IDe
99:25        100:15     IDe
100:17       100:20     IDe
100:21       100:22     IDe
100:23       101 :2     IDe
101:3        101 :5     IDe


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                                     Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                     Plaintifrs Affirmative Designations

                                                       Jeffery Lewis (October 24, 2017)

     Plaintiff's             Defendants'        Defendants' Counter-        Plaintiffs Objections     Plaintiffs Counter-       Defendants'
    Designations             Objections            Designations                to Defendants'        Counter Designations       Objections to
                                                                            Counter-Designations                             Plaintiff's Counter-
Line Start   Line End                           Line Start   Line End                               Line Start   Line End   Counter Designations
101:6        101 :8      F, SP, IDe
101:12       101:13      F, SP, IDe
101 :14      101:18      IDe
102:9        102:12      IDe
103:4        103:7       Cmpd, V, IDe
103:8        103:11      Cmpd, V, IDe
104:7        104:13      Cmpd, ID, IDe
104: 18      104:23      IDe
105: 12      105:23      Cmpd, V, SP, !De
106:3        106: 15     F, V, L, IDe
106: 19      106:21      F, V, L, IDe
109:5        109:12      1De
109:13       109:18      IDe
109:21       110:11      IDe
110:12       110:14      IDe
110:15       110:19      IDe
110:20       110:21      V, SP, PK, IDe
111: 1       111 :8      IDe
111:12       111:18      IDe
112:25       113:7       IDe
113:8        113:14      ID, IDe                113:15       113:17                                 120:25       121 :5     IDe
                                                120: 14      120:21
113:18       113:22      ID, IDe                113:15       113:17                                 120:25       121 :5     IDe
                                                120:14       120:21


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                                      Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                 Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                       Plaintiff's Affirmative Designations

                                                          Jeffery Lewis (October 24, 2017)

     Plaintiffs               Defendants'         Defendants' Counter-        Plaintiffs Objections    Plaintiffs Counter-         Defendants'
    Designations              Objections             Designations                to Defendants'       Counter Designations         Objections to
                                                                              Counter-Designations                              Plaintiffs Counter-
Line Start   Line End                             Line Start   Line End                               Line Start   Line End    Counter Designations
113:23       114:11      ID, IDe                  113:15       113:17                                 120:25       121 :5     IDe
                                                  120:14       120:21
114:12       114:19      ID, IDe                  113:15       113:17                                 120:25       121:5      IDe
                                                  120: 14      120:21
115:13       116:1       IDe
116:22       117:2       F, SP, ID, V, IDe        117:5        117:9          R,C
122:19       122:24      IDe
123:8        123:14      IDe
123:17       123:20      IDe
123:21       123:24      IDe
124:2        124:20      IDe
124:23       125:3       IDe
125:4        125:11      IDe
125:12       125:14      SP, F, V, IO, 701, IDe   127:2        127:11         IC                      126:14       126: 18    IDe, SP
                                                  127:16       127: 18                                126:22       127:1      IDe, SP
125:20       125:22      SP, F, V, IO, 701, IDe
128: 11      128:21      IDe
128:22       129:24      SP, PK, V, IDe
130:15       130: 18     SP, PK, V, IDe
130:21       130:24      SP, PK, V, IDe
131: 1       131 :4      IDe
131:18       132:4       IDe
132:13       132:19      V, F, SP, NE, IDe
132:23       133:1       V, F, SP, NE, IDe


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                                      Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                 Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                      Plaintiff's Affirmative Designations

                                                        Jeffery Lewis (October 24, 2017)

     Plaintiff's              Defendants'        Defendants' Counter-        Plaintiff's Objections    Plaintiff's Counter-        Defendants'
    Designations              Objections             Designations               to Defendants'        Counter Designations        Objections to
                                                                             Counter-Designations                              Plaintiff's Counter-
Line Start   Line End                            Line Start   Line End                                Line Start   Line End   Counter Designations
133:7        133:10       IDe
133:11       134:9        lDe
134: 10      134:13       Cmpd, V, IDe
134:16       134:24       V,IDe
135:3        135:5        IDe
135:8        135:15       IDe
136:13       136:23       V, F, IDe
137:2        137:5        V, F, Cmpd, IDe
137:7        137:7        V, F, Cmpd, IDe
137:10       137:12       IDe
138: 1       138:18       IDe
138:19       139:5        F, NE, Cmpd, V, IDe
139:8        139:18       !De                    139:19       139:20                                  139:21       139:22     IDe, SP
140:12       140:14       M, NE,F, IDe
140:18       140:20       M, NE, F, IDe
140:23       141 :14      M, Cmpd, IDe
141:17       141:19       M, Cmpd, IDe
141 :21      142:9        IDe
142:18       142:20       V, SP, F, IDe
142:24       143:1        V, SP, F, IDe
143:2        143:12       F, PK, SP, IDe
143: 13      144:3        F, PK, SP, IDe
144:7        144:8        IDe
144:9        144:22       IDe


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                                      Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                 Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                      Plaintiff's Affirmative Designations

                                                        Jeffery Lewis (October 24, 2017)

     Plaintiffs               Defendants'        Defendants' Counter-        Plaintiffs Objections     Plaintiffs Counter-       Defendants'
    Designations              Objections             Designations               to Defendants'        Counter Designations       Objections to
                                                                             Counter-Designations                             Plaintiffs Counter-
Line Start   Line End                            Line Start   Line End                               Line Start   Line End   Counter Designations
146:5        146:7       F, NE, V, IDe
146:12       146:21      F, NE, V, IDe
146:22       147:1       F, NE, V, IDe
148:4        148:12      M, V, IDe
148:16       148:18      M, V, IDe
150:20       150:24      V, NE, F, SP, IDe
151 :2       151:7       V, NE, F, SP, IDe
152:6        152: 10     IDe
152: 18      152:21      IDe                     153:3        153:7          R,C
                                                 153:11       153:18
154:6        154: 15     F, NE, V, IDe
157:19       158:3       IDe
161:8        161 :18     IDe
161 :19      161 :20     F, NE, L, IDe
161 :24      162:1       F, NE, L, IDe
167:11       167:15      F, V, IDe
167: 19      168:2       F, V, IDe
173:21       174:8       V, IDe
174:12       174:12      IDe
174:13       174:16      IDe
174:17       174:24      IDe
174:25       175:3       IDe
175:16       176:6       F, ID, M, V, IDe        175:5        175:7
                                                 175:11       175:12


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                                     Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                     Plaintiff's Affirmative Designations

                                                        Jeffery Lewis (October 24, 2017)

     Plaintiff's             Defendants'        Defendants' Counter-          Plaintiff's Objections    Plaintiff's Counter-        Defendants'
    Designations             Objections             Designations                 to Defendants'        Counter Designations        Objections to
                                                                              Counter-Designations                              Plaintiff's Counter-
Line Start   Line End                           Line Start    Line End                                 Line Start   Line End   Counter Designations
178: 17      178:22      V, F, NE, IDe
178:23       178:24      IDe
178:25       179:2       IDe
180:18       180:24      V, F, NE, Cmpd, IDe
180:25       181 :5      IDe
182:25       183:4       V, F, IDe
183:5        183:13      IDe
183:24       184:2       V, IDe
184:5        184:5       V, IDe
184:8        184:24      IDe
187:5        187: 11     V, F, IDe
187:12       187:22      V, F, IDe
191 :13      191:18      IDe
191:19       191 :21     IDe
191 :25      192:13      IDe
193:11       193: 13     SP, F, NE, IDe
193:17       193: 19     SP, F, NE, IDe
193:20       193:22      SP, F, NE, IDe
194: 19      194:22      IDe
195:4        195:14      IDe
202:14       202:18      SP, F, IDe             203:1        203:14                                    203:22       203:25     IDe, Cmpd, SP, V
206:l        206:11      IDe
208:2        208:9       IDe                    208:1 l      208:l 8
209:18       209:24      IDe


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                                     Eagle View Technologies. Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                Case No. 15-cv-07025 (RBKJJS) (Dist. NJ.)

                                                     Plaintiff's Affirmative Designations

                                                       Jeffery Lewis (October 24, 2017)

     Plaintiff's            Defendants'         Defendants' Counter-         Plaintiff's Objections    Plaintiffs Counter-        Defendants'
    Designations            Objections              Designations                to Defendants'        Counter Designations        Objections to
                                                                             Counter-Designations                              Plaintiffs Counter-
Line Start   Line End                           Line Start   Line End                                 Line Start   Line End   Counter Designations
209:25       210:10     IDe
210:23       211:5      IDe
211 :6       211:10     IDe
211:11       211:14     SP, LC, V, IO, 701,
                        IDe
211:19       212:2      SP, LC, V, IO, 701,
                        IDe
213:12       213:18     IDe
213:19       213:20     SP, F, IO, IDe
213:24       214:2      SP, F, IO )De
214:3        214:10     SP, F, IO, Cmpd, V,
                        IDe
215:3        215:6      SP, F, IO, Cmpd, V,
                        IDe
215:9        215:11     SP, F, IO, Cmpd, V,
                        IDe
221:18       221:21     SP, F, IO, V, IDe
221:23       222:3      SP, F, IO, V, IDe
226:10       226:12     SP, F, IO, Cmpd, V,
                        IDe
226:16       226:23     SP, F, IO, Cmpd, V,
                        TDe
226:24       227:3      SP, F, IO, Cmpd, V,
                        TDe


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                                       Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                  Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                       Plaintiff's Affirmative Designations

                                                         Jeffery Lewis (October 24, 2017)

     Plaintiff's               Defendants'        Defendants' Counter-         Plaintiff's Objections    Plaintiff's Counter-        Defendants'
    Designations               Objections             Designations                to Defendants'        Counter Designations        Objections to
                                                                               Counter-Designations                              Plaintiff's Counter-
Line Start   Line End                             Line Start   Line End                                 Line Start   Line End   Counter Designations
230:19       231:2        SP, F, IO, NE, V, IDe
234:2        234:7        SP, F, 10, V, IDe
234:10       234:14       SP, F, 10, V, IDe
240:2        240:10       V, Cmpd, IDe
240:12       240:16       V, Cmpd, IDe
240:17       240:19       V, SP, IDe
240:23       241:4        IDe
242:11       242:13       V, Cmpd, lDe
242:16       242:18       V, Cmpd, lDe
242:19       242:25       IDe
243:22       243:23       V, IDe
244:2        244:11       V, Cmpd, TDe
249:14       249:19       V, Cmpd, IDe
249:20       249:25       V, Cmpd, IDe
250:1        250:8        IDe
250:9        250:16       F, IDe
251:7        251:12       IDe
251: 15      252:1        V, Cmpd, IDe
260:11       261 :3       IDe
261:4        261:12       IDe
261:22       261 :24      V, SP, IDe
262:2        262:7        IDe
262:8        262:19       IDe
263:7        263:17       IDe


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                                      Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                 Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                      Plaintifrs Affirmative Designations

                                                        Jeffery Lewis (October 24, 2017)

     Plaintiff's              Defendants'        Defendants' Counter-         Plaintiff's Objections    Plaintiff's Counter-       Defendants'
    Designations              Objections             Designations                to Defendants'        Counter Designations        Objections to
                                                                              Counter-Designations                              Plaintiff's Counter-
Line Start   Line End                            Line Start   Line End                                 Line Start   Line End   Counter Designations
263:18       263:21     IDe
264:3        264:7      IDe
264:25       265:4      IDe
265:12       265:16     IDe
265:17       265:22     IDe
266:6        266:9      IDe
266:10       266:15     IDe
268:4        268:6      IDe
276:14       276:18     F, V TDe
276:21       277:1      F, V, IDe
277:2        277:8      IDe
277:11       277:14     M,TDe
277:18       277:23     M,IDe
288:7        288:10     V, F, SP, IDe
288:13       288:15     V, F, SP, IDe
292:21       292:22     ID, F, NE, V, IDe        292: 15      292:20          R,C,ML
293:1        293:12     IDe
294:2        294:4      IDe
294:16       294:24     IDe
295:16       295:20     IDe                      295:21       296:1
                                                 296:2        296:5
296:6        296:16     IDe                      303:13       304:1                                    302:20       302:24     TDe, M, SP
                                                                                                       303:3        303:7      IDe, M, SP
298:9        298:19     IDe


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                                          Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                     Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                          Plaintiff's Affirmative Designations

                                                            Jeffery Lewis (October 24, 2017)

     Plaintiff's                Defendants'          Defendants' Counter-         Plaintiff's Objections    Plaintiff's Counter-       Defendants'
    Designations                Objections               Designations                to Defendants'        Counter Designations        Objections to
                                                                                  Counter-Designations                              Plaintiff's Counter-
Line Start   Line End                                Line Start   Line End                                 Line Start   Line End   Counter Designations
300:13       300:21       IDe
304:17       304:20       F, NE, V, IDe
304:24       305:4        F, NE, V, IDe
305:19       306:6        IDe
306:10       306:12       V, IDe
306:16       306:23       V,IDe
307:5        307:20       IDe                        313:17       313:24       PK, Spec
                                                     314:3        314:3
309:2        309:7        IDe
309:8        309:14       IDe
309:20       310:1        IDe                        313:17       313:24       PK, Spec
                                                     314:3        314:3
310:20       310:23       SP, F, IDe                 313:17       313:24       PK, Spec
                                                     314:3        314:3
311: 1       311 :3       IDe                        313:17       313:24       PK, Spec
311:11       311:12       V, IDe                     313:17       313:24       PK, Spec
                                                     314:3        314:3
311:16       311:19       V, IDe                     313:17       313:24       PK, Spec
                                                     314:3        314:3
312: 16      312:17       F, SP, IDe                 313:17       313:24       PK, Spec
                                                     314:3        314:3
312:21       312:25       F, SP, IDe                 313:17       313:24       PK, Spec
                                                     314:3        314:3
314:7        314:10       IDe


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                                                Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                     Plaintiff's Affirmative Designations

                                                       Jeffery Lewis (October 24, 2017)

     Plaintiff's             Defendants'        Defendants' Counter-         Plaintiff's Objections    Plaintiff's Counter-       Defendants'
    Designations             Objections             Designations                to Defendants'        Counter Designations        Objections to
                                                                             Counter-Des_ignations                             Plaintiff's Counter-
Line Start   Line End                           Line Start   Line End                                 Line Start   Line End   Counter Designations
314:20       314:25      TDe
316:4        316:8       F, Cmpd, SP, 1De
316: 11      316: 15     F, Cmpd, SP, IDe
318:16       318:20      V, SP, Cmpd, P, TDe
318:22       318:23      V, SP, Cmpd, P, 1De




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                                     Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                     Plaintiff's Affirmative Designations

                                                       Jeffery Lewis (October 25, 2017)

     Plaintiffs              Defendants'        Defendants' Counter-         Plaintiffs Objections    Plaintiffs Counter-        Defendants'
    Designations             Objections             Designations                to Defendants'       Counter Designations        Objections to
                                                                             Counter-Designations                             Plaintiff's Counter-
Line Start   Line End                           Line Start   Line End                                Line Start   Line End   Counter Designations
333:6        334:6      IDe; R, P
334:18       334:22     IDe; F, IO, 701, LC
334:23       335:4      IDe; F, IO, 701, LC
344:23       345:4      Ide; 1002
346:9        346:13     IDe; 1002: NT
346:25       347:9      IDe; 1002; PR
347:16       348:5      IDe; 1002; PR, R
358:1        358:2      IDe; V, R, IO, 701,
                        LC, SP, BST
358:6        358:11     IDe; V, R, IO, 701,
                        LC, SP, BST
359:5        359:14     IDe; V, R, IO, 701,
                        LC, SP, BST
360:20       361 :5     IDe; NT
362:1        362:21     IDe; 1002
367:17       368:10     IDe; H, F, 1002, SP,    368: 11      368:13          R,C
                        PK,V
372:23       373:9      IDe; NT
373:12       373:24     IDe; 1002, R
374:2        374:5      IDe; 1002,SP            376:24       377:l                                   376:24       377:1      IDe, C
                                                377:5        377:10
                                                                                                     377:5        377:10     IDe, C

374:10       375:20     IDe; 1002, ID, NT, V



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                                     Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                Case No. l 5-cv-07025 (RBK/JS) (Dist. N .J .)

                                                     Plaintiffs Affirmative Designations

                                                        Jeffery Lewis (October 25, 2017)

     Plaintiff's             Defendants'        Defendants' Counter-         Plaintiff's Objections    Plaintiffs Counter-        Defendants'
    Designations             Objections            Designations                 to Defendants'        Counter Designations        Objections to
                                                                             Counter-Designations                              Plaintiffs Counter-
Line Start   Line End                           Line Start    Line End                                Line Start   Line End   Counter Designations
375:21       376:3      IDe; R, F, SP
376:9        376:13     IDe; SP, PK
376:14       376:19     IDe; R, 1002, NE, F
382:2        383:9      IDe; 1002, NE, MD,      383:10       383:13          R,C,PK
                        M, F, Arg, SP, PK
383:14       383:21     IDe; 1002, SP, PK, R,
                        V, F, Arg, NE
383:22       384:10     IDe; 1002               384: 11      384:17          R,C,PK
384:23       385:2      IDe; 1002, F, NE, SP,   384: 11      384:17          R,C,PK
                        PK,R, V,Arg
385:10       385:13     IDe; V, H, 1002, NE,    384: 11      384:17          R,C,PK
                        F, SP, PK, Arg, MD
385:17       385:22     IDe; V, H, 1002, NE,    384:11       384: 17         RC,PK
                        F, SP, PK, Arg, MD
387:23       388:3      IDe; 1002, H
388:15       388:21     IDe; R, SP              388:4        388:14          R,C
391:20       392:4      IDe; Cpmd, V, F, NE,
                        SP,PK
392:13       392:16     IDe; V, NE, F, SP,      383:10       383:13          R,C,PK
                        PK, Arg, MD, M, P,      384: 11      384:17
                        C,BST
392:21       392:24     IDe; V, NE, F, SP,      383:10       383:13          R,C,PK
                        PK, Arg, MD, M, P,      384:11       384:17
                        C,BST
394:14       394:17     IDe


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                                       Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                  Case No. 15-cv-07025 (RBK/JS) (Dist. NJ.)

                                                       Plaintiff's Affirmative Designations

                                                         Jeffery Lewis (October 25, 2017)

     Plaintiffs               Defendants'         Defendants' Counter-        Plaintiffs Objections     Plaintiffs Counter-       Defendants'
    Designations              Objections              Designations               to Defendants'        Counter Designations       Objections to
                                                                              Counter-Designations                             Plaintiffs Counter-
Line Start   Line End                             Line Start   Line End                               Line Start   Line End   Counter Designations
394:19       394:19      IDe
395:1        395:5       TDe; 1002, A, SP, PK,
                         F, V
404:25       405:2       IDe
405:4        405:12      IDe; 1002, SP, PK, A
405:13       405:23      IDe; 1002, SP, PK, A,
                         NE
405:24       406:8       TDe; 1002, SP, PK, A,
                         R, F, NE, Arg
419:13       419:20      IDe; F
419:24       420:11      TDe; F; M; NE; SP;
                         PK;V
420:15       420:21      IDe; F; M; NE; SP;
                         PK;V
421:7        421 :20     TDe; V, SP, 701, IO,
                         Arg, PK, NE
421 :24      422:20      IDe; V; SP, 701; IO,
                         NE, M, Arg, PK
423:20       424:2       IDe; ID, SP, PK, V, F,   423:18       423:19         R,C                     423:10       423:17     IDe, SP, PK, V, F,
                         NE, M, Arg                                                                                           NE,M,ID,
424:6        424:14      TDe; SP, PK, V, F,
                         NE, M,Arg
432:2        432:5       IDe
432:21       432:23      IDe; F, SP



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                                      Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                 Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                      Plaintiff's Affirmative Designations

                                                         Jeffery Lewis (October 25, 2017)

     Plaintiff's             Defendants'         Defendants' Counter-         Plaintiff's Objections    Plaintiff's Counter-       Defendants'
    Designations             Objections              Designations                to Defendants'        Counter Designations        Objections to
                                                                              Counter-Designations                              Plaintiff's Counter-
Line Start   Line End                            Line Start    Line End                                Line Start   Line End   Counter Designations
433:2        433:6       IDe; F, SP
434: 16      434:22      IDe
434:24       434:24      IDe
436:1        436:15      IDe; R, 1002, BST,      437:9        437:17          R,C
                         SP,PK
436:16       437:4       IDe; R, 1002, BST,      437:9        437:17          R,C
                         SP, PK
437:5        437:8       IDe; R, 1002, BST,      437:9        437:17          R,C
                         SP,PK
438:13       438: 18     IDe; R, 1002, BST,      437:9        437:17          R,C
                         SP,PK
441:22       441 :25     IDe; V, R, SP, PK,      437:9        437:17          R, C, NR, PK, Spec
                         BST, Arg, P             441 :12      441:16
                                                 441: 19      441 :21
442:3        442:3       IDe; V, R, SP, PK,      437:9        437:17          R, C, NR, PK, Spec
                         BST, Arg, P             441 :12      441 :16
                                                 441: 19      441 :21
444:22       445:5       IDe                     445:14       445:17          R,C
445:6        445:13      Ide; 1002               445:14       445:17          R,C
446:3        446:8       IDe; 1002, SP, PK,      445:14       445:17          R,C
                         MD, M, Arg, NE, F
450:3        450:7       IDe; F, R
455:23       456:6       IDe; Arg, R, SP, V,
                         MD,M
456:7        457:3       IDe; R, 1002, SP, PK


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                                       Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                  Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                        Plaintiff's Affirmative Designations

                                                         Jeffery Lewis (October 25, 2017)

     Plaintiff's               Defendants'         Defendants' Counter-        Plaintiff's Objections    Plaintiff's Counter-        Defendants'
    Designations               Objections             Designations                to Defendants'        Counter Designations         Objections to
                                                                               Counter-Designations                               Plaintiff's Counter-
Line Start   Line End                              Line Start   Line End                                Line Start   Line End    Counter Designations
459:23       460:7        IDe; V,SP, PK, BST,      457:17       458:6          R,C                      457:9        457:16     IDe, Cmpd, C, V, SP,
                          LC, 701, IO, F                                                                                        701
                                                                                                        458:7        458:13     IDe, V, SP
                                                                                                        459:6        459:9      IDe, R
460:8        460:13       IDe; SP, IO, 701, Arg,   457:17       458:6          R,C                      457:9        457:16     IDe, Cmpd, C, V, SP,
                          incomplete                                                                                            701
                          hypothetical, BST,                                                            458:7        458:13     IDe, V, SP
                          PK, V,F
                                                                                                        459:6        459:9      IDe,R

461:2        461 :15      IDe; V, SP, IO, 701,     461 :21      461 :25
                          Arg, incomplete
                          hypothetical, BST,
                          PK,F
462:1        462:9        IDe; V, M, F, NE, LC     462: 10      462:16         F, PK, Spec              462:18       462:21     IDe, F, SP. PK
463:16       463:17       IDe; V, SP, IO, 701
463:21       464:4        IDe; V, SP, IO, 701
464:24       465: 11      IDe; V, F, NE, SP,       457:17       458:6          R,C                      457:9        457:16     IDe, Cmpd, C, V, SP,
                          PK, IO, 701, Arg, M,                                                                                  701
                          P, incomplete                                                                 458:7        458:13     IDe, V, SP
                          hypothetical, BST, LC
                                                                                                        459:6        459:9      IDe, R

466:18       466:22       IDe; V, F, SP, IO,       457: 17      458:6          R,C                      457:9        457:16     IDe, Cmpd, C, V, SP,
                          701, incomplete          461 :21      461 :25                                                         701



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                                       Eagle View Technologies, Inc. et al. v. Xuctware Solutions, Inc. et. al.
                                                  Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                       Plaintifrs Affirmative Designations

                                                         Jeffery Lewis (October 25, 2017)

     Plaintiff's               Defendants'        Defendants' Counter-        Plaintiff's Objections    Plaintiff's Counter-         Defendants'
    Designations               Objections            Designations                to Defendants'        Counter Designations         Objections to
                                                                              Counter-Designations                               Plaintiff's Counter-
Line Start   Line End                             Line Start   Line End                                Line Start   Line End    Counter Designations
                          hypothetical, PK, LC                                                         458:7        458:13     IDe, V, SP
                                                                                                       459:6        459:9      TDe, R
467:1        467:11       1De; V, F, SP, IO,      457:17       458:6          R,C                      457:9        457:16     IDe, Cmpd, C, V, SP,
                          701, incomplete         461 :21      461 :25                                                         701
                          hypothetical, PK, LC                                                         458:7        458:13     IDe, V, SP
                                                                                                       459:6        459:9      IDe, R
467:14       467:23       IDe; V, F, SP, IO,      457:17       458:6          R,C                      457:9        457:16     IDe, Cmpd, C, V, SP,
                          701, incomplete         461 :21      461 :25                                                         701
                          hypothetical, PK, LC                                                         458:7        458:13     IDe, V, SP
                                                                                                       459:6        459:9      TDe, R
467:24       468:13       IDe; V, F, SP, IO,      457: 17      458:6          R,C                      457:9        457:16     IDe, Cmpd, C, V, SP,
                          701, PK, LC             461 :21      461 :25                                                         701
                                                                                                       458:7        458:13     IDe, V, SP
                                                                                                       459:6        459:9      IDe, R
468:21       469:4        TDe; BST, F, V, SP,
                          PK, LC, NE, IO, 701
469:5        469:18       IDe; 1002, A            469: 19      469:22
470:18       471:15       IDe; 1002, A            469:19       469:22
471:19       472:16       IDe; 1002, A, Arg, F,   469:19       469:22
                          V, NE, M, MD, SP,
                          PK, incomplete
                          hypothetical
472:21       473:7        IDe; 1002, A, Arg, F,   469:19       469:22


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                                     Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                      Plaintiff's Affirmative Designations

                                                         Jeffery Lewis (October 25, 2017)

     Plaintiff's             Defendants'         Defendants' Counter-         Plaintiff's Objections    Plaintiff's Counter-       Defendants'
    Designations             Objections              Designations                to Defendants'        Counter Designations        Objections to
                                                                              Counter-Designations                              Plaintiff's Counter-
Line Start   Line End                            Line Start    Line End                                Line Start   Line End   Counter Designations
                        V, NE, M, MD, SP,
                        PK, incomplete
                        hypothetical
473:8        474:15     TDe; 1002, A, V,         469: 19      469:22
                        Cmpd
474:16       474:20     IDe; TD, 1002, A, Arg,   469:19       469:22
                        F, V, NE, M, MD,
                        1002, SP, PK
476:25       477:3      IDe                      478:9        478:21          R, C, PK, Spec
477:4        477:11     IDe; F, NE, SP, PK,      478:9        478:21          R, C, PK, Spec
                        V,R
477:12       477:22     IDe; F, NE, SP, PK,      478:9        478:21          R, C, PK, Spec
                        V,R
477:24       478:2      IDe; 1002, A             478:9        478:21          R, C, PK, Spec
478:3        478:8      TDe; 1002, Cmpd          478:9        478:21          R, C, PK, Spec
481 :21      482:1      JDe; NT
482:11       482:25     TDe; R, 1002, SP, PK     483:1        483:4           R,C
483:5        483:11     IDe; R, SP, PK, F        483:1        483:4           R,C
490:8        490:24     IDe; ID; SP; PK          490:25       491:6           R,C                      492:11       492:19     IDe,   ID,   V,   SP, PK
491 :7       491:10     JDe; ID; SP; PK          490:25       491:6           R,C                      492:11       492:19     JDe,   ID,   V,   SP, PK
492:20       493:3      IDe; JD; SP; PK          490:25       491 :6          R,C                      492:11       492:19     IDe,   ID,   V,   SP, PK
493:4        493:10     JDe; ID; SP              490:25       491:6           R,C                      492:11       492:19     IDe,   ID,   V,   SP, PK
493:14       493:17     JDe; V; F; SP
493:21       493:24     JDe; V; F; SP



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                                       Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. ul.
                                                  Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                        Plaintiff's Affirmative Designations

                                                            Jeffery Lewis (October 25, 2017)

     Plaintiff's               Defendants'         Defendants' Counter-         Plaintiff's Objections    Plaintiff's Counter-         Defendants'
    Designations               Objections              Designations                to Defendants'        Counter Designations         Objections to
                                                                                Counter-Designations                               Plaintiff's Counter-
Line Start   Line End                              Line Start    Line End                                Line Start   Line End    Counter Designations
494:10       494:16       IDe; ID; SP              490:25        491:6          R,C                      492:11       492:19     IDe, ID, V, SP, PK
496:22       497:5        IDe; ID; V; SP; 1002     490:25        491 :6         R,C                      492:11       492:19     IDe, ID, V, SP, PK
497:6        497:13       IDe; ID; V; SP; 1002     490:25        491:6          R,C                      492:11       492:19     IDe, ID, V, SP, PK
497:14       497:17       IDe; V
497:19       498:6        IDe; ID; 1002; SP        490:25        491 :6         R,C                      492:11       492:19     IDe, ID, V, SP, PK
499: 11      500:13       IDe; ID; 1002; H; V;     490:25        491:6          R,C                      492: 11      492:19     IDe, ID, V, SP, PK
                          SP;M
500:20       501:4        IDe; ID; 1002; H; SP     490:25        491:6          R,C                      492:11       492:19     IDe, ID, V, SP, PK
502: 11      502:25       IDe; ID; 1002; H; V;     490:25        491:6          R,C                      492:11       492:19     IDe, ID, V, SP, PK
                          SP
503:6        503:23       IDe; ID; 1002; H; V;     490:25        491:6          R,C                      492:11       492:19     IDe, ID, V, SP, PK
                          SP
504:3        504:21       IDe; ID; 1002; V; SP     490:25        491 :6         R,C                      492: 11      492:19     IDe, ID, V, SP, PK
                                                   504:22        505:13
509:18       510:13       IDe; NT; 1002
510:17       511: 1       IDe; H; 1002
511 :9       511:20       IDe; ID; H; 1002; SP     511 :2        511 :8         R,C
511 :23      512:7        IDe; H; l 002; SP
513:15       513:24       IDe; H; 1002, SP
513:25       514:9        IDe; H; 1002; SP
514:17       514:22       IDe; H; 1002; SP
514:25       515:11       IDe; SP; V
516: 17      516:20       IDe; F
518:20       518:24       IDe; F; SP; 701; IO; V



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                                         Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                    Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                         Plaintiff's Affirmative Designations

                                                           Jeffery Lewis (October 25, 2017)

     Plaintiffs                  Defendants'         Defendants' Counter-        Plaintiff's Objections    Plaintiff's Counter-        Defendants'
    Designations                 Objections             Designations                to Defendants'        Counter Designations        Objections to
                                                                                 Counter-Designations                              Plaintiff's Counter-
Line Start   Line End                                Line Start   Line End                                Line Start   Line End   Counter Designations
519:3        519:7        IDe;   F; SP; 701; IO; V
519:10       519: 10      IDe;   F; SP; 701; IO; V
574:1        574:4        IDe;   H; 1002
574:7        574:11       IDe;   H; 1002




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                                         Eagle View Technulugies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                    Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                           Plaintiff's Affirmative Designations

                                                          James Loveland (November 29, 2017)

        Plaintiff's             Defendants'         Defendants' Counter-      Plaintiff's Objections      Plaintiff's Counter-        Defendants'
       Designations             Objections              Designations             to Defendants'          Counter Designations        Objections to
                                                                              Counter-Designations                                Plaintiff's Counter-
Line Start    Line End                             Line Start     Line End                               Line Start   Line End   Counter Designations
6:17          6:18
21 :12        21 :16
34:17         34:19       ID                       34:20         34:21        IC, In                    34:25         35:4       R, IC
34:22         34:23       ID                       34:20         34:21        IC, In                    34:25         35:4       R,IC
34:25         35:4        R, ID                    34:20         34:21        IC, In
36:1          36:3
37:7          37:18       ID                       37:4          37:6
37:25         38:1        R                        37:4          37:6
38:12         38:13       R                        37:4          37:6
38:15         38:17       R
38:18         38:22       R
38:23         39:5        R
39:15         39:21       R
63:25         64:1        R,ID                     64:9          64:10
                                                   64:14         64:15
64:6          64:7        R, ID                    64:9          64:10
                                                   64:14         64:15
65:19         65:20       R,   V,C,ID              66:12         66:17
65:24         66:7        R,   V, C, ID            66:12         66:17
66:9          66:10       R,   V, C, JD            66:12         66:17
74:6          74:12       R,   F, PK, SP, ID       75:13         75:14        R,P,ML                    77:18         77:20      F;NE
                                                   75:17         75:18        R,P,ML                    77:18         77:20
                                                   75:22         75:25        R,P,ML                    77:18         77:20
                                                   76:2          76:7         R,P,ML                    77:18         77:20
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                                          Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                     Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                           Plaintiff's Affirmative Designations

                                                           James Loveland (November 29, 2017)

        Plaintiff's           Defendants'            Defendants' Counter-        Plaintiff's Objections    Plaintiff's Counter-        Defendants'
       Designations           Objections                 Designations               to Defendants'        Counter Designations        Objections to
                                                                                 Counter-Designations                              Plaintiff's Counter-
Line Start    Line End                              Line Start    Line End                                Line Start   Line End   Counter Designations
                                                    76:9         76:17                                    77:18        77:20
77:5          77:9        R, F, V, PK, NE, SP
79:20         79:24       R,F,SP
80:1          80:2        R,F,SP
80:4          80:5        V, SP
81 :1         81 :5       NE,V
82:18         82:24       F, V, SP                  83:1         83:4            R,P,ML                                           V;ID
                                                    83:12        84:2            R,P,ML                   84:3         84:7
84:3          84:7        V,ID                      85:11        85:16                                    85:23        86:6       V; IC; PK; SP
                                                    114:16       114:19          R,P,ML                   114:20       114:23     PK; SP
84:9          84:11       V, F, NE, SP, TD          84:14        84:18                                                            V; IC; PK; SP
                                                    85:11        85:16                                    85:23        86:6
84:19         84:23       V, F, NE, SP, TD          84:14        84:16                                                            V; IC; PK; SP
                                                    85:11        85:16                                    85:23        86:6
85:23         86:1        V,ID                      85:11        85:16                                                            PK; SP
                                                    114: 16      114: 19         R,P,ML                   114:20       114:23
86:2          86:6        PK, SP, V, ID             83:12        84:2            R,P,ML                   84:3         84:7       V; IC
86:9          86:17       ID                        87:11        87:23           F, V, Spec               87:25        88:7       F, NE, SP, IC
                                                    108:23       109: 15         F, V, Spec               87:25        88:7
87:25         88:7        F, NE, SP, ID             91 :6        91 :16                                   106:24       107:5      V, F, NE, SP, PK, P
                                                                                                          110:5        110:16     F, V, H, PK, SP
                                                    108.23        109: 15        F, V, Spec
92:5          92:12        V,ID                     91 :6         91 :16                                  106:24       107:5      V, F, NE, SP, PK, P
                                                                                                          110:5        110:16     F, V, H, PK, SP


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                                        Eagle Vie.v Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                    Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                           Plaintiff's Affirmative Designations

                                                       James Loveland (November 29, 2017)

     Plaintiffs               Defendants'          Defendants' Counter-          Plaintiffs Objections    Plaintiffs Counter-        Defendants'
    Designations              Objections              Designations                  to Defendants'       Counter Designations        Objections to
                                                                                 Counter-Designations                             Plaintiffs Counter-
Line Start   Line End                             Line Start      Line End                               Line Start   Line End   Counter Designations
                                                                                                         104:2        104:10     V; NE; F; PK; SP
                                                  91 :25         92:4            F, V, Spec
92:13        92:23       ID                       91 :25         92:4            F, V, Spec              93:10        93:17      JC; V; M; F
                                                  92:24          93:5
97:18        97:22       Cmpd, F, NE
97:24        97:25       Cmpd, F, NE
98:3         98:4        V, Cmpd
98:7         98:11       V, Cmpd
105:1        105:5       V, SP, NE, F             105:6          105:9                                   110:5        110: 16    F, V, H, PK, SP
                                                                                                         104:2        104:10     V; NE; F; PK; SP
106:24       107:3       V, F, NE, SP, PK, P,     106:1          106:2           F, V, Spec              279:13       279:22     R, SP, PK, NE, V, F,
                         ID                       106:7          106: 10         F, V, Spec              279:13       279:22     P, H, IC (for all)
107:4        107:5       V, F, NE, SP, PK, P,     106:1          106:2           F, V, Spec              279:13       279:22     R, SP, PK, NE, V, F,
                         ID                                                                              281 :22      281 :25    P, H, IC (279:13-22)
                                                                                                         282:14       282:25     R, NE, F, JC (281:22-
                                                  106:7          106: 10         F, V, Spec              279:13       279:22     25)
                                                                                                         281 :22      281 :25    V (282:14-25)
                                                                                                         282:14       282:25     R, SP, PK, NE, V, F,
                                                                                                                                 P, H, IC (279:13-22)
110:5        110:6       F, V, H, PK, SP
110:7        110:8       F, V, H, PK, SP
110:9        110: 16     F, V, H, PK, SP, JD      108:23         109: 15         F, V, Spec
110:20       111 :1      V, PK, SP, P, ID         108:23         109:15          F, V, Spec
113:2        113:4       JD, F, NE, SP, PK, M     113:5          113:6           V, Spec                 116:4        116:12     F, SP, PK, H, V, IC


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                                      Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                 Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                        Plaintiff's Affirmative Designations

                                                     James Loveland (November 29, 2017)

     Plaintiffs              Defendants'         Defendants' Counter-         Plaintiffs Objections    Plaintiffs Counter-         Defendants'
    Designations             Objections              Designations                to Defendants'       Counter Designations        Objections to
                                                                              Counter-Designations                             Plaintiffs Counter-
Line Start   Line End                           Line Start     Line End                               Line Start   Line End   Counter Designations
                                                113:13        113 :21         F, V, Spec              116: 16      116:18     F, SP, PK, H, V, IC
113:7        113:11      ID, F, NE, SP, PK, M   113:5         113:6                                   116:4        116:12     F, SP, PK, H, V, IC
                                                113:13        113:21          H                       116: 16      116:18     F, SP, PK, H, V, IC

113:22       113 :25     ID, H, F, NE, SP,      114:2         114:2
                         PK,M
114:4        114:7       ID, H, F, NE, SP,      114:2         114:2
                         PK,M
115:10       115:13      H, F, SP, PK, ID       85: 11        85:16                                   85:23        86:6       V; ID; PK; SP
                                                114:16        114:19          P,R,ML                  114:20       114:23     PK; SP
                                                115:14        115:17          H                       116:4        116:12     F, SP, PK, H, V,   IC
                                                                                                      116:16       116:18     F, SP, PK, H, V,   IC
116: 11      116:12      F, SP, PK, H, V, ID    115:18        115:20          F, V, Spec, C, PK       116:4        116:12     F, SP, PK, H, V,   IC
                                                                                                      116:16       116:18     F, SP, PK, H, V,   IC
                                                115:23        115:25          F, V, Spec, C, PK       116:4        116:12     F, SP, PK, H, V,   IC
                                                                                                      116:16       116:18     F, SP, PK, H, V,   IC
116:16       116:18      F, SP, PK, H, V, ID    115:18        115 :20         F, V, Spec, C, PK       116:4        116:12     F, SP, PK, H, V,   JC
                                                                                                      116:16       116:18     F, SP, PK, H, V,   IC
                                                115 :23       115:25          F, V, Spec, C, PK       116:4        116:12     F, SP, PK, H, V,   IC
                                                                                                      116:16       116:18     F, SP, PK, H, V,   IC
116:22       117:3       F, SP, PK, H, V, JD    115:18        115:20          F, V, Spec, C, PK       116:4        116:12     F, SP, PK, H, V,   IC
                                                                                                      116:16       116:18     F, SP, PK, H, V,   IC
                                                115:23        115:25          F, V, Spec, C, PK       116:4        116:12     F, SP, PK, H, V,   IC
                                                                                                      116:16       116:18     F, SP, PK, H, V,   IC



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                                          Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                     Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                            Plaintiff's Affirmative Designations

                                                         James Loveland (November 29, 2017)

     Plaintiffs               Defendants'            Defendants' Counter-         Plaintiffs Objections    Plaintiffs Counter-        Defendants'
    Designations              Objections                Designations                 to Defendants'       Counter Designations        Objections to
                                                                                  Counter-Designations                             Plaintiffs Counter-
Line Start   Line End                               Line Start     Line End                               Line Start   Line End   Counter Designations
117:4        117:6        ID, F, NE, SP, PK,        117:7         117:8
                          H,V,M
117:9        117:11       ID, F, NE, SP, PK,        117:7         117:8
                          H,V,M
117:13       118:2        F, NE, SP, PK, H, V,      117:7         117:8                                   116:4        116:12     F,   SP,   PK,   H,   V,   IC
                          M,L,ID                    115:18        115 :20         F, V, Spec, C, PK       116:16       116:18     F,   SP,   PK,   H,   V,   IC
                                                                                                          116:4        116:12     F,   SP,   PK,   H,   V,   IC
                                                    115 :23       115:25          F, V, Spec, C, PK       116:16       116:18     F,   SP,   PK,   H,   V,   IC

118:18       118:20       ID, F, SP, PK             118:24        119: I
119:2        119:5        ID, F, SP, PK             118:24        119: I
127:1        127:5        NE, F, SP, PK, V, M,      125:18        126:15
                          ID, 1002
127:7        127:11       F, MD, SP, PK, ID,        125:18        126: 15
                          1002
127:15       127:20       F, MD, SP, PK,            125:18        126: I 5
                          1002, ID
128:22       128:23       ID, PK, SP, F, M          128:11        128:20                                  129:24       130:1      F; V; SP; PK; IC
                                                                                                          130:9        130:12     F; V; SP; PK; IC
                                                    129:1         129:2
129:3        129:4        ID, PK, SP, F             128:11        128:20                                  129:24       130:1      F; V; SP; PK; IC
                                                                                                          130:9        130:12     F; V; SP; PK; IC
                                                    129:1         129:2
129:6        129:12       PK, SP, R, F, NE, ID      128:11        128:20                                  129:24       130:1      F; V; SP; PK; IC


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                                          Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                     Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                             Plaintiff's Affirmative Designations

                                                         James Loveland (November 29, 2017)

     Plaintiffs               Defendants'            Defendants' Counter-          Plaintiffs Objections    Plaintiffs Counter-         Defendants'
    Designations              Objections                Designations                  to Defendants'       Counter Designations        Objections to
                                                                                   Counter-Designations                             Plaintiffs Counter-
Line Start   Line End                               Line Start      Line End                               Line Start   Line End   Counter Designations
                                                                                                           130:9        130:12     F; V; SP; PK; IC
                                                    129:1          129:2
144:5        144: 11      ID, V, SP, PK, R          143:7          143: 10         F, V,   Spec            164:9        164:13     R, V, SP, F (for all)
                                                    143:13         144:4           F, V,   Spec            164:9        164:13
                                                    144:12         144: 19         F, V,   Spec            164:9        164:13
                                                    144:21         144:25          F, V,   Spec            164:9        164:13
                                                    145:3          145:7           F, V,   Spec            164:9        164:13
151:14       151:17       SP, PK, ID, R             151 :21        151 :22                                 164:25       165:6      F; V; SP; PK (for all)
                                                    151 :2         151 :8          F, V, Spec              164:25       165:6
151 :25      152:2        SP, PK, ID, R             151 :21        151 :22                                 164:25       165:6      F; V; SP; PK (for all)
                                                    151 :2         151 :8          F, V, Spec              164:25       165:6
154:6        154:12       R, SP, PK, F, V, NE,      153:l          153:5           ML, R, P, Char, NR
                          ID, P                     153:9          154:5           ML, R, P, Char, NR
164:9        164:13       R, V, SP, F
166:6        166:8        F, V, NE, SP
166:12       166:17       F, V, NE, SP
167:6        167:7        F, V, NE, F, SP
167:13       167:16       F, V, NE, F, SP, ID       167:18         167:22          F, V, Spec
                                                    167:25         169:4           F,P, V,ML
169:7        169:8        F, SP, PK, V
169:13       169: 16      F, SP, PK, V
169:18       169:23       F, SP, PK, V
170:17       170:20       F, SP, PK, V, NE, P,      171 :5         171 :8
                          ID


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                                       Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                  Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                          Plaintiff's Affirmative Designations

                                                      James Loveland (November 29, 2017)

     Plaintiff's              Defendants'         Defendants' Counter-          Plaintiff's Objections    Plaintiff's Counter-        Defendants'
    Designations              Objections             Designations                  to Defendants'        Counter Designations        Objections to
                                                                                Counter-Designations                              Plaintiff's Counter-
Line Start   Line End                            Line Start      Line End                                Line Start   Line End   Counter Designations
170:24       171 :2       F, SP, PK, V, NE, P,   171 :5         171 :8
                          ID
172:3        172:5        ID, SP, V              172:6          172:8
172:10       172: 15      ID, SP, V, PK          172:6          172:8
                                                 172:16         172: 19
173: 11      173:14       M, F, V, NE, ID        173:20         173:23
173: 17      173: 18      M, F, V, NE, ID        173:20         173:23
174:15       174:19       R, SP, V, ID           174:20         174:24
174:25       175:2        F, NE, SP, PK, ID      174:20         174:24
175:5        175:7        F, NE, SP, PK, ID      174:20         174:24
175:9        175:14       F, NE, SP, PK, V       174:20         174:24
176:25       177:4        F, M, NE, SP, PK, V
177:8        177:8        F, M, NE, SP, PK, V,   177:11         177:13          F, V, PK, Spec           187:3        187:15     IC;V
                          ID                     177:16         177:20          F, V, PK, Spec, P        187:3        187:15     IC;V
187:3        187:7        ID, V                  187:1          187:1
187:8        187:15       ID, V                  187:16         188:4           F, Spec, PK              176:25       177:4      F,   M, NE,   SP, PK,   V
                                                                                                         177:8        177:8      F,   M, NE,   SP, PK,   V
                                                 188:8          188:13          F, Spec, PK              176:25       176:25     F,   M, NE,   SP, PK,   V
                                                                                                         177:8        177:8      F,   M, NE,   SP, PK,   V
210:8        210:12       ID                     210: 13        210: 15         F,   Spec, V
211:11       211:15       ID, NE, V, SP, PK, F   211 :16        211 :21         F,   Spec, R, P
                                                 212: 15        212:20          F,   Spec, R, P
                                                 212:25         213:4           F,   Spec
                                                 213:7          213:10          F,   Spec


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                                       Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                  Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                       Plaintiff's Affirmative Designations

                                                      James Loveland (November 29, 2017)

     Plaintiffs              Defendants'          Defendants' Counter-        Plaintiffs Objections       Plaintiffs Counter-        Defendants'
    Designations             Objections              Designations                to Defendants'          Counter Designations        Objections to
                                                                              Counter-Designations                                Plaintiffs Counter-
Line Start   Line End                            Line Start    Line End                                  Line Start   Line End   Counter Designations
                                                 213:12       213:18          F,   Spec
211:22       211 :25     ID, NE, V, SP, PK, F    212:15       212:20          F,   Spec, R, P
                                                 212:25       213:4           F,   Spec
                                                 213:7        213:10          F,   Spec
                                                 213:12       213:18          F,   Spec
212:1        212:5       ID, NE, V, SP, PK, F    212:15       212:20          F,   Spec, R, P
                                                 212:25       213:4           F,   Spec
                                                 213:7        213:10          F,   Spec
                                                 213:12       213:18          F,   Spec
212:10       212:14      ID, NE, V, SP, PK, F    212: 15      212:20          F,   Spec, R, P
                                                 212:25       213:4           F,   Spec
                                                 213:7        213:10          F,   Spec
                                                 213:12       213:18          F,   Spec
216:14       216:21      NT
216:24       217:2       ID, 1002                217:3        217:9           F, V, Spec
241 :16      241 :19     M, V,R,ID               241 :23      242:13          F, Spec
249:23       250:6       NT, 1002
260:18       260:21      M, V, R, P, F, SP,      255:8        255:20          F, Spec,   R, P, C, Char
                         PK, LC, Arg, ID         255:25       256:22          F, Spec,   ML, R, P, C,
                                                 257:8        257:16          Char
                                                 257:20       259:13          F, Spec,   R, P, C, Char
                                                 259:15       259:16          F, Spec,   ML, R, P, C,
                                                 259:20       259:20          H, Char
                                                 259:23       260:16          F, Spec,   V, R



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                                       Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                  Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                          Plaintiff's Affirmative Designations

                                                      James Loveland (November 29, 2017)

     Plaintiff's             Defendants'          Defendants' Counter-          Plaintiff's Objections    Plaintiff's Counter-        Defendants'
    Designations             Objections              Designations                  to Defendants'        Counter Designations        Objections to
                                                                                Counter-Designations                              Plaintiff's Counter-
Line Start   Line End                            Line Start      Line End                                Line Start   Line End   Counter Designations
                                                 261 :6         261 :9          R,F,V,R
                                                                                F, Spec, Char, R
                                                                                F, Spec, R, V, C, IC
261 :25      262:5       M, V, R, P, F, SP,      255:8          255:20          F, Spec, R, P, C, Char
                         PK, LC, Arg             255:25         256:22          F, Spec, ML, R, P, C,
                                                 257:8          257:16          Char
                                                 257:20         259:13          F, Spec, R, P, C, Char
                                                 259:15         259:16          F, Spec, ML, R, P, C,
                                                 259:20         259:20          H, Char
                                                 259:23         260:16          F, Spec, V, R
                                                 261 :6         261:9           R,F,V,R
                                                                                F, Spec, Char, R
                                                                                F, Spec, R, V, C, IC
264:18       264:24      NT, 1002
265:5        265:10      H, 1002
266:17       266:22      F, V, R, SP
267: 11      267:13      V, SP, H, 1002, ID      267:14         267:15
268:13       269:1       P, R, H, 1002
270:12       270:16      H, R, P, ID             272:16         272:20          D
277:21       278:2       R, SP, PK, NE, V, F,
                         p
279:13       279:22      R, SP, PK, NE, V, F,    279:23         280:6           Spec, P, F               282:14       282:25     V
                         P, H,ID                 280:9          281:4           Spec, P, F, C            282:14       282:25     V
281 :22      281 :25     R, NE, F, ID            281:5          281 :21         Spec, P, F, C            282:14       282:25     V



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                                       Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                  Case No. l 5-cv-07025 (RBKJJS) (Dist. N.J.)

                                                       Plaintiff's Affirmative Designations

                                                      James Loveland (November 29, 2017)

     Plaintiff's             Defendants'          Defendants' Counter-         Plaintiff's Objections    Plaintiff's Counter-        Defendants'
    Designations             Objections              Designations                 to Defendants'        Counter Designations        Objections to
                                                                               Counter-Designations                              Plaintiff's Counter-
Line Start   Line End                            Line Start    Line End                                 Line Start   Line End   Counter Designations
282:14       282:17      V
289:6        289:8       F, NE, Arg, R, SP,
                         PK, V, H, 1002, LC,
                         p
289:11       289:16      R, V, F, 1002, SP,      284:14       284: 18       F, Spec, P, C               282:14       282:25     V
                         NE,MD,P,ID              284:22       285:25        F, Spec, P, C               282:14       282:25     V
291:16       291:19      ID, SP, IO, 701, V,     291 :14      291 :15       Spec, F, V, IC
                         R, P, LC, F, NE, PK
291 :23      292:4       ID, SP, IO, 701, V,     291:14       291: 15       Spec, F, V, IC
                         R, P, LC, F, NE, PK
292:21       292:23      ID, SP, IO, 701, V,     292:20       292:20        F, IC
                         R, P, LC, F, NE, PK
293:1        293:2       ID, SP, IO, 701, V,     292:20       292:20
                         R, P, LC, F, NE, PK
293:19       294:1       V, F, R, P, NE, SP,
                         PK,LC
294:6        294:14      A, PK, SP, ID, I 002    294:15       294:21        IC,AT
294:22       295:1       ID, A, PK, SP, H,       294:15       294:21        IC,AT
                         1002
295:9        295:15      ID,A,R,H                295:2        295:8         R,NR                        293:19       294:1      V, F, R, P, NE, SP,
                                                 295:16       296:1                                     293:19       294:1      PK, LC (for all)
                                                 296:13       296:19
296:6        296:7        ID,A,R,H               295:2        295:8            R,NR                     293:19       294:1      V, F, R, P, NE, SP,
                                                 295:16       296:1                                     293:19       294:1      PK, LC (for all)


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                                          Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                     Case No. l 5-cv-07025 (RBK/JS) (Dist. N.J.)

                                                          Plaintiff's Affirmative Designations

                                                         James Loveland (November 29, 2017)

     Plaintiff's              Defendants'            Defendants' Counter-         Plaintiff's Objections    Plaintiff's Counter-        Defendants'
    Designations              Objections                Designations                 to Defendants'        Counter Designations        Objections to
                                                                                  Counter-Designations                              Plaintiff's Counter-
Line Start   Line End                               Line Start    Line End                                 Line Start   Line End   Counter Designations
                                                    296:13       296:19
296:9        296:11      ID,A,R,H                   295:2        295:8            R,NR                     293:19       294:1      V, F, R, P, NE, SP,
                                                    295:16       296:1                                     293:19       294:1      PK, LC (for all)
                                                    296:13       296:19
298:7        298:25      R, P, M, MD, H, PK,        298:3        298:6
                         1002, ID, SP               294:8        294:9
299:7        299:12      NT, 1002
299:19       299:24      NE, MD, R, P, SP,          299:25       301: 1           F, Spec, V, Char         301 :2       301:4      F; V; NE; SP
                         PK, F, H, ID, 1002                                                                301:9        301:13     F; V;NE; SP
305:22       306:5       NT, 1002
306:6        306:8
306:18       306:23       SP, PK, R, P, F, NE,
                          V
312:7        312:11       PK, SP, NE, F, R
312:12       312:17       F, SP, 1002, ID, PK       312:25       313:2            F,   Spec, PK
                                                    313:7        313:10           F,   Spec, PK
312: 19      312:23       F, SP, PK, ID             312:25       313:2            F,   Spec, PK
                                                    313:7        313:10           F,   Spec, PK
313:18       313:25      NE, F, SP, PK, H,
                         1002
314:1        314:8       R, P, F, ID                3 I 5:1      315:3            V,   Spec                293:19       294:1      V, F, R, P, NE, SP,
                                                    315:7        315:10           V,   Spec                293:19       294:1      PK, LC (for all)
                                                    315:13       315:19           V,   Spec                293:19       294:1
315:20       315:22       V, SP, PK, IO, LC,        315: 1       315:3            V,   Spec                293:19       294:1      V, F, R, P, NE, SP,


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                                       Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                  Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                         Plaintiff's Affirmative Designations

                                                      James Loveland (November 29, 2017)

     Plaintiffs              Defendants'          Defendants' Counter-          Plaintiffs Objections    Plaintiffs Counter-        Defendants'
    Designations             Objections               Designations                 to Defendants'       Counter Designations        Objections to
                                                                                Counter-Designations                             Plaintiffs Counter-
Line Start   Line End                            Line Start     Line End                                Line Start   Line End   Counter Designations
                         R, P, F, NE, ID         315:7         315:10       V,    Spec                  293:19       294:1      PK, LC (for all)
                                                 315:13        315:19       V,    Spec                  293:19       294:1
315:25       315:25      V, SP, PK, IO, LC,      315:1         315:3        V,    Spec                  293:19       294:1      V, F, R, P, NE, SP,
                         R, P, F, NE, ID         315:7         315:10       V,    Spec                  293:19       294:1      PK, LC (for all)
                                                 315:13        315:19       V,    Spec                  293:19       294:1
315:25       316:2       V, SP, PK, IO, LC,      315:1         315:3        V,    Spec                  293:19       294:1      V, F, R, P, NE, SP,
                         R, P, F, NE, ID         315:7         315:10       V,    Spec                  293:19       294:1      PK, LC (for all)
                                                 315:13        315:19       V,    Spec                  293:19       294:1
329:19       329:22      NT, 1002
329:24       330:2       NT, H, 1002
330:3        330:15      NT, 1002
330:23       331:4       R
331:7        331: 13     R
348:13       348:22      R, C, P, ID             349:22        349:24
348:25       349:21      R, C, P, ID             349:22        349:24
351 :17      351: 19     H, R, C, SP, F, NE,     352:2         352:4
                         ID, P
352:6        352: 10     H, R, C, SP, F, NE,     352:2         352:4
                         ID,P
353:16       353:24      H, R, C,F,NE, P
354:12       354:14      F, SP, NE, R, C, P
354: 17      354:18      F, SP, NE, R, C, P
357:4        357:12      R,C,P
359:18       360:4       R, C, SP, PK, P


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                                       Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
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                                                       Plaintiff's Affirmative Designations

                                                      James Loveland (November 29, 2017)

     Plaintiff's              Defendants'         Defendants' Counter-         Plaintiff's Objections    Plaintiff's Counter-       Defendants'
    Designations              Objections              Designations                to Defendants'        Counter Designations        Objections to
                                                                               Counter-Designations                              Plaintiffs Counter-
Line Start   Line End                            Line Start    Line End                                 Line Start   Line End   Counter Designations
360:6        360:9       R, C, SP, PK, P
361 :20      362:5       R, C, SP, PK, V
366:14       366: 16     V, SP, R, C, ID         365:23       365:23        Spec, F, V,   R,   Char
                                                 366:2        366:3         Spec, F, V,   R,   Char
366:18       366:19       V, SP, R, C, ID        365:23       365:23        Spec, F, V,   R,   Char
                                                 366:2        366:3         Spec, F, V,   R,   Char




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                                      Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
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                                                        Plaintiff's Affirmative Designations

                                                        Jarron Merrill (February 22, 2018)

     Plaintiffs               Defendants'        Defendants' Counter-      Plaintiffs Objections       Plaintiffs Counter-       Defendants'
    Designations              Objections             Designations             to Defendants'          Counter Designations       Objections to
                                                                           Counter-Designations                               Plaintiffs Counter-
Line Start   Line End                            Line Start    Line End                              Line Start   Line End   Counter Designations
7:15         7:22
9:2          9:9          ID                     9:10          9:10
17:24        I 8:2        R,C,P
I 8:6        18:6         R,C,P
I 8:16       19:2         SP, PK
19:6         20:2         SP,PK
20:6         20:8         SP,PK
20:11        21 :3        SP,PK
21:7         21 :9        SP,PK
116:23       117:15       SP, PK, A, 1002        124:9         124: I 2    R,C,P                     I 24: 18     124:21     V,PK,R
                                                 124: 16       124:17
135:11       136:3        PK, SP, A, 1002        131:19        133:8       R,C,P
                                                 133:11        134:2
                                                 134:5         134:10
                                                 I 34: 12      134:22
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                                         Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                    Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                            Plaintiff's Affirmative Designations

                                                            Magnus Olson (December 1, 2017)

     Plaintiffs                Defendants'          Defendants' Counter-       Plaintiffs Objections     Plaintiffs Counter-        Defendants'
    Designations               Objections               Designations              to Defendants'        Counter Designations        Objections to
                                                                               Counter-Designations                              Plaintiffs Counter-
Line Start   Line End                               Line Start     Line End                             Line Start   Line End   Counter Designations
6:9          6:10
56:14        57:2         R, F, ID, PK              57:3           58:3        F,   PK,   Spec
58:4         58:5         R, SP, PK, V              57:3           58:3        F,   PK,   Spec
58:9         58:13        R, SP,PK, V               57:3           58:3        F,   PK,   Spec
58:15        59:9         R, SP,PK                  57:3           58:3        F,   PK,   Spec
63:6         63:13        Cmpd, V, R, PK, H
63:20        64:9         PK, H, R, SP              64:10          64:17
66:25        67:3         F, SP, PK, R
76:7         76:16        F, SP, PK, ID             76:19          76:23       R, Spec
76:17        76:18        F, SP, PK, ID             76:19          76:23       R, Spec
79:1         79:9         F, ID, PK, SP             69:21          70:1        R                        69:5         69:20      IC
                                                    79:10          79:11                                79:18        80:12      R;V;SP
                                                    79:13          79:13
                                                    79:15          79:17
80:14        80:19        F, SP, V, M
80:25        81 :2        R, F, JD, P, NR           81 :3          81 :10      R,P                      81: 11       81 :21     R; SP
                                                                                                        82:2         82:9       R;SP
84:22        85:5         ID, F, SP, V              84:13          84:21       C
                                                    85:6           85:15
85:18        86:16        JD, SP, F, PK, C, V       85:6           85:15
                                                    86:17          86:19
86:22        87:3         F, SP, PK, NE             87:4           87:14       F, PK, Spec              87:15        87:17
                                                                                                        87:20        87:23
88:14        88:19        PK, SP, Cmpd, V, NE       87:25          88:13       F,PK,H                   87:15        87:17
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                                         Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                    Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                           Plaintiff's Affirmative Designations

                                                            Magnus Olson (December 1, 2017)

     Plaintiffs               Defendants'           Defendants' Counter-         Plaintiffs Objections    Plaintiffs Counter-        Defendants'
    Designations              Objections                Designations                to Defendants'       Counter Designations        Objections to
                                                                                 Counter-Designations                             Plaintiffs Counter-
Line Start   Line End                               Line Start    Line End                               Line Start   Line End   Counter Designations
                                                    88:20         89:15                                  87:20        87:23
89:16        89:20       V,PK, SP
90:5         91 :3       R, SP, NE, LD
91:6         92:1        R, V, SP, PK, NE
93:10        93:16       R, ID, V, SP               93:7          93:9
93:18        94:2        R
94:17        95:8        R, SP, Cmpd                96:6          96:11          R,C
95:15        95:18       R
96:20        96:22       R, V, ID, PK               96:23         97:3           R,C
97:4         97:9        R, V, SP, PK, ID           96:23         97:3           R,C
98:13        98:16       R, V, PK, SP
100:1        100: 11     R, SP, PK
100:12       101 :9      R, SP, PK
102:21       102:24      ID,R,V                     102:9         102: 11        F, PK, Spec             101:18       101 :21    M; NE; F;   SP; PK
                                                    102:14        102:17                                 101 :25      102:5      M; NE; F;   SP; PK
                                                    102:25        103:3                                  203:2        203:22     1002; R
103:8        104:1        ID, R, V, SP              103:5         103:7          F, PK, Spec             101:18       101 :21    M; NE; F;   SP; PK
                                                    102:25        103:3                                  101 :25      102:5      M; NE; F;   SP; PK
                                                                                                         203:2        203:22     1002; R
104:17       104:22       R, SP
104:23       105:4        SP, PK, NE, LD, F
105:5        105:12       NE, LD, R, LC, F
105: 13      106:1        F,PK,R
106:3        106:8        ID, V, SP                 106:9         106:9



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                                         Eagle View Technolo~ies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                    Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                         Plaintiff's Affirmative Designations

                                                          Magnus Olson (December 1, 2017)

      Plaintiff's             Defendants'           Defendants' Counter-        Plaintiff's Objections    Plaintiff's Counter-        Defendants'
     Designations             Objections                Designations               to Defendants'        Counter Designations        Objections to
                                                                                Counter-Designations                              Plaintiff's Counter-
Line Start   Line End                               Line Start   Line End                                Line Start   Line End   Counter Designations
106: 10      106: 15     ID, V, SP                  106:9        106:9
106:18       106:24      SP, F, PK, V
106:25       107:3       SP,F,NE,LD
108:5        108:7       ID, SP, V                  108:8        108:11         R
108:13       109:22      ID, PK                     108:8        108: 11        R, C, PK, Spec
                                                    109:25       110:3
                                                    110:6        110:24
111 :2       111:19      ID, SP, PK, V              110:6        110:24         R, C, PK, Spec
114:2        114:14      NR,V, Cmpd, SP, NE.
                         LD,LC
115:4        115:13      ID, SP, PK, V              116:4        116:22                                  203:2        203:22     1002; R
115:14       116:3       ID, V, SP, PK              116:4        116:22                                  203:2        203:22     1002; R
116:23       117: 1      ID, SP, PK, V              116:4        116:22                                  203:2        203:22     1002; R
117:2        117:5       ID, SP, PK, V              116:4        116:22                                  203:2        203:22     1002; R
117:17       117:20      ID, PK, V, NR              118:23       119: 10        R,C                      119: 11      119: 12    IC; SP; PK
118:7        118:22      ID,R                       118:23       119: 10        R,C                      119:16       119:23     IC; SP; PK
119:25       120:17      IP, SP, F, PK, V           118:23       119:10         R,C                      119: 16      119:23     IC; SP; PK
120: 18      121 :4      IP, SP, F, PK, NE.         118:23       119: 10        R,C                      119: 16      119:23     IC; SP; PK
                         LD,LC
121 :5       121:12      IP, SP, F, PK, LC, NR      118:23       119: 10        R,C                      119:16       119:23     IC; SP; PK
121:13       121:16      IP, SP, F, PK, LC          118:23       119:10         R,C                      119: 16      119:23     IC; SP; PK
                                                    121:17       121 :21
121 :22      123:4       IP, SP, F, PK              118:23       119: 10        R, C, F, PK, Spec        119:16       119:23     IC; SP; PK
                                                    123:5        123:23



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                                         Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                    Case No. l 5-cv-07025 (RBK/JS) (Dist. NJ.)

                                                         Plaintiff's Affirmative Designations

                                                         Magnus Olson (December 1, 2017)

     Plaintiff's              Defendants'           Defendants' Counter-        Plaintiff's Objections    Plaintiff's Counter-        Defendants'
    Designations              Objections                Designations               to Defendants'        Counter Designations        Objections to
                                                                                Counter-Designations                              Plaintiff's Counter-
Line Start   Line End                               Line Start   Line End                                Line Start   Line End   Counter Designations
123:25       124:8       ID,A,PK,NT                 124:9        124: 10        R, F, PK, Spec
                                                    128:19       130:18
                                                    138:21       138:24
                                                    139:2        139:8
124: 15      124:18      ID, PK, SP                 124:9        124:10         R, F, PK, Spec
                                                    128: 19      130:18
                                                    138:21       138:24
                                                    139:2        139:8
124:22       125:9       ID, SP, F, PK              128: 19      130:18         R, F, PK, Spec
                                                    138:21       138:24
                                                    139:2        139:8
125: 12      125:24      ID, SP, F, PK              123:5        123:23         R, F, PK, Spec
                                                    128:19       130: 18
                                                    138:21       138:24
                                                    139:2        139:8
126:14       126:18      ID, R                      123:5        123:23         F, PK, Spec
126: 19      126:23      ID, V, SP, PK              123:5        123:23         R, F, PK, Spec
                                                    128:19       130:18
                                                    138:21       138:24
                                                    139:2        139:8
127:2        127:9       ID, SP, F, PK              123:5        123:23         R, F, PK, Spec
                                                    128: 19      130:18
                                                    138:21       138:24
                                                    139:2        139:8
127:10       127:18       ID, V, SP, LF, NR         123:5        123:23         R, F, PK, Spec


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                                         Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                    Case No. l 5-cv-07025 (RBK/JS) (Dist. N.J.)

                                                         Plaintiff's Affirmative Designations

                                                          Magnus Olson (December 1, 2017)

     Plaintiffs              Defendants'            Defendants' Counter-        Plaintiffs Objections    Plaintiffs Counter-        Defendants'
    Designations             Objections                 Designations               to Defendants'       Counter Designations        Objections to
                                                                                Counter-Designations                             Plaintiffs Counter-
Line Start   Line End                               Line Start   Line End                               Line Start   Line End   Counter Designations
                                                    128:19       130:18
                                                    138:21       138:24
                                                    139:2        139:8
127:19       128:12      ID, SP, LF, SP, PK         123:5        123:23         R, F, PK, Spec
                                                    128:19       130:18
                                                    138:21       138:24
                                                    139:2        139:8
130:19       131:10      ID, V, SP, PK              128:19       130:18         R, F, PK, Spec          132:15       132: 18    F; SP; PK
                                                    132:2        132:4
                                                    132:7        132:7
                                                    138:21       138:24
                                                    139:2        139:8
134:15       134: 18     ID, R, V, SP, LF, PK       123:5        123:23         F, PK, Spec
134:24       136:4       ID, R, V, SP, LF, PK       123:5        123:23         F, PK, Spec
136:5        136:18      R, V, SP, LF, PK, ID       128: 19      130:18         R, F, PK, Spec
                                                    138:21       138:24
                                                    139:2        139:8
139:10       139:12      SP, PK, ID                 128: 19      130:18         R, F, PK, Spec
                                                    138:21       138:24
                                                    139:2        139:8
139:16       139:17      SP, PK, ID                 128:19       130:18         R, F, PK, Spec
                                                    138:21       138:24
                                                    139:2        139:8
139:18       139:20      SP, PK, ID                 128: 19      130:18         R, F, PK, Spec
                                                    138:21       138:24


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                                      Eagle View Technolof{ies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                 Case No. I 5-cv-07025 (RBK/JS) (Dist. N.J.)

                                                      Plaintiff's Affirmative Designations

                                                       Magnus Olson (December 1, 2017)

      Plaintiff's            Defendants'         Defendants' Counter-         Plaintiffs Objections    Plaintiffs Counter-        Defendants'
     Designations            Objections              Designations                to Defendants'       Counter Designations        Objections to
                                                                              Counter-Designations                             Plaintiffs Counter-
Line Start   Line End                            Line Start   Line End                                Line Start   Line End   Counter Designations
                                                 139:2        139:8
139:24       140:16      SP, PK, ID              128:19       130:18          R, F, PK, Spec
                                                 138:21       138:24
                                                 139:2        139:8
141 :1       141 :4      ID, R                   138:21       138:24          R,C
                                                 139:2        139:8
                                                 140: 19      140:25
                                                 142: 16      142:19
                                                 142:22       142:24
143:2        143:3       SP, PK, ID, H           138:21       138:24
                                                 139:2        139:8
                                                 142:16       142:19
                                                 142:22       142:24
143:5        143:5       SP, PK, ID, H           138:21       138:24
                                                 139:2        139:8
                                                 142:16       142:19
                                                 142:22       142:24
146:9        146: 18     SP,V,R                  147:1        147:5
149:11       149:12      ID, SP, V               138:21       138:24
                                                 139:2        139:8
                                                 142: 16      142: 19
                                                 142:22       I 42:24
149: 17      150:3       ID, PK, SP, V           138:21       138:24
                                                 139:2        139:8
                                                 142: 16      I 42: 19


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                                      Eagle View Technolo;;ies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                 Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                      Plaintiff's Affirmative Designations

                                                       Magnus Olson (December 1, 2017)

     Plaintiff's             Defendants'         Defendants' Counter-         Plaintiff's Objections    Plaintiff's Counter-        Defendants'
    Designations             Objections             Designations                 to Defendants'        Counter Designations        Objections to
                                                                              Counter-Designations                              Plaintiff's Counter-
Line Start   Line End                            Line Start   Line End                                 Line Start   Line End   Counter Designations
                                                 142:22       142:24
150:19       150:23      SP, V, PK
150:24       151 :2      M, SP, PK
151 :6       151:16      M, SP, PK
153:22       154:1       R
154:22       154:24      PK,NT
155:2        155:24      PK, ID, NT, SP          156: 17      156:24          R                        156:8        156: 11    F;   SP;   PK;   1002
                                                                                                       156:14       156: 15    F;   SP;   PK;   1002
156:2        156:7       SP, PK, ID, SP          156: 17      156:24          R                        156:8        156:11     F;   SP;   PK;   l 002
                                                                                                       156: 14      156:15     F;   SP;   PK;   1002
156:25       157:21      SP, PK, ID              138:21       138:24          R,C
                                                 139:2        139:8
                                                 142:16       142:19
                                                 142:22       142:24
                                                 161:16       161 :23
                                                 162:3        162: 11
157:22       157:25      ID, SP, PK              138:21       138:24          R,C
                                                 139:2        139:8
                                                 142:16       142:19
                                                 142:22       142:24
                                                 161 :16      161 :23
                                                 162:3        162: 11
158:5        158:13      ID, SP, PK              138:21       138:24          R,C
                                                 139:2        139:8
                                                 142:16       142: 19


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                                       Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                  Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                       Plaintiff's Affirmative Designations

                                                        Magnus Olson (December 1, 2017)

     Plaintiff's              Defendants'         Defendants' Counter-        Plaintiff's Objections    Plaintiff's Counter-       Defendants'
    Designations              Objections              Designations               to Defendants'        Counter Designations        Objections to
                                                                              Counter-Designations                              Plaintiff's Counter-
Line Start   Line End                             Line Start   Line End                                Line Start   Line End   Counter Designations
                                                  142:22       142:24
                                                  161 :I 6     I 61 :23
                                                  162:3        162: 11
159:9        159:11      ID,M,PK                  138:21       138:24         R,C
                                                  139:2        I 39:8
                                                  142:16       142:19
                                                  I 42:22      142:24
                                                  I 61 :16     161 :23
                                                  162:3        162: 1 I
159: 14      159:22      ID, M, PK                138:21       138:24         R,C
                                                  139:2        139:8
                                                  142:16       142:19
                                                  142:22       142:24
                                                  161: I 6     161 :23
                                                  162:3        162: 11
160:2        160:7        SP,PK
160:8        161 :7       SP,PK
161 :8       161:10       ID, SP, PK              138:21       138:24         R,C
                                                  139:2        139:8
                                                  142: 16      142:19
                                                  142:22       142:24
                                                  161:16       161 :23
                                                  162:3        162: 11
161 :14      161:15       TD, SP, PK              138:21       138:24         R,C
                                                  139:2        139:8


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                                     Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                     Plaintiff's Affirmative Designations

                                                      Magnus Olson (December 1, 2017)

     Plaintiff's             Defendants'        Defendants' Counter-        Plaintiff's Objections    Plaintiff's Counter-        Defendants'
    Designations             Objections             Designations               to Defendants'        Counter Designations        Objections to
                                                                            Counter-Designations                              Plaintiff's Counter-
Line Start   Line End                           Line Start   Line End                                Line Start   Line End   Counter Designations
                                                142:16       142:19
                                                142:22       142:24
                                                161 :16      161 :23
                                                162:3        162:11
162:22       162:24      ID, SP, PK, M          138:21       138:24         R,C
                                                139:2        139:8
                                                142:16       142:19
                                                142:22       142:24
                                                161 :16      161 :23
                                                162:3        162: 11
163:2        163:2       ID, SP, PK, M          138:21       138:24         R,C
                                                139:2        139:8
                                                142:16       142:19
                                                142:22       142:24
                                                161 :16      161 :23
                                                162:3        162: 11
163:4        163: 17     ID, SP, PK,M           138:21       138:24         R,C
                                                139:2        139:8
                                                142:16       142:19
                                                142:22       142:24
                                                161: 16      161 :23
                                                162:3        162: 11
163:21       163 :21     ID, SP, PK, M          138:21       138:24         R,C
                                                139:2        139:8
                                                142: 16      142:19


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                                          Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                     Case No. l 5-cv-07025 (RBK/JS) (Dist. N.J.)

                                                          Plaintiff's Affirmative Designations

                                                           Magnus Olson (December 1, 2017)
I
         Plaintiff's             Defendants'         Defendants' Counter-         Plaintiff's Objections    Plaintiff's Counter-       Defendants'
        Designations             Objections              Designations                to Defendants'        Counter Designations        Objections to
                                                                                  Counter-Designations                              Plaintiff's Counter-
    Line Start   Line End                            Line Start   Line End                                 Line Start   Line End   Counter Designations
                                                     142:22       142:24
                                                     161:16       161:23
                                                     162:3        162:11
    164:13       164:19      PK, SP, NR
    172:17       173:5       F,LD
    173:16       174:6       R,PK
    174:7        174:16      P,PK
    180:6        180:10      ID, PK, NT              180: 11      180:14
    180:15       181 :15     ID,PK                   180: 11      180:14
    183: 16      184:9       SP, PK, ID, MD          123:5        123:23       F, PK, Spec                 181 :16      182: 12    V; F; SP
                                                     182: 19      183:15                                   203:2        203:22     1002: R
    184: 10      185: 19     SP, ID, R
    185:20       185:24      SP,PK,R,MD              185:25       186:12       C                           181:16       182:12     V;F; SP
                                                                                                           186:19       187:17     1002; R
    186:13       186: 18     SP, PK, Cmpd            185:25       186:12       C                           181:16       182:12     V;F; SP
                                                                                                           186: 19      187:17     1002: R
                                                                                                           203:2        203:22     1002; R
    188:5        188:14      NT,ID
    188:19       188:22      1002, R
    189: 15      190:3       ID, SP, PK              190:11       190:12       R
                                                     190: 16      190:16
                                                     196: 15      196:22
    190:5        190:10      ID, SP, PK              190: 11      190:12       R
                                                     190: 16      190: 16
                                                     196: 15      196:22


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                                          Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                     Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                          Plaintiff's Affirmative Designations

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                                                           ···-::;,;:::.:~ ....,.~vu \Ut:l:t:IIlOCr
I
         Plaintiff's             Defendants'         Defendants' Counter-               Plaintiff's Objections      Plaintiff's Counter-       Defendants'
        Designations             Objections              Designations                      to Defendants'          Counter Designations        Objections to
                                                                                        Counter-Designations                                Plaintiff's Counter-
    Line Start   Line End                            Line Start      Line End                                      Line Start   Line End   Counter Designations
    191 :25      192:3       ID,PK                   192:4           192:5              R,C
    192:6        192: 13     ID, PK, SP              192:4           192:5              R,C
    193:7        193:14      PK, ID                  196: 15         196:22             IC, F, PK, Spec
    193:23       194:1       SP, PK, ID              196:15          196:22             IC, F, PK, Spec
    200:1        200:6       R
    200:7        200:11      R, SP
    200:20       200:22      R                       200:25         201 :5              C
    204:23       205:5       ID, SP, NR              84:17          84:21               R, C, PK, Spec             206:13       206:17     F; NE; SP
                                                     85:6           85:15
                                                     110:6          110:24
                                                     205:14         205:20
                                                     205:24         206:11
    205:6        205:13      ID,M                    84:17          84:21               R, C, PK, Spec             206:13       206:17     F; NE; SP
                                                     85:6           85:15
                                                     110:6          110:24
                                                     205:14         205:20
                                                     205:24         206:11
    208:2        208:10      R, V, SP, PK
    208:13       208:22      R, V, SP, PK
    209:2        209:18      R, V, SP, PK, ID        208:1          208:10              C
                                                     208:13         208:15
    209:19       209:25      R, V, SP, PK, ID        208:1          208:10              C
                                                     208:13         208:15
                                                     210:5          210:6
                                                     210:10         210:10


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                                            Eagle View Technologies, inc. et al. v. Xactware Solutions, Inc. et. al.
                                                       Case No. 15-cv-07025 (RBK/JS) (Dist. NJ.)

                                                            Plaintiff's Affirmative Designations
                                                                                                          -~
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I
          Plaintiffs              Defendants'          Defendants' Counter-          Plaintiffs Objections      Plaintiffs Counter-        Defendants'
         Designations             Objections              Designations                  to Defendants'         Counter Designations        Objections to
                                                                                     Counter-Designations                               Plaintiffs Counter-
    Line Start   Line End                              Line Start   Line End                                   Line Start   Line End   Counter Designations
    210:24       211 :2      R, V, SP, PK, JD          208:1        208:10
                                                       208:13       208:15
    211 :4       211:15      R, V, SP, PK, JD          208:1        208:10
                                                       208:13       208:15
    212:8        212:18      SP, Cmpd, V, SP
    220:25       221:2       PK, ID, LC, SP            221:3        221:7          R,P
    228:15       228:20      R, ID, LC, SP             229:5        229:7          IC, R, P, ML, F, Spec,      228:24       229:l      IC; F; V; SP;
                                                       238:15       239:25         LC, 701                                             Incomplete
                                                                                                                                       hypothetical
    233:17       233:22      LC,NT
    234:8        234:14      LC, ID, 1002              234:15       235:2          R, C, P, ML, F, Spec,
                                                                                   LC, 701
    235:3        236:12      LC, ID, SP, PK, H         234: 15      235:2          R, C, P, ML, F, Spec,
                                                       236: 13      240:8          LC, 701
    240:9        240:15      LC,ID                     240:16       240:25         R, P, F, PK, Spec, ML       240:25       241 :8     1002; P; R
                                                       241: 18      241 :19
                                                       241:21       241:23
    242:6        242:24      LD, ID, SP, PK            240:16       240:25         R, P, F, PK, Spec, ML       240:25       241:8      1002: P; R
                                                       241 :18      241: 19
                                                       241 :21      241:23
    243:22       244:4       LC,ID                     244:9        245:1          R, P, F, Spec
                                                       246:9        246:12
                                                       246:15       246:19
    244:5        244:8       LC, ID                    244:9        245:1          R, P, F, Spec
                                                       246:9        246:12


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                                          Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                     Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                          Plaintiff's Affirmative Designations

I                                                          Iviagnus Utson (December 1, 2017)

         Plaintiff's              Defendants'        Defendants' Counter-         Plaintiff's Objections    Plaintiff's Counter-       Defendants'
        Designations              Objections            Designations                 to Defendants'        Counter Designations        Objections to
                                                                                  Counter-Designations                              Plaintiff's Counter-
    Line Start   Line End                            Line Start   Line End                                 Line Start   Line End   Counter Designations
                                                     246:15       246:19
    245:19       246:8       SP, PK, ID              244:9        245:1        R, P, F, Spec
                                                     246:9        246:12
                                                     246:15       246:19
    247:16       247:18      SP, PK, ID, LC          247:9        247:13       ML
    247:22       247:23      SP, PK, ID, LC
    260:17       260:24      NT,R
    261 :1       261 :13
    263:16       265:13      R,P,ID                  57:3         58:3         R, C, F, PK, Spec
                                                     265: 14      266:1
                                                     266:14       267:11
                                                     284:15       284:21
    266:2        266:13      R,P, ID                 57:3         58:3         R, C, F, PK, Spec,
                                                     265:14       266:1        AT,ML
                                                     266:14       267:11
                                                     284: 15      284:21
    280:18       281 :8      R, P, ID                57:3         58:3         R, C, F, PK, Spec,
                                                     265:14       266:1        AT,ML
                                                     266:14       267:11
                                                     284:15       284:21
    281 :11      281: 12     R,P, ID                 57:3         58:3         R, C, F, PK, Spec,
                                                     265:14       266:1        AT,ML
                                                     266:14       267:11
                                                     284: 15      284:21
    281: 14      281 :16     R,P, ID                 57:3         58:3            R, C, F, PK, Spec,


                                                                             13
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                                           Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                      Case No. 15-cv-07025 (RBK/JS) (Dist. NJ.)

                                                           Plaintiffs Affirmative Designations
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I                                                           ·- ---,,,---~   '--'•'3VU




          Plaintiff's            Defendants'          Defendants' Counter-                      Plaintiff's Objections    Plaintiff's Counter-        Defendants'
         Designations            Objections              Designations                              to Defendants'        Counter Designations        Objections to
                                                                                                Counter-Designations                              Plaintiff's Counter-
    Line Start   Line End                             Line Start      Line End                                           Line Start   Line End   Counter Designations
                                                      265:14          266:1                   AT,ML
                                                      266:14          267:11
                                                      284: 15         284:21
    281 :] 8     281: 19     R,P,ID                   57:3            58:3                    R, C, F, PK, Spec,
                                                      265:14          266:l                   AT,ML
                                                      266:14          267: 11
                                                      284:15          284:21
    281 :21      282:2       R,P, ID                  57:3            58:3                    R, C, F, PK, Spec,
                                                      265: 14         266:1                   AT,ML
                                                      266:14          267:11
                                                      284:15          284:21
    282:4        282:8       R, P,ID                  57:3            58:3                    R, C, F, PK, Spec,
                                                      265:14          266:1                   AT,ML
                                                      266:14          267:] 1
                                                      284:15          284:21
    284:22       285:3       R, P,ID                  284:15          285:21                  R, C, AT, MIL
    291 :5       291 :14     ID, NT, R                291:24          292:4
    291: 18      291 :23     ID, SP, PK, LD           291:24          292:4
    292:5        293:6       ID, SP, PK, LD           291 :24         292:4
                                                      294: 17         295:5
    293:13       293:25      ID, 1002, R              294:17          295:5
    302:13       302:17      NT
    302:20       303:6       SP, NR, R
    303:7        303:10      R,P,SP
    303:]4       304:4       R,P


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                                          Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                     Case No. 15-cv-07025 (RBK/JS) (Dist. NJ.)

                                                          Plaintifrs Affirmative Designations
                                                                                                              -~
                                                          Ma~nu~ 0!~:::= {D;;~~ttii.lt:.- J., 2Ui 7J
I
         Plaintiff's             Defendants'         Defendants' Counter-          Plaintiff's Objections    Plaintiff's Counter-       Defendants'
        Designations             Objections             Designations                  to Defendants'        Counter Designations        Objections to
                                                                                   Counter-Designations                              Plaintiff's Counter-
    Line Start   Line End                            Line Start   Line End                                  Line Start   Line End   Counter Designations
    304:7        304:17      R, P, SD, PK, H
    305:9        305:18      R,P
    305:19       306:5       R, P, SP, PK
    306:24       307:10      R,P
    307:11       307:13      R,P
    307:14       308:11      R,P
    308:16       308:19      R,P
    308:22       308:25      R,P
    309:2        309:13      R,P,SP
    309:20       309:25      R,P
    310:1        310:8       R,P,SP,V
    310:11       310: 11     R,P
    312:22       313:1       NT
    313:8        314:9




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                                            Eagle View Technologies, Inc. et al. v. Xactware Solutions, inc. et. al.
                                                       Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                              Plaintiff's Affirmative Designations
                                                                                                                                            --
                                                               Jason Pawlik (Decemh~r ~, 2!}!7)
I
            Plaintiff's            Defendants'         Defendants' Counter-      Plaintiff's Objections      Plaintiff's Counter-       Defendants'
           Designations            Objections              Designations             to Defendants'          Counter Designations        Objections to
                                                                                 Counter-Designations                                Plaintiff's Counter-
    Line Start    Line End                             Line Start    Line End                              Line Start   Line End    Counter Designations
    5:8           5:13
    7:4           7:11                                 7:15          7:17                                  7:18         8:7         R,V
    22:5          22:15       ID                       22:16         22:19                                 23:11        23:12
                                                       23:8          23:10
    27:7          27:12       ID, V,F                  27:2          27:4                                  26:21        27:1
    28:5          28:13       ID
    29:6          29:25       SP,R
    30:12         30:17       ID                       30:18         30:23
    30:24         31 :2       V,PK,R
    33:23         34:1        ID, V, Cmpd
    34:11         35:5        V,ID                     35:6          35:14                                 35:25        36:1        V, NE, IC
                                                                                                           36:3         36:3        V, NE, IC
                                                                                                           36:5         36:6        IC
    47:25         48:15       ID, PK, F, A, SP, H,     48:19         48:21                                 48:25        49:6        IC,R
                              1002                                                                         48:17        48:17       R
    52:16         52:19       ID, PK, F, A, R          52:20         52:21                                 52:22        53:4        R,MD
                                                                                                           53:4         54:9        AT,R
    53:16         53:18       D, PK, F, A, SP, R       52:20         52:21                                 52:22        53:4        R,MD
                                                                                                           53:4         54:9        AT,R
    54:25         55:5                                 54:12         54:24       AT
    62:22         62:25       ID, PK, F                62:13         62:21       IC, P, R, In              63:1         63:3
    63:6          63:12       PK, F, SP, R, Cmpd
    70:1          70:7        ID, PK, SP, F, V, R      69:12         69:25       R,P
    86:12         86:15       ID, PK, SP, F, A,        85:17         86:3        p
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                                            Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                       Case No. l 5-cv-07025 (RBK/JS) (Dist. N.J.)

                                                            Plaintiff's Affirmative Designations

                                                               Jason Pawlik (December 5, 2017)
I
            Plaintiffs              Defendants'        Defendants' Counter-        Plaintiffs Objections    Plaintiffs Counter-        Defendants'
           Designations             Objections            Designations                to Defendants'       Counter Designations        Objections to
                                                                                   Counter-Designations                             Plaintiffs Counter-
    Line Start    Line End                             Line Start   Line End                               Line Start   Line End   Counter Designations
                               Cmpd                    86:4         86:8
                                                       86:10        86:10
    91 :21        91 :24      ID, A, 1002              39:6         39:20          AT
                                                       92:8         92:25
                                                       93:14        93:18
    95:15         96:2                                 39:6         39:20          AT
                                                       92:8         92:25
                                                       93:14        93:18
                                                       96:3         96:8
    96:9          96:11        ID, F, V
    97:5          97:16        ID, PK, F, A, Cmpd,
                               SP
    97:18         98:10        V, ID, PK, SP, F, A,
                               Cmpd
    99:18         99:25        ID, V, F, SP, PK        99:12        99:17
    111: 13       111 :21      1002
    112:7         112:22       NR, PK, H, 1002
    113:3         113:12       ID, V, H, R, F, 1002    113:25       114:19                                 113:13       113: 15    M,R
                                                                                                           113:18       113:18     R
                                                                                                           114:20       115:4      R
    115 :25       116:2        V,ID                    115:12       115 :24
    118:20        119:2        ID, F, H, 1002
    120:24        121 :2       ID, M, H, V, F, 1002    120:] 6      120:17         R, P, In                120: 12      120:13     MD,IC
                                                       120:20       120:22



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                                          Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                     Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                          Plaintiff's Affirmative Designations

                                                             Jason Pawlik (DecemhPr" '201'7'\

      Plaintiff's             Defendants'            Defendants' Counter-        Plaintiff's Objections    Plaintiff's Counter-        Defendants'
     Designations             Objections                 Designations               to Defendants'        Counter Designations        Objections to
                                                                                 Counter-Designations                              Plaintiff's Counter-
Line Start   Line End                                Line Start   Line End                                Line Start   Line End   Counter Designations
121 :5       121 :8       1002, H, V, F              120:16       120:17         R, P, In                 120:12       120:13     MD,IC
                                                     120:20       120:22
121 :15      121:17                                  121 :24      122:15                                  122:20       122:24
122:16       122:19       H; 1002                    126:10       127:2          H                        127:6        127:10     IC, V,R,PK
123:7        123:12       ID; 1002; H; V             126:10       127:2          H                        127:6        127:10     IC, V, R, PK
124:1        124:4        H; 1002; V; Cmpd;          124:5        124:9                                   123:13       123:21     JC, V, H, 1002
                          PK
124: 10      124:22       ID; V; H; 1002; F          126:10       127:2          H                        127:6        127:10     IC, V, R, PK
127:14       127:16       1002, H, V, F
129:10       130:11       ID, R, PK, SP, V, LD       130:12       130:13
                                                     130: 15      130:24
                                                     131: 1       131 :5
                                                     131 :7       131 :8
                                                     131:15       131:17
131:19       132:3        JD, 1002, H, LD            130:21       131 :5
                                                     131 :7       131 :8
                                                     131:15       131:17
                                                     133:20       134:10
134: 11      134:13       ID, V, MD, H, 1002,
                          LD,P,F
134:17       134:19       ID, V, MD, H, 1002,
                          LD,P,F
134:21       136:8        SP, PK, V, H, MD, M,       39:11        39:20          IC, P, R
                          LD, Arg, ID



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                                       Eagle View Technologies. Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                  Case No. I 5-cv-07025 (RBK/JS) (Dist. N.J.)

                                                        Plaintiff's Affirmative Designations

                                                         Jason Pawlik (December 5. 2017)

     Plaintiff's               Defendants'         Defendants' Counter-        Plaintiff's Objections    Plaintiff's Counter-        Defendants'
    Designations               Objections              Designations               to Defendants'        Counter Designations        Objections to
                                                                               Counter-Designations                              Plaintiff's Counter-
Line Start   Line End                              Line Start   Line End                                Line Start   Line End   Counter Designations
137:12       139:2       ID, V, I 002, H, LD, R
139:15       139:18      ID, F, SP, LD, PK, V,
                         R
139:20       139:21      ID, F, SP, LD, PK, V,
                         R
140:1        141 :3      1002, H, PK, LD, SP,      126:10       127:2          IC                       127:6        127:10     IC, V, R, PK
                         R,V
141 :7       141 :14     ID, LD, SP, PK, V
141 :25      143:2       ID, PK, SP, R, V          143:3        143:6          AT
                                                   143:11       143:14
                                                   143: 16      143: 19
144: 10      144:14       ID, SP, PK, F, A         144: 15      144:17
144: 18      144:24       F, A, 1002, H, PK        144:15       144: 17
147:21       147:24
148: 16      148:21       H, 1002, ID, PK, F, A    148:22       148:25         P,R                      149:1        149:6      IC, R, 1002, PK
149:7        149:10       ID, A, 1002, H, SP,      148:22       148:25         P,R                      149:1        149:6      IC, R, I 002, PK
                          PK
149:13       149:16       F, A, 1002, PK, SP       148:22       148:25         P,R                      149:1        149:6      IC, R, 1002, PK
150:18       151 :7       1002, H, A, F
153:6        153:20       ID, PK, F, A             153:1        153:5          IN,R, P                  152:17       152:24     R, 1002, V
                                                   153:25       154:1                                   152:25       152:25     IC
153:22       153:22                                153:1        153:5          IN,R, P                  152:17       152:24     R, 1002, V
                                                   153:25       154:1                                   152:25       152:25     IC
154:7        154: 17      F, A, 1002, H, SP, ID,   153:25       154:1          IN,R,P,NR



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                                           Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                      Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                            Plaintiff's Affirmative Designations

                                                                Jason Pawlik (December 5, 2017)
:
         Plaintiffs                Defendants'         Defendants' Counter-         Plaintiffs Objections    Plaintiffs Counter-        Defendants'
        Designations               Objections              Designations                to Defendants'       Counter Designations        Objections to
                                                                                    Counter-Designations                             Plaintiffs Counter-
    Line Start   Line End                              Line Start    Line End                               Line Start   Line End   Counter Designations
                              PK,M,MD
    154:20       154:20
    154:23       155:1        ID, PK, F, A             155:2         155:4
    155:5        155:9        F, A, ID, PK, 1002, H    155:2         155:4
    156:7        156:17       ID, PK, F, A, 1002, H,
                              SP
    156:22       157:4        ID, PK, SP, 1002, H,     157:6         157:6
                              F,A
    157:7        157:7        PK, SP, 1002, H, F, A,   157:6         157:6
                              ID
    169:3        169:14       JD, R, Cmpd, V, R        168:24        169:2
    169:16       169: 18
    181:13       181:18       ID, M, V, PK, Cmpd       181 :9        181:12
    181 :20      181 :21
    182: 12      182:15       ID, F, SP, PK, V         182: 16       182: 18        F, Spec, PK
                                                       182:20        182:20




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                                             Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                        Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)         ·

                                                             Plaintiff's Affirmative Designations

                                                                Jeff Taylor (October 26, 2017)
'
          Plaintiffs                Defendants'         Defendants' Counter-        Plaintiffs Objections     Plaintiffs Counter-       Defendants'
         Designations               Objections             Designations                to Defendants'        Counter Designations       Objections to
                                                                                    Counter-Designations                             Plaintiffs Counter-
    Line Start   Line End                               Line Start   Line End                               Line Start   Line End   Counter Designations
    8:12         8:15
    14:8         14:16
    15:12        15:20
    16:22        17:16
    19:5         19:10
    20:5         20:6        R,BST
    20:8         20:19       R,BST
    21 :23       22:2
    26:1         26:2         R,M
    26:4         26:6         R,M
    26:18        26:25        R,M
    27:2         27:3         R                         30:13        30:14
                                                        30:20        30:24
    27:15        27:17        R
    36:23        37:5         R
    37:23        38:2         R,LD
    38:4         38:9         R,F,
    38:10        38:21        R, F, SP, PK
    38:22        38:25        R, F, SP, PK
    39:2         39:8         R,F,                      40:3         40:5           P,R                     40:12        40:24      R, M,F, PK
                                                        40:8         40:11                                  43:3         43:10      R,M,F,PK
                                                        42:15        43:2
    45:1         45:22        R,F,                      45:23        46:22                                  47:13        48:4       R,M,F,PK
    58:20        58:21        R,F,NR                    59:3         59:24                                  59:25        60:10      R,M,F,H


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                                             Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                        Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                               Plaintiff's Affirmative Designations

                                                                 Jeff Taylor (October 26, 2017)
;




            Plaintiff's              Defendants'        Defendants' Counter-         Plaintiff's Objections    Plaintiff's Counter-       Defendants'
           Designations              Objections             Designations                to Defendants'        Counter Designations        Objections to
                                                                                     Counter-Designations                              Plaintiff's Counter-
    Line Start    Line End                              Line Start    Line End                                Line Start   Line End   Counter Designations
                                                                                                              86:3         86:9       R,M,F
                                                                                                              86:11        86:13      R,M,F
    58:23         59:2         R,F,NR                   59:3          59:24                                   59:25        60:10      R, M,F, PK
                                                                                                              86:3         86:9       R,M,F,PK
                                                                                                              86: 11       86:13      R,M,F,PK
    76:2          77:5         R, 1002, NT, H
    83:15         83:22
    83:24         83:25
    92:18         92:23        R,F,LD                   92:24         93:7                                    95:16        95:25      R,M,F
                                                        95:6          95:13
                                                        97:6          97:8
                                                        97:10         97:14
    93:8          94:13        R,F,LD                   92:24         93:7           P,R                      95:16        95:25      R,M,F
                                                        95:6          95:13
                                                        97:6          97:8
                                                        97:10         97:14
    97:16         97:25        R,F                      98:1          98:25          P,R                      95:16        95:25      R,M,F
                                                        95:6          95:13                                   99:1         99:5       R,M,F
                                                        97:6          97:8
                                                        97:10         97:14

    103:24        104:5        R, NR, 1002
    104:23        105:18       R, NR, 1002
    106:4         106:7        R                        106:8         107:5          P,R                      108:5        108:10     R,M,F


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                                           Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                      Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                           Plaintiff's Affirmative Designations

                                                                Jeff Taylor (October 26, 2017)
;



         Plaintiff's               Defendants'        Defendants' Counter-         Plaintiff's Objections    Plaintiff's Counter-        Defendants'
        Designations               Objections            Designations                 to Defendants'        Counter Designations        Objections to
                                                                                   Counter-Designations                              Plaintiff's Counter-
    Line Start   Line End                             Line Start    Line End                                Line Start   Line End   Counter Designations
                                                      107:7         108:4                                   108:22       109:1      R,M,F
    108:13       108:16      R                        109:31        109:21         P,R,NR                                           R,M,F
    110: 19      110:22      R                        110:23        111:14         P, R, NR, 0, LF, L,      111:15       111 :22    R, M, F,PK
                                                      111 :25       112:2          701, PK
                                                      112:4         112:13
    113:12       113 :21     R, H, F, PK, SP, NR      113:22        114:2
    114:19       114:22      R,H,F,PK
    114:23       115:8       R,H,F,PK
    115:12       116: 1      R, H, F, PK
    121 :24      122:5       R, F, PK, 1002
    122:12       122:17      R, F, PK, 1002
    122:24       123:7       R, F, NT, 1002           124:8         124:16         P, R, IC, ML
                                                      124:21        125:3
                                                      126:13        127:3
    123: 10      124:7       R, F, NT, 1002           124:8         124:16         P, R, IC, ML
                                                      124:21        125:3
                                                      126:13        127:3
    132: 13      133:8       R                        133:9         133:17         L                        133:18       133:23     R,M,F, PK
                                                                                                            134:1        134:1      R,M,F,PK
                                                                                                            134:3        134:7      R, M,F, PK
    137:13       137:19      R,   ID                  137: 10       137:12
    137:20       137:21      R,   ID                  137:10        137:12
    137:23       137:24      R,   ID                  137:10        137:12
    138:1        138:14      R,   ID                  137:10        137:12


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                                             Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                        Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                             Plaintiff's Affirmative Designations

                                                                  Jeff Taylor (October 26, 2017)
;


         Plaintiff's              Defendants'           Defendants' Counter-         Plaintiff's Objections    Plaintiff's Counter-       Defendants'
        Designations              Objections                Designations                to Defendants'        Counter Designations        Objections to
                                                                                     Counter-Designations                              Plaintiff's Counter-
    Line Start   Line End                               Line Start    Line End                                Line Start   Line End   Counter Designations
    138:15       138:20      R, ID                      137:10        137:12
    140:8        140:17      R,F                        138:21        138:22         NR,IC                    140:22       141 :3     R,M, F,PK
                                                        138:24        139:16
                                                        139:18        140:7
                                                        140: 18       140:21
    143: 15      143:23      R,F                        142: 10       143:15         NR,L
    144: 11      144:14      R, SP                      144: 15       144:25         NR, L, LF
    149:5        149:8       R, 1002                    149:20        149:23         NR
                                                        149:25        150: 14
    149:10       149:19      R, 1002                    149:20        149:23         NR
                                                        149:25        150:14
    150:20       151:15      R, Badgering, M            149:20        149:23         NR
                                                        149:25        150:14

    155:20       157:4       R, SP, PK, F,   ID,        155:17        155:19
                             Badgering
    157:5        157:8       R, SP, PK, F,   ID,        155:17        155:19
                             Badgering
    157:10       157:11      R, SP, PK, F,   JD,        155:17        155:19
                             Badgering
    160:21       161 :2      R, SP, PK, F,   V
    161 :4       161 :5
    161:11       161 :22      R, F, SP, NT, LD,
                              Badgering


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                                                Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                            Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                                Plaintiff's Affirmative Designations

                                                                     Jeff Taylor (October 26, 2017)
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          Plaintiff's                   Defendants'        Defendants' Counter-         Plaintiff's Objections    Plaintiff's Counter-        Defendants'
         Designations                   Objections             Designations                to Defendants'        Counter Designations        Objections to
                                                                                        Counter-Designations                              Plaintiff's Counter-
    Line Start   Line End                                  Line Start    Line End                                Line Start   Line End   Counter Designations
    161 :25      162:7       R, F, SP, NT, LD,
                             Badgering
    162:9        162:19      R,F, SP                       164:4         164:25         IC,R,P
    165: 19      166:1       R, F, PK, SP                  167:13        167:24         R
    166:2        166:3       R, F, PK, SP                  167:13        167:24         R
    166:5        166:24      R, F, PK, SP                  167:13        167:24         R
    166:25       167: 12     R, F, PK, SP                  167: 13       167:24         R
    168:3        168:11      R,F
    168:12       169:1       R, F
    169:15       169:21      R, F, ID, M, LD               170: 11       170: 12        R, Spec, PK, NR, IC,
                                                           170:25        171:12         F
    169:23       170:9        R, F, ID, M, LD              170: 11       170:12
                                                           170:25        171: 12
    171: 15      171:18       R,F                          171 :22       171 :24        C,R,NR
                                                           172:1         172:8
    171 :21      171 :21      R,F                          171 :22       171 :24        C,R,NR
                                                           172: 1        172:8
    172:10       172:11       R,   F,   SP, M, NR
    172:14       172:16       R,   F,   SP, M, NR
    174:1        174:7        R,   F,   PK, SP, M          172:19        172:22         IC,NR                    173:3        173:7      IC, R, M, F
    174:8        174:10       R,   F,   PK, SP, M          172:19        172:22         IC,NR                    173:3        173:7      JC,R,M,F
    174:12       174:20       R,   F,   PK, SP, M          172: 19       172:22         JC,NR                    173:3        173:7      JC,R,M,F
    175:7        176:5        R,   F,   PK, SP, 1002
    176:11       177:5        R,   F,   PK, SP, 1002


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                                         Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                    Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                         Plaintiff's Affirmative Designations

                                                              Jeff Taylor (October 26, 2017)
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         Plaintiffs              Defendants'        Defendants' Counter-         Plaintiffs Objections    Plaintiffs Counter-        Defendants'
        Designations             Objections             Designations                to Defendants'       Counter Designations        Objections to
                                                                                 Counter-Designations                             Plaintiffs Counter-
    Line Start   Line End                           Line Start    Line End                               Line Start   Line End   Counter Designations
    177:7        177:14      R, F, PK, SP, 1002
    178:6        178:12      R, F, PK, 1002
    178:13       178:19      R, F, PK, 1002
    178:24       179:4       R, F, PK, 1002
    181 :6       181:12      R, F, 1002             181:13        181 :25        NR,P,F,R
    182: 17      183:7       R, F, SP, PK, M, LD    183:8         183:9
    196: 18      196:23      R,F                    197:20        197:25         IC, R, P                198:1        198:4      IC, R, M, F, PK
    197:4        197: 19     R,F                    197:20        197:25         IC,R,P                  198:1        198:4      IC, R, M, F, PK
    198: 15      199:2       R,F
    202:12       202:18      R,F
    205:24       206:9       R,F,                   206: 10       206:15         R,P,C
    206: 17      207:2       R,F                    206:10        206:15         R,P,C
    209: 12      211:15      R, F, PK, SP, ID       211:19        212:18         R,C
    212:19       213:12      R, F, PK, SP           211:19        212:18         R,C
    213:24       214:8       R, F, PK, SP
    215:18       216:4       R, F, PK, SP, ID       216:6         216:21         R
    216:24       217:11      R,F,SP
    217:12       217:16      R,F,SP
    217:21       218:1       R,F,SP                 218:2         218:7          C
    218:20       219:21      R,F,SP                 218:8         218:19         C
    223:3        223:24      R,F,SP
    231:2        231 :15     R, F, SP, PK
    231:18       232:1       R, F, SP, PK
    233:23       234:2       R, F, SP, PK           234:3         234:21         R,C


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                                              Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                         Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                              Plaintiff's Affirmative Designations

                                                                  Jeff Taylor (October 26, 2017)

     Plaintiff's                   Defendants'           Defendants' Counter-        Plaintiffs Objections    Plaintiffs Counter-        Defendants'
    Designations                   Objections                Designations               to Defendants'       Counter Designations        Objections to
                                                                                     Counter-Designations                             Plaintiffs Counter-
Line Start   Line End                                    Line Start   Line End                               Line Start   Line End   Counter Designations
235:2        235:23      R, F, SP, PK
235:24       236:16      R, F, SP, PK
242:3        242:14      R, F, SP, PK
263:14       264:2       R,F,PK, NR
264:16       265:2       R,F,PK
265:7        265:9       R
265:10       266:2       R
266:3        266:9       R
266:10       266:24      R
271:8        271:12      R, F, SP, PK
271 :13      271:21      R, F, SP, PK
271:22       272:1       R, F, SP, PK
272:5        272:9       R, F, SP, PK
274: 17      274:18      R, F, SP, PK                    273:25       274:2          IC, R, NR, P
                                                         274:4        274: 13
274:20       275:13      R, F, SP, PK                    273:25       274:2          IC, R, NR,P
                                                         274:4        274:13
278:2        278:8       R,   F,   SP,   PK
279:1        279:12      R,   F,   SP,   PK
280:4        280:8       R,   F,   SP,   PK
280:9        281 :1      R,   F,   SP,   PK
281 :2       283:1       R,   F,   SP,   PK
283:2        283:8       R,   F,   SP,   PK
286:17       287:23      R,   F,   SP,   PK


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                                        Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                   Case No. 15-cv-07025 (RBKJJS) (Dist. N.J.)

                                                        Plaintifrs Affirmative Designations

                                                           Jeff Taylor (October 26, 2017)

     Plaintiff's              Defendants'          Defendants' Counter-        Plaintiff's Objections    Plaintiff's Counter-        Defendants'
    Designations              Objections               Designations               to Defendants'        Counter Designations        Objections to
                                                                               Counter-Designations                              Plaintiff's Counter-
Line Start   Line End                              Line Start   Line End                                Line Start   Line End   Counter Designations
290:22       291 :4      R, F, SP, PK
291: 17      291:20      R
292:9        292:25      R, F, SP, PK
307:22       308:7       R                         308:8        308:24         IC, NR, R, P, ML
309:23       310:1       R, F, SP, PK              310:2        310:4          R
310:5        310:6       R, F, SP, PK              310:2        310:4          R
310:8        310: 15     R, F, SP, PK              310:2        310:4          R
312:15       313: 1      R, F, SP, PK
313:2        314:2       R, F, SP, PK
314:3        314:7       R, F, SP, PK
314:9        314: 19     R, F, SP, PK
314:21       315:4       R, F, SP, PK
318: 19      319:6       R, F, SP, PK
326:22       327:4       R, F, SP, PK, ID,         329:2        329:4          R, NR, IC                59:25        60:10      R,M,F,PK
                         1002                      329:6        329:13
327:5        329:1       R, F, SP, PK              329:2        329:4          R, NR, IC                59:25        60:10      R, M,F, PK
                                                   329:6        329:13
332:13       333:12      R, F, SP, PK              329:2        329:4          R, NR, IC                59:25        60:10      R,M,F,PK
                                                   329:6        329:13




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                                         Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                    Case No. 15-cv-07025 (RBK./JS) (Dist. N.J.)

                                                         Plaintiff's Affirmative Designations

                                                        Edmund Webecke (October 17, 2017)

        Plaintiff's              Defendants'        Defendants' Counter-        Plaintiff's Objections    Plaintiff's Counter-       Defendants'
       Designations              Objections             Designations               to Defendants'        Counter Designations        Objections to
                                                                                Counter-Designations                              Plaintiff's Counter-
Line Start    Line End                              Line Start   Line End                                Line Start   Line End   Counter Designations
7:14          7:18         IDe
8:7           8:12         IDe
8:13          8:15         IDe
12:13         12:19        IDe                      12:20        13:3           R,C
                                                    13:16        13:22
14:15         14:19        IDe
15: 1         15:12        IDe
19:5          19:21        IDe
19:24         19:25        IDe                      22:17        24:15          R,C
                                                    24:21        25:10
                                                    35:22        36:13
20:1          20:2         IDe                      22:17        24:15          R,C
                                                    24:21        25:10
                                                    35:22        35:13
20:3          20:7         IDe                      22:17        24:15          R,C
                                                    24:21        25:10
                                                    35:22        35:13
20:8          20:16        IDe                      22:17        24:15          R,C
                                                    24:21        25:10
                                                    35:22        35:13
20:18         20:23        IDe                      22:17        24:15          R,C
                                                    24:21        25:10
                                                    35:22        35:13
25:11         26:8         IDe



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                                      Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                 Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                      Plaintiff's Affirmative Designations

                                                     Edmund Webecke (October 17, 2017)

      Plaintiffs              Defendants'         Defendants' Counter-        Plaintiffs Objections    Plaintiffs Counter-        Defendants'
     Designations             Objections             Designations                to Defendants'       Counter Designations        Objections to
                                                                              Counter-Designations                             Plaintiffs Counter-
Line Start   Line End                             Line Start   Line End                               Line Start   Line End   Counter Designations
26:23        27:2        !De                      27:19        28:8
28:14        29:14       IDe
32:2         32:11       IDe, R, C, P
36:18        37:10       !De
37:16        37:18       IDe, F, V
37:22        37:23       IDe
38:3         38:18       IDe
39:7         39:13       IDe, V
39:16        39:24       IDe, V
41:5         41: 11      IDe
41 :14       41:25       IDe
42:21        43:5        IDe
43:8         43:13       IDe
46:13        46:15       IDe, V, IO, 701
46:19        46:23       IDe, V, IO, 701
47:21        47:24       IDe, V, 701
48:2         48:15       IDe, V, 701
48:21        48:24       IDe, V, F, IO, SP, LC
49:16        49:21       IDe, V, F, IO, SP, LC,
                         701
50:1         50:1        IDe, V, F, IO, SP, LC
50:4         50:10       IDe, V, F, IO, SP, LC
50:14        50:16       IDe, V, F, IO, SP, LC
50:19        50:21       !De, V, F, IO, SP, LC


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                                           Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                      Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                           Plaintiff's Affirmative Designations

                                                          Edmund Webecke (October 17, 2017)

        Plaintiff's            Defendants'            Defendants' Counter-        Plaintiff's Objections    Plaintiff's Counter-       Defendants'
       Designations            Objections                 Designations               to Defendants'        Counter Designations        Objections to
                                                                                  Counter-Designations                              Plaintiff's Counter-
Line Start    Line End                                Line Start   Line End                                Line Start   Line End   Counter Designations
50:22         50:24       IDe, V, F, IO,   SP, LC
51 :2         51:4        IDe, V, F, IO,   SP, LC
52:25         53:2        IDe, V, F, IO,   701,
                          SP,LC
53:6          53:6        IDe, V, F, IO,   701,
                          SP,LC
54:10         54:17       IDe, R
54:19         54:21       IDe
54:25         55:1        IDe
55:22         55:25       IDe
56:3          56:5        IDe
56:18         56:19       IDe, R, C, P
56:23         57:3        IDe, R, C, P
57:6          57:11       IDe
57:14         57:16       IDe, R, C, P
58:1          58:1        IDe, R, C, P
58:7          58:9        IDe, R, C, P
58:10         58:10       IDe, R, C, P
58:14         58:16       IDe, R, C, P
58:19         58:22       IDe, R, C, P
58:24         58:24       IDe, R, C, P
59:20         59:21       IDe, R, C, P
59:24         59:24       IDe, R, C, P
60:6          60:9        IDe, R, C, P


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                                     Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                Case No. l 5-cv-07025 (RBK/JS) (Dist. N.J.)

                                                     Plaintiff's Affirmative Designations

                                                    Edmund Webecke (October 17, 2017)

      Plaintiffs             Defendants'         Defendants' Counter-        Plaintiff's Objections    Plaintiff's Counter-       Defendants'
     Designations            Objections              Designations               to Defendants'        Counter Designations        Objections to
                                                                             Counter-Designations                              Plaintiff's Counter-
Line Start   Line End                            Line Start   Line End                                Line Start   Line End   Counter Designations
60:12        60:18      IDe, R, C, P
60:22        61: 1      IDe, R, C, P
61 :4        61:7       IDe, R, C, P
61:9         61 :10     IDe, R, C, P
61 :12       61 :12     IDe, R, C, P
63: 15       64:1       IDe
64:3         64:5       IDe
64:15        65:13      IDe, IC                  65:20        65:24
73:19        74:3       IDe
74:11        74:16      IDe
74:19        74:24      IDe
75:1         76:2       IDe
76:8         76:10      IDe
76:13        76:15      IDe
76:16        76:18      IDe, F
76:22        76:22      IDe, F
79:8         79:20      IDe
79:21        79:22      IDe
81 :4        81 :16     IDe,H
86:13        86:21      IDe, H
86:25        87:6       IDe, H, SP, IO,   F
87:11        87:20      IDe, H, SP, IO,   F
87:23        87:24      IDe, H, SP, IO,   F
88:2         88:6       IDe, H, SP, IO,   F, M


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                                       Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                  Case No. 15-cv-07025 (RBK/JS) (Dist. NJ.)

                                                       Plaintifrs Affirmative Designations

                                                      Edmund Webecke (October 17, 2017)

     Plaintiff's              Defendants'         Defendants' Counter-        Plaintiff's Objections    Plaintiff's Counter-        Defendants'
    Designations              Objections              Designations               to Defendants'        Counter Designations        Objections to
                                                                              Counter-Designations                              Plaintiff's Counter-
Line Start   Line End                             Line Start   Line End                                Line Start   Line End   Counter Designations
88:11        88:22       IDe, H, SP, IO, F,   M
89:3         89:5        IDe, H, SP, IO, F,   M
89:20        89:24       IDe, H, SP, IO, F,   M
90:1         90:2        IDe, H, SP, IO, F,   M
90:20        90:24       IDe, H, SP, IO, F,   M
91 :2        91:8        IDe, H, SP, IO, F,   M
91 :9        91 :l 7     IDe, H, SP, IO, F,   M
97:11        97:18       IDe
98:5         98:10       IDe
98:18        99:3        IDe
101 :6       IO 1:25     IDe
102:1        102:15      IDe, H
102: 18      103:5       IDe, H, SP
103:9        103:11      IDe, H, SP
103:12       103:25      IDe, H, SP
104:I        104:11      IDe, H, SP
104:16       104:18      IDe, H, SP, M
108:9        108: 15     IDe,H
114:4        114:11      IDe
114:12       114:18      IDe, LC, F, 701
114:22       115: 1      IDe
115:2        115:5       IDe, LC, F, 701
115:8        115:14      IDe, LC, F, 701
115:18       115:18      IDe, F, 701, V


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                                         Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                    Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                         Plaintiff's Affirmative Designations

                                                        Edmund Webecke (October 17, 2017)

     Plaintiff's              Defendants'           Defendants' Counter-        Plaintiff's Objections    Plaintiff's Counter-       Defendants'
    Designations              Objections                Designations               to Defendants'        Counter Designations        Objections to
                                                                                Counter-Designations                              Plaintiff's Counter-
Line Start   Line End                               Line Start   Line End                                Line Start   Line End   Counter Designations
120:24       121 :5      IDe
121 :7       121 :10     IDe, F, SP
121:14       121 :17     IDe, F, SP
121 :20      122:4       !De, F, SP
123:5        123:12      !De
123:13       123:20      IDe, F
123:24       124:13      IDe
126:13       127:4       IDe
127:22       127:25      IDe
128:3        128:5       IDe, NT
130: 14      131 :4      IDe, H, SP, F
131 :8       131:11      IDe, H, SP, F              132:21       133: 18        F, PK, Spec, 701, AT,    134:24       135:1      IDe, ID, SP, NT
                                                    135:6        136:7          p
                                                    137:9        137:24
                                                    141: 1       142:2
                                                    142:7        142:12
131:15       131 :24     !De
142:15       142:24      IDe
143:4        143:11      IDe, SP, V, IO, F          132:21       133:18         F, PK, Spec, 701, AT,    134:24       135:1      IDe,   ID, SP, NT
                                                    135:6        136:7          p                        135:5        135:5      IDe,   SP
                                                    137:9        137:24                                  136:14       136:16     IDe,   SP, PK
                                                    141 :1       142:2                                   136:20       136:21     IDe,   SP, PK
                                                    142:7        142:12                                  140:6        140:25     IDe,   SP, PK




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                                          Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                     Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                          Plaintiff's Affirmative Designations

                                                         Edmund Webecke (October 17, 2017)

     Plaintiff's                Defendants'          Defendants' Counter-        Plaintiff's Objections    Plaintiff's Counter-        Defendants'
    Designations                Objections               Designations               to Defendants'        Counter Designations        Objections to
                                                                                 Counter-Designations                              Plaintiff's Counter-
Line Start   Line End                                Line Start   Line End                                Line Start   Line End   Counter Designations
143:14       i43:I4      IDe,   SP, V,   IO, F
143:20       143:25      IDe,   SP, V,   IO, F
144:3        144:5       IDe,   SP, V,   IO, F
144:6        144: 13     IDe,   SP, V,   IO, F
144:16       144:19      IDe,   SP, V,   IO, F
145:5        145:14      IDe
145:18       145:23      IDe
146:2        146:4       IDe
147:14       147:17      IDe                         132:21       133:18         F, PK, Spec, 701, AT     134:24       135:1      IDe, ID, SP, NT
                                                     135:6        136:7
                                                     137:9        137:24
                                                     141: 1       142:2
                                                     142:7        142:12
150: 17      150:18      IDe, LD
150:22       151 :2      IDe
151 :3       151 :5      IDe, L, F, SP
151 :9       151:13      IDe, L, F, SP
151:15       151:15      IDe, L, F, SP
156:10       158:8       IDe
159:5        159:9       IDe, H, SP, F
159:13       159: 19     IDe
159:21       159:23      IDe
160:15       160:17      IDe, H, SP, F, V
160:20       161 :17     IDe


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                                      Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                 Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                      Plaintiff's Affirmative Designations

                                                     Edmund Webecke (October 17, 2017)

     Plaintiff's              Defendants'         Defendants' Counter-        Plaintiff's Objections    Plaintiff's Counter-       Defendants'
    Designations              Objections             Designations                to Defendants'        Counter Designations        Objections to
                                                                              Counter-Designations         -                    Plaintiffs Counter-
Line Start   Line End                             Line Start   Line End                                Line Start   Line End   Counter Designations
168: 12      168:19      !De
l 68:21      l 69:21     IDe
171 :20      172:12      IDe
172:17       172:22      JDe, SP, F, V, LC,
                         Arg
173:1        173:7       IDe
173:8        173:12      IDe, SP, F, V, IO, Arg
173:17       173:22      IDe
176:]0       176:13      IDe, ID                  176:14       177:19         R, P, F, PK, Spec, H,    183:9        183:13     IDe, Cmpd, R, M, F,
                                                  178:23       179:21         AT                                               V, PK, IO
                                                  181 :22      183:6
                                                  187:25       188:4
                                                  189:8        190:14
177:23       178:2       IDe
178:6        178:7       IDe, V, SP               176:14       177: 19        R, P, F, PK, Spec, H,    183:9        183:13     IDe, Cmpd, R, M, F,
                                                  178:23       179:21         AT                                               V, PK, IO
                                                  181 :22      183:6
                                                  l 87:25      188:4
                                                  189:8        190:14
178:13       178:18      IDe, V, SP, IO           176:14       177:19         R, P, F, PK, Spec, H,    183:9        183:13     IDe, Cmpd, R, M, F,
                                                  178:23       179:21         AT                                               V, PK, IO
                                                  181 :22      183:6
                                                  187:25       188:4
                                                  189:8        190:14



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                                       Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                  Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                       Plaintiff's Affirmative Designations

                                                      Edmund Webecke (October 17, 2017)

      Plaintiff's             Defendants'         Defendants' Counter-        Plaintiff's Objections    Plaintiff's Counter-        Defendants'
     Designations             Objections             Designations                to Defendants'        Counter Designations        Objections to
                                                                              Counter-Designations                              Plaintiff's Counter-
Line Start   Line End                             Line Start   Line End                                Line Start   Line End   Counter Designations
178:22       178:22      IDe
179:22       180:2       IDe, V, S, P, IO         176:14       177:19         R, P, F, PK, Spec, H,    183:9        183:13     IDe, Cmpd, R, M, F,
                                                  178:23       179:21         AT                                               V,PK, IO
                                                  181 :22      183:6
                                                  187:25       188:4
                                                  189:8        190:14
180:6        180:6       IDe, V, S, P, IO         176:14       177:19         R, P, F, PK, Spec, H,    183:9        183:13     IDe, Cmpd, R, M, F,
                                                  178:23       179:21         AT                                               V, PK, IO
                                                  181 :22      183:6
                                                  187:25       188:4
                                                  189:8        190:14
180:9        180:24      IDe, V, S, P, IO         176:14       177:19         R, P, F, PK, Spec, H,    183:9        183: 13    IDe, Cmpd, R, M, F,
                                                  178:23       179:21         AT                                               V, PK, IO
                                                  181 :22      183:6
                                                  187:25       188:4
                                                  189:8        190:14
181 :4       181:12      IDe, V, SP, IO,          176:14       177:19         R, P, F, PK, Spec, H,    183:9        183:13     IDe, Cmpd, R, M, F,
                                                  178:23       179:21         AT                                               V, PK, IO
                                                  181 :22      183:6
                                                  187:25       188:4
                                                  189:8        190: 14
181:18       181 :20     IDe, V, P, IO, M         176:14       177:19         R, P, F, PK, Spec, H,    183:9        183: 13    IDe, Cmpd, R, M, F,
                                                  178:23       179:21         AT                                               V, PK, IO
                                                  181 :22      183:6
                                                  187:25       188:4


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                                         Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                    Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                         Plaintiff's Affirmative Designations

                                                        Edmund Webecke (October 17, 2017)

     Plaintiffs               Defendants'           Defendants' Counter-         Plaintiffs Objections    Plaintiffs Counter-        Defendants'
    Designations              Objections                Designations                to Defendants'       Counter Designations        Objections to
                                                                                 Counter-Designations                             Plaintiffs Counter-
Line Start   Line End                               Line Start   Line End                                Line Start   Line End   Counter Designations
                                                    189:8        190:14
185:4        185:9       IDe, LD, F                 176: 14      177:19       R, P, F, PK, Spec, H,      183:9        183:13     IDe, Cmpd, R, M, F,
                                                    178:23       179:21       AT                                                 V, PK, IO
                                                    181 :22      183:6

185: 10      185:25      IDe, LD, F                 176:14       177:19       R, P, F, PK, Spec, H,      183:9        183:13     IDe, Cmpd, R, M, F,
                                                    178:23       179:21       AT                                                 V, PK, IO
                                                    181 :22      183:6

186:5        186:12      IDe, F, SP
186: 16      187:5       IDe, F, SP
187:7        187:14      IDe, V, F, SP              176: 14      177:19       R, P, F, PK, Spec, H,      183:9        183: 13    IDe, Cmpd, R, M, F,
                                                    178:23       179:21       AT                                                 V,PK, IO
                                                    181 :22      183:6
                                                    187:25       188:4

191 :7       191:17      IDe
191 :19      192:23      IDe
192:24       193:3       IDe, F, SP
193:7        194:5       IDe, F, SP
194:17       194:19      IDe, SP, F
194:23       195:1       IDe, SP, F
196:25       197:5       IDe, ID                    192:14       192:22
197:20       197:25      IDe



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                                      Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                 Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                      Plaintiff's Affirmative Designations

                                                     Edmund Webecke (October 17, 2017)

     Plaintiffs               Defendants'        Defendants' Counter-      Plaintiffs Objections       Plaintiffs Counter-       Defendants'
    Designations              Objections             Designations             to Defendants'          Counter Designations       Objections to
                                                                           Counter-Designations                               Plaintiffs Counter-
Line Start   Line End                            Line Start   Line End                               Line Start   Line End   Counter Designations
198:8        200:20      IDe
202: 19      202:23      IDe, SP, F, IO
203:3        203:20      IDe
204:3        204:10      IDe, SP, F              205:1        205:23       Spec                      205:4        206:2      IDe, C
                                                                                                     206:4        206:2      IDe, SP, F, M (for
                                                                                                     206:9        206:18     205:24-206:2)
                                                                                                                             IDe, NT, SP, F, M
                                                                                                                             IDe, SP, F, M
208:2        208:6        IDe
209:7        209:10       IDe, SP, F
209:14       210:8        IDe, SP, F
214:10       214:24       IDe
215:9        215:11       IDe, SP, V, Cmpd
215:15       216:1        IDe, SP, V, Cmpd
216:25       217:7        IDe
217:10       217:12       IDe, NT
219:25       220:23       IDe
221 :1       221:7        IDe
221:8        221 :16      IDe
221 :23      222:11       IDe
222:14       222:16       IDe
222:20       223: 11      IDe
224:25       225:1        IDe, SP, V
225:5        225:12       IDe, SP, V


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                                            Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                       Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                            Plaintiff's Affirmative Designations

                                                           Edmund Webecke (October 17, 2017)

     Plaintiff's                 Defendants'           Defendants' Counter-         Plaintiff's Objections    Plaintiff's Counter-       Defendants'
    Designations                 Objections                Designations                to Defendants'        Counter Designations        Objections to
                                                                                    Counter-Designations                              Plaintiff's Counter-
Line Start   Line End                                  Line Start   Line End                                 Line Start   Line End   Counter Designations
228:13       230:3        IDe                          230:4        231: 12      P, F, PK, Spec, 701,
                                                                                 LC,H,AT
244:17       245:1        IDe                          230:14       231 :12      R, C, P, F, PK, Spec,       243:20       243:24     IDe, SP, F, M
                                                       232: 13      232:24       701, LC, H, ML, AT          244:4        244:14
                                                       233:2        233:15
                                                       233:19       234:1
                                                       234:5        241 :4                                                           IDe, SP, F, M
                                                       241 :23      243:19

245:2        245:16       IDe
245:20       246:2        IDe
247:3        247:5        IDe,   LC, F, V
247:12       247:21       IDe,   LC, F, V
247:23       247:23       IDe,   LC, F, V
248:1        248:3        IDe,   F, SP
248:8        249:2        IDe,   F, SP
249:3        249:7        IDe
249:10       249:23       IDe
254:2        254:18       IDe                          256:20       256:24       F, PK, Spec, 701, LC,       257: 14      257:21     IDe, V
                                                       257:9        257:13       H,ML
                                                                                                                                     IDe, V, SP, Cmpd
                                                       258:4        258:9                                    257:24       258:3
                                                       258:18       258:23                                   258:25       259:4      IDe, V, SP, Cmpd
                                                                                                             259: 11      259:16
                                                                                                                                     IDe, V, SP, Cmpd



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                                        Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                   Case No. 15-cv-07025 (RBKJJS) (Dist. N.J.)

                                                        Plaintiff's Affirmative Designations

                                                       Edmund Webecke (October 17, 2017)

     Plaintiffs                 Defendants'        Defendants' Counter-         Plaintiffs Objections    Plaintiffs Counter-         Defendants'
    Designations                Objections            Designations                 to Defendants'       Counter Designations         Objections to
                                                                                Counter-Designations                              Plaintiffs Counter-
Line Start   Line End                              Line Start   Line End                                Line Start   Line End    Counter Designations
                                                                                                        267: 11      267:23     IDe, R, F, PK, SP,
                                                                                                        268:1        268:7      BSE
                                                                                                                                IDe, R, F, BSE
254:19       255:2       IDe, H, F, V, P
259: 17      260:10      IDe
260:12       260:18      IDe, F
260:22       261 :9      IDe, F
263:2        263:23      IDe
264:3        264:13      IDe
270:6        270:12      IDe
270:16       270:21      IDe
271:15       271:24      IDe                       230: 14      231 :12      R, C, P, F, PK, Spec,      243:20       243:24     IDe, SP, F, M
                                                   232:13       232:24       701, LC, H, ML, AT         244:4        244:14
                                                   233:2        233:15
                                                   233:19       234:1
                                                   234:5        241:4                                                           IDe, SP, F, M
                                                   241:23       243:19


273:9        273:17       IDe
273:23       274:19       IDe
274:23       275:13       IDe
275:20       275:24       IDe
275:25       276:3        IDe



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                                           Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                      Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

                                                           Plaintiff's Affirmative Designations

                                                          Edmund Webecke (October 17, 2017)

     Plaintiffs                 Defendants'           Defendants' Counter-         Plaintiffs Objections    Plaintiffs Counter-        Defendants'
    Designations                Objections                Designations                to Defendants'       Counter Designations        Objections to
                                                                                   Counter-Designations                             Plaintiffs Counter-
Line Start   Line End                                 Line Start   Line End                                Line Start   Line End   Counter Designations
276:4        276:6       IDe
276:7        276: 18     IDe,   SP, F, L
276:24       277:9       JDe,   SP, F, L
278:18       279:4       IDe
279:17       281:2       IDe
281: 10      281: 14     IDe
282:10       282:12      IDe,   M, F, SP
282:17       282:19      IDe,   M, F, SP
282:24       283:1       IDe
283:14       283:14      IDe
284:2        284:8       IDe                          328:24       329:7        R, P, F, PK, Spec,         331 :24      332:1      IDe, V, SP, Cmpd,
                                                                                701, LC, ML                332:7        332:13     BSE
                                                                                                                                   IDe, V, SP, Cmpd,
                                                                                                                                   BSE
284:24       285:1       IDe
285:5        285:8       IDe
286:12       286:14      IDe
286:15       286:17      IDe
289:14       289:25      IDe
290:15       291 :11     IDe
291 :21      292:2       IDe
292:5        292:12      IDe                          293:1        293:16       PK, Spec                   292:19       292:25     IDe
                                                                                                           293:17       293:20     IDe, SP



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                                     Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                Case No. l 5-cv-07025 (RBKJJS) (Dist. N.J.)

                                                     Plaintiff's Affirmative Designations

                                                    Edmund Webecke (October 17, 2017)

     Plaintiffs              Defendants'        Defendants' Counter-         Plaintiffs Objections    Plaintiffs Counter-         Defendants'
    Designations             Objections            Designations                 to Defendants'       Counter Designations         Objections to
                                                                             Counter-Designations                              Plaintiffs Counter-
Line Start   Line End                           Line Start   Line End                                Line Start   Line End    Counter Designations
                                                                                                     293:24       294:2      IDe, SP
294:3        294:11      IDe
294:15       295:2       IDe
295:3        295:8       IDe
300:5        300:24      IDe
300:25       302:17      IDe
308:20       309:14      IDe, SP
309:19       311:11      IDe, SP
311:15       312:12      IDe
315:20       316:13      IDe
317:7        317:19      IDe
317:25       318:4       IDe
318:21       320:18      IDe
320:19       321 :24     IDe
323:23       325:25      IDe
326:4        326:5       IDe




                                                                        15
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                         Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                      Case No. 15-cv-07025 (RBK/JS) (D.N.J.)

                                                   Defendants' Objection Key


      ABBREV.                OBJECTION                                       RULE/ EXPLANATION
                                                     The requirement of authentication or identification as a condition
                           Authentication or
          A                                          precedent to admissibility is satisfied by evidence sufficient to support a
                        Identification (FRE 901)
                                                     finding that the matter in question is what its proponent claims.
         Arg                Argumentative
                        Attorney Objections Not
          AT
                               Removed
                        Beyond Scope of Direct I     Objectionable because the testimony exceeds the scope of the direct,
         BSE              Cross I Or Redirect        cross, or redirect examination.
                             Examination
                           Beyond Scope of           Objectionable because the testimony exceeds the scope of the
         BSS
                              Subpoena               subpoena
                     Beyond Scope of Rule            Objectionable because the testimony exceeds the scope for which the
         BST
                    30(b)(6) Deposition Topic        witness was designated to testify pursuant Rule 30(b)(6).
                        Cumulative, Duplicative,     Although relevant, evidence may be excluded if its probative value is
          C             Wasteful or Undue Delay      substantially outweighed by considerations of undue delay, waste of
                               (FRE 403)             time, or needless presentation of duplicative and/or cumulative evidence.
                          Improper Character
        Char
                          Evidence (FRE 404)
        Cmpd                  Compound
                         Not Produced During
          D
                              Discovery
                                                     Objectionable because a witness may not testify to a matter unless
                          Lack of Foundation
          F                                          evidence is introduced sufficient to support a finding that the witness has
                              (FRE 602)              personal knowledge of the matter.
                                                     Hearsay is not admissible except as provided by these rules or by other
                             Hearsay Rule
          H                                          rules prescribed by the Supreme Court pursuant to statutory authority or
                              (FRE 802)              by Act of Congress.
                                                     Objectionable because document is incomplete and the introduction of
                         Incomplete Document
           I                  (FRE 106)
                                                     the remaining portions or related documents ought, in fairness, to be
                                                     considered contemporaneously with it.
                         Improper/Incomplete         Objectionable because additional parts of the testimony in fairness
          ID                 Designation             should be considered with the part of the testimony designated.
                           (FRCP 32(a)(6))
                         Improper/Incomplete         Objectionable because additional parts of the testimony in fairness
          IC             Counter Designation         should be considered with the part of the testimony designated.
                           (FRCP 32(a)(6))
                        Improper Lay or Expert       Objectionable because the testimony is outside the scope of proper lay
          10                   Opinion               or expert testimony.
                            (FRE 701-703)
                           Improper Use of           Objectionable because the designation is inconsistent with the proper
          IP             Deposition Testimony        use of deposition testimony pursuant to FRCP 32.
                              (FRCP 32)
                        Improper Designation of      Objectionable because the witness who gave the designated testimony
         IDe              Witness who will be        will be called to testify at trial.
                              Called Live
                           Legal Conclusion          Objectionable because witness testimony constituting a legal conclusion
          LC                                         creates a danger of unfair prejudice, confusing the issues, misleading
                              (FRE 403)


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                        Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                     Case No. 15-cv-07025 (RBK/JS) (D.N.J.)

                                                 Defendants' Objection Key

                                                   the jury, undue delay, or wasting time.
                               Leading             Objectionable because leading questions should not be used on direct
         LD
                              (FRE611)             examination except as necessary to develop the witness's testimony.

                        Mischaracterizes Prior     Objectionable because the designation includes mischaracterization of
                             Testimony             prior testimony, as a result the testimony lacks relevance and creates a
         M
                                                   danger of unfair prejudice, confusing the issues, misleading the jury,
                         (FRE 401-403, 611)        undue delay, or wasting time.
                                                   Objectionable because the designation includes mischaracterization of
                          Mischaracterizes         an underlying document, as a result the testimony lacks relevance and
         MD
                        Underlying Document        creates a danger of unfair prejudice, confusing the issues, misleading
                                                   the jury, undue delay, or wasting time.
                        Assumes Facts Not in       Objectionable because the question assumes facts not in evidence.
         NE
                             Evidence
                                                   Objectionable because the designated testimony is not responsive to the
         NR                Nonresponsive
                                                   question.
         NT                 Not Testimony          Objectionable because the designated material is not testimonial.

                         Offer of Settlement       Evidence of an offer of consideration to compromise or attempt to
         OS                                        compromise a claim, or conduct or a statement made during
                             (FRE 408)             compromise negotiations about the claim, is not admissible.
                                                   Although relevant, evidence may be excluded if its probative value is
                        Prejudicial, Confusing,
          p                                        substantially outweighed by the danger of unfair prejudice, confusion of
                       Vague and/or Misleading
                                                   the issues, or misleading the jury, or by considerations of undue delay,
                              (FRE 403)
                                                   waste of time, or needless presentation of cumulative evidence.
                          Lack of Personal         Objectionable because lack of personal knowledge makes the witness
         PK                 Knowledge              incompetent to testify about particular facts.
                             (FRE 602)
                              Privilege            The evidence is subject to a claim of attorney-client privilege or other
         PR                                        privilege.
                            (FRE 501-502)
                                                   All relevant evidence is admissible, except as otherwise provided by the
                              Relevance            Constitution of the United States, by Act of Congress, by these rules, or
         R
                            (FRE 401, 402)         by other rules prescribed by the Supreme Court pursuant to statutory
                                                   authority. Evidence that is not relevant is not admissible.
                                                   Objectionable because the designation includes a question calling for
                                                   speculation and/or speculation as a result the testimony lacks relevance
         SP             Calls for Speculation
                                                   and creates a danger of unfair prejudice, confusing the issues,
                                                   misleading the jury, undue delay, or wasting time.
                                                   The party relying on the summary must establish its accuracy to the
                                                   court's satisfaction.
                             Summaries             See Graham, Handbook of Federal Evidence§ 1006.1 (5th ed. 2001 ).
         s                   (FRE 1006)
                                                   United States v. Pelul/o, 964 F.2d 193, 204 (3d Cir. 1992) ("It is well
                                                   established that summary evidence is admissible under Rule 1006 only if
                                                   the underlying materials upon which the summary is based are
                                                   admissible.").
                        Vague, Ambiguous or
         V                  Overbroad
                             (FRE611)
                                                   When evidence that is admissible as to one party or for one purpose but
                        Limited Admissibility      not admissible as to another party or for another purpose is admitted, the
        105
                              (FRE 105)            court, upon request, shall restrict the evidence to its proper scope and
                                                   instruct the jury accordingly.
        701             Improper Lay Opinion       If a witness is not testifying as an expert, testimony in the form of an


                                                                2
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                         Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                      Case No. 15-cv-07025 (RBK/JS) (D.N.J.)

                                                  Defendants' Objection Key

                         Testimony (FRE 701)        opinion is limited as provided by this rule.
                             Best Evidence          An original writing, recording, or photograph is required in order to prove
         1002
                              (FRE 1002)            its content unless the rules or a federal statute provide otherwise.
                                                    If post-dated evidence is admitted as to one purpose but not admissible
                         Post Dated Filing Date     as for another purpose (e.g., for obviousness analysis), the court, upon
          PD
                               (FRE 105)            request, shall restrict the evidence to its proper scope and instruct the
                                                    jury accordingly.
      Badgering          Badgering the Witness      Inappropriate badgering of the witness.
                                                    Exhibit has not been provided, the copy provided is illegible, and/or the
           X
                                                    entry includes multiple documents.
                           Wrong Document
           y             Identified or Incorrect
                        Description of Document
         MIL               Motion in Limine         Subject to motion in limine.




                                                                 3
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                                   Plaintiff's Objections Key
                  Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                             Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

      ABBREV.                                        OBJECTION

          A       Authentication or Identification (FRE 90 I)

                  The requirement of authentication or identification as a condition precedent to
                  admissibility is satisfied by evidence sufficient to support a finding that the matter
                  in question is what its proponent claims.

         Arg      Argumentative

         AT       Attorney Objections Not Removed

         BS       Beyond the Scope of Direct I Cross I Redirect Examination

       30(b)(6)   Beyond the Scope of the Rule 30(b)(6) Deposition Topic

          C       Cumulative, Duplicative, Wasteful or Undue Delay (FRE 403)

                  Although relevant, evidence may be excluded if its probative value is substantially
                  outweighed by considerations of undue delay, waste of time, or needless
                  presentation of duplicative and/or cumulative evidence.

        Char      Improper Character Evidence (FRE 404)

        Cmpd      Compound

      Dem Only    Demonstrative I Should Not Be Admitted Into Evidence

          D       Not Produced During Discovery

          F       Lack of Foundation (FRE 602)

                  Objectionable because a witness may not testify to a matter unless evidence is
                  introduced sufficient to support a finding that the witness has personal knowledge
                  of the matter.

          H       Hearsay Rule (FRE 802)

                  Hearsay is not admissible except as provided by these rules or by other rules
                  prescribed by the Supreme Court pursuant to statutory authority or by Act of
                  Congress.
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      ABBREV.                                     OBJECTION

          I     Incomplete Document (FRE 106)

                Objectionable because document is incomplete and the introduction of the
                remaining portions or related documents ought, in fairness, to be considered
                contemporaneously with it.

         IC     Improper Designation I Counter Designation (FRE 106: FRCP 32(a)(6))

         ID     Incomplete Document
                (FRE 106)

         In     Incomplete Testimony
                (FRE 106; FRCP 32(a)(6))

         L      Lack of Personal Knowledge or Competency (FRE 602)

         LA     Limited Admissibility (Admissible for Some Purposes but Not Others) (FRE 105)

         LC     Legal Conclusion

         LD     Leading (FRE 611)

         LF     Lack of Foundation
                (FRE 103, 104 and/or 105)

         M      Misleading/Mischaracterizes Prior Testimony
                (FRE 401-403, 611)

        MD      Mischaracterizes Underlying. Document (FRE 401-403, 611)

         ML     Subject to Motion In Limine

         NE     Assumes Facts Not In Evidence

         NR     N onresponsive

         NT     Not Testimony

         0      Improper Lay or Expert Opinion (FRE 701-703)

         oc     Offer to Compromise, Settlement (FRE 408)




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      ABBREV.                                      OBJECTION

         p      Prejudicial, Confusing, Vague and/or Misleading (FRE 403)

                Although relevant, evidence may be excluded if its probative value is substantially
                outweighed by the danger of unfair prejudice, confusion of the issues, or
                misleading the jury, or by considerations of undue delay, waste of time, or
                needless presentation of cumulative evidence.

         PD     Post Dated Filing Date (FRE 105)

                If post-dated evidence is admitted as to one purpose but not admissible as for
                another purpose (e.g., for obviousness analysis), the court, upon request, shall
                restrict the evidence to its proper scope and instruct the jury accordingly.

         PK     Lack of Personal Knowledge (FRE 602)

                Objectionable because lack of personal knowledge makes the witness incompetent
                to testify about particular facts.

         R      Relevance (FRE 401,402)

                All relevant evidence is admissible, except as otherwise provided by the
                Constitution of the United States, by Act of Congress, by these rules, or by other
                rules prescribed by the Supreme Court pursuant to statutory authority. Evidence
                which is not relevant is not admissible.

        Spec    Calls for Speculation (FRE 602)

         s      Summaries (FRE 1006)

                The party relying on the summary must establish its accuracy to the court's
                satisfaction.

                See Graham, Handbook of Federal Evidence § 1006.1 ( 5th ed. 2001 ). United
                States v. Pelullo, 964 F.2d 193,204 (3d Cir. 1992) ("It is well established that
                summary evidence is admissible under Rule 1006 only if the underlying materials
                upon which the summary is based are admissible.").

         u      Untimely / Never Produced (FRCP 26, 3 7)

         V      Vague / Ambiguous/Overbroad (FRE 611)

         w      Privileged/ Work Product (FRE 501/502)

         X      Exhibit has not been provided, the copy provided is illegible, and/or the entry
                includes multiple documents.



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      ABBREV.                                      OBJECTION

          y     Wrong Document Identified or Incorrectly Described

         105    Limited Admissibility    (FRE 105)

                When evidence which is admissible as to one party or for one purpose but not
                admissible as to another party or for another purpose is admitted, the court, upon
                request, shall restrict the evidence to its proper scope and instruct the jury
                accordingly.

         701    Improper Lay Opinion Testimony (FRE 701)

                If a witness is not testifying as an expert, testimony in the form of an opinion is
                limited as provided by this rule.

        1002    Best Evidence (FRE 1002, 1003, 1004)

                An original writing, recording, or photograph is required in order to prove its
                content unless these rules or a federal statute provides otherwise.




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       PART V.           DEFENDANTS' WITNESSES AND SUMMARY OF THEIR
                         TESTIMONY AND DEPOSITION DESIGNATIONS

                     Defendants intend to call the following witnesses and anticipate they will

       testify as follows:

                A.       Will Call for Live Testimony


          Jeffery Lewis                Mr. Lewis is the Senior Vice President of
                                       Engineering at Geomni Inc. He has worked for
          cl o Mc Carter & English LLP Defendants in various capacities and positions
          Four Gateway Center          since 1997. He may testify about his
          100 Mulberry Street          professional background; the operation,
          Newark, New Jersey 07102     functionality, and use of the Accused Products
                                       and related systems; research, design, and
                                       development of the Accused Products and
                                       related systems; the architecture of the Accused
                                       Products and related systems; the origin,
                                       creation, engineering, development,
                                       compilation, storage, location, execution, and
                                       use of Defendants' software and source code;
                                       documentation concerning the Accused
                                       Products and related systems; the Xactimate
                                       platform, embedded modules and features
                                       thereof, and third-party integrations therewith;
                                       historic capabilities, functions, and features of
                                       Xactimate; the relationship and interactions
                                       between and among Defendants, EagleView,
                                       Pictometry, and EagleView Technology
                                       Corporation; facts and circumstances underlying
                                       and supporting Defendants' positions,
                                       contentions, and arguments that the Defendants
                                       do not infringe any Asserted Claim of any
                                       Asserted Patent. He may also testify regarding
                                       the subject matter of the Rule 30(b)(6) topics on
                                       which he was designated to testify, and may
                                       testify regarding other subject matter about
                                       which he testified at his deposition.


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          Edmund Webecke            Mr. Webecke is the President ofVerisk 3E. Mr.
                                    Webecke may testify regarding his professional
         c/o Mccarter & English LLP background; sales and pricing with regard to the
         Four Gateway Center        products that are the subject of this case; the
         I 00 Mulberry Street       development of Defendants' products; the
         Newark, New Jersey 07102   Accused Products in this case; Defendants'
                                    customers and customer satisfaction; the
                                    operations of and strategies relating to
                                    Defendants' businesses; the development and
                                    execution of marketing, advertising, and
                                    promotion strategies by Defendants; the
                                    relationship and interactions between and
                                    among Defendants, Eagle View, Pictometry, and
                                    EagleView Technology Corporation; the dates
                                    and circumstances related to when and how
                                    Defendants first learned of the Asserted Patents;
                                    the dates and circumstances related to when and
                                    how Defendants first learned of EagleView; the
                                    products, including those of Defendants, that
                                    compete with EagleView and/or Pictometry
                                    products; presentations, meetings, and
                                    discussions regarding Eagle View, Pictometry,
                                    and/or Eagle View Technology Corporation,
                                    their products, and/or the Asserted Patents; the
                                    corporate structure of the Defendants; the
                                    practice and procedures of Defendants for
                                    assessing patent infringement risks; business
                                    relationships concerning the Accused Products;
                                    EagleView's representations of infringement
                                    and non-infringement, and Defendants' actions
                                    relating to those representations; and Verisk's
                                    and/or Xactware's contemplated acquisition of
                                    or merger with EagleView, Pictometry, and/or
                                    EagleView Technology Corporation. Mr.
                                    Webecke may also testify regarding the subject
                                    matter of the Rule 30(b)(6) topics on which he
                                    was designated to testify, and may testify
                                    regarding other subject matter about which he
                                    testified at his de osition.
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              B.       May Call for Live Testimony or by Deposition


         Michael Fulton              Mr. Fulton is the President ofXactware
                                     Solutions. He began his career as a self-
         cl o Mccarter & English LLP employed general contractor before joining
         Four Gateway Center         Xactware in 1992. Mr. Fulton may testify
         100 Mulberry Street         regarding his professional background; sales
         Newark, New Jersey 07102 and pricing with regard to the products that are
                                     the subject of this case; the development of
                                     Defendants' products; the Accused Products in
                                     this case; Defendants' customers and customer
                                     satisfaction; the operations of and strategies
                                     relating to Defendants' businesses; the
                                     development and execution of marketing,
                                     advertising, and promotion strategies by
                                     Defendants; the markets in which the Accused
                                     Products complete; the use and benefits of the
                                     Xactimate platform; the relationship and
                                     interactions between and among Defendants,
                                     EagleView, Pictometry, and Eagle View
                                     Technology Corporation; the products,
                                     including those of Defendants, that compete
                                     with EagleView and/or Pictometry products;
                                     presentations, meetings, and discussions
                                     regarding EagleView, Pictometry, and/or
                                     EagleView Technology Corporation, their
                                     products, and/or the Asserted Patents; and the
                                     corporate structure of the Defendants. Mr.
                                     Fulton may also testify regarding the subject
                                     matter of the Rule 30(b)(6) topics on which he
                                     was designated to testify, and may testify
                                     regarding other subject matter about which he
                                     testified at his deposition.

        James Loveland                   Mr. Loveland is the former President and CEO
        (third party)                    of Xactware. He may testify about his
                                         professional background; EagleView's approach
        1091 Hawks Rest Drive,           to Xactware re ardin a business artnershi ;
                                                3
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         Mapleton, Utah 84664         Xactware's historic capabilities, including
                                      regarding the use of aerial imagery and roof
         cl o Mark Morris             modeling; development and operation of
         Snell & Wilmer, LLP          Xactimate, Aerial Sketch, and other Xactware
         15 West South Temple         products; the success ofXactimate; and
         Suite 1200                   background information on Xactware. He may
         Salt Lake City, Utah 84101   also testify regarding other subject matter about
                                      which he testified at his deposition.

         Peter Magnus Olson         Mr. Olson is the Senior Vice President of Data
                                    & Production at Geomni, and was formerly the
        cl o Mccarter & English LLP Assistant Vice President of Geospatial Data
        Four Gateway Center         Services and the Director of Imagery Services at
        100 Mulberry Street         Xactware. He may testify regarding his
        Newark, New Jersey 07102 professional background, education, and
                                    qualifications, and about various patents,
                                    including the Asserted Patents. He may also
                                    testify regarding other subject matter about
                                    which he testified at his de osition.
        Jarron Merrill              Mr. Merrill is the Assistant Vice President of
                                    Finance at Xactware. He may testify regarding
        cl o Mccarter & English LLP his professional background; revenue and profit
        Four Gateway Center         from the sale of the Accused Products; and
        100 Mulberry Street         related financial and accounting systems,
        Newark, New Jersey 07102 practices, and documents. He may also testify
                                    regarding other subject matter about which he
                                    testified at his deposition.
        Jeffrey Taylor              Mr. Taylor is the President of Geomni Inc. and a
                                    former Vice President of the Property InSight
        cl o Mccarter & English LLP Group at Xactware. He may testify regarding
        Four Gateway Center         his professional background; the operation,
        100 Mulberry Street         functionality, and use of the Accused Products
        Newark, New Jersey 07102    and related systems; research, design, and
                                    development of the Accused Products and
                                    related systems; the Xactimate platform; historic
                                    capabilities, functions, and features of
                                    Xactimate; historical market presence of
                                    Geomni and Xactware; market reaction,

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                                     including the reactions of end-users, to products
                                     developed, sold, and resold by Geomni and/or
                                     Xactware; Defendants' customers and customer
                                     satisfaction; the relationship and interactions
                                     between and among Defendants, EagleView,
                                     Pictometry, and EagleView Technology
                                     Corporation; presentations, meetings, and
                                     discussions regarding Eagle View, Pictometry,
                                     and/or EagleView Technology Corporation,
                                     their products, and/or the Asserted Patents; the
                                     facts and circumstances underlying and
                                     supporting Defendants' positions, contentions,
                                     and arguments that Defendants do not infringe
                                     any Asserted Claim of any Asserted Patent. Mr.
                                     Taylor may also testify regarding the subject
                                     matter of the Rule 30(b)(6) topics on which he
                                     was designated to testify, and may testify
                                     regarding other subject matter about which he
                                     testified at his deposition.

        Chris Pershing            Mr. Pershing co-founded EagleView, served as
        (Eagle View)              its Chief Technology Officer until 2016, and is a
                                  named inventor of the Asserted Patents. He
        cl o WALSH PIZZI          may testify regarding his professional
        O'REILLY FALANGA LLP background; EagleView's software and the
        One Riverfront Plaza      development thereof; his knowledge of the prior
        1037 Raymond Blvd., Suite art; the efforts of and benefits to EagleView
        600                       with respect to integration on the Xactimate
        Newark, New Jersey 07102 platform; his purported contributions to the
                                  Asserted Patents; proceedings relevant to the
                                  Asserted Patents before the U.S. Patent and
                                  Trademark Office; public use, disclosure, or
                                  sale of the subject matter of the Asserted
                                  Patents; conception and reduction to practice of
                                  the supposed inventions of the Asserted Patents;
                                  contributions of third parties to the supposed
                                  inventions of the Asserted Patents; how Twister
                                  and Render House do not practice or embody
                                  the Asserted Patents; the level of ordinary skill
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                                    in the art relevant to the Asserted Patents;
                                    EagleView's knowledge, understanding, and
                                    use of Defendants' products; EagleView's
                                    investigation, study, and review of Defendants'
                                    products; EagleView's first awareness of
                                    Defendants' products; communications
                                    regarding any of the Accused Products, alone or
                                    in combination with Eagle View's software and
                                    products; the factual basis for EagleView's
                                    allegations of infringement; facts and
                                    circumstances concerning when Eagle View first
                                    formed a belief of the alleged infringement of
                                    any Asserted Claim by Defendants; the factual
                                    basis for EagleView's allegation of willful
                                    infringement; EagleView's communications
                                    with Defendants regarding the Asserted Patents;
                                    EagleView's patent marking methods;
                                    EagleView's competitors; non-infringing
                                    alternatives to products and methods claimed in
                                    the Asserted Patents; the extent of EagleView's
                                    use of Xactimate; the absence of secondary
                                    considerations of non-obviousness; the
                                    invalidity of each Asserted Claim; the factual
                                    basis for the supposed priority date of each
                                    Asserted Patent; and the disclosure of the
                                    subject matter of the Asserted Patents prior to
                                    the issuance of each. Mr. Pershing may also
                                    testify regarding the subject matter of the Rule
                                    30(b)(6) topics on which he was designated to
                                    testify, and may testify regarding other subject
                                    matter about which he testified at his deposition.

        David Carlson               Mr. Carlson is named as an inventor on the '436
        (third party)               Patent. He may testify regarding his
                                    professional background; his knowledge of the
        4415 Witter Gulch Road,     prior art; his contribution to the purported
        Evergreen, Colorado 80439   invention(s) of the Asserted Patents; his
                                    relationship with Chris Pershing; Chris
        clo Ruttenberg IP Law       Pershing's contribution to the purported
                                           6

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           1801 Century Park East,  invention(s) of the Asserted Patents; his
           Suite 1920               understanding of the Asserted Patents; his
           Los Angeles, CA 90067    current and past relationship with EagleView
                                    and the facts and circumstances surrounding his
                                    departure from EagleView; the roofing and
                                    contracting industries; the parties to this case;
                                    and demand for EagleView products. Mr.
                                    Carlson may also testify regarding the subject
                                    matter about which he testified at his
                                    depositions.
          Todd Long (EagleView)     Mr. Long is Senior Manager of Report Delivery
                                    at EagleView. He may testify regarding his
          cl o WALSH PIZZI          professional background; the operation of
          O'REILLY FALANGA LLP Render House and Twister; the division of labor
          One Riverfront Plaza      at EagleView with respect to the generation of
          1037 Raymond Blvd., Suite roof models and the creation of roof reports;
          600                       competitors of EagleView; techniques for
          Newark, New Jersey 07102 measuring roofs; and the content of
                                    EagleView's roof reports. Mr. Long may also
                                    testify regarding the subject matter about which
                                    he testified at his de osition.
          Chris Ciarcia (EagleView) Dr. Ciarcia is a physicist at EagleView. He may
                                    testify regarding his professional and
          cl o WALSH PIZZI          educational background; the feasibility of
          0 'REILLY FALANGA LLP reverse engineering EagleView's software;
          One Riverfront Plaza      sourcing of aerial imagery and information or
          1037 Raymond Blvd., Suite data regarding aerial imagery; EagleView's
          600                       recent development efforts regarding primitives;
          Newark, New Jersey 07102  and Pictometry's historic capabilities to use
                                    aerial images to measure and model buildings.
                                    Dr. Ciarcia may also testify regarding the
                                    subject matter about which he testified at his
                                    deposition.
          Rishi Daga (EagleView)    Mr. Dagajoined EagleView in 2008 and is
                                    currently its CEO. He may testify regarding his
          cl o WALSH PIZZI          professional background; EagleView's business,
          O'REILLY FALANGA LLP business practices and methods, including the
          One Riverfront Plaza      filing of lawsuits; the identity of EagleView's

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          1037 Raymond Blvd., Suite   competitors; EagleView's internal discussions
          600                         about competitors and business partners,
          Newark, New Jersey 07102    including Defendants; EagleView's sales
                                      practices; EagleView's communications to
                                      customers and potential customers of
                                      Defendants; EagleView's use ofXactimate to
                                      deliver roof reports; instances of EagleView
                                      threatening litigation or sending cease and desist
                                      letters regarding alleged infringement of
                                      intellectual property; EagleView's past and
                                      present sources of aerial imagery; EagleView's
                                      corporate structure and ownership;
                                      communications among EagleView, Pictometry,
                                      and EagleView Technology Corporation;
                                      EagleView's ownership of the Asserted Patents;
                                      Verisk's intended acquisition ofEagleView and
                                      EagleView Technology Corporation; the
                                      creation of EagleView Technology Corporation;
                                      the factual basis for EagleView's claim for
                                      damages; pricing of EagleView's roof reports;
                                      computation of profits and losses from sales of
                                      EagleView's roof reports; EagleView's
                                      knowledge and understanding of other suppliers
                                      of rooftop aerial measurement products, past
                                      and present; non-infringing alternatives for the
                                      supposed inventions of the Asserted Patents;
                                      financial data relating to Eagle View's products;
                                      EagleView's competitors and market share;
                                      valuation of Eagle View's patents; licenses or
                                      other agreements concerning EagleView's
                                      patents; and the absence of secondary
                                      considerations of non-obvious. Mr. Daga may
                                      also testify regarding the subject matter of the
                                      Rule 30(b)(6) topics on which he was
                                      designated to testify, and may testify regarding
                                      other subject matter about which he testified at
                                      his deposition.


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           Chris Barrow (EagleView)      Mr. Barrow is the former Chief Executive
                                         Officer of EagleView. He may testify
          cl o WALSH PIZZI               regarding his professional background;
          O'REILLY FALANGA LLP           EagleView's business, structure, and history,
          One Riverfront Plaza           including its relationship with Defendants; the
          1037 Raymond Blvd., Suite      identity of EagleView's competitors;
          600                            EagleView's history asserting unspecified
          Newark, New Jersey 07102       threats of infringement against its competitors,
                                         and of filing infringement lawsuits against its
                                         competitors; EagleView's marketing practices;
                                         EagleView's roof model generation software;
                                         the value to EagleView of its business
                                         relationship with Defendants; EagleView's
                                         representations and warranties concerning
                                         intellectual property infringement to Verisk and
                                         to Vista Equity; the timing and circumstances
                                         of the filing of the present lawsuit against
                                         Defendants; and the unpatentability of the
                                         Asserted Patents. He may also testify
                                         regarding other subject matter about which he
                                         testified at his deposition.

          Matt Quilter (EagleView)  Mr. Quilter is the Chief Financial Officer of
                                    EagleView. He may testify regarding his
          clo WALSH PIZZI           professional background; EagleView's
          O'REILLY FALANGA LLP corporate structure, ownership, and
          One Riverfront Plaza      relationships with its related entities;
          1037 Raymond Blvd., Suite EagleView's merger and relationship with
          600                       Pictometry; EagleView's finance and
          Newark, New Jersey 07102 accounting systems, practices, reporting,
                                    statements, and other documentation;
                                    EagleView's finances, revenues, revenue
                                    sources, business, competition, production
                                    processes, products, sales, pricing, costs, assets,
                                    and valuations; use ofXactware's platform; and
                                    EagleView's relationship with Defendants. He
                                    may also testify regarding the subject matter of
                                    the Rule 30(b)(6) topics on which he was
                                    designated to testify, and may testify regarding
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                                       other subject matter about which he testified at
                                       his deposition.

           John Keane (EagleView)   Mr. Keane is employed in the area of research
                                    and development for EagleView. He may
          cl o WALSH PIZZI          testify regarding his professional background;
          O'REILLY FALANGA LLP his interactions with Chris Pershing and David
          One Riverfront Plaza      P. Carlson; his contributions to patent
          1037 Raymond Blvd., Suite inventorship on behalf of EagleView; his
          600                       knowledge ofEagleView's patents; his
          Newark, New Jersey 07102 knowledge of and participation in developing
                                    roof measurement software for EagleView; the
                                    functionality of EagleView's software
                                    programs; his knowledge and understanding of
                                    EagleView's roof reports; his understanding of
                                    photogrammetry; methods for measuring roofs
                                    and generating roof reports; EagleView's
                                    business practices; his dealings with Xactware
                                    representatives; the identity of, and competition
                                    by, EagleView's competitors; EagleView's
                                    relationship with Defendants; his knowledge of
                                    the Accused Products; and the unpatentability of
                                    the Asserted Patents. He may also testify
                                    regarding other subject matter about which he
                                    testified at his deposition.

          Adrian Alonso (Vista         Mr. Alonso is a Senior Vice President at Vista
          Equity)                      Equity Partners. He may testify regarding his
                                       professional background; Vista Equity Partners'
          *c/o Smith Robertson, LLP    decision to acquire EagleView; and the
          221 West 6th Street, Suite   representations EagleView made to Verisk and
          1100,                        to Vista Equity regarding intellectual property
          Austin, TX 78701             infringement. He may also testify regarding
                                       other subject matter about which he testified at
                                       his deposition.




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          Michael Allen (USAA)         Mr. Allen is a claims service manager at USAA.
                                       He may testify regarding his professional
          c/o Ford Murray              background; USAA' s use of Xactware
          10001 Reunion Place, Suite   products, use of Eagleview products, and
          640                          product selection; the insurer market; and roof
          San Antonio, TX 78216        estimate alternatives including manual
                                       estimation. He may also testify regarding other
                                       subject matter about which he testified at his
                                       de osition.
          Matthew Levin (MetLife)      Mr. Levin is a claim technical administrator at
                                       Metropolitan Property & Casualty Insurance Co
          c/o Robinson & Cole LLP      (MetLife). He may testify regarding his
          One Financial Plaza          professional background and MetLife's
          Suite 1430                   purchase and use of aerial roof measurement
          Providence, RI 02903         tools. He may also testify regarding other
                                       subject matter about which he testified at his
                                       deposition.
         Jason Pawlik (The             Mr. Pawlik is a Director of Claims Strategy at
         Hartford)                     The Hartford. He may testify about his
                                       professional background. He may also testify
         clo The Hartford              about The Hartford's decision-making process
         Law Department                in purchasing products for automobile and
         One Hartford Plaza            property claims assessments, and unpatented
         H0-1-10                       features of such products, such as price, format,
         Hartford, CT 0615 5           and related customer service that factor into this
                                       decision. He may also testify regarding other
                                       subject matter about which he testified at his
                                       deposition.
         Lynn Berard                   As of August 24, 2016, Lynn Berard was a
         (by declaration)              Principal Librarian at the Carnegie Mellon
                                       University Libraries. Ms. Berard may testify,
         Last known contact            through declaration, regarding the content of
         information:                  the "Declaration of Lynn Berard" executed on
                                       August 24, 2016, including her professional
         Carnegie Mellon University    background, the practices and procedures of the
         Libraries, Sorrels            Carnegie Mellon University Libraries, and
         Engineering & Science         circumstances and background information
         Library, 5000 Forbes Ave.,    relating to the public accessibility and public

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                                                ···<,> ';"                             1-'3'fl'mony
         Pittsburgh, PA 15212        availability of Hsieh, Y., "Design and
                                     Evaluation of a Semi-Automated Site Modeling
                                     System," Carnegie Mellon (November 1995).
         Christopher Thornberry      Mr. Thornberry is a principal of Thornberry
                                     Consulting. He may testify regarding his
         clo Lewis & Kappes          professional background; the creation and
         One American Square, Suite operation of the GeoEstimator product; that the
         2500                        GeoEstimator product is a non-infringing
         Indianapolis, IN 46282-0003 alternative to the Asserted Patents; his
                                     employment with Pictometry; his separation
                                     from employment with Pictometry; his
                                     communications with Eagle View and David P.
                                     Carlson; and his understanding and knowledge
                                     of Aerowest and products of this company. He
                                     may also testify regarding other subject matter
                                     about which he testified at his October 9, 2012
                                     deposition.
         Dale Thornberry             Mr. Thornberry is a principal of Thornberry
                                     Consulting. He may testify regarding his
         c/o Lewis & Kappes          professional background; the creation and
         One American Square, Suite operation of the GeoEstimator product; that the
         2500                        GeoEstimator product is a non-infringing
         Indianapolis, IN 46282-0003 alternative to the Asserted Patents; the identity
                                     of other competitors in the market for roof
                                     reports; his employment with Pictometry; his
                                     separation from employment with Pictometry;
                                     his communications with Eagle View and David
                                     P. Carlson; EagleView's patent applications and
                                     issued patents; and his understanding and
                                     knowledge of Aerowest and products of this
                                     company. He also may testify regarding other
                                     subject matter about which he testified at his
                                     October 9, 2012 deposition.


               In addition, Defendants may call any witness by deposition or live testimony

      identified by Plaintiff in its witness lists.

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                                     Eagle View Technolo~ies, Inc. et al. v. Xactware Solutions, Inc. et. al.,
                                                           Case No. 15-cv-7025 (D.N.J.)

          Defendants' Affirmative Deposition Designations, Plaintiff's Counter-Designations, and Defendants' Counter-Counter
                                                 Designations, and Objections Thereto

                                                          Michael Allen (March 29, 2018)

         Defendants'         Plaintiffs        Plaintiffs Counter-   Defendants' Objections    Defendants' Counter-        Plaintiffs Objections to
         Designations        Objections           Designations       to Plaintiffs Counter-    Counter Designations         Defendants' Counter-
                                                                          Designations                                      Counter Designations
Line Start      Line End                      Line       Line End                             Line       Line End
                                              Start                                           Start
4:22            4:24       A,H
6:8             6:10       A, H, In           6:5        7: 1
7:24            8:5        A,H
11 :9           11: 13     A, F, H, PK, In    10:21      11 :3       V, SP, IC                11: 14     11 :20       F,   V, Spec
                                              11: 17     11 :23      IC                       11: 14     11: 16       F,   V, Spec
14:16           14:18      A, H,In            14:13      15: 17      ID, Cmpd, SP, PK, V, F   41:6       41:24        F,   Spec, V, H, Cmpd, Char
                                                                                              42:19      43:14        F,   Spec, H, Char, P
                                              17: 1      17:3        ID, SP, BST              41:6       41:24        F,   Spec, V, H, Cmpd, Char
                                                                                              42:19      44:5         F,   Spec, H, Char, P
17:20           19:12      A,H,P              19:21      19:24       IC, V, M, SP             20:17      20:19        F,   Spec
                                                                                              20:24      21:3         F,   Spec, Arg, V
                                                                                              21:19      21 :22       F,   Spec, Arg, V

19: 16          19:18      A,H                19:21      19:24       IC, V, M, SP             20:17      20:19        F, Spec
                                                                                              20:24      21:3         F, Spec, Arg, V
                                                                                              21 :19     21 :22       F, Spec, Arg, V

21: 19          21:24      A, F, H, Spec, C   19:21      19:24       IC, V, M, SP             20:17      20:19        F,   Spec
                                                                                              20:24      21 :3        F,   Spec,   Arg, V
22:11           22:15      A,F,H              19:21      19:24       IC, V, M, SP             20:17      20:19        F,   Spec
                                                                                              20:24      21:3         F,   Spec,   Arg, V
                                                                                              21 :19     21:22        F,   Spec,   Arg, V
                                              25:4       25:24       IC, M, V, PK, SP         26:16      26:21        F,   Spec,   V
                                                                                              41:6       41:24        F,   Spec,   V, H, Cmpd, Char
                                                                                              42:19      44:5         F,   Spec,   H, Char, P
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                                                         Michael Allen (March 29, 2018)

        Defendants'           Plaintiff's    Plaintiff's Counter-   Defendants' Objections     Defendants' Counter-        Plaintiff's Objections to
        Designations          Objections        Designations        to Plaintiff's Counter-    Counter Designations         Defendants' Counter-
                                                                         Designations                                       Counter Designations
Line Start     Line End                     Line       Line End                               Line      Line End
                                            Start                                             Start
23:21          24:5         A,F,H           24:9        25:2        IC, PK, SP, V, F, NE      26:16     26:21         F,   Spec, V
                                                                                              41:6      41:24         F,   Spec, V, H, Cmpd, Char
                                                                                              42:19     44:5          F,   Spec, H, Char, P
                                            25:4        25:24       IC, M, V, PK, SP          26:16     26:21         F,   Spec, V
                                                                                              41:6      41:24         F,   Spec, V, H, Cmpd, Char
                                                                                              42:19     44:5          F,   Spec, H, Char, P
41 :6          41:24        A,F,H,P         40:20       40:23       IC, LD, F, V, SP, PK      40:7      40:11         F,   Spec, V
                                                                                              40:13     40:16         F,   Spec, H
                                                                                              40:18     40:19         F,   Spec, V, Arg
                                            42:4        42:13       IC
                                                                                              42:19     44:5          F, Spec, H, Char, P
42:19          43:14        A,F,H           44:11       44:14
43:23          44:5         A,F,H,C         44: 11      44:14
44:11          44:14        A,F,H
53:25          54:2         A,F,H,PK        53:10       53:12       IC, LD, V, NE             52:17     52:18         F,   V,   Spec
                                                                                              53:1      53:9          F,   V,   Spec
54:13          54:17        A, F, H,PK      57:16       57:23       IC, PK, D, A, SP, V,      57:6      57:10         F,   V,   Spec
                                                                    LD, H, SP                 57:24     58:2          F,   V,   Spec
                                            58:4        58:9        IC,D,A,SP,PK,V,LD         57:6      57:10         F,   V,   Spec
                                                                                              57:24     58:2          F,   V,   Spec
                                            58:14       58:16       IC, PK, D, A, SP, V,      57:6      57:10         F,   V,   Spec
                                                                    LD,H                      57:24     58:2          F,   V,   Spec
                                            58:20       59:9        IC, PK, D, A, SP, V, LD   57:6      57:10         F,   V,   Spec
                                                                                              57:24     58:2          F,   V,   Spec
                                            59:12       59:17       IC, D, A, SP, V, LD, H,   57:6      57:10         F,   V,   Spec
                                                                    PK                        57:24     58:2          F,   V,   Spec
                                            59:19       59:23       IC, D, A, SP, V, LD, H,   57:6      57:10         F,   V,   Spec
                                                                    PK, 1002                  57:24     58:2          F,   V,   Spec
                                            60:1        60:4        IC, PK, D, A, SP, V,      57:6      57:10         F,   V,   Spec

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                                                        Michael Allen (March 29, 2018)

        Defendants'         Plaintiffs       Plaintiffs Counter-   Defendants' Objections     Defendants' Counter-     Plaintiffs Objections to
        Designations        Objections         Designations        to Plaintiffs Counter-     Counter Designations      Defendants' Counter-
                                                                        Designations                                    Counter Designations
Line Start     Line End                     Line       Line End                              Line      Line End
                                            Start                                            Start
                                                                   LD,MD                     57:24     58:2          F, V,   Spec
                                            60:8       60:9        IC, PK, A, SP, V,   LD,   57:6      57:10         F, V,   Spec
                                                                   D,MD                      57:24     58:2          F, V,   Spec
                                            60:12      61 :7       IC, PK, D, A, SP,   V,    57:6      57:10         F, V,   Spec
                                                                   LD,MD                     57:24     58:2          F, V,   Spec
                                            61: 11     61:20       IC, PK, D, A, SP,   V,    57:6      57:10         F, V,   Spec
                                                                   LD, MD, At                57:24     58:2          F, V,   Spec
                                            61:23      61:25       IC, PK, D, A, SP,   V,    57:6      57:10         F, V,   Spec
                                                                   LD,MD                     57:24     58:2          F, V,   Spec
                                            62:3       62:6        IC, PK, D, A, SP,   V,    57:6      57:10         F, V,   Spec
                                                                   LD,MD,Cmpd                57:24     58:2          F, V,   Spec
                                            62:9       62:20       IC, PK, D, A, SP,   V,    57:6      57:10         F, V,   Spec
                                                                   LD,MD,Cmpd                57:24     58:2          F, V,   Spec
                                            63:7       63:10       PK, V,LD,M                57:6      57:10         F, V,   Spec
                                                                                             57:24     58:2          F, V,   Spec
54:19          55:12      A, F, H, PK, P,   57:16      57:23       IC, PK, D, A, SP, V,      57:6      57:10         F, V,   Spec
                          AT: 54:23                                LD, H, 1002               57:24     58:2          F, V,   Spec
                                            58:4       58:9        IC, D, A, SP, PK, V, LO   57:6      57:10         F, V,   Spec
                                                                                             57:24     58:2          F, V,   Spec
                                            58:14      58:16       IC, PK, D, A, SP, V,      57:6      57:10         F, V,   Spec
                                                                   LO, H, 1002               57:24     58:2          F, V,   Spec
                                            58:20      59:9        IC, PK, D, A, SP, V,      57:6      57:10         F, V,   Spec
                                                                   LO, H, 1002               57:24     58:2          F, V,   Spec
                                            59:12      59:17       IC, D, A, SP, V, LD, H,   57:6      57:10         F, V,   Spec
                                                                   PK, 1002                  57:24     58:2          F, V,   Spec
                                            59:19      59:23       IC, D, A, SP, V, LO, H,   57:6      57:10         F, V,   Spec
                                                                   PK, 1002                  57:24     58:2          F, V,   Spec
                                            60:1       60:4        IC, PK, D, A, SP, V,      57:6      57:10         F, V,   Spec
                                                                   LO, MD, H, 1002           57:24     58:2          F, V,   Spec

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                                                  Michael Allen (March 29, 2018)

     Defendants'         Plaintiffs    Plaintiffs Counter-   Defendants' Objections    Defendants' Counter-        Plaintiffs Objections to
     Designations        Objections       Designations       to Plaintiffs Counter-    Counter Designations         Defendants' Counter-
                                                                  Designations                                      Counter Designations
Line Start   Line End                 Line       Line End                             Line      Line End
                                      Start                                           Start
                                      60:8       60:9        IC, PK, A, SP, V, LD,    57:6      57:10         F,   V,   Spec
                                                             D, MD, H, 1002           57:24     58:2          F,   V,   Spec
                                      60:12      61 :7       IC, PK, D, A, SP, V,     57:6      57:10         F,   V,   Spec
                                                             LD, MD, H, 1002          57:24     58:2          F,   V,   Spec
                                      61: 11     61:20       IC, PK, D, A, SP, V,     57:6      57: 10        F,   V,   Spec
                                                             LD, MD, 1002, AT         57:24     58:2          F,   V,   Spec
                                      61 :23     61 :25      IC, PK, D, A, SP, V,     57:6      57:10         F,   V,   Spec
                                                             LD,MD                    57:24     58:2          F,   V,   Spec
                                      62:3       62:6        IC, PK, D, A, SP, V,     57:6      57:10         F,   V,   Spec
                                                             LD, MD, Cmpd, H,         57:24     58:2          F,   V,   Spec
                                                             1002
                                      62:9       62:20       IC, PK, D, A, SP, V,     57:6      57:10         F, V, Spec
                                                             LD, MD, Cmpd, H,         57:24     58:2          F, V, Spec
                                                             1002
                                      63:7       63:10       PK, V,LD,M               57:6      57:10         F, V, Spec
                                                                                      57:24     58:2          F, V, Spec




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                                 Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.,
                                                   Case No. 15-cv-7025 (D.N.J.)

       Defendants' Affirmative Deposition Designations, Plaintiff's Counter-Designations, and Defendants' Counter-Counter
                                              Designations, and Objections Thereto

                                                   Adrian R. Alonso (January 30, 2018)


        Defendants'           Plaintiff's          Plaintiff's Counter-           Defendants'         Defendants' Counter-      Plaintiff's
        Designations          Objections              Designations               Objections to        Counter Designations    Objections to
                                                                              Plaintiff's Counter-                             Defendants'
                                                                                 Designations                                Counter-Counter
Line Start     Line End                         Line Start    Line End                               Line Start   Line End    Designations
10:20          10:24      Personal (Address),
                          R,P,ML
11: 14         11 :21     R,P,ML
16:20          17:5       R,P,ML
17:10          17:14      R,P,ML
21:5           21: 11     R,P,ML
22:19          23:9       R,P,ML                23:10         23:18           R

32:25          33:16      R,P,ML
34:14          36:20      R, P, ML, F, Spec,    38:6          38:18           R, PK, NR
                          H
                                                38:19         39:7            R,PK,NR

41: 1          42:15      R, P, ML, F, Spec,    40:1          40:6
                          H
                                                40:12         40:25           R,PK,C

46:20          46:24      R, P, ML, 30(b)(6),
                          F
47:2           47:3       R, P, ML, 30(b)(6),



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                                                   Adrian R. Alonso (January 30, 2018)


        Defendants'           Plaintiff's          Plaintiff's Counter-           Defendants'         Defendants' Counter-      Plaintiff's
        Designations          Objections              Designations               Objections to        Counter Designations    Objections to
                                                                              Plaintiff's Counter-                             Defendants'
                                                                                 Designations                                Counter-Counter
Line Start     Line End                         Line Start    Line End                               Line Start   Line End    Designations
                          F
47:5           47:14      R, P, ML, 30(b)(6),
                          F
47:16          50:7       R, P, ML, F:46:16-
                          I 7-30(b)( 6)
59:24          60:15      R,P,ML                60:16         61 :2           R,PK
                                                61:25         62:25           R, PK,NR
61 :3          61:24      R,P,ML                61 :25        62:25           R,PK,NR
                                                60:16         61:2            R,PK
63:13          63:20      R,P,ML
64:21          68:11      R,P,ML
83:11          84:13      R,P,ML                84:14         85:11           R,NR,C
                                                88:10         90:19           R, C, H, P, LC, PK
87:15          87:24      R,P,ML                88:10         90:19           R, C, H, P, LC, PK
88:1           88:8       R,P,ML                88:10         89:15           R, C, H, P, LC, PK
109: 13        110:2      R,P,ML,F,H            115:9          116:8          PK,H
113:17         115:8      R,P,ML, F,H           115:9          116:8          PK,H
116:9          116:22     R,P,ML,F,H




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                                                 Adrian R. Alonso (January 30, 2018)


     Defendants'            Plaintiff's          Plaintiff's Counter-           Defendants'         Defendants' Counter-      J>laintiff' s
     Designations           Objections              Designations               Objections to        Counter Designations    Objections to
                                                                            Plaintiff's Counter-                             Defendants'
                                                                               Designations                                Counter-Counter
Line Start   Line End                         Line Start    Line End                               Line Start   Line End    Designations
117:7        117:17     R,P, ML, IN           117: 18       117:23
118: 17      119:6      R,P,ML
119: 14      119:23     R, P, ML, Spec, C,    120:8         120:17          F
                        H,F,PK
121: 1       121 :15    R, P, ML, Spec, PK,   123:23        124:6
                        C,H,F
123:4        123:22     Spec, R, P, PK, C,    123:23        124:6
                        H,F,ML
127:20       129:23     Spec, R, P, PK, C,    132:20        134:14          F
                        H,F,ML
132:12       132:19     Spec, R, P, PK, C,    132:20        134:14          LC, IO, 701
                        H,F,ML
136: 19      138:12     R, P, ML, Arg., C
138:13       138:25     R,P,ML,F
145:1        145:13     R,P,ML
145:22       145:25     Spec, R, P, PK, H,
                        L,ML
155: 17      156:6      Spec, R, P, PK, ML    156:19        157:8           PK,R
156: 10      156:18     Spec, R, P, PK, H,    156:19         157:8          PK,R
                        F,ML




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                                                Adrian R. Alonso (January 30, 2018)


     Defendants'            Plaintiff's         Plaintiff's Counter-           Defendants'         Defendants' Counter-      Plaintiff's
     Designations           Objections             Designations               Objections to        Counter Designations    Objections to
                                                                           Plaintiff's Counter-                             Defendants'
                                                                              Designations                                Counter-Counter
Line Start   Line End                        Line Start    Line End                               Line Start   Line End    Designations
157:9        158:16     Spec, R, P, PK, H,   156: 19       157:8           PK,R
                        F,ML
158:25       159:16     Spec, R, P, PK, H,   156:19         157:8          PK,R
                        F,ML
159:18       160:14     Spec, R, P, PK, H,   156:19        157:8           PK,R
                        F,ML
160: 16      161 :2     Spec, R, P, PK, H,   161:3          161 :6         PK                     161:12       161: 13    NR,M,C,R
                        F,ML                                                                      161:15       161: 15
                                             161 :8         161:10                                161 :12      161:13     NR,M, C, R
                                                                                                  161: 15      161:15
                                             161:17         162:12                                162:13       162: 17    H,R,C,

162:22       163: 12    Spec, R, P, PK, H,
                        F,ML
166:21       167:12     Spec, R, P, PK, ML

167:14       167:14     Spec, R, P, PK, ML

173: 17      174:5      Spec, R, P, PK, F,
                        ML
174:8        174: 11    Spec, R, P, PK, F,   174:13         175:1          PK,NT
                        ML
175:2        175:6      Spec, R, P, PK, F,
                        ML



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                                                Adrian R. Alonso (January 30, 2018)


     Defendants'            Plaintiff's         Plaintiff's Counter-           Defendants'         Defendants' Counter-      Plaintiff's
     Designations           Objections             Designations               Objections to        Counter Designations    Objections to
                                                                           Plaintiff's Counter-                             Defendants'
                                                                              Designations                                Counter-Counter
Line Start   Line End                        Line Start    Line End                               Line Start   Line End    Designations
177:18       178:13     Spec, R, P, PK, H,   177:10        177:17          PK                     177:2        177:9      H, PK, F,R
                        ML
178:16       178:17     Spec, R, P, PK, H,
                        ML
183:9        183: 15    R, C, PK, Spec, P,
                        ML
183:21       184:3      R, C, PK, Spec, ML

186:9        187:13     Spec, R, P, PK, H,
                        ML
189: 18      191:13     Spec, R, P, PK, H,
                        ML
192:6        194:16     Spec, R, P, PK, H,
                        ML
194:19       194:20     Spec, R, P, PK, H,
                        ML




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                                   Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.,
                                                      Case No. 15-cv-7025 (D.N.J.)

       Defendants' Affirmative Deposition Designations, Plaintiff's Counter-Designations, and Defendants' Counter-Counter
                                              Designations, and Objections Thereto

                                                        Chris Barrow (November 9, 2017)


         Defendants'             Plaintiffs         Plaintiffs Counter-         Defendants'        Defendants' Counter-      Plaintiffs
         Designations            Objections           Designations             Objections to       Counter Designations    Objections to
                                                                            Plaintiffs Counter-                             Defendants'
                                                                               Designations                               Counter-Counter
Line Start      Line End                         Line Start     Line End                          Line Start   Line End    Designations
11 :13          11: 19                           7:9            7:14
12: 13          13:2
15:9            15:21      P,R                   15:22          16: 1
16:2            17:5       P,R,C
17:7            17:9       P,R,C
17: 11          17:14
18:6            18:10      P,R,C
18:16           18:22                            18:23          19:2       R, V,P
19:10           19: 14     P, R, C, spec
19:16           19:25      P, R, C, spec
20:23           21 :6      R                     21:7           21 :15     R                      21 :16       21: 18     R
21:19           22:4       R, spec, M
24:14           24:15      R, PK, P, spec        24:1           24:13      R, NR, BSE
24:17           25:13      R, PK, P, spec
25:23           27:6       P, R, C, spec
27:22           27:24                            27:7           27:12      R, NR, V, M, P, C
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                                                   Chris Barrow (November 9, 2017)


        Defendants'             Plaintiffs       Plaintiffs Counter-           Defendants'        Defendants' Counter-      Plaintiffs
        Designations            Objections          Designations              Objections to       Counter Designations    Objections to
                                                                           Plaintiffs Counter-                             Defendants'
                                                                              Designations                               Counter-Counter
Line Start     Line End                       Line Start    Line End                             Line Start   Line End    Designations
30:21          31:22      P, R, C, spec
32:15          33:17      P, PK, R, C, spec
33:19          33:21      P, PK, R, C, spec
33:23          34:2       P, PK, R, C, spec
34:7           35:10
36:20          38:6       R,P
38:13          39:6       R,P
39:8           39:13      R,P
44:14          46:21      R,P,C
47:7           47:24      R,P,C
49:4           51 :6      R,P,C
51 :17         52:7       R,P,C
52:16          54:4       R, P, C, H, PK
56:9           56:23      R, P, PK, M, In     56:24         57:15          SP, H, P, PK
58:17          58:19      R, P, PK, M, In
58:23          58:23      R,P,C,H
59:14          62:9       R,P,C
62:25          63:6       R,P,C,H             62:10;        62:13;         IC
                                              62:15         62:24          R,NR


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                                                       Chris Barrow (November 9, 2017)


         Defendants'             Plaintiff's      Plaintiff's Counter-           Defendants'         Defendants' Counter-      Plaintiff's
         Designations            Objections          Designations               Objections to        Counter Designations    Objections to
                                                                             Plaintiff's Counter-                             Defendants'
                                                                                Designations                                Counter-Counter
Line Start      Line End                       Line Start      Line End                             Line Start   Line End    Designations
64:1            67:23      R,P,C,H
68:19           69:3       C                   69:4;           69:5;         IC
                                               69:8            70:14         H, SP,P
70:19           71 :9      H,R,P,C
71:24           72:10      H,R,P,C
72:12           72:16      H,R,P,C,M
74:9            75:3       H,R,P,C,M           73:12           73:21         PK, SP, V, R
75:11           75:18      H,R,C
77:6            77:24      H,C
78:10           78:18      H,C
78:25           79:23      H,C                 79:7            79:23
80:11           81 :8      H,C
81 :18          82:5       H,R,P,C,M
84:11           85:19      H,R,C,P
89:7            89:9       R,C
91:14           91:22      R,C
92:17           92:23      R,C
93:1            93:13      R,C
94:16           94:18                          94:19           94:21         SP,PK


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                                                    Chris Barrow (November 9, 2017)


        Defendants'             Plaintiffs        Plaintiff's Counter-           Defendants'         Defendants' Counter-      Plaintiffs
        Designations            Objections           Designations               Objections to        Counter Designations    Objections to
                                                                             Plaintiff's Counter-                             Defendants'
                                                                                Designations                                Counter-Counter
Line Start     Line End                        Line Start    Line End                               Line Start   Line End    Designations
94:25          96:3       C
96:13          96:16      C
96:18          97:14      C
98:2           98:5
98:10          98:12      P, M,In              98:13         99:10           NR, V,PK, SP
101:3          101:10
102:1          103:13     R,C,P
103:21         103:25     R,C,P
105:16         107:2      R,C
115:11         117:17     R,C,P
117:19         118:20     R, C, P, Spec, PK,
                          M
118:22         119:1      R, C, P, Spec, PK,
                          M
119:9          119:13     R,C,P
121: 1         121:25     R,C,P,H
126:25         127:4      R
128:20         128:23     R,C,P
128:25         129:6      R,C,P



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                                                   Chris Barrow (November 9, 2017)


        Defendants'           Plaintiffs         Plaintiffs Counter-           Defendants'        Defendants' Counter-      Plaintiffs
        Designations          Objections            Designations              Objections to       Counter Designations    Objections to
                                                                           Plaintiffs Counter-                             Defendants'
                                                                              Designations                               Counter-Counter
Line Start     Line End                       Line Start    Line End                             Line Start   Line End    Designations
129:18         130:13     R,C,P
131:18         132:10     R,C,P,H             132: 11       132:23         NR,V,R
132:24         132:25     R,C,P               133:1         133:2          C
133:3          135:9      R, C, P, H, Spec,
                          PK,F,M
135:12         135:17     R, C, P, H, Spec,
                          PK,F,M
139:3          139:9      R, C, P, H, Spec,   139:13        139:15         R,NR,C
                          PK,F,M
139: 16        139:20     R, C, P, H, Spec,
                          PK,F,M
139:22         139:23     R, C, P, H, Spec,
                          PK,F,M
140:3          142:3      R, C, P, H, Spec,
                          PK,F,M
142:22         143: 15    R, C, P, H, Spec,   143:16        144:1          NR,C
                          PK,F,M
144:20         145:22     R, C, P, H, Spec,
                          PK,F,M
149:15         150:16     R,C,P,H
151 :5         153:20     R, C, P, H, Spec,   153:21        153:25
                          PK,F,M


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                                                    Chris Barrow (November 9, 2017)


        Defendants'             Plaintiffs        Plaintiffs Counter-           Defendants'        Defendants' Counter-      Plaintiffs
        Designations            Objections           Designations              Objections to       Counter Designations    Objections to
                                                                            Plaintiffs Counter-                             Defendants'
                                                                               Designations                               Counter-Counter
Line Start     Line End                        Line Start    Line End                             Line Start   Line End    Designations
160:3          160:9
160:15         160:23
161 :11        161:12     C,R
161:14         161:19     C,R
166:10         166:13     C, R, P, M, In       166:14;       166:15;        IC
                                               166:20        166:23         NR, P, R, BSE
167:22         168:7      H,C,P,R
168:9          168:9      H,C,P,R
168:14         169:13     H,C,P,R
170:5          170:24     H, C, P, R, PK
171 :21        171 :24    C,R
172:20         173: 18    C,R, H, PK           173:19        174:1          SP,PK
177:14         177:24     H, C, P, R, PK       177:25        179:8          NR, R, SP, PK, BSE
179:9          179:15     H, C, P, R, PK, In   179:16        180:6          NR,R
180:7          180: 11    H,C,P,R,PK
182: 13        183:6      H,C,P,R
186:25         187:6      C,P,R
188:2          188:21     C,P,R
191:10         191:12     C,P,R


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                                                    Chris Barrow (November 9, 2017)


        Defendants'            Plaintiffs         Plaintiffs Counter-           Defendants'        Defendants' Counter-      Plaintiffs
        Designations           Objections            Designations              Objections to       Counter Designations    Objections to
                                                                            Plaintiffs Counter-                             Defendants'
                                                                               Designations                               Counter-Counter
Line Start     Line End                        Line Start    Line End                             Line Start   Line End    Designations
191:15         191 :22    C,P,R
191 :24        192:4      C,P,R
192:18         193:4      C, P, R, In          193:12        195:1          H,NR, PK, SP          195:2        195:3      IC, NR, C
                                                                                                  195:5        195:20
198:23         200:5      H,C,P, R
203:4          204:1      C, In                204:2         204:13
204:14         205:16     In
206:21         207:18     In
212:2          212:12     In
212:22         215:3      H,R, P, C, PK
216:7          216:25     H, R, P, C, PK
217:7          220:25     H, R, P, C, PK, In   217:1         217:3
221:4          221 :18    H,R,C
222:25         223:2      H,R,C
223:23         224:19     H,R,C
224:25         226:19     H,R,C
227:16         227:23     R, C, PK, Spec
228:2          228:15     R, C, PK, Spec
234:11         235:4      H,R,C


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                                                  Chris Barrow (November 9, 2017)


        Defendants'             Plaintiffs      Plaintiffs Counter-           Defendants'        Defendants' Counter-      Plaintiffs
        Designations            Objections         Designations              Objections to       Counter Designations    Objections to
                                                                          Plaintiffs Counter-                             Defendants'
                                                                             Designations                               Counter-Counter
Line Start     Line End                      Line Start    Line End                             Line Start   Line End    Designations
235:21         235:24     H,R
236:9          236:12     R
236:19         236:22     R, P, PK, Spec
240:8          240:18     H, PK, F, R, P
242:24         244:3      H,PK,F,R,P
245:9          245:20     H,R,P,C
247:20         247:25     H,R,P,C            248:1         248:11         H, SP
250:22         252:9      H,R,P,C            250:17        250:21
252:11         252:13     H,R,P,C
254:21         256:17     H,R,P,C
259:2          260:1      H,R,P,C
262:1          262:18     H,R,P,C
262:20         263:14     H,R,P,C




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                                     Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.,
                                                        Case No. 15-cv-7025 (D.N.J.)

       Defendants' Affirmative Deposition Designations, Plaintifrs Counter-Designations, and Defendants' Counter-Counter
                                              Designations, and Objections Thereto

                                                   Christopher Thornberry (October 9, 2012)


         Defendants'              Plaintiffs          Plaintiffs Counter-         Defendants'        Defendants' Counter-      Plaintiffs
         Designations             Objections            Designations             Objections to       Counter Designations    Objections to
                                                                              Plaintiffs Counter-                             Defendants'
                                                                                 Designations                               Counter-Counter
Line Start      Line End                           Line Start    Line End                           Line Start   Line End    Designations
4:10            4:13
5:12            6:9        V,C
6:16            7:2        F, V
7:8             7:16
8:10            8:18       V                       8:23          8:25        V,NR
9:1             9:10
9:16            9:19       V
9:24            10:8       V
10: 11          10: 11
11:17           11 :24     R,P,C
12:8            12: 11                             12:12         12:14       R,V
                                                   12:18         12: 19      R,V
12:20           12:22                              12:23         13:5        R,V
13:6            13:24      R,P
14:16           15:12      R,P
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                                                  Christopher Thornberry (October 9, 2012)


         Defendants'             Plaintiff's         Plaintiff's Counter-           Defendants'         Defendants' Counter-      Plaintiff's
         Designations            Objections             Designations               Objections to        Counter Designations    Objections to
                                                                                Plaintiff's Counter-                             Defendants'
                                                                                   Designations                                Counter-Counter
Line Start      Line End                          Line Start    Line End                               Line Start   Line End    Designations
16:10           18:6       R, P, H, F, PK,        20:2          20:4            R,H
                           Spec,
                                                  20:7          20:9            R,PK
                                                  20:12         20:12           R,PK
21 :1           21:5       R, P,H, F
21:8            21 :10     R,P
21: 13          21 :13     R,P
22:4            22:7       R,P,H,F
22:16           22:20      R, P, H, F, PK, Spec
23:1            23:21      R,P,H
24:2            24:5       R,P,H,MD               24:9          24:12           V,PK, SP

                                                  27:10         27:20           V,PK

24:20           25:1       R,P,H
25:13           25:19      R,P,V
26:2            26:8       R, P, H, F, PK,        39:16          39:18          SP, PK, V, P
                           Spec, LC, 701
                                                  39:21          39:21          SP, PK, V, P

26:18           26:21      R,P,M
29:8            29:11      R,P                    29:12          29:13          ID,R                   30:22        30:25      R,P,C,M



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                                             Christopher Thornberry (October 9, 2012)


        Defendants'             Plaintiffs      Plaintiffs Counter-           Defendants'        Defendants' Counter-       Plaintiffs
        Designations            Objections         Designations              Objections to       Counter Designations     Objections to
                                                                          Plaintiffs Counter-                              Defendants'
                                                                             Designations                                Counter-Counter
Line Start     Line End                      Line Start    Line End                             Line Start   Line End     Designations


                                             48:1          48:4           ID,R                  30:22        30:25      R,P,C,M

32:22          33:19      R,P,F
42:2           42:3       R,P
42:14          42:22      R,P,H
50:5           50:8       R,P
50:18          50:22      R, P,H, F, PK      50:23         51:2           R, SP, PK, Cmpd,      53:25        54:4       R, P, C, F, PK,
                                                                          ID                    54:8         54:8       Spec
                                             52:5          52:7           R, SP, PK, V, ID      53:25        54:4
                                                                                                54:8         54:8
                                             55:13         55:15          R, SP, PK, Cmpd,      53:25        54:4
                                                                          ID                    54:8         54:8
                                             55:19         55:24          R, SP, PK, Cmpd,      53:25        54:4
                                                                          ID                    54:8         54:8
                                             56:7          56:8           R, SP, PK, ID         53:25        54:4
                                                                                                54:8         54:8
                                             56:11         56:11          R, SP, Cmpd, ID       53:25        54:4
                                                                                                54:8         54:8
                                             57:7          57:13          R, SP, PK, Cmpd,      53:25        54:4
                                                                          ID, V                 54:8         54:8




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                                              Christopher Thornberry (October 9, 2012)


         Defendants'           Plaintiffs        Plaintiffs Counter-           Defendants'        Defendants' Counter-       Plaintiffs
         Designations          Objections           Designations              Objections to       Counter Designations     Objections to
                                                                           Plaintiffs Counter-                              Defendants'
                                                                              Designations                                Counter-Counter
Line Start      Line End                      Line Start    Line End                             Line Start   Line End     Designations
                                              57:17         57:25          R, SP, PK, ID, V      53:25        54:4
                                                                                                 54:8         54:8
51 :18          51 :20     R,P,H              50:23         51:2           R, SP, PK, Cmpd,      53:25        54:4       R, P, C, F, PK,
                                                                           ID                    54:8         54:8       Spec
                                              52:5          52:7           R, SP, PK, V, ID      53:25        54:4       R, P, C, F, PK,
                                                                                                 54:8         54:8       Spec

                                              55:13         55:15          R, SP, PK, Cmpd,      53:25        54:4       R, P, C, F, PK,
                                                                           1D                    54:8         54:8       Spec

                                              55:19         55:24          R, SP, PK, Cmpd,      53:25        54:4       R, P, C, F, PK,
                                                                           1D                    54:8         54:8       Spec

                                              56:7          56:8           R, SP, PK, ID         53:25        54:4       R, P, C, F, PK,
                                                                                                 54:8         54:8       Spec

                                              56:11         56:11          R, SP, Cmpd, ID       53:25        54:4       R, P, C, F, PK,
                                                                                                 54:8         54:8       Spec

                                              57:7          57:13          R, SP, PK, Cmpd,      53:25        54:4       R, P, C, F, PK,
                                                                           ID, V                 54:8         54:8       Spec

                                              57:17         57:25          R, SP, PK, ID, V      53:25        54:4       R, P, C, F, PK,
                                                                                                 54:8         54:8       Spec

53:25           54:4       R,P,H,C
54:20           54:24      R, P, F, PK, LC,
                           701, Spec, C
55:2            55:7       R, P, F, PK, LC,



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                                             Christopher Thornberry (October 9, 2012)


        Defendants'             Plaintiffs      Plaintiffs Counter-           Defendants'        Defendants' Counter-      Plaintiffs
        Designations            Objections         Designations              Objections to       Counter Designations    Objections to
                                                                          Plaintiffs Counter-                             Defendants'
                                                                             Designations                               Counter-Counter
Line Start     Line End                      Line Start    Line End                             Line Start   Line End    Designations
                          701, Spec, C
55:12          55:12      R, P, F, PK, LC,
                          701, Spec, C
58:19          58:22      R,P,V
58:24          58:24      R,P




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                                 Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.,
                                                    Case No. 15-cv-7025 (D.N.J.)

       Defendants' Affirmative Deposition Designations, Plaintiff's Counter-Designations, and Defendants' Counter-Counter
                                              Designations, and Objections Thereto

                                                    David Carlson (September 28, 2017)


        Defendants'           Plaintiff's           Plaintiff's Counter-           Defendants'         Defendants' Counter-      Plaintiff's
        Designations          Objections               Designations               Objections to        Counter Designations    Objections to
                                                                               Plaintiff's Counter-                             Defendants'
                                                                                  Designations                                Counter-Counter
Line Start     Line End                          Line Start    Line End                               Line Start   Line End    Designations
6:19           6:22                              20:20;        21:2;           R, BSE (for all)
                                                 21 :5;        21 :7;
                                                 21:12;        22:9;
                                                 23:2;         23:8;
                                                 23:18         23:22
24:4           25:17      R                      25:18;        26:9;           R, BSE (for all)
                                                 183:9         184:4
26:10          26:20                             25:18         26:9            R
27:10          28:4       H, F, PK, Spec, 701,
                          M,V
28:6           28:6       H, F, PK, Spec, 701,
                          V
28:11          28:17      H, F, PK, Spec, NE,
                          M
34:16          37:1       H                      30:12;        30:24;          BSE (for all)
                                                 31:4;         31 :23;         F, R, H, NT (for
                                                 32:1;         32:6;           32:14-34:15)
                                                 32:14;        34:15;
                                                 37:2          37:3


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                                                   David Carlson (September 28, 2017)


        Defendants'             Plaintiffs        Plaintiff's Counter-           Defendants'         Defendants' Counter-         Plaintiff's
        Designations            Objections           Designations               Objections to        Counter Designations       Objections to
                                                                             Plaintiff's Counter-                                Defendants'
                                                                                Designations                                   Counter-Counter
Line Start     Line End                        Line Start    Line End                               Line Start   Line End       Designations
37:13          37:22      H,P,M
38:19          40:2       H,P.M
40:8           41 :6      P, PK, Spec, M       41 :22        42:20           F,H,NR
44:22          44:24                           44:25         45:3            BSE, SP, PK
45:4           45:25      R, IC                46:1;         48:13;          R
                                               48:15         49:19
66:21          66:23      R,P                  72:5;         72:20;          BSE (for all)          165:1        165:2        R, P, F, PK, Spec
                                               86:16;        87:11;          R (72:5-72:20)         165:6        165:8
                                               163:14;       163:23;         SP (for 164:2-25)      165:10       166:5
                                               164:2;        164:25;         ID (for 184:6-11)      166:9        166:9 (all
                                               184:6         184: 11                                             for
                                                                                                                 163:14-
                                                                                                                 163:23,
                                                                                                                 164:2-
                                                                                                                 164:25)
88:5           88:20      R, P, PK, Spec, NE   88:21;        88:22;          R, SP, H, BSE (for
                                               88:24         89:5            all)

93:11          93:23      PK, Spec             89:16;        89:24;          H, SP, BSE (for all)
                                               90:20         91 :19
95:2           95:6       R, IC, PK, Spec,
                          NE,M
97:16          98:6


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                                                  David Carlson (September 28, 2017)


        Defendants'           Plaintiffs          Plaintiffs Counter-           Defendants'        Defendants' Counter-        Plaintiffs
        Designations          Objections             Designations              Objections to       Counter Designations      Objections to
                                                                            Plaintiffs Counter-                               Defendants'
                                                                               Designations                                 Counter-Counter
Line Start     Line End                        Line Start    Line End                             Line Start   Line End      Designations
101:4          101:11     PK, Spec, 701, LC,
                          V
101:17         101 :19    PK, Spec, 701, LC
101:23         101 :25    PK, Spec, V
102:9          103:16     PK, Spec, 701, LC,   105:22;       106:4;         SP (105-106)          107:7 (for   108:6        C, F, PK, Spec,
                          V                    106:7;        106:22;        F, BSE, (107-109,     106:24-                   702, LC, IC, ML
                                                                            110-111)              107:6)
                                               106:24;       107:6;
                                               108:7;        108:10;        R, BSE (110-111)
                                                                                                  109:10       110:21
                                               108:13;       109:3;
                                                                                                               (for
                                               110:23        111 :22                                           108:13-
                                                                                                               109:3,
                                                                                                               110:23-
                                                                                                               111 :22)
103: 19        105:10     PK, Spec, 701, LC,   105:22;       106:4;         SP (105-106)          107:7 (for   108:6        C, F, PK, Spec,
                          V                    106:7;        106:22;        F, BSE, (107-109,     106:24-                   702, LC, IC, ML
                                                                            110-111)              107:6)
                                               106:24;       107:6;
                                                                            R, BSE (110-111)      109:10       110:21
                                               108:7;        108:10;
                                                                                                               (for
                                               108:13;       109:3;                                            108:13-
                                               110:23        111 :22                                           109:3,
                                                                                                               110:23-
                                                                                                               111 :22)
116: 15        116: 19    R,PK                 117: 1;       117:13;        SP, PK, BSE, R (for   118:4        119:3 (for   C,F
                                                                                                               117:1-13,


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                                                  David Carlson (September 28, 2017)


        Defendants'           Plaintiff's         Plaintiff's Counter-           Defendants'         Defendants' Counter-       Plaintiff's
        Designations          Objections             Designations               Objections to        Counter Designations     Objections to
                                                                             Plaintiff's Counter-                              Defendants'
                                                                                Designations                                 Counter-Counter
Line Start     Line End                        Line Start    Line End                               Line Start   Line End     Designations
                                               117:16;       117:18;         all)                                117: 16-
                                               119:4;        119:10;                                             18)
                                               119:14;       119:20;
                                               119:22        120:8
120:12         120:16     M, V, 701, LC
121: 11        122:2      PK, Spec, 701, LC,
                          V
126:7          127:20     PK, Spec, 701, NE,   128:20;        128:23;        BSE, F, V (for all)    128:24       129:25     R, C, F, PK, Spec
                          V                    130:1          131 :4         Also add ID, H, SP,
                                                                             PK for 130:1-131:4
136:6          136:19     V                    135:13;        135:16;        BSE, SP, PK (for
                                               135:18         135:25         all)

161 :20        161 :21    V,ML                 163:2          163:10         ID, SP, V, NR
161 :23        162:5      V,ML                 163:2          163:10         ID, SP, V, NR
162:18         162:21     V,ML,C               163:2          163:10         ID, SP, V, NR
178:22         179:25     R,P. NE, V           177:20;        177:23;        SP, PK, BSE (for
                                               178:2          178: 12        all)

180:17         181 :2     R,PK
181 :4         181 :4     R,PK




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                                  Eagle View Technologies, Tnc. et al. v. Xactware Solutions, Inc. et. al.,
                                                     Case No. 15-cv-7025 (D.N.J.)

    Defendants' Affirmative Deposition Designations, Plaintifrs Counter-Designations, and Defendants' Counter-Counter
                                           Designations, and Objections Thereto

                                                      David Carlson (March 26, 2018)


        Defendants'           Plaintiff's          Plaintiff's Counter-        Defendants'         Defendants' Counter-      Plaintiff's
        Designations          Objections              Designations            Objections to        Counter Designations    Objections to
                                                                           Plaintiff's Counter-                             Defendants'
                                                                              Designations                                Counter-Counter
Line Start     Line End                         Line Start    Line End                            Line Start   Line End    Designations
234: IO        235:1      R, P, PK, F

274:22         275:3      P, Arg, C             277:19        278:1       F,SP,C
275:12         275:25     H,P,C                 277:19        278:1       F,SP,C
302:7          302:19     F,H,P,C,AT,V          290:8         290:11      BSE (for all)
                                                290:20        290:23
                                                292:11        292:15      F (292:11-15,
                                                292:24        293:10      292:24-293: 10,
                                                                          293: 13-294:6, 06:9-
                                                293:13        294:6
                                                                          307: 19)
                                                296:3         296:18
                                                298:18        298:25
                                                300:5         300:16      SP (300:5-16,
                                                302:20        303:1       306:9-307:19)
                                                306:9         307:19
                                                                          V (300:5-16, 306:9-
                                                                          307:19)

                                                                          NR(292:ll-15,
                                                                          292:24-293: 10,
                                                                          296:3-296: 18;
                                                                          298: 18-298:25,
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                                                  David Carlson (March 26, 2018)


     Defendants'              Plaintiff's      Plaintiff's Counter-           Defendants'         Defendants' Counter-        Plaintiff's
     Designations             Objections          Designations               Objections to        Counter Designations      Objections to
                                                                          Plaintiff's Counter-                               Defendants'
                                                                             Designations                                  Counter-Counter
Line Start   Line End                       Line Start    Line End                               Line Start   Line End      Designations
                                                                          306:9-307:19)

                                                                          1D (296:3-296: 18)
334:12       334:17     C
334:21       335:1      C,F                 312:22        312:25
345:13       345:18     C,F, V, LC          346: 17       346:20          TD, V, SP (all for     347:2        347:4 (for
                                            347:7         347:7           347:7)                              347:7)




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                                 Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.,
                                                         Case No. 15-cv-7025 (D.N.J.)

       Defendants' Affirmative Deposition Designations, Plaintiff's Counter-Designations, and Defendants' Counter-Counter
                                              Designations, and Objections Thereto

                                              Christopher A. Ciarcia (December 14, 2017)


        Defendants'            Plaintiffs         Plaintiffs Counter-             Defendants'        Defendants' Counter-      Plaintiffs
        Designations           Objections            Designations                Objections to       Counter Designations    Objections to
                                                                              Plaintiffs Counter-                             Defendants'
                                                                                 Designations                               Counter-Counter
Line Start     Line End                        Line Start       Line End                            Line Start   Line End    Designations
7:22           7:25
10:15          12:6                            18:14            19:4                                                        R, PK, Spec
                                               23:22            23:24
                                               52:7             52:14                               52:15        53:4
                                               53:8             54:14
84:24          85:23      R, Spec, V, IC       84:8             84:15
                                               84:22            84:23
                                               91 :3            91 :14
                                               159:5            159:19
85:25          86:4       R, Spec, V           159:5            159:19
86:6           86:10      NR                   86:20            86:25
                                               87:3             87:22         NR
                                               146:22           146:24
                                               147:1            148: 11       R
                                               148:19           149:5         SP
                                               161 :11          162:20        SP;PK,F               162:21       162:24     F, MD, PK, Spec,
                                                                                                    163:2        163: 11    LC, 702



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                                               Christopher A. Ciarcia (December 14, 2017)


        Defendants'             Plaintiffs        Plaintiffs Counter-           Defendants'        Defendants' Counter-       Plaintiffs
        Designations            Objections           Designations              Objections to       Counter Designations     Objections to
                                                                            Plaintiffs Counter-                              Defendants'
                                                                               Designations                                Counter-Counter
Line Start     Line End                        Line Start    Line End                             Line Start   Line End     Designations
                                                                                                  163: 13      164:17     R,C
                                               164:18         164:19        SP;PK                 162:21       162:24     F, MD, PK, Spec,
                                                                                                  163:2        163: 11    LC, 702
                                                                                                  163:13       164:17     R,C

                                               164:21         165:1         SP; PK; H             162:21       162:24     F, MD, PK, Spec,
                                                                                                  163:2        163: 11    LC, 702
                                                                                                  163:13       164:17     R,C

90:2           90:21      R, F, PK, Spec, C,   159:5          159:19
                          IC
112:25         113:4      F, PK, Spec          112:14         112:24
113:6          113:24     F, PK, Spec, NR
125:15         126:17     R,P                  125:12         125:14
                                               126:21         126:23
                                               127:1          127:4
                                               127:25         128:7
                                               128:9          128: 11
                                               128:13         128:20
                                               128:23         128:24
129:1          129:8      R, P, PK, V
129:10         129: 12    R, P, PK, V
129:14         129:16     R, P, PK, V



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                                              Christopher A. Ciarcia (December 14, 2017)


        Defendants'           Plaintiff's        Plaintiff's Counter-           Defendants'         Defendants' Counter-       Plaintiff's
        Designations          Objections            Designations               Objections to        Counter Designations     Objections to
                                                                            Plaintiff's Counter-                              Defendants'
                                                                               Designations                                 Counter-Counter
Line Start     Line End                       Line Start     Line End                              Line Start   Line End     Designations
136:4          136:6      R, P, F, PK, Spec   135:20         135:21
                                              138:3          138:10
                                              138:13         138:14
                                              138:16         138:19
136:8          137:19     R, P, F, PK, Spec   135:20         135:21         ID                     135:16       135:18     R, C, IC
                                              138:3          138:10         F,ID                   137:22       138:2      R,C


                                              138:13         138:14         ID                     138:15       138:15
                                              138:16         138:19
                                              141:9          141:10
                                              141 :13        141:16         NR
                                              141 :18        141 :20
                                              141:22         143:4
                                              143:7          144:9          SP                     145:14       145:16     M, F, Spec, 702,
                                                                                                   145:19       145:22     LC




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                                    Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.,
                                                          Case No. 15-cv-7025 (D.N.J.)

       Defendants' Affirmative Deposition Designations, Plaintifrs Counter-Designations, and Defendants' Counter-Counter
                                              Designations, and Objections Thereto

                                                      Dale Thornberry (October 9, 2012)


         Defendants'             Plaintiffs          Plaintiffs Counter-         Defendants'        Defendants' Counter-      Plaintiffs
         Designations            Objections            Designations             Objections to       Counter Designations    Objections to
                                                                             Plaintiffs Counter-                             Defendants'
                                                                                Designations                               Counter-Counter
Line Start      Line End                          Line Start    Line End                           Line Start   Line End    Designations
4:10            4:12
6:12            6:22
7:1             7:14       R,P, V                 7:15          7:17        R, V
7:18            8:3        R,P                    7:15          7:17        R,V
8:20            9:1
10:1            10:5       F,NE, V
10:12           10:16      C, PK, Spec            10:24         11: 11      SP,PK, V
11 :25          13:22      H, V, PK, Spec         10:24         11: 11      SP, PK, V

                                                  25:12         26:5        SP, PK, V, F

                                                  26:9          26:15       SP, PK, V, F

14:2            14:7
14:24           15:2       R,P
15: 13          15:15      V
15:19           15:21      V
16:5            16:10      R,P, V                 16:11         16:13       R
16:14           16:16                             16:17         16:19       R, V
                Case 1:15-cv-07025-RBK-JS Document 674 Filed 06/03/19 Page 258 of 504 PageID: 39721




                                                     Dale Thornberry (October 9, 2012)


        Defendants'              Plaintiff's        Plaintiff's Counter-           Defendants'         Defendants' Counter-      Plaintiff's
        Designations             Objections            Designations               Objections to        Counter Designations    Objections to
                                                                               Plaintiff's Counter-                             Defendants'
                                                                                  Designations                                Counter-Counter
Line Start     Line End                          Line Start    Line End                               Line Start   Line End    Designations
16:25          18: 13     F, PK, Spec, V         18:14         18:16           V
18:17          18:24      R,P                    18:14         18: 16          V
22:8           24:1       F, R, P, PK, Spec, V
24:7           25:6       R, p
26:6           26:8
26:16          27:10      R,P                    26:9          26:15           R, SP, PK, V, F

                                                 27: 11        27:19           SP, V, F, R, P

28:10          28:17
29:7           30:9       R, P, H, F, PK,        86:8          86:9            R, V,ID                84:22        85: 11     R,P,C
                          Spec, LC, 701, V                                                            85:13        85:14
                                                                                                      85:24        86:7
                                                 86:13         86:19           R, V,ID                84:22        85:11      R,P,C
                                                                                                      85:13        85:14
                                                                                                      85:24        86:7
30:24          31: 15     IC
32:8           32:25      R,P
33:5           33:18      R, P, C, F, PK,
                          Spec, M
35:10          36:6       R, P, H, NR            36:7          37:3            R,V,H,
                                                 39:6          39:8            R, V, ID, BSE          39:2         39:5       R,P,C



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                                                   Dale Thornberry (October 9, 2012)


        Defendants'             Plaintiff's       Plaintiff's Counter-           Defendants'         Defendants' Counter-       Plaintiff's
        Designations            Objections           Designations               Objections to        Counter Designations     Objections to
                                                                             Plaintiff's Counter-                              Defendants'
                                                                                Designations                                 Counter-Counter
Line Start     Line End                        Line Start    Line End                               Line Start   Line End     Designations
                                                                                                    39:9         39:12

                                               39:13         39:17           R, V, ID, BSE          39:2         39:5       R,P,C
                                                                                                    39:9         39:12
                                               68:8          68:14           R, V, H, SP
                                               68:16         68:21           R, V, SP, PK, AT
                                               68:25         69:5            R, V, SP, PK,
                                               68:8;         68:10           R, V, SP, ID, F, IO
                                               68:13         68:13           R, V, SP, ID, F, IO
37:4           37:6       R,P,H
37:15          37:16      R,P,H                37:17         37:18           ID, R, PK              37:19        37:20      R, P, C, PK, Spec

                                               37:21         37:22           ID,R                   37:19        37:20      R, P, C, PK, Spec

37:23          39:1       R, P, H, M, F, PK,   37:17         37:18           ID,R, PK               37:19        37:20      R, P, C, PK, Spec
                          Spec, LC, 701, V
                                               37:21         37:22           ID,R                   37:19        37:20      R, P, C, PK, Spec

39:21          40:3       R,P                  66:11         66:20           ID,R                   40:4         40:12      R, P, C, V, F, PK,
                                                                                                    65:7         67:20      Spec, AT
                                                                                                    66:4         66:10
                                                                                                    66:21        66:25
                                                                                                    67:11        67:15
                                                                                                    67:17        67:19
                                                                                                    67:21        67:21



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                                                   Dale Thornberry (October 9, 2012)


        Defendants'           Plaintiff's         Plaintiff's Counter-           Defendants'         Defendants' Counter-       Plaintiff's
        Designations          Objections             Designations               Objections to        Counter Designations     Objections to
                                                                             Plaintiff's Counter-                              Defendants'
                                                                                Designations                                 Counter-Counter
Line Start     Line End                        Line Start    Line End                               Line Start   Line End     Designations
                                               67:6          67:10           ID,R                   40:4         40:12      R, P, C, V, F, PK,
                                                                                                    65:7         67:20      Spec, AT
                                                                                                    66:4         66:10
                                                                                                    66:21        66:25
                                                                                                    67:11        67:15
                                                                                                    67:17        67:19
                                                                                                    67:21        67:21

40:18          41 :2      R,P,H                65:21         66:3            ID ,SP, PK, LD         40:4         40:12      R, P, C, V, F, PK,
                                                                                                    65:7         67:20      Spec, AT
                                                                                                    66:4         66:10
                                                                                                    66:21        66:25
                                                                                                    67:11        67:15
                                                                                                    67:17        67:19
                                                                                                    67:21        67:21

42:14          42:25      R,P,H,F,M,MD
44:10          45:6       R, P, H, V, M, MD,   45:7          45:13
                          F, PK, Spec, lC
45:14          45:17      R,P,H
45:23          47:2       R, P, H, F, PK,      70:14         70:15           R,ID                   69:20        70:6       R,P,C
                          Spec, M, MD                                                               70:9         70:13
                                               70:17;        70:17;          R,ID                   69:20        70:6       R,P,C
                                                                                                    70:9         70:13
                                               70:19;         70:21;         R, ID, SP, PK          69:20        70:6       R,P,C
                                                                                                    70:9         70:13


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                                                     Dale Thornberry (October 9, 2012)


        Defendants'           Plaintiffs            Plaintiffs Counter-           Defendants'        Defendants' Counter-       Plaintiffs
        Designations          Objections               Designations              Objections to       Counter Designations     Objections to
                                                                              Plaintiffs Counter-                              Defendants'
                                                                                 Designations                                Counter-Counter
Line Start     Line End                          Line Start    Line End                             Line Start   Line End     Designations
                                                 70:23;        71: 1;         R, ID, SP, PK         69:20        70:6       R,P,C
                                                                                                    70:9         70:13
                                                 71:3;         71 :3;         R, ID, SP, PK         69:20        70:6       R,P,C
                                                                                                    70:9         70:13
                                                 71 :9         71 :14         R, ID, SP, F,         69:20        70:6       R,P,C
                                                                                                    70:9         70:13
47:6           47:8       R, P, F, PK, Spec,
                          M,MD
49:16          50:14      R, P, H, F, LC, 701,   49:4          49:15          H, SP, ID             48:13        49:3       R, P, C, H, F, PK,
                          V,MD                                                                      50:19        50:22      Spec, LC, 701, V,
                                                                                                    51:3         51 :7      MD,M
50:19          50:22      R, P, H, F, PK,        84:6          84:21          H, SP, PK             50:19        50:22      R, P, C, H, F, PK,
                          Spec, IC                                                                  51 :3        51:7       Spec, LC, 701, V
51:4           51: 19     R, P, H, F, PK,                                     H, SP, PK
                          Spec, LC, 701, V,
                          MD
52:9           52:15      R, P, H, MD, M, F,     52:4          52:8           ID
                          LC, 701,
52:19          53:8       C,R,P, H, M
54:12          54:16      R,P,H
54:24          55:4       R,P,H
56:25          57:9       R, P, H, F, PK, LC,



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                                                 Dale Thornberry (October 9, 2012)


        Defendants'             Plaintiffs      Plaintiffs Counter-           Defendants'        Defendants' Counter-       Plaintiffs
        Designations            Objections         Designations              Objections to       Counter Designations     Objections to
                                                                          Plaintiffs Counter-                              Defendants'
                                                                             Designations                                Counter-Counter
Line Start     Line End                      Line Start    Line End                             Line Start   Line End     Designations
                          Spec, 701, MD
58:17          58:24      R,P
59:5           59:8       R,P
63:19          64:21      R, P, PK, Spec
69:14          69:16      R,P,V
69:19          69:19      R,P,V
72:8           72:16      R,P                72:17         72:18          ID, V, Cmpd, NT
72:20          72:21      R,P
72:23          73:2       R,P
88:24          89:4                          89:5          89:8           ID, SP,               49:16        50:14      R, P, H, F, LC,
                                                                                                                        701, V, MD




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                                   Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.,
                                                      Case No. 15-cv-7025 (D.N.J.)

       Defendants' Affirmative Deposition Designations, Plaintiff's Counter-Designations, and Defendants' Counter-Counter
                                              Designations, and Objections Thereto

                                                     Matthew Quilter (October 18, 2017)


         Defendants'             Plaintiffs         Plaintiffs Counter-         Defendants'        Defendants' Counter-      Plaintiffs
         Designations            Objections            Designations            Objections to       Counter Designations    Objections to
                                                                            Plaintiffs Counter-                             Defendants'
                                                                               Designations                               Counter-Counter
Line Start      Line End                         Line Start    Line End                           Line Start   Line End    Designations
7:1             7:8        Personal (address)
7:23            8:9
11:2            12:4
14:6            14:10      R
14:17           15:4       R, P, ML, Char
16:4            16:16      R, P, ML, Char
17:9            17:14      R
17:23           18:6       R,P,ML
19:6            20:7       R, P, ML (19:6-10,    20:9          20:13
                           19:21-23)
21:6            21 :9      R,P
21 :23          22:2       ML
22:8            22:18      ML,F
22:22           22:24
23:4            23:6       ML
23:9            25:5       R, P (24:5-16)
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                                                      Matthew Quilter (October 18, 2017)


        Defendants'            Plaintiff's           Plaintiff's Counter-           Defendants'         Defendants' Counter-      Plaintiff's
        Designations           Objections               Designations               Objections to        Counter Designations    Objections to
                                                                                Plaintiff's Counter-                             Defendants'
                                                                                   Designations                                Counter-Counter
Line Start     Line End                           Line Start    Line End                               Line Start   Line End    Designations
27:22          27:24                              27:25         28:1            R
28:11          29:7
29:14          29:25
30:16          30:24      In                      30:25         30:25
31: 1          32:7       In                      30:25         30:25
34:6           34:20
40:3           40:21
44:14          45: 11
46:15          46:19
47:1           47:4
49:1           49:4
51:7           51: 16
52:3           52:24      30(b)(6), R, P          55:14;        55:20;          R;C
                                                  56:2;         56:14           R;C

                                                  56:8           56:6;          R;C

53:1           54:23      30(b)(6), R, P, Spec,   55:14;         55:20;         R;C
                          PK
                                                  56:2;          56:6;          R;C

                                                  56:8           56:14          R;C



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                                                   Matthew Quilter (October 18, 2017)


        Defendants'           Plaintiff's         Plaintiff's Counter-           Defendants'         Defendants' Counter-      Plaintiff's
        Designations          Objections             Designations               Objections to        Counter Designations    Objections to
                                                                             Plaintiff's Counter-                             Defendants'
                                                                                Designations                                Counter-Counter
Line Start     Line End                        Line Start    Line End                               Line Start   Line End    Designations
54:25          54:25      30(b)(6)             55:14;        55:20;          R;C

                                               56:2;         56:6;           R;C

                                               56:8          56:14           R;C

55:2           55:4       30(b)(6)             55:14;        55:20;          R;C

                                               56:2;         56:6;           R;C

                                               56:8          56:14           R;C

57:23          58: 11
59:6           59:8                            59:9          59:10
59:20          60:22                           60:23         60:25
62:4           62:11                           62:12;        62:16;
                                               62:18         62:21
62:22          63:3                            62:12;        62:16;
                                               62:18          62:21
65:11          66:10      30(b)(6) (66:7-10)   66:16;        66:16;          SP; PK; IC             68:5         68:11      PK, Spec, R, P, V
                                               66:18;         66:18;         SP; PK; IC             68:5         68:11      PK, Spec, R, P, V
                                               68:12          69:21          R;NR; C; IC            68:5         68: 11     PK, Spec, R, P, V
66:12          66:12      30(b)(6)             66:16;         66:16;         SP; PK; IC             68:5         68: 11     PK, Spec, R, P, V
                                               66:18;         66:18;         SP; PK; IC             68:5         68:11      PK, Spec, R, P, V




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                                               Matthew Quilter (October 18, 2017)


        Defendants'           Plaintiffs      Plaintiff's Counter-           Defendants'         Defendants' Counter-       Plaintiffs
        Designations          Objections         Designations               Objections to        Counter Designations     Objections to
                                                                         Plaintiff's Counter-                              Defendants'
                                                                            Designations                                 Counter-Counter
Line Start     Line End                    Line Start    Line End                               Line Start   Line End     Designations
                                           68:12         69:21           R; NR; C; IC           68:5         68:11      PK, Spec, R, P, V
66:14          66:14      30(b)(6)         66:16;        66:16;          SP; PK; IC             68:5         68:11      PK, Spec, R, P, V

                                           66:18;        66:18;          SP; PK; IC             68:5         68: 11     PK, Spec, R, P, V

                                           68:12         69:21           R; NR; C; IC           68:5         68:11      PK, Spec, R, P, V

66:19          66:22                       68:12         69:21           NR; C; IC              68:5         68:11      PK, Spec, R, P, V

66:25          66:25                       68:12         69:21           NR; C; IC              68:5         68:11      PK, Spec, R, P, V

69:23          70:9                        70:10         70:21
70:22          71: 12                      70:10         70:21
72:8           73:14
73:22          74: 11
75:24          76:7
76:9           76:13                       76:22         82:7            R; NR; C; P; IC        76:14        76:21
82:8           82:21                       76:22         82:7            R; NR; C; P; IC        76:14        76:21
89:14          90:14
90:20          91 :6                       91:7;         92:5;           R;C;NR
                                           92:13;        92:22;          R;C;NR
                                           93:22;        93:25;          R;C
                                           94:2          94:13           R;C;NR




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                                                 Matthew Quilter (October 18, 2017)


        Defendants'           Plaintiffs        Plaintiffs Counter-           Defendants'        Defendants' Counter-      Plaintiffs
        Designations          Objections           Designations              Objections to       Counter Designations    Objections to
                                                                          Plaintiffs Counter-                             Defendants'
                                                                             Designations                               Counter-Counter
Line Start     Line End                      Line Start    Line End                             Line Start   Line End    Designations
92:6           92:12                         91 :7;        92:5;          R;C;NR
                                             92:13;        92:22;         R;C;NR
                                             93:22;        93:25;         R;C
                                             94:2          94:13          R;C;NR
92:23          93:8                          91:7;         92:5;          R;C;NR
                                             92:13;        92:22;         R;C;NR
                                             93:22;        93:25;         R;C
                                             94:2          94:13          R;C;NR
93:10          93:21                         91:7;         92:5;          R;C;NR
                                             92:13;        92:22;         R;C;NR
                                             93:22;        93:25;         R;C
                                             94:2          94:13          R;C;NR
94:14          94:21                         91 :7;        92:5;          R;C;NR
                                             92:13;        92:22;         R;C;NR
                                             93:22;        93:25;         R;C
                                             94:2          94:13          R;C;NR
99:10          100:20     AT (99:21), R, P
                          (99:20, 99:22-
                          100:20)



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                                                     Matthew Quilter (October 18, 2017)


        Defendants'             Plaintiffs          Plaintiffs Counter-           Defendants'        Defendants' Counter-       Plaintiffs
        Designations            Objections             Designations              Objections to       Counter Designations     Objections to
                                                                              Plaintiffs Counter-                              Defendants'
                                                                                 Designations                                Counter-Counter
Line Start     Line End                          Line Start    Line End                             Line Start   Line End     Designations
100:22         100:23     R,P




104:7          104:16     In,R, P                94:22;        95:5;                                95:6         95:13
                                                 101:21;       102:9;                               102:10       103: 11    C,R,P
                                                 103:18        103:21                               103:23       104:1      C, R, P, 30(b)(6)
105:2          105:12                            105:13        105:18
109:14         109:19                            108:21        109:5          NT; H; 1002; IC       109:6        109:8      C, R, P, 30(b)(6)
109:22         110:1      AT
113:13         113:18     In                     113:19;       113:20;
                                                 113:22        113:25         NR
114:1          114:2      In                     114:7         114: 13
114:4          114:6                             114:7         114:13
114:14         115:4      AT (115:1),            114:7         114:13
                          30(b)(6), F (114:25,
                          115:2-3, 115:4)
115:6          115:15     30(b)(6), F (115:6-
                          7)
115:17         115:22



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                                                   Matthew Quilter (October 18, 2017)


        Defendants'           Plaintiff's         Plaintiff's Counter-           Defendants'         Defendants' Counter-      Plaintiff's
        Designations          Objections             Designations               Objections to        Counter Designations    Objections to
                                                                             Plaintiff's Counter-                             Defendants'
                                                                                Designations                                Counter-Counter
Line Start     Line End                        Line Start    Line End                               Line Start   Line End    Designations
115:24         116:6
117: 10        118:8
118: 16        119:12
120:20         121:11
121:20         121 :23
123:1          123:21                          122:18        122:25          NT
124:25         125:15                          123:25        124:3           R
126:7          126:18                          126:19         126:19
133:18         134:7
137:11         137:19
138:19         139:2
139:10         139:20                          139:6          139:9          NT
140:5          140:9
141:18         142:9      In (142:1-7),
                          30(b)(6) (142:8-9)
142:12         142:19     30(b)(6) (142:12-
                          14, 142:15-19)
142:22         143: 1     30(b)(6) (142:22)
143:3          143:7



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                                               Matthew Quilter (October 18, 2017)


        Defendants'           Plaintiffs      Plaintiffs Counter-           Defendants'        Defendants' Counter-      Plaintiffs
        Designations          Objections         Designations              Objections to       Counter Designations    Objections to
                                                                        Plaintiffs Counter-                             Defendants'
                                                                           Designations                               Counter-Counter
Line Start     Line End                    Line Start    Line End                             Line Start   Line End    Designations
143:9          144:14     AT (144:9)       144:15;       144:20;


                                           144:22        145:1          NR
146:18         147:4
151 :15        151 :20    R,P,PK
156:9          156:12     R,P,F            156:3;        156:4;
                                           156:6         156:8
156:15         156:15     R,P,F
160:10         160:22     R,P,F
161: 1         161 :7     R,P,C




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                                    Ea1;le View Technolo1;ies, Inc. et al. v. Xactware Solutions, Inc. et. al.,
                                                        Case No. 15-cv-7025 (D.N.J.)

       Defendants' Affirmative Deposition Designations, Plaintiff's Counter-Designations, and Defendants' Counter-Counter
                                              Designations, and Objections Thereto

                                                          John Keane (December 12, 2017)


         Defendants'              Plaintifrs         Plaintifr s Counter-               Defendants'        Defendants' Counter-       Plaintifrs
         Designations             Objections            Designations                   Objections to       Counter Designations     Objections to
                                                                                    Plaintifr s Counter-                             Defendants'
                                                                                       Designations                                Counter-Counter
Line Start      Line End                          Line Start     Line End                                  Line Start   Line End    Designations
6:15            6:22
7:4             7:10
8:7             8:9                               8:10           8:20           R, NR, BSE
                                                  15: 18         16:17          R, NR, BSE
8:21            9:19
9:24            10:4       R                      13:14          14:1           R,V
                                                  14:4           14:7           R,V
11: 18          11 :22     R                      13:14          14: 1          R, V
                                                  14:4           14:7           R,V
11:24           12:2       R                      13:14          14:1           R, V
                                                  14:4           14:7           R,V
14:16           14:23      R,V                    13:14          14:1           R, V,NR,BSE
                                                  14:4           14:7           R, V, NR, BSE
18:6            18:7       F, V                   18:8           18:10          R
18: 11          18:14      F, V                    18:8          18:10          R
18:25           19:5                              18:8           18:10          R
19:13           19:16      V



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                                                       John Keane (December 12, 2017)


         Defendants'              Plaintiff's      Plaintiff's Counter-               Defendants'        Defendants' Counter-       Plaintiff's
         Designations             Objections          Designations                   Objections to       Counter Designations     Objections to
                                                                                  Plaintiff's Counter-                             Defendants'
                                                                                     Designations                                Counter-Counter
Line Start      Line End                        Line Start    Line End                                   Line Start   Line End    Designations
19:17           19: 17     IC                   19:18         19:23
                                                20:1          20:2
20:3            20:4                            19:18         19:23           R,NR,V
                                                20:1          20:2            R,NR,V
20:10           20:19      V                    19:18         19:23           R,NR, V,BSE
                                                20:1          20:2            R,NR, V,BSE
20:22           21 :2      V
21:3            21 :4      V                    21:6          21:9
21 :10          22:8       R,V                  21:6          21 :9
22:21           23:13      R,P,F,NE             22:9          22:20           R
23:22           24:1       R,P,F
24:6            24: 11     V                    24:12         24:20           R, V,SP
24:21           25:5       F, V
25:7            25:7       V
25:9            25:16      V
26:18           26:25      M, V,Cmpd            25:18;        26:2;           R,V                        26:3         26:12      C
                                                26:13         26:17           R,V                        26:3         26:12
27:12           28:1
28:2            28:3       M



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                                                  John Keane (December 12, 2017)


        Defendants'             Plaintiffs      Plaintif-f s Counter-            Defendants'         Defendants' Counter-       Plaintif-f s
        Designations            Objections         Designations                 Objections to        Counter Designations     Objections to
                                                                             Plaintif-f s Counter-                             Defendants'
                                                                                Designations                                 Counter-Counter
Line Start     Line End                      Line Start     Line End                                 Line Start   Line End    Designations
28:5           28:17      V
28:18          28:19      V,NE
28:21          29:4       Cmpd, PK
29:6           29:11
34:1           34:15      R,P,C,V
36:22          37:6       R,P                35:22          35:23           R, P, V, NR, BSE
                                             35:25          36:8            R, P, V, NR, BSE
                                             37:9           37:17           R, P, V, NR, BSE
                                             38:11          38:22           R, P, V, NR, BSE
37:7           37:7       R,P,C              35:22          35:23           R, P,   V, NR, BSE
                                             35:25          36:8            R, P,   V, NR, BSE
                                             37:9           37:17           R, P,   V, NR, BSE
                                             38: 11         38:22           R, P,   V, NR, BSE
37:25          38:2       R,P,C              35:22          35:23           R, P,   V, NR, BSE
                                             35:25          36:8            R, P,   V, NR, BSE
                                             37:9           37:17           R, P,   V, NR, BSE
                                             38: 11         38:22           R, P,   V, NR, BSE
39:23          40:1       F                  38:23          39:6            R, V,NR,BSE
                                             39:10          39:12           R, V, NR,BSE
40:12          41 :3      PK, F, Spec, V




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                                                     John Keane (December 12, 2017)


        Defendants'             Plaintiff's      Plaintiff's Counter-            Defendants'        Defendants' Counter-       Plaintiff's
        Designations            Objections          Designations                Objections to       Counter Designations     Objections to
                                                                             Plaintiff's Counter-                             Defendants'
                                                                                Designations                                Counter-Counter
Line Start     Line End                       Line Start    Line End                                Line Start   Line End    Designations
41:8           41 :23
42:4           42:15      M
43:4           43:7       M
43:10          43:13      F
43:15          44:3       PK,V
44:13          44:13      V                   44:17         44:21           R,V
                                              48:7          48:15           R, V, NR, BSE, P
44:15          44:16                          44:17         44:21
45:22          46:6       R,C,V
46:16          46:18      C,M, V, Arg
46:21          47:1       R,C                 48:7          48:15           R,M,P
47:2           47:3       R,C,V               48:7          48:15           R,M,P
47:5           47:9       C,R,V               48:7          48:15           R,M,P
47:11          47:11                          48:7          48:15           R,M,P
48:17          49:3       R,C,V               49:13         49:19           V,M
51:6           51 :8      p                   50:22         51 :5           R,F,PK, V
54:16          54:18      R,P
54:22          55:3       R,P,C               55:4          55:14           R, F, V, NR, BSE
55:20          55:22      R, P, C, lC         55:23          56:3           R, NR, BSE


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                                                      John Keane (December 12, 2017)


        Defendants'             Plaintiffs        Plaintiffs Counter-            Defendants'       Defendants' Counter-       Plaintiffs
        Designations            Objections           Designations               Objections to      Counter Designations     Objections to
                                                                             Plaintiffs Counter-                             Defendants'
                                                                                Designations                               Counter-Counter
Line Start     Line End                        Line Start    Line End                              Line Start   Line End    Designations
56:10          56:12      R,P,C
56:14          56:17      R,P,C
56:25          57:5       P,C,PK
58:16          58:18      P,C
59:7           59:14      V
59:16          60: 10
60:21          60:23      V,LC,F
61 :1          61:4       V,F
61:6           61 :19     V, LC, F, PK, Spec
62:12          62:13      LC
62:16          63:4       V
63:13          63:25      V
64:13          64:14      V
64:16          65: 11     R,V                  65:12         65:12          V, M, R, NR, BSE
                                               65:14         65:17          V, M, R, NR, BSE

66:8           67:1       R, P, PK, Spec       67:2          62:3           R, NR, BSE
67:4           67:19      R,P                  68: 11        68:12          R,V                    67:24        68:10      C,V,M
                                                                            R,V
                                               68:14         69:4                                  67:24        68:10
                                                                            R,V
                                               69:11         69:12          R,V                    67:24        68:10



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                                                      John Keane (December 12, 2017)


        Defendants'             Plaintiffs        Plaintiffs Counter-            Defendants'       Defendants' Counter-       Plaintiff's
        Designations            Objections           Designations               Objections to      Counter Designations     Objections to
                                                                             Plaintiffs Counter-                             Defendants'
                                                                                Designations                               Counter-Counter
Line Start     Line End                        Line Start    Line End                              Line Start   Line End    Designations
                                               69:14         69:16          R, V                   67:24        68:10
72:6           72:12      R,P
73:3           73:6       R, P, Cmpd
73:8           73:13      R,P                  73:19         73:25          R,V                    73:14        73:15      R, C, P, F, NE, A
                                                                                                   73:17        73:18
73:8           73:13      R,P                  74:3          74:13          R, V                   73:14        73:15      R, C, P, F, NE, A
                                                                                                   73:17        73:18
74:22          74:25      R,P
76:6           76:8       F, PK, Spec, V, LC
76:15          77:15      F, PK, Spec
77:19          77:25      V,LC
78:3           78:4       R,P
78:9           79:5       M, V, F, PK, Spec
79:7           79:18      F, PK, Spec, C
79:20          80:8       V,LC
80:11          80:11
82:2           82:17      R, F, PK, Spec
82:19          82:22      F, PK, Spec, V
82:25          83:5



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                                                     John Keane (December 12, 2017)


        Defendants'             Plaintiffs      Plaintiffs Counter-            Defendants'       Defendants' Counter-       Plaintiffs
        Designations            Objections         Designations               Objections to      Counter Designations     Objections to
                                                                           Plaintiffs Counter-                             Defendants'
                                                                              Designations                               Counter-Counter
Line Start     Line End                      Line Start     Line End                             Line Start   Line End    Designations
85:2           85:8       F, PK, Spec
85:10          85:15      F, PK, Spec
87:15          87:16      R,F, V             87:19          87:25         R,V,P                  88:1         88:1       R,C
                                                                                                 88:3         88:3
87:18          87:18      R,F,V              87:19          87:25         R, V,P                 88:1         88:1       R,C
                                                                                                 88:3         88:3
88:5           88:20      R,P,M,V
88:23          89:6       R,P
89:12          89:14      R,F,LC
89:16          89:22      R, F, PK, Spec
90:4           90:13      R,C                91 :5          95: 11        R, V, PK, NT, LC, F,
                                                                          C, IC, H, P, AT
91:21          91:24      R, F,LC
92:2           92:4       R,F                92:5           92:5          R, V, F, LC, P
                                             92:7           92:13         R, V, F, LC,P
                                             92:15          92:16         R, V, F, LC, P
93:5           93:12
96:12          96:14
96:22          96:25
97:2           97:2


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                                                    John Keane (December 12, 2017)


        Defendants'             Plaintiff's       Plaintiff's Counter-            Defendants'        Defendants' Counter-       Plaintiff's
        Designations            Objections           Designations                Objections to       Counter Designations     Objections to
                                                                              Plaintiff's Counter-                             Defendants'
                                                                                 Designations                                Counter-Counter
Line Start     Line End                        Line Start    Line End                                Line Start   Line End    Designations
97:5           97:10      R,P
98:14          98:16      R,P
99:2           99:5       R,P
99:15          99:18      R,P,F,LC
99:21          99:23      R,P
100:15         100:18     R,P
100:25         101 :8     R,P,F,LC
101 :11        101:11     R,P                  101:12         101 :13        LC,R,V
                                               101:16         101 :18        LC,R,V
101:19         102:11     R,P,C                101:12         101:13         LC,R,V
                                               101:16         101 :18        LC,R,V
103:8          103:12     R,P,F,C
103:14         103:23     R, P, F, LC, PK, C
104:1          104:3      R, P, F, LC, PK, C
104:5          104:5      R,P,C
105:13         105:17     R,P,C
105:22         105:22     R,P,F,LC,PK,C
105:25         106:2      R, P, F, LC, PK, C
106: 12        106:19     R, P, F, LC, PK, C   108:4          108: 12        R, V,NR,BSE



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                                                     John Keane (December 12, 2017)


        Defendants'            Plaintiffs          Plaintiffs Counter-            Defendants'       Defendants' Counter-       Plaintiffs
        Designations           Objections             Designations               Objections to      Counter Designations     Objections to
                                                                              Plaintiffs Counter-                            Defendants'
                                                                                 Designations                               Counter-Counter
Line Start     Line End                         Line Start    Line End                              Line Start   Line End    Designations
                                                108: 18       109:6          R, V, NR, BSE
106:22         106:22     R,P,C                 108:4         108:12         R, V,NR,BSE
                                                108: 18       109:6          R, V, NR, BSE
108:14         108:17     R,P,C                 108:18        109:6          R, V, PK, NR, BSE
111 :22        112:14     F, LC, PK
115:20         115:21     R, F, LC, PK, V
115:24         115:24     R
117:4          117: 12    R
117: 19        117:19     F
117:21         118:2
118:7          118:23     IC
122:10         122:14     F, PK, Spec, IC
112: 16        123:12     F, LC, PK, V, AT,
                          M
124:18         124:21     F, PK, Spec
125:5          125:22     F, PK, Spec
126:3          127:13     F,PK,MD
128:10         128:13     F, PK, Spec, M, Arg
128:15         128:17     F, PK, Spec, Arg



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                                                     John Keane (December 12, 2017)


        Defendants'           Plaintiffs           Plaintiffs Counter-            Defendants'       Defendants' Counter-       Plaintiffs
        Designations          Objections             Designations                Objections to      Counter Designations     Objections to
                                                                              Plaintiffs Counter-                             Defendants'
                                                                                 Designations                               Counter-Counter
Line Start     Line End                         Line Start    Line End                              Line Start   Line End    Designations
128:19         130:1      F, PK, Spec, Arg, C
130:3          130:7      F, PK, Spec, C
130:9          131:18     F, PK, Spec, V, C
131 :20        131 :24    F, PK, Spec, V, C
132:2          132:8      F, V,C                132:9         132: 11        V, M, R, NR, BSE
                                                132:14        133: 1         V, M, R, NR, BSE
133:10         133:11     F, PK, Spec           133:17        133:20         V,R,NR,BSE
                                                133:22        133:24         V, R, NR, BSE
133:13         133:16     F, PK, Spec           133:17        133:20         V,R,NR,BSE
                                                133:22        133:24         V,R,NR,BSE
135:8          135:9      V                     135:22        135:25         R,F
                                                136: 16       136:21         R,F
135:11         135:21                           135:22        135:25         R,F
                                                136: 16       136:21         R,F
136: 1         136:6                            135:22        135:25         R,F
                                                136:16        136:21         R,F
136:23         137:8                            137:9         137:11         R,F
137:12         138:5      F,MD
138:8          138:13     F,MD,V
138:16         139:8      F,MD, V               139:9         139:10         V,R,F


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                                                   John Keane (December 12, 2017)


        Defendants'             Plaintiff's      Plaintiff's Counter-            Defendants'        Defendants' Counter-       Plaintiff's
        Designations            Objections          Designations                Objections to       Counter Designations     Objections to
                                                                             Plaintiff's Counter-                             Defendants'
                                                                                Designations                                Counter-Counter
Line Start     Line End                       Line Start    Line End                                Line Start   Line End    Designations
                                              139:13        139: 18         V,R,F
141:13         141:17     V, NE, Cmpd, C
141 :20        142:10     C                   142:11        142:13          R,V
142:14         143:10     C                   142: 11       142: 13         R,S, V
145:24         145:25     F, PK, Spec, V      146:5          146: 15        R,V
                                              147:5          147:15         R,V
146:2          146:4      F, PK, Spec         146:5          146:15         R,V
                                              147:5          147:15         R,V
150:22         151 :3                         45:2          45:10           R, F, V, NR, BSE
                                              151 :4         151 :11        R,F, V
151 :12        152:7      R,P,M               151 :4         151:11         R,F, V
                                              152:8          152:8          R,F, V
                                              152:10         152:10         R,F, V
152: 11        152:17     R,P                 152:8          152:8          R,F, V
                                              152:10         152:10         R,F,V
152:23         152:25     F,M, V,LC           153:4          153: 17        R,F,V
153:3          153:3                          153:4          153: 17        R,F, V
153: 18        153:20     F,M,V,ML            153:4          153: 17        R,F, V
153:23         153:23     F,V,ML
155:13         155:16     F, V,ML             155:22         156:7          M, V,R,F



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                                                 John Keane (December 12, 2017)


        Defendants'            Plaintiffs      Plaintiffs Counter-            Defendants'       Defendants' Counter-       Plaintiffs
        Designations           Objections         Designations               Objections to      Counter Designations     Objections to
                                                                          Plaintiffs Counter-                             Defendants'
                                                                             Designations                               Counter-Counter
Line Start     Line End                     Line Start    Line End                              Line Start   Line End    Designations
155:18         155:21     F, PK, V,ML       155:22        156:7          M, V,R,F
156:18         157:3      V,ML              162:7         162:16         M, P, F, NR, BSE, SP
                                            162:18        163: 14        M, P, F, NR, BSE, SP
157:5          158:16     F, PK, Spec, ML   162:7         162:16         M, P, F, NR, BSE, SP
                                            162:18        163:14         M, P, F, NR, BSE, SP
158:18         158:19     V,ML              162:7         162:16         M, P, F, NR, BSE, SP
                                            162:18        163:14         M, P, F, NR, BSE, SP
158:21         158:25     ML                159:15        160: 13        M, P, F, NR, BSE, SP
                                            162:7         162:16         M, P, F, NR, BSE, SP
                                            162: 18       162: 18        M, P, F, NR, BSE, SP
159: 1         159:14     Cmpd, ML          159:15        160:13         M, P, F, NR, BSE, SP
                                            162:7         162:16         M, P, F, NR, BSE, SP
                                            162: 18       162:18         M, P, F, NR, BSE, SP




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                                Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.,
                                                       Case No. 15-cv-7025 (D.N.J.)

       Defendants' Affirmative Deposition Designations, Plaintiff's Counter-Designations, and Defendants' Counter-Counter
                                              Designations, and Objections Thereto

                                                  Matthew Levin (January 22, 2018)


        Defendants'          Plaintiff's         Plaintiff's Counter-        Defendants'         Defendants' Counter-       Plaintiff's
        Designations         Objections             Designations            Objections to        Counter Designations     Objections to
                                                                         Plaintiff's Counter-                              Defendants'
                                                                            Designations                                 Counter-Counter
Line Start     Line End                       Line Start     Line End                           Line Start   Line End     Designations
7:18           7:20
9:10           9:13
10:4           10:14
10:18          11:20
14:10          14: 11
14:16          14:19
22:4           22:15                          28:2;          28:15;     IC; F; V, SP, PK        54:12        54:16      IC, IN, R, P
                                                                                                54:19        54:21
                                                                                                126:3        126: 10


                                              44:12;         44:18;     IC; V; PK; Cmpd;        54:12        54: 16     IC, IN, R, P
                                                                        SP; NE; F; R; P         54:19        54:21
                                              44:25;         44:25;     IC; V; PK; Cmpd;        54:12        54:16      IC, IN, R, P
                                                                        SP; NE; F; R; P         54:19        54:21
                                              45:2;          45:10;     V;R;F                   54:12        54:16      IC, IN, R, P
                                                                                                54:19        54:21
                                              56:2;          56:5;      IC; V; Arg; LC; F;      54:12        54:16      IC, IN, R, P
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                                            Matthew Levin (January 22, 2018)


     Defendants'         Plaintiff's      Plaintiff's Counter-           Defendants'         Defendants' Counter-       Plaintiff's
     Designations        Objections          Designations               Objections to        Counter Designations     Objections to
                                                                     Plaintiff's Counter-                              Defendants'
                                                                        Designations                                 Counter-Counter
Line Start   Line End                  Line Start    Line End                               Line Start   Line End     Designations
                                                                     SP; NE; P              54:19        54:21
                                       56:9;         56:9;           IC; V; Arg; LC; F;     54:12        54:16      IC, IN, R, P
                                                                     SP; NE; P              54:19        54:21
                                       67:10;        67:12;
                                       67:14;        68:6;           IC; 1002
                                       68:18;        69:14;          M; F; NE; PK; SP;      69:15        69:20
                                                                     IC
                                       69:21;        70:5;           V
                                       70:19;        70:24;          IC; SP; V; F           54:12        54:16      IC, IN, R, P
                                                                                            54:19        54:21
                                                                                            71:14        71:15
                                                                                            71 :17       71 :18
                                       71:2;         71:2;           IC; SP; V; F           54:12        54:16      IC,IN,R,P
                                                                                            54:19        54:21
                                                                                            71:14        71: 15
                                                                                            71 :17       71 :18
                                       71 :4;        71 :6;          IC; F; V; SP; PK       54:12        54:16      IC, IN, R, P
                                                                                            54:19        54:21
                                                                                            71 :14       71 :15
                                                                                            71:17        71 :18
                                       71: 12;       71 :12;         IC; F; V; SP; PK       54:12        54:16      52:12-16, 54:19-


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                                               Matthew Levin (January 22, 2018)


        Defendants'         Plaintiff's      Plaintiff's Counter-           Defendants'         Defendants' Counter-         Plaintiff's
        Designations        Objections          Designations               Objections to        Counter Designations      Objections to
                                                                        Plaintiff's Counter-                               Defendants'
                                                                           Designations                                 Counter-Counter
Line Start     Line End                   Line Start    Line End                               Line Start   Line End       Designations
                                                                                               54:19        54:21      21 : IC, IN, R, P
                                                                                               71: 14       71: 15
                                                                                               71 :17       71 :18
                                          71 :20;       71:22;          IC; SP; V              54:12        54:16      52:12-16, 54:19-
                                                                                               54:19        54:21      21: TC, TN, R, P
                                                                                               71:14        71:15
                                                                                               71:17        71 :18
                                          72:2;         72:2;           IC; SP; V              54:12        54:16      52:12-16, 54:19-
                                                                                               54:19        54:21      21: IC, TN, R, P
                                                                                               71:14        71 :15
                                                                                               71 :17       71 :18
                                          97:18         98:21           IC; PK; SP; LD         54:12        54:16      52:12-16, 54:19-
                                                                                               54:19        54:21      21: IC, TN, R, P
                                                                                               98:22        99:2
27:23          28:1
126:3          126:10                     126: 11        126:18         F; V, SP, PK           126:3        126:10




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                                  Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.,
                                                         Case No. 15-cv-7025 (D.N.J.)

       Defendants' Affirmative Deposition Designations, Plaintifrs Counter-Designations, and Defendants' Counter-Counter
                                              Designations, and Objections Thereto

                                                       Todd M. Long (January 31, 2018)


        Defendants'            Plaintiff's         Plaintiffs Counter-           Defendants'         Defendants' Counter-       Plaintiff's
        Designations           Objections             Designations              Objections to        Counter Designations     Objections to
                                                                             Plaintiff's Counter-                              Defendants'
                                                                                Designations                                 Counter-Counter
Line Start     Line End                         Line Start     Line End                             Line Start   Line End     Designations
8:10           8:21
59:16          59:21      In                    59:9           59:15         PK;   re               59:22        59:22      C, PK, R, P, V
                                                                                                    59:25        60:6
                                                                                                    60:12        60:13
                                                                                                    60:16        60:19
                                                61: 13         61 :17        PK;IC                  59:22        59:22      C, PK, R, P, V
                                                                                                    59:25        60:6
                                                                                                    60:12        60:13
                                                                                                    60:16        60:19
                                                61:24          62:8          PK; IC                 59:22        59:22      C, PK,R, P, V
                                                                                                    59:25        60:6
                                                                                                    60:12        60:13
                                                                                                    60:16        60:19
121:14         121:18     In                    120: 15        121:10        NR
                                                121 :12        121:13        NR
121 :20        121 :25    In                    120:15         121:10        NR
                                                121:12         121:13        NR
135:7          137: 11    AT, R, P, C


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                                                   Todd M. Long (January 31, 2018)


        Defendants'            Plaintiff's       Plaintiff's Counter-           Defendants'         Defendants' Counter-      Plaintiff's
        Designations           Objections           Designations               Objections to        Counter Designations    Objections to
                                                                            Plaintiff's Counter-                             Defendants'
                                                                               Designations                                Counter-Counter
Line Start     Line End                       Line Start    Line End                               Line Start   Line End    Designations
135:13         135:13     Subsumed by above
                          (135:7-11)
135:15         135:24     Subsumed by above
                          (135:7-11)
143:18         145:12     In, R, P, C         143:15        143:17
145: 15        145:18     In, R, P, C         143:15        143:17
153: 19        153:23     R,P,C
154:10         154:19     R,P,C
155: 1 I       155:14     R,P,C
155:16         155:20     R, P, C, Spec
155:23         156:2      R, P, C, Spec
156:5          156:6      R, P, C, Spec
156:7          156:7      R,P,C
156:9          156:13     R,P,C
156:16         156:16     R,P,C
157:14         157:16     R, P, C, Spec       157:3         157:13          AT;NR
157:19         157:20     R, P, C, Spec       157:3         157:13          AT;NR
175:24         176:8      R, P, C, Spec
176:17         176:25     R, P, C, Spec



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                                             Todd M. Long (January 31, 2018)


     Defendants'           Plaintiffs      Plaintiffs Counter-           Defendants'        Defendants' Counter-      Plaintiffs
     Designations          Objections         Designations              Objections to       Counter Designations    Objections to
                                                                     Plaintiffs Counter-                             Defendants'
                                                                        Designations                               Counter-Counter
Line Start   Line End                   Line Start    Line End                             Line Start   Line End    Designations
181 :16      181:18     R,P,C
182:15       182:18     R,P,C           182:8         182:14         AT;NR
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                                        Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.,
                                                               Case No. 15-cv-7025 (D.N.J.)

            Defendants' Affirmative Deposition Designations, Plaintiff's Counter-Designations, and Defendants' Counter-Counter
                                                   Designations, and Objections Thereto

                                                            James Loveland (November 29, 2017)

         Defendants'             Plaintiffs          Plaintiffs Counter-         Defendants'           Defendants'          Plaintiffs Objections to
         Designations            Objections             Designations            Objections to        Counter-Counter      Defendants' Counter-Counter
                                                                             Plaintiffs Counter-      Designations               Designations
Line Start      Line End                          Line Start     Line End       Designations       Line Start  Line
                                                                                                               End
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                                                        James Loveland (November 29, 2017)

        Defendants'             Plaintiffs        Plaintiffs Counter-        Defendants'            Defendants'         Plaintiffs Objections to
        Designations            Objections           Designations           Objections to         Counter-Counter     Defendants' Counter-Counter
                                                                         Plaintiffs Counter-       Designations              Designations
Line Start     Line End                        Line Start    Line End       Designations        Line Start  Line
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                                                                         ID
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                                               174:25         175:2      F, NE, SP, PK, ID      174:20      174:24
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                                               177:8          177:8      F, M, NE, SP, PK,      177:11      177:13    F, V, PK, Spec
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                                                        James Loveland (November 29, 2017)

        Defendants'             Plaintiff's      Plaintiffs Counter-         Defendants'            Defendants'         Plaintiffs Objections to
        Designations            Objections          Designations            Objections to         Counter-Counter     Defendants' Counter-Counter
                                                                         Plaintiff's Counter-      Designations              Designations
Line Start     Line End                       Line Start     Line End       Designations        Line Start  Line
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                                              212:21          212:24
212:15         212:20       F, Spec           211:11          211:15     ID, NE, V, SP, PK,     211 :16     211 :21   F, Spec, R, P
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                                                         James Loveland (November 29, 2017)

     Defendants'             Plaintiff's          Plaintiff's Counter-        Defendants'           Defendants'         Plaintiff's Objections to
     Designations            Objections              Designations            Objections to        Counter-Counter     Defendants' Counter-Counter
                                                                          Plaintiffs Counter-      Designations              Designations
Line Start   Line End                          Line Start     Line End       Designations       Line Start  Line
                                                                                                            End
                                                                                                212:25      213:4     F, Spec
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                                                                          F                     212:25      213:4     F, Spec
                                                                                                213:7       213:10    F,Spec
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                                                                                                212:25      213:4     F, Spec
                                                                                                213:7       213:10    F, Spec
                                                                                                213:12      213:18    F, Spec
                                               211 :22         212:5      ID, NE, V, SP, PK,    212:15      212:20    F, Spec, R, P
                                                                          F                     212:25      213:4     F, Spec
                                                                                                213:7       213:10    F, Spec
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                                                        James Loveland (November 29, 2017)

     Defendants'             Plaintiffs           Plaintiffs Counter-        Defendants'           Defendants'          Plaintiffs Objections to
     Designations            Objections             Designations            Objections to        Counter-Counter      Defendants' Counter-Counter
                                                                         Plaintiffs Counter-       Designations              Designations
Line Start   Line End                          Line Start    Line End       Designations       Line Start   Line
                                                                                                            End
                                                                                               236:2        236:11    Spec, V
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                                               234:11         234:14     1002, F, Spec, PK     231:7        231:13    Spec, V
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                                               234:22         235:2      1002, F, Spec, PK     231:7        231 :13   Spec, V
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                                               235:4          235:8      1002, F, Spec, PK     231:7        231 :13   Spec, V
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                                               235:10         235:13     1002, F, Spec, PK     231:7        231 :13   Spec, V
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                                               235:16         235:18     1002, F, Spec, PK     231:7        231: 13   Spec, V
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238:13       238:18      F, Spec, R, P, Char   233:9          233:16     1002, F, Spec, PK     231 :7       231:13    Spec, V
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                                               234:5          234:8      1002, F, Spec, PK     231:7        231 :13   Spec, V
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                                               234:11         234:14     1002, F, Spec, PK     231:7        231: 13   Spec, V
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                                                  James Loveland (November 29, 2017)

     Defendants'            Plaintiffs      Plaintiffs Counter-        Defendants'            Defendants'         Plaintiffs Objections to
     Designations           Objections        Designations            Objections to        Counter-Counter      Defendants' Counter-Counter
                                                                   Plaintiffs Counter-       Designations              Designations
Line Start   Line End                    Line Start    Line End       Designations       Line Start   Line
                                                                                                      End
                                         234:22        235:2       1002, F, Spec, PK     231:7        231 :13   Spec, V
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                                                                                         237:5        237:12    Spec, V
                                         235:4         235:8       1002, F, Spec, PK     231:7        231 :13   Spec, V
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                                         235:10        235:13      1002, F, Spec, PK     231:7        231 :13   Spec, V
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                                         235:16         235:18     1002, F, Spec, PK     231:7        231:13    Spec, V
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                                                                   PK, LC, Arg, ID       255:25       256:22    F, Spec, ML, R, P, C, Char
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                                                                                         259:23       260:16    F, Spec, Char, R
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                                                                   PK, LC, Arg, ID       255:25       256:22    F, Spec, ML, R, P, C, Char
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                                                          James Loveland (November 29, 2017)

     Defendants'               Plaintiff's         Plaintiffs Counter-         Defendants'           Defendants'        Plaintiffs Objections to
     Designations              Objections             Designations            Objections to        Counter-Counter    Defendants' Counter-Counter
                                                                           Plaintiffs Counter-      Designations             Designations
Line Start   Line End                           Line Start     Line End       Designations       Line Start  Line
                                                                                                             End
                                                                           PK, LC, Arg
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                           Char
                                                260:4          260:12      M, V, R, P, F, SP,    255:8       255:20   F, Spec, R, P, C, Char
                                                                           PK, LC, Arg, ID       255:25      256:22   F, Spec, ML, R, P, C. Char
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                                                260:18          260:21     M, V, R, P, F, SP,    255:8       255:20   F, Spec, R, P, C, Char
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252:11       254:17        F, Spec, ML, R, P,   260:4           260:12     M, V, R, P, F, SP,    255:8       255:20   F, Spec, R, P, C, Char
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                                                         James Loveland (November 29, 2017)

        Defendants'            Plaintiffs         Plaintiffs Counter-         Defendants'           Defendants'         Plaintiffs Objections to
        Designations           Objections            Designations            Objections to        Counter-Counter     Defendants' Counter-Counter
                                                                          Plaintiffs Counter-       Designations             Designations
Line Start     Line End                        Line Start     Line End       Designations       Line Start   Line
                                                                                                             End
                                                                                                261:6        261:9    F, Spec, R, V, C, IC
                                               260:18          260:21     M, V, R, P, F, SP,    255:8        255:20   F, Spec, R, P, C, Char
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                                               261:25          262:5      M, V, R, P, F, SP,    261 :6       261 :9   F, Spec, R, V, C, IC
                                                                          PK, LC,Arg
255:8          255:20      F, Spec, R, P, C,   260:4           260:12     M, V, R, P, F, SP,    255:8       255:20    F, Spec, R, P, C, Char
                           Char                                           PK, LC, Arg, ID       255:25      256:22    F, Spec, ML, R, P, C, Char
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                                                           James Loveland (November 29, 2017)

        Defendants'             Plaintiffs          Plaintiff's Counter-        Defendants'             Defendants'         Plaintiff's Objections to
        Designations            Objections             Designations            Objections to         Counter-Counter      Defendants' Counter-Counter
                                                                            Plaintiff's Counter-       Designations              Designations
Line Start     Line End                          Line Start     Line End       Designations        Line Start   Line
                                                                                                                End
255:25         256:22       F, Spec, ML, R, P,   260:4          260:12      M, V, R, P, F, SP,     255:8        255:20    F, Spec, R, P, C, Char
                            C, Char                                         PK, LC, Arg, ID        255:25       256:22    F, Spec, ML, R, P, C, Char
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                                                                                                   259:23       260:16    F, Spec, Char, R
                                                                                                   261:6        261:9     F, Spec, R, V, C, IC
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                                                                            PK, LC, Arg, ID        255:25       256:22    F, Spec, ML, R, P, C, Char
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                                                 261 :25         262:5      M, V, R, P, F, SP,     261 :6       261:9     F, Spec, R, V, C, IC
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258:8          258:21       F, Spec, ML, R, P,   260:4           260:12     M, V, R, P, F, SP,     255:8        255:20    F, Spec, R, P, C, Char
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                                                         James Loveland (November 29, 2017)

     Defendants'              Plaintiff's         Plaintiff's Counter-        Defendants'             Defendants'         Plaintiff's Objections to
     Designations             Objections             Designations            Objections to         Counter-Counter      Defendants' Counter-Counter
                                                                          Plaintiff's Counter-       Designations              Designations
Line Start   Line End                          Line Start     Line End       Designations        Line Start   Line
                                                                                                              End
                                                                                                 257:8        257:16    F, Spec, R, P, C, Char
                                                                                                 257:20       259:13    F, Spec, ML, R, P, C, H, Char
                                                                                                 259:15       259:16    F, Spec, V, R
                                                                                                 259:20       259:20    R,F, V,R
                                                                                                 259:23       260: 16   F, Spec, Char, R
                                                                                                 261 :6       261:9     F, Spec, R, V, C, IC
                                               261 :25         262:5      M, V, R, P, F, SP,     261:6        261 :9    F, Spec, R, V, C, IC
                                                                          PK, LC, Arg
                                               263:25          264:5      F,SP                   264:6        264:12    F, Spec, V
279:23       281:4        Spec, P, F, AT:      279: 13         279:22     R, SP, PK, NE, V,      279:23       280:6     Spec,P,F
                          280:7-280:8                                     F,P,H,ID               280:9        281 :4    Spec, P, F, C
                                               281 :22         281 :25    R,NE,F,ID              281 :5       281 :21   Spec, P, F, C
                                               282:14          282:25     V
                                               291 :16         291: 19    ID, SP, IO, 701, V,    291 :14      291 :15   Spec, F, V, IC
                                                                          R, P, LC, F, NE, PK
                                               291 :23         292:4      ID, SP, IO, 701, V,    291:14       291 :15   Spec, F, V, IC
                                                                          R, P, LC, F, NE, PK
                                               293:19          294:1      V, F, R, P, NE, SP,
                                                                          PK,LC
284:14       288:25       F, Spec, P, C, AT:   279:13          279:22     R, SP, PK, NE, V,      279:23       280:6     Spec, P, F
                          284:19-284:21;                                  F, P, H, ID            280:9        281 :4    Spec, P, F, C
                          286:13-286:16;
                          287 :2-287 :3;
                          287:12-287:14;
                          287 :22-287 :24;
                          288:22-288:23
                                               281:22          281 :25    R, NE, F, ID           281:5        281 :21   Spec, P, F, C
                                               282:14          282:25     V
                                               291:16          291:19     ID, SP, IO, 701, V,    291: 14      291 :15   Spec, F, V, IC


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                                                           James Loveland (November 29, 2017)

     Defendants'               Plaintiffs           Plaintiffs Counter-         Defendants'           Defendants'         Plaintiffs Objections to
     Designations              Objections             Designations             Objections to        Counter-Counter     Defendants' Counter-Counter
                                                                            Plaintiffs Counter-      Designations              Designations
Line Start   Line End                            Line Start     Line End       Designations       Line Start  Line
                                                                                                              End
                                                                            R, P, LC, F, NE, PK
                                                 291 :23         292:4      ID, SP, IO, 701, V,   291 :14     291:15    Spec, F, V, IC
                                                                            R, P, LC, F, NE, PK
                                                 293:19         294:1       V, F, R, P, NE, SP,
                                                                            PK,LC
303:24       304:21       F, H, Spec, R, P, C,   260:4           260:12     M, V, R, P, F, SP,    255:8       255:20    F, Spec, R, P, C, Char
                          Char                                              PK, LC, Arg, ID       255:25      256:22    F, Spec, ML, R, P, C, Char
                                                                                                  257:8       257:16    F, Spec, R, P, C, Char
                                                                                                  257:20      259:13    F, Spec, ML, R, P, C, H, Char
                                                                                                  259:15      259:16    F, Spec, V, R
                                                                                                  259:20      259:20    R,F, V,R
                                                                                                  259:23      260: 16   F, Spec, Char, R
                                                                                                  261:6       261:9     F, Spec, R, V, C, IC
                                                 260: 18         260:21     M, V, R, P, F, SP,    255:8       255:20    F, Spec, R, P, C, Char
                                                                            PK, LC, Arg, ID       255:25      256:22    F, Spec, ML, R, P, C, Char
                                                                                                  257:8       257:16    F, Spec, R, P, C, Char
                                                                                                  257:20      259: 13   F, Spec, ML, R, P, C, H, Char
                                                                                                  259: 15     259:16    F, Spec, V, R
                                                                                                  259:20      259:20    R,F, V,R
                                                                                                  259:23      260:16    F, Spec, Char, R
                                                                                                  261:6       261:9     F, Spec, R, V, C, IC
                                                 304:23          304:25
                                                 305:5           305:8
341 :12      341 :20       Spec, R, Char, V      348:13          348:22     R,C,P,ID              349:22      349:24
                                                 348:25          349:21     R,C,P,ID              349:22      349:24
                                                 357:4           357:12     R,C,P
                                                 341:21          341 :22    F, SP, PK
                                                 341 :25         342:3      F, SP, PK
342: 13      342:16        Spec, R, V, F, Char   348:13          348:22     R,C,P,ID              349:22      349:24


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                                                           James Loveland (November 29, 2017)

     Defendants'              Plaintiffs            Plaintiffs Counter-         Defendants'           Defendants'        Plaintiffs Objections to
     Designations             Objections               Designations            Objections to        Counter-Counter    Defendants' Counter-Counter
                                                                            Plaintiffs Counter-      Designations             Designations
Line Start   Line End                            Line Start     Line End       Designations       Line Start  Line
                                                                                                              End
                                                 348:25         349:21      R,C,P,ID              349:22      349:24
                                                 357:4          357:12      R,C,P
                                                 342: 17        343:9       F,SP,PK
365:23       366:3        Spec, F, V, R, Char,   366:14         366:16      V, SP, R, C, ID       365:23     365:23    Spec,   F,   V,   R,   Char
                          AT: 345:24-366:1                                                        366:2      366:3     Spec,   F,   V,   R,   Char
                                                 366:18          366:19     V, SP, R, C, ID       365:23     365:23    Spec,   F,   V,   R,   Char
                                                                                                  366:2      366:3     Spec,   F,   V,   R,   Char




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                                 Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.,
                                                       Case No. 15-cv-7025 (D.N.J.)

       Defendants' Affirmative Deposition Designations, Plaintiff's Counter-Designations, and Defendants' Counter-Counter
                                              Designations, and Objections Thereto

                                                      Jason Pawlick (December 5, 2017)


        Defendants'           Plaintiffs          Plaintiffs Counter-           Defendants'        Defendants' Counter-       Plaintiffs
        Designations          Objections             Designations              Objections to       Counter Designations     Objections to
                                                                            Plaintiffs Counter-                              Defendants'
                                                                               Designations                                Counter-Counter
Line Start     Line End                        Line Start     Line End                            Line Start   Line End     Designations
5:8            5:13
7:1            7: 11
11:21          11 :25
12:2           12: 12
22:5           22:19
29:6           29:10                           29:11          29:25         SP,R                  188:12       188:22     IC, F, R
30:12          30:23                           30:24          31 :2         V,PK,R
34:21          35:14                           34:11          34:20         V                     34:21        35:14
                                               97:5           97:16         ID, PK, F, A, Cmpd,   188:12       188:22     IC,F,R
                                                                            SP,H
                                               97:18          98:10         V, ID, PK, SP, F, A   188:12       188:22     IC, F, R
36:22          37:10
39:6           39:20
65:7           66:20      66:12-13-AT          66:21          66:24         ID, V, SP, PK         188:12       188:22     IC, F, R
111:13         111: 17
118:10         118: 15




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                                             Jason Pawlick (December 5, 2017)


     Defendants'          Plaintiff's      Plaintiff's Counter-           Defendants'         Defendants' Counter-       Plaintiff's
     Designations         Objections          Designations               Objections to        Counter Designations     Objections to
                                                                      Plaintiff's Counter-                              Defendants'
                                                                         Designations                                 Counter-Counter
Line Start   Line End                   Line Start    Line End                               Line Start   Line End     Designations
121:12       121:14                     120:24        121 :2          ID, M, H, V, F,        120:12       120: 13    188:12-188:22 -
                                                                      1002                   120:16       120:17     IC,F, R
                                                                                             120:20       120:22
                                                                                             188:12       188:22
                                        121 :5         121 :8         1002, H, V, F          120: 12      120:13     188:12-188:22 -
                                                                                             120:16       120:17     IC, F,R
                                                                                             120:20       120:22
                                                                                             188:12       188:22
                                        121:15         121 :17                               121:24       122: 15
                                        122:16         122:19         H, 1002                126:10       127:2
                                        123:7          123:12         ID, 1002, H, V         126:10       127:2
                                        124:1          124:4          H, 1002, V, Cmpd,      124:5        124:9
                                                                      PK                     126:10       127:2
                                        124:13         124:22         ID, V, H, 1002, F      126:10       127:2
                                        127:14         127:16         1002, H, V, F
                                        129:10         130: 11        ID, R, PK, SP, V,      130:12       130:13
                                                                      LD                     130:15       130:24
                                                                                             131: 1       131 :5
                                                                                             131 :7       131 :8
                                                                                             131:15       131:17




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                                            Jason Pawlick (December 5, 2017)


     Defendants'          Plaintiffs      Plaintiffs Counter-           Defendants'        Defendants' Counter-       Plaintiffs
     Designations         Objections        Designations               Objections to       Counter Designations     Objections to
                                                                    Plaintiffs Counter-                              Defendants'
                                                                       Designations                                Counter-Counter
Line Start   Line End                  Line Start    Line End                             Line Start   Line End     Designations
                                       153: 11       153: 18        ID, PK, F, A, 1002,   153: 1       153:5      R,PK
                                                                    H                     153:24       154: 1
124:10       124:12                    120:24        121 :2         ID, M, H, V, F,       120:16       120: 17
                                                                    1002                  120:20       120:22
                                       121 :5        121 :8         1002, H, V, F         120:16       120:17
                                                                                          120:20       120:22
                                                                                          188:12       188:22
                                       121:15        121:17                               121 :24      122:15
                                       122:16        122:19         H, 1002               126:10       127:2      IC, C, P, R, F
                                       123:7         123:12         ID, 1002, H, V        126: 10      127:2
                                       124:1         124:4          H, 1002, V, Cmpd,     124:5        124:9
                                                                    PK
                                       124:13        124:22         ID, V, H, 1002, F     126:10       127:2
                                       127:14        127:16         1002, H, V, F
                                       129: 10       130: 11        ID, R, PK, SP, V,     130:12       130:13
                                                                    LD                    130:15       130:24
                                                                                          131: 1       131 :5
                                                                                          131 :7       131:8
                                                                                          131:15       131: 17
                                       153: 11       153: 18        ID, PK, F, A          152:25       153:5      IC, In, M, P, R




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                                            Jason Pawlick (December 5, 2017)


     Defendants'          Plaintiffs      Plaintiff's Counter-           Defendants'         Defendants' Counter-       Plaintiffs
     Designations         Objections         Designations               Objections to        Counter Designations     Objections to
                                                                     Plaintiff's Counter-                              Defendants'
                                                                        Designations                                 Counter-Counter
Line Start   Line End                  Line Start    Line End                               Line Start   Line End     Designations
                                                                                            153:24       154:1
126:10       127:2                     120:24         121:2          ID, M, H, V, F,        120:12       120:13
                                                                     1002                   120: 16      120: 17
                                                                                            120:20       120:22
                                                                                            188:12       188:22
                                       121 :5         121 :8         1002, H, V, F          120:12       120:13     IC, C, P, R, F
                                                                                            120:16       120:17
                                                                                            120:20       120:22
                                                                                            188:12       188:22
                                       121 :15        121:17                                120:12       120:13     IC, C, P, R, F
                                                                                            120:16       120:17
                                                                                            120:20       120:22
                                                                                            188:12       188:22
                                       122:16         122:19         H, 1002                126:10       127:2      IC, C, P, R, F
                                       123:7          123:12         ID, 1002, H, V         126:10       127:2      IC, C, P, R, F
                                       124:1          124:4          H, 1002, V, Cmpd,      124:5        124:9      IC, C, P, R, F, H
                                                                     PK
                                       124:13         124:22         ID, V, H, 1002, F      126:10       127:2      IC, C, P, R, F
                                       127:14         127:16         1002, H, V, F
                                       129:10         130: 11        ID, R, PK, SP, V,      130:12       130: 13    R,C, IC
                                                                     LD                     130:15       130:24



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                                                 Jason Pawlick (December 5, 2017)


        Defendants'           Plaintiff's      Plaintiffs Counter-           Defendants'        Defendants' Counter-       Plaintiffs
        Designations          Objections          Designations              Objections to       Counter Designations     Objections to
                                                                         Plaintiffs Counter-                              Defendants'
                                                                            Designations                                Counter-Counter
Line Start     Line End                     Line Start    Line End                             Line Start   Line End     Designations
                                                                                               131 :1       131:5
                                                                                               131:7        131:8
                                                                                               131 :15      131: 17
                                            153: 11       153:18         ID, PK, F, A          152:25       153:5      R,PK
                                                                                               153:24       154:1
183:8          183:20     R,F, V            183:21        184:2                                188:12       188:22     IC, F, R
184:3          184:5      R,F, V            183 :21       184:2                                188:12       188:22     IC, F, R
184:7          184:8      R,F,V             183:21        184:2                                188:12       188:22     IC, F,R
193:5          193:25     193:5-13-C        194:1         194:7                                188:12       188:22     TC, F,R
                                            169:3         169:14         ID, R, Cmpd, V, R     168:4        169:2      188:12-22 - TC, F,
                                                                                                                       R
                                                                                               188:12       188:22
                                            169:16        169:18                               188:12       188:22     188:12-22 - IC, F,
                                                                                                                       R




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                                    Plaintifrs Objections Key
                   Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                              Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

       ABBREV.                                        OBJECTION

           A       Authentication or Identification (FRE 901)

                   The requirement of authentication or identification as a condition precedent to
                   admissibility is satisfied by evidence sufficient to support a finding that the matter
                   in question is what its proponent claims.

          Arg      Argumentative

          AT       Attorney Objections Not Removed

          BS       Beyond the Scope of Direct/ Cross / Redirect Examination

        30(b)(6)   Beyond the Scope of the Rule 30(b)(6) Deposition Topic

           C       Cumulative, Duplicative, Wasteful or Undue Delay (FRE 403)

                   Although relevant, evidence may be excluded if its probative value is substantially
                   outweighed by considerations of undue delay, waste of time, or needless
                   presentation of duplicative and/or cumulative evidence.

         Char      Improper Character Evidence (FRE 404)

         Cmpd      Compound

       Dem Only    Demonstrative I Should Not Be Admitted Into Evidence

           D       Not Produced During Discovery

           F       Lack of Foundation (FRE 602)

                   Objectionable because a witness may not testify to a matter unless evidence is
                   introduced sufficient to support a finding that the witness has personal knowledge
                   of the matter.

           H       Hearsay Rule (FRE 802)

                   Hearsay is not admissible except as provided by these rules or by other rules
                   prescribed by the Supreme Court pursuant to statutory authority or by Act of
                   Congress.
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      ABBREV.                                      OBJECTION

          I      Incomplete Document (FRE 106)

                 Objectionable because document is incomplete and the introduction of the
                 remaining portions or related documents ought, in fairness, to be considered
                 contemporaneously with it.

          IC     Improper Designation/ Counter Designation (FRE 106: FRCP 32(a)(6))

          ID     Incomplete Document
                 (FRE 106)

          In     Incomplete Testimony
                 (PRE 106; PRCP 32(a)(6))

          L      Lack of Personal Knowledge or Competency (PRE 602)

         LA      Limited Admissibility (Admissible for Some Purposes but Not Others) (PRE 105)

         LC      Legal Conclusion

         LD      Leading (PRE 61 I)

         LP      Lack of Poundation
                 (FRE 103, 104 and/or 105)

          M      Misleading/Mischaracterizes Prior Testimony
                 (PRE 401-403, 611)

         MD      Mischaracterizes Underlying. Document (PRE 401-403, 611)

         ML      Subject to Motion In Limine

         NE     Assumes Facts Not In Evidence

         NR     N onresponsive

         NT     Not Testimony

          0      Improper Lay or Expert Opinion (PRE 701-703)

         oc      Offer to Compromise, Settlement (PRE 408)




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       ABBREV.                                      OBJECTION

          p      Prejudicial, Confusing, Vague and/or Misleading (FRE 403)

                 Although relevant, evidence may be excluded if its probative value is substantially
                 outweighed by the danger of unfair prejudice, confusion of the issues, or
                 misleading the jury, or by considerations of undue delay, waste of time, or
                 needless presentation of cumulative evidence.

          PD     Post Dated Filing Date (FRE 105)

                 If post-dated evidence is admitted as to one purpose but not admissible as for
                 another purpose (e.g., for obviousness analysis), the court, upon request, shall
                 restrict the evidence to its proper scope and instruct the jury accordingly.

         PK      Lack of Personal Knowledge (FRE 602)

                 Objectionable because lack of personal knowledge makes the witness incompetent
                 to testify about particular facts.

          R      Relevance (FRE 401, 402)

                 All relevant evidence is admissible, except as otherwise provided by the
                 Constitution of the United States, by Act of Congress, by these rules, or by other
                 rules prescribed by the Supreme Court pursuant to statutory authority. Evidence
                 which is not relevant is not admissible.

         Spec    Calls for Speculation (FRE 602)

          s      Summaries (FRE I 006)

                 The party relying on the summary must establish its accuracy to the court's
                 satisfaction.

                 See Graham, Handbook of Federal Evidence§ 1006.1 (5th ed. 2001). United
                 States v. Pelullo, 964 F .2d 193, 204 (3d Cir. 1992) ("It is well established that
                 summary evidence is admissible under Rule 1006 only if the underlying materials
                 upon which the summary is based are admissible.").

          u      Untimely/ Never Produced (FRCP 26, 37)

          V      Vague/ Ambiguous/Overbroad (FRE 611)

          w      Privileged/ Work Product (FRE 501/502)

          X      Exhibit has not been provided, the copy provided is illegible, and/or the entry
                 includes multiple documents.



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      ABBREV.                                       OBJECTION

          y      Wrong Document Identified or Incorrectly Described

         105     Limited Admissibility    (FRE 105)

                 When evidence which is admissible as to one party or for one purpose but not
                 admissible as to another party or for another purpose is admitted, the court, upon
                 request, shall restrict the evidence to its proper scope and instruct the jury
                 accordingly.

         701     Improper Lay Opinion Testimony (FRE 701)

                 If a witness is not testifying as an expert, testimony in the form of an opinion is
                 limited as provided by this rule.

         1002    Best Evidence (FRE 1002, 1003, 1004)

                 An original writing, recording, or photograph is required in order to prove its
                 content unless these rules or a federal statute provides otherwise.




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                         Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                      Case No. 15-cv-07025 (RBK/JS) (D.N.J.)

                                                    Defendants' Objection Key


      ABBREV.                 OBJECTION                                       RULE/ EXPLANATION
                            Authentication or         The requirement of authentication or identification as a condition
           A                                          precedent to admissibility is satisfied by evidence sufficient to support a
                         Identification (FRE 901)
                                                      finding that the matter in question is what its proponent claims.
          Arg                Argumentative
                        Attorney Objections Not
          AT
                               Removed
                        Beyond Scope of Direct /      Objectionable because the testimony exceeds the scope of the direct,
         BSE              Cross / Or Redirect         cross, or redirect examination.
                             Examination
                            Beyond Scope of           Objectionable because the testimony exceeds the scope of the
         BSS
                               Subpoena               subpoena
                         Beyond Scope of Rule         Objectionable because the testimony exceeds the scope for which the
         BST
                        30(b)(6) Deposition Topic     witness was designated to testify pursuant Rule 30(b)(6).
                        Cumulative, Duplicative,      Although relevant, evidence may be excluded if its probative value is
           C            Wasteful or Undue Delay       substantially outweighed by considerations of undue delay, waste of
                              (FRE 403)               time, or needless presentation of duplicative and/or cumulative evidence.
                          Improper Character
         Char
                          Evidence (FRE 404)
        Cmpd                   Compound
                          Not Produced During
           D
                               Discovery

                          Lack of Foundation          Objectionable because a witness may not testify to a matter unless
           F                                          evidence is introduced sufficient to support a finding that the witness has
                              (FRE 602)
                                                      personal knowledge of the matter.

                             Hearsay Rule             Hearsay is not admissible except as provided by these rules or by other
           H                                          rules prescribed by the Supreme Court pursuant to statutory authority or
                              (FRE 802)
                                                      by Act of Congress.
                                                      Objectionable because document is incomplete and the introduction of
                         Incomplete Document
           I                                          the remaining portions or related documents ought, in fairness, to be
                              (FRE 106)
                                                      considered contemporaneously with it.
                          Improper/Incomplete         Objectionable because additional parts of the testimony in fairness
          ID                  Designation             should be considered with the part of the testimony designated.
                            (FRCP 32(a)(6))
                          Im proper/lncom plete       Objectionable because additional parts of the testimony in fairness
          IC              Counter Designation         should be considered with the part of the testimony designated.
                             (FRCP 32(a)(6))
                        Improper Lay or Expert        Objectionable because the testimony is outside the scope of proper lay
          10                   Opinion                or expert testimony.
                            (FRE 701-703)
                           Improper Use of            Objectionable because the designation is inconsistent with the proper
          IP             Deposition Testimony         use of deposition testimony pursuant to FRCP 32.
                               (FRCP 32)
                        Improper Designation of       Objectionable because the witness who gave the designated testimony
         IDe              Witness who will be         will be called to testify at trial.
                              Called Live
                           Legal Conclusion           Objectionable because witness testimony constituting a legal conclusion
          LC                                          creates a danger of unfair prejudice, confusing the issues, misleading
                               (FRE 403)




      MEI 30119256v.l
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                        Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                     Case No. 15-cv-07025 (RBK/JS) (D.N.J.)

                                                  Defendants' Objection Key

                                                    the jury, undue delay, or wasting time.
                               Leading              Objectionable because leading questions should not be used on direct
         LD
                              (FRE 611)             examination except as necessary to develop the witness's testimony.

                        Mischaracterizes Prior      Objectionable because the designation includes mischaracterization of
                             Testimony              prior testimony, as a result the testimony lacks relevance and creates a
          M
                                                    danger of unfair prejudice, confusing the issues, misleading the jury,
                         (FRE 401-403, 611)
                                                    undue delay, or wasting time.
                                                    Objectionable because the designation includes mischaracterization of
                          Mischaracterizes          an underlying document, as a result the testimony lacks relevance and
         MD
                        Underlying Document         creates a danger of unfair prejudice, confusing the issues, misleading
                                                    the jury, undue delay, or wasting time.
                        Assumes Facts Not in        Objectionable because the question assumes facts not in evidence.
         NE
                             Evidence
                                                    Objectionable because the designated testimony is not responsive to the
         NR                Non responsive
                                                    question.
         NT                 Not Testimony           Objectionable because the designated material is not testimonial.

                         Offer of Settlement        Evidence of an offer of consideration to compromise or attempt to
         OS                                         compromise a claim, or conduct or a statement made during
                             (FRE 408)
                                                    compromise negotiations about the claim, is not admissible.
                                                    Although relevant, evidence may be excluded if its probative value is
                        Prejudicial, Confusing,
          p                                         substantially outweighed by the danger of unfair prejudice, confusion of
                       Vague and/or Misleading
                                                    the issues, or misleading the jury, or by considerations of undue delay,
                              (FRE 403)
                                                    waste of time, or needless presentation of cumulative evidence.
                          Lack of Personal          Objectionable because lack of personal knowledge makes the witness
         PK                 Knowledge               incompetent to testify about particular facts.
                             (FRE 602)
                              Privilege             The evidence is subject to a claim of attorney-client privilege or other
         PR
                            (FRE 501-502)           privilege.
                                                    All relevant evidence is admissible, except as otherwise provided by the
                              Relevance             Constitution of the United States, by Act of Congress, by these rules, or
          R
                            (FRE 401, 402)          by other rules prescribed by the Supreme Court pursuant to statutory
                                                    authority. Evidence that is not relevant is not admissible.
                                                    Objectionable because the designation includes a question calling for
                                                    speculation and/or speculation as a result the testimony lacks relevance
         SP             Calls for Speculation
                                                    and creates a danger of unfair prejudice, confusing the issues,
                                                    misleading the jury, undue delay, or wasting time.
                                                    The party relying on the summary must establish its accuracy to the
                                                    court's satisfaction.
                             Summaries              See Graham, Handbook of Federal Evidence§ 1006.1 (5th ed. 2001 ).
          s                  (FRE 1006)
                                                    United States v. Pelullo, 964 F.2d 193, 204 (3d Cir. 1992) ("It is well
                                                    established that summary evidence is admissible under Rule 1006 only if
                                                    the underlying materials upon which the summary is based are
                                                    admissible.").
                        Vague, Ambiguous or
         V                  Overbroad
                             (FRE 611)
                                                    When evidence that is admissible as to one party or for one purpose but
                        Limited Admissibility       not admissible as to another party or for another purpose is admitted, the
        105
                              (FRE 105)             court, upon request, shall restrict the evidence to its proper scope and
                                                    instruct the jury accordingly.
        701             Improper Lay Opinion        If a witness is not testifying as an expert, testimony in the form of an


                                                                 2
     MEI 30119256v.1
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                           Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                        Case No. 15-cv-07025 (RBK/JS) (D.N.J.)

                                                    Defendants' Objection Key

                           Testimony (FRE 701)        opinion is limited as provided by this rule.
                               Best Evidence          An original writing, recording, or photograph is required in order to prove
        1002                                          its content unless the rules or a federal statute provide otherwise.
                                (FRE 1002)
                                                      If post-dated evidence is admitted as to one purpose but not admissible
                           Post Dated Filing Date     as for another purpose (e.g., for obviousness analysis), the court, upon
          PD
                                 (FRE 105)            request, shall restrict the evidence to its proper scope and instruct the
                                                      jury accordingly.
     Badgering             Badgering the Witness      Inappropriate badgering of the witness.
                                                      Exhibit has not been provided, the copy provided is illegible, and/or the
          X
                                                      entry includes multiple documents.
                             Wrong Document
          y                Identified or Incorrect
                          Description of Document
         MIL                 Motion in Limine         Subject to motion in limine.




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     MEI 30I l 9256v. l
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          Robert Louis Stevenson
           Curriculum Vitae


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          Professional Experience
          10/2013-Present   Associate Chair, Director of Undergraduate Studies
                            Department of Electrical Engineering
                            University of Notre Dame, Notre Dame, Indiana
          08/2002-Present   Professor
                            Department of Electrical Engineering
                            University of Notre Dame, Notre Dame, Indiana
          01/2003-6/2017    Professor
                            Department of Computer Science and Engineering
                            University of Notre Dame, Notre Dame, Indiana
          08/1996-08/2002   Associate Professor
                            Department of Electrical Engineering
                            University of Notre Dame, Notre Dame, Indiana
          08/1996-06/1997 Visiting Associate Professor
                          Department of Electrical and Computer Engineering
                          University of Delaware, Newark, Delaware
          06/1994-08/1994   Research Associate
                            Intel Corporation, Hillsboro, Oregon
          05/1993-08/1993   Research Associate
                            Air Force Office of Scientific Research
                            Rome Laboratories, Griffiss AFB, Rome, New York



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          08/1990-08/1996   Assistant Professor
                            Department of Electrical Engineering
                            University of Notre Dame, Notre Dame, Indiana
          08/1989-08/1990   Graduate Research Assistant
                            School of Electrical Engineering
                            Purdue University, West Lafayette, Indiana
          08/1986-08/1990   Graduate Teaching Assistant
                            School of Electrical Engineering
                            Purdue University, West Lafayette, Indiana
          06/1986-08/1986 Intern
                          Engineering Physics Laboratory, E. I. duPont
                          de Nemours & Company, Wilmington, Delaware
          06/1985-08/1985 Intern
                          Corporate Technology Center
                          Sperry Corporation, Reston, Virginia

          Education
          08/1986-08/1990   Ph.D., Electrical Engineering, August 1990
                            Purdue University, West Lafayette, Indiana
                              Thesis: Invariant Reconstruction of Curves and Sur-
                                  faces with Discontinuities with Applications in Com-
                                  puter Vision
                              Advisor: Professor Edward J. Delp
                              GPA: 6.0/6.0
          09/1982-06/1986   B.S.E.E., Electrical Engineering, June 1986
                            University of Delaware, Newark, Delaware
                              Thesis: On the Theoretical Properties of Morphological
                                  Filters
                              Advisor: Professor Gonzalo R. Arce
                              GPA: 4.0/4.0

          Honors and A wards
          1983        University of Delaware, Tau Beta Pi Prize
          1984        University of Delaware, Engineering Scholar
          1985-1986   University of Delaware, Liston A. Houston Scholarship
          1986        IEEE Delaware Bay Section Engineering Award

                                             2
Case 1:15-cv-07025-RBK-JS Document 674 Filed 06/03/19 Page 316 of 504 PageID: 39779




          1986           Valedictorian, University of Delaware
          1986           Purdue University Graduate Instructor Fellowship
          1986           Phi Kappa Phi Graduate Fellowship
          1986-1990      DuPont Graduate Fellowship in Electrical Engineering
          1986-1989      National Science Foundation Graduate Fellowhip
          1993           Dept. of Electrical Engineering Outstanding Teacher Award
          2012           ICIP 2012 Outstanding Reviewer
          2013           IS&T 2013 Service Award

          Honor Societies
          1985-Present        Eta Kappa Nu, Electrical Engineering Honor Society
          1985-Present        Tau Beta Pi, Engineering Honor Society
          1985-Present        Phi Kappa Phi, Academic Honor Society

          Professional Activities
             Associate Editor
                 IEEE Trans. on Image Processing, 1999-2003
                 IEEE Trans. on Circuits and Systems for Video Tech., 1997-2002
                 Journal of Electronic Imaging, 1995-1998
             Special Issue Editor
                  Multimedia Systems, Journal of Electronic Imaging, 04/1996
                  Still Image Compression, Electronic Imaging Newsletter, 01/1996
             Best Paper Award Board Membership
                  IEEE Trans. on Circuits and Systems for Video Technology, 2002
             Symposium Chairman
                 SPIE/IS&T Symposium on Electronic Imaging, 02/2004
             Conference Chairman
                 IS&T Conf. Computational Imaging XVI, 02/2019
                 IS&T Conf. Computational Imaging XV, 02/2018
                 IS&T Conf. Computational Imaging XIV, 02/2017
                 IS&T Conf. on Visual Information Proc. & Comm. VIII, 02/2017
                 IS&T Conf. on Visual Information Proc. & Comm. VII, 02/2016
                 SPIE/IS&T Conf. on Visual Information Proc. & Comm. VI, 02/2015
                 SPIE/IS&T Conf. on Visual Information Proc. & Comm. V, 02/2014

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                  SPIE/IS&T Conf. on Visual Information Proc. & Comm. IV, 02/2013
                  SPIE/IS&T Conf. on Visual Information Proc. & Comm. III, 01/2012
                  SPIE/IS&T Conf. on Visual Information Proc. & Comm. II, 01/2011
                  SPIE/IS&T Conf. on Visual Comm. and Image Processing, 01/2009
                  SPIE/IS&T Conf. on Computational Imaging, 02/2003
                  SPIE/IS&T Conf. on Image and Video Comm. and Proc., 02/2000
                  SPIE/IS&T Conf. on Visual Comm. and Image Processing, 02/1999
                  41st Midwest Symposium on Circuits and Systems, 08/1998
                  SPIE Conf. on Electronic Imaging and Signal Processing, 11/1996
                  SPIE/IS&T Conf. on Still Image Compression II, 02/1996
                  SPIE/IS&T Conf. on Image and Video Processing IV, 02/1996
                  SPIE/IS&T Conf. on Image and Video Processing III, 02/1995
                  SPIE/IS&T Conf. on Image and Video Processing II, 02/1994
              Steering Committee Member
                   Visual Communications and Image Processing, 1998-2010
                   Midwest Symposium on Circuits and Systems, 1994-1999
                   Electronic Imaging, 2003-2005
              Organizing Committee Member
                  Nonlinear Signal and Image Processing Workshop, 2001
              Technical Program Committee
                  International Conference on Image Processing, 1998 - Present
                  SPIE Computational Imaging, 2003-2016
                  Visual Communications and Image Processing, 1997-2008
                  European Signal Processing Conference, 2015
                  IEEE Symposium on Industrial Electronics & Applications, 2012
                  International Conference on Multimedia & Expo, 2009-2010
                  Image and Video Communications and Processing III, 2005
                  Computational Imaging, 2004
                  International Conference on Pattern Recognition, 2000
                  Int. Conf. on Acoustics, Speech, & Signal Proc., 2000, 2006-Present
                  International Symposium on Circuits and Systems, 1998, 2005
                  9th IEEE Image and Multi. Signal Processing Workshop, 1996
                  Midwest Symposium on Circuits and Systems, 1994
              Member
                 Institute of Electrical and Electronics Engineers, IEEE
                 Society of Photographic Instrumentation Engineers, SPIE
                 The Society for Imaging Science and Technology, IS&T
              Panel Member for the following funding agencies


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                   National Science Foundation
               Reviewer for the following funding agencies
                    National Science Foundation
                   U.S. Army Research Office
                   Israel Science Foundation
                   Hong Kong Research Grants Council
                   Kentucky EPSCoR Program
                   North Dakota EPSCoR Program
                   Louisiana Board of Regents
              Reviewer for the following archival journals
                   IEEE Transactions on Signal Processing
                   IEEE Transactions on Image Processing
                   IEEE Transactions on Circuits and Systems
                   IEEE Transactions on Circuits and Systems for Video Technology
                   IEEE Transactions on Instrumentation and Measurement
                   IEEE Transactions on Medical Imaging
                   IEEE Transactions on Pattern Analysis and Machine Intelligence
                   IEEE Transactions on Systems, Man, and Cybernetics
                   IEEE Transactions on Neural Networks
                   Pattern Recognition Letters
                   Signal Processing Letters
                   Computer Vision, Graphics, and Image Processing
                   Journal of the Optical Society of America
                   Journal of Mathematical Imaging and Vision
                  Applied Optics
                   JET Image Processing
              Reviewer for the following text book companies
                  Van Nostrand Reinhold, Electrical Engineering Division
                  McGraw-Hill, College/Schaum Division
                  MacMillan Publishing Company
                  Prentice Hall

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                Sampled Continuous~Tone Images," Journal of the Optical Society of
                America A, Vol. 2, pp. 1009~1013, July 1985.



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               Estimation of Spatially-Varying Point Spread Functions," submitted to
               Journal of Electronic Imaging.

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               Sampled Continuous-Tone Images," originally appeared as Journal of
               the Optical Society of America A, Vol. 2, pp. 1009-1013, July 1985,
               reprinted in Selected Papers on Digital Halftoning, SPIE Milestone Se-
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             Book Chapters

               R. L. Stevenson and E. J. Delp, "Investigation into Building an In-
               variant Surface Model from Sparse Data," in NATO ASI: Active Per-
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               Multimedia Systems, SPIE Proceedings Series, 1996.

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               R. Zhen and R. L. Stevenson, "Motion Deblurring and Depth Esti-
               mation From Multiple Images," Proceedings of the IEEE International
               Conference on Image Processing, Phoenix, Arizona, , September 25-29,
               2016.

               L. N. Kloepper, Y. Fu, M. Kinniry, R. L. Stevenson, C.H. Brighton,
               P. Domski, C. Harding, and G. K. Taylor, "Hawks, ziplines, and drones:
               new methods for recording echolocation of bats in large groups," North
               American Society for Bat Research, Knoxville, TN, October 2017.

               L. N. Kloepper, Y. Fu, M. Kinniry, R. L. Stevenson, C.H. Brighton,
               P. Domski, C. Harding, and G. K. Taylor, "Sensing in streams and
               swarms: echolocation of bats in large groups," XXVI International
               Bioacoustics Council Meeting, Hardiwar, India, October 2017.

               S. Zhang and R. L. Stevenson, "Intertia Sensor Aided Alignment for


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               Burst Pipeline in Low Light Conditions," Proceedings of the IEEE In-
               ternational Conference on Image Processing, Athens, Greece, , October
               7-10, 2018.

               S. Zhang and R. L. Stevenson, "GAN Based Image Deblurring Us-
               ing Dark Channel Prior," ISf3T Conference on Computational Imaing
               XVII, January 2019.

           Patents
             "Video Coding using a Maximum A Posteriori Loop Filter," U.S. Patent
             6,081,552, June 27, 2000.

           Invited Talks
             "Bayesian Techniques for Image Restoration," Department of Electrical
             Engineering and Computer Science, Washington State University, Pull-
             man, WA, March 27, 1992.
             "Reconstruction and Enchancement of Image and Video Data," Hewlett
             Packard Research Laboratory, Palo Alto, CA, October 12, 1993.
             "Stochastic Image Modeling for Image Enhancement," Department of
             Electrical Engineering and Computer Science, University of California,
             Berkeley, CA, February 10, 1994.
             "Stochastic Image Modeling for Image Enhancement," Department of
             Electrical Engineering and Computer Science, Northwestern University,
             IL, May 31, 1994.
             "Bayesian Estimation Techniques for Image/Video Processing," Intel
             Corp., Hillsboro, OR, Part I July 7, 1994, Part II July 21, 1994.
             "HVS Based Image Compression," Intel Corp., Hillsboro, OR, August 18,
             1994.
             "Bayesian Estimation Techniques for Image/Video Processing," Tek-
             tronix Inc., Beaverton, OR, August 19, 1994.
             "Bayesian Estimation Techniques for Image/Video Processing," Intel
             Corp., Santa Clara, CA, August 23, 1994.
             "Post-Processing MRV Video Data," Intel Corp., Hillsboro, OR, August
             25, 1994.
             "Improved Robust Image/Video Communication," Motorola Corp., Schaum-
             burg, IL, February 21, 1995.

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             "Stochastic Modeling of Color Image Data," Xerox Corp., Webster, NY,
             May 24, 1995.
             "Multi-Frame Integration for Video Enhancement," Kodak Corp., Rochester,
             NY, August 4, 1995.
             "Bayesian Estimation Techniques for Image/Video Processing," Ricoh
             California Research Center, Palo Alto, CA, February 3, 1996.
             "Bayesian Estimation Techniques for Image/Video Processing," Univer-
             sity of Delaware, Newark, DE, October 10, 1996.
             "Issues in Video Compression," Intel Corporation, Hillsboro, OR, June
             21, 1997.
             "Techniques for High-Speed Image Enhancement," Sun Microsystems,
             Sunnyvale, CA, May 21, 1998.
             "Stochastic Modeling for Image/Video Processing," Purdue University,
             West Lafayette, IN, Nov. 12, 1998.
             "High Performance Multimedia Applications Reserach," Sun Microsys-
             tems, Sunnyvale, CA, Jan. 25, 1999.
             "Video over the Internet," D. E. Shaw & Co., New York, NY, May 4,
             2000.
             "Entertainment Video over the Internet," Sun Microsystems, Sunnyvale,
             CA, Nov. 16, 2000.
             "The Creative Scientist," Keynote address at 16th Annual Undergraduate
             Research Symposium, University of Delaware, Newark, DE, May 5, 2001.
             "Super-Resolution Camera Systems," Thomson Consumer Electronics,
             Indianapolis, IN, November 28, 2001.
             "Three-Dimensional Signal Processing," Air Force Research Laboratory,
             Rome, New York, September 26, 2002.
             "Bayesian Image and Video Restoration," ECE Distinguished Speaker
             Seminar Series at the Illinois Institute of Technology, October 24, 2003.
             "Error Resilient Video Coding," Purdue University, West Lafayette, IN,
             May 17, 2005.
             "Robust Video Compression Using Multiple Description Coding," Indiana
             University-Purdue University Indianapolis, Indianapolis, IN, November 2,
             2006.


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             "Bayesian-Based Image and Video Enhancement," Digimarc Corporation,
             Beaverton, OR, July 27, 2011.

          Dissertations/Theses Supervised
             Ph.D. Dissertations

               R. R. Schultz, "Multichannel Stochastic Image Models: Theory, Appli-
               cations, and Implementations," Ph.D. Dissertation, University of Notre
               Dame, November 1994.

              T. P. O'Rourke, "Robust Image Communication: An Improved De-
              sign," Ph.D. Dissertation, University of Notre Dame, January 1996.

               B. E. Schmitz, "Enhancement of Sub-Sampled Color Image Data,"
               Ph.D. Dissertation, University of Notre Dame, March 1996.

              R. Llados-Bernaus, "Entropy Coding Techniques for Robust Video
              Compression," Ph.D. Dissertation, University of Notre Dame, March
              1998.

              M. A. Robertson, "High-Quality Reconstruction of Digital Image and
              Video from Imperfect Observations," Ph.D. Dissertation, University of
              Notre Dame, April 2001.

              R. Magill, "Emulating an Output Queued Packet Switch with Systems
              Containing Input and Output Queueing," Ph.D. Dissertation, Univer-
              sity of Notre Dame, May 2003.

              K. Erickson, "Quality Optimization of Standards - Compliant Encoded
              Video," Ph.D. Dissertation, University of Notre Dame, May 2003.

              S. Borman, "Topics in Multiframe Superresolution Restoration," Ph.D.
              Dissertation, University of Notre Dame, May 2004.

              G. Zhang, "Robust Scalable Video Compression Using Multiple De-
              scription Coding," Ph.D. Dissertation, University of Notre Dame, May
              2007.

              J. Gai, "Robust Target Tracking: Theory, Applications and Implemen-
              tations," Ph.D. Dissertation, University of Notre Dame, May 2010.

              Y. Li, "Multimodal Image Registration Through Iteratively Searching


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              Correspondences of Keypoints and Line Segments," Ph.D. Dissertation,
              University of Notre Dame, December 2012.

              J. Simpkins, "Modeling, Approximation, and Estimation of Spatially-
              Varying Blur in Photographic Systems," Ph.D. Dissertation, University
              of Notre Dame, May 2016.

              L. Hollmann, "Modeling, Approximation, and Estimation of Spatially-
              Varying Blur in Photographic Systems," Ph.D. Dissertation, University
              of Notre Dame, November 2016.

              R. Zhen, "Aided Blind Deblurring Image Degraded by Motion Blur,"
              Ph.D. Dissertation, University of Notre Dame, February 2017.

            M.S.E.E. Theses

              R. R. Schultz, "Improved Definition Image Expansion," M.S.E.E. The-
              sis, University of Notre Dame, January 1992.

              T. P. O'Rourke, "Human Visual Based Wavelet Decomposition for Im-
              age Compression," M.S.E.E. Thesis, University of Notre Dame, Decem-
              ber 1992.

              B. E. Schmitz, "Curve Reconstruction: A Balance Between Smoothness
              and Discontinuity Preservation," M.S.E.E. Thesis, University of Notre
              Dame, February 1993.

              H. M. Zayed, "A Tunable Analog VLSI Network for Preserving Dis-
              continuities in One-Dimensional Signals," M.S.E.E Thesis, University
              of Notre Dame, November 1993 (co-adviser: G. Bernstein).

              M. J. Wahoske, "Dual-Receiver Blind Identification for Image Blurs,"
              M.S.E.E Thesis, University of Notre Dame, August 1996 (co-adviser:
              R. Liu).

              M. Robertson, "Computationally Efficient Post-Processing of Com-
              pressed Video Streams," M.S.E.E Thesis, University of Notre Dame,
              February 1998.

              G. Zhang, "Modified Fixed-Length Entropy Coding for Robust Video
              Compression," M.S.E.E Thesis, University of Notre Dame, December
              2002.


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Case 1:15-cv-07025-RBK-JS Document 674 Filed 06/03/19 Page 343 of 504 PageID: 39806




              J. D. Simpkins, "Modeling and Estimation of Spatially-Varying Point-
              Spread Functions Due to Lens Aberrations and Defocus," M.S.E.E.
              Thesis, University of Notre Dame, December 2011.

              R. Zhen, "Enhanced Raw Image Capture and Deblurring," M.S.E.E.
              Thesis, University of Notre Dame, May 2013.

            Current Research Students

              Shuang Zhang
              Jieyu Li
              Mohammad Rasool Izadi

          Research Funding
            Current Funding

              Principal Investigator, Office of Naval Research, $54,073 for "Signal
              Processing Methods to Isolate Individual Bat FM calls from within the
              noise of a swarm."

              Principal Investigator, EE Chair Fund, $500,000 for "Video Enhance-
              ment Research."

            Prior Funding

              Principal Investigator, Jesse H. Jones Faculty Research Fund, Univer-
              sity of Notre Dame, $9,750 for "Reliable Surface Parameter Estimation
              in Three-Dimensional Vision," (with P. Flynn).

              Principal Investigator, Jesse H. Jones Faculty Research Equipment
              Fund, University of Notre Dame, $7,675 for "Hardware for the Ac-
              quisition and Display of Real-Time Video Signals," (with K. Sauer).

              Co-Principal Investigator, Rome Laboratory, F30602-92-C-0138, $85,000
              for "Multi-Frame Integration," (with Y. Huang and R. Liu).

              Co-Principal Investigator, National Science Foundation, CDA92-22905,
              $58,126 for a "High Resolution Video Processing System," (with D.
              Costello, K. Sauer, P. Bauer, Y. Huang and R. Liu).

              Principal Investigator, Indiana Space Grant Consortium, $7,300 for


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              "Real~Time Vision for Teleoperated Control of Unmanned Vehicles and
              Robots," $7,500 for "Robust Video Coding," $5,889 for "Robust Video
              Coding,"

              Principal Investigator, Apple Computer, Inc., $15,000 for "Color Palette
              Restoration," $16,467 equipment donation.

              Co-Principal Investigator, Office of University Computing, University
              of Notre Dame, $20,000 for "Computing for System Engineering," (with
              D. Costello and A. Lumsdaine).

              Co-Principal Investigator, National Aeronautics and Space Adminis-
              tration, NASA-NAG 3-1549, $50,795 for "Integrated System Design for
              the Transmission of Image Data over Low Bit Rate Noisy Channels,"
              (with D. Costello and Y. Huang).

              Principal Investigator, Rome Laboratory, F30602-94-1-0017, $35,408
              for "Multi-Frame Integration for the Extraction of High Resolution
              Still Images from Video Sequences."

              Principal Investigator, Rome Laboratory, F30602-94-1-0016, $50,785
              for "Parallel and Distributed Algorithms for High-Speed Image Pro-
              cessing," (with A. Lumsdaine).

              Principal Investigator, Intel Corp., $68,000 for "Post-Processing Com-
              pressed Video Data," $15,000 equipment donation.

              Co-Principal Investigator, Lockheed Martin, $150,000 for "Robust
              Transmission of Images over Noisy Channels," (with D. Costello and
              Y. Huang).

              Principal Investigator, Apple Computer, Inc., $19,100 for "Quicktake
              Image Enhancement," $15,000 equipment donation.

              Co-Principal Investigator, Office of University Computing, University
              of Notre Dame, $21,600 for "Multidisciplinary Engineering Design Lab-
              oratory," (with J. Brockman, J. Kantor, J. Renaud, D. Kirkner, S.
              Batill, and P. Kogge).

              Principal Investigator, Motorola Corp., $91,252 for "Robust Trans-
              mission of Image Data over Low-Bit-Rate Noisy Channels," (with D.
              Costello, R. Liu and Y. Huang).


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              Principal Investigator, Rome Laboratory, F30602-96-C-0235, $199,964
              for "Parallel and Distributed Algorithms for High-Speed Image Pro-
              cessing," (with A. Lumsdaine).

              Co-Principal Investigator, Office of University Computing, University
              of Notre Dame, $23,000 for "An ATM Network for High-Speed Com-
              munications," (with A. Lumsdaine).

              Principal Investigator, Sun Microsystems, $21,400 for "VIS-Based Im-
              age Enhancement."

              Co-Principal Investigator, IBM, $309,544 for "Scalable Shared Mem-
              ory: Case Studies," (with A. Lumsdaine, N. Chrisochoides, J. West-
              erink, E. Maginn, M. Stadtherr).

              Co-Principal Investigator, Army Research Office, DAAG55-98-1-0091,
              $250,000 for "Scalable Meta-Computing for Computational Science and
              Engineering," with A. Lumsdaine, N. Chrisochoides, J. Westerink, E.
              Maginn, M. Stadtherr).

              Principal Investigator, Graduate School, University of Notre Dame,
              $71,980 for "High-Resolution Video Processing,".

              Principal Investigator, Department of Defense, MDA904-98-C-B224,
              $124,150 for "Temporal Image Enhancement," (with A. Lumsdaine).

              Co-Principal Investigator, Graduate School, University of Notre Dame,
              $215,000 for "Scalable Meta-Computing for High Performance Compu-
              tational Science and Engineering," (with A. Lumsdaine, N. Chriso-
              choides, J. Westerink, E. Maginn, M. Stadtherr).

              Principal Investigator, Sun Microsystems, $55,060 for "Multimedia Ar-
              chitectures."

              Principal Investigator, Graduate School, University of Notre Dame,
              $75,000 for "Sun Microsystems Embedded Center."

              Co-Principal Investigator, Indiana's 2l8t Century Research & Technol-
              ogy Fund, $829,714 for "Entertainment Video over the Internet," (with
              E. Delp, B. Beyers, C. Rosenberg, P. Salama, and N. Shroff).

              Principal Investigator, Sun Microsystems, $40,000 for "Entertainment
              Video."

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                Co-Principal Investigator, National Science Foundation, $248,887 for
                "Instrumentation for Multidimensional Imaging and Applications", (P.
                Flynn, K. Bowyer, and D.Z. Chen).

                Principal Investigator, Department of the Air Force, $75,000 for "Multi-
                Source Image Correlation and Analysis," (with P. Flynn, and K.
                Bowyer).

                Co-Principal Investigator, Indiana's 21st Century Research & Technol-
                ogy Fund, $856,576 for "Advanced Digital Video Compression: New
                Techniques for Security Applications," (with E. Delp, L. Chrisopher,
                B. Brenner, C. Armstrong, and P. Salama).

                Principal Investigator, Office of Naval Research, $39,461 for "Biologi-
                cally Inspired Approaches to Overcome Mutual-Interference by Active
                Sensor Systems."

            Teaching and Course Development
            EE220            Devices and Systems in Electrical Engineering
                             Developed: Fall 1998
                             Taught: Fall 1998, 1999, 2000
            EE224/EE20224    Introduction to Electrical Engineering
                             Taught: Fall 1990, 1992, 1995, 1999, 2000, 2006, 2007,
                             2008
            EE242/EE20242    Electronic Circuits
                             Taught: Spring 2001, 2002, 2003, 2004, 2005
            EE30363          Random Phenomena in Electrical Engineering
                             Taught: Spring 2010, 2011, 2012, 2013
            EE30321          Embedded Systems
                             Developed: Spring 2016
                             Taught: Spring 2016, 2017, 2018
            EE40354          Multimedia Signals and Systems
                             Developed: Fall 2012
                             Taught: Fall 2012, 2016, 2017; Spring 2014
            EE471/EE40471    Digital Signal Processing
                             Taught: Spring 1992, 1993, 1995, 1996, 2000, 2008
            EG498            Multidisciplinary Engineering Design Laboratory

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                            Developed: Fall 1995
                            Taught: Fall 1995
            EE498           Topics in Image Processing
                            Taught: Fall 1994
           EE573/EE60573    Random Processing, Estimation and Detection Theory
                            Taught: Spring 2007, 2009
           EE581/EE60581    Digital Image Processing
                            Taught: Spring 1991, 1994, 1999, 2006, 2015; Fall 1997,
                            2001, 2003, 2010
           EE598/EE60671    Advanced Digital Signal Processing
                            Developed: Fall 2004
                            Taught: Fall 2004, 2005, 2011, 2013, 2014
           EE598            Computer Vision
                            Developed: Fall 1991
                            Taught: Fall 1991, 1993
           EE663 /EE80663   Advanced Stochastic Processes
                            Developed: Spring 1998
                            Taught: Spring 1998, Fall 2002, 2009
           ELEG631          Applications of Digital Signal Processing
                            Developed: Fall 1996
                            Taught: Fall 1996, University of Delaware
           CSE498P          Digital Multimedia Hub System Design
                            Developed: Spring 2003
                            Taught: Spring 2003

           University Services
              University
               Committee on Advising
                   2018-Present
               Chair, Science and Technology Subcommittee of the Core Curriculum
                   Committee
                   2018-Present
               Core Curriculum Committee
                   2018-Present
               Club Supervisor, Notre Dame Machine Learning Club
                   2018-Present


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                Club Supervisor, Rubik's Cube Club of Notre Dame
                     2011-2015
                University Committee on Research and Sponsored Programs
                     2006-2010
                Intellectual Property Committee
                     2003-2006
                ND's Technical Liaison to the Indiana Governor for Sun Microsystems
                     2000-2001
                Committee on Technical Computing
                     1995-1996
                University Committee on Computer and Information Sciences
                     1995-1996, 2002-2003
                University Committee on Academic Technology
                     2003-2006
                Faculty Senate
                     1993-1996
                Freshman Orientation
                     1993-1995, 1998-2007
              Engineering College
               Ad-hoc Committee on First Year Engineering
                    2018-Present
               Four Horsemen Venture Capital Fund Advisory Committee
                    2003-2004
               CSE Chairman Search Committee
                    1999-2001
               College Council
                    1997-2000
               Undergraduate Studies Committee
                    1994-1996, 1998-1999, 2013-Present
               College Computer Committee
                    1995-1996, 1997-2013
               Ad hoc College Computer Committee
                    2001-2002, 2007
               Friends of the MEP mentoring initiative
                    1992
              Electrical Engineering Department
                Ad-hoc Committee on the Curriculum
                    2017-Present
                Director of Undergraduate Studies
                    2014-Present

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                ABET Coordinator
                     2016-2017
                Committee on Appointments and Promotions
                     2007-2009, 2017-Present
                Area Committee Chairman
                     2002-2013
                Graduate Committee
                     1991-1994, 2003-2005, 2006-2008, 2010-2012
                Undergraduate Committee
                     1994-1996, 1998-2000, 2001-2003, 2005-2007, 2011-Present
                Undergraduate Coordinator
                     1994-1996, 1998-1999
                Undergraduate Mentor
                     2006-2014
                Qualifying Exam Coordinator
                     1991-1993
                Computer Committee, Chair
                     1994-1996, 1997-2013
                Electrical Engineering Commencement Coordinator
                     2002
                Graduate Admissions Committee
                     1997-1998, 2008, 2013
                Facilities Committee
                     1997-1998
                Honesty Committee
                     1993-1994
                Eta Kappa Nu Faculty Advisor
                     1991-1996



              February 8, 2019




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            Robert Louis Stevenson
            Litigation Experience


            Contact           1961 Camp Madron Rd., Lot 38
                              Buchanan, MI 49107
                              Tel.: +1 574-339-3514
                              EMail: rlstevenson@me.com


            Expert Testimony (last 6 years)

             Expert witness for Oracle Corporation et al., AT&T, Inc., et al., and eHar-
             mony, Inc. in "Click-to-Call Technologies LP v. Oracle Corporation et al.,"
             "Click-to-Call Technologies LP v. AT&T, Inc., et al.," and "Click-to-Call
             Technologies LP v. eHarmony, Inc." Civial Action Nos. 1:12-cv-00465;
             l:12-cv-00468; l:12-cv-00466 in the Western District of Texas (Markman
             hearing testimony).

              Expert witness for Flashpoint Technology, Inc., in "Certain Electronic
              Imaging Devices," ITC Investigation No. 337-TA-850 (deposition and hear-
              ing testimony).

             Expert witness for Autodesk, Inc. in "American Imaging Services, Inc. v.
             Audodesk, Inc.," Civil Action No. 3:09-CV-733-M in the Northern District
             of Texas Dallas Division (trial testimony).

             Expert witness for Adobe Systems, Inc. in "Everyscape, Inc. v. Adobe Sys-
             tems," Civial Action No. 10-cv-11597-RGS in the District of Massachusetts
             Boston Division (deposition testimony).

             Expert witness for Cochlear Corp. in the case "Cochlear Corp., et al. v.
             Alfred E. Mann Foundation for Scientific Research," Civil Action No. CV
             07-08108 GHK (CTX) in the Central District of California (deposition and
             trial testimony).

             Expert witness for Macronix in "Creative Integrated Systems, Inc. v. Nin-
             tendo of America, Inc. et al." Civial Action No. CVl0-2735 ARM (VBKx)
             in the Central District of California, Southern Division (deposition and
             trial testimony).


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              Expert witness for Corporation in "SDI Technologies, Inc. v. Bose Corpo-
              ration" Cases IPR2013-00350 and IPR2013-00465 before the Patent Trial
              and Appeal Board (deposition testimony).

              Expert witness for Canon Inc. in "Canon Inc v. Intellectual Ventures II
              LLC." Cases IPR2014-00631 and IPR2014-00632 before the Patent Trial
              and Appeal Board (deposition testimony).

              Expert witness for Canon Inc. in "Intellectual Ventures II LLC. v. Canon
              Inc." Case 13-CV-473 (SLR) for the District of Delaware (deposition tes-
              timony).

              Expert witness for CTP Innovations, LLC in "Eastman Kodak Company,
              et al. v. CTP Innovations, LLC." Case IPR2014-00790 before the Patent
              Trial and Appeal Board (deposition testimony).

              Expert witness for Google, Inc. in "Videoshare, LLC. v. Google, Inc.
              et al." Civil Action No. 13-cv-990 (GMS) in the District of Delaware
              (deposition testimony).

              Expert witness for Canon, Inc., in "Technology Properties Limited, LLC
              et al. v. Canon, Inc. et al," Case No. 4:14-cv-03640-CW in the Northern
              District of California, Oakland Division (deposition testimony).

              Expert witness for Advanced Silicon Technologies, LLC., in "Certain Com-
              puting or Graphics Systems, Components Thereof, and Vehicles containing
              samel," ITC Investigation No. 337-TA-984 (deposition testimony).

             Expert witness for Alcate-Lucent USA, Inc., in "Intellectual Ventures, et
             al. v. Toshiba Corporation, et al," Case No. l:14-cv-0764-WTL-TAB in
             the Southern District of Indiana Indianapolis Division (deposition testi-
             mony).

             Expert witness for Nautilus Hyosung, Inc., in "Certain Automated Teller
             Machines, ATM Products, Components Thereof, and Products Containing
             the Same," ITC Investigation No. 337-TA-972 (deposition and hearing
             testimony).

             Expert witness for Toshiba., in "Intellectual Ventures, et al. v. Toshiba
             Corporation, et al," Case No. 13-453-SLR-SRF in the District of Delaware
             (deposition testimony and trial testimony).



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              Expert witness for Samsung Electronics Co. LTD. and Microsoft Corpora-
              tion in "Microsoft Corporation, et al. v. FastVDO LLC." Case IPR2016-
              01179 before the Patent Trial and Appeal Board (deposition testimony).

              Expert witness for Samsung., in "Image Processing Technologies, LLC v.
              Samsung Electronics Co., LTD, et. al" Case No. 2:16-CV-0505-JRG in the
              Eastern District of Texas (deposition testimony).

              Expert witness for Harmonic, Inc., in "Avid Technology, Inc. v. Harmonic,
              Inc.," Case No. 17-682-GMS in the District of Delaware (deposition testi-
              mony).

              Expert witness for IPDEV Co., in "IPDEV Co. v. Ameranth, Inc.,"
              Case No. 3:14-cv-01303-DMS-WVG in the Southern District of California
              (deposition testimony).

             Expert witness for Funai, MediaTek, MStar, Vizio, LG and Sigma., in
             "Certain Semiconductor Devices and Consumer Audiovisual Products
             Containing the Same," ITC Investigation No. 337-TA-1047 (deposition and
             trial).

             Expert witness for LG Electronics, Inc., in "Mondis Technology LTD. v.
             LG Electronics, Inc., et al.," Case No. 15-cv-4431 (SRC)(CLW) in the
             District of New Jersey (deposition).

             Expert witness for Eagle View Technologies, Inc., in "Eagle View Tech-
             nologies, Inc. et al. v. Xactware Solutions, Inc., et al.," Case No. 1:15-cv-
             07025-RBK-JS in the District of New Jersey (deposition).

             Expert witness for Apple Inc., in "Qualcomm Inc., v. Apple Inc," Case No.
             3:17-CV-1375-DMS-MDDD in the Southern District of California (depo-
             sition).

             Expert witness for Align Technology, Inc., in "Certain Intraoral Scanners
             and Related Hardware and Software," ITC Investigation No. 337-TA-1090
             (Markman hearing technology tutorial, deposition and hearing testimony).

             Expert witness for Apple Inc., in "Qualcomm Inc., v. Apple Inc," Case No.
             3:17-cv-00108-GPC-MDD and 3:l 7-cv-00110-GPC-MDD in the Southern
             District of California (deposition).

             Expert witness for ZiiLabs Inc. Ltd., m "Certain Graphics Processors


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              and Products Containing the Same," ITC Investigation No. 337-TA-1099
              (Markman Hearing Technology Tutorial and deposition).



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                                                                                              MARCH2019
                                               Curriculum Vitae

                                       Jonathan I. Arnold, Ph.D.
                                      Jonathan. arnold@chicagoecon.com

      EDUCATION:

      Ph.D. Business Economics, Graduate School of Business, The University of Chicago

      M.B.A. Finance and Accounting, The University of Chicago Graduate School of Business

      B.A.     Economics, The University of Chicago

      PROFESSIONAL EXPERIENCE SINCE 1995:

      2013 -         Testifying Expert Economist, Chicago Economics Corp.

      2013 -         Senior Consultant, Compass Lexecon.

      2012 - 2013    Chief Economist, Office of the Attorney General, New York State

      2006 - 2012    Managing Principal, Analysis Group, Inc.

      1995 - 2006    Principal, Chicago Partners

      TESTIMONY - SINCE 2003:

      •   Declaration in Class v. Samsung Telecommunications America, U.S. District Court, Northern
          District of California, Case No. 3:14-cv-582-JD. (January 2019)
      •   Court Testimony in Jo Ann Howard and Associates v. J. Douglas Cassity, U.S. District Court,
          Eastern District of Missouri, Case No. 09-CV-1252-ERW. (January 2019)
      •   Expert Report in re Transcare (Debtor) in the matter of Salvatore Lamonica, as Chapter 7
          Trustee for the Estates of Trans Care v. Lynn Tilton, U.S. Bankruptcy Court, Southern District of
          New York, Chapter 7 Case No. 16-10407. (November 2018)
      •   Rebuttal Expert Report in Jo Ann Howard and Associates v. J. Douglas Cassity, U.S. District
          Court, Eastern District of Missouri, Case No. 09-CV-1252-ERW. (November 2018)
      •   Expert Report in U.S.A. v. Matthew Connolly and Gavin Black, U.S. District Court, Southern
          District of New York, Case No. 01:16-CR-00370 (CM). (September 2018)
      •   Deposition in Jo Ann Howard and Associates v. J. Douglas Cassity, U.S. District Court Eastern
          District of Missouri, Case No. 09-CV-1252-ERW. (August 2018)
      •   Expert Report in Jo Ann Howard and Associates v. J. Douglas Cassity, U.S. District Court
          Eastern District of Missouri, Case No. 09-CV-1252-ERW. (July 2018)
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      •   Deposition in Eagle View Technologies v. Xactware Solutions, U.S. District Court for the District
          of New Jersey, Civil Action No. 15-cv-07025. (May 2018)
      •   Expert Report in State of Washington v. LG Electronics, Superior Court of King County,
          Washington, Case No. 12-2-15842-8. (May 2018)
      •   Rebuttal Expert Report in Eagle View Technologies v. Xactware Solutions, U.S. District Court
          for the District of New Jersey, Civil Action No. 15-cv-07025. (May 2018)
      •   Expert Report in Eagle View Technologies v. Xactware Solutions, U.S. District Court for the
          District of New Jersey, Civil Action No. 15-cv-07025. (May 2018)
      •   Expert Report in Eagle View Technologies v. Xactware Solutions, U.S. District Court for the
          District of New Jersey, Civil Action No. 15-cv-07025. (April 2018)
      •   Testimony In the Matter of Certain Two-Way Radio Equipment and Systems, Related Software and
          Components Thereof United States International Trade Commission, Washington, D.C.,
          Investigation No. 337-TA-1053. (January 2018)
      •   Deposition In the Matter of Certain Two-Way Radio Equipment and Systems, Related Software and
          Components Thereof United States International Trade Commission, Washington, D.C.,
          Investigation No. 337-TA-1053. (November 2017)
      •   Expert Report In the Matter of Certain Two-Way Radio Equipment and Systems, Related Software
          and Components Thereof United States International Trade Commission, Washington, D.C.,
          Investigation No. 337-TA-1053. (October 2017)
      •   Deposition In re Avaya, U.S. Bankruptcy Court of the Southern District of New York, Ch. 11,
          Case No. 17-10089. (October 2017)
      •   Expert Report In re Avaya, U.S. Bankruptcy Court of the Southern District of New York, Ch.
          11, Case No. 17-10089. (October 2017)
      •   Deposition in Stark Master Fund Ltd. and Stark Global Opportunities Master Fund Ltd. v. Credit
          Suisse Securities, U.S. District Court for the Eastern District of Wisconsin, No. 14-cv-689.
          (August 2017)
      •   Testimony in The Financial Oversight and Management Board for Puerto Rico, as representative of
          The Commonwealth of Puerto Rico (PROMESA Title III No. 17 BK 3283-LTS); in re: The
          Financial Oversight and Management Board for Puerto Rico, as representative of Puerto
          Rico Highways & Transportation Authority (PROMESA Title III, No. 17 BK 3567-LTS); Peaje
          Investments v. Puerto Rico Highways & Transportation Authority (Adv. Proc. No. 17-151-
          LTS in 17 BK 3567-LTS and Adv. Proc. No. 17-152-LTS in 17 BK 3283-LTS) (August 2017)
      •   Rebuttal Expert Report in Stark Master Fund Ltd. and Stark Global Opportunities Master Fund
          Ltd. V. Credit Suisse Securities, U.S. District Court of the Eastern District of Wisconsin, No. 14-
          cv-689. (August 2017)
      •   Deposition in The United States of America, ex rel., John H. Oberg v. Pennsylvania Higher
          Education Assistance Agency, U.S. District court of the Easter District of Virginia, No. 1:07-cv-
          00960-CMH-JF A. (August 2017)
      •   Deposition in The Financial Oversight and Management Board for Puerto Rico, as representative of
          The Commonwealth of Puerto Rico (PROMESA Title III No. 17 BK 3283-LTS); in re: The


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            Financial Oversight and Management Board for Puerto Rico, as representative of Puerto
            Rico Highways & Transportation Authority (PROMESA Title III, No. 17 BK 3567-LTS); Peaje
            Investments v. Puerto Rico Highways & Transportation Authority (Adv. Proc. No. 17-151-
            LTS in 17 BK 3567-LTS and Adv. Proc. No. 17-152-LTS in 17 BK 3283-LTS) (July 2017)
        •   Declaration in The Financial Oversight and Management Board for Puerto Rico, as representative
            of The Commonwealth of Puerto Rico (PROMESA Title III No. 17 BK 3283-LTS); in re: The
            Financial Oversight and Management Board for Puerto Rico, as representative of Puerto
            Rico Highways & Transportation Authority (PROMESA Title III, No. 17 BK 3567-LTS); Peaje
            Investments v. Puerto Rico Highways & Transportation Authority (Adv. Proc. No. 17-151-
            LTS in 17 BK 3567-LTS and Adv. Proc. No. 17-152-LTS in 17 BK 3283-LTS) (July 2017)
        •   Expert Report in Stark Master Fund Ltd. and Stark Global Opportunities Master Fund Ltd. V.
            Credit Suisse Securities, U.S. District Court of the Eastern District of Wisconsin, No. 14-cv-
            689. (July 2017)
        •   Expert Report in The United States of America, ex rel., John H. Oberg v. Pennsylvania Higher
            Education Assistance Agency, U.S. District court of the Easter District of Virginia, No. 1:07-cv-
            00960-CMH-JFA. (June 2017)
        •   Deposition in The State of Illinois v. Hitachi, Circuit Court of Cook County, Illinois, County
            Department, Chancery Division, Case No. 2012-CH-35266. (April 2017)
        •   Hearing Testimony in Arista Networks v. Cisco Systems, International Trade Commission
            Washington, D.C., Investigation No. 337-TA-977. (April 2017)
        •   Deposition in Arista Networks v. Cisco Systems, International Trade Commission Washington,
            D.C., Investigation No. 337-TA-977. (February 2017)
        •   Second Supplemental Expert Report in Arista Networks v. Cisco Systems, International Trade
            Commission Washington, D.C., Investigation No. 337-TA-977. (February 2017)
        •   Supplemental Expert Report in Arista Networks v. Cisco Systems, International Trade
            Commission Washington, D.C., Investigation No. 337-TA-977. (February 2017)
        •   Expert Report in Arista Networks v. Cisco Systems, International Trade Commission
            Washington, D.C., Investigation No. 337-TA-977. (January 2017)
        •   Rebuttal Expert Report in The State of Illinois v. Hitachi, Circuit Court of Cook County,
            Illinois, County Department, Chancery Division, Case No. 2012-CH-35266. (January 2017)
        •   Court Testimony in a consolidated proceeding comprising Brigade Leveraged Capital
            Structures Fund v. Alejandro Garcia-Padilla (16-1610), National Public Finance Guarantee v.
            Alejandro Garcia-Padilla (16-2101), Dionisio Trigo-Gonzalez v. Alejandro Garcia-Padilla (16-2257),
            and U.S. Bank Trust National Association v. The Commonwealth of Puerto Rico (16-2510), U.S.
            District Court, District of Puerto Rico. (September 2016)
        •   Deposition in My Ford Touch Consumer Litigation, U.S. District Court, Northern District of
            California, San Francisco Division, Case No. 13-cv-3072-EMC. (September 2016)
        •   Responsive Damages Expert Report in My Ford Touch Consumer Litigation, U.S. District
            Court, Northern District of California, San Francisco Division, Case No. 13-cv-3072-EMC.
            (September 2016)



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        •   Expert Report in The State of Illinois v. Hitachi, Circuit Court of Cook County, Illinois, County
            Department, Chancery Division, Case No. 2012-CH-35266. (August 2016)
        •   Deposition in Philips v. Ford, U.S. District Court, Northern District of California, San Jose
            Division, Case No. 5:14-cv-02989-LHK. (August 2016)
        •   Trial Testimony in Nortek Air Solutions v. Energy Labs, U.S. District Court, Northern District
            of California, San Jose Division, Case No. 5:14-cv-02919-BLF. (August 2016)
        •   Damages Expert Report in My Ford Touch Consumer Litigation, U.S. District Court, Northern
            District of California, San Francisco Division, Case No. 13-cv-3072-EMC. (August 2016)
        •   Expert Report in Philips v. Ford, U.S. District Court, Northern District of California, San Jose
            Division, Case No. 5:14-cv-02989-LHK. (July 2016)
        •   Responsive Expert Report in My Ford Touch Consumer Litigation, U.S. District Court,
            Northern District of California, San Francisco Division, Case No. 13-cv-3072-EMC. (May
            2016)
        •   Supplemental Declaration Lena K. Thodos and David Miller v. Nicor, Circuit Court of Cook
            County, Illinois County Department, Chancery Division, Case No. 11CH06556. (April 2016)
        •   Deposition in Nortek Air Solutions v. Energy Labs, U.S. District Court, Northern District of
            California, San Jose Division, Case No. 5:14-cv-02919-BLF (March 2016)
        •   Expert Report in Nortek Air Solutions v. Energy Labs, U.S. District Court, Northern District of
            California, San Jose Division, Case No. 5:14-cv-02919-BLF (February 2016)
        •   Deposition in My Ford Touch Consumer Litigation, U.S. District Court, Northern District of
            California, San Francisco Division, Case No. 13-cv-3072-EMC. (February 2016)
        •   Deposition in Richard S. Stack, M.D. v. Abbott Laboratories, U.S. District Court, Middle District
            of North Carolina, Case No. 1:12-CV-148. (January 2016)
        •   Expert Report in My Ford Touch Consumer Litigation, U.S. District Court, Northern District of
            California, San Francisco Division, Case No. 13-cv-3072-EMC. (January 2016)
        •   Deposition in Lena K. Thodos and David Miller v. Nicor, Circuit Court of Cook County, Illinois
            County Department, Chancery Division, Case No. 11CH06556. (December 2015)
        •   Expert Report in Richard S. Stack, M.D. v. Abbott Laboratories, U.S. District Court, Middle
            District of North Carolina, Case No. 1:12-CV-148. (December 2015)
        •   Declaration in Russell Dauer v. British Airways, U.S. District Court, Eastern District of New
            York, Case No. 1:12-CV-05567. (November 2015)
        •   Declaration in Lena K. Thodos and David Miller v. Nicor, Circuit Court of Cook County, Illinois
            County Department, Chancery Division, Case No. 11CH06556. (October 2015)
        •   Deposition in Jo Ann Howard and Associates v. J. Douglas Cassity, U.S. District Court Eastern
            District of Missouri, Case No. 09-CV-1252-ERW. (October 2015)
        •   Supplemental Expert Report in Russell Dover v. British Airways, U.S. District Court, Eastern
            District of New York, Case No. 1:12-cv-05567. (September 2015)




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        •   Deposition in Russell Dover v. British Airways, U.S. District Court, Eastern District of New
            York, Case No. 1:12-cv-05567. (August 2015)
        •   Rebuttal Expert Report in Russell Dover v. British Airways, U.S. District Court, Eastern
            District of New York, Case No. 1:12-cv-05567. (June 2015)
        •   Expert Report in Russell Dover v. British Airways, U.S. District Court, Eastern District of New
            York, Case No. 1:12-cv-05567. (May 2015)
        •   Expert Report in Thomas & Betts International v. Burny, U.S. District Court, Western District
            of Tennessee, Case No. 2:14-cv-2296-JPM-tmp. (April 2015)
        •   Testimony in Jo Ann Howard and Associates v. J. Douglas CassihJ, U.S. District Court Eastern
            District of Missouri, Case No. 09-CV-1252-ERW. (March 2015)
        •   Supplemental Expert Report in Russell Dover v. British Airways, U.S. District Court,
        •   Deposition in Russell Dover v. British Airways, U.S. District Court, Eastern District of New
            York, Case No. 1:12-cv-05567. (August 2015)
       •    Rebuttal Expert Report in Russell Dover v. British Airways, U.S. District Court, Eastern
            District of New York, Case No. 1:12-cv-05567. (June 2015)
       •    Expert Report in Russell Dover v. British Airways, U.S. District Court, Eastern District of
            New York, Case No. 1:12-cv-05567. (May 2015)
       •    Expert Report in Thomas & Betts International v. Burny, U.S. District Court, Western
            District of Tennessee, Case No. 2:14-cv-2296-JPM-tmp. (April 2015)
       •    Testimony in Jo Ann Howard and Associates v. J. Douglas Cassity, U.S. District Court
            Eastern District of Missouri, Case No. 09-CV-1252-ERW. (March 2015)
       •    Deposition in Jo Ann Howard and Associates v. J. Douglas Cassity, U.S. District Court
            Eastern District of Missouri, Case No. 09-CV-1252-ERW. (February 2015)
       •    Deposition in Jo Ann Howard and Associates v. J. Douglas Cassity, U.S. District Court
            Eastern District of Missouri, Case No. 09-CV-1252-ERW. (January 2015)
       •    Expert Report in Jo Ann Howard and Associates v. J. Douglas Cassity, U.S. District Court
            Eastern District of Missouri, Case No. 09-CV-1252-ERW. (January 2015)
       •    Reply Declaration in Cryolife, Inc. v. C.R. Bard, Inc., U. 5. District Court of the District of
            Delaware, Case No. CV-14-00559-SLR. (January 2015)
       •    Declaration in Cryolife, Inc. v. C.R. Bard, Inc., U.S. District Court of the District of
            Delaware, Case No. CV-14-00559-SLR. (September 2014)
       •    Expert Report in Illinois Pension Litigation, Circuit Court for the Seventh Judicial Circuit,
            Sangamon County Illinois, Case No. 2014-MRl. (August 2014)
       •    Deposition in Jo Ann Howard and Associates v. J. Douglas Cassity, et al., U.S. District Court
            Eastern District of Missouri, Case No. 09-CV-1252-ERW. (August 2014)
       •    Expert Report in Jo Ann Howard and Associates v. J. Douglas Cassity, et al., U.S. District
            Court Eastern District of Missouri, Case No. 09-CV-1252-ERW. (July 2014)




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       •   Testimony in SolidFX, LLC v. Jeppesen Sanderson, Inc., U.S. District Court, District of
           Colorado, Case No. 11-CV-1468. (April 2014)
       •   Supplemental Expert Report in SolidFX, LLC v. Jeppesen Sanderson, Inc., U.S. District
           Court, District of Colorado, Case No. 11-CV-1468. (April 2014)
       •   Deposition in Noble Systems Corporation v. TRG Holdings LLC, JAMS, Case No.
           1440003731. (April 2014)
       •   Expert Report in Noble Systems Corporation v. TRG Holdings LLC, JAMS, Case No.
           1440003731. (March 2014)
       •   Affidavit in Lena K Thodos and David Miller, et al v. Nicor, Inc. Northern Illinois Gas
           Company, U.S. Circuit Court of Cook County, Illinois County Department, Chancery
           Division, Case No. 11CH06556. (February 2014)
       •   Testimony in C. Geoffrey Hampson, Christopher Hampson, and Hampson Equities, Ltd., v.
           Live Current Media, Inc. and David Jeffs, JAMS, Case No. 1260002566. (October 2013)
       •   Deposition in C. Geoffrey Hampson, Christopher Hampson, and Hampson Equities, Ltd., v.
           Live Current Media, Inc. and David Jeffs, JAMS, Case No. 1260002566. (October 2013)
       •   Expert Report in C. Geoffrey Hampson, Christopher Hampson, and Hampson Equities,
           Ltd., v. Live Current Media, Inc. and David Jeffs, JAMS, Case No. 1260002566. (September
       •   Testimony in AM General, LLC v. BAE Systems, Inc., et al., St. Joseph Superior Court, State
           of Indiana County of St. Joseph, Case No. 71D07-0907-PL-00195. (October 2012)
       •   Deposition in SolidFX, LLC v. Jeppesen Sanderson, Inc., U.S. District Court, District of
           Colorado, Case No. 11-CV-1468. (February 2012)
       •   Deposition in St. Joseph Superior Court, State of Indiana County of St. Joseph, Case No.
           71D07-0907-PL-00195. (May 2012)
       •   Supplemental Expert Report in AM General, LLC v. BAE Systems, Inc., et al., St. Joseph
           Superior Court, State of Indiana County of St. Joseph, Case No. 71D07-0907-PL-00195. (April
       •   Rebuttal Expert Report in AM General, LLC v. BAE Systems, Inc., et al., St. Joseph Superior
           Court, State of Indiana County of St. Joseph, Case No. 71D07-0907-PL-00195. (April 2012)
       •   Expert Report in AM General, LLC v. BAE Systems, Inc., et al., St. Joseph Superior Court,
           State of Indiana County of St. Joseph, Case No. 71D07-0907-PL-00195. (March 2012)
       •   Expert report in SolidFX, LLC v. Jeppesen Sanderson, Inc., U.S. District Court, District of
           Colorado, Case No. 11-CV-1468. (February 2012)
       •   Deposition in Edgenet, Inc. v. Home Depot U.S.A., Inc., and James Musial, State of
           Wisconsin, Circuit Court, Waukesha County, Case No. 10-CV-10910. (December 2011)
       •   Expert report in Edgenet, Inc. v. Home Depot U.S.A., Inc., and James Musial, State of
           Wisconsin, Circuit Court, Waukesha County, Case No. 10-CV-10910. (October 2011)
       •   Testimony in BGCantor Market Data, L.P. v. Tullett Prebon Americas Corp., American
           Arbitration Association, Case No. 50-148-T-00737-10. (September 2011)




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       •   Deposition in BGCantor Market Data, L.P. v. Tullett Prebon Americas Corp., American
           Arbitration Association, Case No. 50-148-T-00737-10. (July 2011)
       •   Second Supplemental Expert report in BGCantor Market Data, L.P. v. Tullett Prebon
           Americas Corp., American Arbitration Association, Case No. 50-148-T-00737-10. (July 2011)
       •   Supplemental Expert report in BGCantor Market Data, L.P. v. Tullett Prebon Americas
           Corp., American Arbitration Association, Case No. 50-148-T-00737-10. (July 2011)
       •   Expert report in MBDA UK Limited v. Raytheon Company, American Arbitration
           Association, Case No. 50-180-T-00462-04. (June 2011)
       •   Expert report in BGCantor Market Data, L.P. v. Tullett Prebon Americas Corp., American
           Arbitration Association, Case No. 50-148-T-00737-10. (June 2011)
       •   Testimony in Agility Defense & Government Services, Inc. v. DynCorp International, LLC,
           American Arbitration Association, Case No. 13-132-00990-10. (April 2011)
       •   Deposition in Agility Defense & Government Services, Inc. v. DynCorp International, LLC,
           American Arbitration Association, Case No. 13-132-00990-10. (March 2011)
       •   Testimony in Citadel Investment Group, L.L.C. v. Matthew B. Hinerfeld, American
           Arbitration Association, Case No. 51116972 09. (February 2011)
       •   Deposition in Citadel Investment Group, L.L.C. v. Matthew B. Hinerfeld, American
           Arbitration Association, Case No. 51116972 09. (February 2011)
       •   Expert report in Citadel Investment Group, L.L.C. v. Matthew B. Hinerfeld, American
           Arbitration Association, Case No. 51116972 09. (February 2011)
       •   Expert report in Agility Defense & Government Services, Inc. v. DynCorp International,
           LLC, American Arbitration Association, Case No. 13-132-00990-10. (December 2010)
       •   Arbitration testimony in ADA-ES, Inc., et al. v. Norit Americas, Inc., American Arbitration
           Association, Case No. 13-132- Y 00718 09. (October 2010)
       •   Deposition in ADA-ES, Inc., et al. v. Norit Americas, Inc., American Arbitration Association,
           Case No. 30 192 Y 00718 09. (July 2010)
       •   Expert report in ADA-ES, Inc., et al. v. Norit Americas, Inc., American Arbitration
           Association, Case No. 30 192 Y 00718 09. (July 2010)
       •   Deposition in Citadel Investment Group, L.L.C. et al. v. Mikhail Malyshev and Jace
           and CIG GP, L.L.C., American Arbitration Association, Case No. AAA 51166 00969 09 and
           Case No. AAA 51166 00970 09. (June 2010)
       •   Expert report in Citadel Investment Group, L.L.C. et al. v. Mikhail Malyshev and Jace
           Kohlmeier and Mikhail Malyshev and Jace Kohlmeier v. Citadel Investment Group, L.L.C.
           and CIG GP, L.L.C., American Arbitration Association, Case No. AAA 51166 00969 09 and
           Case No. AAA 51166 00970 09. (June 2010)
       •   Expert report in Citadel Investment Group, L.L.C. et al. v. Mikhail Malyshev and Jace
           Kohlmeier and Mikhail Malyshev and Jace Kohlmeier v. Citadel Investment Group, L.L.C.
           and CIG GP, L.L.C., American Arbitration Association, Case No. AAA 51166 00969 09 and
           Case No. AAA 51166 00970 09. (June 2010)



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       •   Deposition in Marc S. Kirschner v. Thomas H. Lee Partners L.P., et al., U.S. District Court,
           Southern District of New York, Case No. 07 CIV 7074. (June 2010)
       •   Expert report in Marc S. Kirschner v. Thomas H. Lee Partners L.P., et al., U.S. District Court,
           Southern District of New York, Case No. 07 CIV 7074. (April 2010)
       •   Court testimony in Federal Trade Commission v. Lundbeck Inc. and State of Minnesota v.
           Lundbeck Inc., U.S. District Court, District of Minnesota, Case No. 08-CV-6379 (JNE/JJG)
           and Case No. 08-CV-6381 (JNE/JJG). (December 2009)
       •   Deposition in Encore Capital Group, Inc., et al.v. Jefferson Capital Systems, Inc., American
           Arbitration Association, Case No. AAA 13-148-Y-01611-08 and Case No. AAA #73-148-Y
           32920-08. (August 2009)
       •   Supplemental expert report in Encore Capital Group, Inc., et al.v. Jefferson Capital Systems,
           Inc., American Arbitration Association, Case No. AAA 13-148-Y-01611-08 and Case No.
           AAA 73-148-Y-32920-08. (August 2009)
       •   Deposition in Federal Trade Commission v. Lundbeck Inc. and State of Minnesota v.
           Lundbeck Inc., U.S. District Court, District of Minnesota, Case No. 08-CV-6379 (JNE/JJG)
           and Case No. 08-CV-6381 (JNE/JJG). (August 2009)
       •   Expert report in CompuCredit Corporation v. Columbus Bank and Trust Company,
           Superior Court of Fulton County, State of Georgia, Case No. 2008-CV-157010. (August 2009)
       •   Expert report in Encore Capital Group, Inc., et al.v. Jefferson Capital Systems, Inc.,
           American Arbitration Association, Case No. AAA 13-148-Y-01611-08 and Case No. AAA 73-
           148-Y-32920-08. (July 2009)
       •   Supplemental expert report in Federal Trade Commission v. Lundbeck Inc. and State of
           Minnesota v. Lundbeck Inc., U.S. District Court, District of Minnesota, Case No. 08-CV-6379
           (JNE/JJG) and Case No. 08-CV-6381 (JNE/JJG). (July 2009)
       •   Supplement to expert report in Federal Trade Commission v. Lundbeck Inc. and State of
           Minnesota v. Lundbeck Inc., U.S. District Court, District of Minnesota, Case No. 08-CV-6379
           (JNE/JJG) and Case No. 08-CV-6381 (JNE/JJG). (June 2009)
       •   Rebuttal expert report in Hawaii Structural Ironworkers Pension Trust Fund v. Calpine
           Corporation, Superior Court of the State of California, County of Santa Clara, Case No. 1-04-
           CV-021465. (May 2009)
       •   Expert report in Federal Trade Commission v. Lundbeck Inc. and State of Minnesota v.
           Lundbeck Inc., U.S. District Court, District of Minnesota, Case No. 08-CV-6379 (JNE/JJG)
           and Case No. 08-CV-6381 (JNE/JJG). (April 2009)
       •   Expert report in Hawaii Structural Ironworkers Pension Trust Fund v. Calpine Corporation,
           Superior Court of the State of California, County of Santa Clara, Case No. 1-04-CV-021465.
           (April 2009)
       •   Expert report in the arbitration between BASF Corporation v. POSM II Properties
           Partnership LP, American Arbitration Association, Arbitration No. 70-198-Y-00547-07 (May
           2008)




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       •   Deposition in General Electric Company v. BASF Corporation, U.S. District Court, Southern
           District of New York, Civil Action No. 06 CV 0283. (April 2008)
       •   Rebuttal expert report in General Electric Company v. BASF Corporation, U.S. District
           Court, Southern District of New York, Civil Action No. 06 CV 0283. (December 2007)
       •   Expert report in General Electric Company v. BASF Corporation, U.S. District Court,
           Southern District of New York, Civil Action No. 06 CV 0283. (December 2007)
       •   Court testimony in BASF Corporation v. Lyondell Chemical Company, Superior Court of
           Morris County, New Jersey (Law Division), Civil Action No. L-001069-05. (July 2007)
       •   Deposition in BASF Corporation v. Lyondell Chemical Company, Superior Court of Morris
           County, New Jersey (Law Division), Civil Action No. L-001069-05. (June 2007)
       •   Rebuttal expert report in Parmalat Securities Litigation, U.S. District Court, Southern
           District of New York, Master Docket No. 04 MD 1653 (LAK). (June 2007)
       •   Affidavit in BASF Corporation v. Lyondell Chemical Company, Superior Court of Morris
           County, New Jersey (Law Division), Docket No. MRS-L-001069-05. (June 2007)
       •   Expert report in re Parmalat Securities Litigation, U.S. District Court, Southern District of
           New York, Master Docket No. 04 MD 1653 (LAK) (and related to 04 Civ. 0030 (LAK)). (May
           2007)
       •   Affidavit in BASF Corporation v. Lyondell Chemical Company, Superior Court of Morris
           County, New Jersey (Law Division), Civil Action No. L-001069-05. (April 2007)
       •   Deposition in BASF Corporation v. Lyondell Chemical Company, Superior Court of Morris
           County, New Jersey (Law Division), Civil Action No. L-001069-05. (March 2007)
       •   Rebuttal expert report in BASF Corporation v. Lyondell Chemical Company, Superior Court
           of Morris County, New Jersey (Law Division), Civil Action No. L-001069-05. (February 2007)
       •   Expert report in BASF Corporation v. Lyondell Chemical Company, Superior Court of
           Morris County, New Jersey (Law Division), Civil Action No. L-001069-05. (December 2006)
       •   Court testimony in Marshall, O'Toole, Gerstein, Murray & Borun v. Eazypower, Circuit
           Court of Cook County, Illinois (Law Division), Civil Action No. 98 L 013501. (April 2006)
       •   Court testimony in White v. Heartland High-Yield Municipal Bond Fund, U.S. District
           Court, Eastern Division of Wisconsin, Civil Action No. OO-C-1388. (December 2005)
       •   Court testimony in the arbitration between City of Bangor, Maine v. Citizens
           Communications Company v. Barrett Paving Materials, U.S. District Court, District of
           Maine, Civil Action No. 02-183-B-S. (September 2005)
       •   Deposition in Marshall, O'Toole, Gerstein, Murray & Borun v. Eazypower, Circuit Court of
           Cook County, Illinois (Law Division), Civil Action No. 98 L 013501. (August 2005)
       •   Deposition in Neopost Industrie v. PFE International, U.S. District Court, Northern District
           of Illinois Chicago Division, Civil Action No. 04-C-5047. (June 2005)
       •   Expert declaration (with Andrew Wong) in Abbott Laboratories v. ANDRX
           Pharmaceuticals, U.S. District Court, Northern District of Illinois, Eastern Division, Civil
           Action No. 05 C01490. (May 2005)


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       •   Expert report in Neopost Industrie v. PFE International, U.S. District Court, Northern
           District of Illinois Chicago Division, Civil Action No. 04-C-5047. (May 2005)
       •   Expert report in IPXL Holdings v. Amazon, U.S. District Court, Eastern District of Virginia,
           Civil Action No. 04-CV-70. (July 2004)
       •   Deposition in White v. Heartland High-Yield Municipal Bond Fund, U.S. District Court,
           Eastern Division of Wisconsin, Civil Action No. OO-C-1388. (June 2004)
       •   Affidavit in IPXL Holdings v. Amazon, U.S. District Court, Eastern District of Virginia, Civil
           Action No. 04-CV-70. (June 2004)
       •   Expert disclosure in Chicopee v. Johnson & Johnson, American Arbitration Association,
           AAA No. 13 Y 181 010402. (June 2004)
       •   Expert report in IPXL Holdings v. Amazon, U.S. District Court, Eastern District of Virginia,
           Civil Action No. 04-CV-70. (June 2004)
       •   Expert report in Marshall, O'Toole, Gerstein, Murray & Borun v. Eazypower, Circuit Court
           of Cook County, Illinois (Law Division), Civil Action No. 98 L 013501. (June 2004)
       •   Deposition in American Century Services v. American International Specialty Lines
           Insurance, U.S. District Court, Southern District of New York, Civil Action No. 01-CV-8847.
           (May 2004)
       •   Expert report in White v. Heartland High-Yield Municipal Bond Fund, U.S. District Court,
           Eastern Division of Wisconsin, Civil Action No. OO-C-1388. (April 2004)
       •   Deposition in City of Bangor, Maine v. Citizens Communications Company v. Barrett
           Paving Materials, U.S. District Court, District of Maine, Civil Action No. 02-183-B-S.
           (February 2004)
       •   Testimony in the arbitration between Solvay Pharmaceuticals v. Duramed Pharmaceuticals,
           American Arbitration Association, Arbitration No. 53 181 00564 02. (January 2004)
       •   Deposition in the arbitration between Solvay Pharmaceuticals v. Duramed Pharmaceuticals,
           American Arbitration Association, Arbitration No. 53 181 00564 02. (January 2004)
       •   Expert report in the arbitration between Solvay Pharmaceuticals v. Duramed
           Pharmaceuticals, American Arbitration Association, Arbitration No. 53 181 00564 02.
           (December 2003)
       •   Declaration in American Century Services v. American International Specialty Lines
           Insurance, U.S. District Court, Southern District of New York, Civil Action No. 01-CV-8847.
           (September 2003)
       •   Expert report in American Century Services v. American International Specialty Lines
           Insurance, U.S. District Court, Southern District of New York, Civil Action No. 01-CV-8847.
           (August 2003)
       •   Testimony in the arbitration between Sceon Lighting Systems v. Snap-on, American
           Arbitration Association, Arbitration No. 51 Y 181 00577 01. (June 2003)




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       •   Expert report in the arbitration between Abbott Laboratories and Zurich American
           Insurance Company of Illinois (an international arbitration seated in London). (February
           2003)
       TEACHING EXPERIENCE:

       •   Columbia University and Duke University
           Guest Lecturer (2002- 2004)
       •   The University of Chicago, Department of Economics and Graduate School of Business
           Lecturer (1998 - 1999)
           Taught microeconomics (topics included price theory, industrial organization, capital
           theory, principles of labor economics, and durable goods economics)
       •   Loyola University Chicago School of Law
           Lecturer of Law (1997 -1998)
           Taught antitrust economics
       PROFESSIONAL AFFILIATIONS:

       American Economics Association

       OTHER:

      Certified Public Accountant




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      PROFESSIONAL EXPERIENCE


      STROZ FRIEDBERG, LLC
      Vice President
      2015 to Present

      ELYSIUM DIGITAL, LLC
      Computer Scientist
      2005 to 2015

      COHERENCE ENGINE
      Principal
      2003 to 2005

      CAP GEMINI ERNST & YOUNG CENTER FOR BUSINESS INNOVATION
      Senior Consultant/Manager
      1999 to 2002

      IBM
      Intern
      1996 to 1997

      DATA GENERAL
      Intern
      1994 to 1995

      CONGRESSIONAL BUDGET OFFICE, NATIONAL SECURITY DIVISION
      Assistant Analyst
      1992 to 1994



      EDUCATION

      DUKE UNIVERSITY
      Ph.D., Computer Science, 2001
      Dissertation: "Architecture, Implementation, and Applications of Bytecode Transformation"

      PRINCETON UNIVERSITY
      A.B., Woodrow Wilson School of Public and International Affairs, 1992




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       PUBLICATIONS

       October 2010: "Targeting Third-Party Collaboration." In Proc. Deterring CyberAttacks: Informing Strategies and Developing
       Options for U.S. Policy.

      May 2005: "The Invisible Handshake: Open Source Principles for Business." Monitor Networks White Paper.

      2004: "Using Bytecode Transformation to Integrate New Features." In Aspect-Oriented Software Development.

      2003: "Spaces of the Real: How Sensors Will Change the Way We See the World." Perspectives on Business Innovation 9:
      79-84.

      2002: "The Bionic Organization." Geoff A. Cohen and John S. Parkinson. Perspectives on Business Innovation 8: 79-84.

      February 2002: "An Open Letter to the Software Nobility." Geoff A. Cohen and Alan Radding. Center for Business Innovation
      Working Paper.

      June 2001: "Travels in Silicon: Reflections on the Center for Business Innovation's Untethered Devices Rave." Geoff A.
      Cohen and Mukul Kanabar. Center for Business Innovation Working Paper.

      2001: "Taking Up Serpents: How ASPs are Changing the Face of Consulting." Perspectives on Business Innovation 6: 51-
      55.

      2000: "Pushing Platforms: Corporate Venture Funds." Perspectives on Business Innovation 5: 26-32.

      October 1999: "Toward Automatic State Management for Replicated Dynamic Web Services." Geoff Berry, Jeff Chase,
      Geoff Cohen, Landon Cox, and Amin Vahdat. In Proc. Network Storage Symposium (NETSTORE'99).

      June 1998: "Automatic Program Transformation with JOIE." Geoff A. Cohen, Jeffrey S. Chase, and David L. Kaminsky. In
      Proc. USENIX Annual Technical Conference (ATEC'98).



      PATENTS
      Dynamic object migration method using proxy object links to support automatic object distribution in an object-oriented
      environment. Geoffrey Alexander Cohen, David Louis Kaminsky, and Richard Adam King. US Patent 6,324,543, filed March
      6, 1998, and issued November 27, 2001.

      Method and system of running object-oriented programs across a network through compression and distillation of remote
      method invocation. Geoffrey Alexander Cohen, David Louis Kaminsky, and Jonathan Michael Seeber. US Patent 6,125,400,
      filed November 10, 1997, and issued September 26, 2000.

      Apparatus and method for dynamically modifying class files during loading for execution. Geoffrey Alexander Cohen and
      Richard Adam King. US Patent 6,072,953, filed September 30, 1997, and issued June 6, 2000.




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      Methods, systems, and computer program products for generating client/server applications. Geoffrey Alexander Cohen,
      James P. Gray, David Louis Kaminsky, Manoj V. S. Kasichainula, Richard Adam King, Zhiyong Li, and Phillip Allan Stone.
      US Patent 6,011,918, filed April 22, 1998, and issued January 4, 2000.

      Process for running applets over non-IP networks. Geoffrey Alexander Cohen, David Louis Kaminsky, Richard Adam King,
      and Matthew Raymond MacKinnon. US Patent 5,805,829, filed October 1, 1996, and issued September 8, 1998.



      PRESS APPEARANCES
      August, 26, 2010: "Big Brother and the Civilian Network." Geoff A. Cohen and Jay Stanley. Homeland Security 2020: The
      Future of Defending the Homeland. Day 4: Cyber Security. C-SPAN.



      TESTIMONY
      2018: UMG Recordings, Inc. et al. v. Grande Communications Networks LLC et al.
      U.S. District Court, Western District of Texas, Case No. 1 :17-cv-00365
      Submitted expert report on behalf of Grande Communications Network and Patriot Media Consulting (represented by
                Armstrong Teasdale) in a copyright matter involving BitTorrent.

      2018: 3G Licensing, S.A. et al. v. Blackberry Limited et al.
      U.S. District Court, District of Delaware, Case Nos. 1:17-cv-00082, 83, 84, 85
      Submitted multiple declarations regarding claim construction on behalf of 3G Licensing (represented by Susman Godfrey) in
      a patent matter regarding telecommunications technologies.

      2018: Eagle View Technologies, Inc. et al. v. Xactware Solutions Inc. et al.
      U.S. District Court, District of New Jersey, Case No. 15-cv-07025
      Submitted multiple expert reports and was deposed regarding embodiment of asserted patents by Plaintiffs' products and
      non-infringement of Defendants' products on behalf of Xactware Solutions, Inc. (represented by McCarter & English) in a
      patent matter regarding roof modeling using aerial imagery.

      2017, 2018: Calendar Research LLC v. StubHub, Inc. et al.
      U.S. District Court, Central District of California, Case No. 2:17-cv-04062
      Submitted multiple declarations, expert report, and was deposed on behalf of Calendar Research LLC (represented by
      Pierce Sergenian) in a trade secret matter involving scheduling software.

      2017, 2018: Vaporstream, Inc. v. Snap Inc. d/b/a Snapchat, Inc.
      U.S. District Court, Central District of California, Case No. 2:17-cv-00220
      Was deposed multiple times and submitted declaration and expert report regarding validity and submitted declaration
      regarding claim construction, on behalf of Vaporstream, Inc. (represented by Susman Godfrey) in a patent matter involving
      ephemeral data.

      2017: lnte/licheck Mobilisa, Inc. v. Wizz Systems LLC
      U.S. District Court, Western District of Washington, Case No. 2: 15-cv-00366




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      Submitted expert report regarding validity on behalf of lntellicheck Mobilisa, Inc. (represented by Beusse Wolter Sanks &
      Maire) in a patent matter involving identification validation software.

      2015, 2016: DataTern, Inc. v. Blazent, Inc. eta/.
      U.S. District Court, District of Massachusetts, Case No. 1 :11-cv-11970
      Was deposed, submitted two declarations concerning claim construction, and submitted two affidavits regarding
      infringement and validity on behalf of DataTern, Inc. (represented by Mccarter & English) in a patent matter regarding
      object-relational mapping.

      2016: Sisoian v. International Business Machines Corporation
      U.S. District Court, Western District of Texas, Case. No. 1:14-cv-00565
      Submitted expert report on behalf of International Business Machines Corporation (represented by Yetter Coleman) in a
      matter involving trade secret allegations pertaining to Smalltalk source code.

      2016: Avid Technology, Inc. v. Media Gobbler, Inc.
      U.S. District Court, District of Massachusetts, Case No. 1: 14-cv-137 46
      Was deposed and submitted expert report on behalf of Media Gobbler, Inc. (represented by Perkins Coie) in a matter
      involving allegations of trade secret misappropriation relating to audio file formats.

      2015: In re Application No. 13/447, 932 to Collins et al.
      United States Patent and Trademark Office
      Submitted declaration on behalf of Vaporstream, Inc.

      2015: Media Bridge LLC v. Clear Channel Outdoor Holdings Inc. et al.
      U.S. District Court, District of Delaware, Case No. 1: 15-cv-00122
      Submitted declaration on behalf of Media Bridge, LLC (represented by Farnan LLP) in a patent infringement matter
      regarding interactive mobile advertising platforms.

      2015: SpectorSoft Corporation v. Helios Software, LLC
      United States Patent and Trademark Office, Patent Trial and Appeal Board, Case No. 2015-01599
      Submitted declaration on behalf of SpectorSoft Corporation (represented by Sterne, Kessler, Goldstein & Fox) in support of
      petition for inter partes review regarding a network monitoring patent.

      2013, 2014, and 2015: Helios Software LLC et al. v. SpectorSoft Corporation
      U.S. District Court, District of Delaware, Case No. 1:12-cv-00081
      Testified as an expert witness at trial, was deposed, submitted two expert reports regarding invalidity, and submitted three
      declarations on behalf of SpectorSoft Corporation (represented by Shartsis Friese) in a patent case regarding network
      monitoring.

      2014: PCMS International, Inc. v. 2295113 Canada, Inc.
      Delaware Court of Chancery, Case No. 8406
      Was deposed and submitted expert report on behalf of 2295113 Canada, Inc. (represented by Richards Layton & Finger) in
      a trade secret dispute regarding point of sale system technology.

      2014: Amazon.com, Inc. v. Commissioner of Internal Revenue
      U.S. Tax Court, Case No. 31197-12




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      Boston, Massachusetts



      Testified and deposed as expert witness and submitted two expert reports on behalf of Commissioner of Internal Revenue in
      a dispute regarding software valuation.

      2013: CA, Inc. v. New Relic, Inc.
      U.S. District Court, Eastern District of New York, Case No. 2:12-cv-05468
      Was deposed, submitted two expert reports regarding invalidity and non-infringement, submitted three declarations, and
      submitted affidavit regarding claim construction on behalf of New Relic, Inc. (represented by Keker & Van Nest) in a patent
      case involving application performance management software.

      2013: Internal Revenue Service v. National Treasury Employees Union, Chapter 68
      Testified as expert witness at arbitration on behalf of the National Treasury Employees Union in an employment matter
      involving reliability of a web application.

      2012: Apple Inc. v. Samsung Electronics Co., Ltd. et al.
      U.S. District Court, Northern District of California, Case No. 5:12-cv-00630
      Was deposed on two occasions and submitted two declarations on behalf of Samsung Electronics Co., Ltd. et al.
      (represented by Quinn Emanuel Urquhart & Sullivan) in a patent matter regarding smartphone user interfaces.

      2010: Toshiba Corporation v. Imation Corp. et al.
      U.S. District Court, Western District of Wisconsin, Case No. 3:09-cv-00305
      Submitted declaration on behalf of Imation Corp. et al. (represented by Fish & Richardson) in a patent matter involving DVD
      reader calibration technology.

      2009: The Matter of Certain Automotive Multimedia Display and Navigation Systems, Components Thereof, and Products
      Containing Same
      U.S. International Trade Commission, Case No. 337-TA-657
      Testified as expert witness, was deposed on two occasions, submitted multiple expert reports, and submitted affidavit
      concerning patent infringement and claim construction on behalf of Honeywell International Inc. (represented by Robins
      Kaplan) in a patent matter regarding GPS and navigation systems.

      2007: Embassy Software Corporation v. eCopy, Inc.
      U.S. District Court, District of New Hampshire, Case No. 1 :06-cv-00391
      Submitted expert report on behalf of eCopy, Inc. (represented by Goodwin Procter) in a matter involving allegations of
      copyright and trade secret misappropriation regarding PDF creation software.

      2006: Omnipoint Holdings, Inc. v. Town of Brookline et al.
      U.S. District Court, District of Massachusetts, Case No. 1:05-cv-10644
      Was deposed in official capacity as member of Town of Brookline committee in a matter regarding PCS technology and the
      placement of panel antennas in a residential area.


      PROFESSIONAL AND CIVIC AFFILIATIONS


          •    Member, Intelligence Science and Technology Experts Group (ISTEG), National Academy of Sciences, working in
               support of the Office of the Director of National Intelligence (ODNI)




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      Boston, Massachusetts



          •   Member, USACM Council, Public Policy Committee of the Association for Computing Machinery

          •   National Research Council Workshop on Deterring CyberAttacks

          •   Peer Reviewer, U.S. Department of Commerce Broadband Technology Opportunities Program



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        Joseph L. Mundy
        President, Vision Systems Inc.

        EDUCATION:
        Rensselaer Polytechnic Institute
        Ph.D. Electrical Engineering, 1969; M. Engr., 1966; B.E.E., 1963.
        GE Career Highlights:
        Dr. Mundy joined General Electric's Research and Development Center
        (CRD) in 1963. His early projects at CRD include: High power microwave
        tube design, a superconductive computer memory system, the design of high
        density integrated circuit associative memory arrays, the application of
        transform coding to image data compression. He is the co-inventor ofvaractor
        bootstrapping, a key technique widely used today in the design of MOS
        integrated circuits. His design of an integrated associative memory cell is still
        the most compact and requires only 5 MOS transistors.
        From 1972 until 2002, Dr. Mundy led a group involved in the research and
        development of image understanding and computer vision systems. In the
        early 1970's his group developed one of the first major applications of
        computer vision to industrial inspection. A system was developed to inspect
        incandescent lamp filaments at the rate of 15 parts/sec and achieved
        classification performance of less than one error per thousand. The system
        operated in production for many years.
        During the late 1970's his group developed an extensive system for the
        inspection of jet engine turbine components involving both 3-d range sensing
        and ultra-violet imaging of fluorescent crack features. This project involved
        the use of 3D bicubic CAD models to control the motion of a fifteen-axis
        inspection machine and the development of high throughput hardware for the
        processing of flaw image data. A final version of this machine was installed
        at Kelly AFB and was demonstrated to be superior to human inspectors with
        significant cost savings in used part recovery. This system pioneered many
        techniques in CAD model-supported inspection of industrial components.
        In the 1980's Dr. Mundy's group began to apply image understanding
        algorithms to aerial reconnaissance. He developed a system for aircraft
        recognition based on a sparse feature, called the vertex-pair, which achieved
        98% recognition accuracy in a test on realistic airfield scenes.
        Dr. Mundy also participated in the development of a novel CAD-based wafer
        inspection system in the mid-1980s that led to a start up company. The
        company produced a working prototype in collaboration with Hewlett-
        Packard. The company, Contrex, was eventually sold to Fairchild
        Semiconductor.
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        During the 1990's the group developed the use of X-ray stereo
        photogrammetry to enable the measurement of internal casting features from
        multiple X-ray views. The system employs robust statistical bundle
        adjustment over dozens of views. The 3-d reconstruction achieves an accuracy
        of better than 0.005", allowing practical manufacturing metro logy. This new
        approach is currently being used in production by GE's Aircraft Engine
        division to plan drilling operations for airfoil castings.
        While at GE, Dr. Mundy accumulated over 20 granted patents.

        Brown University Career Highlights:
        Dr. Mundy joined the division of engineering at Brown in 2002 as Professor
        of Engineering (Research). Prof. Mundy carried out research in including
        nano-computing architectures with emphasis on CMOS devices with nano-
        scale gate lengths so that logic operation is dominated by thermal noise. He
        originated novel logic circuits that produce correct logic results even when
        random noise dominates the logic signals. He also developed a new approach
        to analyzing such circuits using queuing theory. These architectures are
        aimed at the next generation of silicon devices where the gate lengths are only
        a few nanometers. His research at Brown also included the development of
        new algorithms for the 3D reconstruction of blood vessel networks from
        computer tomographic imaging scanners (CT). These vessel networks
        provide unique information about the effect of cancer drugs on tumors,
        whose growth is enabled by the evolution of new vessel pathways. This work
        led to the founding of Bio Tree Systems, a company he co-founded to
        develop diagnostic tests for the effectiveness of cancer drugs. He also
        conducted research in aerial reconnaissance for the Department of Defense,
        including the National Geospatial Intelligence Agency. This work involved
        the development of new probabilistic representations of 3D space to account
        for the inherent ambiguity of extracting geometric descriptions from multiple
        image views. This new representation supports accurate determination of
        scene dynamics (change detection) in spite of the spatial ambiguity. While at
        Brown, he advised and graduated eight Ph.D. students who carried out
        research in image analysis and 3D modeling from imagery.

        Vision Systems Career Highlights:
        Dr. Mundy left Brown in June 2016 to focus on his company, Vision
        Systems Inc. (VSI) as President. Vision Systems carries out research on
        aerial reconnaissance for the Department of Defense and other intelligence
        agencies. Some current projects at VSI include the fully automated
        construction of large scale digital elevation models (DEMs) from satellite
        imagery to support military planning and with commercial application to
        virtual reality tours for sports such as skiing and mountain biking. This work
        was funded by the Intelligence Advanced Research Project Agency (IARPA).
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        VSI also is developing an anatomical model of the human face to improve
        recognition accuracy in a 4 year research program on facial recognition. This
        research is also funded by IARPA and has commercial application in the
        field of plastic surgery. The development of a new model for the human eye
        anatomy is described in a paper at the Joint Meeting of the American Society
        of Plastic Surgeons in May 2016. VSI also has an ongoing project on the
        acquisition of large-scale 3-d models from satellite imagery to detect
        structural changes in buildings and other infrastructure. As an example, a
        digital surface model of the entire city of Mosul, Iraq was created fully
        automatically. This project also includes the automated extraction of
        polyhedral building models. VSI also is carrying out research for DARPA's
        Global Change Analysis (GCA) program. The research is focused on
        automatic description of damage caused by natural disasters such as
        earthquakes, based on 3-d models before and after the event.
        Academic Qualifications:
        Dr. Mundy was an adjunct full professor of computer science at Rensselaer
        Polytechnic Institute. He taught the core graduate course on Artificial
        Intelligence from 1975 until 1997. This course was selected to be presented
        in video format to a wide audience of graduate students at IBM, Xerox and
        GE.
         Dr. Mundy has advised numerous masters and four PhD students in his
        capacity as adjunct professor. He also has had periodic adjunct appointments
        in the Department of Electrical and Computer Systems Engineering, where he
        has taught courses in digital image processing. He is co-taught a course on
        the application of mathematics to computer vision with Prof. Charles Stewart.

        In collaboration with Prof. Deepak Kapur, Dr. Mundy developed new
        approaches to formal geometric reasoning based on algebraic techniques.
        These ideas resulted in the development of an automatic geometric theorem
        proving system called Geometer. Geometer was capable of proving many
        theorems from plane geometry and perspective construction. This work led
        to an international workshop on geometric reasoning in 1986 and produced
        an edited proceeding of the workshop papers.
        In 1988, Dr. Mundy received the Coolidge Fellowship, which is GE's
        highest award of technical achievement recognizing academic impact as well
        as contribution to GE businesses. The fellowship provides a year sabbatical to
        carry out basic research.
        While on this sabbatical at Oxford University during the years 1988-89, Dr.
        Mundy initiated a reading course in projective geometry that established a new
        approach to object modeling and recognition, called geometric invariance. In
        collaboration with Andrew Zisserman, David Forsyth (now at Berkeley) and a
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         PhD student Charles Rothwell, these ideas were implemented in a generic
         object recognition system, called LEWIS.
         Geometric invariance research has made significant contributions to our basic
         understanding of computer vision. Two international workshops have been
         held, co-chaired by Dr. Mundy and Prof. Andrew Zisserman of Oxford. Both
         workshops have led to edited books of contributed and invited papers. In the
         first book, Dr. Mundy prepared an extensive appendix on the application of
         projective geometry in computer vision that has been influential to many
         research groups.
         Dr. Mundy's most recent topics of research at GE were the integration of
         perceptual grouping and photometric theory with the goal of understanding 3-d
         textures. He also developed a Bayesian model-based approach to the
         segmentation of lung tissue in CT images.
         He continued to foster basic research within his group at GE, including the
         work of Dr. Richard Hartley who made major contributions to the
         fundamental understanding of 3-d model reconstruction from multiple views.

         His laboratory pioneered a new approach to constructing 3D models from
         satellite imagery based on a probabilistic volumetric algorithm this work lead
         to a best paper award from the American Society of Photogrammetry and
         Remote Sensing in 2011. He was also principal investigator on a number of
         military surveillance projects funded by DARPA, NGA and Lockheed Martin.
         He and his students contributed to an extensive C++ library for computer
         vision processing called VXL, which is still under active use and extension by
         the computer vision research community.
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         Government-Sponsored Research Projects:
         Dr. Mundy received his first Defense Advanced Research Projects Agency
         (DARPA) grant in 1985, under DARPA's basic research program in image
         understanding (IU). The DARPA IU research community represents many of
         the leading university computer vision groups. Thus it was a significant
         recognition of his research achievements to be selected. His research has
         continued to be funded by DARPA through a number of competitive grant
         procurements.
         From 1992-1996, he was a principal contributor to DARPA's RADIUS
         project, providing algorithms to the RADIUS Test bed System (RTS) that
         makes use of the context provided by a 3D site model. These algorithms
         include change detection based on various levels of image segmentation and
         specific object structure matching. He has continued the development of
         context-based change detection and image registration through the FOCUS
         program, which has continued to develop automated exploitation tools in a
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         site model framework. The FOCUS system has been successfully
         demonstrated on operational imagery in support of NIMA applications.
        He was chairman of DARPA's Image Understanding Environment (IUE)
        Committee, which has specified and supervised the development of the IUE.
        The IUE is an extensive C++ hierarchy of computational structures in
        support of image understanding research programming. This object-oriented
        design was the first comprehensive study of the representations inherent in
        computer vision algorithms. This work led to special recognition by
        DARPA.
         Dr. Mundy played a lead technical role in DARPA's Dynamic Database
        (DDB) program, an ambitious effort to automatically extract situation
        hypotheses from a continuous stream of imagery from a variety of sensors.
        He was responsible for the DDB object model to support the integration of
        algorithms supplied by many contractors. This model extended the IUE to
        incorporate reasoning about dynamic scenes.
        He was principal investigator on a project to integrate natural language and
        computer vision in the analysis of video news sequences. This contract is
        supported by a newly formed government body called the Advanced
        Research and Development Agency (ARDA) that is focused on supporting
        research specifically aimed at the intelligence community.
                                              4


         Professional Activities:
        Dr. Mundy's professional activities involve active participation in the areas of
        computer vision and image understanding over three decades. He has served
        on many program committees and review bodies including: International
        Conference on Computer Vision, Computer Vision and Pattern Recognition,
        International Joint Conference on Pattern Recognition and various SPIE
        conferences.
         Some highlights:
           • Co-chairman of the workshop on industrial applications of machine
           vision that resulted in a special issue of the IEEE Transactions on Pattern
           Analysis and Machine Intelligence (PAMI), 1980.
         • Chairman, International Workshop on Geometric Reasoning, Oxford,
           1986.
            • Co-Chairman, International Workshop on the Integration of
            Symbolic and Numeric Computing, Saratoga 1990.
           • Co-Chairman, 1st International Workshop on Geometric
           Invariants, Reykjavik, Iceland, 1991.
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         • Co-Chairman, 2nd International Workshop on
           Geometric Invariants, Ponta Delgada, Azores, 1993.
            • Co-chairman of the IEEE workshop on Context-Based Vision held
            in conjunction with ICCV, Cambridge MA, 1995.
                                              5

         • Co-chairman DARPA workshop on Shape, Contour and Grouping in
           Computer Vision, Palermo, Sicily, 1999.
         • Co-chairman IEEE workshop on the Integration of Appearance and
            Geometry in Object Recognition,
            Fort Collins, CO, 1999.
           • Member, Editorial Board, IEEE Transactions on Pattern
           Analysis and Machine Intelligence (PAMI) 1987-90
         • Member, Editorial Board, International Journal of Computer Vision,
           1989-present.
         • Member, advisory board of NSF for artificial intelligence and robotics
           (IRIS) 1986-1998.
         • Area Chair, 2001 Conference on Computer Vision and Pattern

        Honors and Awards:
          • Best paper award from the American Society of Photogrammetry and
             Remote Sensing in 2011.
           • Co-recipient of the Marr Prize, 1993. The Marr Prize is awarded for
           the best paper at the International Conference on Computer Vision, and is
           considered a major honor in computer vision.
           • Invited visitor to the Newton Institute of Mathematics at
           Cambridge University, summer 1993. Co-chaired a workshop at the
           Newton Institute on object recognition.
           • Best Paper A ward, British Machine Vision Conference, 1991.
           • Invited keynote speaker, Swedish Conference on Computer Vision,
           1980.
           • Elected a Coolidge Fellow, 1987, General Electric's highest recognition
           for outstanding technical achievement.
           • Best Paper A ward, GE Symposium on Statistics, 1979.
           • Best Paper Award, GE Symposium on Solid State Applications, 1976.
                                              6
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              b. Book Chapters
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             c. Refereed and invited articles
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     10.1109{fDMR.2010.2069100



      A Noise-Immune Sub-Threshold Circuit Design Based on Selective use of Schmitt-
     Trigger Logic, Donato, M., Cremona, F. , Jin, W., Bahar, R. I. , Patterson, W. ,
     Zaslavsky, A., Mundy, J. , ACM Great Lakes Symposium on VLSI, May 2012.
     Regular paper.



      Designing, Fabricating, and Testing Noise Immune Circuits, Donato, M., Jannaty, P.,
     Nepal, K. , Bahar, R. I. , Mundy, J. , Patterson, W. R. , and Zaslavsky, A. , 2011
     Subthreshold Microelectronics Conference, Sept. 2011.
Case 1:15-cv-07025-RBK-JS Document 674 Filed 06/03/19 Page 394 of 504 PageID: 39857




      Designing Noise-Immune CMOS Circuits for Sub-Threshold Operation Using Schmitt-
      Trigger Logic, Donato, M., Nepal, K. , Bahar, R. I. , Patterson, W. , Zaslavsky, A.,
      Mundy, J. , IEEE North Atlantic Test Symposium, May 2011.



      Object Recognition in Probabilistic 3D Volumetric Scenes, Restrepo, M.I, Mayer, B.A,
      and Mundy, J.L., International Conference of Pattern Recognition Application
      and Methods (ICPRAM), February 2012



     High Resolution Surveillance Video Compression using JPEG2000 Compression of
     Random Variables, Biris, 0. and Mundy, J.L., International Conference on
     Computer Vision Theory and Applications (VISAPP), February, 2012.

     Restrepo, M. I., and Mundy, J. L. ,"An Evaluation of 3-d Local Descriptors in Probabilistic
     Volumetric Scenes", British Machine Vision Conference, Guilford, UK, Sept. 2012


     Restrepo, M. I., Mayer, B. A. , Ulusoy, A. 0., and Mundy, J. L.,"Characterization of 3-d
     Volumetric Probabilistic Scenes for Object Recognition.", IEEE Journal of Selected
     Topics in Signal Processing, vol. 6, issue Emerging Techniques in 3-D, pp. 522-537,
     Sept. 2012


     Calakli, F., A. 0. Ulusoy, M. I. Restrepo, Mundy, J. L. and Taubin, G., "High Resolution
     Surface Reconstruction from Multi-view Aerial Imagery", 30 Imaging Modeling
     Processing Visualization Transmission (3DIMPVT), Oct. 2012.


     Ulusoy, A.O. and Mundy, J.L., "Dynamic Probabilistic Volumetric Models," Proc.
     International Conference on Computer Vision, Dec. 2013.

     Mayer, B. and Mundy, J., "Duration Dependent Codebooks for Change Detection," Proc.
     British Machine Vision Conference, Sept. 2014.

     Ulusoy, A.O. and Mundy, J.L., "Image-Based 4-d Reconstruction Using 3-d Change
     Detection," Proc. European Conference on Computer Vision, Sept. 2014

     Ozcanli, O.C. Dong,Y., Mundy, J.L., Webb,H., Hammoud, R., Tom V., "Automatic
     Geolocation Correction of Satellite Imagery," International Journal of Computer
     Vision (IJCV), Volume 116, Issue 3, pp 263-277, 2016.
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      Biris, 0., Ulusoy, A.O. and Mundy J.L, "Compression of Probabilistic Volumetric Models
      using multi-resolution scene flow," Image and Vision Computing, vol. 64, pp. 79-89,
      2017.

     Crispell, D., Biris, 0., Crosswhite, N., Byrne, J., Mundy, J.L., "Dataset Augmentation for
     Pose and Lighting Invariant Face Recognition," Proc. IEEE Applied Imagery Pattern
      Recognition Workshop (AIPR), 2017.

     Consultancies:
     July 2003 - March 2004
     Consultant to the Defense Advanced Projects Agency (DARPA)
     Study of the application of three-dimensional light radar scanning to urban
     warfare reconnaissance

     Approx Sept. 2001-2009
     Expert Defense Witness for Brown Rudnick Berlack Israels LLP
     Plaintiff Scanner Corp, Defendant Icos Corp. Testified in trial (judge only)
     Technology: 3-d measurement of ball grid arrays

     Approx. 2002- 2004
     Expert Defense Witness for Foley Hoag LLP
     Plaintiff Cognex Corp, Defendant Electro Scientific Industries Inc.
     Technology: Recognition and placement of surface-mounted devices

     Sept. 2003 - Dec. 2003
     Technical Expert for Foley Hoag LLP
     Plaintiff Pourchez Corp., Defendant, Diatek Corp.
     Scientific analysis of dialysis catheter geometry using computer vision

     Jan. 2003 -2010
     Contractor to Lockheed Martin Corporation
     Technology: Automated vehicle tracking from aerial platforms, change
     detection from reconnaissance imagery, high throughput video processing on
     airborne platforms

     Jan. 2005- Present
     Technical Expert for August Technology Corporation, and Rudolph Technologies, Inc., plaintiff
     against Camtek LTD, inspection of semiconductor devices. Testified in jury trial.


     Jan. 2006-2008
     Consultant to Toyon Research Corporation of Santa Barbara
     Technology: Automated target recognition from infrared imagery.

     Jan. 2009-2012
Case 1:15-cv-07025-RBK-JS Document 674 Filed 06/03/19 Page 396 of 504 PageID: 39859




      Consultant to Defense Advanced Projects Agency (DARPA) Transparent Earth Initiative

     Jun. 2009 - May. 2010
     Technical Expert for Fuji Inc. and MVTec Software GmbH defendant against Cognex Inc.
     plaintiff, detection of patterns on electronic semiconductor devices, testified before the ITC.

     Nov. 2010 - Jan. 2011
     Patent prior art analysis for Crowell and Moring on computer image generation.

     Sept. 2012 - Jan. 2013
     Technical Expert for Microsoft and other defendants, Transcenic v Microsoft et al. Technology
     involves generating synthetic street views based on human interaction.

     Dec. 2014 - Oct. 2017 Technical Expert for the defendant LG Electronics, Advanced Micro
     Devices vs. LG Electronics Technology involves computer user interfaces based on recognition
     of gestures as captured by a video camera.

     Mar. 2016 - Present Technical Expert for the defendant Xactware Solutions, Inc. and Verisk Analytics,
     Inc., vs. Eagle View Technolgies, Inc. and Pictometry International Corp. The technology involves
     interactive 30 modeling of roof structures from aerial imagery.

     Dec. 2017 - Present Technical Expert for the plaintiff Carl Zeiss AG and ASML Netherlands B. V. v.
     Nikon Corporation, Sendai Nikon Corporation, and Nikon Inc. The technology involves automated face
     detection and tracking by cameras.

     Nov. 2017 - Present Technical Expert for the defendant Exocad GMBH and Exocad America, Inc. v.
     ]Shape AIS, Inter Partes Review. The technology involves synthetic rendering of dental repair and
     augmentation applied to a facial model of the patient.
Case 1:15-cv-07025-RBK-JS Document 674 Filed 06/03/19 Page 397 of 504 PageID: 39860
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                                         PHILIP GREEN


           POSITION              Principal of Hoffman Al vary & Company LLC
                                 Phone: (617) 209-5106
                                 philgreen@hoffinanalvary.com

           EDUCATION             B.A., History, 1984 - Rutgers College
                                 M.B.A., Accounting, 1987 - Rutgers Graduate School of Management

           PROFESSIONAL AND      1996 - Present: Principal Hoffman Alvary & Company LLC, Newton, MA
           BUSINESS HISTORY
                                 1994 - 1996: Price Waterhouse LLP, Manager/Senior Manager, Dispute
                                 Analysis and Corporate Recovery Services, New York

                                 1988 - 1994: Executive Consultant, Peterson Consulting Limited
                                 Partnership, New York

                                 1987 -1988: Staff Accountant, Ernst & Whinney, New York

                                 1984 - 1985: Paralegal, Anderson, Russell, Kill & Olick, Washington, D.C.
                                 and New York

                                 Dispute Analysis Consulting - Accounting, financial analysis, and
                                 valuation assistance in connection with litigated matters focusing on
                                 intellectual property infringements, contract breaches, professional
                                 malpractice and investigations before the International Trade Commission.
                                 Work has included the calculation of lost profits and reasonable royalty
                                 damages, forensic and investigative accounting, valuation, opinions
                                 regarding commercial success and the evaluation of domestic industry and
                                 remedy issues. This assistance has been provided to a broad range of
                                 industries including: computer software and hardware, telecommunications
                                 and electronics companies, pharmaceutical, medical device, and
                                 biotechnology entities, and steel, glass and other manufacturers. Served as
                                 expert witness on damages, royalties, valuation and accounting-related
                                 issues.

                                Other Consulting - Engagements related to intangible assets have included
                                preparation of valuations in connection with purchases, sales and donations,
                                royalty auditing and development of patent and intellectual property
                                licensing strategies. Other consulting assistance has included business
                                valuations, providing opinions on the "fairness" of compensation in
                                transactions, and assistance with issues related to bankrupt or troubled
                                companies.

           PROFESSIONAL AND     Certified Public Accountant - Registered to Practice by the State of
           BUSINESS             New York
           AFFILIATIONS         Certified Management Accountant
                                Accredited in Business Valuation by the AICPA
                                Accredited Senior Appraiser - Business Valuation
                                Member, American Institute of Certified Public Accountants
                                Member, New York State Society of Certified Public Accountants
                                Member, Institute of Certified Management Accountants
                                Member, American Society of Appraisers
                                Member, Licensing Executive Society
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                                                         Philip Green

                                           Testimony - January 2013 - Present

           *Smartphone Technologies LLC v. Apple Inc. and LG Electronics, Inc., Federal Court - Eastern
           District of Texas - Deposition

           *Endo Pharmaceuticals, Inc. v. Mylan Pharmaceuticals, Inc., Federal Court - District of
           Delaware - Deposition

           *Galderma Laboratories Inc. et al. v. Amneal Pharmaceuticals LLC et al., Federal Court- District
           of Delaware - Deposition

           *Ventria Bioscience v. Daichang Yang, Superior Court - Sacramento County California -
           Deposition

           *Certain Electronic Devices, Including Wireless Communication Devices, Tablet Computers,
           Media Players, and Televisions, and Components Thereof, Investigation No. 337-TA-862,
           International Trade Commission - Deposition and Hearing before Judge Shaw

           *Alcon Pharmaceuticals LTD et al. v. Apotex Inc. et al., Federal Court- District of Delaware -
           Deposition

           *GeoTag, Inc. v. Frontier Communications Corp. et al., Federal Court- Eastern District of Texas
           - Deposition

           Paige Landscape Company, Inc. v. Apple D'Or Maintenance, Inc., Superior Court- Worcester
           County Massachusetts - Trial

           *Certain Wireless Communication Base Stations and Components Thereof, Investigation No.
           337-TA-871, International Trade Commission- Deposition

           *Google, Inc. v. GeoTag, Inc., Federal Court- District of Delaware - Deposition

           *Ethox Chemicals LLC v. The Coca-Cola Company, Federal Court - District of South Carolina -
           Deposition

           *Columbia Data Products, Inc. v. Autonomy Corporation Limited et al., Federal Court - District
           of Massachusetts - Deposition

           *Mass Engineered, Inc. v. Humanscale, Inc., Federal Court- Eastern District of Virginia-
           Deposition

           *Ascion LLP et al. v. Rouey Lung, Inc. et al., Federal Court - District of Massachusetts - Trial
           before Judge O'Toole

           *Cheese Systems Inc. v. Tetra Pak Cheese & Powder Sys., Inc. et al., Federal Court- Western
           District of Wisconsin - Trial before Judge Crabb

           *Certain Point-to-Point Network Communication Devices and Products Containing Same,
           Investigation No. 337-TA-892, International Trade Commission - Deposition




           * Denotes matter involving intellectual property
Case 1:15-cv-07025-RBK-JS Document 674 Filed 06/03/19 Page 400 of 504 PageID: 39863


           *In the Matter of a Plan of Compromise or Arrangement of Nortel Networks Corporation et al.,
           Ontario Superior Court of Justice and United States Bankruptcy Court for the District of
           Delaware - Deposition and Trial

           *GeoTag, Inc. v. Starbucks Corp. et al., Federal Court - Eastern District of Texas - Deposition

           *B. Ravo and E. Nicolo v. Covidien LP, Federal Court- Western District of Pennsylvania -
           Deposition

           *Trebro Manufacturing, Inc. v. Firefly Equipment, LLC, Federal Court - District of Montana -
           Deposition

           Finn v. Ballentine Partners LLC, American Arbitration Association - Deposition and Hearing
           before three judge panel

           *BioMarin Pharmaceutical, Inc. v. Duke University, United States Patent Trial and Appeal Board
           - Declaration and Testimony via Deposition

           *Amneal Pharmaceuticals LLC v. Supernus Pharmaceuticals, Inc., United States Patent Trial and
           Appeal Board - Declaration and Testimony via Deposition

           *GeoTag, Inc. v. AT&T Mobility, LLC et al., Federal Court - Northern District of Texas -
           Deposition

           *Accusoft Corporation v. Quest Diagnostics, Inc. and Medplus, Inc., Federal Court - District of
           Massachusetts - Deposition

           *Target Corp. v. Destination Maternity Corp., United States Patent Trial and Appeal Board -
           Declaration and Testimony via Deposition

           Stockholder Representatives for Interlace Medical, Inc. v. Hologic, Inc., Chancery Court for the
           State of Delaware - Deposition and Trial

           *Adaptix, Inc. v. LG Electronics, Pantech Wireless, Inc., AT&T Mobility LLC, Verizon Wireless
           et al., Federal Court - Eastern District of Texas - Deposition

           *Adaptix, Inc. v. Apple, Inc., HTC Corporation, AT&T Mobility LLC, Verizon Wireless et al.,
           Federal Court - Northern District of California- Deposition

           *Adaptix, Inc. v. Ericsson, Inc., AT&T Mobility LLC, T-Mobile USA, Inc. et al., Federal Court -
           Eastern District of Texas - Deposition

           *Adaptix, Inc. v. Alcatel-Lucent USA, Inc., AT&T Mobility LLC, Verizon Wireless, Sprint
           Spectrum LP et al., Federal Court- Eastern District of Texas - Deposition and Trial before Judge
           Schroeder

           *Cell and Network Selection LLC v. ZTE (USA), Inc., MetroPCS Communications, Inc. et al.,
           Federal Court- Eastern District of Texas - Deposition

           Glenridge Pharmaceuticals, LLC v. Questcor Pharmaceuticals, Inc., Superior Court, Santa Clara
           County California - Deposition



           * Denotes matter involving intellectual property
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          *Quiksilver, Inc. et al. v. Rox Volleyball, Inc. et al., Federal Court - Central District of California
          - Deposition and Trial before Judge Guilford

          *U.S. Bancorp v. Solutran, Inc., United States Patent Trial and Appeal Board - Declaration and
          Testimony via Deposition

          *EMC Corporation, et al. v. Zerto, Inc., Federal Court- District of Delaware - Deposition and
          Trial before Judge Sleet

          *Certain Consumer Electronics and Display Devices with Graphics Processing and Graphics
          Processing Units Therein, Investigation No. 337-TA-932, International Trade Commission -
          Deposition

          *Certain Footwear Products, Investigation No. 337-TA-936, International Trade Commission -
          Deposition

          *HSM Portfolio LLC and Technology Properties Limited, LLC, v. Micron Technology, Inc.,
          Federal Court- District of Delaware - Deposition

          *Greatbatch, Inc. v. A VX, Inc., Federal Court - District of Delaware - Deposition and Trial
          before Judge Stark

          *Speedfit LLC v. Woodway, Inc., Federal Court- Eastern District of New York- Deposition

          *Beverage Dispensing Solutions, LLC v. The Coca-Cola Company, Federal Court - District of
          Georgia - Deposition

          *Callwave, Inc. v. Broadsoft, Inc., Federal Court - District of Delaware - Deposition

          *Call wave, Inc. v. Google, Inc., Federal Court - District of Delaware - Deposition

          *SNMPRI, Inc. v. Avaya, Inc., Federal Court- District of Delaware - Deposition

          *Bombardier Recreational Products, Inc. v. Arctic Cat, Inc., Federal Court - District of
          Minnesota - Deposition and Trial before Judge Tunheim

          *Brigham & Women's Hospital and Investors Bio-Tech LLC v. Perrigo, Inc., Federal Court -
          District of Massachusetts - Deposition and Trial before Judge Zobel

         *AngleFix LLC v. Wright Medical Products, LLC, Federal Court- Western District of Tennessee
         - Deposition

          *Cellular Communications Equipment LLC v. Apple Inc., AT&T Mobility LLC, Verizon
          Communications, Inc., Cellco Partnership d/b/a Verizon Wireless, Sprint Corporation, Sprint
          Solutions, Inc., Sprint Spectrum LP, Boost Mobile, LLC, T-Mobile USA, Inc., and T-Mobile US,
          Inc., Federal Court- Eastern District of Texas - Deposition and Trial before Judge Mitchell

         *Cellular Communications Equipment LLC v. HTC Corporation, ZTE Corporation, Exedea, Inc.,
         AT&T Mobility LLC, Cellco Partnership Inc. d/b/a Verizon Wireless, Sprint Solutions, Inc.,
         Sprint Spectrum LP, Boost Mobile, LLC, T-Mobile USA, Inc., and T-Mobile US, Inc., Federal
         Court - Eastern District of Texas - Deposition



          * Denotes matter involving intellectual property
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        NaviSite, Inc. v. CareOne Management, LLC and Partners Pharmacy Services, Superior Court -
        Suffolk County Massachusetts - Deposition

        Protect-A-Car Wash Systems, Inc. v. Car Wash Partners, Inc., MCW Inc., and John L. Lai,
        Federal Court- Northern District of Maryland - Deposition

        NetScout Systems, Inc. v. Gartner, Inc., Superior Court - Judicial District of Stamford/Norwalk,
        Connecticut - Deposition

        *Solutran, Inc. v. U.S Bank et al., Federal Court- District of Minnesota - Deposition and Trial
        before Judge Nelson

        *TPI, Inc. v. Facebook, Inc., Federal Court - District of Massachusetts - Deposition

        *Certain Mobile and Portable Electronic Devices Incorporating Bapties (Including Smartphones
        and Laptops) and Components Thereof, Investigation No. 337-TA-1004/990, International Trade
        Commission - Deposition and Hearing before Chief Judge Bullock

        *Certain Access Control Systems and Components Thereof, Investigation No. 33 7-TA- IO 16,
        International Trade Commission - Deposition and Hearing before Judge Pender

        *Malibu Boats, LLC v. MasterCraft Boat Company, LLC, Federal Court - Eastern District of
        Tennessee - Deposition

        *Chapco, Inc. and Samsara Fitness, LLC v. Woodway USA, Inc., Federal Court - District of
        Connecticut - Deposition

        *Zoetis LLC et al. v. Roadrunner Pharmacy, Inc., Federal Court- District of New Jersey -
        Deposition

        *IPS Group, Inc. v. Duncan Parking Solutions, Inc. et al., Federal Court - Southern District of
        California - Deposition

        *Certain Hybrid Electric Vehicles and Components Thereof, Investigation No. 337-TA-1042,
        International Trade Commission - Deposition and Hearing before Judge Shaw

        *Pacific Packaging Products, Inc. v. Packing Partners, LLC et al., Superior Court- Middlesex
        County Massachusetts - Deposition

        In re Namenda Direct Purchaser Antitrust Litigation, Federal Court - Southern District of New
        York - Deposition

        *Certain Dental Ceramics, Products Thereof, and Methods of Making the Same, Investigation
        No. 337-TA-1050, International Trade Commission - Deposition

        *DSM IP Assets, B. V. et al. v. Lallemand Specialties, Inc. & Mascoma LLC, Federal Court -
        Western District of Wisconsin- Deposition and Trial before Judge Conley

        *Cellular Communications Equipment LLC v. HTC Corporation, HTC America, Inc., ZTE
        (USA), Inc., Federal Court-Eastern District of Texas - Deposition

        Concordia Pharmaceuticals Inc., s.A.R.L. v. Winder Laboratories, LLC, and Steven Pressman,
        Federal Court - Northern District of Georgia - Deposition

        * Denotes matter involving intellectual property
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        *Eagle View Technologies, Inc. v. Xactware Solutions, Inc., and Verisk Analytics, Inc., Federal
        Court - Northern District of New Jersey - Deposition

        *Certain Color Intraoral Scanners and Related Hardware and Software, Investigation No. 337-
        TA-1091, International Trade Commission - Deposition and Hearing before Judge Cheney

        *Certain Intraoral Scanners and Related Hardware and Software, Investigation No. 337-TA-I 090,
        International Trade Commission - Deposition and Hearing before Judge Lord

        America's Test Kitchen Inc., as the Sole General Partner of America's Test Kitchen Limited
        Partnership, v. Christopher Kimball, CPK Media, LLC, Melissa Baldino, Christine Gordon,
        Deborah Broide doing business as Deborah Broide Publicity, CPK Holdco, LLC and William
        Thorndike, Superior Court - Suffolk County Massachusetts - Deposition

        REXA, Inc. v. Mark Vincent Chester and MEA Inc., Federal Court - Northern District of Illinois
        - Deposition

        Malden Transportation, Inc. et al. v. Uber Technologies, Inc., Federal Court - District of
        Massachusetts - Deposition

        Merck & Co., Inc. v. Merck KGaA, Federal Court - District of New Jersey - Deposition


                                       Publications Within the Past Ten Years

        "Evaluating Reasonable Royalties After ResQNet," Philip Green, Rachel Hughey, IP Law360, Oct.
        2010

        "The 25% Rule is Dead- Now What?" Philip Green, Creighton G. Hoffman, IP Law360, Jan. 2011




        * Denotes matter involving intellectual property
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Case 1:15-cv-07025-RBK-JS Document 674 Filed 06/03/19 Page 405 of 504 PageID: 39868
                       Case 1:15-cv-07025-RBK-JS Document 674 Filed 06/03/19 Page 406 of 504 PageID: 39869

                                                         Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                                     Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)
                                                                            Plaintiff's Trial Exhibit List
Exhibit#                             Description                                      Beg Bates                     End Bates       Source   Objections

PTX-001    Certified Copy of U.S. Patent No. 8,078,436                       EV01552484                    EV01552512




PTX-002    Certified Copy of U.S. Patent No. 8,078,436 (with July 10, 2018 EV01553812                      EV01553841
           Certificate of Correction)
PTX-003    Certified Copy of U.S. Patent No. 8,170,840                     EV01552513                      EV01552558




PTX-004    Certified Copy of U.S. Patent No. 8,818,770                       EV01552606                    EV01552655



PTX-005    Certified Copy of U.S. Patent No. 8,825,454                        EV01552656                   EV01552705

PTX-006    Certified Copy of U.S. Patent No. 9,129,376                        EV01552706                   EV01552756
PTX-007    Certified Copy of U.S. Patent No. 9,135,737                        EV01552757                   EV01552807

PTX-008    Certified Copy of File History of U.S. Patent No.   8,078,436      EV056224                     EV057433
           (12/253,092)
PTX-009    Certified Copy of File History of U.S. Patent No.   8,170,840      EV057435                     EV058412
           (12/467,244)
PTX-010    Certified Copy of File History of U.S. Patent No.   8,209,152      EV058414                     EV059396
           (12/467,250)
PTX-011    Certified Copy of File History of U.S. Patent No.   8,818,770      EV061359                     EV066409
           (13/438,288)
PTX-012    Certified Copy of File History of U.S. Patent No.   8,825,454      EV06641 l                    EV071523
           (13/474,504)
PTX-013    Certified Copy of File History of U.S. Patent No.   9,129,376      EV071693                     EV072210
           ( 14/449,045)
PTX-014    Certified Copy of File History of U.S. Patent No.   9,135,737      EV072212                     EV072667
           (14/450, 108)
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                                                       Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                                   Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)
                                                                         Plaintiff's Trial Exhibit List
Exhibit#                            Description                                     Beg Bates                     End Bates                   Source    Objections

PTX-015    Certified Copy of U.S. Provisional No. 60/925,072               EV072669                      EV072688

PTX-016    Certified Copy of U.S. Provisional No. 61/197,904               EV072690                      EV072758

PTX-017    Certified Copy of Assignment Reel 022176, Frame 0956            EVOl552808                    EVOl552812
PTX-018    Certified Copy of Assignment Reel 024418, Frame O134            EVOl552813                    EVOl552817
PTX-019    Certified Copy of Assignment Reel 024479, Frame 0135            EV01552818                    EV01552822
PTX-020    Certified Copy of Assignment Reel 028998, Frame 0573            EV01552823                    EV01552827
PTX-021    Certified Copy of Assignment Reel 028998, Frame 0693            EV01552828                    EV01552832
PTX-022    Certified Copy of Assignment Reel 034428, Frame 0032            EV01552833                    EV01552837
PTX-023    Certified Copy of Assignment Reel 034428, Frame 0083            EV01552838                    EV01552842
PTX-024    Certified Copy of Assignment Reel 03613 0, Frame 0873           EV01552843                    EV01552866
PTX-025    Certified Copy of Assignment Reel 036130, Frame 0899            EV01552867                    EV01552890
PTX-026    Certified Copy of Assignment Reel 043955, Frame 0128            EV01552891                    EV01552909
PTX-027    2009 to 2012 Revenue Analysis Summary                           EV01427937                    EV01427937               Arnold Opening       A;F;H;S;
                                                                                                                                                       1002
PTX-028    Xactware Revenue Statement, as of October 3 1, 2017              XW00939981                   XW00939981               Arnold Opening
PTX-029    Xactware Revenue & Expense 2012-2017                             XW00939979                   XW00939979               Arnold Opening
PTX-030    Amendment No. 4 to Liberty Mutual Satellite/Aerial Imagery       EV01553686                   EV01553688               Arnold Opening       A; F;H; I
           Roof Services Agreement, July 24, 2009
PTX-031    Autodesk ImageModeler, August 16, 2000                           EV01553472                   EVOl553473               Arnold Opening       A;F:H
PTX-032    Autodesk IrnageModeler, February 16, 2009                        EVOl553474                   EV01553475               Arnold Opening       A;F;H;X
PTX-033    Verisk Analytics NASDAQ Stock Page,                              EV01553842                   EVOl553847               Arnold Opening       A; C;D;F; H;
           https://www.bloomberg.com/quoteNRSK:US                                                                                                      R
PTX-034    Business Development Report, Xactware Monthly Business           XW00076080                   XW00076084               Arnold Opening       H;R
           Review, February 18, 2015
PTX-035    Criterion Claim Service ClaimsReady Roof & Walls Report,         EV751994                     EV752009                 Arnold Opening       A;F;H;R
           October 12, 2012
PTX-036    Daga Declaration in Support of Eagle View's Opposition to        NIA                          NIA                      Arnold Opening       A;F;H;R
           Defendant's Motion for Partial Summary Judgment, November 3,
           2015
PTX-037    WITHDRAWN
PTX-038    EagleView Measurement Performance Study                          EVOl553455                   EV01553455               Arnold Opening       A;F;H;R;X

PTX-039    EagleView Presentation on FY2012 Discussion                      EV437543                     EV437601                 Arnold Opening       A;F;H;R
PTX-040    Eagle View Spread sheet on Georgia Farm Bureau Mutual            EV551973                     EV551973                 Arnold Opening       A; F; H; R; S
           Insurance Companies FNOL Activity




                                                                                          2
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                                                      Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                                  Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)
                                                                         Plaintiff's Trial Exhibit List
Exhibit#                            Description                                    Beg Bates                     End Bates                   Source    Objections

PTX-041    Eagle View Technologies Inc. Report on Fair Market Value of a EV731108                       EV731168                 Arnold Opening       A;F;H;R;
           Minority Common Stock Interest as of December 31, 2011, June                                                                               105
           12,2012
PTX-042    Eagle View Technologies, Eagle View expands service offerings EV384267                       EV384268                 Arnold Opening       A;F;H;R
           for contractors and insurance adjusters with new Economy
           Report, February 17, 2009
PTX-043    Email Chain from A. Godino to A. Barnum et. al re Upcoming        XW00034349                 XW00034350               Arnold Opening       H;R
           portal updates, June 25, 2015
PTX-044    Email Chain from C. Johnson to K. Edwards re Fast 500 Revenue EV725421                       EV725422                 Arnold Opening       A; F; H; R; I
           Cert form, June 23, 2015
PTX-045    Email Chain from C. Schnaufer to F. Giuffrida et. al re Recent    EV231620                   EV231622                 Arnold Opening       A; F; H; R; I;
           competitor shopping, July 18, 2014                                                                                                         BE
PTX-046    Email Chain from D. Schultz to A. Burch re Homesite Sales         EV539832                   EV539835                 Arnold Opening       A;F;H;R;X
           Pipeline, July 11, 2012
PTX-047    Email Chain from D. Schultz to R. Daga et. al re Report Number EV544187                      EV544187                 Arnold Opening       A;F; H; R; I
           11406893 Disputed Report, July 24, 2015
PTX-048    Email Chain from D. Tuttle to E. Webecke et. al re MetLife -      XW00087575                 XW00087578               Arnold Opening       H;R;P;C
           Automated Peril Ordering, February 20, 2015
PTX-049    Email Chain from E. Valente to J. Lewis et. al re Amica and Roof XW00032535                  XW00032540               Arnold Opening       H;R
           Insight Pilot, September 1, 2015
PTX-050    Email Chain from J. Love to E. Webecke re EagleView Services, XW00087546                     XW00087549               Arnold Opening       H;R;P;C
           February 27, 2015
PTX-051    Email Chain from J. Polchin to M. Jenkins et. al re NDA,          EV370320                   EV370321                 Arnold Opening       A; F; H; I; R
           November 5, 2011
PTX-052    Email Chain from K. Loveland to W. Loveland re Xactimate          XW00075145                 XW00075147               Arnold Opening       H;R
           Training, February 25, 2015
PTX-053    Email Chain from L. Salpini to J. Johnson et. al re Eagle View    EV534536                   EV534539                 Arnold Opening       A; F; H; I; R;
           Valuation, December 9, 2015                                                                                                                X
PTX-054    Email Chain from R. Daga to C. Barrow re Peril Based Ordering EV577923                       EV577923                 Arnold Opening       H;A; F; R; P;
           Issue, April 22, 2016                                                                                                                      C
PTX-055    Email Chain from R. Daga to C. Hunt re LCPIC EagleView,           EV0022620                  EV0022621                Arnold Opening       A;F;H;R;X
            September 26, 2013
PTX-056    Email Chain from R. Johnson to T. McKean et. al re Auto           XW00101694                 XW00101695               Arnold Opening       H;R;P;C
            Owners Roof Insight opportunity call
PTX-057    Email Chain from R. Natividad to D. Schultz et. al re Twister 1.0 EV499355                   EV499355                 Arnold Opening       A; F; H; I; R
            Efficiency Gains Summary, December 1, 2014
PTX-058     Email Chain from R. Weinberg to K. Willems et. al re Rick        EV442480                   EV442482                 Arnold Opening       A;F;H;R
            Weinberg request, April 1, 2009



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PTX-059    Email Chain from S. Parking to J. Taylor et. al re Xact             XW00046843                    XW00046845               Arnold Opening       H;R
           Offerings/Information Needed, February 19, 2015
PTX-060    Email from B. Davis to J. Polchin re 2012 Board Discussion       EVOOl2854                        EVOOl2854                Arnold Opening       A;F;H;R;X
           Materials, December 17, 2012
PTX-061    Email from C. Johnson to J. Merrill et. al re Eagle View Royalty EV537828                         EV537828                 Arnold Opening       A; F; H; R; I
           March 2016, April 18, 2016
PTX-062    Email from M. Quilter to B. Brady re EagleView Board Deck 03, EV538674                            EV538769                 Arnold Opening       A;F;H;R;
           March 2016, February 23, 2016



PTX-063    Email from W. Raichle to R. Johnson et. al re EVT, March 27,        XW00357862                    XW00357864               Arnold Opening       H;P;R
           2016
PTX-064    Farmers Insurance Premium Report, August 27, 2010                   EV046928                      EV046940                 Arnold Opening       A;F;H;R
PTX-065    FY 2014 Summary Revenue Analysis                                    EV01427938                    EVOl427938               Arnold Opening       A;F;H; S

PTX-066    FY 2015 Summary Revenue Analysis                                    EV01427936                    EVOJ427936               Arnold Opening       A;F;H; S

PTX-067    Geomni Auto Owners Usage from May L 2017 to May 31, 2017 XW00941081                               XW00941084               Arnold Opening       H;R

PTX-068    Eagle View Measurements                                             EV01553848                    EV01553853               Arnold Opening       A;F;H;R
           htt12s://www. eaglev iew .com/12roduct/eaglev iew-measurements/

PTX-069    Risk Management Report,                                             EV01553854                    EV01553861               Arnold Opening       A;F;H;R
           htt12s://www.eagleview.com/12roduct/eagleview-
           measurernents/other-measurement-12roducts/risk-rnanagcment-
           report/
PTX-070    Wall Report, htt12s://www.eaglcview.com/groduct/eaglevicw-           EV01553862                   EV01553869               Arnold Opening       A;F;H;R
           rn easurernen ts/ o th er-m easu rem en t-products/wa11-repo rt/

PTX-071    Gutter Report, https://www.eagleview.com/product/cagleview-          EV01553870                   EVOl553878               Arnold Opening       A;F;H;R
           rneasurernents/roof-12roducts/gutterreport/

PTX-072    QuickSquares, htt12s://www.eagleview.com/12roduct/eagleview-         EV01553879                   EV01553886               Arnold Opening       A;F;H;R
           measurements/roof-12roducts/guicksguares/

PTX-073    2018 Executive Summary & Fact Sheet,                                 EVOl553887                   EV01553893               Arnold Opening       A;F;H;R
           https://,,·ww.cagleview.com/w12-
           content/u121oads/20 I 8/0 I /Corporate-Fact-Sheet.Qdf



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                                                                          Plaintiff's Trial Exhibit List
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PTX-074    Geomni Home Page, https://www.geomni.net/                        EVOI553894                   EV01553902               Arnold Opening                      R;H
PTX-075    About Xactware, https://www.xactware.com/en-                     EVOI553903                   EV01553904               Arnold Opening                      R;H
           us/companx/about/
PTX-076    Eagle View and Xactware team up to revolutionize roof            EV01553905                   EV01553906               Arnold Opening                      H;R
           dimensioning, https://www.xactware.com/en-
           us/companx/news/archives/2009/eagleview-and-xactware-team-
           up-to-revolutionize-roof-dimensioning/


PTX-077    Xactware AS, RI, and Pl Locations                                XW00942353                   XW00942353               Arnold Opening                       H;R
PTX-078    Master Product License Agreement between Xactware and            XW00213278                   XW00213300               Arnold Opening                       H;R
           Customers, March 1, 2011
PTX-079    Master Product License and Services Agreement between            XW00940430                   XW00940476               Arnold Opening                       H;R
           Xactware and Travelers, October 26, 2015
PTX-080    Master Services Agreement between Farmers Insurance and          EV01553689                   EV01553731               Arnold Opening                      A;F;H;R
           Eagle View Technology, March 1, 2018
PTX-081    Master Services, Software License, and Maintenance Agreement     XW004186IO                   XW004I8675               Arnold Opening                       H;R
           between Xactware and USAA, January 1, 2012

PTX-082    New Aerial Sketch Makes Drawing Roof Plans Faster and Easier, XWOOI07107                      XW00107108               Arnold Opening                       H:R
           February 2012
PTX-083    Declaration of Chris Pershing in Support of United States Patent EV032372                     EV032398                 [Pershing, Chris Ex. 15]; Arnold     H; R; C; 701
           No. 8,078,436 Ex Parte Reexamination, October 24, 2013                                                                 Opening: 1st Supp. Resp. to Rog. 13;
                                                                                                                                  Resp. to Rog. 22; Webecke Dep Kit

PTX-084    PhotoModeler, PhotoModeler Standard Product Overview             EVOI553476                   EVOI553478               Arnold Opening                      A;F;H;R
PTX-085    PhotoModeler, PhotoModeler UAS Product Overview                  EVOI553479                   EV01553480               Arnold Opening                      A;F;H;R
PTX-086    Eagle View Roof Report Sales by Zipcode 2012-2017                EVOI553383                   EV01553383               Arnold Opening                      A;F;H;R

PTX-087    Presentation by EagleView re Eagle View Technology               EV538890                     EV539051                 Arnold Opening                       A;F;H;R
           Corporation BOD Presentation, October 27, 2015
PTX-088    Presentation by EagleView Technologies re Board Meeting June     EV442875                     EV442923                 Arnold Opening                      A;F:H;R
           15,2009
PTX-089    Presentation by Eagle View Technologies re Board Meeting,        EV052433                     EV052493                 Arnold Opening                       A;F;H;R
           March 17, 2010
PTX-090    Presentation by Eagle View Technologies re Board of Director's   EV054240                     EV054279                 Arnold Opening                      A;F;H;R
           Meeting, January 18, 2011
PTX-091    Presentation by Eagle View Technologies re Corporate Review      EV053912                     EV053963                 Arnold Opening                      A;F;H;R
           and Direction, December 15, 2010



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PTX-092    Presentation by Eagle View Technologies re Management            EV634009                     EV634056                 Arnold Opening                      A;F;H;R
           Presentation
PTX-093    Project Addendum between Xactware and USAA, August 19,           XW00940714                   XW00940718               Arnold Opening                      H;R; I
           2013
PTX-094    Eagle View Technologies Inc. Report Revenue P&L Analysis -       EV01552476                   EV01552477               Arnold Opening; [Quilter, Matthew   A;F;H; S
           Insurance (with 2009-2016 average selling price history)                                                               Ex. 8]

PTX-095    AS, RI, PT Units (Jan. 2012 - Jan. 2018)                         XW00942354                   XW00942354               Arnold Opening                      H; S; 1002


PTX-096    Roofers4 l 1 Home Page, May 29 2009                              EV01553487                   EVOl553487               Arnold Opening                      A;F;H;R
PTX-097    Skytek Imaging Diagram Pricing, Home Page                        EV01553545                   EV01553546               Arnold Opening                      A;F;H;R;
                                                                                                                                                                      105
PTX-098    Statement of Work No. 2 between Eagle View Technologies and      EV549505                     EV549508                 Arnold Opening                      A; F; H; R; I
           Metropolitan Property & Casualty Insurance Company, January
           30,2012
PTX-099    Agrement for Mass Production Services between Geomni and         XW00940340                   XW00940349               Arnold Opening                      H;R
           SIGLA, December I, 2017
PTX-100    Summary Revenue Analysis 2012 to 2015                            EV534422                     EV534422                 Arnold Opening                      A;F;H;R
PTX-101    Verisk Analytics 2012 Annual Report                              XW00765000                   XW00765148               Arnold Opening                      H;R
PTX-102    Verisk Insurance Solutions, VIS Geospatial & Pricing Strategic   XW00024052                   XW00024113               Arnold Opening                      H;R
           Plan, September 2015
PTX-103    Xactimate's New Aerial Sketch Makes Drawing Roof Plans Fast      XW00049804                   XW00049805               Arnold Opening                      H;R
           and Easy, February 2012
PTX-104    Xactware Invoices -- "Xactware Invoices, May and June 2014"      XW00512746                   XW00512761               Arnold Opening                      H;R

PTX-105    Xactware Invoices -- "Xactware Invoices, August and September    XW00513134                   XW00513152               Arnold Opening                      H;R
           2013"
PTX-106    Xactware Invoices -- "Xactware Invoices, October and             XW00513010                   XW00513066               Arnold Opening                      H; R; 105; P;
           November 2013"                                                                                                                                             C
PTX-107    Xactware Monthly Business Review, April 24, 2014                 XW00041055                   XW00041108               Arnold Opening                      H;R
PTX-108    Xactware Monthly Business Review, August 31, 2010                XW00281622                   XW00281674               Arnold Opening                      H;R
PTX-109    Xactware Monthly Business Review, August 31, 2011                XW00076415                   XW00076487               Arnold Opening                      H;R

PTX-110    Xactware Monthly Business Review, June 29, 2010                  XW00280274                   XW00280319               Arnold Opening                      H;R
PTX-111    Xactwarc Monthly Business Review, March 20, 2015                 XW00093504                   XW00093564               Arnold Opening                      H;R

PTX-112    Xactware Monthly Business Review, March 29, 2011                 XW00284824                   XW00284881               Arnold Opening                      H;R



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                                                                           Plaintiffs Trial Exhibit List
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PTX-113    Xactware Monthly Business Review, March 5, 2013                  XW00048373                    XW00048448               Arnold Opening                    H;R;P;C
PTX-114    Xactware Monthly Business Review, November 30, 2012              XW00328662                    XW00328733               Arnold Opening                    H;R;P;C
PTX-115    Xactware Monthly Business Review, October 23, 2012               XW00238016                    XW00238076               Arnold Opening                    H;R;P;C
PTX-116    Description of Roof In Sight                                     XW00016429                    XW00016429               Arnold Opening                    H;R
PTX-117    Eagle View Roof Report Zip Codes                                 EV01553677                    EV01553677               Arnold Opening                    A;F;H;R

PTX-118    Agreement between Xactware and Eagle View Technologies,          EV732307                      EV732317                 Arnold Opening; Arnold Rebuttal   A;F;H;R;X
           November 3, 2008
PTX-119    Amendment to Agreement between Xactware Solutions and            EV414774                      EV414775                 Arnold Opening; Arnold Rebuttal   A;F;H;R;X
           Eagle View on November 3, 2008
PTX-120    Eagle View Technical Study: Hand Measurement vs. DIY Sketch      EV01553456                    EV01553459               Arnold Opening; Arnold Rebuttal   A;F;H;R
           vs EagleView, December 14, 2015
PTX-121    Eagle View ROI Analysis                                          EV551975                      EV551975                 Arnold Opening; Arnold Rebuttal   A;F;H;R
PTX-122    Eagle View Technology Corporation BOD Presentation, March 3,     EVOl503095                    EV01503 l 10             Arnold Opening; Arnold Rebuttal   A;F;H;R
           2016
PTX-123    Email Chain from A. Drew to C. Barrow et. al re CNN Money         EV448511                     EV448512                 Arnold Opening; Arnold Rebuttal   A;F;H;R
           One small company reinvents a $30 billion market, December 16,
           2011
PTX-124    Email Chain from C. Hunt to H. West et. al re Eagle View Pilot   EV551968                      EV551969                 Arnold Opening; Arnold Rebuttal   A;F;H;R
           Review/Next Steps, February 27, 2015
PTX-125    Email Chain from T. VanSant to R. Daga re Xactimate Version       EV555925                     EV555927                 Arnold Opening; Arnold Rebuttal   A; F; H; R; P
           28
PTX-126    Hand Measurements and DIY Sketching Tools Unable to               EV01553384                   EV01553386               Arnold Opening; Arnold Rebuttal   A;F;H;R
           Compete with Aerial Measurement Technology
PTX-127    Eagle View PremiumReport,                                         EV01553907                   EV01553923               Arnold Opening; Arnold Rebuttal   A;F;H;R
           htt12s://www.eagleview.com/12roduct/eaglevicw-
           mcasurcments/roof-Qroducts/eagleview-12rerniumre12ort/
PTX-128    In the Matter of Verisk Analytics, Insurance Services Office, and EV032008                     EV032020                 Arnold Opening; Arnold Rebuttal   I; H; 105; R
           EagleView Technology Corp, Docket No. 9363 Redacted
           Complaint
PTX-129    Presentation by Eagle View Technologies on Board Meeting,         EV073143                     EV073195                 Arnold Opening; Arnold Rebuttal   A;F;H;R
           January 19, 2010
PTX-130    Presentation by Eagle View Technologies re Board Meeting,         EV052644                     EV052669                 Arnold Opening; Arnold Rebuttal   A;F;H;R
           April 20, 2010
PTX-131    Presentation by Eagle View Technologies re Board Meeting, June    EV053095                     EV053124                 Arnold Opening; Arnold Rebuttal   A;F;H;R
           22,2010
PTX-132    Presentation by EagleView Technologies re Rating Agency           EV647324                     EV647371                 Arnold Opening; Arnold Rebuttal   A;F;H;R
           Presentation, June 25, 2015



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PTX-133    Presentation on Eagle View Measurements re Board Meeting,       EV456906                      EV456955                 Arnold Opening; Arnold Rebuttal   A;F;H;R
           October 16, 2008
PTX-134    Services Agrement between Georgia Farm Bureau and Eagle         EV551976                      EV551977                 Arnold Opening; Arnold Rebuttal   H; A;F;R; P
           View Technologies, March 16, 2012
PTX-135    Xactware Monthly Business Review, April 2012                    XW00076687                    XW00076768               Arnold Opening; Arnold Rebuttal   H;R;P
PTX-136    Xactware Monthly Business Review, January 31, 2011              XW00281683                    XW00281749               Arnold Opening; Arnold Rebuttal   H;R;P
PTX-137    Xactware Monthly Business Review, June 22, 2011                 XW00043693                    XW00043764               Arnold Opening; Arnold Rebuttal   H;R;P
PTX-138    Xactware Revenue Statement, as of December 31, 2017             XW00942356                    XW00942356               Arnold Opening; Arnold Rebuttal   H; R; 105
PTX-139    Aerial Imagery Questions, December 1, 2010                      XW00284236                    XW00284241               Arnold Rebuttal                   H;R;P
PTX-140    Aerial Sketch Positioning and Pricing January 2012              XW00085872                    XW00085873               Arnold Rebuttal                   H;R;P
PTX-141    Arlen Pringle, The Eagle View Technologies Website 4.1 Guide    EV023725                      EV023770                 Arnold Rebuttal                   H; A; F; R; P

PTX-142    Barclays Equity Research, A deep dive on VRSK's EVT deal;        EV560010                     EV560053                 Arnold Rebuttal                   A;F;H;R
           May credit issuance and macro updates, June 4, 2014
PTX-143    Chris King, Roofing Contractor, State of the Industry Report,    EV576140                     EV567155                 Arnold Rebuttal                   A;F;H;R
           January 30, 2013
PTX-144    Commercial License Agreement between Pictometry and              XW00079998                   XW00080005               Arnold Rebuttal                   R;H;P
           Xactware. December 15, 2009
PTX-145    EagleView Technologies v. Aerialogics LLC, W. D. Wash. Case      EV034235                     EV034242                 Arnold Rebuttal                   A;F; P; R;H
           No. Cl2-6188RAJ,Plaintiff's Motion for Default Judgement and
           Entry of a Permanent Injunction against Defendant Aerialogics
           and its Officers
PTX-146    Eagle View Technologies v. RoofWalk Inc., Case No. C!2-00544 EV034797                         EV034798                 Arnold Rebuttal                   A;F; P; R; H
           RSL Consent Decree and Dismissal
PTX-147    Eagle View Technologies What Low-cost Roof Reports Really    EV564980                         EV564981                 Arnold Rebuttal                   A; F;P; R; H
           Cost Carriers
PTX-148    EagleView Technology Accuracy You Can Rely On. Guaranteed. EV560380                           EV560380                 Arnold Rebuttal                   A;F;P;R;H

PTX-149    Eagle View Technology Corporation Board of Directors             EV01424840                   EV01424916               Arnold Rebuttal                   A;F;P;R;H
           Presentation, October 27, 2015
PTX-150    EagleView, Take the Guesstimating out of Estimating, 2009        EV050189                     EV050189                 Arnold Rebuttal                   A; F; P; R; H

PTX-151    Eagle View, Technology Provides a Precise Look at Roof           EV046647                     EV046652                 Arnold Rebuttal                   A; F; P; R; H
           Measuring, 2009
PTX-152    Email Chain from E. Webecke to C. Hopper et. al re Aerial        XW00324893                   XW00324901               Arnold Rebuttal                   R;H
           Sketch, January 28, 2012
PTX-153    Email Chain from E. Webecke to J. Loveland et. al re Proposed    XW00089919                   XW00089920               Arnold Rebuttal                   R;H
           Price Changes, January 12, 2012



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PTX-154    Email Chain from J. Pawlik to J. Pelletier et. al re Xact Roof and HARTFORD 001681             HARTFORD_001686          Arnold Rebuttal                    A;F;R;H
           Property Insight final data - EV decision, October 14, 2016

PTX-155    Email Chain from J. Taylor to C. Hopper re Aerial Sketch,          XW00061079                  XW00061095               Arnold Rebuttal                    R;H
           February 8, 2012
PTX-156    Email Chain from J. Taylor to E. Webecke et. al re Aerial Sketch   XW00060992                  XW00060992               Arnold Rebuttal                    R;H
           vl vs. v2 Demo, January 10, 2012
PTX-157    Email Chain from P. Gamido to C. Barrow et. al re Travelers        EV368795                    EV368795                 Arnold Rebuttal                    A;F;R;H
           notes meeting, July 8, 2011
PTX-158    Email Chain from S. Stephenson to D. Cohen re Street reaction to   XW00358976                  XW00358978               Arnold Rebuttal                    H;R;P
           the acquisition ofEVT announcement, January 17, 2014

PTX-159    Email from Xactware to E. Webecke re Xactware Webcast -         XW00078716                     XW00078717               Arnold Rebuttal                    H;R;P
           Viewing Roofs in a Whole New Way with RooflnSight, August
           15,2013
PTX-160    Fifth Amendment to Software License, Data Subscription and      XW00940851                     XW00940863               Arnold Rebuttal                    H;R;P;I
           ASP Services Agreement between Hartford and Xactware,
           December 15, 2016
PTX-161    One small company reinvents a $30 billion market,               EV01548617                     EVOI548618               Arnold Rebuttal                    A;F; H;R; P
           htt12://monet.cnn.com/2011 /12/09/smallbusiness/eagleview/index
           .htm
PTX-162    Karen Edwards, Aerial Roof Measurements Technology Driving EV00924222                          EV00924226               Arnold Rebuttal                    A;F;H;R
           Changes to Professional Roofing Practices
PTX-163    Master Services Software License, and Maintenance Agreement XW00089641                         XW00089706               Arnold Rebuttal                    H;R
           between USAA and Xactware, January 1, 2012

PTX-164    Presentation by EagleView re Executive Summary Presentation,       EV781030                    EV781054                 Arnold Rebuttal                    A;F;R;H
           May 2015
PTX-165    Presentation by USAA re Eagle View Measurements, September         USAA.1253                   USAA.1270                Arnold Opening; Arnold Rebuttal;   A;F;R;H
           24,2008                                                                                                                 [Allen, Michael Ex. 1]
PTX-166    Presentation from Xactware re Retreat 2011 - Xactimate SWOT        XW00060775                  XW00060788               Arnold Rebuttal                    R;H
           Customer Prespective
PTX-167    Property InSight/Roof InSight Main and Differentiating Features    XW00357871                  XW00357872               Arnold Rebuttal                    P;R;H
           Draft
PTX-168    Fourth Amendment to the Master Product License Agreement           XW00940361                  XW00940404               Arnold Rebuttal                    P;R;H
           Effective January I, 2011 Between Xactware Solutions Inc. and
           American Family Mutual Insurance Company




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PTX-169    Xactimate Version 27 Advertisement                             XW00015967                    XW00015978               Arnold Rebuttal                    P;R;H
PTX-170    Xactware Monthly Business Review, December 15, 2011            XW00044368                    XW0004444I               Arnold Rebuttal                    R;H
PTX-171    Geomni Monthly Actual Revenue & Expenses, 2012-2017            XW00942357                    XW00942357               Arnold Rebuttal                    S; H;P; C; R;
                                                                                                                                                                    105
PTX-172    6th Amendment to the Software License, Data Subscription and    HARTFORD 001765              HARTFORD 001766          Pawlik, Jason Ex. L                A; F; H; R; I
           ASP Services Agreement between Hartford and Xactware,
           September 1, 20 I 7
PTX-173    Collection of News Article regarding EagleView's Roofing       EV01548609                    EVOI548647               Stevenson Opening; Steveson        H;A;F;R
           Technology                                                                                                            Rebuttal; Arnold Opening; Arnold
                                                                                                                                 Rebuttal
PTX-174    "Quick RoofShot Tutorial" (Feb. 5, 2015) (available at         EVOI553924                    EVOI553924               Stevenson Opening                  A;F;H;R
           https://www.youtube.com/watch?v=0Ghyls5lvu0&t=4s)
PTX-175    Eagle View Report ( I 0331 E Broadway Dr, Miami Beach, FL       EV01550449                   EVOI550456               Stevenson Opening                  A;F;H;R
           33154)
PTX-176    Xactware Instructional Video; Roofmode Video                    XW00252589                   XW00252589               Stevenson Opening                  C;H;P;R;
                                                                                                                                                                    1002
PTX-177    Xactware Instructional Video; Sketchmode Video (Mass            XW00252590                   XW00252590               Stevenson Opening                  C;H;P;R;
           Production Tool)                                                                                                                                         1002
PTX-178    Video 1 Showing Mass Production Tool's Roof Mode                XW00252591                   XW00252591               Stevenson Opening                  C;H;P;R;
                                                                                                                                                                    1002
PTX-179    Video 2 Showing Mass Production Tool's Roof Mode                XW00252595                   XW00252595               Stevenson Opening                  C;H;P;R;
                                                                                                                                                                    1002
PTX-180    Mass Production Tool Video_SketchMode Video                     XW00252596                   XW00252596               Stevenson Opening                  C;H;P;R;
                                                                                                                                                                    1002
PTX-181    Aerial Sketch Summary Report, December 8, 2015                  EV032052                     EV032052                 Stevenson Opening                  A; F; H; C; P;
                                                                                                                                                                    1002
PTX-182    Xactware Instructional Video                                    XW00252712                   XW00252712               Stevenson Opening                  C;H;P;R;
                                                                                                                                                                    1002
PTX-183    Eagle View Report (3900 Forrest Crest Way, Lousiville KY        EV01550440                   EV01550448               Stevenson Opening                  A;F;H;R
           40245)
PTX-184    Eagle View Report (3914 Buritt Way, La Cresenta, CA 91214)      EV01550463                   EV01550467               Stevenson Opening                  A;F;H;R

PTX-185    Eagle View Report (6434 Maple Ave, Dallas TX, 75235)            EV01550434                   EV01550439               Stevenson Opening                  A;F;H;R
PTX-186    809 N Canon Dr., Beverly Hills, CA Report                       EV01550468                   EV01550474               Stevenson Opening                  A;F;H;R
PTX-187    About Blom - Blom, http://blomasa.com/top-menu-en-O-            EV01553925                   EVOI553925               Stevenson Opening                  A;F;H;R
           1115/about-blom.html
PTX-188    Aerial Sketch 27.5 Category Summary Report, March 15, 2018      EVOl553760                   EV01553772               Stevenson Opening                  A;F;H;R




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PTX-189    Aerial Sketch 28.0 Category Summary Report, March 15, 2018          EVOl553773                 EV01553785               Stevenson Opening     A;F;H;R

PTX-190    Aerial Sketch Roof Creation Video                                   XWOOl 16976                XWOOl 16976              Stevenson Opening     C;H;P;R;
                                                                                                                                                         1002
PTX-191    Xactware's Aerial Sketch Workflow Instructions                      XW00049843                 XW00049854               Stevenson Opening     C;H;P;R
PTX-192    Aerial Sketch W orkflow Manual                                      XW00124216                 XW00124233               Stevenson Opening     C;H;P;R
PTX-193    Agreement for Mass Production Services between Geomni and           XW00345994                 XW00346000               Stevenson Opening     H;R
           Weaverbird Engineering, May 1, 2016
PTX-194    All Biz, GeoPricing, https://www.allbiz.com/business/geopricing-    EVOl553926                 EV01553928               Stevenson Opening     A;F;H;R
           877-708-4367
PTX-195    All projects except Interior Sensing and Property InSight (Sketch   XW00229644                 XW00229644               Stevenson Opening     H; S; R; 1002
           Tab and Reports)
PTX-196    AssureCalc ConnectPoint Homepage, April 9, 2009                     EV01553804                 EV01553804               Stevenson Opening     A;F;H;R
PTX-197    Astrium Geoservices Webpage, http://www.astrium-satcom.com          EV01553929                 EV01553930               Stevenson Opening     A;F;H;R

PTX-198    B1om3D 3D City Models                                               EVOl552914                 EV01552914               Stevenson Opening     A;F;H;R
PTX-199    Blom3D 3D Modeling and Visualization                                EV01552910                 EV0155291 l              Stevenson Opening     A;F;H;R
PTX-200    B1om3D Aerial Imagery                                               EV01552915                 EV01552915               Stevenson Opening     A;F;H;R
PTX-201    Blom3D Aerial Seabird Survey                                        EV01552916                 EV01552917               Stevenson Opening     A;F;H;R
PTX-202    Video of Dr. Stevenson Conducting Xactimate Software Test           EVOl553809                 EVOl553809               Stevenson Opening     A; F; H; P;R;
           (Part 1 of4), March 15, 2018                                                                                                                  1002
PTX-203    Video of Dr. Stevenson Conducting Xactimate Software Test           EV01553738                 EV01553738               Stevenson Opening     A; F; H; P; R:
           (Part 2 of 4 ), March 15, 2018                                                                                                                1002
PTX-204    Video of Dr. Stevenson Conducting Xactimate Software Test           EV01553739                 EV01553739               Stevenson Opening     A; F; H; P; R;
           (Part 3 of 4 ), March 15, 2018                                                                                                                1002
PTX-205    Video of Dr. Stevenson Conducting Xactimate Software Test           EV01553740                 EV01553740               Stevenson Opening     A; F;H; P; R;
           (Part 4 of 4 ), March 15, 2018                                                                                                                1002
PTX-206    Video Showing Mass Production Tool's Nested Roof Feature            XW00252518                 XW00252518               Stevenson Opening     C;H;P;R;
                                                                                                                                                         1002
PTX-207    Chapter 7: Introduction to RooflnSight, Retrieving Roof             XW00041337                 XW00041346               Stevenson Opening     A;F;H;R;
           Dimensions and Characteristics                                                                                                                1002
PTX-208    Files Embedded in Source Code                                       XW00253635                 XW00253635               Stevenson Opening     S; H; P; C; R

PTX-209    Video of Dr. Stevenson's Computer Screen While Conducting           EV01553745                 EV01553745               Stevenson Opening     A; F; H; P; R;
           Eagle View Software Test (Part I of 5), March 29, 2018                                                                                        1002




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    PTX-210    Video of Dr. Stevenson's Computer Screen While Conducting       EV01553746                    EV01553746               Stevenson Opening         A; F; H;P; R;
               EagleView Software Test (Part 2 of 5), March 29, 2018                                                                                            1002

    PTX-211    Video of Dr. Stevenson's Computer Screen While Conducting       EV01553747                    EV01553747               Stevenson Opening         A; F;H; P; R;
               EagleView Software Test (Part 3 of5), March 29, 2018                                                                                             1002

    PTX-212    Video of Dr. Stevenson's Computer Screen While Conducting       EV01553748                    EV01553748               Stevenson Opening         A; F; H; P; R;
               Eagle View Software Test (Part 4 of 5), March 29, 2018                                                                                           1002

    PTX-213    Cyclomedia, "Who we are" (available at                          EV01553931                    EV01553935               Stevenson Opening         A;F;H;R
               https://www.cyclomedia.com/us/profile-and-history)
    PTX-214    Video 1 Demonstrating Aerial Sketch Use                         XW00227634                    XW00227634               Stevenson Opening         C;H;P;R;
                                                                                                                                                                1002
    PTX-215    Video 2 Demonstrating Aerial Sketch Use                         XW00227635                    XW00227635               Stevenson Opening         C;H;P;R;
                                                                                                                                                                1002
    PTX-216    Video 1 Demonstrating Mass Production Tool Use                  XW00374872                    XW00374872               Stevenson Opening         C;H;P;R;
                                                                                                                                                                1002
    PTX-217    Video 2 Demonstrating Mass Production Tool Use                  XW00374871                    XW00374871               Stevenson Opening         C;H;P;R;
                                                                                                                                                                1002
    PTX-218    Video of Dr. Stevenson's Computer Screen While Conducting       EV01553805                    EV01553805               Stevenson Opening         A; F; H; P; R;
               Xactimate Software Test (Part 1 of 4), March 15, 2018                                                                                            1002

    PTX-219    Video of Dr. Stevenson's Computer Screen While Conducting       EVOl553808                    EV01553808               Stevenson Opening         A; F;H; P; R;
               Xactimate Software Test (Part 4 of 4), March 15, 2018                                                                                            1002

    PTX-220    Digital Globe, "About                                           EV01553936                    EV01553943               Stevenson Opening         A;F;H;R
               Us",https://www.digitalglobe.com/about/our-company
    PTX-221    Order of Dismissal, August 31, 2015, Cl 2-6 l 8RAJ               EV01553944                   EV01553944               Stevenson Opening         A;F;H;R

    PTX-222    Consent Decree and Dismissal, July 23, 2012, 2:12-CV-00544-     EV01553945                    EV01553946               Stevenson Opening         A;F;H;R
               RSL
    PTX-223    Eagle View Measurements Premium Report 23005                     EV01550415                   EV01550426               Stevenson Opening         A;F;H;R
    PTX-224    Eagle View Measurements Premium Report 41645                     EV01550427                   EV01550433               Stevenson Opening         A;F;H;R
    PTX-225    EagleView Report Order 12542, July 30, 2008                      EV01550475                   EV01550481               Stevenson Opening         A;F;H;R
    PTX-226    EagleView Report Order 15142                                     EV01550408                   EV01550414               Stevenson Opening         A;F;H;R
    PTX-227    EagleView Report Order 16479, September 3, 2008                  EV01550522                   EV01550528               Stevenson Opening         A;F;H;R
    PTX-228    Eagle View Report Order 17689, September 15, 2008                EV01550496                   EV01550507               Stevenson Opening         A;F;H;R
    PTX-229    EagleView Report Order 18350, September 17, 2008                 EV01550508                   EV01550514               Stevenson Opening         A;F;H;R


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PTX-273    Email Chain from M. Olson to E. Webecke et. al re Options for       XW00053520                   XW00053527               Stevenson Opening                H;R
           MP Partners Phase II contracts, short summary of each company,
           October 31, 2013
PTX-274    Email Chain from M. Olson to J. Taylor et. al re Friday, Oct        XW00225220                   XW00225222               Stevenson Opening                H;R
           11th: Update on Data Acquisition and Mass Production, October
           11, 2013
PTX-275    Email Chain from M. Olson to J. Taylor et. al re Training           XW00325737                   XW00325737               Stevenson Opening                H;R
           program, July l L 2013
PTX-276    Email Chain from R. Mikkelsen to J. Lewis et. al re Training        XW00041331                   XW00041336               Stevenson Opening                H;R
           manual edits, October 22, 2013
PTX-277    Email Chain from R. Mikkelsen to R. Justus et. al re Beta           XW00034343                   XW00034345               Stevenson Opening                H;R
           Update, June 25, 2015
PTX-278    Email Chain from S. Stephenson to W. Raichle et. al re our          XW00358609                   XW0035861 l              Stevenson Opening                H;R
           negotiation, August 31, 2015
PTX-279    Email from Confluence to J. Lewis re Xactware                       XW00029702                   XW00029705               Stevenson Opening                F;H;R
           Geospatial/Pricing Services>Infrastructure, January 19, 2016

PTX-280    Email from D. Barrington to National Sales Team et. al re On-       XW00070900                   XW00070900               Stevenson Opening                H;R
           demand webcasts - most popular, August 7, 2015
PTX-281    Email from J. Aguilera to J. Taylor et. al re Discussion on         XW00049099                   XW00049103               Stevenson Opening                H;R
           Aerodata deliverables, October 26, 2012
PTX-282    Email from J. Lewis to J. Taylor re Video Demos, July 10, 2013      XW00374870                   XW00374870               Stevenson Opening                H;R

PTX-283    Email from J. Lewis to Pimgmt re Development status 3/1 - 3/7,      XW00050575                   XW00050580               Stevenson Opening                F;H;R
           March 7, 2014
PTX-284    Email from J. Lewis to Pimgmt re Development status 3-22 - 3-       XW00050505                   XW00050508               Stevenson Opening                F;H;R
           28, March 28, 2014
PTX-285    Email from M. Olson to J. Taylor et. al re Aerialogics vs.          XW00221145                   XW0022I 145              Stevenson Opening                H;C;R
           Eagleview - Patent review didn't go as EV planned ... , April 29,
           2013
PTX-286    Video of Dr. Stevenson's Computer Screen While Conducting           EVOI553807                   EV01553807               [Cohen, Geoff A. Ph.D. Ex. 4];   A; F;H; P;R;
           Xactimate Software Test (Part 3 of 4 ), March 15, 2018                                                                    Stevenson Opening; Stevenson     1002
                                                                                                                                     Rebuttal
PTX-287    Presentation by EagleView Technologies re Board of Director's       EV450555                     EV450605                 Stevenson Opening                A;F;H;R
           Meeting, March 22, 2012
PTX-288    Video of Dr. Stevenson Conducting Eagle View Software Test          EV01553750                   EV01553750               Stevenson Opening                A; F;H;P; R;
           (Part 1 of 5), March 29, 2018                                                                                                                              1002




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PTX-289    Video of Dr. Stevenson Conducting EagleView Software Test        EV01553751                    EV01553751               Stevenson Opening                  A;F;H;P;R;
           (Part 2 of 5), March 29, 2018                                                                                                                              1002
PTX-290    Video of Dr. Stevenson Conducting EagleView Software Test        EV01553752                    EV01553752               Stevenson Opening                  A;F;H;P;R;
           (Part 3 of 5), March 29, 2018                                                                                                                              1002
PTX-291    Video of Dr. Stevenson Conducting EagleView Software Test        EV01553753                    EVOl553753               Stevenson Opening                  A; F;H; P;R;
           (Part 4 of 5), March 29, 2018                                                                                                                              1002
PTX-292    Video of Dr. Stevenson Conducting EagleView Software Test        EV01553754                    EV01553754               Stevenson Opening                  A; F; H;P; R;
           (Part 5 of 5), March 29, 2018                                                                                                                              1002
PTX-293    Document Describing and Showing Features ofXactware's Web         XW00036626                   XW00036639               Stevenson Opening                  H;R
           Portal Chrome Extension
PTX-294    Video Showing Gambrel Roof Feature in Mass Production Tool        XW00252504                   XW00252504               Stevenson Opening                  A;F;H;P;
                                                                                                                                                                      1002
PTX-295    Aerial Sketch manual "Manually draw a roof in Aerial Sketch"       NIA                         NIA                      Stevenson Opening, [Allen Ex. 6]   A;F;C;H;R;
           (available at http:llxactware.xactimate.archive.s3-website-us-west                                                                                         X
           2. amazonaws.comlengl ish/hel pl cu ltureenglhtml/modlmod_ maual
           ly_add_roof.htm.)

PTX-296    Letter from C. Barrow to E. Webecke re Notice of Material         XW00077469                   XW00077469               Stevenson Opening                  H;R;P
           Breach of November 4, 2008 Agrement, August 2, 2013

PTX-297    Video Showing Mansard Roof Feature in Mass Production Tool        XW00252507                   XW00252507               Stevenson Opening                  A;F;H;R;
                                                                                                                                                                      1002
PTX-298    Combined Video of Dr. Stevenson and Computer Screen While         EVOl553755                   EV01553755               Stevenson Opening                  A; F; H; P; R;
           Conducting EagleView Software Test (Part 1 of 5), March 29,                                                                                                1002
           2018
PTX-299    Combined Video of Dr. Stevenson and Computer Screen While         EV01553756                   EV01553756               Stevenson Opening                  A; F; H;P; R;
           Conducting EagleView Software Test (Part 2 of 5), March 29,                                                                                                1002
           2018
PTX-300    Combined Video of Dr. Stevenson and Computer Screen While         EV01553757                   EV01553757               Stevenson Opening                  A; F; H;P; R;
           Conducting Eagle View Software Test (Part 3 of 5), March 29,                                                                                               1002
           2018
PTX-301    Combined Video of Dr. Stevenson and Computer Screen While         EV01553758                   EV01553758               Stevenson Opening                  A; F; H;P; R;
           Conducting EagleView Software Test (Part 4 of 5), March 29,                                                                                                1002
           2018
PTX-302    Combined Video of Dr. Stevenson and Computer Screen While         EV01553759                   EV01553759               Stevenson Opening                  A; F; H; P; R;
           Conducting EagleView Software Test (Part 5 of 5), March 29,                                                                                                1002
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PTX-303    Master Product License Agreement between Xactware and               XW00078956                 XW00079000               Stevenson Opening     H;R;F
           Farmers, January 14, 2014
PTX-304    Video Showing Use Roof Edit Feature in Mass Production Tool         XW00939859                 XW00939859               Stevenson Opening     A;F;H;R;
                                                                                                                                                         1002
PTX-305    Video Showing Use Roof Edit Feature With No Wall in Mass            XW00252508                 XW00252508               Stevenson Opening     A;F;H;R;
           Production Tool                                                                                                                               1002
PTX-306    ibui\dimagery's non-active website at                               EV0\553947                 EV01553948               Stevenson Opening     A;F; H; C; R;
           http://www.ibuildimagery.com/ (Page Cannot Be Displayed)                                                                                      X;D

PTX-307    Video Showing Pyramid Roof Feature in Mass Production Tool          XW00252547                 XW00252547               Stevenson Opening     A;F;H;R;
                                                                                                                                                         1002
PTX-308    Planet Labs -Approach "Aerospace know-how meets Silicon             EV01553949                 EV0\553952               Stevenson Opening     A; F; H; I; C;
           Valley ingenuity" (available at                                                                                                               R;X
           https://www.planet.com/ company/ approach/)

PTX-309    Premium Report Precise Aerial Measurement Report. September         EV846942                   EV846952                 Stevenson Opening     A;F;H;R
           26,2014
PTX-310    Presentation by EagleView re Investor Presentation Initial          XW0035l 190                XW00351231               Stevenson Opening     H;R
           Overview, November 2008
PTX-311    Presentation by Eagle View Technologies re Board Meeting,           EV051963                   EV052019                 Stevenson Opening     A;F;H;R
           Jaunary 19, 2010
PTX-312    Presentation by Verisk Analytics re Xactware Solutions              XW00081432                 XW00081465               Stevenson Opening     H;R
           Quarterly Review (Ql 2012)
PTX-313    Presentation by Verisk Analytics re Acquisition of Eagle View       EV556789                   EV556804                 Stevenson Opening     H;R
           Technology Corp., January 15, 2014
PTX-314    Presentation by Verisk Analytics re Aerotriangulation, September    XW00126602                 XW00126626               Stevenson Opening     H;R
           2015
PTX-315    Presentation by Verisk Analytics re Project Aerial IC Discussion,   XW00078365                 XW00078392               Stevenson Opening     H;R
           May 1, 2012
PTX-316    Presentation by Verisk Analytics re Xactware Solutions, Inc.        XW00107375                 XW00107414               Stevenson Opening     H;R
           Quarterly Review (Q2 2012)
PTX-317    Presentation by Verisk re Analytics Board of Directors              XW00374127                 XW00374226               Stevenson Opening     H;R
           Presentation, November 13, 2013
PTX-318    Presentation by Xactware re Aerial InSight Project, Status          XW00215386                 XW00215398               Stevenson Opening     H;R
           Update - Verisk Venture Capital, February 13, 2013
PTX-319    Presentation by Xactware re Aerial In Sight Project, Status         XW00215399                 XW00215416               Stevenson Opening     H;R
           Update - Verisk Venture Capital, May 20, 2013
PTX-320    Presentation by Xactware re Aerial Sketch                           XW00049869                 XW00049881               Stevenson Opening     H;R


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PTX-321    Presentation by Xactware re Property InSight Mass Production      XW00253651                  XW00253651               Stevenson Opening     A;F;H;R;
           Tool Overview, July 2013                                                                                                                     1002
PTX-322    Presentation by Xactware re Property Insight Production Tool      XW00181211                  XWOOJ81214               Stevenson Opening     H;R
           Version 3.0.0 - New RoofModel Technology
PTX-323    Presentation by Xactware re Xactimate online                      XWOOOJ6970                  XW00016985               Stevenson Opening     H;R
PTX-324    Presentation from Verisk re Xactware Solutions 3Q2015 Review,     XW00067152                  XW00067193               Stevenson Opening     H;R
           October 23, 2015
PTX-325    Presentation from Xactware re Aerial Imagery Project Overview     XW00091060                  XW00091096               Stevenson Opening     H;R

PTX-326    Presentation from Xactware re Property InSight Instructions for   XW00072045                  XW00072053               Stevenson Opening     H;R
           Demo
PTX-327    Presentation from Xactware re Property InSight Mass Production    XW00059958                  XW00059967               Stevenson Opening     H;R
           W orkflow Overview
PTX-328    Presentation from Xactware re Property Insight Production Tool    XW00052029                  XW00052038               Stevenson Opening     H;R
           User Guide - Demo 2, July 2013
PTX-329    Presentation from Xactware re Property Insight Production Tool    XW00052039                  XW00052053               Stevenson Opening     H;R
           User Guide - Demo 3, July 2013
PTX-330    Presentation from Xactware re Property Insight Production Tool    XW00052054                  XW00052068               Stevenson Opening     H;R
           User Guide - Demo 4, July 2013
PTX-331    Presentation from Xactware re Property Insight Production Tool    XW00052069                  XW00052080               Stevenson Opening     H;R
           User Guide - Demo 5, July 2013
PTX-332    Presentation from Xactware re Property Insight Production Tool    XW00052081                  XW00052100               Stevenson Opening     H;R
           User Guide - Demo 6, July 2013
PTX-333    Eagle View's Private Placement Memorandum to Potential            XW00357031                  XW00357054               Stevenson Opening     A;F; H; R
           Investors
PTX-334    Combined Video of Dr. Stevenson and Computer Screen While         EVOl553741                  EV01553741               Stevenson Opening     A; F; H; P; R;
           Conducting Xactimate Software Test (Part 2 of 4), March 15,                                                                                  1002
           2018
PTX-335    Combined Video of Dr. Stevenson and Computer Screen While         EVOJ553742                  EV01553742               Stevenson Opening     A; F;H; P; R;
           Conducting Xactimate Software Test (Part I of 4), March 15,                                                                                  1002
           2018
PTX-336    Combined Video of Dr. Stevenson and Computer Screen While         EV01553743                  EV01553743               Stevenson Opening     A; F; H; P; R;
           Conducting Xactimate Software Test (Part 3 of 4), March 15,                                                                                  1002
           2018
PTX-337    Combined Video of Dr. Stevenson and Computer Screen While         EVOl553744                  EV01553744               Stevenson Opening     A;F; H; P;R;
           Conducting Xactimate Software Test (Part 4 of 4), March 15,                                                                                  1002
           2018
PTX-338    Property Insight Check Version 1.0, November 3, 2015              XW00067652                  XW00067660               Stevenson Opening     H;R



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PTX-339    Property InSight FAQs                                            EV032093                    EV032094                 Stevenson Opening     A;F;H;R
PTX-340    Property InSight Features                                        EV032095                    EV032097                 Stevenson Opening     A;F;H;R
PTX-341    Property InSight Mass Production Draft, April 22, 2013           XW00224419                  XW00224435               Stevenson Opening     H;R
PTX-342    Property TnSight Mass Production Software Status Report, April   XW00049015                  XW00049030               Stevenson Opening     H;R
           26, 2013
PTX-343    Property InSight Mass Production Tool Installation Guide         XW00216843                  XW00216849               Stevenson Opening     H;R
           Version 1.0.0, 2013
PTX-344    Property InSight Mass Production Tool User Guide Version 1.0.0   XW00216763                  XW00216784               Stevenson Opening     H;R
           Annex 2 Tutorial, 2013
PTX-345    Property InSight Mass Production Tool User Guide Version         XW00217085                  XW00217128               Stevenson Opening     H;R
           1.0.0, 2013
PTX-346    Property TnSight Mass Production Tool User Guide Version 1.1.2   XW00253641                  XW00253641               Stevenson Opening     H;R
           Annex 1. Workflow, 2013
PTX-347    Video Showing Roof Movement Tool in Mass Production Tool         XW00036784                  XW00036784               Stevenson Opening     A;F;H;R;
                                                                                                                                                       1002
PTX-348    Property TnSight Report 123 Wonderful St., Anytown, TX 12345 XW00661633                      XW00661655               Stevenson Opening     H;R

PTX-349    Property InSight-Mass Production Efficiency trends Version 1.0, XW00033756                   XW00033775               Stevenson Opening     H;R
           July 28, 2015
PTX-350    PropertylnSight_KeynoteClipV3-7313 Video                        XW00375562                   XW00375562               Stevenson Opening     A;F;H;R;
                                                                                                                                                       1002
PTX-351    Planet Labs, RapidEYE Imagery Product Specifications, v. 6.1, EV01553953                     EV01554002               Stevenson Opening     A; F; H; D;R;
           Jan. 2016, (available at https://www.planet.com/products/satellite                                                                          X
           imagery /files/ 160625-RapidEye%20 Image-Product-
           Specifications. pdf)

PTX-352    Report Change History                                            EV01550529                  EV01550531               Stevenson Opening     A;F;H;R
PTX-353    Video Showing "Reverse" Tool in Mass Production Tool             XW00252572                  XW00252572               Stevenson Opening     H;R
PTX-354    Roof InSight FAQs                                                EV032098                    EV032099                 Stevenson Opening     A;F;H;R
PTX-355    Guide for Online Ordering ofRooflnSight Roof Estimate Report     XW00008954                  XW00008956               Stevenson Opening     H:R

PTX-356    Roof In Sight Report, April 27, 2015                             EV033458                    EV033462                 Stevenson Opening     A;F;H;R
PTX-357    RooflnSight Training Manual, May 6, 2013                         XW00064999                  XW00065023               Stevenson Opening     H;R
PTX-358    Video Showing XY Movement Tool in Mass Production Tool           XW00252498                  XW00252498               Stevenson Opening     A;F;H;R;
                                                                                                                                                       1002
PTX-359    Video Showing Hip-Gable Conversion in Mass Production Tool       XW00252499                  XW00252499               Stevenson Opening     A;F;H;R;
                                                                                                                                                       1002




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PTX-360    Video Showing Movement and Transform Tools in Mass                  XW00252588                    XW00252588               Stevenson Opening     A;F;H;R;
           Production Tool                                                                                                                                  1002
PTX-361    Eagle View Roof Estimate Report for 1234 Main Street,               EV01550623                    EV01550628               Stevenson Opening     A;F;H;R
           Anytown, USA
PTX-362    Eagle View Roof Estimate Report for 14148 NE 190th Street,          EV01550629                    EV01550629               Stevenson Opening     A;F;H;R
           Woodinville, WA, 98072
PTX-363    Service Center Internal Roof In Sight money back guarantee          XW00019782                    XW00019782               Stevenson Opening     H;R
           workflow Screenshots
PTX-364    Service Center July 17, 2014 Xactimate Desktop Release Notes        XWOOOl9783                    XW00019783               Stevenson Opening     H;R
           Screenshots
PTX-365    Service Center Roof InSight Process Screenshots                     XW00019780                    XW00019780               Stevenson Opening     H;R
PTX-366    Service Center Roof Measurement Provider Menu Order                 XW00019784                    XW00019784               Stevenson Opening     H;R
           Screen shots
PTX-367    Video Demonstrating Aerial Sketch N-Side Roof Feature               XW00049732                    XW00049732               Stevenson Opening     A;F;H;R;
                                                                                                                                                            1002
PTX-368    Video Demonstrating New Aerial Sketch Features                      XW00049735                    XW00049735               Stevenson Opening     A;F;H;R;
                                                                                                                                                            1002
PTX-369    Statistics - Movement                                               XW00942358                    XW00942358               Stevenson Opening     H;R; 105
PTX-370    stats epipolar                                                      XW00942355                    XW00942355               Stevenson Opening     H;R
PTX-371    Spreadsheet of Tool Use Statistics From Postgres Database           XW00941300                    XW00941300               Stevenson Opening     A;H;R;S

PTX-372    T. Fulford ltr. to B. Brown, February 22, 2018                       EV01554003                   EV01554005               Stevenson Opening     C; H; I; P; R
PTX-373    Video Showing Translation and Epipolar Movement Features in          XW00252516                   XW00252516               Stevenson Opening     A;F;H;R;
           Mass Production Tool                                                                                                                             1002
PTX-374    Twister Version 2818.0 and Render House Screenshots                  EV846816                     EV846919                 Stevenson Opening     A; F; H; P; R;
                                                                                                                                                            1002
PTX-375    United States Copyright Office Eagle View Roof Measurement           EV01550630                   EV01550630               Stevenson Opening     A;F;H;R;X
           Report, January 25, 2008
PTX-376    WITHDRAWN
PTX-377    WITHDRAWN
PTX-378    Verisk Analytics Aerial Sketch Search Results                        EV032082                     EV032083                 Stevenson Opening     A;F;R;H;C

PTX-379    Verisk Analytics Jim Loveland President Profile                      EV032075                     EV032075                 Stevenson Opening     A;F;H;C;R

PTX-380    Verisk Analytics Property InSight Search Results                     EV032084                     EV032085                 Stevenson Opening     A;F;R;H;C

PTX-381    Verisk Analytics Roof In Sight Search Results                        EV032086                     EV032087                 Stevenson Opening     A;F;R;H;C




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PTX-382    Verisk Analytics, Inc.'s Responses to Eagle View Technologies,   NIA                           NIA                      Stevenson Opening           H;C
           Inc.'s Requests for Admissions (Nos. 1-727), January 12, 2018

PTX-383    What's New in Xactimate v28.0?                                   XW00100703                    XW00100704               Stevenson Opening     H;R
PTX-384    What's New in Xactimate Version 27.5                             XW00019789                    XW00019791               Stevenson Opening     H;R
PTX-385    What's New in Xactimate, Roof and Property Insight               XW00019758                    XW00019760               Stevenson Opening     H;R
PTX-386    Xactimate 28 Aerial Sketch                                       XW00020137                    XW00020160               Stevenson Opening     H;R
PTX-387    Xactimate 28 Fundamentals & Proficiency                          XW00029402                    XW00029699               Stevenson Opening     H;R
PTX-388    Xactimate 28 Introduction to Roof In Sight                       XW00020115                    XW00020126               Stevenson Opening     H;R
PTX-389    Xactimate 28 Level I Certification - Xactimate Fundamentals      EV032088                      EV032089                 Stevenson Opening     A;H;F;R
           AdjusterTrainer Advertisement
PTX-390    Xactimate 28 Level 1 Certification - Xactimate Fundamentals       XW00078640                   XW00078641               Stevenson Opening     H;R

PTX-391    Xactimate 28 Level 2 Certification - Xactimate Fundamentals       XW00078642                   XW00078644               Stevenson Opening     H;R

PTX-392    Xactimate 28 Level 3 Certification - Xactimate Fundamentals       XW00078645                   XW00078647               Stevenson Opening     H;R

PTX-393    Screenshot of Aerial Sketch Use (I of7)                           EV032047                     EV032047                 Stevenson Opening     A; H; F; R; C;
                                                                                                                                                         p
PTX-394    Screenshot of Aerial Sketch Use (2 of7)                           EV032061                     EV032061                 Stevenson Opening     A; H; C; F;P;
                                                                                                                                                         R
PTX-395    Screenshot of Aerial Sketch Use (3 of 7)                          EV032062                     EV032062                 Stevenson Opening     A; H; C; F; P;
                                                                                                                                                         R
PTX-396    Screenshot of Aerial Sketch Use (4 of 7)                          EV032063                     EV032063                 Stevenson Opening     A;H; C; F; P;
                                                                                                                                                         R
PTX-397    Screenshot of Aerial Sketch Use (5 of 7)                          EV032065                     EV032065                 Stevenson Opening     A; H; C;F; P;
                                                                                                                                                         R
PTX-398    Screenshot of Aerial Sketch Use (6 of7)                           EV032066                     EV032066                 Stevenson Opening     A; H; C; F;P;
                                                                                                                                                         R
PTX-399    Screenshot of Aerial Sketch Use (7 of7)                           EV032067                     EV032067                 Stevenson Opening     A; H; C;F; P;
                                                                                                                                                         R
PTX-400    Xactimate Sketch Estimate Screenshots                             EV01427838                   EV01427927               Stevenson Opening     A; H; C;F;P;
                                                                                                                                                         R
PTX-401    Xactimate Requirements                                            XW00100705                   XW00100706               Stevenson Opening     C;F;H;R
PTX-402    Xactimate Version 27 Lesson 3: Using the manual roofing tools     XW00009276                   XW00009276               Stevenson Opening     F;H;R

PTX-403    Xactimate version 27 Lesson 4: Finshing the image                 XW00009277                   XW00009277               Stevenson Opening     F;H;R




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PTX-404    Xactimate version 28 System Requirements                           EV032104                     EV032108                 Stevenson Opening     A;H;C;F;R

PTX-405    Xactware Aerial Imagery Capture Specs v2.0, 2013                   XW00049554                   XW00049568               Stevenson Opening     F;H;R;C
PTX-406    Xactware Aerial Imagery Capture Specs v3.2, 2013                   XW00222266                   XW00222282               Stevenson Opening     F;R;H;C
PTX-407    Xactware Monthly Business Review, Dec 2012 -Jan 2013               XW00048232                   XW00048289               Stevenson Opening     F;H;R
PTX-408    Xactware Price Sheet 12.1                                          XW00098832                   XW00098832               Stevenson Opening     F;H;R;P
PTX-409    Xactware Product Review Dimensoning Roofs with Aerial              EV032126                     EV032126                 Stevenson Opening     A; F; H; P; R
           Sketch Youtube Video
PTX-410    Xactware Market Intelligence Report                                XW00752666                   XW00752729               Stevenson Opening     F;P;H;R
PTX-411    Xactware Property Insight Features                                 EV031992                     EV031994                 Stevenson Opening     A; H; C; F;P;
                                                                                                                                                          R
PTX-412    Xactware Property [nSight Mass Production Tool, User Guide         XW00127547                   XW00127567               Stevenson Opening     C;F;P; H; R
           Version 3.1.0, 2014
PTX-413    Xactware Property InSight Report, August 28, 2015                  XW00127812                   XW00127821               Stevenson Opening     C;F;H;R
PTX-414    Property In Sight Roof Estimate Report for 5245 Willow Wood        XW00127873                   XW00127873               Stevenson Opening     C;F;H;R
           Drive, Abilene, TX 79606
PTX-415    Property In Sight Roof Estimate Report for 1318 N 15th Street,     XW00127874                   XW00127874               Stevenson Opening     C;F;H;R
           Abilene, TX 79601
PTX-416    Xactware Roof Insight Features                                     EV031997                     EV031998                 Stevenson Opening     A;H; C;F; P;
                                                                                                                                                          R
PTX-417    Xactware RoofinSight Report, September 18, 2013                XWOOl 14187                      XW00114191               Stevenson Opening     C;F;H;R
PTX-418    Xactware Solutions, Inc. Responses to Eagle View Technologies, NIA                              NIA                      Stevenson Opening     H;C;R
           lnc.'s Requests for Admissions (Nos. 1-556), January 12, 2018

PTX-419    Xactware Source Code                                               xwsc 054                     XWSC207                  Stevenson Opening     C; F; H; I; P;
                                                                                                                                                          R
PTX-420    Xactware Source Code                                               xwsc 217                     xwsc 346                 Stevenson Opening     C; F; H; I; P;
                                                                                                                                                          R
PTX-421    Xactware Source Code                                               xwsc 366                     xwsc 645                 Stevenson Opening     C; F; H; I; P;
                                                                                                                                                          R
PTX-422    Xactware Source Code Computer                                      NIA                          NIA                      Stevenson Opening     C;F;P;R
PTX-423    Xactware: Verisk Insurance Solutions Announces Expansion of        EV032079                     EV032081                 Stevenson Opening     A;F;H;R
           Imagery Database, August 4, 2015
PTX-424    File entitled "aerial-sketch.xml" - Description of Aerial Sketch   XWOOOl9220                   XW00019222               Stevenson Opening     A;F;C;R;X

PTX-425    File entitled "aerial-sketch-faq.xml" - Aerial Sketch Frequently   XW00019238                   XW00019240               Stevenson Opening     A;F;C;R;X
           Asked Questions




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PTX-426    Fetchincomplete Instructions                                      XW00035138                   XW00035149               Stevenson Opening                 A;   C; F; H; P;
                                                                                                                                                                     R
PTX-427    GeneratePifAndReport                                              XW00035156                   XW00035160               Stevenson Opening                 A;   C; F; H;P;
                                                                                                                                                                     R
PTX-428    Draft Aerial Sketch W orkflow Manual                              XWOOl 16949                  XWOOl 16961              Stevenson Opening                 A;   C; F; H; P;
                                                                                                                                                                     R
PTX-429    Generated XML File                                                XW00662182                   XW00662204               Stevenson Opening                 A;   C; F; H; P;
                                                                                                                                                                     R
PTX-430    Amendment No. 1 to Master Services Agreement between              EV01553733                   EV01553733               Stevenson Opening; Arnold Opening A;   H; F; R; I
           American Family Insurance and Eagle View Technologies,
           February 28, 2014
PTX-431    Applicad Software and EagleView Technologies Partner for          EV047833                     EV047834                 Stevenson Opening; Arnold Opening A;H;F;R
           Metal Roofing Contracts, January 2011
PTX-432    Eagle View Competitive Analysis                                   EV073227                     EV073273                 Stevenson Opening; Arnold Opening A;H;F;R;P

PTX-433    EagleView Technologies Competitive Analysis                       EV386063                     EV386109                 Stevenson Opening; Arnold Opening A. H; F; R; P

PTX-434    Email Chain from C. Barrow to H. Ellsworth et. al re Most         EV469398                     EV469399                 Stevenson Opening; Arnold Opening A; F; H; I; P;
           Recent secret shopper, December 2, 2011                                                                                                                   R
PTX-435    Email Chain from D. Schultz to H. Ellsworth et. al re Remote      EV047436                     EV047443                 Stevenson Opening; Arnold Opening A; F; H; P; R
           Roof Reports with Competitor Email Responses, November 13,
           2010
PTX-436    Email Chain from J. Lewis to J. Taylor re Goals and Strat docs,   XW00023602                   XW00023602               Stevenson Opening; Arnold Opening H;R
           September 25, 2015
PTX-437    Email Chain from Z. Long to Contractor Support et. al re          EV375843                     EV375845                 Stevenson Opening; Arnold Opening A;H;F;R;P
           Comparison Reports, June 15, 2012
PTX-438    Presentation by Verisk Analytics re Xactware Solutions, Inc.      XW00431832                   XW00431866               Stevenson Opening; Arnold Opening F;H;R
           Quarterly Review (QI 2013)
PTX-439    SkyMeasure Roof Reports                                           EV01553508                   EV01553523               Stevenson Opening; Arnold Opening A;H;F;R

PTX-440    Xactimate 27 Aerial Sketch Workbook                               XW00019870                   XW00019874               Stevenson Opening; Arnold Opening F;H;R

PTX-441    Xactware Monthly Business Review, January 29, 2012                XW00048296                   XW00048366               Stevenson Opening; Arnold Opening F;H;R

PTX-442    Xactware Monthly Business Review, November 22, 2011               XW00110676                   XWOOl 10743              Stevenson Opening; Arnold Opening F;H;R

PTX-443    Eagle View Technologies v. Aerialogics LLC, W. D. Wash. Case EV034405                          EV034405                 Stevenson Opening; Arnold Rebuttal H;P;R
           No. Cl2-6188RAJ, Order of Dismissal



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PTX-444    Rick Weinberg, Eagle View Measurements revolutionizes the         EV01548693                   EV01548700               Stevenson Opening; Arnold Rebuttal A; F; H; P; R
           roofing industry with a unique innovation that saves roofing
           contractors time and money, November IL 2016
PTX-445    Roof InSight Information                                          XWOOOl6150                   XWOOOI6153               Stevenson Opening; Arnold Rebuttal A;F;H;R

PTX-446    Xactware Property InSight "Learn About Structure"                 XW00016183                   XWOOOI6226               Stevenson Opening; Arnold Rebuttal F;H;P;R

PTX-447    Xactware Solutions, Inc.'s Third Supplemental Responses to        NIA                          NIA                      Stevenson Opening; Stevension
           Eagle View Technologies, Inc.'s Third Set oflnterrogatories                                                             Rebuttal
           (Nos. 23-25), February 15, 2018                                                                                                                            H;C;R
PTX-448    All Produced Computers Running the Operational Software           NIA                          NIA                      Stevenson Opening; Stevenson       A;C;F; P; R
                                                                                                                                   Rebuttal
PTX-449    Video of Dr. Stevenson's Computer Screen While Conducting         EV01553749                   EV01553749               Stevenson Opening; Stevenson       A; H; C; F; P;
           EagleView Software Test (Part 5 of 5), March 29, 2018                                                                   Rebuttal                           R

PTX-450    Video of Dr. Stevenson's Computer Screen While Conducting         EV01553806                   EV01553806               Stevenson Opening; Stevenson       A; H; C;F; P;
           Xactimate Software Test (Part 2 of 4), March 15, 2018                                                                   Rebuttal                           R

PTX-451    Eagle View Reference Guide: For Delivery Technicians 3-D          EV000285                     EV000341                 Stevenson Opening;   Stevenson     A;H;F;R
           Aerial Views of the Structure                                                                                           Rebuttal
PTX-452    Render House Reference Guide                                      EV000236                     EV000269                 Stevenson Opening;   Stevenson     A;H;F;R
                                                                                                                                   Rebuttal
PTX-453    Eagle View Reference Guide: Twister 3-D Aerial Views of the       EVOOOI44                     EV000189                 Stevenson Opening;   Stevenson     A;H;F;R
           Structure, October 15, 2008                                                                                             Rebuttal
PTX-454    Eagle View Premium Report RenderHouse, March 29, 2018             EV01553786                   EV01553794               Stevenson Opening;   Stevenson     A;H;F;P;R
                                                                                                                                   Rebuttal
PTX-455    Eagle View Premium Report Twister, March 29, 2018                 EV01553795                   EV01553803               Stevenson Opening;   Stevenson     A; H; F; P;R
                                                                                                                                   Rebuttal
PTX-456    Inventor's Journal, 2007 to Quarter 1 2008                        EV000512                     EV000556                 Stevenson Opening;   Stevenson     A;H;F;C;R
                                                                                                                                   Rebuttal
PTX-457    Inventor's Journal, 2206 to end of 2006, August 2008 to January   EV000451                     EV00051 l                Stevenson Opening;   Stevenson     A;H;F;C;R
           2009                                                                                                                    Rebuttal
PTX-458    Inventor's Journal, Early to Mid 2008                             EV000614                     EV000663                 Stevenson Opening;   Stevenson     A;H;F;C;R
                                                                                                                                   Rebuttal
PTX-459    Inventor's Journal, Mid to Late 2009                              EV000807                     EV000821                 Stevenson Opening;   Stevenson     A;H;F;C;R
                                                                                                                                   Rebuttal




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PTX-460    Verisk Analytics, lnc.'s Second Supplemental Responses to Eagle      NIA                        NIA                      Stevenson Opening; Stevenson
           View Technologies, Inc.'s Second Set oflnterrogatories (Nos. 14-                                                         Rebuttal
           23), February 15, 2018                                                                                                                                  H;C;R
PTX-461    Verisk Analytics, Inc.'s Supplemental Responses to Eagle View        NIA                        NIA                      Stevenson Opening; Stevenson
           Technologies, Inc.'s Second Set oflnterrogatories (Nos. 14-23),                                                          Rebuttal
           January 18, 2018                                                                                                                                        H;C;R
PTX-462    Xactware Solutions, Inc.'s Fifth Supplemental Responses to           NIA                        NIA                      Stevenson Opening; Stevenson
           Eagle Veiw Technologies, Inc.'s First Set oflnterrogatories (Nos.                                                        Rebuttal
           1-21), January 18, 2018                                                                                                                                 H;C;R
PTX-463    Xactware Solutions, Inc.'s Fourth Supplemental Responses to          NIA                        NIA                      Stevenson Opening; Stevenson
           Eagle View Technologies, lnc.'s First Set of Interrogatories (Nos.                                                       Rebuttal
           1-21), December 18, 2017                                                                                                                                H;C;R
PTX-464    Xactware Solutions, Inc.'s Responses to Eagle View                   NIA                        NIA                      Stevenson Opening; Stevenson
           Technologies, Inc.'s Second Set oflnterrogatories (No. 22),                                                              Rebuttal
           November 22, 2016                                                                                                                                       H;C;R
PTX-465    Xactware Solutions, Inc.'s Responses to Eagle View                   NIA                        NIA                      Stevenson Opening; Stevenson
           Technologies, Inc.'s Third Set oflnterrogatories (Nos. 23-25),                                                           Rebuttal
           December 11, 2017                                                                                                                                       H;C;R
PTX-466    Xactware Solutions, Inc.'s Second Supplemental Responses to          NIA                        NIA                      Stevenson Opening; Stevenson
           Eagle View Technologies, Inc.'s First Set oflnterrogatories (Nos.                                                        Rebuttal
           1-21), May 9, 2017                                                                                                                                      H;C;R
PTX-467    Xactware Solutions, Inc.'s Second Supplemental Responses to          NIA                        NIA                      Stevenson Opening; Stevenson
           Eagle View Technologies, Inc.'s Third Set oflnterrogatories                                                              Rebuttal
           (Nos. 23-25), January 18, 2018                                                                                                                          H;C;R
PTX-468    Xactware Solutions, Inc.'s Sixth Supplemental Responses to           NIA                        NIA                      Stevenson Opening; Stevenson
           Eagle View Technologies, Inc.'s First Set of Interrogatories (Nos.                                                       Rebuttal
           l-21), February 15, 2018                                                                                                                                H;C;R
PTX-469    Xactware Solutions, Inc.'s Supplemental Responses to Eagle           NIA                        NIA                      Stevenson Opening; Stevenson
           View Technologies, Inc.'s First Set oflnterrogatories (Nos. 1-21),                                                       Rebuttal
           December 19, 2016                                                                                                                                       H;C;R
PTX-470    Xactware Solutions, Inc.'s Supplemental Responses to Eagle           NIA                        NIA                      Stevenson Opening; Stevenson
           View Technologies, Inc.'s Third Set oflnterrogatories (Nos. 23-                                                          Rebuttal
           25), December 11, 2017                                                                                                                                  H;C;R
PTX-471    Xactware Solutions, Inc.'s Third Supplemental Responses to           NIA                        NIA                      Stevenson Opening; Stevenson
           Eagle View Technologies, Inc.'s First Set of Interrogatories (Nos.                                                       Rebuttal
           1-21 ), September 1, 2017                                                                                                                               H;C;R




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PTX-472    Thomson Reuters Edited Transcript - Verisk Analytics Inc to       EV01548660                  EV01548683               Stevenson Opening; Stevenson       A; C; F; H;P;
           Acquire Eagle View Technology Corporation, January 15, 2014                                                            Rebuttal; Arnold Opening           R

PTX-473    United States Patent No. 8,078,436 Ex Parte Reexamination File EV032127                       EV033457                 Stevenson Opening; Stevenson
           History                                                                                                                Rebuttal; Arnold Opening; Arnold
                                                                                                                                  Rebuttal
PTX-474    U.S. Provisional Appl. No. 121364,506, February 2, 2009           XW00941700                  XW00941972               Stevenson Rebuttal
PTX-475    U.S. Provisional Appl. No. 61/025,431, February 1, 2008           XW00942096                  XW00942209               Stevenson Rebuttal
PTX-476    U.S. Provisional Appl. No. 61/047,086, April 22, 2008             XW00942210                  XW00942268               Stevenson Rebuttal
PTX-477    Document Describing Automation of Portions of EV Workflow         EV366804                    EV36681 l                Stevenson Rebuttal                 A; F; H; P; R

PTX-478    Eagle View Reference Guide: For Measuring Technicians 3-D         EV000049                    EV000083                 Stevenson Rebuttal                 A;H;F;R
           Aerial Views of the Structure, June 12, 2008
PTX-479    Eagle View Source Code Computer                                   NIA                         NIA                      Stevenson Rebuttal                 A;C;F;P;R

PTX-480    Patent Owner's Preliminary Response (Paper 11 ), May 17, 2016,    EV01554006                  EV01554071               Stevenson Rebuttal                 R; P; C; MIL
           (IPR2016-00582)
PTX-481    Non-Instituted Decision (Paper 15), August 16, 2016, (IPR 2016-   EV01554072                  EV01554079               Stevenson Rebuttal                 R;P; C; MIL
           00582)
PTX-482    Second Corrected Petition (Paper 10), April 8, 2016, (IPR2016-    EV01554080                  EV01554141               Stevenson Rebuttal                 R;P; C; MIL
           00586)
PTX-483    Patent Owner's Preliminary Response (Paper 11 ), May 17, 2016,    EV01554142                  EV01554214               Stevenson Rebuttal                 R; P; C;MIL
           (IPR2016-00586)
PTX-484    Non-Instituted Decision (Paper 15), August 16, 2016, (IPR2016-    EV01554215                  EV01554228               Stevenson Rebuttal                 R; P; C; MIL
           00586)
PTX-485    Patent Owner's Preliminary Response (Paper 11 ), May 17, 2016,    EV01554229                  EV01554232               Stevenson Rebuttal                 R;P; C; MIL
           (IPR2016-00587)
PTX-486    Non-Instituted Decision (Paper 14), August 15, 2016, (IPR2016-    EV01554233                  EV01554245               Stevenson Rebuttal                 R;P; C; MIL
           00587)
PTX-487    Final Written Decision (Paper 43), August 14, 2017, (IPR2016-     EV01554246                  EV01554277               Stevenson Rebuttal                 R;P; C;MIL
           00589)
PTX-488    Corrected Petition (Paper 5), February 23, 2016, (IPR2016-        EV01554278                  EV01554324               Stevenson Rebuttal                 R; P; C; MIL
           00589)
PTX-489    Patent Owner's Response (Paper 30), November 14, 2016,            EV01554325                  EV01554405               Stevenson Rebuttal                 R; P; C; MIL
           (IPR2016-00590)
PTX-490    Final Written Decision (Paper 41), August 14, 2017 (IPR2016-      EV01554406                  EV01554426               Stevenson Rebuttal                 R; P; C; MIL
           00590)




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PTX-491    Patent Owner's Response (Paper 31), November 16, 2016, (IPR        EV01554427                  EV01554508               Stevenson Rebuttal     R;P; C; MIL
           2016-00592)
PTX-492    Final Written Decision (Paper 50), August 25, 2017, (IPR2016-      EV01554509                  EV01554545               Stevenson Rebuttal     R; P; C; MIL
           00592)
PTX-493    Patent Owner's Preliminary Response (Paper 16), January 19,        EV01554546                  EV01554620               Stevenson Rebuttal     R;P; C; MIL
           2017, (IPR2016-0l 775)
PTX-494    Decision Denying Institution (Paper 21), April 18, 2017,           EV01554621                  EV01554628               Stevenson Rebuttal     R;P; C; MIL
           (IPR2016-01775)
PTX-495    Patent Owner's Preliminary Response (Paper 8), October 26,         EV01554629                  EV01554704               Stevenson Rebuttal     R; P; C; MIL
           2016 (IPR2017-00021)
PTX-496    Decision Denying Institution (Paper 9), April 14, 2017, (IPR2017   EV01554705                  EV01554716               Stevenson Rebuttal     R; P; C; MIL
           00021)
PTX-497    Patent Owner's Preliminary Response (Paper 8), January 18,         EV01554717                  EV01554793               Stevenson Rebuttal     R; P; C; MIL
           2017, (IPR2017-00025)
PTX-498    Decision Denying Institution (Paper 9), April 13, 2017, (IPR2017   EV01554794                  EV01554806               Stevenson Rebuttal     R;P; C; MIL
           00025)
PTX-499    Patent Owner's Preliminary Response (Paper 8), January 23,         EV01554807                  EV01554883               Stevenson Rebuttal     R;P; C; MIL
           2017, (IPR2017-00027)
PTX-500    Decision Denying lnsitution (Paper 9), April 19, 2017, (IPR2017-   EV01554884                  EV01554896               Stevenson Rebuttal     R;P; C; MIL
           00027)
PTX-501    Patent Owner's Preliminary Response (Paper 8), April 21, 2017,     EV01554897                  EV01554971               Stevenson Rebuttal     R; P; C; MIL
           (IPR2017-00363)
PTX-502    Decision Denying Insitution (Paper 9), July 18, 2017, (IPR2017-    EV01554972                  EV01555046               Stevenson Rebuttal     R; P; C; MIL
           00363)
PTX-503    Eagle View Technologies and Pictometry International Announce      EV618404                    EV618406                 Stevenson Rebuttal     A;H;F;R
           Merger, January 7, 2013
PTX-504    Email Chain from D. Schultz to C. Barrow re RenderHouse            EV043776                    EV043777                 Stevenson Rebuttal     A;H;F;R
           Update Procedure, October 21, 2008
PTX-505    Greentech Media, Struggling Sungevity Lays Off Workers after       EV01553423                  EV01553425               Stevenson Rebuttal     A;F;H;P; R
           Merger Fa11s Through, February 18, 2017
PTX-506    Greentech Media, Sungevity Cuts Staff by Two-Thirds as             EV01553426                  EV01553427               Stevenson Rebuttal     A;F;H;P;R
           Downward Spiral Continues, March 9, 2017
PTX-507     Greentech Media, Sungevity Declares Bankruptcy, Sells Assets,     EV01553432                  EV01553433               Stevenson Rebuttal     A;F; H;P; R
            Gains up to $20M to Continue 'Uninterrupted' Operations, March
            14,2017
PTX-508     Greentech Media, The Sungevity Saga: Is This Any Way to Run       EVOl553440                  EV01553442               Stevenson Rebuttal     A; F; H; P; R
            a Bankruptcy?, April 3, 2017




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PTX-509    Inventor's Journal, 2008 to Early 2009                               EV000557                      EV000598                 Stevenson Rebuttal                 A;H; F; C; R

PTX-510    Inventor's Journal, Early 2008 Quarter I and 2                       EV000599                      EV000613                 Stevenson Rebuttal                 A;H;F;C;R

PTX-511    Jennifer Alsever, One small company reinvents a $30 billion          EV01548686                    EV0\548687               Stevenson Rebuttal                 A;F; H; P; R
           market, December 9, 2011
PTX-512    Markman Order Opinion, Dkt. 332, December 7, 2017                    NIA                           NIA                      [Cohen, Geoff A. Ph.D. Ex. 7];     p
                                                                                                                                       [Mundy Ph.D., Joseph 2018-06-22
                                                                                                                                       Ex. 8]; Stevenson Rebuttal
PTX-513    Roof Consultants Utilize Aerial Measurement Technology to            EV0\548688                    EV01548692               Stevenson Rebuttal                 A; F;H; P; R
           Provide Expert Service
PTX-514    San Francisco Chronicle, Dark cloud for workers, customers;          EV01553443                    EV01553445               Stevenson Rebuttal                 A;F;H;P;R
           Sungevity's bankruptcy filing creates uncertainty as Oakland
           solar company moves to reorganize; Sungevity's messy solar
           bankruptcy leaves customers on the book, April 16, 2017

PTX-515    The Wall Street Journal, Sungevity Commences Chapter 11               EV01553430                   EV01553431               Stevenson Rebuttal                 A; F; H; P; R
           Proceedings, March 14, 2017
PTX-516    The Wall Street Journal, Sungevity Hit with Lawsuit Over Mass         EV01553434                   EV01553435               Stevenson Rebuttal                 A;F; H;P; R
           Layoff; Suit against the home solar energy provier seeks pay and
           benefits for 300 people, March 14, 2017
PTX-517    United States Patent Application No. 12/148439 (U.S. 8,145,578        EV01548718                   EV01549542               Stevenson Rebuttal                 A;H;R;P
           File History)
PTX-518    Xactware, Eagle View and Xactware team up to revolutionize            EV0\548654                   EV01548655               Stevenson Rebuttal; Arnold Opening A;H;F;R
           dimensoning, March 2, 2009
PTX-519    Email Chain from G. Willis to B. Holton et. al re Roofing             EV551970                     EV551971                 Stevenson Rebuttal; Arnold          A;F;H; P;R
           Review, October 16, 2014                                                                                                    Opening; Arnold Rebuttal
PTX-520    John Tozzi, EagleView's Software Measures Rooftops with               EV01548684                   EV01548685               Stevenson Rebuttal; Arnold Rebuttal A;F;H; P;R
           Photos from the Sky, December 8, 2011
PTX-521    Xactware Webcasts: Viewing Roofs Whole New Way Roof                   XW00019263                   XW00019263               [Fulton, Mike Ex. 11]; Stevenson   A;F;H;R
           InSight                                                                                                                     Opening; Arnold Rebuttal
PTX-522    Xatware Aerial Sketch 2 Hour Course Outline                           XW00019861                   XW00019862               [Fulton, Mike Ex. 12]; Stevenson   A; C; F; H; P;
                                                                                                                                       Opening                            R
PTX-523    Aerial Sketch-Manual                                                  NIA                          NIA                      [Fulton, Mike Ex. 13]              A;F;H;R;P

PTX-524    Aerial Sketch Roof Estimate Report                                    XW00043891                   XW00043895               [Fulton, Mike Ex. 14]; Stevenson   H;R
                                                                                                                                       Opening




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PTX-525    Aerial Sketch v.2, January 10, 2012                               XW00043866                   XW00043890               [Fulton, Mike Ex. 15]; Stevenson   H;R
                                                                                                                                   Opening
PTX-526    Email Chain from J. Loveland to M. Fulton re Quality and Org      XWOOl 10168                  XW00110170               [Fulton, Mike Ex. 16]              H;R
           Chart and Summary, April 6, 2014
PTX-527    Email from W. Raichle to M. Fulton et al. re Verisk/EVT, April    XW00357858                   XW00357859               [Fulton, Mike Ex. 17]              R;P;C;H
           18, 2016
PTX-528    Email Chain from W. Raichle to M. Fulton re SMC Agenda,           XW00094995                   XW00094997               [Fulton, Mike Ex. 18]              R;C;H
           April 13, 2015
PTX-529    Email Chain from C. Hopper to M. Fulton et al. re EVT/PI          XW00115458                   XWOOl 15460              [Fulton, Mike Ex. 19]              R;P;C
           package comparison, August 19, 2015
PTX-530    Five Year Strategy Geospatial & Pricing Solutions, September      XW00023603                   XW00023664               [Fulton, Mike Ex. 4]; [Taylor, Jeff H;R;P
           2015                                                                                                                    Ex. 16]; Stevenson Opening; Arnold
                                                                                                                                   Opening; Arnold Rebuttal
PTX-531    Email Chain from M. Fulton to T. McKeon et. al re Eagle View      XW00345961                   XW00345965               [Fulton, Mike Ex. 5]; Arnold       H;R
           setting, April 25, 2016                                                                                                 Opening; Arnold Rebuttal
PTX-532    Xactware Property Insight Product Marketing Plan 2015             XW00016132                   XW00016141               [Fulton, Mike Ex. 6]; Arnold       H;R
                                                                                                                                   Opening
PTX-533    Email Chain from J. Taylor to M. Fulton re Germania and           XW00351032                   XW00351033               [Fulton, Mike Ex. 7]               H;R
           Roof/Property InSight, May 21, 2016
PTX-534    Email Chain from M. Fulton to R. Johnson re EVT sales talking     XW00357620                   XW00357620               [Fulton, Mike Ex. 8]; Arnold       H;R
           points, July 15, 2016                                                                                                   Opening; Arnold Rebuttal
PTX-535    Verisk Analytics, Acquisition of Eagle View Technology Corp,      EV01548702                   EV01548717               [Fulton, Mike Ex. 9]; Stevenson    A; F; H; R;P
           January 15, 2014                                                                                                        Opening; Stevenson Rebuttal;
                                                                                                                                   Arnold Opening; Arnold Rebuttal
PTX-536    Opportunity Assessment of Eagle View Technologies, May 9,         XW00214588                   XW00214600               [Green, Philip Ex. 3]; Arnold      H;R; I
           2012                                                                                                                    Opening; Arnold Rebuttal


PTX-537    Presentation by Verisk re Analytics Board of Directors            XW00361468                   XW00361567               [Green, Philip Ex. 4]              R;P;C;H
           Presentation, November 13, 2013
PTX-538    MetLife EagleView Relationship Proposal, July 28, 2017            METR0-0000129                METR0-0000130            [Levin, Matthew Ex. 10]            A;F;H;R
PTX-539    Email Chain from Geomni Support to R. Young et. al re How do      METR0-0002134                METR0-000213 7           [Levin, Matthew Ex. 11]            A;F;H;R;C
           we order Geonomi Wall Reports, June 15, 2017
PTX-540    Email Chain from D. Jettie to R. Young et. al re Automated Roof   METR0-0002720                METR0-0002721            [Levin, Matthew Ex. 12]            A;F;H;R
           Reports, March 17, 2015
PTX-541    Email Chain from R. Young to H. West et. al re Eagle View         METR0-0001975                METR0-0001977            [Levin, Matthew Ex. 13]            A;F;H;R
           Invoices and Pricing, December 15, 2016




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PTX-542    Sixth Amendment to Master Product License Agreement between METR0-0001953                     METR0-0001959            [Levin, Matthew Ex. 14]              A; F; H; R; I
           Xactware Solutions and Metropolitan Property and Casualty
           Insurance Company, March 24, 2006
PTX-543    Email Chain from E. Valente to M. Levin et. al re MetLife and METR0-0002213                   METR0-0002216            [Levin, Matthew Ex. 15]              A;F;H;R
           Xactware Roof and Property Insight, November 29, 2016

PTX-544    Email Chain from R. Young to G. Gunner et. al re Eagle View   METR0-0000064                   METR0-0000064            [Levin, Matthew Ex. 16]              A;F;H;R
           SOW, June 23, 2016
PTX-545    Statement of Work No. 2 between Eagle View Technologies and METR0-0000065                     METR0-0000068            [Levin, Matthew Ex. 17]              A;F;H;R
           Metropolitan Property & Casualty Insurance Company, January
           30,2012
PTX-546    Email Chain from J. Das to M. Tori et. al re Property Insight METR0-0002432                   METR0-0002432            [Levin, Matthew Ex. 18]              A;F;H;R
           Comparison Exterior Elevation Measurements, March 2, 2015

PTX-547    Email Chain from R. Young to Geomni Support et. al re Geomni    METR0-0002346                 METR0-0002348            [Levin, Matthew Ex. 19]              A;F;H;R
           Report, June 13, 2017
PTX-548    Statement of Work No. 3 Issued bteween MetLife and Eagle        METR0-0003132                 METR0-0003136            [Levin, Matthew Ex. 2]               A; F; H; R; I
           View, January 30, 2012
PTX-549    Eagle View - MetLife Executive Activity Summary                 METR0-0003163                 METR0-0004932            [Levin, Matthew Ex. 3]               A;F;H;R
PTX-550    Amendment No. I to Statement of Work No. 3, January 30, 2012    METR0-0002911                 METR0-0002911            [Levin, Matthew Ex. 4]               A;F;H;R

PTX-551    3rd Addendum to Xactware Master Product License Agreement       METR0-0002995                 METR0-0003001            [Levin, Matthew Ex. 5]               A; F; H; R; I
           with MetLife
PTX-552    MetLife Usage from June 1, 2017 to June 30, 2017                METR0-0002507                 METR0-0002509            [Levin, Matthew Ex.   6]             A;F;H;R
PTX-553    Email from M. Tori to M. Levin et. al re Exterior Elevations    METR0-0002153                 METR0-0002153            [Levin, Matthew Ex.   7]; Arnold     A;F;H;R
           Comparison, June 8, 2015                                                                                               Rebuttal
PTX-554    Comparison of EV and Pictometry Reports                          METR0-0002154                METR0-0002155            [Levin, Matthew Ex.   8]; Arnold     A;F;H;R
                                                                                                                                  Rebuttal
PTX-555    Email Chain from R. Young to J. Hathaway re MetLife              METR0-0000128                METR0-0000128            [Levin, Matthew Ex.   9]             A;F;H;R
           Eagle View Relationship Proposal, July 31, 2017
PTX-556    Aerial Sketch Mass Production, January 18, 2013                  XWOOl 13326                  XWOOl 13333              [Lewis, Jeffrey Ex. 10]; Stevenson   H;R
                                                                                                                                  Opening
PTX-557    Property Insight Mass Production Tool User Guide - Version       XW00124978                   XW00125129               [Lewis, Jeffrey Ex. 11 ]; [Olson,    H;R
           3.1.0,2014                                                                                                             Peter Magnus Ex. 3]; Stevenson
                                                                                                                                  Opening
PTX-558    Email Chain from J. Lewis to D. Harris et al. re Pictometry      XW00302497                   XW00302500               [Lewis, Jeffrey Ex. 12]; [Taylor, Jeff R;P;C;H
           Images can create automatic roof measurements, April 10, 2008                                                          Ex. l]; Arnold Opening; Arnold
                                                                                                                                  Rebuttal



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PTX-559    Presentation from Xactware re Property Insight Mass Production XW00052019                      XW00052028               [Lewis, Jeffrey Ex.   13]; Stevenson   H;R
           Tool User Guide-Demo I, July 2013                                                                                       Opening
PTX-560    Property Insight Mass Production Tool - What's New?            NIA                             NIA                      [Lewis, Jeffrey Ex.   14]              H;R
PTX-561    Geomni Data Package Client - What's New? Version 5.4           XW00939970                      XW00939978               [Lewis, Jeffrey Ex.   15]; Stevenson   H;R
                                                                                                                                   Opening
PTX-562    Email from J. Lewis to J. Taylor et. al re Eagle View             XW00302472                   XW00302472               [Lewis, Jeffrey Ex.   3]               R;P;C;H
           Meeting/Info, December 9, 2008
PTX-563    Email Chain from C. Pershing to J. Lewis et. al re Eagle View     XW00301677                   XW00301678               [Lewis, Jeffrey Ex. 4]                 H;R
           Agenda, January 9, 2009
PTX-564    Email from W. Barnes to D. Luse et al. re Conference Call         XW00699757                   XW00699758               [Lewis, Jeffrey Ex. 6]                 H;R
           Agenda and attached Conference Call Agenda, July 15, 2009

PTX-565    Email from W. Barnes to J. Keane et al. re EagleView/Xactware XW00699759                       XW00699760               [Lewis, Jeffrey Ex. 7]                 H;R
           Integration Project Minutes, July 15, 2009

PTX-566    Meeting Notification re Discuss what information Chuck knows      XW00040506                   XW00040506               [Lewis, Jeffrey Ex. 8]                 R;P;C;H
           about EVT
PTX-567    Email Chain from J. Lewis to W. Wang et. al re R&D Position       XW00229533                   XW00229536               [Lewis, Jeffrey Ex. 9]                 R;P;C;H

PTX-568    Email Chain from J. Loveland to E. Webecke et. al re Eagle View   XW00288969                   XW00288978               [Loveland, James Ex. I]                R;P;C;H
           and Xactware, August 3, 2010
PTX-569    Email from J. Loveland to S. Stephenson et. al re Materials for   XWOOil7056                   XWOOl 17056              [Loveland, James Ex. 10]               R;P;C;H
           Our Strategic Planning Session, October 13, 2014
PTX-570    Xactware Global Presentation                                      XW00117104                   XWOOI 17136              [Loveland, James Ex. 11]               H;R
PTX-571    Email Chain from J. Loveland to E. Webecke re Eagle View          XW00082757                   XW00082758               [Loveland, James Ex. 2]                R;P;C;H
           Xactware Agreement, Septerrnber 4, 2012
PTX-572    Presentation by Verisk Analytics re Aerialogics, February 8,      XW00078552                   XW00078558               [Loveland, James Ex. 3]; Stevenson     R;P;C;H
           2013                                                                                                                    Opening; Arnold Opening

PTX-573    Email Chain from A. Bayman to J. Loveland et. al re Eagleview     XW00078362                   XW00078363               [Loveland, James Ex. 4]                R;P;C;H
           and RoofWalk Patent Infringement, April 5, 2012

PTX-574    Email from J. Loveland to E. Webecke re Eagle View, April 5,      XWOOl 17253                  XWOOl 17255              [Loveland, James Ex. 5]; Stevenson     R;P;C;H
           2012                                                                                                                    Opening; Webecke Dep Kit

PTX-575    Email Chain from E. Webecke to J. Loveland re Google Alert        XW00089626                   XW00089627               [Loveland, James Ex. 6]; Stevenson     R;P;C;H
           Eagle View, December 8, 2011                                                                                            Opening




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PTX-576    Email Chain from J. Loveland to E. Webecke et. al re our          XW00241313                    XW00241315               [Loveland, James Ex. 7]; Stevenson R;P;C;H
           negotation, August 31, 2015                                                                                              Opening
PTX-577    Email Chain from J. Loveland to A. Boyman et. al re Aerial        XW00241595                    XW00241598               [Loveland, James Ex. 8]            H;R
           Volume Updates, December 5, 2013
PTX-578    Email Chain from J. Loveland to S. Stephenson et. al re Materials XW00109938                    XW00109940               [Loveland, James Ex. 9]           H;R
           for our Strategic Planning Session, October 13, 2014

PTX-579    Petition for Inter Partes Review of U.S. Patent No. 8,170,840        NIA                        NIA                      [Mundy Ph.D., Joseph 2018-06-22   R; P; C; MIL
                                                                                                                                    Ex. 4]
PTX-580    Petition for Inter Partes Review of U.S. Patent No. 8,825,454        NIA                        NIA                      [Mundy Ph.D., Joseph 2018-06-22   R;P;C;MIL
                                                                                                                                    Ex. 5]
PTX-581    Exhibit 1007 in IPR of U.S. Patent 8,170,840 Declaration of          NIA                        NIA                      [Mundy Ph.D., Joseph 2018-06-22   R; P; C;MIL
           Harold Schuch                                                                                                            Ex. 6]
PTX-582    Email Chain from A. Hanson to M. Olson et. al re Phrase for          XW00300017                 XW00300026               [Olson, Peter Magnus Ex. I]       H;R
           Consultancy Contract, July 5, 2012
PTX-583    Email from M. Olson to J. Taylor et. al re First stab at analyzing   XW00221 I 15               XW00221131               [Olson, Peter Magnus Ex. 10]      H;R;P;C
           Pictometry's patents and how these may affect Xactware,
           December 7, 2012
PTX-584    Email Chain from M. Olson to J. Taylor et. al re Google Alert -      XW00222868                 XW00222869               [Olson, Peter Magnus Ex. 11];     H;R;P;C
           Pictometry, August 2, 2012                                                                                               Stevenson Opening
PTX-585    Email Chain from J. Aguilera to M. Olson et. al re Google Alert -    XW00222866                 XW00222867               [Olson, Peter Magnus Ex. 12]      H;R;P;C
           Pictometry, August 2, 2012
PTX-586    Email from M. Olson and J. Taylor re Additional Revenue              XW00300117                 XW00300124               [Olson, Peter Magnus Ex. 13]      H; R
           Streams Oct-12, October 2, 2012
PTX-587    Email Chain from M. Olson to J. Lewis re RI-VS-EV Returns,           XW00226038                 XW00226039               [Olson, Peter Magnus Ex. 14]      H;R
           July 2, 2015
PTX-588    Email from M. Olson to J. Taylor et. al re Analysis ofEVT            XW00039157                 XW00039164               [Olson, Peter Magnus Ex. 15]      H;R;P;C
           Coverage
PTX-589    Email Chain from M. Olson to D. Graff et. al re Mercury File         XW00226046                 XW00226057               [Olson, Peter Magnus Ex. 16]      H;R
           NYCl6955, Insured: Luis Teran, July 17, 2015
PTX-590    Email Chain from M Olson to J. Taylor re Your Phone, July 10,        XW00219685                 XW00219686               [Olson, Peter Magnus Ex. I 7]     H;R
           2012
PTX-591    Presentation from Xactware re Property InSight Production Tool       XW00051063                 XW00051071               [Olson, Peter Magnus Ex. 2]       H;R
           User Guide - Demo 1, October 2013
PTX-592    Property InSight Mass Production Tool User Guide Version 3.1.0       XWOOl81263                 XW00181271               [Olson, Peter Magnus Ex. 4];      H;R
           -Annex 1 Workflow, 2014                                                                                                  Stevenson Opening
PTX-593    Property InSight Mass Production Tool User Guide - Version           XW00124970                 XW00124977               [Olson, Peter Magnus Ex. 5];      H;R
           3.1.0 Annex 6 Roof Model, 2014                                                                                           Stevenson Opening



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PTX-594    Email Chain from D. Graff to A. Godino et. al re Pl inouse             XW00067683                 XW00067685               [Olson, Peter Magnus Ex. 6]          H;R
           Preeliminary results
PTX-595    Email from A. Godino to M. Olson et. al re Efficiency Trends           XW00033745                 XW00033775               [Olson, Peter Magnus Ex. 7];         H;R
           Report, July 28, 2015                                                                                                      Stevenson Opening
PTX-596    Professional Service Agreement between Hartford and Eagle              HARTFORD 000012            HARTFORD 000029          [Pawlik, Jason Ex. B]                A;F;H;R
           View Technologies, August I, 2013
PTX-597    Amendment No. I to Professional Service Agreement, August I,           HARTFORD_00000 I           HARTFORD 000004          [Pawlik, Jason Ex. C]                A; F; H; R; I
           2016
PTX-598    Amendment No. 2 to Professional Service Agreement, August              HARTFORD 000005            HARTFORD 000011          [Pawlik, Jason Ex. D]                A; F; H; R; I
           10,2017
PTX-599    Email from S. Parkin to K. Strychalski et. al re Roof In Sight Pilot   HARTFORD 001115            HARTFORD 001117          [Pawlik, Jason Ex. E]                A;F;H;R
           Agreement, December 7, 2015
PTX-600    Verisk Pricing Proposal                                                HARTFORD 000492            HARTFORD 000504          [Pawlik, Jason Ex. F]                A;F;H;R
PTX-601    Email Chain from J. Lowry to J. Pawlik re Xact Roof and                HARTFORD 001711            HARTFORD 001713          [Pawlik, Jason Ex. G]                A;F;H;R
           Property Insight, August 11, 2016
PTX-602    Email Chain from J. Pawlik to S. McCauley et. al re Xactware           HARTFORD 001714            HARTFORD 001717          [Pawlik, Jason Ex. H]; Arnold        A;F;H;R
           Strategy, September 19, 2016                                                                                               Opening
PTX-603    Email Chain from J. Pawlik to J. Pelletier re Xact Roof and            HARTFORD 001704            HARTFORD 001710          [Pawlik, Jason Ex. I]; Arnold        A;F;H;R
           Property Insight final data, October 21, 2016                                                                              Opening
PTX-604    Software License, Data Subscription and ASP Services                   HARTFORD_001788            HARTFORD 001826          [Pawlik, Jason Ex. J]; Stevenson     A;F;H;R
           Agreement between Hartford Fire Insurance Company and                                                                      Opening
           Xactware Inc., February 14, 2005
PTX-605    Email from S. Parkin to J. Pelletier re The Hartford 5th               HARTFORD 000714            HARTFORD 000727          [Pawlik, Jason Ex. K]                A;F;H;R
           Amendment, December 28, 2016
PTX-606    Email Chain from J. Pawlik to J. Pelletier et. al re Geomni Aerial     HARTFORD 001679            HARTFORD 001680          [Pawlik, Jason Ex. M]                A;F;H;R
           Imagery orders, August 29, 2017
PTX-607    The Hartford Usage from 2/112017 to 212812017                          HARTFORD 001916            HARTFORD 001919          [Pawlik, Jason Ex. N]                A;F;H;R
PTX-608    Aerial Sketch Roof Property Requests from 2012 to 2017                 XW0038751 l                XW00387511               [Taylor, Jeff Ex. 11 ]; Arnold
                                                                                                                                      Opening

PTX-609    Financial Report re Customers, 2011-2017                               XW00938484                 XW00938484               [Taylor, Jeff Ex.   12]; Arnold
                                                                                                                                      Opening
PTX-610    XW Aerial Sketch 2012 Monthly Actual Expense                           NIA                        NIA                      [Taylor, Jeff Ex.   13]; Arnold
                                                                                                                                      Opening
PTX-611    Jeff Taylor's Aerial Imagery Notes                                     NIA                        NIA                      [Taylor, Jeff Ex.   14]
PTX-612    Agreement for Mass Production Services between Geomni and              XW00345987                 XW00345993               [Taylor, Jeff Ex.   15]; Stevenson   H; R
           Vastech Corp., May I, 2016                                                                                                 Opening




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PTX-613    Email Chain from K. Crandall to J. Taylor re Aerial Sketch Roof XWOO!l4128                     XW00! 14128              [Taylor, Jeff Ex. 17]; Stevenson    H;R
           Reports                                                                                                                 Opening; Stevenson Rebuttal;
                                                                                                                                   Arnold Opening
PTX-614    Email Chain from J. Taylor to D. Luse re Preliminary time scope   XW00285428                   XW00285433               [Taylor, Jeff Ex. 18]               H;R
           ofpictometry in XM8, June 30, 2010
PTX-615    Email Chain from J. Taylor to J. Loveland et. al re Roofing       XW003566!2                   XW00356613               [Taylor, Jeff Ex. 5]; Stevenson   H;R
           Estimates in 2007, May 14, 2008                                                                                         Opening; Stevenson Rebuttal
PTX-616    Email Chain from J. Lewis to C. Pershing et. al re Eagle View     XW00302467                   XW00302468               [Taylor, Jeff Ex. 6]; Stevenson   H;R
           Agenda, January 7. 2009                                                                                                 Opening
PTX-617    Email from J. Taylor to J. Loveland et. al re Roof Pictometry     XW00285398                   XW00285412               [Webecke, Edmund Ex. 10];         R;P;C;H
           Internal Design Powerpoint, June 30, 2010                                                                               Stevenson Opening; Arnold Opening

PTX-618    Presentation by Verisk Analyitcs re Xacwater Solutions            XW00082674                   XW00082708               [Webecke, Edmund Ex. 11]            H;R
           Quarterly Review (Q4 2011)
PTX-619    Presentation by Verisk Analyitcs re Xacwater Solutions            XW00081468                   XW00081501               [Webecke, Edmund Ex. 12];         R;P;C;H
           Quarterly Review (QI 2012)                                                                                              Stevenson Opening
PTX-620    Xactware Project Aerial "Market Intelligence Report" Property     XW00055847                   XW00055910               [Webecke, Edmund Ex. 13];         H;R
           InSight Division perspective, Property InSight v0.7 2013                                                                Stevenson Opening; Arnold Opening

PTX-621    Email from E. Webecke to J. Loveland re EagleView FUD at    XW00394545                         XW00394546               [Webecke, Edmund Ex. 14];         H;R
           Travelers, March 9, 2012                                                                                                Stevenson Opening
PTX-622    Email from E. Webecke to J. Loveland re Combined Project    XW00091059                         XW00091096               [Webecke, Edmund Ex. 15];         H;R
           Overview and Update Jan 16 2013 and attached PowerPoint,                                                                Stevenson Opening; Arnold Opening
           January 16, 2013
PTX-623    Eagle View Technologies Opportunity Assessment, May 9, 2012 XW00090212                         XW00090223               [Webecke, Edmund Ex. 16];           H; P; 105
                                                                                                                                   Stevenson Opening; Stevenson
                                                                                                                                   Rebuttal; Arnold Opening; Arnold
                                                                                                                                   Rebuttal
PTX-624    Thomson Reuters Streetevents Edited Transcript Verisk             XW00097336                   XW00097359               [Webecke, Edmund Ex. 17];           A;F; R; P; C;
           Analytics Inc to Acquire Eagle View Technology Corporation,                                                             Stevenson Opening; Stevenson        H
           January 15, 2014                                                                                                        Rebuttal; Arnold Opening; Arnold
                                                                                                                                   Rebuttal
PTX-625    Email Chain from C. Burt to M. Fulton et. al re Pictometry        XW00302440                   XW00302444               [Webecke, Edmund Ex. 2]; [Fulton,   H;R
           images can create automatic roof measurements, April 20, 2008                                                           Mike Ex. 10]; Stevenson Opening;
                                                                                                                                   Arnold Opening
PTX-626    Email Chain from J. Taylor to C. Burt et. al re Pictometry images XW00356606                   XW00356610               [Webecke, Edmund Ex. 3]; [Taylor,   H;R
           can create automatic roof measurements, April 17, 2008                                                                  Jeff Ex. 2]; Stevenson Opening;
                                                                                                                                   Stevenson Rebuttal



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PTX-627    Email Chain from C. Hyland to J. Taylor et. al re Xactware -      XW00302391                    XW00302393               [Webecke, Edmund Ex. 4]; [Taylor,       H;R
           Eagle View research, May 7, 2008                                                                                         Jeff Ex. 4]; Stevenson Opening

PTX-628    Email Chain from K. Agrelius to David et. al re Thursday          XW00302421                    XW00302422               [Webecke, Edmund Ex. 5]; [Taylor,       H;R
           Meeting, April 23, 2008                                                                                                  Jeff Ex. 3]; Stevenson Opening;
                                                                                                                                    Arnold Opening; Arnold Rebuttal

PTX-629    Email Chain from C. Pershing to J. Taylor et. al re Sample data   XW00302398                    XW00302399               [Webecke, Edmund Ex. 6];                H;R
           format, April 25, 2008                                                                                                   Stevenson Opening
PTX-630    Email Chain from J. Taylor to R. Johnson et. al re Demo of        XW0035661 l                   XW00356611               [Webecke, Edmund Ex. 7];                H;R
           Whitegold Solutions, May 7, 2008                                                                                         Stevenson Opening; Stevenson
                                                                                                                                    Rebuttal
PTX-631    Email Chain from B. Carroll to B. Jackman et. al re Eagle View,   XW0030I687                    XW00301688               [Webecke, Edmund Ex. 8];                H;R
           May 20, 2008                                                                                                             Stevenson Opening; Arnold
                                                                                                                                    Opening; Arnold Rebuttal
PTX-632    Email Chain from C. Pershing to J. Taylor et. al re Thanks for    XW00301674                    XW0030I675               [Webecke, Edmund Ex. 9]; [Lewis,        H;R
           visiting today, January 15, 2009                                                                                         Jeffrey Ex. 5]; [Taylor, Jeff Ex. 7];
                                                                                                                                    Stevenson Opening
PTX-633    Amended and Restated Project Addendum between USAA and         XW00940930                       XW00940943               [Allen, Michael Ex. 2]                  H; R; I
           Xactware, July 21, 2017
PTX-634    "Lidar 10 I: An Introduction to Lidar Technology, Data, and    EV01555047                       EV01555054               Stevenson Rebuttal                      H;R
           Applications," National Oceanic and Atmospheric Administration
           (NOAA) Coastal Services Center, November 2012

PTX-635    Exhibit la (Corrected) of Jonathan Arnold Opening Expert          NIA                           NIA                      Arnold Opening                          H;C;P
           Report (Eagle View Technologies, Inc., Unit Sales, Revenue, and
           Average Sales Price, Roof Report Sales to Insurers)

PTX-636    Exhibit 1b (Corrected) of Jonathan Arnold Opening Expert          NIA                           NIA                      Arnold Opening                          H;C;P
           Report (Eagle View Technologies, Inc., Unit Sales, Revenue, and
           Average Sales Price, Roof Report Sales to Insurers and
           Contractors)
PTX-637    Exhibit 2 of Jonathan Arnold Opening Expert Report (Impact of     NIA                           NIA                      Arnold Opening                          H;C;P
           Price Pressure from Geomni on Eagle View Roof Report
           Revenue)
PTX-638    Exhibit 3a (Corrected) of Jonathan Arnold Opening Expert          NIA                           NIA                      Arnold Opening                          H;C;P
           Report (Eagle View Technologies, Inc., Lost Profits, Roof
           Reports Sales to Insurers)



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PTX-639    Exhibit 3b (Corrected) of Jonathan Arnold Opening Expert         NIA                           NIA                      Arnold Opening        H;C;P
           Report (Eagle View Technologies, Inc., Lost Profits, Roof
           Reports Sales to Insurers and Contractors)
PTX-640    Exhibit 4a (Corrected) of Jonathan Arnold Opening Expert         NIA                           NIA                      Arnold Opening        H;C;P
           Report (Eagle View Technologies, Inc., Price Erosion, Roof
           Reports Sales to Insurers)
PTX-641    Exhibit 4b of Jonathan Arnold Opening Expert Report (Eagle       NIA                           NIA                      Arnold Opening        H;C;P
           View Technologies, Inc., Price Erosion, Roof Reports Sales to
           Insurers and Contractors)
PTX-642    Exhibit Sa (Corrected) of Jonathan Arnold Opening Expert         NIA                           NIA                      Arnold Opening        H;C;P
           Report (Eagle View Technologies, Inc., Total Lost Profits,
           Including Price Erosion, Roof Reports Sales to Insurers)
PTX-643    Exhibit Sb (Corrected) of Jonathan Arnold Opening Expert          NIA                          NIA                      Arnold Opening        H;C;P
           Report (Eagle View Technologies, Inc., Total Lost Profits,
           Including Price Erosion, Roof Reports Sales to Insurers and
           Contractors)
PTX-644    Exhibit 6 (Corrected) of Jonathan Arnold Opening Expert Report NIA                             NIA                      Arnold Opening        H;C;P
           (Percentage of Roof Reports for which Eagle View Obtained
           Imagery from Other Sources, 2012 - 2017)
PTX-64S    Exhibit 7 (Corrected) of Jonathan Arnold Opening Expert Report NIA                             NIA                      Arnold Opening        H;C;P
           (Number of GeomnilXactware Reports for which Eagle View has
           Coverage, 2012 - 2017)
PTX-646    Exhibit 8 of Jonathan Arnold Opening Expert Report (Eagle      NIA                             NIA                      Arnold Opening        H;C;P
           View Technologies, Inc., Summary of Contracts)
PTX-647    Exhibit 9 of Jonathan Arnold Opening Expert Report (Xactware NIA                               NIA                      Arnold Opening        H;C;P
           Solutions, Inc., Summary of Contracts)
PTX-648    Exhibit 10 (Corrected) of Jonathan Arnold Opening Expert       NIA                             NIA                      Arnold Opening        H;C;P
           Report (Reasonable Royalty, Roof Report Sales to Insurers and
           Contractors)
PTX-649    Exhibit 11 (Corrected) of Jonathan Arnold Opening Expert       NIA                             NIA                      Arnold Opening        H;C;P
           Report (Value of the Patents-in-Suit Embedded in the Accused
           Products, Roof Report Sales to Insurers and Contractors)

PTX-6SO    Appendix B of Jonathan Arnold Opening Expert Report               NIA                          NIA                      Arnold Opening        H;C;P
           (Materials Considered List)
PTX-6Sl    Appendix A of Jonathan Arnold Opening Expert Report               NIA                          NIA                      Arnold Opening        H;C;P
           (Curriculum Vitae of Jonathan Arnold)




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PTX-652    Appendix C of Jonathan Arnold Rebuttal Expert Report            NIA                          NIA                      Arnold Rebuttal        H;C;P
           (Materials Considered List)
PTX-653    Exhibit A of Robert Stevenson Opening Expert Report             NIA                          NIA                      Stevenson Opening      H;C;P
           (Curriculum Vitae of Robert Stevenson)
PTX-654    Exhibit B of Robert Stevenson Opening Expert Report (Materials NIA                           NIA                      Stevenson Opening      H;C;P
           Considered List)
PTX-655    Exhibit A of Robert Stevenson Rebuttal Expert Report (Materials NIA                          NIA                      Stevenson Rebuttal     H;C;P
           Considered List)
PTX-656    Roofing Contractor 2013 State of the Industry, December 2013    EV556147                     EV556221                                        A;F;H;R

PTX-657    Eagle View FY2013 Revenue Analysis                             EV043428                      EV043428                 Arnold Opening         A;F;H;R;
                                                                                                                                                        105
PTX-658    Eagle View Sales Data2016-2018                                 EV01553685                    EVOl553685               Arnold Opening         A;F;H;R

PTX-659    Pictometry International Corp., Eagleview Technologies Inc.    EV01553466                    EV01553466               Arnold Opening         A;H;F;R
           Income Statement Jan. 2016 - Oct. 2017
PTX-660    Pictometry International Corp., Eagleview Technologies Inc.    EV01553683                    EV01553683               Arnold Opening         A;F;H;R
           Income Statement Nov. 2017 - Feb. 2018
PTX-661    Schedule 1 pursuant to Section 1.2 Statement of Work of the    EV81107I                      EV8I 1075                Arnold Opening         A;F; H; R; I
           Master Services Agreement between Eagle View Technologies
           Inc. and Allstate
PTX-662    Master Services Agreement between Eagle View Technologies      EV657188                      EV657221                 Arnold Opening         A;F;H;R
           Inc. and American Family effective as of February 28, 2014

PTX-663    Services Agreement between Eagle View Technologies Inc. and EV074192                         EV074193                 Arnold Opening         A; F;H; R; I
           Crawford & Company, August 31, 2009
PTX-664    Master Services Agreement between Crawford and Company and EV846323                          EV846328                 Arnold Opening         A;F;H;R
           Eagle View Technologies, Inc., February 22, 2013

PTX-665    Services Agreement between Eagle View Technologies and the     EV816197                      EV81621 I                Arnold Opening         A;F;H;R
           Hanover Insurance Company, September 1, 2010
PTX-666    Services Agreement between Liberty Mutual Fire Insurance        EV363012                     EV363027                 Arnold Opening         A;F;H;R
           Company and Eagle View Technologies Inc, July 24, 2009

PTX-667    Amendment I to Liberty Mutual Satellite/Aerial Imagery Roof    EV547177                      EV547189                 Arnold Opening         A; F; H: R: I
           Services Agreement between Liberty and Eagle View
           Technologies, March 15, 2012




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PTX-668    Statement of Work No. 1 between Eagle View Technologies Inc    EV420644                      EV420646                 Arnold Opening       A; F; H: R; I
           and Metropolitan Property and Casualty Insurance Company,
           January 30, 2012
PTX-669    Master Services Agreement between Eagle View Technologies      EV790169                      EV790181                 Arnold Opening       A;F;H;R
           and Nationwide Mutual Insurance Company, February 1, 2009

PTX-670    Amendment to Order No. 2 between Nationwide Mutual             EV839087                      EV839089                 Arnold Opening       A; F; H; R; I
           Insurance Company and Eagle View Technologies Inc., August
           1,2012
PTX-671    Amendment No. 3 to Order No. 2 between Nationwide Mutual        EV790182                     EV790182                 Arnold Opening       A; F; H: R; I
           Insurance Company and Eagle View Technologies, February 22,
           2013
PTX-672    Amendment No. 6 to Order No. 2 between Nationwide Mutual        EV01553810                   EVOl55381 l              Arnold Opening       A; F; H; R; I
           Insurance Company and Eagle View Technologies Inc., January
           31,2017
PTX-673    Work Order between Eagle View Technologies Inc. and State       EV432701                     EV432758                 Arnold Opening       A; F; H; R; I
           Farm Mutual Automobile Insurance Company
PTX-674    Master Services Agreement between Travelers Insurance and       EV368614                     EV368620                 Arnold Opening       A;F;H;R; I
           Eagle View Technologies Inc, July 1, 2011
PTX-675    Statement of Work between USAA and Eagle View, January          USAA.1548                    USAA.1558                Arnold Opening       A;F;H;R
           2010
PTX-676    Amendment No. 2 to Master Product License and Service           XW00213949                   XW00213954               Arnold Opening       A; F; H; R; I
           Agreement between Xactware Solutions Inc. and Allstate
           Insurance Company, May 3, 2010
PTX-677    Amendment to Xactware Product License Summary between       XW00513007                       XW00513008               Arnold Opening       A;F; H; R; I
           Xactware Solutions Inc. and American Integrity Insurance,
           December 1, 2011
PTX-678    Master Product License Agreement between Xactware Solutions XW00099949                       XW00099978               Arnold Opening       A; F; H; R; I
           Inc. and Amica Mutual Insurance Company, January 1, 2013

PTX-679    Second Amendment to Master Product License Agreement           XW00940354                    XW00940360               Arnold Opening       H; R; I
           between Xactware Solutions Inc, Interinsurance Exchange of the
           Automobile Club, Auto Club County Mutual Insurance
           Company, Automobile Club of Missouri and Auto Club Family
           Insurance Company, March 1, 2014
PTX-680    Fourth Amendment to Master Product License Agreement            XW00940405                   XW0094041 l              Arnold Opening       H;R; I
           between Xactware Solutions Inc. and Church Mutual Insurance
           Company, January 1, 2011



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PTX-681    Eighth Amendment to Master Agreement between Xactware           XW00940412                    XW00940418               Arnold Opening       H;R; I
           Solutions Inc. and Crawford and Company, October I, 2017

PTX-682    Master Product License Agreement between Xactware Solutions XW00077473                        XW00077524               Arnold Opening       H;R
           Inc. and Farmers Insurance Exchange, January 14, 2014

PTX-683    Fourth Amendment to the Master Product License Agreement        XW00438158                    XW00438159               Arnold Opening       H;R; I
           between Farmers Insurance Exchange and Xactware Solutions
           Inc, December 11, 2015
PTX-684    Fifth Amendment to Master Product License Agreement between XW00342770                        XW00342771               Arnold Opening       H;R; I
           Farmers Insurance Exchange and Xactware Solutiosn Inc., June
           2,2016
PTX-685    Sixth Amendment to Software License, Data Subscription and   XW00940794                       XW00940795               Arnold Opening       H;R; I
           ASP Services Agreement between Hartford Fire Insurance
           Company and Xactware Solutions Inc., February 14, 2005

PTX-686    Fourth Amendment to Master Product License Agreement            XW00940419                    XW00940427               Arnold Opening       H; R; I
           between Xactware Solutions Inc. and Kemper Corporate Services
           Inc., October 4, 2005
PTX-687    Amendment to Xactware Product License Summary benveen           XW00448243                                             Arnold Opening       H; R; I
           Xactware Solutions Inc. and Rockford Mutual Insurance
           Company, February 1, 2015
PTX-688    Third Amendment to Xactware Product License Summary             XW00448197                    XW00448198               Arnold Opening       H; R; I
           between Xactware Solutions Inc. and Rockford Mutual Insurance
           Company, February 1, 2015
PTX-689    Master Software Subscription Agreement between State Farm       XW00080492                    XW00080505               Arnold Opening       A; F; H; R; I
           Mutual Automobile Insurance Company and Xactware Solutions

PTX-690    Master Product License and Services Agreement Schedule 3         XW00940428                   XW00940429               Arnold Opening       H; R; I
           between Xactware Solutions Inc. and Traveleters Indemnity
           Company, March 1, 2012
PTX-691    Master Product License and Services Agreement between            XW00239427                   XW00239473               Arnold Opening       H;R
           Xactware Solutions Inc. and Travelers Indemnity Company,
           October 26, 2015
PTX-692    Amendment No. 01 to Project Addendum between Xactware            XW00940694                   XW00940694               Arnold Opening       H;R; I
           Solutions Inc. and United Services Automobile Association,
           August 24, 2013




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PTX-693    Amendment No. 3 to Project Addedunm between Xactware             XW00940688                    XW00940688               Arnold Opening       H; R; I
           Solutions Inc. and United Services Automobile Assoication,
           March 24, 2014
PTX-694    Project Addendum between Xactware Solutions and United           XW00941067                    XW00941078               Arnold Opening       H; R; I
           Services Automobile Association, March 23, 2015


PTX-695    Patent Owner's Response (Paper 31), November 14, 2016,           EV01555055                    EV01555128                                    R;P; C; MIL
           (IPR2016-00589)
PTX-696    Petitioner's Reply, February 6, 2017, (IPR2016-00589)            EV01555129                    EV01555158                                    R; P; C;MIL

PTX-697    Petition (Paper 1), February 8, 2016, (IPR2016-00593)            EVOI555159                    EV01555203                                    R; P; C; MIL

PTX-698    Patent Owner's Preliminary Response (Paper 7), June 2, 2016,     EVOI555204                    EV01555245                                    R;P; C; MIL
           (IPR2016-00593)
PTX-699    Institution Decision (Paper 13 ), August 31, 2016, (IPR2016-     EV01555246                    EV01555259                                    R;P;C;MIL
           00593)
PTX-700    Patent Owner's Response (Paper 31), November 16, 2016,           EV01555260                    EV01555297                                    R; P; C; MIL
           (IPR2016-00593)
PTX-701    Petitioner's Reply, January 27, 2017, (IPR2016-00593)            EVOI555298                    EV01555332                                    R;P; C; MIL

PTX-702    Final Written Decision (Paper 45), August 28, 2017, (IPR2016-    EV01555333                    EV01555340                                    R; P; C; MIL
           00593)
PTX-703    Patent Owner's Preliminary Response (Paper 7), June 2, 2016,     EV0155534I                    EVOI555382                                    R;P; C; MIL
           (IPR2016-00593)

PTX-704    Institution Decision (Paper 13), August 31, 2016, (IPR2016-      EVOI555383                    EV01555396                                    R;P; C; MIL
           00593)
PTX-705    Final Written Decision (Paper 45), August 24, 2017, (IPR2016-    EV01555397                    EV01555404                                    R;P;C; MIL
           00593)
PTX-706    Verisk's Responses to Eagle View's First Set of Requests for      NIA                          NIA                                           H;P;C
           Admission, January 12, 2018
PTX-707    Xactware's Responses to Eagle View's First Set of Requests for    NIA                          NIA                                           H;P;C
           Admission, January 12, 2018
PTX-708    Eagle View Technology Corporation and Subsidiaries                EV725469                     EV725498                                      A;F;H;R
           Consolidated Financial Statements 2013-2014
PTX-709    Pictometry International Corporation Consolidated Financial       EV725444                     EV725468                                      A;F;H;R
           Statements 2011-2012




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                                                                   Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)
                                                                          Plaintiff's Trial Exhibit List
Exhibit#                            Description                                     Beg Bates                     End Bates                     Source    Objections

PTX-710    Eagle View Technologies Incoporated Consolidated Financial      EV725423                      EV725443                                        A;F;H;R
           Statements 2011-2012
PTX-711    Pictometry International Corp Consolidated Financial Statements EV53461 l                     EV534635                                        A;F;H;R
           2011-2012
PTX-712    WITHDRAWN




PTX-713    Eagle View Technologies Inc Consolidated Financial Statements   EV534853                      EV534873                                        A;F;H;R
           2011-2012
PTX-714    Eagle View Technologies Financial Statements 2008-2009          EV370322                      EV370337                                        A;F;H;R
PTX-715    Eagle View Technologies Financial Statements 2009-2010          EV370338                      EV370353                                        A;F;H;R
PTX-716    Eagle View Board Meeting Presentation, Sept. 7, 2010            EV053567                      EV053610                                        A;F;H;R

PTX-717    Email from C. Barrow to D. Schultz re Bloomberg Article,        EV469560                      EV469562                                        A;F;H;R
           December 9, 2011
PTX-718    Eagle View Board of Directors Presentation, March 3, 2016       EV536802                      EV536906                                        A;F;H;R

PTX-719    Eagle View and GAF Materials Corp. Strategic Alliance Term       EV546163                     EV546166                                        A;F;H;R
           Sheet
PTX-720    Eagle View Marketing Material                                    EV563522                     EV563523                 Arnold Rebuttal        A;F;H;R

PTX-721    Adjuster Feedback on Eagle View                                  EV551972                     EV551972                                        A;F;H;R
PTX-722    Georgia Farm Bureau Pilot Detail, July 17, 2013                  EV551974                     EV551974                                        A;F;H;R
PTX-723    Email Chain from J. Lewis to B. Allphin et. al re Multiple       XW00050509                   XW00050510                                      H;R;P
           Buildings - Eagleview vs Roofting Insight, March 28, 2014
PTX-724    Email Chain from A. Boyman to S. Stephenson et. al re            XW00078307                   XW00078307                                      H;R;P
           Presentation Materials, March 19, 2012
PTX-725    Email from E. Webecke to E. Webecke re Temp File                 XW00088753                   XW00088755                                      H;R;P
PTX-726    Presentation by DavisPolk re Verisk Analytics and Eagle View     XW00214718                   XW00214747                                      H;R;P
           Technology Corp. PMN No. 2014-0496 Confidential
           Presentation to the Federal Trade Commission
PTX-727    The Hartford Usage from 3/1/2017 to 3/31/2017                    HARTFORD 001920              HARTFORD 001922                                 A;F;H;R
PTX-728    The Hartford Usage from 4/1/2017 to 4/30/2017                    XW00941639                   XW00941642                                      H;R
PTX-729    The Hartford Usage from 5/1/2017 to 5/31/2017                    XW00941646                   XW00941649                                      H;R
PTX-730    The Hartford Usage from 6/l /2017 to 6/30/2017                   XW00941653                   XW00941656                                      H;R
PTX-731    The Hartford Usage for 7/2017                                    XW00941660                   XW00941662                                      H;R
PTX-732    The Hartford Usage for 8/2017                                    XW00941666                   XW00941668                                      H;R



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                                                      Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                                  Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)
                                                                         Plaintiff's Trial Exhibit List
Exhibit#                            Description                                    Beg Bates                     End Bates       Source    Objections

PTX-733    The Hartford Usage for 9/2017                                   XW00941672                   XW00941674                        H;R
PTX-734    The Hartford Usage for 10/20 17                                 XW00941678                   XW00941680                        H;R
PTX-735    The Hartford Usage for 11/2017                                  XW00941684                   XW00941687                        H;R
PTX-736    The Hartford Usage for 12/2017                                  XW00941692                   XW00941695                        H;R
PTX-737    Auto Owners Usage from 6/1/2017 to 6/30/2017                    XW00941088                   XW00941091                        H;R
PTX-738    Auto Owners Usage for 7/2017                                    XW00941095                   XW00941098                        H;R
PTX-739    Citizens Property Insurance Usage for 9/2017                    XW0094l 102                  XW00941105                        H;R
PTX-740    Citizens Property Insurance Usage for 10/2017                   XW009411 l0                  XW00941 l l3                      H;R
PTX-741    Citizens Property Insurance Usage for l l/2017                  XW00941 l 18                 XW00941121                        H;R
PTX-742    Citizens Property Insurance Usage for 12/2017                   XW00941126                   XW00941130                        H;R
PTX-743    Kemper Usage from 2/ I /2017 to 2/28/2017                       XW00941301                   XW00941304                        H;R
PTX-744    Kemper Usage from 3/1/2017 to 3/31/2017                         XW0094l308                   XW00941311                        H;R
PTX-745    Kemper Usage from 4/1/2017 to 4/30/2017                         XW0094l316                   XW00941319                        H;R
PTX-746    Kemper Usage from 5/1/2017 to 5/31/2017                         XW00941324                   XW00941327                        H;R
PTX-747    Kemper Usage from 6/1/2017 to 6/30/2017                         XW00941332                   XW00941335                        H;R
PTX-748    Kemper Usage for 7/2017                                         XW00941340                   XW0094l343                        H;R
PTX-749    Kemper Usage for 8/2017                                         XW0094l348                   XW00941351                        H;R
PTX-750    Kemper Usage for 9/2017                                         XW00941356                   XW00941359                        H;R
PTX-751    Kemper Usage for 10/2017                                        XW00941364                   XW00941367                        H;R
PTX-752    Kemper Usage for 11/2017                                        XW0094l385                   XW00941388                        H;R
PTX-753    Kemper Usage for 12/2017                                        XW00941402                   XW00941406                        H;R
PTX-754    MetLife Usage from 4/1/2017 to 4/30/2017                        XW00941559                   XW00941562                        H;R
PTX-755    MetLife Usage from 5/1/2017 to 5/31/2017                        XW00941566                   XW00941569                        H;R
PTX-756    MetLife Usage for 7/2017                                        XW00941580                   XW00941583                        H;R
PTX-757    MetLife Usage for 8/2017                                        XW00941587                   XW00941589                        H;R
PTX-758    MetLife Usage for 9/2017                                        XW00941595                   XW00941599                        H;R
PTX-759    MetLife Usage for 10/2017                                       XW00941606                   XW00941610                        H;R
PTX-760    MetLife Usage for 11/2017                                       XW00941617                   XW00941621                        H;R
PTX-761    MetLife Usage for 12/2017                                       XW00941628                   XW00941631                        H;R
PTX-762    Eagle View Technologies Inc. Report on Fair Market Value of a   EV421349                     EV421408                          A;F;H;R
           Minority Common Stock Interest as of September 30, 2011, June
           12,2012
PTX-763    Eagle View Technologies Inc. Report on Fair Market Value ofa    EV423659                     EV423726                          A;F;H;R;D
           Minority Common Stock Interest as of December 31, 2012, May
           7,2013
PTX-764    EagleView Technologies Inc. Report on Fair Market Value ofa     EV799072                     EV799140                          A;F;H;R
           Minority Common Stock Interest as of December 31, 2012, June
            11, 2013



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                                                                              Plaintiff's Trial Exhibit List
Exhibit#                             Description                                      Beg Bates                     End Bates       Source    Objections

PTX-765    Eagle View Technologies Inc. Report on Fair Value of Certain      EV421285                      EV421348                          A;F;H;R
           Identificable Intagible Assets of SuperBuild, LLC as of October
           27, 2011, June 12. 2012
PTX-766    EagleView Technology Corporation Valuation of a Minority,         EV723969                      EV723982                          A; F; H; R; I
           Non-marketable Common Stock Interest as of January 7, 2013,
           Schedule 1
PTX-767    Eagle View Technology Corporation Valuation of a Mintory          EV723983                      EV724034                          A;F;H;R
           Common Stock Interest as of August 31, 2013, April 15, 2013

PTX-768    Eagle View Technology Corporation Valuation of a Mintory       EV724035                         EV724090                          A; F; H: R
           Common Stock Interest as of December 3 I, 2014, April 15, 2015

PTX-769    EagleView Technology Corporation Valuation of a Mintory          EV724091                       EV724148                          A;F;H;R
           Common Stock Interest as of April 30, 2014, April 15, 2015
PTX-770    Phoenix Topco, Inc. (dba Eagle View Technologies) July 15,       EV537017                       EV537045                          A;F;H;R
           2015 Stock Options Valuation, January 18, 2016
PTX-771    Eagle View Technologies, Inc. Financial Statements as of and for EV840218                       EV840236                          A;F;H;R
           the Years Ended December 3 L 2011 and 2010, and Independent
           Auditors' Report
PTX-772    United States Patent No. 9,679,227                                EV01555405                    EV01555448                        R;P

PTX-773    Email Chain from J. Taylor to Z. Smith et. al re Meeting with     XW00049771                    XW00049777                        H;R;P
           Pictometry, January 30, 2012

PTX-774    Email Chain from J. Lewis to E. Webecke et. al re Roof            XW00051574                    XW00051575
           comparison, September 13, 2013
                                                                                                                                             H;R
PTX-775    Email from J. Taylor to E. Webecke et. al re Market Intel Report - XW00058861                   XW0005886l
           PI perspective, November 22, 2013                                                                                                 H;R
PTX-776    Project Aerial Market Intelligence Report, Property InSight v0.7, XW00058862                    XW00058925
           2013                                                                                                                              H;R
PTX-777    Email Chain from M. Anquillaire to A. Bayman et. al re Aerial      XW00078266                   XW00078267
           Volume Updates, December 5. 2013                                                                                                  H;R
PTX-778    Email Chain from J. Taylor to J. Lewis et. al re Google Alert-     XW00222870                   XW00222870                        H;R;P
           Pictometry, August 2, 2012




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                                                         Eagle View Technologies, Inc, et al. v, Xactware Solutions, Inc, et al.
                                                                     Case No, 15-cv-07025 (RBK/JS) (Dist N,J,)
                                                                            Plaintiff's Trial Exhibit List
Exhibit#                             Description                                      Beg Bates                    End Bates       Source    Objections

PTX-779    Email Chain from S, Stephenson to S, Sutton re Liberty Mutual     XW00358842                   XW00358845
           Strategic Partnership, January 31, 2014
                                                                                                                                            H;R;P
PTX-780    Email chain from M, Olson to J, Taylor et, al re Requesting a     XW00042387                   XW0004239I
           review of imagery and its future, June 19, 2014
                                                                                                                                            H;R;P
PTX-781    Email Chain from A, Zickell to E, Webecke re Off the wall         XW00077360                   XW00077366
           thought, October 24, 2013
                                                                                                                                            H; R; p
PTX-782    Email from E, Webecke to J, Loveland re Verisk Ventures,          XW0009l0l 1                  XW00091011
           January 15, 2013
                                                                                                                                            H;R
PTX-783    Email from S, Alvarez to S, Stephenson et. al re Verisk Venture   XW00108092                   XWOOI08092
           Capitalists - Aerial Imagery, January 16, 2013                                                                                   H;R
PTX-784    Presentation by Xactware re Aerial Imagery Project Overview       XW00108093                   XW00108129
                                                                                                                                            P;F
PTX-785    Aerial Sketch Mass Productions Options & Recommendations,         XW00222900                   XW00222910
           2012                                                                                                                             P;R;H;C
PTX-786    Aerial Image Design Changes, January 10, 2010                     XW00752776                   XW00752798
                                                                                                                                            P;R;A;F;H
PTX-787    Email from Andrew Zickell to Webecke re Walker Process            XW00237429                   XW00237433
           claims against EV
                                                                                                                                            H;R;P
PTX-788    Email Chain from l David to M, Olson et. al re Patent Search,     XW00402509                   XW00402510
           August 15, 2012
                                                                                                                                            A;F;R;H;P
PTX-789    Email Chain from M. Olson to J. Aguilera et al re Property       XW00224397                    XW00224401
           InSight Production Software - State of the Nation on April 24th,
           April 24, 2013                                                                                                                   P;H;R
PTX-790    Email from J, Taylor to ASIS et al re InSight (Roof & Property), XW00223043                    XW00223043
           January 31, 2013
                                                                                                                                            P;H;R
PTX-791    Email chain from M, Olson to J, Taylor re Aerial-InSight status   XW00224630                    XW00224630
           update 3-12-2013, March 12, 2013

                                                                                                                                            P;H;R




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                                                                     Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)
                                                                            Plaintiff's Trial Exhibit List
Exhibit#                             Description                                      Beg Bates                     End Bates       Source    Objections

PTX-792    Email from D. Graff to A. Godino et. al 5 minute QC process,      XW00067668                    XW00067669
           November 13, 2015
                                                                                                                                             P;H;R
PTX-793    Email from M. Olson to Pl management team re Tuesday, April       XW00048128                    XW0004813I
           29th, 2014: Update on Data Acquistion, Mass Production and
           Geoserver coverage, April 29, 2014                                                                                                H;R
PTX-794    Email Chain from J. Taylor to M. Olson re Update, December 4, XWOOll 1453                       XWOOl 11455
           2012
                                                                                                                                             P;KR
PTX-795    Email Chain from A. Cobo to J. Lewis et. al re Videos of our      XW00039931                    XW00039936
           Aerial Sketch comparison times, February 23, 2015

                                                                                                                                             H;R
PTX-796    Agreement for Services between Xactware Solutions Inc. and        XW00090357                    XW00090367
           AMS Geomatics S.I., August 1, 2012                                                                                                H;R
PTX-797    Presentation re Property Insight Roof Tools 3.5.0, May 2015        XW00124800                   XW00124853
                                                                                                                                             A;F;H;R
PTX-798    Property Insight Mass Production Tool What's New Version           XW00124907                   XW00124932
           3.1.0, 2014                                                                                                                       H;R
PTX-799    Property Insight MPT What's New Version 3.1 .0, January 14,        XW00253658                   XW00253658
           2016                                                                                                                              A;F;H;R
PTX-800    Email Chain from I. Aguilera to J. Lewis et. al re March 13th,     XW00312536                   XW00312562
           2015 Report, March 13, 2015
                                                                                                                                             H;R
PTX-801    Presentation by Xactware re Roof InSight                           XW00016347                   XW00016377
                                                                                                                                             H;R
PTX-802    Email Chain from J. Lewis to A. Godino re Sample_Data.zip,         XW00335978                   XW00335981
           July 12, 2016
                                                                                                                                             R;P;H
PTX-803    Email Chain from M. Maroto to A. Barnum et. al re Portal Code      XW00679569                   XW007679573
           Conversion, June 16, 2015

                                                                                                                                             H;R
PTX-804    Email Chain from J. Lewis to J. Taylor re ROOF INSIGHT             XW00027692                   XW00027695
           QUESTION - FW: 5008-15-4099 - Site Map and price for "The
           Vineyards", May 15, 2015                                                                                                          H;R




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                                                        Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
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                                                                          Plaintiff's Trial Exhibit List
Exhibit#                             Description                                   Beg Bates                     End Bates                     Source    Objections

PTX-805    Olson email to Lewis stating XW should sign over EV                XW00034237                  XW00034238
           customers, but it's harder for EV to take business from XW
                                                                                                                                                        R;P;H
PTX-806    Xactware Preproduction of Texas Key Ideas & Plan Version 0.9, XW00029166                       XW00029180
           January 11, 2016
                                                                                                                                                        R;H;A;F
PTX-807    Email from Loveland to XW executives forwarding CNNMoney XW00044301                            XW00044304                                    P;F;H;A
           and Bloomberg articles praising EV
PTX-808    State Farm and Eagle View presentation, June L 2011      EV054540                              EV054560                 Arnold Opening       A;F;H;R

PTX-809    Eagle View Technologies Premium Report, September 27. 2013         EV00847349                  EV00847360                                    A;F;H;R

PTX-810    Eagle View Technologies Solar Report, October 17. 2013             EV00847451                  EV00847467                                    A;F;H;R
PTX-81 I   Eagle View Technologies WallsLite Report, March 26, 20 I 5         EVOI484160                  EV01484165                                    A;F;H;R
PTX-812    Eagle View Technologies All Seeing Renovations Precise Aerial      EVOI495715                  EV01495736                                    A;F;H;R
           Measurement Report
PTX-813    Eagle View Technologies GutterReport, November 4, 2015             EV026438                    EV026441                                      A;F;H;R
PTX-814    Eagle View Technologies Standard Report, September 11, 2012        EV380447                    EV380451                                      A;F;H;R

PTX-815    EagleView Technologies Walls Only Report, July 23, 2013            EV497785                    EV497797                                      A;F;H;R
PTX-816    EagleView Technologies Property Risk Management Report,            EV498215                    EV498219                                      A;F;H;R
           October 8, 2013
PTX-817    Eagle View Technologies QuickSquares, October 8, 2013              EV498473                    EV498473                                      A;F;H;R
PTX-818    Eagle View Technologies QuickSquares Extended Coverage,            EV552130                    EV552130                                      A;F;H;R
           March 5, 2015
PTX-819    Eagle View Technologies Property Brush Image Risk Report           EV561703                    EV561708                                      A;F;H;R

PTX-820    Allstate Insurance ClaimsReady Report, June 10, 2013               EV562902                    EV562910                                      A;F;H;R
PTX-821    Eagle View Technologies Property Risk Management Brush             EV571427                    EV571436                                      A;F;H;R
           Report, March 14, 2013
PTX-822    EagleView FAQ Most Popular,                                        EVOI555449                  EV01555484                                    A;F;H;R
           httQ://www.eagleview.com/Su1212ortServices/EagleViewCustomer
           Sunnort/EaaleViewFAQ.asox#MostPooular
PTX-823    Email Chain from J. Taylor to P. Devdhar et. al re Roofing field   XW00356621                  XW00356623                                    H;R
           test data request, June 11, 2008




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                                                                             Plaintiff's Trial Exhibit List
Exhibit#                             Description                                     Beg Bates                     End Bates                     Source         Objections

PTX-824    Email Chain from F. Coyne to J. Loveland re Eagle View, April    XW00395033                    XW00395035               Equitable Estoppel Motion   H;R
           6,2012




PTX-825    Email from J. Taylor to K. Beatty re Project Aerial Report-      XW00055846                    XW00055846                                           H;R;P
           Property InSight v0.7, June 2, 2015
PTX-826    Email Chain from J. Taylor to Da. Luse re Chris Pershing at      XW00285321                    XW00285322                                           H;R;P
           Eagle View, February 23, 2010




PTX-827    Presentation by Xactware re Xactimate Internal Pictometry Tool   XW00285399                    XW00285412                                           H;R
           for Roofs

PTX-828    Email Chain from N. Sykes to D. Norton et. al re Xactimate       XW00303058                    XW00303061                                           H;R;P
           v.25.5 Released -TBD??, May 28, 2009




PTX-829    Email from N. Sykes to J. Taylor re The Hartford RFP Meeting      XW00303479                   XW00303480                                           H;R;P
           Notes, February 2, 2009
PTX-830    Xactware Revenue Statement -- "Xactware Revenue Statement,        XW00512462                   XWOOSI2480                                           H;R;X
           as of February and March 2015"
PTX-831    Fourth Amendment to Master Product License Agreement              XW00513004                   XW00513005                                           H; R; I
           between Xactware Solutions, Inc and West Bend Mutual,
           November l, 2011
PTX-832    Occupational Employment and Wages, May 2017, 13-1031              EV01555485                   EV01555493               Arnold Opening              A; F; H; R
           Claims Adjusters, Examiners, and Investigators,
           httos://www.bls.aov/oes/2017/mav/oes 131031.htm
PTX-833    WITHDRAWN

PTX-834    FTC Complaint re Verisk and Eagle View Merger                     XW00056883                   XW00056895                                           H;R;P
PTX-835    The Stories Behind the EagleView Reports                          EV033575                     EV033578                                             H;A;F;R;P

PTX-836    Using 3D Aerial Measurement Reports to Tncrease Efficiency and EV390111                        EV390111                                             H;A; F; R; P
           ROI on Roofing Claims



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                                                                             Plaintiff's Trial Exhibit List
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PTX-837    Technology Provides A Precise Look at Roof Measuring                 EV442413                    EV442416                                       H; A; F; R; P

PTX-838    Eagle View® Technologies Named by Inc. Magazine as one of            EV01548656                  EV01548659               Stevenson Opening     H; A; F; R; P
           America's Fastest Growing Private Companies
PTX-839    Implementing Aerial Measurement Reports at FNOL                      EV631484                    EV631484                                       H;A; F; R;P

PTX-840    Verisk Analytics, Inc.'s Responses to Eagle View Technologies,       NIA                         NIA                                            H;C;R
           Inc.'s First Set ofinterrogatories (Nos. 1-13), February 29, 2016

PTX-841    Verisk Analytics, Inc.'s Responses to Pictometry International       NIA                         NIA                                            H; C: R
           Corp.s' First Set ofinterrogatories (Nos. 1-8), February 29, 2016

PTX-842    Xactware Solutions, Inc.'s Responses to Eagle View                   NIA                         NIA                                            H;C;R
           Technologies, Inc.'s First Set ofinterrogatories (Nos. 1-21),
           February 29, 2016
PTX-843    Xactware Solutions, Inc.'s Responses to Pictometry International     NIA                         NIA                                            H;C;R
           Corp.s' First Set of Interrogatories (Nos. 1-9), February 29, 2016

PTX-844    Verisk Analytics, Inc.'s Supplemental Responses to Eagle View NIA                                NIA                                            H;C;R
           Technologies, Inc.'s First Set oflnterrogatories (Nos. 1-13),
           December 19, 2016
PTX-845    Verisk Analytics, Inc.'s Second Supplemental Responses to Eagle NIA                              NIA                                            H;C;R
           View Technologies, Inc.'s First Set of Interrogatories (Nos. 1-13),
           May 9, 2017
PTX-846    Verisk Analytics, Inc.'s Third Supplemental Responses to Eagle NIA                               NIA                                            H;C;R
           View Technologies, Inc.'s First Set of Interrogatories (Nos. 1-13),
           September I, 2017
PTX-847    Verisk Analytics, Inc.'s Responses to Eagle View Technologies, NIA                               NIA                                            H;C;R
           Inc.'s Second Set of Interrogatories (Nos. 14-23), December 11,
           2017
PTX-848    Verisk Analytics, Inc.'s Fourth Supplemental Responses to Eagle NIA                              NIA                                            H;C;R
           View Technologies, Inc.'s First Set ofinterrogatories (Nos. 1-13),
           December 18, 2017
PTX-849    Verisk Analytics, Inc.'s Fifth Supplemental Responses to Eagle NIA                               NIA                                            H;C;R
           View Technologies, Inc.'s First Set of Interrogatories (Nos. 1-13,
           January 18, 2018
PTX-850    Farmers Insurance Company, Inc. Claims Report, May 10, 2012 EV013734                             EV013735                 Arnold Opening        A;F;H;R




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                                                         Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                                     Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)
                                                                            Plaintiff's Trial Exhibit List
Exhibit#                              Description                                     Beg Bates                     End Bates                    Source                 Objections

PTX-851    Presentation by Eagle View Technologies re Board Meeting, July       EV050921                   EV050974                 Arnold Opening                     A;F;R;H
           28,2009
PTX-852    Eagle View Technologies, Inc. v. RoofWalk, Inc. et al., No. 2: 12-   EV034640                   EV034648                 Arnold Opening                     R;H
           cv-00544-RSL, Dkt. No. 12, 2nd Amended Complaint, (W.D.
           Wash. June 4, 2012)
PTX-853    Eagle View Technologies Technical Study, What Low-cost Roof          EV01493779                 EV01493780               EV's Supp Resp to Rog No. 13       A; F; R; P; H
           Reports Really Cost Carriers
PTX-854    The Impact of Technology on Claims ROI                               EV551287                   EV551297                 EV's Supp Resp to Rog No. 13       A;F;R;P;H

PTX-855    Presentation by Verisk Analytics re Project Aerial IC Discussion XW00214560                     XW00214587               EV's Supp Resp to Rog No. 13       R;P;H
           Sale Process and Diligence Update, May 1, 2012

PTX-856    Presentation by Eagle View re Corporate Presentation, January,       EV777760                   EV777804                 EV's Supp Resp to Rog No. 13       A; F; R; P; C;
           2015                                                                                                                                                        H
PTX-857    Presentation by Eagle View Technologies re Corporate                 VISTA-00000157             VISTA-00000200           EV's Supp Resp to Rog No. 13       A; F; R; P; C;
           Presentation, March, 2015                                                                                                                                   H
PTX-858    Get an Eagle View Report                                             EV01553387                 EV01553391               EV's 2nd Supp Resp to Rog No. 5    A;F;R;H

PTX-859    Eagle View Home Page, February 19, 2017                              EV01553392                 EV01553395               EV's 2nd Supp Resp to Rog No. 5    R;A;F;H

PTX-860    EagleView Home Page, January 13, 2012                                EV01553396                 EV01553397               EV's 2nd Supp Resp to Rog No. 5    R;A;F;H

PTX-861    EagleView Home Page, January 16, 2015                                EV01553398                 EV01553401               EV's 2nd Supp Resp to Rog No. 5    R;A;F;H

PTX-862    Eagle View Home Page, June 25, 2014                                  EV01553402                 EV01553403               EV's 2nd Supp Resp to Rog No. 5    R;A;F;H

PTX-863    Eagle View Home Page, March 31, 2012                                 EV01553404                 EVOl553405               EV's 2nd Supp Resp to Rog No. 5    R;A;F;H

PTX-864    Eagle View Home Page, March 7. 2015                                  EVOl553406                 EV01553410               EV's 2nd Supp Resp to Rog No. 5    R;A;F;H

PTX-865    Eagle View Home Page, May l, 2013                                    EV0155341 l                EV01553414               EV's 2nd Supp Resp to Rog No. 5    R;A;F;H

PTX-866    Eagle View Home Page September 18. 2012                              EV01553415                 EV01553416               EV's 2nd Supp Resp to Rog No. 5    R;A;F;H

PTX-867    FY 2012 Summary Revenue Analysis                                     EV043436                   EV043436                 EV's Supp Resp to Rog No. 13       A;F;R;H
PTX-868    Presentation by Eagle View re Commercial Business                    EV757140                   EV757150                 EV's 2nd Supp Resp to Rog No. 15   A; F; R: P; H




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                                                         Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                                     Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)
                                                                            Plaintiff's Trial Exhibit List
Exhibit#                            Description                                       Beg Bates                     End Bates                    Source                 Objections

PTX-869    2016 Quarter l Satisfaction Survey Comments                       XW00067071                    XW00067071               EV's 3rd Supp Resp to Rog No. 15   H;R;P

PTX-870    Competitive Advantages/Weaknesses Xactware                        XW00070183                    XW00070183               EV's 3rd Supp Resp to Rog No. 15   H;R;P

PTX-871    Second Corrected Petition (Paper JO), April 8, 2016, (IPR2016- EV01555494                       EV01555553                                                  R;P;C;D;
           00582)                                                                                                                                                      MIL
PTX-872    Petitioner's Request for Rehearing (Paper 16), September 9,    EV01555554                       EV0\555565                                                  R;P;C;D;
           2016, (IPR2016-00582)                                                                                                                                       MIL
PTX-873    Decision Denying Request for Rehearing (Paper 17), September EV01555566                         EV01555569                                                  R;P;C;D;
           21, 2016 (IPR2016-00582)                                                                                                                                    MIL
PTX-874    Petitioner's Request for Rehearing (Paper 16). September 9,    EVOI555570                       EV01555588                                                  R;P;C;D;
           2016, (IPR2016-00586)                                                                                                                                       MIL
PTX-875    Decision Denying Request for Rehearing (Paper 18), November EV01555589                          EV01555598                                                  R;P;C;D;
           2, 2016, (IPR2016-00586)                                                                                                                                    MIL
PTX-876    Second Corrected Petition (Paper 9), April 8, 2016, (IPR2016-  EV0\555599                       EVOl555662                                                  R;P;C;D;
           00587)                                                                                                                                                      MIL
PTX-877    Petitioner's Request for Rehearing (Paper 15), September 9,    EV01555663                       EV01555681                                                  R;P;C;D;
           2016, (IPR2016-00587)                                                                                                                                       MIL
PTX-878    Decision Denying Request for Rehearing (Paper 16), September EV01555682                         EV01555692                                                  R;P;C;D;
           30, 2016, (IPR2016-00587)                                                                                                                                   MIL
PTX-879    Patent Owner's Preliminary Response (Paper 9), May 23, 2016, EV01555693                         EV01555696                                                  R;P;C;D;
           (IPR2016-00589)                                                                                                                                             MIL
PTX-880    Corrected Petition (Paper 7), April 8, 2016, (IPR-2016-00590)  EV01555697                       EVOl555758                                                  R;P;C;D;
                                                                                                                                                                       MIL
PTX-881    Patent Owner's Preliminary Response (Paper 8), May 23, 2016,       EV01555759                   EV01555834                                                  R;P;C;D;
           (IPR-2016-00590)                                                                                                                                            MIL
PTX-882    Second Corrected Petition (Paper 9), April 8, 2016, (IPR2016-      EVOl555835                   EV01555898                                                  R;P;C;D;
           00592)                                                                                                                                                      MIL
PTX-883    Patent Owner's Preliminary Response (Paper 10), June 2, 2016,      EV01555899                   EV01555972                                                  R;P;C;D;
           (IPR2016-00592)                                                                                                                                             MIL
PTX-884    Petitioner's Reply to Patent Owner Response, January 27, 2017,     EV01555973                   EV01556004                                                  R;P;C;D;
           (IPR2016-00592)                                                                                                                                             MIL
PTX-885    Petition (Paper 1), September 15, 2016, (IPR2016-0l 775)           EV01556005                   EV01556071                                                  R;P;C;D;
                                                                                                                                                                       MIL
PTX-886    Petition (Paper 1), October 5, 2016, (IPR2017-00021)               EV01556072                   EV01556139                                                  R;P;C;D;
                                                                                                                                                                       MIL
PTX-887    Petition (Paper I), October 5, 2016, (IPR2017-00025)               EV01556140                   EV01556207                                                  R;P;C;D;
                                                                                                                                                                       MIL



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                                                                    Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)
                                                                           Plaintiff's Trial Exhibit List
Exhibit#                             Description                                     Beg Bates                     End Bates       Source    Objections

PTX-888    Petition (Paper 1), October 5, 2016, (IPR2017-00027)             EV01556208                    EVOl556270                        R;P;C;D;
                                                                                                                                            MIL
PTX-889    Petition (Paper 1), November 30, 2016, (IPR2017-00363)           EV01556271                    EV01556340                        R;P;C;D;
                                                                                                                                            MIL
PTX-890    ClaimsReady Report, October 23, 2013                             EV000888                      EV000897                          A;F;H;R
PTX-891    Adjuster Assisted 3D Report, October 23, 2013                    EV000898                      EV000907                          A;F;H;R
PTX-892    ClaimsReady Report, October 23, 2013                             EV001218                      EV001227                          A;F;H;R
PTX-893    Premium Report, July 2, 2012                                     EV002052                      EV002063                          A;F;H; R

PTX-894    GutterReport, January 31, 2014                                   EV002066                      EV002069                          A; F; H; R

PTX-895    QuickSquares, January 30, 2014                                   EV002070                      EV002071                          A; F; H; R

PTX-896    Premium Report, July 2, 2012                                      EV002072                     EV002081                          A;F;H;R

PTX-897    Property Risk Management Brush Report, March 14, 2013            EV002140                      EV002148                          A;F;H;R

PTX-898    Property Risk Management Report, February 13, 2013                EV005953                     EV005960                          A;F;H;R

PTX-899    Pool Report, August 18, 2015                                     EV006488                      EV006488                          A;F;H;R
PTX-900    ClaimsReady Report, November 3, 2012                             EV00852452                    EV00852460                        A;F;H;R
PTX-901    Premium Report, April 18, 2014                                   EV01440269                    EV01440278                        A;F;H;R
PTX-902    Premium Report, October 30, 2015                                 EV026408                      EV026418                          A;F;H;R
PTX-903    QuickSquares, May 29, 2015                                       EV026436                      EV026437                          A;F:H;R
PTX-904    ClaimsREady Roof & Walls Report, March 23, 2015                  EV026452                      EV026468                          A;F;H;R
PTX-905    Property Risk Management Report, March 24, 2015                  EV026469                      EV026475                          A;F;H;R

PTX-906    Eagle View Roof Reports                                           EV000888                     EV002165                          A;F;H;R

PTX-907    Eagle View Roof Reports                                           EV005666                     EV006488                          A;F;H;R



PTX-908    Eagle View Roof Reports                                           EV026408                     EV026530                          A;F;H;R

PTX-909    Eagle View Roof Reports                                           EV00852202                   EV00852952                        A;F:H;R




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                                                       Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                                   Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)
                                                                          Plaintiff's Trial Exhibit List
Exhibit#                             Description                                    Beg Bates                    End Bates        Source    Objections

PTX-910    Eagle View Roof Reports                                         EV01439277                    EV01441260                        A;F;H;R



PTX-911    Eagle View Roof Reports                                         EV01490670                    EV01491126                        A;F;H;R

PTX-912    Employment agreement between Eagle View Technologies and EV695965                             EV695976                          A;F;R;H
           David P. Carlson, August 18, 2008
PTX-913    Separation agreement between Eagle View Technologies, Inc.    EV01553678                      EV01553682                        A;F;R;H
           and David P. Carlson, July 17, 2009
PTX-914    Consulting agreement between Eagle View Technologies, Inc.    EV449180                        EV449182                          A;F;R;H
           and David P. Carlson, dated January 17, 2012
PTX-915    Verisk Analytics, Inc., to Acquire EagleView Technology       EV0155634I                      EVOI556342
           Corporation to Extend Its Analytic Capabilities in Aerial
           Imagery, https://www.verisk.com/archived/2014/january/verisk-
           analytics-inc-to-acquire-eagleview-technology-corporation-to-
           extend-its-analytic-capabilities-in-aerial-imagery/




PTX-916    Email Chain from M. Nikolsky to L. Heeb et. al re New patent    XW00390259                    XW00390261                        P;R
           properties, September 5, 2014
PTX-917    AS, RI, PI Units, February 2012-March 13, 2019                  XW00942367                    XW00942367
PTX-918    EagleView RFP Appendix                                          EV568923                      EV569024                          A;F;H;R
PTX-919    Email Chain from H. West to R. Daga re Eagle View Wall          EV552765                      EV552766                          A;F;H;R
           Report Case Study, March 17, 2015
PTX-920    Property InSight Report 444 S. 1660 E, Pleasant Grove, UT       XW00017497                    XW00017508                        H;R
           84062
PTX-921    Property InSight Report 3 Main St., Anytown, MI 12345           XW00018699                    XW00018709                        H;R
PTX-922    Property InSight Report 123 Somewhere St., Anytown, MO          XW00018715                    XW00018715                        H;R
           12345
PTX-923    Property InSight Report 7 Main Street, Anytown, MO 12345        XW00019727                    XW00019738                        H;R

PTX-924    Property InSight Report I Main St., Anytown, TX 12345            XW00019742                   XW00019757                        H;R
PTX-925    Roof InSight Report, 1514 SW l 0th A venue, Hartwell, KS         XW00022892                   XW00022896                        H;R
           66621, July 31, 2013
PTX-926    Roof InSight Report, 1787 S Lafayette St. Denver, CO 80210,      XW00023572                   XW00023578                        H;R
           September 23, 2015




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                                                        Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                                                                    Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)
                                                                           Plaintiff's Trial Exhibit List
Exhibit#                             Description                                     Beg Bates                     End Bates       Source       Objections

PTX-927    RoofinSight Report, 3341 North 100 West, Lehi, UT 84043,           XW00025973                  XW00025977                        H;R
           August 25, 2015
PTX-928    RoofinSight Report, 7261 Luz De Color Ct., El Paso, TX 79912,      XW00026395                  XW00026399                        H;R
           July 30, 2015
PTX-929    Email Chain from Lisa Heeb to Jim Baunach et. al re New patent     XW00308268                  XW00308273                        P;R
           properties, October 28, 2014
PTX-930    Attachment to Jim Baunach response to Lisa Heeb et. al re New      XW00308274                  XW00308291
           patent properties, December I 0, 2014
PTX-931    Xactware Revenue Statement, as of February 28, 2019                XW00942368                  XW00942368
PTX-932    Eagle View Techs., Inc. v. Xactware Solutions, Inc., Civ. Action   NIA                         NIA                               p
           No. 1: I 5-cv-07025-RBK-JS, Dkt. No. 406 (Mar. 13, 2018)
           (Stipulation With Respect To Geomni)
PTX-933    Eagle View Reference Guide for Measuring Technicians, 3-D          EV01426960                  EV01426994                        A; F;H; R; C
           Aerial Views of the Structure, November 13, 2008
PTX-934    Eagle View Reference Guide for Measuring Technicians, 3-D          EV01427067                  EV01427100                        A;F;H;R;C
           Aerial Views of the Structure, October 15, 2008
PTX-935    Eagle View Technologies Set Reference Plane Notes                  EV01427118                  EV01427136                        A;F;H;R;C

PTX-936    Eagle View Technologies Inc. Report Revenue P&L Analysis -         EVOIS56343                  EVOI556343                        A;F;H;S
           Insurance (with 2009-20 l 9 average selling price history)

PTX-937    Pictometry International Corp., Eagleview Technologies Inc.        EV01556344                  EV01556344                        A;F;H;S
           Income Statement Nov. 2017 - Feb. 2019
PTX-938    Eagle View Sales Data 2016-2019                                    EV01556345                  EV01556345                        A;F;H;S
PTX-939    AS, RI, Pl Units (Jan. 2012 - Mar. 2019)                           XW00942515                  XW00942515
PTX-940    Xactware Revenue Statement, as of March 3 1, 2019                  XW00942516                  XW00942516
PTX-941    Email Chain from C. Barrow to D. Schultz re Bloomberg Article,     EV469560                    EV469562                          A;F;H;R;P
           December 9, 2011
PTX-942    EagleView Technology Corporation BOD Presentation, October         EV538890                    EV539051                          A; F;H;R;C;
           27, 2015                                                                                                                         LA
PTX-943    EagleView Article re "Proven Accuracy"                             EV563522                    EV563523                          A;F;H;LA
PTX-944    EagleView Technologies, Inc. Management Presentation               EV634009                    EV634056                          A;F;H;LA
PTX-945    EagleView Executive Summary Presentation, May 2015                 EV781030                    EV781054                          A;F;H;LA
PTX-946    Email Chain from H. West to R. Daga re Eagleview list, March       EV552466                    EV552472                          A;F;H;R;P;
           13, 2015                                                                                                                         C
PTX-947    Email chain from C. Barrow to R. Daga re Peril Based Ordering      EV744395                    EV744395                          A; F; H; R; P;
           Issue, April 22, 2016                                                                                                            C




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                                                                   Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)
                                                                         Plaintiffs Trial Exhibit List
Exhibit#                            Description                                     Beg Bates                     End Bates       Source       Objections

PTX-948    Email chain from R. Daga to C. Barrow re Need Help- Rishi       EV755929                      EV755930                          A; F; H; R; P
           Follow Up, August 4, 2015
PTX-949    Email chain from R. Daga to D. Schultz re Automated Roof        EV764959                      EV764960                          A; F; H; R; P;
           Reports, March 13, 2015                                                                                                         C
PTX-950    Email chain from R. Daga to H. West re XA Integration Issues,   EV765061                      EV765061                          A; F; H; R; P;
           March 16, 2015                                                                                                                  I; C
PTX-951    Email chain from R. Daga to C. Barrow re Eagleview Extension    EV765164                      EV765165                          A;F;H;LA
           with USAA March 23, 2015
PTX-952    Email chain from R. Daga to D. Schultz and F. Giuffrida re      EV01425101                    EV01425104                        A; F; H; I: LA
           Eagle View Introduction, October 27, 2015
PTX-953    RoofinSight Internal Tech Support FAQ                           XW00015666                    XW00015669                        H;R;P;LA
PTX-954    Roof InSight- Property InSight Customer Analysis                XW00023040                    XW00023042                        H; S;LA;
                                                                                                                                           1002
PTX-955    Email Chain from J. Lewis to B. Goodrich et. al re how to access XW00027438                   XW00027440                        R;P;C
           a RoofinSight report, June 10, 2015
PTX-956    Xactware Press Release Draft entitled "Xactware's Property       XW00075039                   XW00075040                        R; LA; 1002
           InSight is Now Available"
PTX-957    Email Chain from M. Allen to J. Lewis and J. Taylor re           XW00047235                   XW00047237                        R;P;C;H
           discrepancies between RooflnSight diagram and report,
           November 15, 2013
PTX-958    Email Chain from W. Loveland to K. Reid and K. Loveland re      XW00072115                    XW00072116                        R
           RooflnSight samples for roofing show, February 20, 2015

PTX-959    Xactware RoofinSight FAQs, January 26, 2015                      XW00041418                   XW00041419




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                                                        Defendants' Objection Key


       ABBREV.                    OBJECTION                                      RULE/ EXPLANATION
                                                          The requirement of authentication or identification as a condition
                                Authentication or
             A                                            precedent to admissibility is satisfied by evidence sufficient to support a
                             Identification (FRE 901)
                                                          finding that the matter in question is what its proponent claims.
           Arg                   Argumentative
                            Attorney Objections Not
            AT
                                   Removed
                            Beyond Scope of Direct/       Objectionable because the testimony exceeds the scope of the direct,
           BSE                Cross / Or Redirect         cross, or redirect examination.
                                 Examination
                                Beyond Scope of           Objectionable because the testimony exceeds the scope of the
           BSS
                                   Subpoena               subpoena
                             Beyond Scope of Rule         Objectionable because the testimony exceeds the scope for which the
           BST
                            30(b)(6) Deposition Topic     witness was designated to testify pursuant Rule 30(b)(6).
                            Cumulative, Duplicative,      Although relevant, evidence may be excluded if its probative value is
             C              Wasteful or Undue Delay       substantially outweighed by considerations of undue delay, waste of
                                   (FRE 403)              time, or needless presentation of duplicative and/or cumulative evidence.
                              Improper Character
          Char
                              Evidence (FRE 404)
          Cmpd                     Compound
                             Not Produced During
             D
                                  Discovery
                                                          Objectionable because a witness may not testify to a matter unless
                              Lack of Foundation
             F                                            evidence is introduced sufficient to support a finding that the witness has
                                  (FRE 602)               personal knowledge of the matter.

                                 Hearsay Rule             Hearsay is not admissible except as provided by these rules or by other
            H                                             rules prescribed by the Supreme Court pursuant to statutory authority or
                                  (FRE 802)               by Act of Congress.
                                                          Objectionable because document is incomplete and the introduction of
                             Incomplete Document
             I                                            the remaining portions or related documents ought, in fairness, to be
                                  (FRE 106)
                                                          considered contemporaneously with it.
                              Improper/Incomplete         Objectionable because additional parts of the testimony in fairness
            ID                    Designation             should be considered with the part of the testimony designated.
                                (FRCP 32(a)(6))
                              Improper/Incomplete         Objectionable because additional parts of the testimony in fairness
            IC                Counter Designation         should be considered with the part of the testimony designated.
                                (FRCP 32(a)(6))
                            Improper Lay or Expert        Objectionable because the testimony is outside the scope of proper lay
            10                     Opinion                or expert testimony.
                                (FRE 701-703)
                               Improper Use of            Objectionable because the designation is inconsistent with the proper
            IP               Deposition Testimony         use of deposition testimony pursuant to FRCP 32.
                                  (FRCP 32)
                            Improper Designation of       Objectionable because the witness who gave the designated testimony
           IDe                Witness who will be         will be called to testify at trial.
                                  Called Live
                               Legal Conclusion           Objectionable because witness testimony constituting a legal conclusion
            LC                                            creates a danger of unfair prejudice, confusing the issues, misleading
                                   (FRE 403)




       MEI 301 l 9256v. l
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                                        Case No. 15-cv-07025 (RBK/JS) (D.N.J.)

                                                    Defendants' Objection Key

                                                      the jury, undue delay, or wasting time.
                                  Leading             Objectionable because leading questions should not be used on direct
          LD
                                 (FRE 611)            examination except as necessary to develop the witness's testimony.

                           Mischaracterizes Prior     Objectionable because the designation includes mischaracterization of
                                Testimony             prior testimony, as a result the testimony lacks relevance and creates a
           M
                                                      danger of unfair prejudice, confusing the issues, misleading the jury,
                            (FRE 401-403, 611)
                                                      undue delay, or wasting time.
                                                      Objectionable because the designation includes mischaracterization of
                             Mischaracterizes         an underlying document, as a result the testimony lacks relevance and
          MD
                           Underlying Document        creates a danger of unfair prejudice, confusing the issues, misleading
                                                      the jury, undue delay, or wasting time.
                           Assumes Facts Not in       Objectionable because the question assumes facts not in evidence.
          NE
                                Evidence
                                                      Objectionable because the designated testimony is not responsive to the
          NR                  Non responsive
                                                      question.
          NT                   Not Testimony          Objectionable because the designated material is not testimonial.

                            Offer of Settlement       Evidence of an offer of consideration to compromise or attempt to
          OS                                          compromise a claim, or conduct or a statement made during
                                (FRE 408)
                                                      compromise negotiations about the claim, is not admissible.
                                                      Although relevant, evidence may be excluded if its probative value is
                           Prejudicial, Confusing,
           p                                          substantially outweighed by the danger of unfair prejudice, confusion of
                          Vague and/or Misleading
                                                      the issues, or misleading the jury, or by considerations of undue delay,
                                 (FRE 403)
                                                      waste of time, or needless presentation of cumulative evidence.
                             Lack of Personal         Objectionable because lack of personal knowledge makes the witness
          PK                   Knowledge              incompetent to testify about particular facts.
                                (FRE 602)
                                 Privilege            The evidence is subject to a claim of attorney-client privilege or other
          PR
                               (FRE 501-502)          privilege.
                                                      All relevant evidence is admissible, except as otherwise provided by the
                                 Relevance            Constitution of the United States, by Act of Congress, by these rules, or
           R
                               (FRE 401, 402)         by other rules prescribed by the Supreme Court pursuant to statutory
                                                      authority. Evidence that is not relevant is not admissible.
                                                      Objectionable because the designation includes a question calling for
                                                      speculation and/or speculation as a result the testimony lacks relevance
          SP               Calls for Speculation
                                                      and creates a danger of unfair prejudice, confusing the issues,
                                                      misleading the jury, undue delay, or wasting time.
                                                      The party relying on the summary must establish its accuracy to the
                                                      court's satisfaction.
                                Summaries             See Graham, Handbook of Federal Evidence§ 1006.1 (5th ed. 2001 ).
           s                    (FRE 1006)
                                                      United States v. Pelullo, 964 F.2d 193, 204 (3d Cir. 1992) ("It is well
                                                      established that summary evidence is admissible under Rule 1006 only if
                                                      the underlying materials upon which the summary is based are
                                                      admissible.").
                           Vague, Ambiguous or
          V                    Overbroad
                                (FRE611)
                                                      When evidence that is admissible as to one party or for one purpose but
                           Limited Admissibility      not admissible as to another party or for another purpose is admitted, the
         105
                                 (FRE 105)            court, upon request, shall restrict the evidence to its proper scope and
                                                      instruct the jury accordingly.
         701               Improper Lay Opinion       If a witness is not testifying as an expert, testimony in the form of an


                                                                   2
     MEI 301 l 9256v. l
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                                                     Defendants' Objection Key

                             Testimony (FRE 701)        opinion is limited as provided by this rule.
                                Best Evidence          An original writing, recording, or photograph is required in order to prove
         1002                                          its content unless the rules or a federal statute provide otherwise.
                                 (FRE 1002)
                                                       If post-dated evidence is admitted as to one purpose but not admissible
                            Post Dated Filing Date     as for another purpose (e.g., for obviousness analysis), the court, upon
          PD
                                  (FRE 105)            request, shall restrict the evidence to its proper scope and instruct the
                                                       jury accordingly.
      Badgering             Badgering the Witness      Inappropriate badgering of the witness.
                                                       Exhibit has not been provided, the copy provided is illegible, and/or the
           X
                                                       entry includes multiple documents.
                              Wrong Document
           y                Identified or Incorrect
                           Description of Document
          MIL                 Motion in Limine         Subject to motion in limine.




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      MEI 301 l 9256v. l
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                                             Eagle View Technologies, Inc., et al. v. Xactware Solutions, Inc., et. al.,
                                                         Civil Action No. 15-7025 (RBK) (JS) (DNJ)
                                                                Defendants' Trial Exhibit List


 Exhibit     Bates Begin      Bates End                                                     Description                                                     Objections
DTX-1      EV056224        EV057433       Certified Copy of File History of U.S. Patent No. 8,078,436 (12/253,092)
DTX-2      EV057435        EV058412       Certified Copy of File History of U.S. Patent No. 8,170,840 (12/467,244)
DTX-3      EV058414        EV059396       Certified Copy of File   History   of U.S.   Patent No.   8,209,152 (12/467,250)
DTX-4      EV061359        EV066409       Certified Copy of File   History   of U.S.   Patent No.   8,818,770 (13/438,288)
DTX-5      EV066411        EV071523       Certified Copy of File   History   of U.S.   Patent No.   8,825,454 (13/474,504)
DTX-6      EV071693        EV072210       Certified Copy of File   History   of U.S.   Patent No.   9,129,376 (14/449,045)
DTX-7      EV072212        EV072667       Certified Copy of File   History   of U.S.   Patent No.   9,135,737 (14/450, 108)
DTX-8      EV01552484      EV01552512     Certified Copy of U.S. Patent No. 8,078,436
DTX-9      EV01552513      EV01552558     Certified Copy of U.S. Patent No. 8,170,840
DTX-10     EV01552559      EVOl552605     Certified Copy of U.S. Patent No. 8,209,152
DTX-11     EV01552606      EV01552655     Certified Copy of U.S. Patent No. 8,818,770
DTX-12     EV01552656      EV01552705     Certified Copy of U.S. Patent No. 8,825,454
DTX-13     EV01552706      EV01552756     Certified Copy of U.S. Patent No. 9,129,376
DTX-14     EV01552757      EV01552807     Certified Copy of U.S. Patent No. 9,135,737
DTX-15     EV00032127      EV00033457     Ex Parte Reexamination of U.S. Patent No. 8,078,436 (12/253,092)
DTX-16     EV00000015      EV00000048     Document entitled "EagleView Reference Guide: For Measuring Technicians"                                       A;C
DTX-17     EV00000190      EV00000235     Document entitled "EagleView Reference Guide: Twister"                                                         A;C
DTX-18     EV00000190      EV00000235     Powerpoint entitled "Reference Guide: Twister"                                                                 A;C
DTX-19     EV00000236      EV00000269     October 15, 2008 document entitled "EagleView Reference Guide: For Measuring Technicians"                      A;C
DTX-20     EV00024096      EV00024130     June 12, 2008, Document entitled "Eagle View Reference Guide: For Measuring Technicians"                       A;C
DTX-21     EV00024131      EV00024176     October, 15, 2008 document entitled "Eagle View Reference Guide: Twister"                                      A;C
DTX-22     EV00024181      EV00024215     June 12, 2008, Document entitled "Eagle View Reference Guide: For Measuring Technicians"                       A;C
DTX-23     EV00024225      EV00024270     October 15, 2008, Document entitled "Eagle View Reference Guide: Twister"                                      A;C
DTX-24     EV00025565      EV00025568     Document entitled "EagleView Technologies Brand Standards and Guidelines"                                      A;R;P
DTX-25     EV00027139      EV00027997     Document entitled "Aerial Roof Estimation Systems and Methods Cross Reference to Related Applications"         A; C, I

DTX-26     EV00028607      EV028617       Applicant's Reply to Office Action for Application NO. 12/467,250                                              A; C, I
DTX-27     EV00031541      EV031558       Applicant's Reply to Office Action for Application NO. 14,450, 108                                             A; C,I
DTX-28     EV00031622      EV00031649     US Patent No. 8,078,436                                                                                        A;C
DTX-29     EV00032008      EV00032020     December 16, 2014 Complaint, "In the Matter ofVerisk Analytics, Inc., Insurance Services Office, Inc. and      A, p
                                          Eagle View Technology Corp.", Provisionally Redacted for Public Version

DTX-30     EV00032372      EV00032398     October 24, 2013 Declaration of Chris Pershing and exhibits A-C thereto filed in support of 8,078,436 patent   A;Y;I
                                          prosecution.
DTX-31     EV00033470      EV00033470     January 11, 2012 email from J. Cattle to C. Pershing, et al. re: "2012 Product/Engineering Planning Meeting"   A;F;R;P




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DTX-32   EV00033471    EV00033497    January 11, 2012 entitled "2012 Product/Engineering Planning Meeting- Developing the 2012 Product              A;F;R
                                     Roadmap"
DTX-33   EV00033506    EV0003351 l   March 12, 2012 memorandum from D. Ekman, re: "Estimating Update"                                               A;F;R;P
DTX-34   EV00033512    EV00033528    PowerPoint entitled "EagleView Estimating Technology Overview Kumaran Sundar March 2012"                       A;F;R;P
DTX-35   EV00033530    EV00033535    March 16, 2012 memorandum from R. Daga to A. Burch re: "Burch Territory Plan"                                  A;F;R
DTX-36   EV00033539    EV00033541    May 8, 2012 email chain between H. Ellsworth and C. Barrow, et al. re: "Good Morning"                          A;F;R;P
DTX-37   EV00033545    EV00033545    May 5, 2012 email from D. Elkman to C. Barrow, cc: K. DeBoer re: "Estimating BOD slides"                       A;F;R
DTX-38   EV00033546    EV00033552    PowerPoint entitled "2012 Estimating Update Dean Ekman May Board of Directors February 14, 2013"               A;F;R

DTX-39   EV00033553    EV00033553    May 16, 2012 email from R. Daga to C. Barrow re: "Travelers adjusted feedback from Smile and Dial 5.16.12" A;F;H




DTX-40   EV00033555    EV00033573    PowerPoint entitled "EagleView Technologies subtitle February 14, 2013"                                        A;F;R;P
DTX-41   EV00033580    EV00033583    November 19, 2012 memorandum from D. Elkman re: "Estimating Update"                                            A; F;R; P;H
DTX-42   EV00033595    EV00033697    April 11, 2012 Complaint, and exhibits thereto, filed in Eagle View Technologies, Inc. v. Aerialogics, LLC     R; P; 105; ML
                                     (W.D.Wa 12-cv-00618-RAJ)
DTX-43   EV00034406    EV00034413    April 2, 2012 Complaint, and exhibits thereto, filed in Eagle View v. RoofWalk (W.D. Wa l 2-cv-00544)          R;P;C;ML

DTX-44   EV00034499    EV00034498    April 5, 2012 Amended Complaint in Eagle View v. Roofwalk (W.D.Wa 12-cv-00544)                                 R;P;C;ML
DTX-45   EV00037212    EV00037246    U.S. Patent Pub. 2009/0304227 by Kennedy, et al.                                                               R;P;C;P;ML
DTX-46   EV00037525    EV00037551    U.S. Patent Pub. 2011/0205245 to Kennedy, et al.                                                               R; P; C; P;ML
DTX-47   EV00042355    EV00042389    US Patent No. 8,417,061 to Kennedy, et al.                                                                     A;P;ML
DTX-48   EV00043415    EV00043415    Spreadsheet entitled "EagleView Technologies Sales Forecast FY2013 Forecast"                                   A;F
DTX-49   EV00043416    EV00043416    Spreadsheet entitled "Xactware Analysis 05-31-15"                                                              A;F
DTX-50   EV00043417    EV00043417    Spreadsheet entitled 'Xactware Analysis 04-30-15"                                                              A;F
DTX-51   EV00043428    EV00043428    Spreadsheet entitled "Revised - FY2013 YTD Summary Revenue Analysis (monthly details) - ADJ Industry           A;F
                                     Mix"
DTX-52   EV00043448    EV00043448    Spreadsheet entitled "Xactware Report 04-30-15"                                                                A;F
DTX-53   EV00043449    EV00043453    September 27, 2013 Email chain to F. Giuffrida, R. Daga et al., from C. Barrows re: "Re: 3603 Capitol Drive"   R;P;ML

DTX-54   EV00043812    EV00043822    Unexecuted "Agreement" between Xactware Solutions, Inc. and Eagle View Technologies, Inc.                      ML




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DTX-55   EV00043829   EV00043834     November 6, 2008 email chain between C. Dieveney and C. Barrow re: "EagleView Next Steps: Xactware              A;F;H
                                     Agreement!"
DTX-56   EV00043861   EV00043862     November 7-10, 2008 email chain between B. Hawk and C. Barrow re: "EagleView"                                   A;F;H
DTX-57   EV00043897   EV00043898     November 17, 2008 email chain between B. Hawk, C. Barrow, et al. re: "EagleView"                                A;F;H
DTX-58   EV00044538   EV00044543     Document entitled "Technology Provides a Precise Look at Roof Measuring"                                        A
DTX-59   EV00044614   EV00044614     Document entitled "Eagelview vs. Geoestimator"                                                                  A;F;H;P;ML
DTX-60   EV00045623   EV00045623     October 30, 2009 email from R. Bateman to Eagleview Shareholders, cc'ing C. Barrow re: "Eagle View Q3           A;F;R
                                     2009 Update"
DTX-61   EV00045624    EV00045626    Document entitled "Shareholder Update 10/30/09 Eagle View Shareholders"                                         A;F;R
DTX-62   EV00046109    EV0004611 I   December 10, 2009 email chain between D. Foster, D. Shultz, C. Barrow, et al. re: "Dwight Foster, Eagle View:   A;F;H
                                     Sample Reports"
DTX-63   EV00046647    EV00046652    Document entitled "Technology Provides A Precise Look At Roof Measuring"                                        A;F;C
DTX-64   EV00047113    EV00047114    September 30, 2010, email chain between D. Schultz and H. Ellsworth, et al. re: "RE: Remote Roof Reports        A; F; H; R; P
                                     with Complete Material List"
DTX-65   EV00047383    EV00047385    November 8, 2010 email chain between B. Grant, C. Barrows, et al. re: "Roofing estimation using pictometry" A;F; H; PK

DTX-66   EV00047551    EV00047552    January 7, 2011 email chain between W. Barnes, B. Grant, P. Gamido, et al. re: "Xactware - EV price for SF"     A;F;R;P

DTX-67   EV00047623    EV00047629    January 15, 2011 email from B. Grant to C. Barrow, cc: J. Polchin and attached PowerPoint entitled "Business    A;F
                                     Development"
DTX-68   EV00048297    EV00048297    Spreadsheet entitled "Automation Plan v4"                                                                       A;F;H;R
DTX-69   EV00049094    EV00049103    June 12, 2012 Correspondence from Deloitte & Touche LLP to Yuri Pikover, Chairman of the Audit                  A; F; H; R; P
                                     Committee, Eagle View Technologies, Inc.
DTX-70   EV00049104    EV00049122    Document entitled "Eagle View Technologies, Inc. Consolidated Financial Statements as of and for the Years      A;F;H;R
                                     Ended December 31, 2011 and 2010, and Independent Auditors' Report"
DTX-71   EV00049142    EV00049142    Spreadsheet entitled "Eagle View Financials - GAAP (Final) (4.1 )"                                              A;F;H;R
DTX-72   EV00050122    EV00050122    February 13, 2009, Email chain from C. Barrow to M. Smith et al, re: "RE: New home page text"                   R;P;C
DTX-73   EV00050189    EV00050189    Document entitled "take the GUESStimating our of ESTIMATING"                                                    A;F
DTX-74   EV00050921    EV00050974    Document entitled "Board Meeting July 28, 2009 Bothwell, WA"                                                    A;F
DTX-75   EV00051118    EV00051120    October 9, 2009 email chain between C. Barrow and S. Clair, et al. re: "RE: Prototype & User Flow Updates"      A;F;R;P

DTX-76   EV00052136    EV00052171    Document entitled "Bob Grant EVP Sales & Marketing February 11, 2010"                                           A;F
DTX-77   EV00052619    EV00052642    Document entitled "Board Meeting April 20, 2010 Dial-in Board Call"                                             A;F;R
DTX-78   EV0052844     EV0052865     May 28, 2010 email from C. Barrow to R. Daga, re: "lean slides" and attaching "Accuracy and Precision           A;F
                                     (2).pptx"
DTX-79   EV00053502    EV00053502    Spreadsheet enitled "Eagle View vs. GeoEstimator"                                                               A;F;H;ML
DTX-80   EV00053567    EV00053610    Document entitled "Board Meeting September 7, 2010 In Person I Teleconference Board Meeting Bothwell,           A;F
                                     WA"




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DTX-81    EV00053857    EV00053857   Spreadsheet enitled "Competitor Spreadsheet"                                                                 A;F;P; ML
DTX-82    EV00053905    EV00053910   Document entitled "EagleView Pricing 2011"                                                                   A;F
DTX-83    EV00054121    EV00054160   Document entitled "EagleView Integration: Decrease Processing Time and Increase Completed Daily Estimates    A;F
                                     Chris Barrow, President & CEO February 13, 2013"
DTX-84    EV00072212    EV00072667   Certified Copy of U.S. Application 14/450, 108 Patent
DTX-85    EV00072669    EV00072688   Certified Copy of U.S. Application 60/925,072 Patent
DTX-86    EV00072690    EV00072758   Certified Copy of U.S. Application 61/197,904 Patent
DTX-87    EV00073227    EV00073273   Document entitled "Eagle View Technologies Competitive Analysis"                                             A;F;ML
DTX-88    EV00073732    EV00073732   Spreadsheet entitled "Trial Balance and Account Rollups"                                                     A;F
DTX-89    EV00074545    EV00074547   Document entitled "Services Agreement, 3C Network and Eagle View Technologies, Inc."                         A;F;H
DTX-90    EV00074671    EV00074671   Spreadsheet containing 2010-2011 operational wages and fees                                                  A;F
DTX-91    EV00076075    EV00076103   PowerPoint entitled "Board Meeting April 20, 2010 Dial-in Board Call"                                        A;F
DTX-92    EV00076217    EV00076231   PowerPoint entitled "Bob Grant, EVP 7/10/2010"                                                               A;F
DTX-93    EV00077885    EV00077914   PowerPoint entitled "Board Meeting June 22, 2010 In Person Board Meeting & Strategy Session Las Vegas"       A;F;H

DTX-94 EV00078428       EV00078436   Document entitled "Order Master Service Agreement No. 523150 Order No. 2"                                    A;F
DTX-95  EV00078951      EV00078955   PowerPoint entitled "Construction Sales March 20, 2012"                                                      A;F
DTX-96  EV00080127      EV00080129   Document entitled "FY2013 Board Operating Plan - Revenue Executive Summary"                                  A;F
DTX-97  EV00080186      EV00080186   Spreadsheet entitled "Pictometry International PBS Signed Contrast Forecast"                                 A; F; H; R
DTX-98  EV00137341      EV00137341   May 23, 2011 email from T. Bacon to All Offices re: "Pictometry Press Release"                               A;F;H;R
DTX-99  EV00137343      EV00137343   May 23, 2011 document entitled "Pictometry Acquires GeoEstimator"                                            A;F;H; R; ML
DTX-100 EV00141063      EV00141063   June 3, 2014 email from K. Edwards to Eagle View (All Offices) re: "QuickSquares Mobile App launching        A;F;R
                                     Monday 6/9"
DTX-101 EV00144770      EV00144770   February 16, 2015 email from K. Edwards to EagleView (All Offices) re: "WallsLite Launch"                    A;F;R
DTX-102 EV00158008      EV00158008   August 27, 2008 email chain between Y. Wang, F. Giuffrida, et aL re: "RE: Creation of 3-d wireframes"        A; F; H; R; P

DTX-103   EV00172406    EV00172406   October 7, 2014 email from K. Edwards to Eagle View (All Offices) re: "QuickSquares Android App Launch       A;F;R
                                     tomorrow"
DTX-104   EV00175445    EV00175446   April 16, 2015 email chain between M. Simburger and F. Giuffrida, et al., re: "Test Areas"                   A;F;R;P
DTX-105   EV00231614    EV00231616   July 18, 2014 email chain between C. Schnaufer, F.Giuffrida, et al., re: "Recent competitor shopping"        A;F;R;P;ML
DTX-106   EV00239961    EV00239970   Document entitled: "Pictometry Memo"                                                                         A; F; H; R; P
DTX-107   EV00285948    EV00285957   Document entitled "Roof Report Update, Pictometry"                                                           A;F; H;R; P
DTX-108   EV00286228    EV00286234   October 1, 2012, Email chain between D. Thornberry and C. Thornberry, et al., re: "FW: AppliCad eNews #134   A;F;H
                                     - Hip-end Pitch Measure Tools at Metalcon 2012"
DTX-109 EV00333227      EV00333227   Spreadsheet entitled "RoofMeasurment Volume and Production Tracking Worksheet 08-29-12"                      A;F;H
DTX-110 EV00333455      EV00333467   Document entitled "2012 Pictometry Business Solutions - FY12Highlights"                                      A; F;H; R;P
DTX-111 EV00333831      EV00333833   August 9, 2011 email chain between C. Baughman, C. Hunt; D. Thornberry, et al., re: "Ohio Mutual Insurance   A; F; H; R; P
                                     Group"




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DTX-112 EV00335274       EV00335275   June 30, 2011 email chain between J. Marcus, T. Scarpulla, D. Thornberry, et al., re: "Pictometry offer to        A; F;H; R; P
                                      PIPSO Members"
DTX-113 EV00335628       EV00335643   Unexcuted, draft "Services Agreement" between Assurant Specialty Insurance and Pictometry                         A;F; H;R; P
DTX-114 EV00335648       EV00335649   Document entitled "GeoEstimator Exceeds Customer Expectations"                                                    A;F;H;ML;P
DTX-115 EV00335800       EV00335803   Document entitled "Pictometry, Prepared for: Allstate Insurance Date 8/25/2011, Prepared by: Chad Hunt"           A;F;H

DTX-116   EV003361 l l   EV00336112   Document entitled "GeoEstimator: Preferred Contractors Exclusive Owens Coming Discounts"                          A;F;H;ML;P
DTX-117   EV00336115     EV00336152   PowerPoint entitled "GeoEstimator"                                                                                A;F;H;ML;P
DTX-118   EV00337687     EV00337691   Document entitled "Program Management Review - December 1st Highlights"                                           A;F;H
DTX-119   EV00337753     EV00337753   Spreadsheet entitled "Roof Measurment Volume and Production Tracking Worksheet 04-04-12"                          A;F;H;
DTX-120   EV00337835     EV00337842   Document entitled "2012 PLRB Program Management Meeting Schedule/ Debriefing"                                     A; F; H; R; P
DTX-121   EV00337912     EV00337913   April 18, 2012 email from T. Guhl to J. Reich; D. Gallaher; D. Thornberry, et al. "Pictometry Update"             A; F; H; R; P
DTX-122   EV00338070     EV00338087   Document entitled "Eagle View technologies April 22, 2012 Spectrum Equity"                                        A;F;H
DTX-123   EV00341037     EV00341038   Document entitled "Professional Roofer Magazine: What's Imagery Got to Do With It? Accuracy in Remote             A;F;H;R;P
                                      Roof Measurement Services"
DTX-124   EV00341077     EV00341078   Document entitled "Xactware User Conference 2012, Aerial Sketch - Version 2"                                      A;F;H;
DTX-125   EV00342237     EV00342237   Spreadsheet entitled "Roof Measurment Volume and Production Tracking Worksheet 03-21-12"                          A;F;H
DTX-126   EV00344928     EV00344939   Document entitled "April YTD Performance vs Prior Year" by Spectrum Equity                                        A; C; F; H; L; LF;
                                                                                                                                                        R; S;PK
DTX-127 EV00345169       EV00345182   September 18, 2012 email from D. Thornberry tp K. Reiley re: "Dale T evaluation" and attaching "2012              A; C; H; F; L;
                                      perforcance DRT9-18-2012" Perfonnance Review                                                                      PK;R;P
DTX-128   EV00350836     EV00350837   November 30, 2012 email from J. Pistritto to C. Hunt, et al. re: "Insurance_Target Strategies_l 1.30.2012.xlsx"   A;C;F;L;R
                                      and attaching document entitled "Insurance_Target Account Strategies_ 11.30.2012"

DTX-129   EV00350995     EV00351022   December 19, 2012 email from J. Marcus to D. Thornberry; cc: J. Pistritto, re: "Lynx" and attaching documents A; C; F; L; R; H
                                      entitled "MSA Pictometry 538230.docx; Nationwide Exhibit 1 to Order.docx; Pictometry Order No. 1.docx"

DTX-130   EV00355056     EV00355138   Presentation entitled "PICTOMETRY INTERNATIONAL CORP Roof Measurement Reports"                                    A;C;F;L;R;H

DTX-131 EV00357944       EV00357951   Document entitled "Quick Reference Production Procedures, Pictometry"                                             A; C; F;L; R
DTX-132 EV00361629       EV00361631   June 23, 2011 email from D. Kinsman to R. Daga et al, re: "Allstate Call Followup / Portal Roadmap"               A; F; H; L; PK;
                                                                                                                                                        R;P
DTX-133   EV00361754     EV00361755   October 18, 2008 email chain between R. Johnson to C. Barrow; B. Jackman re: "Eagle View Xactware                 A; F; L; R; P; ML
                                      Agreement 101608 Delivered"
DTX-134   EV00362717     EV00362727   May 15, 2009 email chain between C. Johnson and R. Daga, et al., re: "Need to use Eagle View" and attaching       A; F; H; L; PK;
                                      document entitled "Nationwide - Order No I to MSA 523150 02-01-09 .pdf'                                           R;P
DTX-135   EV00363187     EV00363198   Presentation entitled "Xactware, June 9, 2016, Eagle View - Xactware Integration Recap"                           PD; A; F; L; R




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DTX-136   EV00365237    EV00365245      July I, 2010 email from P. Gamido to C. Barrow re: "FWD: State Farm Pricing" and attaching document cntitlec A; C; P; H; L; LF;
                                        "Eagle View - State Farm Pricing Confidential-rev.pptx"                                                      PD;R;P
DTX-137   EV00368612    EV00368620      June 6, 2011 email chain between P. Gamido and C. Barrow, et al. re: "Travelers meeting" and attaching       A;F;H;L;R
                                        document entitled "Eagle View Technologies Master and Travelers VPG I.I - Review.docx"
DTX-138   EV00368795    EV00368795      July 8, 2011 email from P. Gamido to C. Barrow; R. Daga, D. Shultz; A. Bowman re: "Travelers notes meeting A; F; H; L; LF;
                                        fyi ... confidential"                                                                                        PK;R
DTX-139   EV00370214    EV00370237      Presentation entitled "EagleView Technologies creating virtual 3-D models using Aerial Photography" by C.    A; C; F; L; PK; R
                                        Barrow, CEO and J. Polchin, CFO
DTX-140   EV00370401    EV00370402      November 8, 2011 email chain between R. Daga, C. Barrow, et al., re: "Competitors"                           A; F; H; L; LF;
                                                                                                                                                     ML;P;PK;R
DTX-141   EV00370403    EV00370405      November 8, 2011 email chain between R. Daga; C. Barrow; P. Gamido, et al., re: "contract discussion"        A; F; H; L; LF;
                                                                                                                                                     PK;R;P
DTX-142   EV00371125    EV00371149      Presentation entitled "Eagle View: 2012 Product/ Engineering Planning Meeting, Developing the 2012 Product A; F; L; ML; P;
                                        Roadmap, January 11, 2012"                                                                                   PK;R
DTX-143   EV003731 IO   EV00373 I I I   February 16, 2012 Document entitled "Competitive Analysis Aerial Sketch V2"                                  A; F; L; P; PK; R

DTX-144   EV00373121    EV00373123      Document entitled "FAQ Eagle View Extended Coverage"                                                         A; F; C; L; PK; R

DTX-145   EV00375569    EV00375572      June 6, 2012 email chain between R. Daga, D. Schultz, C. Barrow, J. Polchin, et al., re: "Big3 Incoming      A; F; H; L; PK; P;
                                        Volumes - June 1-4"                                                                                          R;LF
DTX-146   EV00375573    EV00375577      June 6, 2012 email chain between R. Daga, D. Schultz, C. Barrow, J. Polchin, et al., re: "Big3 Incoming      A; F; H; L; PK; P;
                                        Volumes - June 1-4"                                                                                          R;LF
DTX-147   EV00375627    EV00375634      June 11, 2012 email from J. Polchin to C. Barrow and C. Pershing, re: "Term Sheet" and attaching document    A;F; L;PK; R
                                        entitled "Term Sheet 6.11.12.pdf'
DTX-148   EV00375843    EV00375856      June 15, 2012 email from Z. Long to Contractor Support, C. Barrow, et al. re: "Comparison Reports" and       A; F; H; L; LF;
                                        attachment thereto                                                                                           ML;P; PK;R
DTX-149   EV00375843    EV00375856      June 15, 2012 email from Z. Long to Contractor Support, C. Barrow, et al. re: "Comparison Reports" and       A; F; H; L; ML;
                                        attachment thereto                                                                                           R;C
DTX-150   EV00376408    EV00376410      July 13, 2012 email chain between J. Polchin to C. Barrow re: "Plan"                                         A; F; H; L; LF; P;
                                                                                                                                                     PK;R
DTX-151   EV00380321    EV00380361      Presentation entitled "Eagle View Technologies: Management Presentation"                                     A; C; F; L; PK; R

DTX-152   EV00380885    EV00380885      Spreadsheet entitled "Xactware - Historical Royalty Payments & Warrants Earned"                              A;F; L; PK;R
DTX-153   EV00381956    EV00381961      Document entitled "Technology - The Future is Now Your Business"                                             A;F; L; PK;R
DTX-154   EV00384887    EV00384966      February 22, 2008 "Intellectual Property Valuation for Geospan Corporation" by Ocean Torno                   A; F; H; L; LF;
                                                                                                                                                     PK;R




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DTX-155   EV00386063   EV00386109   Document entitled "Eagle View Technologies Competitive Analysis"                                              A; F; L; ML; PK;
                                                                                                                                                  R



DTX-156   EV00386175   EV00386189   Presentation entitled "Eagle View Technologies: Company Overview October 2009"                                A; C; F; L; PK; R

DTX-157   EV00386404   EV00386497   November 5, 2009, email chain between C. Barrow and D. Foster, et al. re: "Contractor Connection update"      A; F; H; L; F; PK;
                                                                                                                                                  R; I; P
DTX-158   EV00388232   EV00388233   April 15, 2010 email chain between C. Barrow and E. Webecke, et al. re: "Fw: Realworld vs EV facet counts"    A; F; H; L; F; R;
                                                                                                                                                  p
DTX-159   EV00397879   EV00397918   Presentation entitled "Board of Director's Meeting Presentation March 6, 2013 In-Person, Pictometry Corporate A; F; L; C; R; PK
                                    Offices"
DTX-160   EV00398400   EV00398401   January 5, 2013 email chain between C. Pershing and R. Daga, et al., re: "Google Alert - xactware"            A; F; H; I; L; LF;
                                                                                                                                                  ML;P;PK; R

DTX-161   EV00400841   EV00400841   Spreadsheet entitled "PartnerMatrix 031413"                                                                   A; F; I; L; P; PK;
                                                                                                                                                  R;S
DTX-162   EV00403888   EV00403894   June 5, 2012 email chain between S. Bird and C. Johnson, et al., re: "Allstate Volume Discount Agreement" and A; F; H; L; LF;
                                    attaching document entitled "PF-508 Allstate Volume Discount Agreement 2011 Amendment"                        PK;R;P

DTX-163   EV00420577   EV00420579   Document entitled "Eagle View Technologies, Inc. Memo to file Xactware Agreement and Classification of        A; F; L; PK; R; P
                                    Warrant Expense"
DTX-164   EV00429816   EV00429817   May 27, 2011 email chain between D. Schultz; H. Ellsworth; J. Polchin re: "Standard Report Opportunity"       A; F; H; L; LF;
                                                                                                                                                  PK;R;P
DTX-165   EV00433422   EV00433423   Document entitled "Aerial Measurement Reports: Uncovering the Hidden Costs ofDIY Tools"                       A; F;L;PK; R
DTX-166   EV00434086   EV00434149   Document entitled "Eagle View Technologies, Inc. Fair Value of Certain Identifiable Intangible Assets of      A; F; H; L; LF;
                                    SuperBuild, LLC As of October 27, 2011 Report Issues: June 12, 2012"                                          PK;R
DTX-167   EV00448666   EV00448666   Spreadsheet entitled "Eagleview Technologies 3YR FINANCIAL MODEL 12.2011"                                     A; F; L; PK; R; S

DTX-168   EV00449044   EV00449127   Presentation entitled "Eagle View Board of Director's Meeting January 17, 2012"                               A; C; L;PK;R
DTX-169   EV00449496   EV00449503   Document entitled "Residential Report, Aerialogics, Order No: 17960, January 30, 2012"                        A;L;LF;PK
DTX-170   EV00452258   EV00452258   June 15, 2012 email chain between R. Daga, C. Barrow, D. Schultz, and A. Bowman, re: "Grange Ride Along       A; L; H; LF; PK;
                                    Presentation"                                                                                                 R; I; P
DTX-171   EV00460920   EV00460931   May 6, 2008 Letters to D. Carlson from K. Cybul, enclosing "Pictometry, Mutual Non-Disclosure Agreement"      A; F; H; L; LF;
                                                                                                                                                  PK;R
DTX-172   EV00467626   EV00467627   October 19, 2010 email chain between C. Barrows, B. Combes, et al., re: "Remote Roof Measurements"            A; F; H; L; LF;
                                                                                                                                                  PK;R;P;ML




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DTX-173   EV00469398   EV00469399   Decemher 2, 2011 email chain between C. Barrow, H. Ellsworth, et al. re: "Most Recent secret shopper"         A; F; H; L; LF;
                                                                                                                                                  ML; PK; R; I
DTX-174   EV00469398   EV00469399   December 2, 2011 email chain between C. Barrow, H. Ellsworth, et al. re: "Most Recent secret shopper"         A; F; H; L; LF;
                                                                                                                                                  ML;PK;R; I
DTX-175   EV00502219   EV00502302   Document entitled "Asset Purchase Agreement by and among Eagle View Technologies, Inc. and Superbuild,        A; F; H; L; LF;
                                    LLC"                                                                                                          PK;R
DTX-176 EV00534540     EV00534610   Document entitled "EagleView Technologies, Inc. Fair Value of Certain Assets and Liabilities Related to the   A; F; H; L; LF;
                                    Acquisition of Eagle View Technologies, Inc. As of January 7, 2013, April 27, 2015"                           PK;R
DTX-177 EV00534823     EV00534852   Document entitled "EagleView Technology                                                                       A; F; H; L; LF;
                                    Corporation and Subsidiaries Consolidated Financial Statements as of and for the Years Ended December 31,     PK;R
                                    2014 and 2013 and Independent Auditors' Report"
DTX-178   EV00536576   EV00536640   Document entitled "EagleView Technology Corporation, YRC, Valuation oflntangible Assets Of Eagle View         A; F; H; L; LF;
                                    Technology as of July 15, 2015, Report Date: February 8, 2016"                                                PK;R
DTX-179 EV00536800     EV00536800   Spreadsheet entitled "Xactware Analysis 20 l Oto 2016"                                                        A;F; L;PK; R
DTX-180 EV00536802     EV00536906   Document entitled "Eagle View Technology Corporation BOD Presentation, Austin, TX, 03 March, 2016"            PD; F; L; PK

DTX-181 EV00536927     EV00536927   Spreadsheet entitled "EagleView Technology Corporation - GAAP (Final) 12-31-2015"                             A;F; L; PK;R
DTX-182 EV00538060     EV00538075   Presentation entitled "Rishi Daga - CEO 90 Day Plan"                                                          A; F;L; PK; R
DTX-183 EV00539588     EV00539593   Document entitled "EagleView Technologies, Inc., Investment Summary"                                          A; F; L; LF; PK;
                                                                                                                                                  R
DTX-184 EV00541704     EV00541705   April 16, 2015 email chain between. C. Barrow and R. Daga re: "QI Volumes - Insurance, YOY"                   A; F; H; L; LF;
                                                                                                                                                  PK; P; R; I
DTX-185 EV00543459     EV0054348I   Document entitled "Construct June 22, 2015 Launch"                                                            A;F; L; PK;R
DTX-186 EV00546163     EV00546166   Document entitled "EagleView and GAF Materials Corporation Strategic Alliance Term Sheet"                     A; F; H; L; LF;
                                                                                                                                                  PK;R
DTX-187 EV00549556     EV00549557   December 2, 2014 email chain between J. Pistritto; D. Schultz; R. Daga; and A. Bowman re: "Product            A; F; H; L; LF;
                                    Strategy Solar 11.2014"                                                                                       PK;R;P
DTX-188   EV00550348   EV00550357   Document entitled "Promotional Agreement"                                                                     A; F; H; L; LF;
                                                                                                                                                  PK; R; I; Y
DTX-189 EV00552765     EV00552766   March 17, 2015 email chain between H. West and R. Daga re: "EagleView Wall Report Case Study"                 A; F;H; L;PK
DTX-190 EV00553619     EV00553619   Spreadsheet entitled "Non-Enterprise Pricing Analysis 6-19-2013"                                              A; F; L; PK; R; S

DTX-191   EV00555842   EV00555842   Document entitled "Important Ordering Process Change Notice for Xactimate Users"                           A; F; L; LF; PK;
                                                                                                                                               R;P
DTX-192   EV00555999   EV00556028   Presentation entitled "EagleView Technologies 2014 Commercial Campaigns"                                   A; F; L;PK; R
DTX-193   EV00556147   EV556221     Document entitled "Roofing Contractor 2013 State of the Industry, December 2013, in conjunction with: GAF, A; F;H; L;PK
                                    Eagle View Technologies"




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DTX-194   EV00556340   EV00556349   Document entitled "Affinity Program Agreement" between Pictometry and Owens Coming Sales LLC            A; F; H; L; LF;
                                                                                                                                            PK;R
DTX-195   EV00557667   EV00557710   Document entitled "Surveygizmo Summary Report - Auto Run, survey: CSAT and Quick Squares"               A; F; H; L; LF;
                                                                                                                                            PK;R
DTX-196   EV00560010   EV00560053   Document entitled "Barclays For Your 'Information Services' Monthly A deep dive on VRSK's EVT deal; May A; F; H;L; PK
                                    credit issuance & macro updates, 4 June 2014"
DTX-197 EV00562140     EV00562165   Document entitled "Ql 2013 Customer Satisfaction Survey, Eagle View, Pictometry"                        A; F; L;PK;R
DTX-198 EV00563069     EV00563069   Spreadsheet entitled "EV Order Volumes 2014 and 2015 by Source 9.21.2015"                               A; F; H; L; LF;
                                                                                                                                            PK;R
DTX-199 EV00563487     EV00563487   Document entitled "Pictometry Facts"                                                                    A; F;L;PK; R
DTX-200 EV00563668     EV00563687   Powerpoint entitled "Eagle View Technologies Commercial Business"                                       A; F; L; PK; R; C

DTX-201   EV00564980   EV00564981   Document entitled "What Low-cost Roof Reports Really Cost Carriers"                                           A; F;L; PK
DTX-202   EV00565683   EV00565702   PowerPoint entitled "Eagle View Commercial Sales" by R. Daga                                                  A; F; L; PK; R; C

DTX-203   EV00565708   EV00565742   Document entitled "IBIS World Industry Report 23816 Roofing Contractors in the US"                            A; F; H; L; LF;
                                                                                                                                                  PK;R
DTX-204 EV00565878     EV00565898   Presentation enitled "EagleView Commercial Sales" by R. Daga                                                  A; F; L; PK; R; C

DTX-205   EV00570761   EV00570763   October 31, 2013 email chain between A. Bowman and K. Cook, et al., re: "Xactimate email"                     A; F; H; L; LF;
                                                                                                                                                  PK; R; I; P
DTX-206 EV00574954     EV00574989   Document entitled "EagleView Question and Answers"                                                            A;F; L;PK;R
DTX-207 EV00576140     EV00576155   Document entitled "Roofing Contractor, State of the Industry Report - Economic Uncertainty Intensifies Focus A; F; H; L; PK
                                    on the Basics, by Chris King, January 30, 2013"
DTX-208   EV00577312   EV00577314   February 8, 2016 email chain between R. Daga and D. Schultz, et al. re: "SkyMeasure aerial roof measurements' PD; I; A; F; H; L;
                                                                                                                                                  LF; PK; R; P
DTX-209   EV00578906   EV00578906   Spreadsheet entitled "UHR Financial Model"                                                                    A; F; L; PK; R
DTX-210   EV00587056   EV00587059   Document entitled "Settlement Agreement and Release from Claims" between Eagle View and Xactware, signed A; F; H; L; LF;
                                    by C. Barrow March 29, 2016                                                                                   PK;R;P;ML
DTX-211   EV00587065   EV00587068   Document entitled "Settlement Agreement and Release from Claims" between Eagle View and Xactware, signed A; F; H; L; LF;
                                    by C. Barrow March 31, 2016                                                                                   PK; R; P; ML; C

DTX-212 EV00589848     EV00589890   Document entitled "Eagle View Board of Directors' Meeting, January 17, 2015"                                  A; F; L; PK; R
DTX-213 EV00592347     EV00592349   Document entitled "Stuff that Keeps Me Up At Night 7/22/2015"                                                 A; F; L; PK; R; P

DTX-214 EV00592350     EV00592352   August 3, 2015 email chain between C. Barrow and D. Schultz re: "Long one - Re: Stuff that keeps me up at     I; A; F; H; L; LF;
                                    night"                                                                                                        PK;R;P




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DTX-215   EV00592898   EV00592902   Document entitled "Aerialogics"                                                                              A; F; H; L; LF;
                                                                                                                                                 PK;R;Y
DTX-216   EV00597098   EV00597104   Eagle View v. Xactware, December 19, 2012, Order on Motion for Preliminary Injunction, W.D. Wa. 12-cv-       A; F; H; L; LF;
                                    01913-RSM                                                                                                    PK;R;P;ML
DTX-217   EV00598366   EV00598422   Document entitled "Eagle View Technologies Company Overview (June 2013), Chris Barrow, CEO"                  A; F; L; PK; R; C

DTX-218   EV00598508   EV00598509   August 30, 2013 email chain between C. Barrow and B. Aoki, et al., re: "EagleVision -"                       A; F; H; L; LF;
                                                                                                                                                 PK;R;Y;P
DTX-219   EV00614858   EV00614877   Document entitled "Eagle View Technologies, Inc.                                                             A; F; H; L; LF;
                                    Consolidated Financial Statements as of and for the Years Ended December 31, 2012 and 2011, and              PK;R
                                    Independent Auditors' Report"
DTX-220   EV00618955   EV00618955   Document entitled "EagleView Technology Corporation, Amendment to Common Stock Purchase Warrant"             A; F; L; PK; R

DTX-221   EV00621690   EV621737     PowerPoint entitled "Board of Director's Meeting, May 19, 2011"                                              A; F; L; PK; R; Y

DTX-222   EV00622171   EV00622175   Document entitled "Financial Summary"                                                                        A; F; L; PK; R; Y

DTX-223   EV00625436   EV00625460   Eagle View v. Xactware, October 29, 2012, Complaint for Declaratory and Injunctive Relief, W.D. Wa. 12-cv-   A; F; H; L; LF;
                                    01913-RSM                                                                                                    PK;R;P;ML
DTX-224   EV00645758   EV00645764   September 25, 2015 email chain between C. Barrow and J. Polchin, et al., re: "Consulting Agreement- Chris    A; F; H; L; LF;
                                    Pershing"                                                                                                    PK;R
DTX-225   EV00650923   EV00650926   October 6, 2015 email chain from A. Tsuchikawa to J. Polchin, et al. re: "Allied" and attachment thereto     A; F; H; L; LF;
                                                                                                                                                 PK;R;P
DTX-226 EV00651598     EV00651598   Spreadsheet entitled "EagleView Technology Corporation - GAAP (Final) 09-30-2015"                            A; F;L; PK;R
DTX-227 EV00695958     EV00695964   Document entitled "Employee Agreement" between Eagle View Technologies, Inc. and Christopher Pershing        A; F; L; LF; PK;
                                                                                                                                                 R
DTX-228   EV00695965   EV00695976   Document entitled "Employee Agreement" between Eagle View Technologies, Inc. and David Carlson               A; F; L; LF; PK;
                                                                                                                                                 R
DTX-229   EV00722590   EV00722600   Document entitled "Confidential Settlement Agreement" between Geospan Corporation and Pictometry             A; F; H; L; LF;
                                                                                                                                                 PK;R;P
DTX-230   EV00726018   EV00726106   Document entitled "Eagle View, Management Presentation, June 2015"                                           A; F; L;PK; R
DTX-231   EV00726805   EV00726805   Spreadsheet entitled "Xactware Analysis 03-31-16"                                                            A; F; L; PK;R
DTX-232   EV00731048   EV00731107   Document entitled "EagleView Technologies, Inc. - Fair Market Value of a Minority Common Stock Interest      A; F; H; L; LF;
                                    As of September 3 0, 2011"                                                                                   PK;R
DTX-233   EV00732307   EV00732317   Executed "Agreement" of November 3, 2008 between Xactware Solutions, Inc. and Eagle View Technologies,       A; F; H; L; LF;
                                    Inc.                                                                                                         PK;R;ML
DTX-234 EV00736743     EV00736745   December 8, 2008 email chain between C. Barrow and J. Gauer re: "Eagleview"                                  A; F; H; L; LF;
                                                                                                                                                 PK;R;P




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DTX-235   EV00744383    EV00744386   Document entitled "Settlement Agreement and Release of Claims" signed by C. Barrow on March 29, 2016        A; F; H; L; LF;
                                                                                                                                                 PK; R; P; ML; C

DTX-236   EV00752169    EV00752175   PowerPoint entitled "EV Extended Coverage Strategy"                                                         A; F;L; PK; R
DTX-237   EV00754363    EV00754365   March 1, 2010 email chain between P. Gamido and R. Daga, et al. re: "prelim questions"                      A; F; H; L; LF;
                                                                                                                                                 PK;R;P
DTX-238 EV00758496      EV00758606   Document entitled "Eagle View, Pictometry, Overview, 2013"                                                  A;F;L; PK; R
DTX-239 EV00759471      EV00759471   September 28, 2013 email from R. Daga to C. Barrow; D. Shultz; H. Ellsworth; J. Polchin re: "QS"            A; F; H; L; LF;
                                                                                                                                                 PK;R;P
DTX-240   EV00762624    EV00762624   Spreadsheet entitled "Eagle View Technology Corporation Monthly Financials with Adjusted EBITDA"            A; F; L; PK; R
DTX-241   EV0077081 l   EV00770882   Document entitled: "Confidential Information Memorandum, Eagle View ... July 2015, Morgan Stanley,          A; F; H; L; LF;
                                     Nomura"                                                                                                     PK;R
DTX-242   EV00774134    EV00774166   PowerPoint entitled "Eagleview Corporate Presentation- January 2015"                                        A; F; L; PK; R
DTX-243   EV00777760    EV00777804   PowerPoint entitled "Eagleview Corporate Presentation- January 2015"                                        A;F;L; PK; R
DTX-244   EV00778819    EV00778820   Document entitled "Amendment NO. 2 to Schedule I, dated February 3, 2014"                                   I;A;F; L;PK;R


DTX-245   EV00781520    EV00781560   Document entitled "Project Phoenix 5/26 Meeting Summary, May 25, 2015"                                      A; F; H; L; LF;
                                                                                                                                                 PK;R;P; ML

DTX-246   EV00781564    EV00781604   Document entitled "Project Phoenix 5/26 Meeting Summary, May 25, 2015"                                      A; F; H; L; LF;
                                                                                                                                                 PK; R; P; ML; C

DTX-247   EV00790I69    EV0079018I   Executed Master Services Agreement- between Eagle View and Nationwide Mutual Ins. Co.                       A; F; H; L;   LF;
                                                                                                                                                 PK
DTX-248   EV00790I82    EV00790182   Executed Amendment to Master Service Agreement between Nationwide Mutual Insurance Company and              A; F; H; L;   LF;
                                     Eagle View                                                                                                  PK; I
DTX-249   EV00797041    EV797043     March 13, 2014 email from C. Barrow to J. Polchin re: "Ashley Complaint" and attaching "Ashley Complaint"   A; F; H; L;   LF;
                                                                                                                                                 PK; R; I; P
DTX-250   EV00811069    EV00811075   July 2, 2010 email chain between P. Durisko and R. Daga, et al., re: "MSA/SOW follow up" and attaching      A; F; H; L;   LF;
                                     document entitled "EV Allstate SOW.pdf; EV Allstate MSA.pdf'                                                PK;R;
DTX-251   EV00839085    EV00839089   August I, 2012 email from L. Hill to J. Polchin; H. Guarin; cc: HICKSA, re: "The Eagle View Amendment-      A;F;H;R
                                     Aerial Roof Reports (RC-16740) (between John R. Polchin, HERMES GUARIN and Lori Hill) is Signed and
                                     Filed!" and attaching document entitled "Eagle View Amendment - Aerial Roof Reports (RC-16740) -
                                     signed.pdf'
DTX-252   EV00840490    EV00840490   Spreadsheet entitled "Eagleview Technologies 3YR FINANCIAL MODEL Deloitte Update 12 2 2012"                 A; F; H; R; P; C

DTX-253   EV00845839    EV00845839   Spreadsheet entitled "Eagleview Technologies 3YR FINANCIAL MODEL 07.10.12 (Update.v2.4)"                    A;F;H;R;P;C




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DTX-254   EV00854689   EV00854691    Document entitled "Weekly Status Update 4/15/11, F. Giuffrida"                                               A;   F; H; I; R; P
DTX-255   EV00915895   EV00915930    PowerPoint entitled "GeoEstimator, Presentation, November 4, 2009"                                           A;   F;H;R;P
DTX-256   EV00916061   EV00916061    Spreadsheet entitled "Authorized Invoice Customers IA Discount Programs - 10-25-12"                          A;   F; H; R; P
DTX-257   EV00923530   EV00923706    PowerPoint entitled "EagleView/Pictometry Corporate Identity Recommendations Workshop, May 15, 2013"         A;   F;H; R;P

DTX-258   EV00992796   EV00992797    December 13, 2017 email chain between R. Daga, "Exec Team", B. Aoki, et al. re: "Fw: Aerialogics              A;H;R
                                     Measurement services out of business"
DTX-259 EVOI096538     EVOI096604    PowerPoint entitled "Marketing Update - National Sales Meeting, October 2011, Pictometry"                     A;F;R;P
DTX-260 EVOl 150680    EVOl 150684   May I, 2012 email from F. Giuffrida to R. Hurwitz, re: "EV Notes 4-28-12" and attaching document entitled     A; F; H; R; P
                                     "EV Notes 4-28-12.doc"
DTX-261 EVOl 151193    EVOl 151210   Executed "Roof Report License Agreement" between Pictometry and Accurence, Inc.                               A; F; H; R; P
DTX-262 EVOl236867     EVOl236899    Document entitled "Contract/Award" between Pictometry International Corp. and US Homeland Security            A;F; H; R; P

DTX-263 EVOl255008     EVOl255246    Document entitled "Xactimate User's Guide Version 27"                                                         A;H;C
DTX-264 EV01261027     EVOl261068    PowerPoint entitled "Project Aerial, Advent International, Discussion document, May 15, 2012,                 A;F;H;R;P
                                     McKinsey&Company"
DTX-265   EV01285476   EVOl285617    PowerPoint entitled "EagleView Technology Corporation BOD Presentation, Austin, TC, 03 March, 2016"           F; H;R; P; C;
                                                                                                                                                   MIL
DTX-266 EVOl371936     EV01371963    Document entitled "Investor Roadshow, December 2014"                                                          A; F;H; R;P
DTX-267 EVOl424840     EV01424916    PowerPoint entitled "EagleView Technology Corporation BOD Presentation, San Francisco, CA, 27 October,        F;R;P;C
                                     2015"
DTX-268   EV01424917   EVOl424937    PowerPoint entitled "Eagle View Technologies, Commercial Business, RD"                                        F;R;P;C
DTX-269   EV01426960   EVOl426994    November 13, 2008, Document entitled "Eagle View Reference Guide: For Measuring Technicians"                  F;R; C
DTX-270   EVOl426999   EV01427033    November 13, 2008, Document entitled "Eagle View Reference Guide: For Measuring Technicians"                  F;R;C
DTX-271   EV01427067   EVOl427100    October 15, 2008, Document entitled "Eagle View Reference Guide: For Measuring Technicians                    F;R;C
DTX-272   EVOl427118   EV01427136    October 15, 2008, Document entitled "Set Reference Plane"                                                     F;R;C; I
DTX-273   EVOl427157   EVOl427190    October 15, 2008, Document entitled "Eagle View Reference Guide: For Measuring Technicians"                   F;R;C
DTX-274   EVOl427191   EVOl427224    October 15, 2008, Document entitled "Eagle View Reference Guide: For Measuring Technicians"                   F;R;C
DTX-275   EV01427240   EVOl427274    November 13, 2008, Document entitled "Eagle View Reference Guide: For Measuring Technicians"                  F;R;C
DTX-276   EVOl427321   EV01427354    October 15, 2008, Document entitled "Eagle View Reference Guide: For Measuring Technicians"                   F;R;C
DTX-277   EV01427937   EVOl427937    Spreadsheet entitled "Summary Revenue Analysis FY2009 to FY2012 (monthly details)"                            A;F
DTX-278   EVOl427938   EVOl427938    Spreadsheet entitled "FY2014 YTD Summary Revenue Analysis (monthly details) - ADJ Industry Mix"               A;F

DTX-279 EVOl494112     EVOl494112    Spreadsheet entitled "Disputed Report Tracker"                                                               A; F; H; R;P
DTX-280 EVOl528243     EVOl528244    Document entitled "Eagle View Total Satisfaction Guarantee"                                                  F;H;R
DTX-281 EV01550635     EV01550752    August 19, 2008 Letter from D. Carlson to P. Moreno re: "Bid Posting on GetaFreelancer.com and similar sites A; F; H; R; P; I; C
                                     Infringement of Eagle View Technologies' Intellectual Property Seed IP Ref.: 290115.802"




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DTX-282 EVOI552476     EV01552477    Document entitled "Eagle View's Report Revenue P&L Analysis - Insurance Reports Only"          A;F
DTX-283 EVOI552910     EVOI552911    BLOM webpage - 3D modeling & visualization                                                     A;F;H;R;C
DTX-284 EV01552967     EV01552973    Cyclomedia webpage- Software & Services                                                        A; F; H; R; P; C;
                                                                                                                                    ML
DTX-285   EV01553209   EV01553214    Parabolic Arc webpage- EADS Reorganized, Acknowledges Success of SpaceX                        A; F; H; R; P; C

DTX-286 EVOI553215     EV01553217    Planet Labs webpage - Products                                                                 A; F; H; R; P; C;
                                                                                                                                    ML
DTX-287   EV0l5532I8   EV01553221    Solarspectrum webpage- "About Us"                                                              A; F; H; R;   P; C;
                                                                                                                                    ML
DTX-288   EV01553222   EV01553224    Sungevity webpage- "About Us"                                                                  A; F; H; R;   P; C;
                                                                                                                                    ML
DTX-289 EV01553466     EVOl553466    Spreadsheet entitled "Income Statement: Functional 2017 ADJ - New From Jan 2017 to Oct 2017"   A;F;H
DTX-290 EV01553468     EV01553469    Aerialogics webpage- Roofing                                                                   A; F; H; R;   P; C;
                                                                                                                                    ML
DTX-291   EV01553470   EV01553471    GeoEstimator webpage                                                                           A; F; H; R;   P; C;
                                                                                                                                    I;ML
DTX-292   EV01553472   EV01553473    Autodesk webpage-Autodesk ImageModeler                                                         A; F; H; R;   P; C;
                                                                                                                                    ML
DTX-293   EV01553474    EV01553475   Autodesk webpage- Autodesk ImageModeler; Customer Showcase                                     A; F; H; R;   P; C;
                                                                                                                                    ML
DTX-294 EV01553476     EV01553478    PhotoModeler webpage- Standard Product Overview                                                A; F; H; R;   P; C;
                                                                                                                                    ML
DTX-295   EVOI553479   EV01553480    PhotoModeler webpage- PhotoModeler UAS Product Overview                                        A; F; H; R; P; C;
                                                                                                                                    ML
DTX-296 EVOI553481      EVOl55348I   Pictometry International Webpage- "Three Invaluable Reports. At Affordable Prices"             A; F;   H; R; P; C;
                                                                                                                                    ML
DTX-297 EVOI553482      EV01553483   Precigeo Webpage- Announcing new prices and discount programs                                  A; F;   H; R; P; C;
                                                                                                                                    ML
DTX-298   EV01553484    EVOl553486   RoofShots Print out                                                                            A; F;   H; R; P; C;
                                                                                                                                    ML
DTX-299 EV01553487      EV01553487   Roofers41 l.com homepage                                                                       A; F;   H; R; P; C;
                                                                                                                                    ML
DTX-300 EVOI553488      EV01553488   Roofers41 l.com webpage- showing "Member Pricing"                                              A; F;   H; R; P; C;
                                                                                                                                    ML
DTX-301   EV01553489    EV01553489   Roofers41 l .com webpage- "Comparing Apples to Apples"                                         A; F;   H; R; P; C;
                                                                                                                                    ML




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DTX-302 EV01553490        EV01553491    Roofscope.com webpage- showing subscription prices                                                           A; F; H; R;   P; C;
                                                                                                                                                     ML
DTX-303   EV01553492      EV01553503    Roofscope.com webpage- measuring                                                                             A; F; H; R;   P; C;
                                                                                                                                                     ML
DTX-304 EV01553504        EV01553506    Roofshots webpage- showing subscription prices and details                                                   A; F; H; R;   P; C;
                                                                                                                                                     ML
DTX-305   EV01553507      EV01553507    Roofwalk.com webpage- depicting costs                                                                        A; F; H; R;   P; C;
                                                                                                                                                     ML
DTX-306 EV01553508        EV01553523    CoreLogic webpage                                                                                            A; F; H; R;   P; C;
                                                                                                                                                     ML
DTX-307 EV01553524        EV01553539    CoreLogic webpage                                                                                            A; F; H; R;   P; C;
                                                                                                                                                     ML
DTX-308 EV01553540        EV01553540    Skytekimaging Webpage- "Pricing"                                                                             A; F; H; R;   P; C;
                                                                                                                                                     ML
DTX-309   EV01553541      EV01553542    Skytekimaging Webpage- "Pricing"                                                                             A; F; H; R;   P; C;
                                                                                                                                                     ML
DTX-310   EV01553543      EV01553544    Skytekimaging Webpage- "Pricing"                                                                             A; F; H; R;   P; C;
                                                                                                                                                     ML
DTX-311   EV01553545      EV01553545    Document entitled "Skytek Imaging: Save Money, Make More Sales! Best Value In the Industry!"                 A; F; H; R;   P; C;
                                                                                                                                                     ML
DTX-312 EV01553547        EV01553549    February 2, 2009 letter from D. Carlson to D. Thornberry re: "Infringement of Eagle View Technologies'       A; F; H; R;   P; I; C
                                        Intellectual Property Seed IP Ref.: 290115.807"
DTX-313   EV01553593      EV01553595    February 10, 2009 letter from D. Lueders, Esq. to D. Carlson re: "Infringement Allegations by Eagle View     A; F; H; R; P; I; C
                                        Technologies Our Re.: 20283-12"
DTX-314 EV01553596        EV01553598    February 27, 2009 letter from D. Carlson to D. Lueders, Esq. re: "Infringement of Eagle View Technologies'   A; F; H; R; P; C
                                        Intellectual Property Seed IP Ref.: 290115.807"
DTX-315 EV01553683        EV01553683    Spreadsheet entitled "Income Statement: Functional ADJ - New Feb 2018"                                       A;F
DTX-316 EVOl553684        EV01553684    Spreadsheet entitled "Income Statement: Natural ADJ - Nov 2017, Dec 2017, Jan 2018, Feb 2018"                F;H;R
DTX-317 EV01553685        EV01553685    Spreadsheet with tabs enitled "insurance" and "contractor"                                                   F;H
DTX-318 EV01553686        EV01553688    Document entitled "Amendment No. 4 to the Liberty Mutual Satellite/Aerial Imagery Roof Services Agreement    F;H
                                        dated July 24, 2009 between Eagle View Technologies, Inc. and Liberty Mutual Insurance Company"

DTX-319 EV01553689        EV01553731    Document entitled "Master Services Agreement" between Famers Insurance Exchange and Eagle View               F;H

DTX-320 EV01553732         EVOl553732   Spreadsheet entitled "Report Revenue P&L Analysis"                                                           F;H;R
DTX-321 EV01553734         EV01553737   Document entitled "Change Order #1 to Statement of Work" between American Family Mutual Insurance            A; F; H; R; I
                                        Company, S.I. and Eagle View




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DTX-322   EV00731108        EV00731168      Document entitled "Eagle View Technologies Inc. Fair Market Value of a Minority Common Stock Interest as of F; II; 105
                                            December 31, 2011, report issued: June 12, 2012"
DTX-323   NIA               NIA             Appendix A: matrix Algebra Library for Flash MX ActionScript: Creating and printing matrices by R. Chris    A; F; H; R; P; C
                                            Fraley
DTX-324   NIA               NIA             Pershing Declaration Under C.F.R. § 1.131 re Application No. 12/148,439 for Aerial Roof Estimation System
                                            and Method
DTX-325   XW0000101 l       XW00001033      Provisional Patent Application 601925,072 for Aerial Roof Estimation System and Method                      R,P,C
DTX-326   EV00036928        EV00036941      U.S. Patent Application Publication 200810262789 entitled, "Aerial Roof Estimation System and Method"       A; F; H; R; P; C

DTX-327   EV00042134        EV00042151      U.S. Patent No. 8,145,578 entitled, "Aerial Roof Estimation System and Method"                                  A;F;H;R;P;C

DTX-328   EV00027998        EV00028487      WIPO WO 20061040775 entitled, "Computational Solution of an Building of Three Dimensional Virtual               R,P,ML
                                            Models from Aerial Photographs"
DTX-329   NIA               NIA             CV of Geoff a Cohen, PhD                                                                                        H;C;P
DTX-330   NIA               NIA             CV of Joseph Mundy, PhD                                                                                         H;C;P
DTX-331   NIA               NIA             CV of Philip Green                                                                                              H;C;P
DTX-332   XW00942418        XW00942497      R. Hartley and A. Zisserman, Multiple View Geometry, Cambridge University Press, 2000, excerpts                 A; F; H; R; P; C;
                                                                                                                                                            ML
DTX-333   NIA               NIA             Exhibit A to April 11, 2018 Expert Report of Geoff A. Cohen, Ph.D                                               H;C;P
DTX-334   NIA               NIA             Exhibit B to April 11, 2018 Expert Report of Geoff A. Cohen, Ph.D                                               H;C;P
DTX-335   NIA               NIA             Exhibit A to May 23, 2018 Expert Report of Geoff A. Cohen, Ph.D                                                 H;C;P
DTX-336   NIA               NIA             Exhibit B to May 23, 2018 Expert Report of Geoff A. Cohen, Ph.D                                                 H;C;P
DTX-337   NIA               NIA             Appendix C claim constructions agreed to by parties                                                              I; C
DTX-338   NIA               NIA             Corrected Request for Supplemental Exam of Claims 1-56 of Us Patent 436                                         P; I; C
DTX-339   EV454700          EV454706        Declaration of Chris Barrow, Dkt. 4, Eagle View v. Xactware, W.D. Wa. Case: 12-cv-01913                         ML;R;P;C
DTX-340   USAA.001548       USAA.001558     Document entitled "Statement of Work January 2010"                                                              F;H
DTX-341   USAA.002394       USAA.002397      July 20, 2009 email chain between S. Semian and K. Desormeaux, et al., re: "EagleView"                         A;F;H;R;P;C

DTX-342   VIST A-00000727   VISTA00000753   Document entitled "Vista Equity Partners, Investment Committee Presentation, Eagle View Technologies, Inc.,     A; F; H; R; P; C;
                                            May 29, 2015"                                                                                                   ML
DTX-343   VISTA-00002227    VISTA00002233   May 9, 2015 email from D. Sullivan to J. Bicket, et al. re: "Project Phoenix - Consolidated Expert Call Ntes"   A; F; H; R; P; C;
                                            and attachments thereto                                                                                         ML
DTX-344   XWOOOOOOOl        XWOOOOOOOl      October 20, 2015 Email chain to K. Lew form J.Taylor re: "FW: Co Planarity assessment and planning"             A;F;H;R;P;C

DTX-345   XW00000002        XW00000007      Document entitled "Resolution of Co-planarity issues"                                                           A; F; H;R;P; C

DTX-346   XW00000008        XWOOOOOOll      October 20, 2015 email between J. Taylor and K. Lew, et al, re: "FW: Conquering coplanarity issues"             A; F; H; R; P; C




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DTX-347   XW00000012   XW00000012   Spreadsheet entitled "Sprint Planning"                                                                       A;F;H;R;P;C

DTX-348   XW00000998   XW00001010   Document entitled "Scene Registration in Aerial Image Analysis" by Frederic P. Perlant, et al.               A; F; H; R; P; C

DTX-349   XWOOOOI011   XWOOOOI033   April 17, 2007 "Filing Receipt" for USPTO application 60/925,072                                             A; F; H; R; P; C; I

DTX-350   XWOOOOI034   XW00001276   August 31, 2015 "Publication Notice" for US PTO application 14/841,523                                       A; F; H; R; P; C; I

DTX-351   XW00001277   XWOOOOI320   U.S. Patent Application No. 2015/0370929 Al by C.Pershing                                                    A;F;H;R;P;C

DTX-352   XWOOOOI321   XW00001483   Document entitled "Able Software Corp. R2V for Windows (9X, NT, 2000, ME), R2V for Windows User's            A; F; H; R; P; C;
                                    Manual"                                                                                                      ML
DTX-353   XW00001484   XW00001515   Document entitled "Detection and Modeling of Buildings from Multiple Aerial Images" (Noronha)                A; F; H; R; P; C;
                                                                                                                                                 ML
DTX-354   XW00001516   XW00001598   November 1995, Document entitled "Design and Evaluation of a Semi-Automated Site Modeling System"            A; F; H; R; P; C;
                                    (Hsieh)                                                                                                      ML
DTX-355   XW00001599   XW00001599   Spreadsheet entitled "Sprint Planning"                                                                       A;F;H;R;P;C

DTX-356   XW00001600   XW00002936   November 13, 2015, Document entitled "Request for Certificate of Correction" for U.S. Patent No. 8,078,436
                                    Cl
DTX-357   XW00002937   XW00002948   U.S. Patent No. 5,422,989 to Bell et al.                                                                     R;P;C;ML
DTX-358   XW00002949   XW00003807   Document entitled "Aerial Roof Estimation Systems and Methods, Cross Reference to Related Applications"      R;P;C

DTX-359   XW00004908   XW00005072   File History to US Patent No. 8,542,880                                                                      R;P;C
DTX-360   XW00005073   XW00005102   U.S. Patent No. 8,542,880 to Thornberry                                                                      R;P;C
DTX-361   XW00007794   XW00007809   US Patent Application Publication No. 2006/0061566 to Verma, et al.                                          R;P;C;ML
DTX-362   XW00007810   XW00007828   U.S. Patent No. 8,145,578 to Pershing                                                                        R;P;C
DTX-363   XW00007829   XW00008083   Document entitled "Xactimate v.25 Users Guide"                                                               H;P;C
DTX-364   XW00008084   XW00008357   Document entitled "Xactimate v.25 Users Guide"                                                               H;P;C
DTX-365   XW00008358   XW00008365   Document entitled "Geo-Spatial Aerial Video Processing for Scene Understanding and Object Tracking"          A; F; H; R; P; C;
                                                                                                                                                 ML
DTX-366   XW00008366   XW00008382   November 2007, Document entitled "Registration of Challenging Image Pairs: Initialization, Estimation, and   A; F; H; R; P; C
                                    Decision"
DTX-367   XW00008383   XW00008406   2003, Document entitled "Image registration methods: a survey"                                               A; F; H; R; P; C

DTX-368   XW00016970   XW00016985   PowerPoint entitled "Xactimate online"                                                                       H;R;P;C
DTX-369   XW00018936   XW00018939   Document entitled "Xactimate - Product Marketing Transition to Dustin"                                       H;R;P;C
DTX-370   XW00018940   XW00018970   PowerPoint entitled "Xactware"                                                                               H;R;P;C




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DTX-371 XW00019758     XWOOOl9760   Document entitled "What's New in Xactimate"                                                                     H;R;P;C
DTX-372 XW00020137     XW00020160   Document entitled "Xactimate 28 Aerial Sketch"                                                                  H;R;P;C
DTX-373 XW00020330     XW00020333   2006, Document entitled "Automatic 3D Roof Reconstruction using Digital Cadastral Map, Architectural            A;F;H;R;P;C
                                    Knowledge and and Aerial Image"
DTX-374 XW00020334     XW00020414   U.S. Patent No. 6,448,964 to Isaacs, et al.                                                                     R;P;C;ML
DTX-375 XW00020415     XW00020465   U.S. Patent No. 7,920,963 to Jouline, et al.                                                                    R; P; C; ML
DTX-376 XW00020466     XW00020483   May 2001, Document entitled "Detection and Modeling of Buildings from Multiple Aerial Images" (Noronha)         H;PK;ML

DTX-377   XW00020484   XW00020502   McKeown, et al., Chapter Feature Extraction and Object Recognition - Automatic Cartographic Feature             H;PK;ML
                                    Extraction Using Photogrammetric Principles, Digitial Photogrammetry: An Addendum to the Manual of
                                    Photogrammetry
DTX-378   XW00020486   XW00020502   McKeown, et al., Chapter Feature Extraction and Object Recognition - Automatic Cartographic Feature             H;PK;ML
                                    Extraction Using Photogrammetric Principles, Digitial Photogrammetry: An Addendum to the Manual of
                                    Photogrammetry
DTX-379   XW00020503   XW00020528   U.S. Patent Application Publication 2007/0220174 by Abhnyanker                                                  C;ML
DTX-380   XW00020529   XW00020529   March 18, 2013 Document entitled "Affidavit Attesting to the Accuracy of the Attached 'Aero west' Translation   H;PK;ML
                                    Under 37 C.F.R. Section 42.2, 42.63(b), and/or 1.68"
DTX-381   XW00020530   XW00020550   Document entitled "Aerowest - translation"                                                                      H;PK;ML
DTX-382   XW00020551   XW00020596   November 2002, Document entitled "Appli-cad: World Class Technology Leading the Way in Roofing                  H;PK;ML
                                    Software"
DTX-383   XW00020597   XW00020601   September 2006, Document entitled "Interactive Detection of 3D Models of Building's Roofing For the             H;PK;ML
                                    Estimation of the Solar Energy Potential"
DTX-384   XW00020602   XW00020607   August 2005, "Extraction of 3D Spatial Poly Gons Based on the Overlapping Criterion for Roof Extraction         H;PK;ML
                                    from Aerial Images"
DTX-385 XW00020608     XW00021143   Document entitled "Electronic Field Study User Guide, Version 2.7, July 2007, Pictometry"                       H;PK;C
DTX-386 XW00021144     XW00021150   Document entitled "EP 1010966 B !Description"                                                                   A; H; PK; I 002;
                                                                                                                                                    ML
DTX-387 XW00021151     XW00021162   Document entitled "Europaische Patentschrift"                                                                   A;PK;F;ML
DTX-388 XW00021163     XW00021979   September 25, 2015, Document entitled "Change in Entity Status" for U.S. Patent 8,145,578 to Pershing           H; PK; P; R; C;
                                                                                                                                                    1002; X
DTX-389   XW00021980   XW00021987   Document entitled "Image Snapping, Michael Gleicher, Advanced Technology Group, Apple Computer, Inc."           H;C;PK

DTX-390   XW00021998   XW00022008   Document entitled "ISPRS Data Integration: Systems and Techniques, July 13th - 17th, 1998"                      H;PK;ML
DTX-391   XW00022009   XW00022041   U.S. Patent No. 8,401,222 to Thornberry, et al.                                                                 R,P,C
DTX-392   XW00022042   XW00022071   U.S. Patent No. 8,542,880 to Thornberry, et al.                                                                 R,P,C
DTX-393   XW00022072   XW00022090   U.S. Patent No. 8,823,732 to Adams et al.                                                                       R,P,C
DTX-394   XW00022091   XW00022580   Document entitled "Change in Entity Status" related to U.S. Patent No. 8,170,840                                H; PK; P; R; C;
                                                                                                                                                    1002; X




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DTX-395   XW00029402    XW00029699    Document entitled "Xactimate 28 Fundamentals & Proficiency"                                                     H;PK
DTX-396   XW00049554    XW00049568    Document entitled "Xactware Aerial Imagery Capture Specs"                                                       H;PK
DTX-397   XW00049771    XW00049777    January 30, 2012 email from J. Taylor to Z. Smith; KC Agrelius re: "Meeting with Pictometry"                    H,F
DTX-398   XW00059701    XW00059705    September 10, 2013 email chain between J. Taylor, J. Lewis, M. Olson, et al. re: "FW: InSight Results"          H; 1002; C

DTX-399   XW00059958    XW00059967    Document entitled "Property InSight Mass Production Workflow Overview"                                          H;PK
DTX-400   XW00060775    XW00060788    PowerPoint entitled "Xactware 2011 Retreat - Xactimate SWOT, Customer Perspective"                              H;PK;P
DTX-401   XW00068697    XW00068704    Document entitled "Version 2, June 24, 2015, Xactware Marketing Plan, Property Insight"                         H;PK
DTX-402   XW00075375    XW00075375    Spreadsheet entitled "Copy of Business Plan - Sep 2013 CDH adds"                                                H;PK
DTX-403   XW00075886    XW00075888    December 22, 201, email chain between E. Webecke, V. Zabavsky, et al. re: "Project Aerial Synergies"            H, R, P, C

DTX-404   XW00077433    XW00077440    September 30, 2012 Executed "Amendment No. 1 to Master Product License and Service Agreement" between           C;H;P;R
                                      Xactware and Allstate Insurance Co.
DTX-405   XW00077754    XW00077764    Document entitled "Fifth Amendment to Master Services Agreement No. 983024 Order No. 1, Nationwide              C;H;P;R
                                      Agreement No. 983024" between Xactware and Nationwide Mutual Insurance Co.
DTX-406   XW00078361    XW00078361    Spreadsheet entitled "Project Aerial Financial Model vl"                                                        H;PK
DTX-407   XW00078740    XW00078742    July I, 2014 email chain between M. King and B. Carroll, et al. re:"Itemization of USAA Intelligent Method of   C;H;P;R
                                      Inspection Project Bid .. Mike King, please take a look"
DTX-408   XW00078956    XW00079000    Unexecuted "Master Product License Agreement" between Xactware and Fanners Insurance Exchange                   H; PK; I 002; c

DTX-409   XW00079741    XW00079806    Unexecuted "Master Services, Software License and Maintenance Agreement with Xactware Solutions, Inc."  H; PK; I 002; c
                                      between Xactware and United Services Automobile Association
DTX-410   XW00079998    XW00080005    Executed "Commercial License Agreement" between Pictometry and Xactware                                 H
DTX-411   XW00080519    XW00080609    Executed "Master Product License and Service Agreement" between Xactware and AllState Insurance Company H;PK

DTX-412   XW00080884    XW00080891    Executed "License Agreement" between Xactware and Accurence                                                     H;PK
DTX-413   XW00085033    XW00085038    Document entailed "Verisk Products Overview"                                                                    H;PK
DTX-414   XW00085059    XW00085061    March 5, 2014 email chain between S. Stephenson, V. Zabavsky, et al. re: "Project Aerial - January results,     H, R, P, C
                                      revenue detail, report deliveries"
DTX-415   XW00087413    XW00087417    March 2, 2015 email chain between C. Hopper and E. Quiones, et. al re: "CoreLogic Rooflmagery Offering"         H, R, P, C

DTX-416   XW00087418    XW00087418    Spreadsheet entitled "Feature Comparison"                                                                       H;PK
DTX-417   XW00088661    XW00088666    Unexcuted "Term Sheet" between Xactware and SkyTek                                                              H; C; R; P; 1002

DTX-418   XW00094058    XW00094058    Spreadsheet entitled "I08984"                                                                                   H; PK; C; P
DTX-419   XW00105725    XW00\05725    Spreadsheet entitled "I63308"                                                                                   H; PK; C; P
DTX-420   XWOOl 10853   XWOOl 10857   July 9, 2012, email chain between J. Loveland and W. Raichle, et al. re: "PIR Conference Sessions"              H, R, P, C
DTX-421   XWOOll 1096   XW00! 11102   Document entitled "Aerial Sketch Fulfillment Business Plan"                                                     H;PK




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DTX-422 XWOOl 12508    XW00112539   PowerPoint entitled "Aerial Imagery - IIow it serves our industry"                                              H;PK
DTX-423 XW00116432     XW00116432   Spreadsheet entitled "Business Plan - Sep 2013 v9"                                                              H;PK
DTX-424 XW00126602     XW00126626   Power Point entitled "Aerotriangulation September 2015"                                                         H;PK
DTX-425 XW00204344     XW00204381   PowerPoint enitled "2013 Management Retreat"                                                                    H;PK
DTX-426 XW00212308     XW00212389   Document entitled "Xactware Monthly Business Review, April 2012"                                                H;PK
DTX-427 XW00212561     XW00212561   Spreadsheet entitled "InSight"                                                                                  H;PK
DTX-428 XW00213949     XW00213954   Unexecuted "Amendment No. 2 to Master Product License and Service Agreement" between Xactware and               H; PK; 1002
                                    Allstate Insurance
DTX-429   XW00214262   XW00214268   Document entitled "Draft - Oct. 29, 2014, Term Sheet" between SkyTek and Xactware                               H; PK; I 002; P; C

DTX-430   XW00214588   XW00214600   Document entitled "Opportunity Assessment, EagleView Technologies, May 9, 2012" with Redline                    H; PK; 1002; P; C

DTX-431   XW00214753   XW00214759   Document entitled "Draft - Oct. 24, 2014, Term Sheet" between SkyTek and Xactware                               H; PK; I 002; P; C

DTX-432 XW00215027     XW00215126   Document entitled "Xactware Monthly Business Review July 2013"                                                  H;PK
DTX-433 XW00215288     XW00215288   Spreadsheet entitled "04 2012 Monthly Financial Summary with Intercompany from Dionne Clarke"                   H; PK;P; C
DTX-434 XW00215294     XW00215294   Spreadsheet entitled "Spec 19 Competitors"                                                                      H;C;P
DTX-435 XW00217085     XW00217128   Document entitled "Property InSight Mass Production Tool User Guide"                                            H;C;P
DTX-436 XW00218331     XW00218340   Document entitled "Introduction"                                                                                H; C; PK; I
DTX-437 XW00233200     XW00233200   Spreadsheet entitled "Aerial Imagery Providers-Users"                                                           H;C;PK
DTX-438 XW00234657     XW00234658   May 13, 2013 email chain between J. Taylor, B. Carroll, et al., re: "AAA Webex on Property Insight"             H;C;P
DTX-439 XW00238080     XW00238083   April 19, 2013, Letter from E. Webecke to M. Barrows re: "Notice of On-Site Audit, Notice of Materials breach   H;C;P
                                    and Notice of Failure to Perform as Provided under the Agreement"
DTX-440   XW00238771   XW00238778   Document entitled "Draft - Dec. 3, 2014, Term Sheet" between SkyTek and Xactware                                H; C; PK; 1002
DTX-441   XW00239427   XW00239473   Executed "Master Product License and Services Agreement" between Xactware and Travelers                         H;C
DTX-442   XW00241411   XW00241413   January 27, 2015 email chain between J. Loveland and C. Barrow re: "Litigation Settlement Business              H;P;R
                                    Discussions"
DTX-443   XW00247642   XW00247697   Eagle View v. Xactware (W.D. Wa 12-cv-01913), May 2, 2013, Declaration ofJohn Tondini in Support of             H; C; P; 1002; F;
                                    Defendants Motion for Order Requiring That Eagle View Show Cause Why it Should Not be Held in Contempt,         ML
                                    and exhibits thereto
DTX-444 XW00292033     XW00292034   Unexecuted "Amendment to Agreement" between Xactware and Eagle View                                             H;C;A;F
DTX-445 XW00302467     XW00302468   January 7, 2009, Email to J. Loveland et al., from J. Taylor re: "Eagle View Agenda"                            H;C;P
DTX-446 XW00352973     XW00352973   Spreadsheet entitled "Geomni - Financials vl.O"                                                                 H; A; I 002; PK
DTX-447 XW00356612     XW00356613   May 14, 2008, Email to J. Loveland, et al. from J. Taylor re: "Roof estimates in 2007"                          H;A;P
DTX-448 XW00373793     XW00373834   PowerPoint entitled "Project Aerial, Discussion document, May 15, 2012"                                         H; R; C; P; PK
DTX-449 XW00389435     XW00389437   August, 24, 2016 Document, entitled "Declaration of Lynn Berard"                                                H;A; PK;F; P
DTX-450 XW00389438     XW00389521   November 1995, Document entitled "Design and Evaluation of a Semi-Automated Site Modeling System"               H; A; PK; F; ML
                                    (Hsieh)




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                                                       Civil Action No. 15-7025 (RBK) (JS) (DNJ)
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DTX-451   XW00389522      XW00389605    Document entitled "Xactware Solutions, Inc., Exhibit 1003 Inter Partes Review of US Patent No 8,825,454"     H; A; PK; F; P;
                                        (Hsieh)                                                                                                      C;X;I;ML
DTX-452 XW00389606        XW00389694    Document entitled "Xactware Solutions, Inc. Corrected Exhibit I 008 Xactware v. Eagle View IPR 2016-01775"   H; A; PK; F; P;
                                        (Corrected Berard Declaration)                                                                               C;X; I;ML
DTX-453 XW00389695        XW00389744    January 8, 2016, Document entitled "Affidavit of Christopher Butler" with App Ii-cad                         C;H;ML
DTX-454 XW00389745        XW00389842    Document entitled "Xactware Solutions Inc. Corrected Exhibit 1005 Inter Partes Review of US Patent No.       H; A; PK; F; P;
                                        8,078,436" (Appli-cad)                                                                                       C;X; I;ML
DTX-455   XW00418610      XW00418675    Executed "Master Services Software License, and Maintenance Agreement with Xactware Solutions, Inc."         H;A;C
                                        between United Services Automobile Association and Xactware
DTX-456   XW00451293      XW00451293    Spreadsheet entitled "XWARE Statement of Monthly Revenues-June 2016 7.12.16"                                 H;A; C;PK
DTX-457   XW00513561      XW00513561    Spreadsheet entitled "Year over Year 2015 Charts DJG"                                                        H;A; C; PK
DTX-458   XW00521280      XW00521280    Spreadsheet entitled "Xactware Analysis 06-30-16"                                                            H;A; C;PK
DTX-459   XW00608758      XW00608805    PowerPoint entitled "P&C Insurance Trends" by Verisk Analytics                                               C;H
DTX-460   XW00660553      XW00660553    Copy of Manual of Photogrammetry, 5th Ed., McGlone (hard copy of book)                                       R; C; NR; NT; X;
                                                                                                                                                     ML
DTX-461   XW00660576      XW00660848    U.S. Patent App. 12/364506 FH by Sungevity, Inc.                                                             A;F;H;R;C;
                                                                                                                                                     ML
DTX-462 XW00939981        XW00939981    Spreadsheet entitled "Priority Company"                                                                      A;C;F;H
DTX-463 XW00940428        XW00940428    Executed "Master Product License and Services Agreement Schedule 3" between Travelers Indemnity and          H;R
                                        Xactware
DTX-464 XW00940726        XW00940791    Executed "Master Services, Software License, and Maintenance Agreement with Xactware Solutions, Inc."        H;R; C;P.PK
                                        between United Services Automobile Association and Xactware
DTX-465   XW00941300      XW00941300    Spreadsheet entitled "StatsResults"                                                                          H; R; C: P. PK;   F;
                                                                                                                                                     Dem Only
DTX-466 XW00941700        XW00942352    Document entitled "Methods and Systems for Provisioning Energy Systems"                                      H;C;F
DTX-467 XW00942354        XW00942354    Spreadsheet entitled "requests"                                                                              H; R; C; P. PK;   F;
                                                                                                                                                     Dem Only
DTX-468 XW00942356        XW00942356    Spreadsheet entitled "Statement of revenues monthly"                                                         H;A;C;PK
DTX-469 XW00942357        XW00942357    Spreadsheet of Geomni Monthly Revenue and Expenses                                                           H;A; C; PK
DTX-470 XW00942358        XW00942358    Spreadsheet entitled "stats_allmovement_tools"                                                               H; R; C; P. PK;   F;
                                                                                                                                                     Dem Only
DTX-471 XW00942359        XW00942361    Screenshots of Operation Software                                                                            H; F;R;PK; C
DTX-472 XW00942362        XW00942366    Screenshots from Mundy Report                                                                                H;F; R;PK; C
DTX-473 XW00942371        XW00942371    Document entitled "FYI; GEOestimator And Pictometry Merge" from www.contractortalk.com/fl5/fyi-              H; R; P; C; PK;   A
                                        geoestimator-pictometry-merge-99087 / last accessed March 18, 2018
DTX-474 XW00000013         XW00000064   Documents related to Sketch Aerial Image Instructions                                                        A; Cmpd; F; H;
                                                                                                                                                     L; LF; PK; R




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                                           Eagle View Technologies, Inc., et al. v. Xactware Solutions. Inc., et. al.,
                                                       Civil Action No. 15-7025 (RBK) (JS) (DNJ)
                                                              Defendants' Trial Exhibit List


DTX-475   EV00033728      EV00033877   May 29, 2012 Amended Complaint, and exhibits thereto, filed in Eagle View Technologies, Inc. v. Aerialogics,
                                                                                                                                                A; F; H; L; LF; P;
                                       LLC (W.D.Wa 12-cv-00618-RAJ)                                                                             PK;R;ML
DTX-476   EV00034499      EV00034585   April 5, 2012 Amended Complaint, and exhibits thereto, filed in Eagle View v. RoofWalk (W.D.Wa 12-cv-    A; F; H; L; LF; P;
                                       00544)                                                                                                   PK;R;ML
DTX-477   EV00034640      EV00034777   June 4, 2012 Second Amended Complaint, and exhibits thereto, filed in Eagle View v. RoofWalk (W.D.Wa 12- A; F; H; L; PK;
                                       cv-00544)                                                                                                ML
DTX-478   XW00395033      XW00395035   April 6, 2012 email from F. Coyne to J. Loveland re: "EagleView"                                         A; H; L; LF; PK

DTX-479   XW00238956      XW00238957   March 8, 2012 email chain between E. Webecke, J. Loveland, and R. Johnson re: "Eagle View FUD at               A; H; L; LF; PK
                                       Travelers"


DTX-480   EV00775747      EV00775915   January 14, 2014 document entitled "Agreement and Plan of Merger" between Verisk, Insurance Services       A; F; H;L;     PK
                                       Officer, ISO Merger SUB I, Eagle View, and Fortis Advisors
DTX-481   EV00792365      EV00792454   Document entitled "Disclosure Schedule" to Agreement and Plan of Merger between Verisk, Insurance Services A; F; H; L;    LF;
                                       Officer, ISO Merger SUB I, Eagle View, and Fortis Advisors                                                 PK;R
DTX-482   EV00475324      EV00475428   June 15, 2015 document entitled "Agreement and Plan of Merger" between Phoenix Holdco, Phoenix Merger      A; F; H; L;    LF;
                                       SUB, Eagle View, and Fortis Advisors                                                                       PK;R
DTX-483   EV00476017      EV00476337   Document entitled "Disclosure Schedule" to Agreement and Plan of Merger between Phoenix Holdco, Phoenix A; F; H; L;       LF;
                                       Merger SUB, Eagle View, and Fortis Advisors                                                                PK;R
DTX-484 EV00475857        EV00475879   Document entitled "Exhibit A - Certain Definitions" to Agreement and Plan of Merger between Phoenix        A; F; H; L;    LF;
                                       Holdco, Phoenix Merger SUB, Eagle View, and Fortis Advisors                                                PK; R; I


DTX-485   XW00664654      XW00664654   Sketch (.skt) file                                                                                             A; F; L; H; LF;
                                                                                                                                                      PK;R
DTX-486   XW00942509      XW00942514   U.S. Patent No. 510,758 to C. B. Adams (1893).                                                                 A; F; L; H; LF;
                                                                                                                                                      PK;R;ML
DTX-487   XW00942372      XW00942417   S. Finsterwalder, "Die Geometrischen Grundlagen Der Photogrammetrie" in Jahresbericht der Deutschen            A; F; L; H; LF;
                                       Mathematiker-Vereinigung, Berlin (1899)                                                                        PK;R;ML
DTX-488   XW00942369      XW00942370   "Digital Orthophotos", U.S. Geological Survey (Feb. 1993)                                                      A; F; L; H; LF;
                                                                                                                                                      PK;R;ML
DTX-489   XW00384370      XW00384372   Document entitled "Design and evaluation of a semi-automated site modeling system"                             A; F; L; H; LF;
                                                                                                                                                      PK;R;ML
DTX-490   XW00384373      XW00384374   February 1999 document entitled "005 - Date and Time of Latest Transaction (NR)"                               A; F; L; H; LF;
                                                                                                                                                      PK;R;ML
DTX-491   XW00942498      XW00942508   A. Heller et al, The Site-Model Construction Component of the RADIUS Testbed System, Proc. ARPA Image          A; F; L; H; LF;
                                       Understanding Workshop, Palm Springs, CA, 1996                                                                 PK; R;ML
DTX-492   EV370320        EV370358     November 5, 2011 email from J. Polchin to J. Michael et al re: "NDA" and attachments thereto                   A,F;H;R,P,C




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                                                 Eagle View Technologies, Inc., et al. v. Xactware Solutions, Inc., et. al.,
                                                             Civil Action No. 15-7025 (RBK) (JS) (DNJ)
                                                                    Defendants' Trial Exhibit List


OTX-493   EV539585          EV539593         December 22, 2015 email chain between T. Kellner, D. Owens, and M. Quilter re: "Equity Valuation" and          PD; I; A; F; L; H;
                                             attachments thereto                                                                                            LF;PK;R; P

DTX-494   EV737497          EV737570         December 18, 2008 email from C. Barrow to Y. Pikover, et al re: "Board Materials" and attachments thereto      A; F; L; H; LF;
                                                                                                                                                            PK;R;P
DTX-495   VIST A-00000490   VISTA-00001248   May 26, 2015 email from D. Sullivan, to T. Kellner, S. White attaching "Eagle View Technologies, Inc.          A; F; H; R; P; C;
                                             Investment Summary"                                                                                            ML
DTX-496   VISTA-00001238    VISTA-00001243   June 4, 2015 email chain between D. Sullivan and T. Kellner attaching "Project Phoenix-Debt Financing Call A; F; L; H; LF;
                                             Notes (6/3/15)"                                                                                                PK; R; ML; P; I
DTX-497   VISTA-00001889    VISTA-00001896   June 10, 2015 email from D. Sullivan to A. Tate, T. Kellner, and S. White attaching "Contractor Survey Results A; F; L; H; LF;
                                             ( I 02 Completed)"                                                                                             PK; R; ML; P; I
DTX-498   EV00536799        EV00536800       February 26, 2016 email chain between C. Johnson and M. Quilter, re: "XW Royalty" and attachment thereto       PD; A; F; L; H;
                                                                                                                                                            LF;PK; R;P
DTX-499   EV0051260         EV0051267        November 25, 2009 email chain between C. Barrow, D. Foster, B. Grant, and D. Shultz re: State Farm Info        A; F; L; H; LF;
                                             Revised" and attachment thereto                                                                                PK;R;P
DTX-500   EV00461532        EV00461598       February 9, 2009 email from C. Barrow to Y. Pikover and D. Lanahan, re: "Updated presentation"                 A; F; L; H; LF;
                                                                                                                                                            PK;R;P
DTX-501   EV00971598        EV00971858       Document entitled "Digital Aerial Data RFP for LAR-IAC"                                                        A; F; L; H; LF;
                                                                                                                                                            PK;R
DTX-502   EV0050455         EV0050456        May 4, 2009 email from C. Barrow to A. Hudders, re: "FW: Guarantee Release" and attachment thereto             A; C; F;H; P

DTX-503   EV0055364         EV0055365        December 1 L 2011 email chain between C. Barrow, H. Ellsworth, and K. Edwards re: "Fwd: Eagle View patent C;F;H;P
                                             PR" and attachment thereto
OTX-504   EV0044181         EV0044182        January 21, 2009 email chain between J. Dempsey and C. Barrow, et al., re: "Computing the area ofa polygon" C; F; H; P; R

DTX-505   EV0362317         EV0362318        February 26, 2009 email from C. Pershing to M. Smith, et al., re: "Home page text"                             C; F; H; P; R
DTX-506   EVOl553553        EV01553554       November 24, 2009 letter from M. Hutchings to Mr. Thornberry re: "David Carlsons Continuing Obligations        A; C; F; H; P; R;
                                             Regarding Confidential Information                                                                             ML
                                             Noncompetion, Nonsollicitation of Customers and Employees and Nondisparagement"
DTX-507   EV0051027         EV0051028        September 3, 2009 email from C. Barrow to D. Foster and R. Daga, re: "FW: CONFIDENTIAL: Concerns"              A; F; H; L; LF; P;
                                                                                                                                                            PK;R
DTX-508   EV0766489         EV0766489        April 16, 2015 email from R. Daga to C. Barrow, re: "QI Volumes - Insurance YOY"                               A; F; H; L; LF; P;
                                                                                                                                                            PK; R; C; I
DTX-509   EV00558095        EV00558095       March 20, 2014 email from C. Barrow to R. Daga, re: "Rooflnsight"                                              A; F; H; L; LF; P;
                                                                                                                                                            PK;R
DTX-510   XW00942517        XW00943139       Hartley & Zisserman, Multiple View Geometry in Computer Vision, Cambridge University Press (2000)              A; F; H; R; P; C

DTX-511   EV00044691        EV00044691       April 10, 2009 email from D. Schultz to C. Barrow, re: "New Subscription Contacts 4/10/2009"                   A,F,H,C




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                                                              Civil Action No. 15-7025 (RBK) (JS) (DNJ)
                                                                     Defendants' Trial Exhibit List


DTX-512   EV00047297        EV00047297        October 30, 2010 email from H. Ellsworth to C. Barrow, re: "GeoGucsstimator"                                   A, F, R,P, C
DTX-513   EV00540515        EV00540516        March 27, 2015 email from H. West to R. Daga, re: "FW: MG"                                                     A, F, PK, Spec,
                                                                                                                                                             R,P,ML
DTX-514   EV00544941        EV00544942        August 17, 2015 email from H. West to R. Daga, re: "MG Phone Calls"                                            A, F, R, P, C, ML

DTX-515   EV00544973        EV00544973        August 18, 2015 email from H. West to R. Daga, re: "MG Talking Points"                                         A, F, R, P, C, ML

DTX-516   EV00563241        EV00563243        September 30, 2015 email from B. Aoki to C. Alvaro, re: "RE: Sensopia ModelNista Meeting"                      A, F, R, P, C, PK,
                                                                                                                                                             Spec, LC, 701,
                                                                                                                                                             ML
DTX-517   EV00753227        EV00753227        May 12, 2012 email chain from H. West to E. Melton and R. Daga, re: "FW: Eagleview"                            A,F,H,C
DTX-518   EV561562          EV561563          March 27, 2013 email chain from H. West to R. Daga, re: "FW: H & S Claim Recovery Systems"                     A, F, H, R, P, C,
                                                                                                                                                             PK, Spec
DTX-519   EV548310          EV548312          October 7, 2014 email chain from H. West to R. Daga and T. Rochman, re: "RE: Mobile App Suggestion"            A, F, R, P, C PK,
                                                                                                                                                             Spec
DTX-520   EV0576601         EV0576602          September 18, 2015 email chain from R. Daga to J. Riggio, re: "FW: Revised SOW"                               A, F, H, R, P, C,
                                                                                                                                                             PK, Spec
DTX-521   EV0552762         EV0552763          March 17, 2015 email chain between H. West and R. Daga re: "Eagle View Wall Report Case Study"                A, F, H, PK, P, C,
                                                                                                                                                             ML
DTX-522   EV0451494         EV0451495          May 3, 2012 email chain from R. Daga and J. Polchin, et al., re: "FW: Aerialogics $25 Gift Card"              R,P,C
DTX-523   EV453877          EV453877           August 22, 2012 email chain from R. Daga and C. Barrow, re: "Fwd: Return VM"                                  R,P,C
DTX-524   EV753268          EV753269           May 14, 2012 email chain from H. West to R. Daga and E. Melton, re: "RE: American Farmers & Ranchers"         A, F, R,P, C

DTX-525   EV562857          EV562858           September 11, 2015 email chain from H. West to K. Edwards and R. Daga, et al., re: "RE: re-branding"          A,F,R,P,C

DTX-526   EV542624          EV542626        May 14, 2015 email chain from C. Barrow to H. West and R. Daga, re: "Re: EXTERNAL: Eagle View Agenda/            A, F, R, P, C, ML
                                            Bios"
DTX-527   VIST A-00001050   VISTA-00001053 June 2, 2015 email chain from M. Mickiewicz to T. Kellner, et al., re: "RE: Phoenix - Questions for               A, F, H, PK, R, P,
                                            Management (BAML)" and attachment                                                                                C
DTX-528   VISTA-00002594    VIST A-00002599 June 2, 2015 email from T. Kellner to S. White, re: "Project Phoenix - Debt Financing Call Questions (2015-06-   A, F, H, PK, R, P,
                                            03) v2" and attachment                                                                                           C
DTX-529   VISTA-00002640    VISTA-00002670 Document entitled "Project Phoenix: Financial Due Report, June 8, 2015, Reliance Restricted, Final" by EY         A,F,H,R,P,C

DTX-530   EV615838          EV615867           October 4, 2013 email chain from J. Polchin to C. Barrow and B. Aoki, re: "FW: Process Letter"                R,P,C
DTX-531   XW00384537        XW00384634         Document entitled "Appli-Cad" with Declaration of Christopher Butler                                          R,P,C
DTX-532   EV376488          EV376500           Email from K. DeBoer to C. Barrow, re: "Team Meeting Notes 7.18.2012" and attachment                          R,P,C
DTX-533   EV050318          EV050318           April 2, 2009 email from C. Barrow to C. Nussbeck, re: "Eagle View Guarantee"                                 R
DTX-534   EV608821          EV608868           May 19, 2011 document entitled "Board of Director's Meeting"                                                  R,P,C




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                                                    Eagle View Technologies, Inc., et al. v. Xactware Solutions, Inc., et. al.,
                                                                Civil Action No. 15-7025 (RBK) (JS) (DNJ)
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DTX-535 EV448460             EV448484   Document entitled "Services Agreement" by Farmers Insurance Exchange                                              A,R, P,C,H
DTX-536 VIST A-00002241      VIST A-00002281
                                        May 11, 2015 email from D. Sullivan to J. Hickley, et al., re: "Project Phoenix - Diligence Deck and Question     A,R, P,C,ML
                                        List" and attachment
DTX-537 VIST A-00000858 VIST A-00000885 May 29, 2015 email from D. Sullivan to A. Alonso, et al., re: "RE: Project Phoenix - Investment Committee         A,R,P,C,ML
                                        Presentation" and attachment
DTX-538 VISTA-00001542 VISTA-00001551 June 6, 2015 email from T. Kellner to S. White, re: "RE: EV" and attachment                                         A,R,P,C,ML
DTX-539 VISTA-00000918 VISTA-00000918 May 29, 2015 email from T. Kellner to T. Kellner, re: "Eagle View DD Slide Notes"                                   A, R, P, C, ML, I

DTX-540 EV01553550           EV01553552         Ex. 4 to Dale Thornberry Deposition                                                                       A, R, P, C, H
DTX-541 EV01553555           EV01553585         U.S. Patent Application Publication No. 2010/0296693 A I, dated Nov. 25, 2010, by Thornberry et al.       R,P,C
DTX-542 EV01553465           EV01553465         Spreadsheet entitled "Pictometry International Corp. Ohoenix HoldCo LLC (Consolidated) Income Statement   A; F; L; PK; R
                                                From Jan 2016 to Dec 2016"
DTX-543    XW00082674        XW00082708         Document entitled "Xactware Solutions, Inc. Quarterly Review (Q4 2011 )"                                  R,P,C
DTX-544    XW00943179        XW00943181         Roofshots.com Webpage                                                                                     A,R,P,C,H,D
DTX-545    XW00943182        XW00943184         Roofshots.com Webpage                                                                                     A, R, P, C, H, D
DTX-546    XW00943223        XW00943224         Document entitled "ISO Acquires Xactware, the Leading Provider of Estimation Software                     R,P,C,D
                                                and Services for the Property Insurance Industry" from xactware.com
DTX-547    XW00943198         XW00943204        Document entitled "Skytek Imaging, Regular Roof Report, Saturday, April 25, 2015" from                    A, R, P, C, H, D
                                                www.skytekimaging.com
DTX-548    XW00943194         XW00943197        Document entitled "Corelogic, SkyMeasure, PROFESSIONAL AERIAL MEASUREMENT, Created by                     A,R,P,C,H,D
                                                Roofing Experts, For Roofing Experts" from https://www.corelogic.com/
DTX-549 XW00943177            XW00943178        Document entitled "Product Pricing" from ridgetopsketch.com/membership-pricing                            A, R, P, C, H. PK,
                                                                                                                                                          D
DTX-550 XW00943205            XW00943210        Document entitled "Solar" from www.eagleview.com/industry/energy/solar                                    R,C,F,H
DTX-551 XW00943146            XW00943149        Document entitled "EAGLEVIEW TECHNOLOGIES AND PICTOMETRY                                                  R,C,F,H
                                                INTERNATIONAL ANNOUNCE MERGER, January 7, 2013" from www.eagleview.com
DTX-552    XW00943150         XW00943151        Document entitled "EAGLEVIEW® TECHNOLOGIES LAUNCHES AERIAL                                                R,C,F,H,D
                                                MEASUREMENT APP FOR ANDROID™, May 27, 2011" from www.eagleview.com
DTX-553    XW00943152         XW00943153        Document entitled "Commercial Contractors" from www.eagleview.com/industry/roofing/commercial-            R,C,F,H,D
                                                contractors
DTX-554 XW00943154            XW00943156        Document entitled "Construct" from www.eagleview.com/product/roof-material-ordering/construct/            R,C,F,H
DTX-555 XW00943157            XW00943160        Document entitled "EagleView PremiumReport" from www .eagleview.com/product/eagleview-                    R,C,F,H,D
                                                measurements/roof-products/eagleview-premiumreport/
DTX-556    XW00943161         XW00943163        Document entitled "QuickSquares" from www.eagleview.com/product/EagleView-measurements/roof-              R,C,F,H,D
                                                products/quicksquares
DTX-557    XW00943167         XW00943176        Document entitled "ClaimsReady Report, February 22, 2017"                                                 R,C,F,H
DTX-558    XW00943185         XW00943193        Document entitled "Premium Report. February 21, 2017"                                                     R, C, F, H. D, A,
                                                                                                                                                          PK




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                                           Eagle View Technologies, Inc., et al. v. Xactware Solutions, Inc., et. al.,
                                                       Civil Action No. 15-7025 (RBK) (JS) (DNJ)
                                                              Defendants' Trial Exhibit List


DTX-559 XW00943164         XW00943166   Document entitled "Wall Report" from www.eagleview.com/product/EagleView-measurements/other-                 R,C,F,H,D,A,
                                        measurement-products/wall-report                                                                             PK
DTX-560 XW00943220         XW00943222   Document entitled "Create accurate estimates for restoration jobs of every kind" from www.xactware.com/en-   R, C, F, H, D, A,
                                        us/solutions/claims-estimating/xactimate/professional                                                        PK
DTX-561   XW0094321 l      XW00943212   Document entitled "Remodelers can quickly sketch roof plans using aerial imagery" from                       R, C, F, H, D, A,
                                        www.verisk.com/archived/2012/new-xactremodel-includes-aerial-sketch/                                         PK
DTX-562 XW00943218         XW00943219   Document entitled "About Xactware" fromwww.xactware.com/en-us/company/about                                  R, C, F, H, D, A,
                                                                                                                                                     PK
DTX-563   XW00943227       XW00943229   Document entitled "Geomni Property Features" from https://www.xactware.com/en-us/solutions/property-         R, C, F, H, D, A,
                                        data/geomni-property/features#                                                                               PK
DTX-564   XW00943140       XW00943145   Document entitled "Eagle View Measurements" from https://www.eagleview.com/product/eagleview-                R,C,F,H,D,A,
                                        measurements/                                                                                                PK
DTX-565   XW00943213       XW00943217   Document entitled "Xactimate" from https://www.xactware.com/en-us/solutions/claims-estimating/xactimate/27   R, C, F, H, D, A,
                                        3/aerial-sketch/                                                                                             PK
DTX-566 XW00943225         XW00943226   Document entitled "New tool lets property insurance professionals use aerial photos to                       R, C, F, H, D, A,
                                        dimension roofs" from xactware.com/en-us/company/news/archives/2011/xactware-releases-aerial-sketch-for-     PK
                                        xactimate
DTX-567   XW00943230       XW00943237   www.eagleview.com 'Homepage'                                                                                 R, C, F, H, D, A,
                                                                                                                                                     PK
                                                                                                                                                     A, F, PK, Spec, P,
DTX-568   EV078051         EV078051     Eagle View Competitor Spreadsheet (formerly PTX-037)                                                         0, 105
                                        Agreement and Plan of Merger between Phoenix Holdco, Phoenix Merger, Eagle View Technology, and Forties      A, F, H, R, P, C,
DTX-569 EV534636           EV534822     Advisors, June 15, 2015 (formerly PTX-712)                                                                   ML
DTX-570 EV01552441         EV01552464   United States Patent No. 9,501,700 to Loveland et al. (formerly PTX-376)                                     A, R,P, C, ML




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                                   Plaintifrs Objections Key
                  Eagle View Technologies, Inc. et al. v. Xactware Solutions, Inc. et. al.
                             Case No. 15-cv-07025 (RBK/JS) (Dist. N.J.)

      ABBREV.                                        OBJECTION

          A       Authentication or Identification (FRE 901)

                  The requirement of authentication or identification as a condition precedent to
                  admissibility is satisfied by evidence sufficient to support a finding that the matter
                  in question is what its proponent claims.

         Arg      Argumentative

         AT       Attorney Objections Not Removed

         BS       Beyond the Scope of Direct / Cross / Redirect Examination

       30(b)(6)   Beyond the Scope of the Rule 30(b)(6) Deposition Topic

          C       Cumulative, Duplicative, Wasteful or Undue Delay (FRE 403)

                  Although relevant, evidence may be excluded if its probative value is substantially
                  outweighed by considerations of undue delay, waste of time, or needless
                  presentation of duplicative and/or cumulative evidence.

        Char      Improper Character Evidence (FRE 404)

        Cmpd      Compound

      Dem Only    Demonstrative / Should Not Be Admitted Into Evidence

          D       Not Produced During Discovery

          F       Lack of Foundation (FRE 602)

                  Objectionable because a witness may not testify to a matter unless evidence is
                  introduced sufficient to support a finding that the witness has personal knowledge
                  of the matter.

          H       Hearsay Rule (FRE 802)

                  Hearsay is not admissible except as provided by these rules or by other rules
                  prescribed by the Supreme Court pursuant to statutory authority or by Act of
                  Congress.
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       ABBREV.                                     OBJECTION

           I     Incomplete Document (FRE I 06)

                 Objectionable because document is incomplete and the introduction of the
                 remaining portions or related documents ought, in fairness, to be considered
                 contemporaneously with it.

          IC     Improper Designation I Counter Designation (FRE I 06: FRCP 32(a)(6))

          ID     Incomplete Document
                 (FRE 106)

          In     Incomplete Testimony
                 (FRE 106; FRCP 32(a)(6))

           L     Lack of Personal Knowledge or Competency (FRE 602)

          LA     Limited Admissibility (Admissible for Some Purposes but Not Others) (PRE 105)

          LC     Legal Conclusion

          LD     Leading (FRE 61 l)

          LF     Lack of Foundation
                 (FRE I 03, I 04 and/or 105)

          M      Misleading/Mischaracterizes Prior Testimony
                 (FRE 401-403, 611)

          MD     Mischaracterizes Underlying. Document (FRE 401-403, 611)

          ML     Subject to Motion In Limine

          NE     Assumes Facts Not In Evidence

          NR     Nonresponsive

          NT     Not Testimony

          0      Improper Lay or Expert Opinion (FRE 701-703)

          oc     Offer to Compromise, Settlement (FRE 408)




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        ABBREV.                                      OBJECTION

           p      Prejudicial, Confusing, Vague and/or Misleading (FRE 403)

                  Although relevant, evidence may be excluded if its probative value is substantially
                  outweighed by the danger of unfair prejudice, confusion of the issues, or
                  misleading the jury, or by considerations of undue delay, waste of time, or
                  needless presentation of cumulative evidence.

          PD      Post Dated Filing Date (FRE 105)

                  If post-dated evidence is admitted as to one purpose but not admissible as for
                  another purpose (e.g., for obviousness analysis), the court, upon request, shall
                  restrict the evidence to its proper scope and instruct the jury accordingly.

          PK      Lack of Personal Knowledge (FRE 602)

                  Objectionable because lack of personal knowledge makes the witness incompetent
                  to testify about particular facts.

           R      Relevance (FRE 40 I, 402)

                  All relevant evidence is admissible, except as otherwise provided by the
                  Constitution of the United States, by Act of Congress, by these rules, or by other
                  rules prescribed by the Supreme Court pursuant to statutory authority. Evidence
                  which is not relevant is not admissible.

          Spec    Calls for Speculation (FRE 602)

           s      Summaries (FRE 1006)

                  The party relying on the summary must establish its accuracy to the court's
                  satisfaction.

                  See Graham, Handbook of Federal Evidence§ 1006.1 (5th ed. 2001). United
                  States v. Pelullo, 964 F.2d 193,204 (3d Cir. 1992) ("It is well established that
                  summary evidence is admissible under Rule 1006 only if the underlying materials
                  upon which the summary is based are admissible.").

           u      Untimely I Never Produced (FRCP 26, 3 7)

           V      Vague / Ambiguous/Overbroad (FRE 611)

          w       Privileged/ Work Product (FRE 501/502)

           X      Exhibit has not been provided, the copy provided is illegible, and/or the entry
                  includes multiple documents.



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       ABBREV.                                       OBJECTION

           y     Wrong Document Identified or Incorrectly Described

          105    Limited Admissibility    (FRE 105)

                 When evidence which is admissible as to one party or for one purpose but not
                 admissible as to another party or for another purpose is admitted, the court, upon
                 request, shall restrict the evidence to its proper scope and instruct the jury
                 accordingly.

          701    Improper Lay Opinion Testimony (FRE 701)

                 If a witness is not testifying as an expert, testimony in the form of an opinion is
                 limited as provided by this rule.

         1002    Best Evidence (FRE 1002, 1003, 1004)

                 An original writing, recording, or photograph is required in order to prove its
                 content unless these rules or a federal statute provides otherwise.




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      PART VIII. PLAINTIFF'S STATEMENT OF THE LEGAL ISSUES IN THIS CASE:

            1.   Whether Defendants' Accused Products infringe at least Asserted Claims 2, 21,
                 and 36 of the '436 patent.

           2.    Whether Defendants' Accused Products infringe at least Asserted Claims 10 and
                 18 of the '840 patent.

           3.    Whether Defendants' Accused Products infringe at least Asserted Claims 17, 20,
                 and 23 of the '3 76 patent.

           4.    Whether Defendants' Accused Products infringe at least Asserted Claim 26 of the
                 '454 patent.

           5.    Whether Defendants' Accused Products infringe at least Asserted Claim 12 of the
                 '770 patent.

           6.    Whether Defendants' Accused Products infringe at least Asserted Claim 25 of the
                 '73 7 patent.

           7.    Whether there has been direct infringement of at least Asserted Claims 2, 21, and
                 36 of the '436 patent.

           8.    Whether there has been direct infringement of at least Asserted Claims 10 and 18
                 of the '840 patent.

           9.    Whether there has been direct infringement of at least Asserted Claims 17, 20,
                 and 23 of the '376 patent.

           10.   Whether there has been direct infringement of at least Asserted Claim 26 of the
                 '454 patent.

           11.   Whether there has been direct infringement of at least Asserted Claim 12 of the
                 '770 patent.

           12.   Whether there has been direct infringement of at least Asserted Claim 25 of the
                 '73 7 patent.

           13.   Whether Defendants' infringement of the '436, '840, '376, '454, '770, and '737
                 patents is willful, and if so, the amount of increased damages assessed for
                 Defendants' infringement to Plainti ff for the period of such willful infringement
                 pursuant to 35 U.S.C.§ 284.

           14.   Whether Defendants knowingly induced infringement and possessed specific
                 intent to encourage another's infringement under 35 U.S.C. § 271 (b) of Claims 2,
                 21, and 36 of the '436 patent.
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            15.   Whether Defendants knowingly induced infringement and possessed specific
                  intent to encourage another's infringement under 35 U.S.C. § 27l(b) of Claims 10
                  and 18 of the '840 patent.

            16.   Whether Defendants knowingly induced infringement and possessed specific
                  intent to encourage another's infringement under 35 U.S.C. § 27l(b) of Claims
                  17, 20, and 23 of the '376 patent.

            17.   Whether Defendants knowingly induced infringement and possessed specific
                  intent to encourage another's infringement under 35 U.S.C. § 27l(b) of Claim 26
                  of the '454 patent.

            18.   Whether Defendants knowingly induced infringement and possessed specific
                  intent to encourage another's infringement under 35 U.S.C. § 271(b) of Claim 12
                  of the '770 patent.

            19.   Whether Defendants knowingly induced infringement and possessed specific
                  intent to encourage another's infringement under 35 U.S.C. § 271(b) of Claim 25
                  of the '737 patent.

           20.    Whether Xactware's supplying or causing to be supplied in or from the United
                  States all or a substantial portion of the components of the Accused Products,
                  claimed in Claims 2 and 36 of the '436 patent, is infringement under 35 U.S.C. §
                  27l(f)(l) of Claims 2 and 36 of the '436 patent.

           21.    Whether Xactware's supplying or causing to be supplied in or from the United
                  States any component of the Accused Products, claimed in Claims 2 and 36 of the
                  '436 patent, that is especially made or especially adapted for use in the Accused
                  Products and not a staple article or commodity of commerce suitable for
                  substantial non-infringing use, is infringement under 35 U.S.C. § 271(f)(2) of
                  Claims 2 and 36 of the '436 patent.

           22.    Whether Xactware's supplying or causing to be supplied in or from the United
                  States all or a substantial portion of the components of the Accused Products,
                  claimed in Claims 10 and 18 of the '840 patent, is infringement under 35 U.S.C. §
                  27l(f)(l) of Claims 10 and 18 of the '840 patent.

           23.    Whether Xactware's supplying or causing to be supplied in or from the United
                  States any component of the Accused Products, claimed in Claims 10 and 18 of
                  the '840 patent, that is especially made or especially adapted for use in the
                  Accused Product and not a staple article or commodity of commerce suitable for
                  substantial non-infringing use, is infringement under 35 U.S.C. § 271(f)(2) of
                  Claims 10 and 18 of the '840 patent.

           24.    Whether Xactware's supplying or causing to be supplied in or from the United
                  States all or a substantial portion of the components of the Accused Products,
                  claimed in Claims 20 and 23 of the '376 patent, is infringement under 35 U.S.C. §
                  2 71 ( f)(l) Claims 20 and 23 of the '3 7 6 patent.


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            25.   Whether Xactware's supplying or causing to be supplied in or from the United
                  States any component of the Accused Products, claimed in Claims 20 and 23 of
                  the '376 patent, that is especially made or especially adapted for use in the
                  Accused Product and not a staple article or commodity of commerce suitable for
                  substantial non-infringing use, is infringement under 35 U.S.C. § 27I(f)(2) of
                  Claims 20 and 23 of the '376 patent.

            26.   Whether Xactware's supplying or causing to be supplied in or from the United
                  States all or a substantial portion of the components of the Accused Products,
                  claimed in Claim 25 of the '737 patent, is infringement under 35 U.S.C. §
                  27I(f)(l) Claim 25 of the '737 patent.

            27.   Whether Xactware's supplying or causing to be supplied in or from the United
                  States any component of the Accused Products, claimed in Claim 25 of the '737
                  patent, that is especially made or especially adapted for use in the Accused
                  Product and not a staple article or commodity of commerce suitable for
                  substantial non-infringing use, is infringement under 35 U.S.C. § 271(f)(2) of
                  Claim 25 of the '73 7 patent.

            28.   Whether the importation of the Accused Products into the United States or offers
                  to sell, sales, or uses of the Accused Products within the United States is
                  infringement under 35 U.S.C. § 271(g) of Claims 21 and 36 of the '436 patent.

            29.   Whether the importation of the Accused Products into the United States or offers
                  to sell, sales, or uses of the Accused Products within the United States is
                  infringement under 35 U .S.C. § 271 (g) of Claim 18 of the '840 patent.

            30.   Whether the importation of the Accused Products into the United States or offers
                  to sell, sales, or uses of the Accused Products within the United States is
                  infringement under 35 U.S.C. § 271(g) of Claim 17 of the '376 patent.

            31.   Whether the importation of the Accused Products into the United States or offers
                  to sell, sales, or uses of the Accused Products within the United States is
                  infringement under 35 U.S.C. § 27I(g) of Claim 26 of the '454 patent.

            32.   Whether the importation of the Accused Products into the United States or offers
                  to sell, sales, or uses of the Accused Products within the United States is
                  infringement under 35 U.S.C. § 27l(g) of Claim 12 of the '770 patent.

            33.   Whether Defendants' activities in connection with importing, offering to sell,
                  selling, or using the Accused Products would constitute infringing activity under
                  35 U.S.C. § 27l(g) of Claim 25 of the '737 patent.

            34.   Whether Defendants have met their burden of proving by clear and convincing
                  evidence that the Asserted Claims of the Asserted Patents are invalid under § l O1.




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            3 5.   Whether Defendants have met their burden of proving by clear and convincing
                   evidence that Claims 2, 21, and 36 of the '4 36 patent would have been obvious to
                   a person of ordinary skill in the art at the time of the invention.

           36.     Whether Defendants have met their burden of proving by clear and convincing
                   evidence that Claims l O and 18 of the '840 patent are anticipated by the prior art
                   and/or would have been obvious to a person of ordinary skill in the art at the time
                   of the invention.

           3 7.    Whether Defendants have met their burden of proving by clear and convincing
                   evidence that Claims 17, 20, and 23 of the '376 patent are anticipated by the prior
                   art and/or would have been obvious to a person of ordinary skill in the art at the
                   time of the invention.

           38.     Whether Defendants have met their burden of proving by clear and convincing
                   evidence that Claim 26 of the '454 patent would have been obvious to a person of
                   ordinary skill in the art at the time of the invention.

           39.     Whether Defendants have met their burden of proving by clear and convincing
                   evidence that Claim 12 of the '770 patent would have been obvious to a person of
                   ordinary skill in the art at the time of the invention.

           40.     Whether Defendants have met their burden of proving by clear and convincing
                   evidence that Claim 25 of the '737 patent would have been obvious to a person of
                   ordinary skill in the art at the time of the invention.

           41.     Whether Eagle View is entitled to damages beginning on the date of first
                   infringement under 35 U.S.C. §§ 286 and 287.

           42.     Whether Plaintiff proved by a preponderance of the evidence that it is entitled to
                   damages of lost profits, including price erosion, and if so, the amount of lost-
                   profits damages to compensate Plaintiff for Defendants' infringement.

           43.     Whether Plaintiff proved by a preponderance of the evidence that it is entitled to
                   damages of at least a reasonable royalty and, if so, the amount of reasonable-
                   royalty damages to compensate for Defendants' infringement.

           44.     Whether any of Defendants' affirmative defenses bar or limit Plaintiff's claims
                   for relief.

           45.     Whether Plaintiff is entitled to a declaration that this case is exceptional and an
                   award to Plaintiff of its reasonable attorneys' fees and costs under 35 U.S.C.
                   § 285.

           46.     Whether Plaintiff is entitled to an accounting, and pre- and post-judgment interest
                   and, if so, in what amount.




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           47.   Whether Defendants' infringing sales of the Accused Products have resulted in
                 irreparable harm to Plaintiffs, if so, whether monetary damages alone would be
                 inadequate.

           48.   Whether Plaintiff is entitled to an injunction preventing Defendants from making,
                 importing, using, offering for sale, and/or selling any product or service falling
                 within the scope of the Asserted Claims of the Asserted Patents, including
                 Xactimate, Aerial Sketch v.2, the Mass Production Tool, RooflnSight (also
                 known as Geomni Roof), and Property InSight (also known as Geomni Property)
                 (collectively "Accused Products"), or otherwise infringing any Asserted Claims of
                 the Asserted Patents, or alternatively, for ongoing royalties for Defendants'
                 ongoing infringement.

           49.   Whether Defendants have proven by the preponderance of the evidence that
                 Plaintiff is equitably estopped from bringing this infringement action against
                 Defendants.

           50.   Any evidentiary issues raised by pending motions or objections to evidence.




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     PART VIII. DEFENDANTS' STATEMENT OF THE LEGAL ISSUES IN THIS CASE:

     1.       Whether Eagle View has shown that Xactware directly and literally infringed Asserted
              Claims 2, 21, and 36 of the '436 Patent.

     2.       Whether Eagle View has shown that Xactware directly and literally infringed Asserted
              Claims 10 and 18 of the '840 Patent.

     3.       Whether EagleView has shown that Xactware directly and literally infringed Asserted
              Claims 17, 20, and 23 of the '376 Patent.

     4.       Whether Eagle View has shown that Xactware directly and literally infringed Asserted
              Claim 26 of the '454 Patent.

     5.       Whether EagleView has shown that Xactware directly and literally infringed Asserted
              Claim 12 of the '770 Patent.

     6.       Whether EagleView has shown that Xactware directly and literally infringed Asserted
              Claim 25 of the '737 Patent.

     7.       Whether Eagle View has shown that Defendants willfully infringed one or more Asserted
              Claims by showing that Defendants infringed and that Defendants knew of the risk of
              infringement, or that the risk of infringement was so obvious that Defendants should have
              known of it.

     8.       Whether EagleView has shown that Defendants knowingly induced another party to
              directly infringe Claims 2, 21, and 36 of the '436 Patent, that Defendants had specific
              intent to encourage the infringement, and that the other party did directly infringe.

     9.       Whether EagleView has shown that Defendants knowingly induced another party to
              directly infringe Claims 10 and 18 of the '840 Patent, that Defendants had specific intent
              to encourage the infringement, and that the other party did directly infringe.

     10.      Whether EagleView has shown that Defendants knowingly induced another party to
              directly infringe Claims 17, 20, and 23 of the '376 Patent, that Defendants had specific
              intent to encourage the infringement, and that the other party did directly infringe.

     11.      Whether EagleView has shown that Defendants knowingly induced another party to
              directly infringe Claim 26 of the '454 Patent, that Defendants had specific intent to
              encourage the infringement, and that the other party did directly infringe.

     12.      Whether EagleView has shown that Defendants knowingly induced another party to
              directly infringe Claim 12 of the '770 Patent, that Defendants had specific intent to
              encourage the infringement, and that the other party did directly infringe.

     13.      Whether Eagle View has shown that Defendants knowingly induced another party to
              directly infringe Claim 25 of the '737 Patent, that Defendants had specific intent to
              encourage the infringement, and that the other party did directly infringe.

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     14.      Whether EagleView has shown that Xactware supplied in or from the United States all or
              a substantial portion of the components of a product infringing Claims 2, 21, and 36 of
              the '436 Patent and actively induced the combination of the components outside the
              United States such that the combination would be infringing or supplied in or from the
              United States a component especially made or adapted for use in a product that would
              infringe Claims 2, 21, and 36 of the '436 Patent, with knowledge that such component
              would be combined outside the United States such that the combination would infringe.

     15.      Whether EagleView has shown that Xactware supplied in or from the United States all or
              a substantial portion of the components of a product infringing Claims 10 and 18 of the
              '840 Patent and actively induced the combination of the components outside the United
              States such that the combination would be infringing or supplied in or from the United
              States a component especially made or adapted for use in a product that would infringe
              Claims 10 and 18 of the '840 Patent, with knowledge that such component would be
              combined outside the United States such that the combination would infringe.

     16.      Whether Eagle View has shown that Xactware supplied in or from the United States all or
              a substantial portion of the components of a product infringing Claims 17, 20, and 23 of
              the '376 Patent and actively induced the combination of the components outside the
              United States such that the combination would be infringing or supplied in or from the
              United States a component especially made or adapted for use in a product that would
              infringe Claims 17, 20, and 23 of the '376 Patent, with knowledge that such component
              would be combined outside the United States such that the combination would infringe.

     17.      Whether EagleView has shown that Xactware imported, offered to sell, sold, or used in
              the United States a product made by a process covered by Claims 2, 21, or 36 of the '436
              Patent and that the product was not materially changed by a subsequent process and did
              not become a trivial or nonessential component of another product.

     18.      Whether EagleView has shown that Xactware imported, offered to sell, sold, or used in
              the United States a product made by a process covered by Claims 10 and 18 of the '840
              Patent and that the product was not materially changed by a subsequent process and did
              not become a trivial or nonessential component of another product.

     19.      Whether EagleView has shown that Xactware imported, offered to sell, sold, or used in
              the United States a product made by a process covered by Claims 17, 20, and 23 of the
              '376 Patent and that the product was not materially changed by a subsequent process and
              did not become a trivial or nonessential component of another product.

     20.      Whether EagleView has shown that Xactware imported, offered to sell, sold, or used in
              the United States a product made by a process covered by Claim 26 of the '454 Patent
              and that the product was not materially changed by a subsequent process and did not
              become a trivial or nonessential component of another product.

     21.      Whether EagleView has shown that Xactware imported, offered to sell, sold, or used in
              the United States a product made by a process covered by Claim 12 of the '770 Patent


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               and that the product was not materially changed by a subsequent process and did not
               become a trivial or nonessential component of another product.

     22.       Whether EagleView has shown that Xactware imported, offered to sell, sold, or used in
               the United States a product made by a process covered by Claim 25 of the '737 Patent
               and that the product was not materially changed by a subsequent process and did not
               become a trivial or nonessential component of another product.

     23.      Whether Claims 2, 21, and 36 of the '436 Patent are unenforceable because they are
              directed to a patent-ineligible concept-such as a law of nature, natural phenomenon, or
              an abstract idea-and the other elements of the claims do not transform the claims into a
              patent-eligible application of the ineligible concept.

     24.      Whether Claims 10 and 18 of the '840 Patent are unenforceable because they are directed
              to a patent-ineligible concept-such as a law of nature, natural phenomenon, or an
              abstract idea-and the other elements of the claims do not transform the claims into a
              patent-eligible application of the ineligible concept.

     25.      Whether Claims 17, 20, and 23 of the '376 Patent are unenforceable because they are
              directed to a patent-ineligible concept-such as a law of nature, natural phenomenon, or
              an abstract idea-and the other elements of the claims do not transform the claims into a
              patent-eligible application of the ineligible concept.

     26.      Whether Claim 26 of the '454 Patent is unenforceable because it is directed to a patent-
              ineligible concept-such as a law of nature, natural phenomenon, or an abstract idea-
              and the other elements of the claim do not transform the claim into a patent-eligible
              application of the ineligible concept.

     27.      Whether Claim 12 of the '770 Patent is unenforceable because it is directed to a patent-
              ineligible concept-such as a law of nature, natural phenomenon, or an abstract idea-
              and the other elements of the claim do not transform the claim into a patent-eligible
              application of the ineligible concept.

     28.      Whether Claim 25 of the '737 Patent is unenforceable because it is directed to a patent-
              ineligible concept-such as a law of nature, natural phenomenon, or an abstract idea-
              and the other elements of the claim do not transform the claim into a patent-eligible
              application of the ineligible concept.

     29.      Whether Claims 2, 21, and 36 of the '436 Patent are invalid because they are obvious to a
              person of ordinary skill in the art at the time of the invention.

     30.      Whether Claims 10 and 18 of the '840 Patent are invalid because they are anticipated by
              the prior art or obvious to a person of ordinary skill in the art at the time of the invention.

     31.      Whether Claims 17, 20, and 23 of the '376 Patent are invalid because they are anticipated
              by the prior art or obvious to a person of ordinary skill in the art at the time of the
              invention.


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     32.      Whether Claim 26 of the '454 Patent is invalid because it is obvious to a person of
              ordinary skill in the art at the time of the invention.

     33.      Whether Claim 12 of the '770 Patent is invalid because it is obvious to a person of
              ordinary skill in the art at the time of the invention.

     34.      Whether Claim 25 of the '737 Patent is invalid because it is obvious to a person of
              ordinary skill in the art at the time of the invention.

     35.      Whether any of the Asserted Claims is invalid because the invention thereof was known
              or used by others in this country, or patented or described in a printed publication in this
              or a foreign country, before the invention thereof by the applicant(s).

     36.      Whether any of the Asserted Claims is invalid because the invention thereof was patented
              or described in a printed publication in this or a foreign country or in public use or on sale
              in this country more than one year prior to the date of the application for patent thereof.

     3 7.     Whether Eagle View has shown that it is entitled to lost profits damages by showing that
              demand exists for EagleView product(s) covered by one or more of the Asserted Claims,
              that there are no products that are alternatives to the EagleView product(s) and are not
              covered by one or more of the Asserted Claims, that Eagle View has the capacity to make
              Defendants' sales, and that lost profits damages are reasonably calculable.

     38.      Whether EagleView has shown that it is entitled to lost profits damages due to price
              erosion by showing that Defendants have infringed one or more Asserted Claims and that,
              but for infringement by Defendants, and not as a result of other market forces, EagleView
              would have been able to make profits on additional sales, and to charge higher prices for
              its products allegedly covered by one or more of the Asserted Claims.

     39.      Whether Eagle View has shown that it is entitled to a reasonable royalty for past damages
              or an ongoing reasonable royalty in lieu of a permanent injunction by showing that
              feature(s) of the Accused Products infringe one or more of the Asserted Claims and by
              showing a reasonable royalty that is attributable to the feature(s).

     40.      Whether Eagle View is estopped from asserting infringement because Eagle View
              admitted, represented, and warranted that Defendants did not infringe its Asserted Patents.

     41.      Whether Eagle View is estopped from asserting infringement because Eagle View's
              misleading conduct led Defendants to reasonably believe that EagleView did not intend
              to enforce the Asserted Patents against Defendants, Defendants relied on that conduct,
              and, as a result, Defendants would be materially prejudiced if Eagle View were permitted
              to proceed on its allegation of infringement.

     42.      Whether EagleView has shown that this case was exceptional with respect to the
              substantive strength of Defendants' litigating position or manner of litigating the case.

     43.      Whether EagleView has shown that it is entitled to pre-and post-judgment interest and, if
              so, in what amount.

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     44.       Whether Eagle View has shown that it would be irreparably harmed if its request for a
               permanent injunction is not granted; that EagleView would not be adequately
               compensated by a legal remedy; that the granting of an injunction is in the public interest;
               and that the balance of hardships favors the grant of an injunction.

     45.       Whether Defendants have shown that they are entitled to an injunction prohibiting
               EagleView, its officers, its agents, its servants, its employees, its attorneys, and those in
               active concert or participation with them directly or indirectly from asserting or
               threatening to assert infringement of any of the Asserted Claims against Defendants or
               any of their agents, employees, representatives, strategic business partners, distributors,
               contractors, customers, advisors, and investors.

     46.       Whether Defendants have shown that this case was exceptional with respect to the
               substantive strength of EagleView's litigating position or manner of litigating the case.

     47.       Whether any relief to EagleView should be barred or limited by any of Defendants'
               affirmative defenses.

     48.      Whether Defendants are entitled to judgment in their favor with regard to the foregoing,
              including invalidity, non-infringement, and lack of damages and entitlement to interest,
              as set forth above.

     49.      Any evidentiary issues raised in pre-trial motions or at trial.




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